Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 1 of 503 PageID #: 17880




                   Exhibit 2
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 2 of 503 PageID #: 17881

                                    TRIAL - VOLUME 5

                                                                          Page 1

  1
                    IN THE UNITED STATES DISTRICT COURT
  2                     FOR THE DISTRICT OF DELAWARE
  3
                                               - - -
  4
        MICROCHIP TECHNOLOGY      : C.A. No. 17-1194
  5     INCORPORATED,             :
                                  :
  6                 Plaintiff,    :
                                  :
  7               vs.             :
                                  :
  8     APTIV SERVICES US, LLC,   :
                                  :
  9               Defendant.      :
 10                             - - -
 11                    TRANSCRIPT OF PROCEEDINGS
 12                      TESTIMONY/JURY CHARGE
 13                             VOLUME 5
 14                             - - -
 15              Date:  Tuesday, April 12, 2022
 16              Time:  8:50 a.m.
 17            Place:  J. Caleb Boggs Federal Building
                       844 N. King Street
 18                    Courtroom 6B
                       Wilmington, Delaware  19801
 19
 20           Before:       HONORABLE JOSHUA D. WOLSON, JUDGE
 21
        Reporter:        Rose A. Tamburri, RPR, CM, CRR
 22                      Notary Public of Delaware
                                       - - -
 23                           VERITEXT LEGAL SOLUTIONS
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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 3 of 503 PageID #: 17882

                                    TRIAL - VOLUME 5

                                                                          Page 2

  1
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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 4 of 503 PageID #: 17883

                                    TRIAL - VOLUME 5

                                                                          Page 3

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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 5 of 503 PageID #: 17884

                                    TRIAL - VOLUME 5

                                                                          Page 4

  1                                         I N D E X
  2
        WITNESS                                                               PAGE
  3
  4
        JOHN I. GARNEY
  5
             DIRECT EXAMINATION BY:
  6          MR. SAULSBURY                                                      34
  7          CROSS-EXAMINATION BY:
             MR. SLAYDEN                                                        94
  8
  9     DR. JOHN LEVY
 10          DIRECT EXAMINATION BY:
             MR. ADAMS                                                         267
 11
             CROSS-EXAMINATION BY:
 12          MS. DURIE                                                         295
 13          REDIRECT EXAMINATION BY:
             MR. ADAMS                                                         364
 14
 15     JURY CHARGE                                                            373
 16
 17
 18
 19
 20
 21
 22
 23
 24

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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 6 of 503 PageID #: 17885

                                    TRIAL - VOLUME 5

                                                                              Page 5

  1
  2                                      E X H I B I T S
  3
  4     NO.                  MARKED                                ADMITTED
  5
        184                         42                                         42
  6
        367                         53                                         88
  7
        217                         58                                         58
  8
        378                         60                                         --
  9
          19                        68                                         69
 10
        209                         74                                         74
 11
        368                         88                                         88
 12
        381                       152                                          --
 13
        388                       153                                          --
 14
        379                       251                                          --
 15
        103                       182                                         182
 16
        201                       182                                         183
 17
        116                       196                                         197
 18
        139                       199                                         199
 19
        143                       201                                         202
 20
          20                      280                                         280
 21
        102                       296                                         296
 22
        380                       297                                          --
 23
        381                       302                                         303
 24

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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 7 of 503 PageID #: 17886

                                    TRIAL - VOLUME 5

                                                                          Page 6

  1                            E X H I B I T S, (Cont'd)
  2
  3     382                         321                                        --
  4     209                         354                                       355
  5     381A                        302                                       372
  6
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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 8 of 503 PageID #: 17887

                                    TRIAL - VOLUME 5

                                                                              Page 7

   1                  (Whereupon, the Court commenced

   2    proceedings at 8:50 a.m.)

   3                                 - - -

   4                  THE COURT CLERK:       All rise.                         08:34:20

   5    Honorable Joshua D. Wolson presiding.                                  08:34:20

   6                  THE COURT:     Good morning,                             08:34:38

   7    everyone.                                                              08:49:18

   8                  MR. SLAYDEN:     Good morning, Your                      08:49:19

   9    Honor.                                                                 08:49:21

 10                   MS. DURIE:     Good morning, Your                        08:49:21

 11     Honor.                                                                 08:49:24

 12                   THE COURT:     Have a seat, please.                      08:49:24

 13                   So a few things to take up this                          08:49:32

 14     morning before we bring the jury in.                                   08:49:33

 15                   I got the email last night that                          08:49:35

 16     raised a couple of issues for us to tackle                             08:49:41

 17     this morning.    So we can take those up, I                            08:49:43

 18     guess, first and then I have a few other                               08:49:49

 19     housekeeping things.                                                   08:49:52

 20                   So unless you guys resolved                              08:49:53

 21     things, then we'll go in the order of the                              08:49:57

 22     email.                                                                 08:49:59

 23                   MS. DURIE:     We have resolved the                      08:49:59

 24     Dr. Becker issue.     I understand he will not be                      08:50:01


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 9 of 503 PageID #: 17888

                                    TRIAL - VOLUME 5

                                                                              Page 8

   1    called.                                                                08:50:03

   2                  THE COURT:    Okay.                                      08:50:03

   3                  MS. DURIE:    So if I could hand up                      08:50:04

   4    the paper that goes with the issues with                               08:50:05

   5    respect to Dr. Levy, the slides.                                       08:50:09

   6                  THE COURT:    Yes.                                       08:50:10

   7                  MS. DURIE:    And it's a paragraph                       08:50:11

   8    of his that's actually from the report.                                08:50:13

   9                  THE COURT:    Okay.                                      08:50:15

 10                   MS. DURIE:    So the first issue,                        08:50:30

 11     Your Honor, has to do with the slides that                             08:50:32

 12     were exchanged.     The vast majority of the                           08:50:37

 13     slides were fine, but as you'll see on slides                          08:50:41

 14     13 and 14, and then on 15, it says -- and if                           08:50:44

 15     we start at slide 14, both references, and                             08:50:53

 16     it's talking about Belkin US-98, considered by                         08:50:56

 17     patent office and rejected.                                            08:51:00

 18                   That's wrong.     The patent office                      08:51:03

 19     has never considered the Belkin and US-98                              08:51:04

 20     product that we are presenting.                                        08:51:07

 21                   Now, I think their ultimate                              08:51:10

 22     argument is that there was a data sheet that                           08:51:14

 23     pertained to Belkin that's really -- it's not                          08:51:17

 24     even a data sheet, it is like a Yelp review in                         08:51:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 10 of 503 PageID #: 17889

                                      TRIAL - VOLUME 5

                                                                               Page 9

   1     the days before Yelp that relates to Belkin.                           08:51:24

   2     They want to say that was disclosed; that's                            08:51:26

   3     perfectly fine.                                                        08:51:28

   4                    But to say the reference that we                        08:51:29

   5     were pronouncing was considered by the patent                          08:51:31

   6     office and adjusted is simply misleading.                              08:51:33

   7                    THE COURT:    Okay.   Mr. Banner?                       08:51:36

   8                    MR. BANNER:    Yes, Your Honor.      Mr.                08:51:38

   9     Levy is not planning on saying the actual                              08:51:40

  10     physical device was in front of the patent                             08:51:42

  11     office.     This is a slide to make it clear that                      08:51:44

  12     he is talking about the written paper that was                         08:51:46

  13     disclosed to that office, slide 14.                                    08:51:48

  14                    THE COURT:    When you say the                          08:51:53

  15     slides make it clear, the slides have a                                08:51:53

  16     picture of the device?                                                 08:51:55

  17                    MR. BANNER:    Correct, Your Honor,                     08:51:56

  18     slide 14.     That's the testimony that he is                          08:51:58

  19     getting at, is the Belkin 4X4 switch, as the                           08:52:00

  20     article related to, it was disclosed to the                            08:52:03

  21     patent office.     That's the testimony he is                          08:52:06

  22     going to offer, and it seems like the point                            08:52:09

  23     that opposing counsel wants to make could be                           08:52:10

  24     handled on cross.                                                      08:52:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 11 of 503 PageID #: 17890

                                     TRIAL - VOLUME 5

                                                                           Page 10

   1                  THE COURT:     Well, no, I can't tell                    08:52:14

   2     what exactly is being called out here on Slide                        08:52:25

   3     14.                                                                   08:52:33

   4                  MR. BANNER:      It is the text from                     08:52:33

   5     the base of the patent, Your Honor, that's                            08:52:35

   6     highlighted there in the middle that says,                            08:52:36

   7     "Belkin 4X4 USB Peripheral Switch Review."                            08:52:38

   8     That was submitted to the patent office as                            08:52:42

   9     part of Exhibit 3 that's already in evidence,                         08:52:43

  10     part of the prosecution history, so that's the                        08:52:46

  11     point that Mr. Levy is making.                                        08:52:48

  12                  MS. DURIE:     And he's free to make                     08:52:50

  13     that point, but Slide 13 should not say both                          08:52:51

  14     references considered by patent office and                            08:52:54

  15     rejected, because that is -- nor should that                          08:52:56

  16     text appear on Slide 14 and on Slide 15, where                        08:53:02

  17     it says, "every neutral factfinder has found                          08:53:05

  18     claims 23 to 25 valid."                                               08:53:08

  19                  There should not be a picture of                         08:53:09

  20     the product since the clear suggestion is that                        08:53:11

  21     each of those bodies has considered those.                            08:53:14

  22     There should be the pull from the patent that                         08:53:17

  23     references the Belkin.                                                08:53:20

  24                  THE COURT:     So I just want to be                      08:53:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 12 of 503 PageID #: 17891

                                     TRIAL - VOLUME 5

                                                                           Page 11

   1     clear.    The callout on page 14, because I                           08:53:28

   2     can't see it, is a reference from a patent                            08:53:33

   3     other than the '243 Patent, it discloses the                          08:53:35

   4     Belkin?                                                               08:53:39

   5                   MS. DURIE:    No.                                       08:53:40

   6                   THE COURT:    That's the '243                           08:53:41

   7     Patent?                                                               08:53:43

   8                   MS. DURIE:    But it did not                            08:53:43

   9     disclose the Belkin product, it disclosed a                           08:53:44

  10     review with a limited set of information,                             08:53:47

  11     perfectly fair point for them to make.                                08:53:49

  12                   THE COURT:    Okay.                                     08:53:52

  13                   MS. DURIE:    But it's not the same                     08:53:52

  14     thing that is represented.                                            08:53:54

  15                   THE COURT:    I totally agree.       I                  08:53:56

  16     think that having the picture of the device                           08:53:57

  17     here, I mean, we are going to describe to the                         08:53:59

  18     jury our reference and the reference is a                             08:54:01

  19     combination of Dickens and this physical                              08:54:03

  20     device, and that is juxtaposed, Dickens and a                         08:54:07

  21     picture of the physical device, it references                         08:54:11

  22     that was considered by the office, is                                 08:54:13

  23     rejected, I think that's misleading.                                  08:54:15

  24                   So I think that the slides ought                        08:54:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 13 of 503 PageID #: 17892

                                     TRIAL - VOLUME 5

                                                                           Page 12

   1     to be revised to remove all three slides, 13,                         08:54:20

   2     14 and 15 ought to be removed to a -- revised                         08:54:23

   3     to remove the actual picture of the device                            08:54:27

   4     because that's just -- we all know the patent                         08:54:31

   5     office didn't actually consider the device.                           08:54:33

   6                   MR. BANNER:     Okay.                                   08:54:35

   7                   THE COURT:     If you want to call                      08:54:36

   8     out the data sheet as a further review, if you                        08:54:37

   9     have it, or something else, that's fine.           But                08:54:39

  10     I don't think you should have the pictures of                         08:54:41

  11     the device.    Okay?                                                  08:54:43

  12                   MR. BANNER:     I understand.                           08:54:44

  13                   MS. DURIE:     Thank you, Your Honor.                   08:54:45

  14                   The second issue has to do with                         08:54:46

  15     Dr. Levy providing an opinion regarding                               08:54:48

  16     written description.       I have handed up to the                    08:54:50

  17     Court his expert report.                                              08:54:52

  18                   On page 75, there appears, which I                      08:54:53

  19     supplied, there appears a section of the                              08:54:58

  20     written description, enablement and                                   08:55:00

  21     indefiniteness.     The only place where a                            08:55:02

  22     written description appears is in the title.                          08:55:04

  23                   His entire opinion on the subject                       08:55:07

  24     is one page, it runs over to the very top of                          08:55:09


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 14 of 503 PageID #: 17893

                                      TRIAL - VOLUME 5

                                                                            Page 13

   1     page 76.    There is no analysis of the written                        08:55:11

   2     description in it.      There is analysis of                           08:55:15

   3     enablement, and he is free to present that,                            08:55:17

   4     but he should not be permitted to offer an                             08:55:20

   5     opinion on written description because none of                         08:55:22

   6     this was disclosed.                                                    08:55:25

   7                   THE COURT:     Is he going to opine                      08:55:26

   8     on the written description?                                            08:55:28

   9                   MR. BANNER:      Well, Your Honor, we                    08:55:29

  10     have offered that he is going to limit his                             08:55:31

  11     testimony to what is in his report.           What is                  08:55:33

  12     in his report at 327 is that he disagrees with                         08:55:37

  13     Mr. Garney's opinion with respect to written                           08:55:40

  14     description and enablement, and also                                   08:55:42

  15     throughout his report, he describes what the                           08:55:44

  16     patent is about.                                                       08:55:46

  17                   So he should be able to opine                            08:55:49

  18     about what the patent is talking about when he                         08:55:51

  19     read it, when he did his analysis.                                     08:55:53

  20                   THE COURT:     Okay.                                     08:55:59

  21                   So he said he disagrees with Mr.                         08:56:00

  22     Garney on written description, right?           We can                 08:56:03

  23     all agree on that; it's there.                                         08:56:06

  24                   MS. DURIE:     Sure.                                     08:56:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 15 of 503 PageID #: 17894

                                      TRIAL - VOLUME 5

                                                                            Page 14

   1                   THE COURT:     And then the question                     08:56:09

   2     is, is what's, I guess, disclosed in the rest                          08:56:10

   3     of his report, I'm obviously not going to take                         08:56:14

   4     the time to read now, sufficient -- you're                             08:56:17

   5     saying it is implicit in. It, I guess, is the                          08:56:20

   6     written description opinion?         Is that what                      08:56:24

   7     you're saying, Mr. Banner?                                             08:56:26

   8                   MR. BANNER:      Well, I'm saying he                     08:56:28

   9     has various opinions throughout his report                             08:56:30

  10     about what the patent teaches and what he is                           08:56:31

  11     looking at when he is comparing the patent to                          08:56:33

  12     the prior art.     So, you know, we just want to                       08:56:36

  13     make sure that he is not precluded from saying                         08:56:38

  14     what he understands the patent teaches in that                         08:56:40

  15     respect.                                                               08:56:42

  16                   For example, on page 19 of his                           08:56:43

  17     report, he talks about what he understands the                         08:56:45

  18     patent is describing, of course, and it goes                           08:56:49

  19     on to page 20, of the '243 Patent.           I mean, he                08:56:53

  20     shouldn't not be able to talk about what the                           08:56:56

  21     patent teaches.                                                        08:56:58

  22                   MS. DURIE:     So I don't have a                         08:56:59

  23     problem with him providing background                                  08:57:00

  24     consistent with his report, if he says as a                            08:57:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 16 of 503 PageID #: 17895

                                     TRIAL - VOLUME 5

                                                                           Page 15

   1     matter of background.      I don't want him coming                    08:57:05

   2     in and offering an undisclosed opinion on                             08:57:08

   3     written description.                                                  08:57:10

   4                  He can get on the stand and say                          08:57:11

   5     exactly what he says here, which is I disagree                        08:57:12

   6     with Mr. Garney's opinion, but he should not                          08:57:15

   7     be permitted to say more than that because                            08:57:18

   8     there is nothing in the section of written                            08:57:20

   9     description that would explain what his basis                         08:57:22

  10     is for contending that there is an adequate                           08:57:24

  11     written description in the patent, whatever,                          08:57:27

  12     why.                                                                  08:57:29

  13                  THE COURT:     Yeah, I think where I                     08:57:29

  14     am on this, and, you know, I mean, again,                             08:57:30

  15     there are always some legitimate questions to                         08:57:35

  16     the answers, he can certainly testify to what                         08:57:37

  17     he disclosed in the report, what he thinks the                        08:57:41

  18     patent means, he can talk about that.                                 08:57:43

  19                  To the extent that he wants to                           08:57:45

  20     say -- you can say that you want to elicit                            08:57:49

  21     from him the fact that he disagrees with Mr.                          08:57:50

  22     Garney on the description, he can say that.                           08:57:52

  23                  I think the sort of follow on to                         08:57:56

  24     that is, you know, do you think it satisfies                          08:57:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 17 of 503 PageID #: 17896

                                     TRIAL - VOLUME 5

                                                                           Page 16

   1     the written description requirement and how?                          08:58:01

   2     That doesn't look like it's here specifically                         08:58:04

   3     laid out and, you know --                                             08:58:06

   4                  MR. BANNER:      I agree, Your Honor,                    08:58:08

   5     and I think that that's what we offered last                          08:58:09

   6     night when we said he would stick to his                              08:58:12

   7     report.                                                               08:58:14

   8                  THE COURT:     Okay.    All right.                       08:58:14

   9                  So we'll do it that way.         I think                 08:58:16

  10     that will cover it.                                                   08:58:17

  11                  MS. DURIE:     Thank you, Your Honor.                    08:58:18

  12                  MR. BANNER:      Thank you.                              08:58:19

  13                  THE COURT:     All right.                                08:58:20

  14                  I guess the two quick other                              08:58:21

  15     housekeeping matters I had, when we talked                            08:58:22

  16     about jury instructions yesterday, we did not                         08:58:26

  17     discuss the verdict sheet.        I didn't know if                    08:58:31

  18     anyone has views on it.                                               08:58:34

  19                  MS. DURIE:     I think it's fine.                        08:58:35

  20                  THE COURT:     Okay.                                     08:58:37

  21                  MR. GRAY:     We're okay with it as                      08:58:38

  22     well.                                                                 08:58:39

  23                  THE COURT:     Great.                                    08:58:39

  24                  And then just, I don't know where                        08:58:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 18 of 503 PageID #: 17897

                                     TRIAL - VOLUME 5

                                                                           Page 17

   1     you are on the Sandia issue in the                                    08:58:42

   2     instructions.                                                         08:58:45

   3                  MR. GRAY:     Thank you, Your Honor.                     08:58:46

   4                  So taking a step back to the                             08:58:51

   5     pretrial order, on page 22, it lays out three                         08:58:52

   6     potential damages theories that Microchip was                         08:58:59

   7     going to and has presented at trial, and the                          08:59:01

   8     first theory says it lost profits from                                08:59:04

   9     July 1st, 2017, to November 30th, 2021, and                           08:59:08

  10     then a reasonable royalty thereafter.          This is                08:59:12

  11     the time period issue we discussed a little                           08:59:14

  12     bit yesterday.                                                        08:59:16

  13                  And the jury has already heard                           08:59:17

  14     evidence that Microchip had the Athens chip on                        08:59:19

  15     the market, and we haven't heard evidence of                          08:59:21

  16     any other chip on the market during the                               08:59:23

  17     damages period that enabled CarPlay.          So Dr.                  08:59:25

  18     Becker's calculation was based on the Sandia                          08:59:31

  19     profits, not the Athens profits.                                      08:59:34

  20                  But Dr. Becker's opinion doesn't                         08:59:36

  21     change Microchip's contention for purposes of                         08:59:39

  22     the jury instructions because there is                                08:59:41

  23     evidence in the record already to support the                         08:59:43

  24     time period theory that Microchip presented.                          08:59:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 19 of 503 PageID #: 17898

                                     TRIAL - VOLUME 5

                                                                           Page 18

   1                    THE COURT:    Well, how would the                      08:59:49

   2     jury do any kind of lost profits calculation                          08:59:51

   3     on lost sales of Athens?                                              08:59:58

   4                    MR. GRAY:    If, for example, after                    09:00:01

   5     it raises the issue of when Sandia was ready                          09:00:04

   6     to be tested and therefore accepted or awarded                        09:00:07

   7     programs, if they say that the Sandia chip                            09:00:10

   8     couldn't have been ready three months earlier                         09:00:13

   9     or so, I think is what their contention is, to                        09:00:16

  10     satisfy the existing deadlines for the OEMs,                          09:00:19

  11     then the jury could take Dr. Becker's profit                          09:00:24

  12     calculation for Athens, which is        REDACTED   per                09:00:26

  13     chip, and find that Microchip -- or that the                          09:00:31

  14     OEMs would have selected the Athens chip a                            09:00:35

  15     couple months before the Sandia chip was ready                        09:00:38

  16     for testing.                                                          09:00:41

  17                    Does that make sense?       I'm happy                  09:00:43

  18     to explain.                                                           09:00:45

  19                    THE COURT:    Yeah.   So, I am just                    09:00:46

  20     thinking of that in the context of the                                09:00:48

  21     instruction.     Okay.                                                09:00:49

  22                    MR. GRAY:    But we do believe that                    09:00:55

  23     including to limit Microchip's capacity for                           09:00:57

  24     lost damages to the Sandia chip only would be                         09:01:00


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 20 of 503 PageID #: 17899

                                      TRIAL - VOLUME 5

                                                                            Page 19

   1     error based on our contentions here.                                   09:01:02

   2                    THE COURT:     Okay.    All right.                      09:01:05

   3     I'll take the word "Sandia" out of the                                 09:01:07

   4     instruction and just leave it as chips and                             09:01:11

   5     we'll go from there.                                                   09:01:15

   6                    MR. GRAY:     Thank you.                                09:01:16

   7                    THE COURT:     At least that will                       09:01:17

   8     clarify.     All right.     That was all I had.                        09:01:19

   9                    Anything else that I need to --                         09:01:21

  10                    MS. DURIE:     I have a procedural                      09:01:23

  11     question.     We will have a Rule 50 motion at                         09:01:24

  12     the close of the evidence.                                             09:01:27

  13                    THE COURT:     I mean --                                09:01:28

  14                    MS. DURIE:     Do you -- just as a                      09:01:29

  15     purely procedural matter, I can make an oral                           09:01:31

  16     motion.     I understand that would be consistent                      09:01:34

  17     with the Court's preference.          My question                      09:01:36

  18     really just had to do with how to do it in                             09:01:38

  19     front of the jury, whether you want me to say                          09:01:40

  20     we have a Rule 50 motion and we'll raise the                           09:01:42

  21     substance of it at a break, whether you want                           09:01:44

  22     me to approach.                                                        09:01:46

  23                    THE COURT:     Yeah, I mean, I                          09:01:47

  24     noticed that there was something specific                              09:01:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 21 of 503 PageID #: 17900

                                     TRIAL - VOLUME 5

                                                                           Page 20

   1     about this in the pretrial order that says you                        09:01:51

   2     can make a motion and then we'll hear it at                           09:01:53

   3     the next sort of logical break.                                       09:01:56

   4                  MS. DURIE:     Correct.     And I just                   09:01:57

   5     wanted everyone to be clear that I can simply                         09:01:59

   6     stand up and say, we have an oral motion under                        09:02:02

   7     Rule 50, that that would be sufficient at that                        09:02:04

   8     point in time, and that we would then put the                         09:02:05

   9     bases for the motion on the record.                                   09:02:08

  10                  THE COURT:     Yeah, I think that's                      09:02:10

  11     fine, unless you have a problem with that.                            09:02:12

  12                  MR. RUSSELL:      That was actually                      09:02:14

  13     the one issue I was going to raise, too.           We                 09:02:15

  14     wanted to know when Your Honor would like to                          09:02:17

  15     entertain Rule 50, given the language about                           09:02:20

  16     giving it at a break.                                                 09:02:22

  17                  THE COURT:     I think you need to                       09:02:22

  18     make the motion on the evidence when the issue                        09:02:24

  19     is in, and then given our planned schedule for                        09:02:26

  20     the day, I don't know when I am going to wind                         09:02:30

  21     up charging the jury.      I mean, it doesn't                         09:02:32

  22     matter, I mean, I'll charge the jury and the                          09:02:35

  23     case isn't submitted to them until after I                            09:02:38

  24     give them their final set of instructions                             09:02:40


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 22 of 503 PageID #: 17901

                                     TRIAL - VOLUME 5

                                                                           Page 21

   1     tomorrow.   In fact -- so let's see what the                          09:02:45

   2     schedule for the day is.                                              09:02:46

   3                  My suggestion is whenever the                            09:02:47

   4     evidence is closed, anybody wants to make a                           09:02:49

   5     Rule 50 motion, make it.       If we're at a                          09:02:52

   6     logical point where I send the jury out, I                            09:02:55

   7     don't think we're going to get there by lunch,                        09:02:58

   8     but if we do and I send them out, then we can                         09:03:00

   9     hear the bases over lunch.                                            09:03:02

  10                  If not, then I can either hear                           09:03:04

  11     them, you know, before or I can hear the                              09:03:07

  12     arguments after I instruct the jury and send                          09:03:09

  13     them home, because we'll have some time this                          09:03:11

  14     afternoon, I think.      I don't think it will                        09:03:15

  15     take us until the end of the day, so that may                         09:03:16

  16     be an efficient use of the day as well, get                           09:03:19

  17     the instructions out, get the jury out the                            09:03:21

  18     door and then actually hear the arguments                             09:03:23

  19     then.                                                                 09:03:25

  20                  MR. RUSSELL:      Great.    Just one                     09:03:25

  21     point of clarification which is, you're saying                        09:03:27

  22     we need to make an oral Rule 50 in front of                           09:03:29

  23     the jury and then make --                                             09:03:31

  24                  THE COURT:     I don't care if you                       09:03:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 23 of 503 PageID #: 17902

                                     TRIAL - VOLUME 5

                                                                           Page 22

   1     make it in front of the jury.          I don't know                   09:03:33

   2     that the jury needs to actually hear you say                          09:03:35

   3     the words "Rule 50" to preserve the motion.                           09:03:38

   4     It's not going to mean anything to them and                           09:03:42

   5     they are not going to be instructed.                                  09:03:44

   6                    Again, the rule says you make the                      09:03:45

   7     motion any time before the case is submitted                          09:03:47

   8     to the jury.     The case won't be submitted to                       09:03:49

   9     the jury until you guys close and I give them                         09:03:51

  10     that last instruction tomorrow and then they                          09:03:54

  11     go out to deliberate.                                                 09:03:56

  12                    So if you want to wait until                           09:03:57

  13     they're out the door tonight and just say,                            09:03:59

  14     Your Honor, we have a Rule 50 motion.          That's                 09:04:00

  15     fine, too.                                                            09:04:03

  16                    MR. RUSSELL:     Thank you, Your                       09:04:04

  17     Honor.                                                                09:04:05

  18                    THE COURT:     All right.    So let's                  09:04:05

  19     bring them in.     Just so everyone knows, I'll                       09:04:08

  20     probably give them a 30-second overview or                            09:04:11

  21     maybe a minute overview of where we stand                             09:04:13

  22     procedurally, just so they know what to                               09:04:16

  23     expect.                                                               09:04:18

  24                    MS. DURIE:     Great.                                  09:04:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 24 of 503 PageID #: 17903

                                      TRIAL - VOLUME 5

                                                                            Page 23

   1                   MR. RUSSELL:      And just so Your                       09:04:21

   2     Honor knows, the only witness we are going to                          09:04:22

   3     have after Garney, I believe, is Mr. Levy.                             09:04:25

   4                   THE COURT:     Great.                                    09:04:27

   5                   So you are not calling Mr.                               09:04:27

   6     Obolsky?                                                               09:04:30

   7                   MR. RUSSELL:      That's right.                          09:04:31

   8                   THE COURT:     Okay.                                     09:04:32

   9                   MR. SAULSBURY:       Your Honor, it                      09:05:05

  10     appears we have a dispute.         They are telling                    09:05:06

  11     me that the boxes for the slides are excluded.                         09:05:10

  12     I understood Your Honor's ruling to be that we                         09:05:12

  13     could lay a foundation for the physical boxes                          09:05:14

  14     based on the case law that the indicia on the                          09:05:16

  15     box can be -- well, the jury is coming.                                09:05:21

  16                   THE COURT:     Well, let's approach.                     09:05:23

  17     Hold on a second.      Let me -- give me a moment.                     09:05:25

  18                   (Whereupon, the jury entered the                         09:05:36

  19     courtroom.)                                                            09:05:37

  20                   THE COURT:     All right.      Good                      09:05:40

  21     morning, everybody.       We were -- I wanted to                       09:05:40

  22     give you a quick overview -- I'm sorry, you                            09:05:45

  23     all can be seated -- a quick overview on kind                          09:05:48

  24     of where we stand as we are kind of wrapping                           09:05:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 25 of 503 PageID #: 17904

                                      TRIAL - VOLUME 5

                                                                            Page 24

   1     up the first week here.                                                09:05:53

   2                    I expect, based on what I have                          09:05:54

   3     heard from the lawyers, that today will be the                         09:05:58

   4     last day with the presentation of evidence; in                         09:06:00

   5     other words, the witnesses.         And then at some                   09:06:03

   6     point this afternoon, depending -- I don't                             09:06:06

   7     know exactly time-wise where it will happen,                           09:06:09

   8     but at some point this afternoon, what you                             09:06:11

   9     should expect to happen is I'm going to give                           09:06:14

  10     you instructions on the law.                                           09:06:16

  11                    So I'll tell you basically, you                         09:06:19

  12     know, a fair amount of detail how the law                              09:06:20

  13     works in this area and what law you have to                            09:06:23

  14     apply.     We'll wrap that up today.                                   09:06:25

  15                    I just want to warn you now, it is                      09:06:29

  16     a long slog that I have to read to you, so                             09:06:34

  17     we'll probably pick it up and put our heads up                         09:06:37

  18     for a minute, but we'll do that.          I will then                  09:06:40

  19     send you all home, I don't know, it might run                          09:06:42

  20     until 5 o'clock, but it might be earlier.                              09:06:45

  21                    When we come back tomorrow, the                         09:06:47

  22     parties will do their closing arguments to                             09:06:49

  23     you.     I'll give you one last instruction which                      09:06:51

  24     will be about how you actually go back and                             09:06:55


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 26 of 503 PageID #: 17905

                                      TRIAL - VOLUME 5

                                                                            Page 25

   1     deliberate as the jury, and then you will have                         09:06:56

   2     the case.                                                              09:06:58

   3                   So my expectation is that sometime                       09:06:58

   4     around lunchtime tomorrow, you will be in a                            09:07:01

   5     position to begin your deliberations.                                  09:07:03

   6     Obviously you've heard a lot, there's going to                         09:07:05

   7     be a lot of evidence.       All the various                            09:07:08

   8     exhibits you've heard us reference and have                            09:07:10

   9     seen on the screens that have been admitted                            09:07:12

  10     into evidence will be sent in the back with                            09:07:14

  11     you.                                                                   09:07:17

  12                   We'll also be sending back to you                        09:07:18

  13     a copy of my written jury charge, so you'll                            09:07:19

  14     have to sort through all that however you see                          09:07:22

  15     fit.   And so we'll be here, you know -- and it                        09:07:24

  16     continues as you go through it, just for your                          09:07:27

  17     planning purposes, this -- the Court here is                           09:07:30

  18     closed on Friday for Good Friday.          So we won't                 09:07:33

  19     be here.    So if you finish before that, fine.                        09:07:37

  20     If not, we'll come back Monday and continue,                           09:07:40

  21     but we will be on break Friday.                                        09:07:43

  22                   So I just wanted to give you that                        09:07:49

  23     overview.    And now I have apologize to you.           I              09:07:50

  24     may have jumped the gun by bringing you in                             09:07:52


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 27 of 503 PageID #: 17906

                                     TRIAL - VOLUME 5

                                                                           Page 26

   1     about two minutes, so I have one issue to take                        09:07:55

   2     up with the lawyers.      So I am going to bring                      09:07:57

   3     them up here and put on that white noise                              09:08:00

   4     machine, so hang with us for a minute, okay.                          09:08:02

   5                  (Whereupon, a discussion was held                        09:16:10

   6     at sidebar as follows:                                                09:16:10

   7                  THE COURT:     I know you don't want                     09:16:10

   8     the jury to hear you, but with the white                              09:16:10

   9     noise, I can tell you, they can't.          But both                  09:16:10

  10     Rose and I need to hear you.                                          09:16:10

  11                  MR. SLAYDEN:      At the pretrial                        09:16:10

  12     conference, we understand Your Honor had                              09:16:10

  13     sustained our objection to the boxes coming                           09:16:10

  14     into evidence.    There was certain indicia of                        09:16:10

  15     dates on them.    They weren't offered for that,                      09:16:10

  16     they were hearsay in there, and you were                              09:16:10

  17     saying the boxes were out of the physical --                          09:16:10

  18     only the physical descriptions within them                            09:16:10

  19     could come in.    That was what was told at the                       09:16:10

  20     preliminary conference, the switches are in,                          09:16:10

  21     but the boxes are not.                                                09:16:10

  22                  THE COURT:     So why do you need the                    09:16:10

  23     boxes?                                                                09:16:10

  24                  MR. SAULSBURY:       Because Mr. Garney                  09:16:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 28 of 503 PageID #: 17907

                                     TRIAL - VOLUME 5

                                                                           Page 27

   1     relied on information on the boxes for him to                         09:16:10

   2     form his opinion on the prior case.          The case                 09:16:10

   3     law is clearly -- the Delaware case on point,                         09:16:10

   4     it is the MobileMedia v.       Apple case, it says                    09:16:10

   5     an expert may reasonably rely on documentation                        09:16:10

   6     to determine --                                                       09:16:10

   7                  THE COURT REPORTER:        I'm sorry, I                  09:16:10

   8     can't hear you.                                                       09:16:10

   9                  MR. SAULSBURY:       MobileMedia Ideas                   09:16:10

  10     vs. Apple, 907 App.Sup. 2D, 570, the cite is                          09:16:10

  11     605 Delaware case from 2012.                                          09:16:10

  12                  It says, "An expert may reasonably                       09:16:10

  13     rely on a copyright date on the documentation                         09:16:10

  14     to determine an approximate date of public                            09:16:10

  15     availability and absent any evidence to the                           09:16:10

  16     contrary, the Court may rely on that prior art                        09:16:10

  17     date."                                                                09:16:10

  18                  So it is a fact issue to                                 09:16:10

  19     ultimately be determined by the jury.          The                    09:16:10

  20     copyright date is informative.                                        09:16:10

  21                  THE COURT:     I think that the                          09:16:10

  22     problem I have was -- there's a difference.                           09:16:10

  23     He can rely on it under Rule 703, no question                         09:16:10

  24     about it.   What he can't do is just convey                           09:16:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 29 of 503 PageID #: 17908

                                     TRIAL - VOLUME 5

                                                                           Page 28

   1     hearsay to the jury.                                                  09:16:10

   2                  MR. SAULSBURY:       Absolutely.                         09:16:10

   3                  THE COURT:     And so I think there                      09:16:10

   4     is a difference between him saying well, yeah,                        09:16:10

   5     I determined that it was on sale.         I looked at                 09:16:10

   6     various things, including the boxes.          That                    09:16:10

   7     doesn't mean the boxes come in.         The boxes,                    09:16:10

   8     themselves, are still hearsay, right?           I think               09:16:10

   9     that's the distinction that I am seeing.             So               09:16:10

  10     he can say that's what he looked at.                                  09:16:10

  11                  MR. SAULSBURY:       Sorry, I didn't                     09:16:10

  12     mean to interrupt you.                                                09:16:10

  13                  THE COURT:     That's okay.                              09:16:10

  14                  MR. SAULSBURY:       What I was going                    09:16:10

  15     to say is the copyright date, itself, is                              09:16:10

  16     hearsay, but a limiting instruction would be                          09:16:10

  17     appropriate here because Mr. Garney is going                          09:16:10

  18     to be testifying about this information, the                          09:16:10

  19     jury is not going to have the transcript,                             09:16:10

  20     obviously, so the box is a point of reference.                        09:16:10

  21     They'll have a limiting instruction that says                         09:16:10

  22     you can't rely on it for the truth of the                             09:16:10

  23     matter.                                                               09:16:11

  24                  THE COURT:     So then what are they                     09:16:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 30 of 503 PageID #: 17909

                                     TRIAL - VOLUME 5

                                                                           Page 29

   1     relying on the boxes for?                                             09:16:11

   2                  MR. SAULSBURY:       It will -- there's                  09:16:11

   3     a couple things.     First of all, there's the                        09:16:11

   4     suggestion -- there has been suggestion that                          09:16:11

   5     what Mr. Garney already looked at isn't                               09:16:11

   6     actually the device that he rendered the                              09:16:11

   7     opinion on and the boxes establish why, and                           09:16:11

   8     you will understand why because the boxes                             09:16:11

   9     indicate what the product is and that maps                            09:16:11

  10     physically the devices, themselves.                                   09:16:11

  11                  THE COURT:     Well, doesn't the                         09:16:11

  12     product itself indicate what it is?          I'm                      09:16:11

  13     assuming it has a label on it.                                        09:16:11

  14                  MR. SAULSBURY:       The product,                        09:16:11

  15     itself, does not have -- so there's this                              09:16:11

  16     suggestion that US-98 and the device that Mr.                         09:16:11

  17     Garney looked at are different devices.                               09:16:11

  18                  THE COURT:     Right.     I know that.                   09:16:11

  19                  MR. SAULSBURY:       I didn't mean to                    09:16:11

  20     suggest you didn't.                                                   09:16:11

  21                  THE COURT:     No, I understand.       You               09:16:11

  22     don't have to tread on egg shells, it's okay.                         09:16:11

  23                  MR. SAULSBURY:       The device itself                   09:16:11

  24     doesn't say US-98.                                                    09:16:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 31 of 503 PageID #: 17910

                                     TRIAL - VOLUME 5

                                                                           Page 30

   1                  THE COURT:       Right.                                  09:16:11

   2                  MR. SAULSBURY:       But there's other                   09:16:11

   3     markings on the packaging.                                            09:16:11

   4                  MR. SLAYDEN:       The box --                            09:16:11

   5                  THE COURT:       So wait, the box                        09:16:11

   6     doesn't say US-98, it says other things like                          09:16:11

   7     Linksys, you're saying.                                               09:16:11

   8                  All right.       I don't think the                       09:16:11

   9     boxes should come in, at least for now.                               09:16:11

  10                  MR. SAULSBURY:       Understood.                         09:16:11

  11                  THE COURT:       He can -- again, he                     09:16:11

  12     can talk about what he relied on, which I                             09:16:11

  13     think it's 100 percent within the range of                            09:16:11

  14     what a reasonable expert would rely on in his                         09:16:11

  15     field, so I understand that.           That doesn't                   09:16:11

  16     obviate the hearsay problem with the boxes.                           09:16:11

  17                  Now, having said that, depending                         09:16:11

  18     on the cross-examination, you may have some                           09:16:11

  19     room on redirect, okay, because depending what                        09:16:11

  20     you do, Mr. Slayden, you may be opening the                           09:16:11

  21     door.   So just walk that line carefully and                          09:16:11

  22     we'll see where we are, but I think that's                            09:16:11

  23     where I am on it.     Okay.                                           09:16:11

  24                  MR. SAULSBURY:       Understood.     What                09:16:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 32 of 503 PageID #: 17911

                                     TRIAL - VOLUME 5

                                                                           Page 31

   1     I will do then is I'll take the materials out                         09:16:11

   2     of the box and I guess I'll put new exhibit                           09:16:11

   3     stickers on the contents of the box and then                          09:16:11

   4     hand it up to Mr. Garney.                                             09:16:11

   5                  THE COURT:     Yeah, I thought that's                    09:16:11

   6     what we decided at pretrial, was that you were                        09:16:11

   7     going to hand him the actual devices.                                 09:16:11

   8                  MR. SAULSBURY:       The actual devices                  09:16:11

   9     and the rest of the contents of the box.                              09:16:11

  10                  THE COURT:     I don't know what else                    09:16:11

  11     is in the box, but that's fine.         If it's                       09:16:11

  12     something he looked at and it's a physical                            09:16:11

  13     device that's part of his analysis.                                   09:16:11

  14                  MR. SAULSBURY:       One of the things                   09:16:11

  15     is a CD that is very much a part of this                              09:16:11

  16     analysis.   We are not relying on the copyright                       09:16:11

  17     date on the CD; we are relying on the last                            09:16:11

  18     modified date of the software that is on the                          09:16:11

  19     CD.                                                                   09:16:11

  20                  THE COURT:     Yeah, we talked about                     09:16:11

  21     this at the final pretrial.        Don't you have                     09:16:11

  22     the actual document screenshot from the                               09:16:11

  23     results of the CD?                                                    09:16:11

  24                  MR. SLAYDEN:      Yes.                                   09:16:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 33 of 503 PageID #: 17912

                                     TRIAL - VOLUME 5

                                                                           Page 32

   1                  MR. SAULSBURY:       There is a                          09:16:12

   2     suggestion that the screenshot doesn't                                09:16:12

   3     demonstrate because this is in the weeds, but                         09:16:12

   4     the screenshot was taken on a Linksys machine.                        09:16:12

   5     There is a Y that dates it in 2036.          Obviously                09:16:12

   6     Linksys isn't a time machine and so we want to                        09:16:12

   7     use the CD to clear up any doubt about the                            09:16:12

   8     last modified dates because we don't want them                        09:16:12

   9     calling into question whether the last dates                          09:16:12

  10     are reliable.                                                         09:16:12

  11                  THE COURT:     Other than the fact                       09:16:12

  12     that the CD has the copyright notice on it,                           09:16:12

  13     other than the fact it's a shiny disk, what                           09:16:12

  14     does it tell them?                                                    09:16:12

  15                  MR. SAULSBURY:       What we were going                  09:16:12

  16     to do is put the CD in an optical drive and                           09:16:12

  17     just show its contents and its contents aren't                        09:16:12

  18     hearsay because --                                                    09:16:12

  19                  THE COURT:     No, I'm not saying                        09:16:12

  20     they are hearsay.     Why don't we -- we're sort                      09:16:12

  21     of in the same place, and this is all -- I                            09:16:12

  22     know it's sort of anticipatory, but let's save                        09:16:12

  23     it for redirect if it's necessary, okay?           I                  09:16:12

  24     don't think you need to -- well, wait.           Let me               09:16:12


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 34 of 503 PageID #: 17913

                                      TRIAL - VOLUME 5

                                                                            Page 33

   1     back up.                                                               09:16:12

   2                   Are you going to introduce the CD,                       09:16:12

   3     itself, as evidence?       Because if so, I guess                      09:16:12

   4     my question is, let's say you introduce it as                          09:16:12

   5     evidence, just hear me out for a second, and                           09:16:12

   6     then I'm going to send the disk back with the                          09:16:12

   7     jury, are they getting the optical drive to                            09:16:12

   8     try to recreate that?                                                  09:16:12

   9                   MR. SAULSBURY:       They are getting                    09:16:12

  10     an optical drive.      They also have a computer                       09:16:12

  11     for the spreadsheets.       However, Your Honor, if                    09:16:12

  12     you would prefer to see what comes out in                              09:16:12

  13     cross or what contention is caused, our                                09:16:12

  14     suggestion is made that the 2036 date suggests                         09:16:12

  15     that dates aren't reliable, we can deal with                           09:16:12

  16     it in redirect.                                                        09:16:12

  17                   THE COURT:     If you want to just                       09:16:12

  18     say -- if you want to pull the teeth on that,                          09:16:12

  19     you know, on direct on the 2036 issue on                               09:16:12

  20     there, that's fine, right?         I just don't know                   09:16:12

  21     that you necessarily need to actually                                  09:16:12

  22     introduce the CD.      It seems like an unduly                         09:16:12

  23     complicated part of this.                                              09:16:12

  24                   MR. SAULSBURY:       That's fair, Your                   09:16:12


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 35 of 503 PageID #: 17914

                                     TRIAL - VOLUME 5

                                                                           Page 34

   1     Honor.   I can pull it up, introduce the CD on                        09:16:12

   2     redirect.     If there's some sort of suggestion,                     09:16:12

   3     then we reserve the right to do it on                                 09:16:12

   4     redirect.                                                             09:16:12

   5                    THE COURT:     That's fine.    All                     09:16:12

   6     right.   Good.                                                        09:16:12

   7                    (Whereupon, the discussion                             09:16:16

   8     concluded at sidebar.)                                                09:16:16

   9                    THE COURT:     Ladies and gentlemen,                   09:16:16

  10     we are going to resume with Mr. Garney's                              09:16:18

  11     testimony this morning.                                               09:16:20

  12                    Mr. Garney, you understand you're                      09:16:21

  13     still under oath?                                                     09:16:22

  14                    THE WITNESS:       Yes.                                09:16:23

  15                    THE COURT:     Mr. Saulsbury, take a                   09:16:24

  16     moment to get situated and then we'll start.                          09:16:26

  17                                   -    -     -                            09:16:37

  18                      DIRECT EXAMINATION, CONTINUED                        09:16:37

  19                                   -    -     -                            09:16:40

  20     BY MR. SAULSBURY:                                                     09:16:40

  21         Q.      Good morning, Mr. Garney.                                 09:16:41

  22         A.      Good morning.                                             09:16:42

  23         Q.      I just have one bit of follow-up                          09:16:43

  24     relating to your non-infringement opinion.                            09:16:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 36 of 503 PageID #: 17915

                                     TRIAL - VOLUME 5

                                                                           Page 35

   1                    MR. SAULSBURY:     Mr. Glass, can we                   09:16:48

   2     please see Trial Exhibit 12 in evidence on                            09:16:50

   3     page 4.     This is the diagram of the dual role                      09:16:52

   4     hub we were looking at earlier, Mr. Garney.                           09:16:55

   5     BY MR. SAULSBURY:                                                     09:16:58

   6         Q.      My question is, if you take a look at                     09:16:58

   7     the head unit here on the left, it's Device A,                        09:17:00

   8     when did the head unit access that device?                            09:17:03

   9         A.      Well, the power has to be powered in                      09:17:05

  10     order for it to do that.                                              09:17:09

  11         Q.      Okay.                                                     09:17:10

  12                    And let's assume that the dual                         09:17:10

  13     role hub is operating in CarPlay mode for the                         09:17:13

  14     next few questions.      In that case, when can                       09:17:15

  15     the head unit access its device?                                      09:17:19

  16         A.      Head unit can access Device A any                         09:17:21

  17     time it wants.                                                        09:17:25

  18         Q.      And when can the iPhone access its                        09:17:26

  19     device, Device B?                                                     09:17:28

  20         A.      Since it's a host, it can access it's                     09:17:29

  21     device.     IPhone can access Device B any time                       09:17:32

  22     it wants.                                                             09:17:35

  23         Q.      What if the head unit and iPhone are                      09:17:35

  24     sending requests to their devices at the same                         09:17:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 37 of 503 PageID #: 17916

                                     TRIAL - VOLUME 5

                                                                           Page 36

   1     time, does that create any problem?                                   09:17:39

   2         A.      No, there is sort of no interference                      09:17:40

   3     of the two devices with each other, so each                           09:17:42

   4     host can access its device without any                                09:17:45

   5     constraints.                                                          09:17:47

   6         Q.      Is there a need to arbitrate as                           09:17:48

   7     between access requests from the host and the                         09:17:50

   8     iPhone?                                                               09:17:53

   9         A.      No, there is no arbitration present.                      09:17:54

  10         Q.      Now, do the head unit and iPhone                          09:17:58

  11     necessarily access their devices at the same                          09:18:01

  12     time?                                                                 09:18:04

  13         A.      No.   It might coincidentally, but not                    09:18:04

  14     necessarily.                                                          09:18:08

  15         Q.      So there are cases when they're not                       09:18:08

  16     both accessing their device at the same time?                         09:18:11

  17         A.      That's correct.                                           09:18:13

  18         Q.      Is the head unit ever prevented from                      09:18:14

  19     accessing Device A because iPhone is using                            09:18:16

  20     Device B?                                                             09:18:18

  21         A.      No.                                                       09:18:19

  22         Q.      And is the iPhone ever prevented from                     09:18:19

  23     accessing Device B because the head unit is                           09:18:21

  24     accessing Device A?                                                   09:18:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 38 of 503 PageID #: 17917

                                     TRIAL - VOLUME 5

                                                                           Page 37

   1         A.    No.                                                         09:18:25

   2         Q.    Okay.                                                       09:18:26

   3                     Let's pivot to validity.      Did you                 09:18:27

   4     also consider the validity of claim 23 through                        09:18:31

   5     25 of the asserted patent?                                            09:18:33

   6         A.    I did.                                                      09:18:36

   7         Q.    Okay.                                                       09:18:36

   8                     And I think, I promise that this                      09:18:37

   9     is the last binder I am going to hand you.                            09:18:38

  10                     And did you come to a conclusion                      09:18:55

  11     as to the validity of claim 23 through 25?                            09:18:57

  12         A.    Yes, I did.                                                 09:19:00

  13         Q.    Did you rely on prior art?                                  09:19:00

  14         A.    I did.                                                      09:19:02

  15         Q.    Okay.                                                       09:19:02

  16                     And what was your conclusion?                         09:19:03

  17         A.    My conclusion was that those claims                         09:19:03

  18     are invalid.                                                          09:19:05

  19         Q.    Okay.                                                       09:19:06

  20                     Now, I think we heard about this                      09:19:07

  21     in the patent video, but what's prior art?                            09:19:09

  22         A.    Prior art is, for at least patent                           09:19:13

  23     office actions, written documents, and for                            09:19:16

  24     settings like this, written documents and                             09:19:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 39 of 503 PageID #: 17918

                                     TRIAL - VOLUME 5

                                                                           Page 38

   1     actual products.                                                      09:19:20

   2         Q.      The things that were available in the                     09:19:20

   3     world before the patent was filed for?                                09:19:22

   4         A.      Yes, before the patent was filed.                         09:19:24

   5         Q.      And what's the relevant date of prior                     09:19:26

   6     art here?                                                             09:19:27

   7         A.      April 2006.                                               09:19:28

   8         Q.      Are all of the references you are                         09:19:31

   9     relying on for your opinion from before                               09:19:32

  10     April 2006?                                                           09:19:35

  11         A.      Yes, they were.                                           09:19:36

  12         Q.      Okay.                                                     09:19:37

  13                    What are those references?                             09:19:37

  14         A.      The -- there's a patent by --                             09:19:39

  15     actually two men both named Dickens, it is                            09:19:42

  16     called the Dickens' patents, and then there's                         09:19:45

  17     also two physical products I examined, one                            09:19:48

  18     called Belkin and one called US-98.                                   09:19:51

  19         Q.      And you concluded that claims 23                          09:19:53

  20     through 25 are obvious in light of those                              09:19:55

  21     references?                                                           09:19:57

  22         A.      Yes.    Obvious in combination of                         09:19:57

  23     Dickens plus either Belkin or Dickens plus                            09:20:00

  24     US-98.                                                                09:20:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 40 of 503 PageID #: 17919

                                      TRIAL - VOLUME 5

                                                                            Page 39

   1         Q.     Is this the first time you are                              09:20:04

   2     offering opinions that the '243 Patent is                              09:20:05

   3     invalid?                                                               09:20:07

   4         A.     No.                                                         09:20:08

   5         Q.     When did you do this before?                                09:20:09

   6         A.     I did this before the patent board                          09:20:10

   7     during this proceeding called inter parte                              09:20:13

   8     review.                                                                09:20:15

   9         Q.     That's a patent office proceeding we                        09:20:16

  10     heard about earlier where they considered                              09:20:18

  11     Dickens?                                                               09:20:20

  12         A.     That's correct.                                             09:20:21

  13         Q.     Okay.                                                       09:20:21

  14                      Now, are you -- that's the                            09:20:23

  15     proceeding in which Dickens was found to                               09:20:31

  16     invalidate claim 1; is that right?                                     09:20:35

  17         A.     That's correct.                                             09:20:37

  18         Q.     Okay.                                                       09:20:38

  19                      And do you know if the patent                         09:20:38

  20     office found claim 23 to be invalid based on                           09:20:41

  21     Dickens?                                                               09:20:43

  22         A.     They did not.                                               09:20:44

  23         Q.     How come?                                                   09:20:45

  24         A.     There was an element that was                               09:20:45


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 41 of 503 PageID #: 17920

                                      TRIAL - VOLUME 5

                                                                            Page 40

   1     missing, as taught by Dickens.                                         09:20:47

   2         Q.     The element being operable for                              09:20:49

   3     simultaneous configuration?                                            09:20:52

   4         A.     That's correct.                                             09:20:55

   5         Q.     Okay.                                                       09:20:56

   6                   Now, are you -- are you here to                          09:20:57

   7     disagree with the patent office's conclusion?                          09:20:59

   8         A.     No, they formed their own conclusion.                       09:21:02

   9         Q.     So you are not going to tell the jury                       09:21:04

  10     that Dickens satisfies the requirement of                              09:21:05

  11     being operable for simultaneous configuration?                         09:21:09

  12         A.     No, that's against the law.                                 09:21:11

  13         Q.     Okay.                                                       09:21:13

  14                   Now, if Dickens doesn't contain                          09:21:15

  15     that element, why do you think the claims are                          09:21:18

  16     invalid?                                                               09:21:20

  17         A.     Well, because I get the -- I mean,                          09:21:20

  18     the patent board can only look at the                                  09:21:22

  19     documentation, they can only see explicit                              09:21:24

  20     written things to convince them one way or the                         09:21:26

  21     other.                                                                 09:21:28

  22                   And I have the luxury, in this                           09:21:28

  23     kind of a proceeding, to look at actual                                09:21:30

  24     physical products and can do that in                                   09:21:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 42 of 503 PageID #: 17921

                                      TRIAL - VOLUME 5

                                                                            Page 41

   1     combination with the documents.          And if it's                   09:21:34

   2     obvious to combine the two, then I can use                             09:21:36

   3     that as a basis for my opinion.                                        09:21:39

   4         Q.     So you mentioned Belkin and US-98                           09:21:41

   5     earlier.     Are those the physical products                           09:21:44

   6     you're referencing?                                                    09:21:46

   7         A.     They are.                                                   09:21:47

   8         Q.     Now, has the patent office ever                             09:21:47

   9     considered whether, in the context of IPR or                           09:21:50

  10     otherwise, whether the claims are invalid as                           09:21:52

  11     obvious in light of Dickens and Belkin?                                09:21:54

  12         A.     No, they couldn't do that because                           09:21:57

  13     they would have had to look at physical                                09:21:59

  14     products that are -- and I don't know the                              09:22:00

  15     legal word, but they are barred from doing                             09:22:02

  16     that.    They are not allowed to do that.                              09:22:04

  17         Q.     Same question with respect to Dickens                       09:22:05

  18     and US-98.                                                             09:22:08

  19         A.     Same answer.     No, they couldn't look                     09:22:09

  20     at that.                                                               09:22:11

  21         Q.     And to your knowledge, has the                              09:22:11

  22     question of whether claims 23 through 25 are                           09:22:14

  23     invalid in view of Dickens and Belkin ever                             09:22:19

  24     been considered in another proceeding?                                 09:22:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 43 of 503 PageID #: 17922

                                      TRIAL - VOLUME 5

                                                                           Page 42

   1         A.    I don't believe it has.                                     09:22:24

   2         Q.    Okay.                                                       09:22:25

   3                    Let's take a look at Trial                             09:22:26

   4     Exhibit 184, please.        Or actually, sorry, if                    09:22:29

   5     you could turn to 184 in your binder, Mr.                             09:22:33

   6     Garney.                                                               09:22:37

   7                    (Whereupon, Trial Exhibit 184 was                      09:22:37

   8     introduced.)                                                          09:22:37

   9     BY MR. SAULSBURY:                                                     09:22:37

  10         Q.    Do you see that?                                            09:22:37

  11         A.    Okay.                                                       09:22:37

  12         Q.    Okay.                                                       09:22:38

  13                    Do you recognize this as the                           09:22:39

  14     patent we were just talking about?                                    09:22:41

  15         A.    I do.                                                       09:22:43

  16                    MR. SAULSBURY:     I move 184.                         09:22:44

  17                    MR. SLAYDEN:     No objection.                         09:22:46

  18                    THE COURT:     All right.    Received.                 09:22:47

  19                    MR. SAULSBURY:     Mr. Glass, if we                    09:22:49

  20     could see it up on the slide.        Thank you.                       09:22:50

  21     BY MR. SAULSBURY:                                                     09:22:52

  22         Q.    Could you give us a brief overview of                       09:22:53

  23     what Dickens is about, just at a high level at                        09:22:56

  24     this point?                                                           09:22:57


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 44 of 503 PageID #: 17923

                                     TRIAL - VOLUME 5

                                                                           Page 43

   1         A.    Sure.   So this is an invention                             09:22:57

   2     dealing with having multiple hosts that can                           09:23:00

   3     access multiple -- they have shared access                            09:23:01

   4     with multiple devices.                                                09:23:02

   5         Q.    And how did Dickens accomplish that,                        09:23:04

   6     again at a high level?                                                09:23:07

   7         A.    It just -- it has -- it has -- it                           09:23:09

   8     provides for separate hosts.        It has some                       09:23:17

   9     features called emulated computers and                                09:23:20

  10     features called emulated devices, and their                           09:23:23

  11     invention encompasses those which are used to                         09:23:27

  12     allow a host to have its access to a device.                          09:23:29

  13                  If there are two hosts that try to                       09:23:34

  14     access the shared device, it has a concept                            09:23:36

  15     called hold-off, which is a form of                                   09:23:39

  16     arbitration, so only one host would be able to                        09:23:40

  17     access the device and then the second host                            09:23:43

  18     trying would wait for that device to finish.                          09:23:45

  19     And when the hold-off is clear, then that                             09:23:47

  20     second device can act as a shared --                                  09:23:51

  21         Q.    And what --                                                 09:23:51

  22         A.    Second host could act.                                      09:23:54

  23         Q.    Thank you.                                                  09:23:58

  24                  And what does Dickens say about                          09:23:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 45 of 503 PageID #: 17924

                                     TRIAL - VOLUME 5

                                                                           Page 44

   1     how its system knows when the shared device is                        09:24:00

   2     available for the second host?                                        09:24:02

   3         A.    At least at one point, it talks about                       09:24:03

   4     something like a time-out.        So, for example,                    09:24:05

   5     when the printer is finished doing a document,                        09:24:07

   6     printing a document, and that's all done, they                        09:24:09

   7     could have a timer when it times out.          Then                   09:24:11

   8     they could release the hold-off and let the                           09:24:14

   9     second host print to the same printer.                                09:24:18

  10         Q.    Now, I believe you prepared some                            09:24:20

  11     slides regarding Dickens.                                             09:24:23

  12                  MR. SAULSBURY:       Mr. Glass, can we                   09:24:25

  13     please take a look at Slide 3.                                        09:24:26

  14                  THE WITNESS:      Yes.                                   09:24:28

  15     BY MR. SAULSBURY:                                                     09:24:29

  16         Q.    And, Mr. Garney, you should have a                          09:24:30

  17     clicker in front of you.       Could you please                       09:24:31

  18     take us through how Dickens maps to claim 23?                         09:24:34

  19         A.    Sure.                                                       09:24:40

  20                  So this is a figure straight out                         09:24:40

  21     of the Dickens patent, Figure 2, and it's                             09:24:42

  22     illustrative of the various pieces of Dickens.                        09:24:45

  23     And we have the claims of -- excuse me, the                           09:24:49

  24     claim elements of claim 23.                                           09:24:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 46 of 503 PageID #: 17925

                                     TRIAL - VOLUME 5

                                                                           Page 45

   1                  And so, for example, the first                           09:24:53

   2     thing that's talked about in Dickens is the                           09:24:54

   3     first host computer, that's the blue connected                        09:24:57

   4     to the device, that's done via this block 150.                        09:25:00

   5     The second host computer in green, also                               09:25:04

   6     connected to the invention is block 150, and                          09:25:07

   7     that accomplishes the two or more hosts, two                          09:25:11

   8     or more USB hosts that are explicit.          This is                 09:25:14

   9     done over USBs, so these are two USB hosts                            09:25:17

  10     connected -- well, two or more USB hosts is                           09:25:20

  11     what the claim language talks about.                                  09:25:24

  12                  The second thing is Dickens                              09:25:27

  13     presents a block that can be considered the                           09:25:29

  14     controller of the patent language and within                          09:25:32

  15     this controller is the logic that deals with                          09:25:35

  16     the arbitration, that makes the decision to                           09:25:37

  17     hold off or not and allow one of the devices                          09:25:39

  18     to print, one of the shared devices.                                  09:25:41

  19                  The next thing is the shared                             09:25:47

  20     device; we keep talking about the printer.                            09:25:49

  21     Dickens has a number of devices, but they                             09:25:51

  22     both -- I mean, they all are sort of quoted in                        09:25:54

  23     some sense, but we focus for this analysis on                         09:25:56

  24     the printer just for simplicity, and so they                          09:25:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 47 of 503 PageID #: 17926

                                      TRIAL - VOLUME 5

                                                                            Page 46

   1     have the USB shared device block.                                      09:26:02

   2                    Excuse me.    Pardon.     If we                         09:26:09

   3     advance, there are some other elements that                            09:26:14

   4     Dickens talks about that facilitates some of                           09:26:17

   5     these connections that we'll talk about.                               09:26:21

   6                    And then the -- I think if you                          09:26:24

   7     notice here, the part that got highlighted is                          09:26:27

   8     this longer text in the claim, it says,                                09:26:29

   9     "configured to establish concurrent respective                         09:26:32

  10     dedicated USB connections."                                            09:26:35

  11                    So Dickens talks about that                             09:26:37

  12     wherein each of the hosts can generate a USB                           09:26:39

  13     request.     That goes to the controller, it has                       09:26:45

  14     the arbitration logic in it.         Based on what                     09:26:49

  15     the arbitration controller sees, it determines                         09:26:53

  16     if it needs to decide which computer gets                              09:26:56

  17     access to the shared device.                                           09:26:59

  18                    And the arbiter then would                              09:27:02

  19     basically allow that transaction to move on to                         09:27:04

  20     the printer, the shared device, so that                                09:27:08

  21     accomplishes this configured to establish                              09:27:10

  22     concurrent respective dedicated USB                                    09:27:14

  23     connections.     So that middle claim element is                       09:27:16

  24     satisfied.                                                             09:27:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 48 of 503 PageID #: 17927

                                      TRIAL - VOLUME 5

                                                                            Page 47

   1                   So now, again, if you notice here                        09:27:24

   2     in the lower claim, the part that's                                    09:27:27

   3     highlighted is this longer phrase, "operable                           09:27:30

   4     to receive and respond to simultaneous                                 09:27:32

   5     respective USB access requests."          And what                     09:27:35

   6     that means is that if the two hosts, since                             09:27:38

   7     they are independent and they have independent                         09:27:41

   8     paths into this controller, so this is a                               09:27:43

   9     fairly complex invention, the specific                                 09:27:51

  10     connection of the mechanics that the invention                         09:27:55

  11     talks about is using something called PCI.                             09:27:57

  12                   PCI natively supports multiple                           09:28:01

  13     hosts and multiple devices.         That's just what                   09:28:03

  14     it does.    So it has no problem supporting each                       09:28:06

  15     of these hosts independently making a request.                         09:28:08

  16     And it's these little blocks that are shown                            09:28:10

  17     here that I can move.                                                  09:28:12

  18                   So those two requests can go into                        09:28:15

  19     the endpoint buffers of the controller, and                            09:28:17

  20     then one of the hosts, if my memory serves me                          09:28:19

  21     -- let me replay this so you can see more                              09:28:24

  22     readily.    When the host is going to give                             09:28:26

  23     access to the printer, you'll see the request                          09:28:28

  24     goes through the arbiter and the control down                          09:28:30


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 49 of 503 PageID #: 17928

                                     TRIAL - VOLUME 5

                                                                           Page 48

   1     through the device and the response goes back                         09:28:32

   2     up to the controller and to the device and the                        09:28:34

   3     other one is going to get essentially held off                        09:28:36

   4     and told, sorry, you can't do this now.                               09:28:39

   5                  So if you watch this carefully,                          09:28:41

   6     you'll see the controllers simultaneously, and                        09:28:44

   7     then one of them goes down to the printer and                         09:28:46

   8     then the other response goes back to the host                         09:28:49

   9     that was held off where the one that actually                         09:28:51

  10     got to use the device actually sees the                               09:28:54

  11     response from the shared device.                                      09:28:56

  12                  So that accomplishes this operable                       09:28:57

  13     to receive and respond to simultaneous                                09:28:59

  14     respective USB access requests.         A lot of                      09:29:02

  15     words.                                                                09:29:06

  16                  And that's kind of where we stand.                       09:29:06

  17     So there's one piece that is missing in claim                         09:29:09

  18     1, and this is what the patent board filed,                           09:29:12

  19     and this is this simultaneously configured                            09:29:14

  20     piece that we're sort of here to talk about.                          09:29:16

  21         Q.    That text is still black that says,                         09:29:18

  22     "operable to be simultaneously configured"?                           09:29:20

  23         A.    That's right.                                               09:29:22

  24         Q.    And it's your testimony that Dickens,                       09:29:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 50 of 503 PageID #: 17929

                                     TRIAL - VOLUME 5

                                                                           Page 49

   1     in combination with Belkin, teaches that?                             09:29:25

   2         A.    Yeah, I think it's obvious if you                           09:29:27

   3     combine Dickens with Belkin, it sort of                               09:29:30

   4     accomplishes that claim element.                                      09:29:34

   5         Q.    Let's talk about Belkin and US-98.                          09:29:36

   6     What are these devices?                                               09:29:39

   7         A.    These are two print sharing devices.                        09:29:40

   8         Q.    And --                                                      09:29:44

   9         A.    They allow multiple hosts to be able                        09:29:44

  10     to connect and use a single shared printer.                           09:29:47

  11         Q.    A shared USB printer?                                       09:29:50

  12         A.    Correct, it's all USB.                                      09:29:52

  13         Q.    Okay.                                                       09:29:54

  14                     Now, in Microchip's opening, we                       09:29:54

  15     were told that your invalidity opinion was                            09:29:56

  16     based on sort of "stand-alone USB devices"                            09:29:58

  17     that Mr. Bohm had identified as prior art.                            09:30:02

  18                     Are the Belkin and US-98 devices                      09:30:04

  19     simply USB switches like the SMSC switch that                         09:30:06

  20     we heard Mr. Bohm talk about?                                         09:30:10

  21         A.    No.     In fact, I mean, in my                              09:30:11

  22     experience, actually I worked with a company                          09:30:12

  23     at one point that had a mechanical switch that                        09:30:14

  24     would allow two computers to switch the switch                        09:30:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 51 of 503 PageID #: 17930

                                     TRIAL - VOLUME 5

                                                                           Page 50

   1     one way and one computer to do the printer and                        09:30:19

   2     switch it the other way and the computer could                        09:30:21

   3     use that printer.                                                     09:30:23

   4                  This is way beyond this.         These                   09:30:24

   5     two devices, as we'll see hopefully, that the                         09:30:26

   6     two computers can just automatically share any                        09:30:30

   7     access to a single printer.                                           09:30:33

   8         Q.    And did you, in fact, test the Belkin                       09:30:36

   9     and US-98 devices and confirm that they                               09:30:38

  10     automatically allow you to share a printer?                           09:30:40

  11         A.    I did extensively, yes.                                     09:30:42

  12         Q.    So you don't have to toggle a switch?                       09:30:44

  13         A.    No, there is no switch.                                     09:30:45

  14         Q.    Now, are the use of the devices                             09:30:48

  15     sometimes referred to as auto switches?                               09:30:50

  16         A.    Yes.                                                        09:30:52

  17         Q.    Are auto switches something that a                          09:30:53

  18     person skilled in the art would look to when                          09:30:55

  19     seeking to improve on Dickens?                                        09:30:57

  20         A.    Yes.                                                        09:30:59

  21         Q.    Why is that?                                                09:30:59

  22         A.    They would be looking -- well, they                         09:31:00

  23     both solve the same problem.        Dickens talks                     09:31:02

  24     about multiple hosts sharing devices, one of                          09:31:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 52 of 503 PageID #: 17931

                                      TRIAL - VOLUME 5

                                                                            Page 51

   1     which is a printer.       If I've seen that I would                    09:31:07

   2     be interested in what can I do to make things                          09:31:09

   3     simpler.    Take advantage of current                                  09:31:11

   4     technology.     This was done back in 2003, so,                        09:31:14

   5     you know, what could I do.                                             09:31:17

   6                   And I could easily see that there                        09:31:18

   7     are other devices out there that accomplish                            09:31:20

   8     the same kind of a thing, which can allow two                          09:31:22

   9     computers to share a printer.                                          09:31:25

  10         Q.     Now, is the Belkin device, itself,                          09:31:26

  11     the device that you analyzed, was that already                         09:31:29

  12     considered by the patent office?                                       09:31:31

  13         A.     No, they weren't allowed to do that.                        09:31:32

  14         Q.     Okay.                                                       09:31:34

  15                   You understand, however, that on                         09:31:34

  16     the face of the patent is listed review of the                         09:31:37

  17     Belkin device?                                                         09:31:41

  18         A.     Yeah, the '243 Patent that's in suit                        09:31:42

  19     here, one of the references cited is a product                         09:31:44

  20     review, it is like a Yelp review of the Belkin                         09:31:47

  21     device specifically.                                                   09:31:50

  22         Q.     Let's take a look at that.         This is                  09:31:52

  23     Trial Exhibit 3 at 1293, point 1.                                      09:31:56

  24                   This is the review you're talking                        09:32:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 53 of 503 PageID #: 17932

                                     TRIAL - VOLUME 5

                                                                           Page 52

   1     about?                                                                09:32:04

   2         A.    Yeah.    You see right in the title,                        09:32:04

   3     "Belkin 4X4 USB Peripheral Switch Review."                            09:32:06

   4         Q.    And the date of this review is                              09:32:11

   5     February 2004?                                                        09:32:14

   6         A.    Yeah, February 25th, 2004.                                  09:32:15

   7         Q.    Okay.                                                       09:32:17

   8                  Did that inform your opinions as                         09:32:18

   9     to whether the Belkin device was publicly                             09:32:21

  10     available before --                                                   09:32:25

  11         A.    Yes.                                                        09:32:25

  12         Q.    -- 2006?                                                    09:32:25

  13         A.    Yes.    I mean, 2004 is well before                         09:32:26

  14     2006.                                                                 09:32:29

  15         Q.    And if we go halfway down the page --                       09:32:30

  16     oh, it's already highlighted actually.           That's               09:32:32

  17     great.   At the bottom it says, "The Belkin 4X4                       09:32:35

  18     USB Peripheral Switch (F1U400) is a remarkable                        09:32:39

  19     product supporting 4 PCs and 4 devices."                              09:32:46

  20                  What's the F1U400 in reference to                        09:32:46

  21     here?                                                                 09:32:46

  22         A.    That's the model number for the                             09:32:50

  23     Belkin product.                                                       09:32:52

  24         Q.    Same model number as the Belkin                             09:32:53


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 54 of 503 PageID #: 17933

                                     TRIAL - VOLUME 5

                                                                           Page 53

   1     device you analyzed?                                                  09:32:56

   2         A.    Yes.                                                        09:32:57

   3         Q.    Okay.                                                       09:32:57

   4                  I'm handing you what has been                            09:32:57

   5     marked as Trial Exhibit 367.        Do you recognize                  09:33:11

   6     this as the Belkin device that you analyzed?                          09:33:19

   7         A.    Yes, I do.                                                  09:33:22

   8         Q.    Okay.                                                       09:33:22

   9                  Did you do anything to -- strike                         09:33:24

  10     that.                                                                 09:33:30

  11                  I guess -- I suppose my first                            09:33:30

  12     question is, is the copyright date for a                              09:33:42

  13     product the kind of fact that experts in your                         09:33:45

  14     field rely on in forming an opinion on when                           09:33:47

  15     products are sold?                                                    09:33:50

  16         A.    It is.    It can be one of the                              09:33:51

  17     indications, yes.                                                     09:33:52

  18         Q.    And why is that?                                            09:33:53

  19         A.    The copyright on a product gives an                         09:33:54

  20     indication of when the manufacturer produced                          09:33:58

  21     the material.                                                         09:34:00

  22                  MR. SLAYDEN:      Sidebar, Your Honor.                   09:34:01

  23                  (Whereupon, a discussion was held                        09:34:01

  24     at sidebar as follows:                                                09:35:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 55 of 503 PageID #: 17934

                                      TRIAL - VOLUME 5

                                                                            Page 54

   1                   MR. SLAYDEN:      This is exactly what                   09:35:25

   2     we talked about.                                                       09:35:25

   3                   THE COURT:     Hold on.       He can rely                09:35:25

   4     on copyright of written materials.               I know                09:35:25

   5     it's hearsay.     He can say that he looked at                         09:35:25

   6     it, he can say that based on the copyright, he                         09:35:25

   7     drew a conclusion.                                                     09:35:25

   8                   The one thing he can't do is just                        09:35:25

   9     say and this is the copyright, okay, because I                         09:35:25

  10     think if he does that, he is just conveying                            09:35:25

  11     hearsay.                                                               09:35:25

  12                   MR. SAULSBURY:       Yeah.     I                         09:35:25

  13     understood -- I asked him a foundational                               09:35:25

  14     question.                                                              09:35:25

  15                   THE COURT:     Right.       So I don't                   09:35:25

  16     have a problem with him saying he relied on                            09:35:25

  17     it.   I don't have a problem with him saying,                          09:35:25

  18     and based on that, I concluded that it was                             09:35:25

  19     available.                                                             09:35:25

  20                   MR. SAULSBURY:       Yep.                                09:35:25

  21                   THE COURT:     I just don't know that                    09:35:25

  22     he should flat out just say and this is the                            09:35:25

  23     copyright.    This is the date.                                        09:35:25

  24                   MR. SAULSBURY:       Okay.     All right.                09:35:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 56 of 503 PageID #: 17935

                                     TRIAL - VOLUME 5

                                                                           Page 55

   1                  (Whereupon, the discussion                               09:35:29

   2     concluded at sidebar.)                                                09:35:31

   3     BY MR. SAULSBURY:                                                     09:35:34

   4         Q.    And without reference to the specific                       09:35:35

   5     date that you saw when you were looking at the                        09:35:36

   6     Belkin device and its included materials,                             09:35:38

   7     could you tell us how the copyright dates of                          09:35:44

   8     the materials informed your conclusion that                           09:35:50

   9     the Belkin device was available before 2006?                          09:35:52

  10         A.    Sure.   So as I was starting to                             09:35:54

  11     explain, copyrights are typically placed on                           09:35:56

  12     materials by manufacturers because they want                          09:35:59

  13     to know -- again, I am not a legal person --                          09:36:01

  14     but they want to be able to indicate that                             09:36:05

  15     that's their product as of that date for some                         09:36:07

  16     protection purposes, as I understand.                                 09:36:09

  17                  And they typically produce these                         09:36:11

  18     materials in close proximity to when they                             09:36:14

  19     actually make and sell the actual product.                            09:36:17

  20     There could be some months difference, but                            09:36:19

  21     they typically would want to update these                             09:36:21

  22     materials, especially like the package of the                         09:36:23

  23     product, to showcase features.         If they made                   09:36:26

  24     changes to the features, they would want to                           09:36:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 57 of 503 PageID #: 17936

                                     TRIAL - VOLUME 5

                                                                           Page 56

   1     show those features of interest to the                                09:36:32

   2     consumers to get them to buy the product.                             09:36:34

   3                    So it's a good indicator of the                        09:36:37

   4     timeliness of a product and its supporting                            09:36:40

   5     materials because of this desire to have an                           09:36:44

   6     accurate representation of what the features                          09:36:46

   7     are in the mind of a consumer.                                        09:36:48

   8         Q.      And again, without reference to the                       09:36:50

   9     specific date, in this case, are we talking                           09:36:53

  10     about a copyright date that's mere months away                        09:36:57

  11     from 2006?                                                            09:36:59

  12         A.      Yeah, some months difference between                      09:37:00

  13     the copyright dates I saw, and what I                                 09:37:02

  14     concluded was the availability of this product                        09:37:04

  15     for sale.                                                             09:37:06

  16         Q.      And are we talking about just months                      09:37:07

  17     or are we talking about years here?                                   09:37:09

  18         A.      I believe it's less than a year.                          09:37:11

  19         Q.      Okay.                                                     09:37:13

  20                    MR. SAULSBURY:     I am going to mark                  09:37:18

  21     for identification...                                                 09:37:36

  22     BY MR. SAULSBURY:                                                     09:37:37

  23         Q.      Now, did you look at any other                            09:37:38

  24     materials that came with the Belkin device                            09:37:39


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 58 of 503 PageID #: 17937

                                      TRIAL - VOLUME 5

                                                                            Page 57

   1     that had a copyright date on them?                                     09:37:41

   2         A.     I think there was a user manual and                         09:37:43

   3     an installation guide or user installation                             09:37:45

   4     guide, I'm not sure -- I don't remember                                09:37:48

   5     precisely what the name is, but basically two                          09:37:49

   6     pieces of documentation, one quick                                     09:37:52

   7     installation guide and one user manual.            And                 09:37:54

   8     there was also a CD that came with the product                         09:37:57

   9     for software application and drivers that                              09:38:00

  10     control this device.                                                   09:38:03

  11         Q.     And how did the copyright date on the                       09:38:04

  12     manual inform your conclusion that the Belkin                          09:38:06

  13     device was publicly available before 2006?                             09:38:11

  14         A.     So the copyright date on each of                            09:38:13

  15     those manuals and copyright date on -- well, I                         09:38:16

  16     guess we'll talk about that later.           The                       09:38:20

  17     copyright date on each of the manuals and                              09:38:21

  18     those dates were consistent with the                                   09:38:23

  19     information I saw here in the review, so I now                         09:38:25

  20     had sort of three indicators of what the                               09:38:28

  21     timeframe was for the availability of this                             09:38:30

  22     product.                                                               09:38:32

  23         Q.     Thank you.                                                  09:38:34

  24                   And let's talk about the software                        09:38:35


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 59 of 503 PageID #: 17938

                                      TRIAL - VOLUME 5

                                                                            Page 58

   1     that you found on the CD.        What software was                     09:38:36

   2     that?                                                                  09:38:38

   3           A.   This was an application that the end                        09:38:39

   4     user would interact with, and that application                         09:38:41

   5     was described extensively in the user manual                           09:38:43

   6     with pictures of the screenshots, and there                            09:38:46

   7     were also some drivers on the CD that would be                         09:38:48

   8     used to control the device.                                            09:38:51

   9           Q.   And if you could take a look at Trial                       09:38:57

  10     Exhibit 217 in your binder, please.                                    09:39:00

  11           A.   Make sure it doesn't fall here.                             09:39:05

  12     Okay.                                                                  09:39:07

  13                    (Whereupon, Trial Exhibit 217 was                       09:39:07

  14     introduced.)                                                           09:39:07

  15     BY MR. SAULSBURY:                                                      09:39:07

  16           Q.   Okay.   What's this document?                               09:39:07

  17           A.   Well, this is a screen caption I took                       09:39:09

  18     on my home system when I first examined the                            09:39:12

  19     CD.                                                                    09:39:14

  20           Q.   Okay.                                                       09:39:15

  21                    MR. SAULSBURY:      Offer Trial                         09:39:16

  22     Exhibit 217.                                                           09:39:22

  23                    MR. SLAYDEN:     No objection.                          09:39:22

  24                    THE COURT:     Okay.   It can come in.                  09:39:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 60 of 503 PageID #: 17939

                                     TRIAL - VOLUME 5

                                                                           Page 59

   1     BY MR. SAULSBURY:                                                     09:39:26

   2         Q.    Now, Mr. Garney, is this the software                       09:39:27

   3     that you analyzed -- is this the software that                        09:39:30

   4     you took a look at to determine whether the                           09:39:38

   5     Belkin device was on sale before 2006?                                09:39:41

   6         A.    Yes.                                                        09:39:43

   7         Q.    And what did you conclude, based on                         09:39:44

   8     this?                                                                 09:39:46

   9         A.    There are two dates here of 2002,                           09:39:46

  10     which predated the final date of the                                  09:39:49

  11     invention, and there is a strange date up                             09:39:52

  12     here, this 2036.     This is a known problem                          09:39:54

  13     with -- I mean, I don't have a time machine,                          09:39:57

  14     so this is a known problem with Linksys                               09:39:58

  15     systems related to Y2K problems for files.            I               09:40:01

  16     also examined this, I don't know why that was                         09:40:06

  17     there.                                                                09:40:10

  18         Q.    Yeah, I was just going to ask, I                            09:40:10

  19     don't know if you need to look at it at this                          09:40:11

  20     point, but did you also look at the software                          09:40:13

  21     on a Windows machine?                                                 09:40:15

  22         A.    I did.                                                      09:40:16

  23         Q.    Okay.                                                       09:40:16

  24                  And did the Windows machine show                         09:40:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 61 of 503 PageID #: 17940

                                     TRIAL - VOLUME 5

                                                                           Page 60

   1     the 2036 date for this first folder up here,                          09:40:19

   2     F1U400 Windows?                                                       09:40:24

   3         A.    It did not.     It showed the consistent                    09:40:26

   4     date with the rest of it.                                             09:40:28

   5         Q.    Okay.                                                       09:40:29

   6                   And again, F1U400 is the model                          09:40:29

   7     number of the Belkin device you looked at?                            09:40:32

   8         A.    That's correct.                                             09:40:34

   9                   MR. SAULSBURY:      Okay.   I am                        09:40:35

  10     marking for identification only Exhibit 378.                          09:40:36

  11                   (Whereupon, Trial Exhibit 378 was                       09:40:40

  12     marked for identification.)                                           09:40:43

  13     BY MR. SAULSBURY:                                                     09:40:52

  14         Q.    Mr. Garney, what's Exhibit 378?                             09:40:52

  15         A.    This is the user manual for the                             09:40:55

  16     Belkin product.                                                       09:40:58

  17         Q.    We are doing it for identification                          09:41:00

  18     only, so yeah.                                                        09:41:02

  19         A.    All right.                                                  09:41:03

  20         Q.    It's for you.     If you take a look at                     09:41:03

  21     the back of it, can you take a look at the                            09:41:05

  22     copyright date again, without speaking it into                        09:41:07

  23     the record?                                                           09:41:13

  24         A.    Sure.   So I can see the copyright.                         09:41:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 62 of 503 PageID #: 17941

                                      TRIAL - VOLUME 5

                                                                            Page 61

   1           Q.   Okay.                                                       09:41:15

   2                   And does this copyright date                             09:41:16

   3     refresh your recollection as to how much time                          09:41:18

   4     there was between the copyright date of the                            09:41:20

   5     materials you looked at and the 2006 priority                          09:41:24

   6     date we're talking about here?                                         09:41:29

   7           A.   It's in the same time.                                      09:41:30

   8                   MR. SLAYDEN:      Sidebar, Your Honor.                   09:41:32

   9                   (Whereupon, a discussion was held                        09:41:32

  10     at sidebar as follows:                                                 09:46:41

  11                   MR. SLAYDEN:      We just went down                      09:46:41

  12     the path that he was instructed not to do.             He              09:46:41

  13     is about to say it was two years before, one                           09:46:41

  14     year before the priority date, so 2006 minus                           09:46:41

  15     one or two is going to be 2004, 2005, which is                         09:46:41

  16     exactly what we agreed upon he wasn't going to                         09:46:41

  17     do.                                                                    09:46:41

  18                   THE COURT:     Well, why don't we                        09:46:41

  19     just -- why don't you just ask him if he draws                         09:46:41

  20     a conclusion based on it, right?          I mean, we                   09:46:41

  21     shouldn't be conveying to the jury, either                             09:46:41

  22     directly -- either directly or, you know, sort                         09:46:41

  23     of in a roundabout way, to say this is what                            09:46:41

  24     the copyright date is.       The question should be                    09:46:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 63 of 503 PageID #: 17942

                                     TRIAL - VOLUME 5

                                                                           Page 62

   1     what conclusions did he draw based on it.                             09:46:41

   2                   MR. SAULSBURY:      That's right.     I                 09:46:41

   3     asked that initial question earlier.          Mr.                     09:46:41

   4     Garney, I think, misunderstood the question                           09:46:41

   5     and said it was only a matter of months.                              09:46:41

   6                   THE COURT:     Right.                                   09:46:41

   7                   MR. SAULSBURY:      I am trying to                      09:46:41

   8     refresh him here with the document.          I am just                09:46:41

   9     going to ask if it refreshes his memory with                          09:46:41

  10     the amount of years.                                                  09:46:41

  11                   Now the record is contrary to what                      09:46:41

  12     he actually found.     I am not going to have him                     09:46:41

  13     mention the date, whether it was two years or                         09:46:41

  14     four years or anything like that.         I just                      09:46:41

  15     don't want them to be able to suggest that it                         09:46:41

  16     was merely months.     And therefore, it is                           09:46:41

  17     conclusive.                                                           09:46:41

  18                   MR. SLAYDEN:     The testimony -- how                   09:46:41

  19     he testified is on the record, so what you are                        09:46:41

  20     about to do is go down this path.         And I was                   09:46:41

  21     told earlier what was going to be how far back                        09:46:41

  22     was it and he was going to say two or                                 09:46:41

  23     one year, whatever it was, some months, I                             09:46:41

  24     don't even know what the date is so...                                09:46:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 64 of 503 PageID #: 17943

                                     TRIAL - VOLUME 5

                                                                           Page 63

   1                  (Brief pause.)                                           09:46:41

   2                  THE COURT:     The question is, does                     09:46:41

   3     the copyright date refresh your recollection                          09:46:41

   4     as to how much time there was between the                             09:46:41

   5     copyright date of the materials you looked at                         09:46:41

   6     and the 2006 priority date we're talking about                        09:46:41

   7     here.                                                                 09:46:41

   8                  So, I mean, yeah, my concern                             09:46:41

   9     here -- I understand what you are saying.           He                09:46:41

  10     kind of went down that path on his own and he                         09:46:41

  11     probably shouldn't have.                                              09:46:41

  12                  The problem I have is you can't                          09:46:41

  13     ask that question without asking -- without                           09:46:41

  14     eliciting hearsay, right, because the answer,                         09:46:41

  15     if you say -- if you had said to him, what's                          09:46:41

  16     the priority date -- what's the copyright                             09:46:41

  17     date, that's hearsay.                                                 09:46:41

  18                  MR. SAULSBURY:       Right.                              09:46:41

  19                  THE COURT:     If you say to him how                     09:46:41

  20     does the date on there compare to the 2006                            09:46:41

  21     priority date --                                                      09:46:41

  22                  MR. SAULSBURY:       I am not doing                      09:46:41

  23     that.                                                                 09:46:41

  24                  THE COURT:     That's the question.                      09:46:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 65 of 503 PageID #: 17944

                                     TRIAL - VOLUME 5

                                                                           Page 64

   1                    MR. SAULSBURY:     I am asking                         09:46:41

   2     whether it refreshed his recollection.           That's               09:46:41

   3     just a yes or no because this is foundational                         09:46:41

   4     and then --                                                           09:46:41

   5                    MR. SLAYDEN:     How much --                           09:46:42

   6                    MR. SAULSBURY:     I didn't say that.                  09:46:42

   7     I just want to clarify, is it a matter of                             09:46:42

   8     years or a matter of months.          That's all I                    09:46:42

   9     want to do.                                                           09:46:42

  10                    THE COURT:     Okay.                                   09:46:42

  11                    MR. SLAYDEN:     A matter of years or                  09:46:42

  12     months is --                                                          09:46:42

  13                    THE COURT:     Well, he did say it is                  09:46:42

  14     a matter of months, and I understand the                              09:46:42

  15     concern, right, which is that there is now his                        09:46:42

  16     statement on the record that's misleading.                            09:46:42

  17     You know, I just -- he has a tendency to talk                         09:46:42

  18     beyond your question, and I don't want this to                        09:46:42

  19     be a vehicle to introduce something that the                          09:46:42

  20     jury shouldn't hear.                                                  09:46:42

  21                    And I understand even if that's                        09:46:42

  22     not what you are trying to do, particularly                           09:46:42

  23     with this witness, I am concerned that it is                          09:46:42

  24     the logical conclusion of where we're headed.                         09:46:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 66 of 503 PageID #: 17945

                                      TRIAL - VOLUME 5

                                                                            Page 65

   1                   So I'll give you an opportunity to                       09:46:42

   2     ask the question, but I want you to do it in a                         09:46:42

   3     real narrow way, because it's not uncommon for                         09:46:42

   4     someone, when they hear to refresh your                                09:46:42

   5     recollection, to say yes, here's my answer.                            09:46:42

   6                   MR. SAULSBURY:       How about this.                     09:46:42

   7     Put it in pure, simple terms.         I can say --                     09:46:42

   8     without reference to what the year is -- did                           09:46:42

   9     this copyright date inform your opinion as to                          09:46:42

  10     how long -- as to whether the device was                               09:46:42

  11     publicly available, again, not the copyright                           09:46:42

  12     date, was publicly available years before.                             09:46:42

  13                   MR. SLAYDEN:      Not years.                             09:46:42

  14                   MR. SAULSBURY:       Merely months.                      09:46:42

  15                   MR. SLAYDEN:      Just prior.                            09:46:42

  16                   MR. SAULSBURY:       It informs his                      09:46:42

  17     opinion.                                                               09:46:42

  18                   MR. SLAYDEN:      Just prior.                            09:46:42

  19                   THE COURT:     He said months, so I                      09:46:42

  20     want to give him a chance to clarify that.             I               09:46:42

  21     think that's fair.      And I think that phrasing                      09:46:42

  22     makes sense because it doesn't elicit the                              09:46:42

  23     date, it elicits how it informed his opinion.                          09:46:42

  24     It is a fine line, but that's the line to                              09:46:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 67 of 503 PageID #: 17946

                                      TRIAL - VOLUME 5

                                                                            Page 66

   1     walk.    I think that's fine.                                          09:46:42

   2                    (Whereupon, the discussion at                           09:46:42

   3     sidebar concluded.)                                                    09:46:46

   4     BY MR. SAULSBURY:                                                      09:46:46

   5         Q.      Mr. Garney, again, without reference                       09:46:48

   6     to the specific date, did the copyright date                           09:46:49

   7     on this manual inform your conclusion that                             09:46:51

   8     the -- or inform your opinions as to whether                           09:46:56

   9     the Belkin device was available before the                             09:47:01

  10     2006 date?                                                             09:47:04

  11         A.      It did.                                                    09:47:04

  12         Q.      Okay.                                                      09:47:05

  13                    And did it inform -- without                            09:47:06

  14     referencing the date again, or with the amount                         09:47:08

  15     of time, did it inform your conclusions as to                          09:47:10

  16     how long before the priority date the 2006                             09:47:13

  17     date of the Belkin device was publicly                                 09:47:17

  18     available?                                                             09:47:21

  19                    MR. SLAYDEN:     Sidebar, Your Honor.                   09:47:21

  20                    THE COURT:     No, we don't need a                      09:47:22

  21     sidebar.                                                               09:47:24

  22                    THE WITNESS:     Restate your                           09:47:24

  23     question.     I want to make sure with the                             09:47:26

  24     interruption.                                                          09:47:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 68 of 503 PageID #: 17947

                                     TRIAL - VOLUME 5

                                                                           Page 67

   1     BY MR. SAULSBURY:                                                     09:47:29

   2         Q.    The question was, without reference                         09:47:29

   3     to the date, did the copyright date inform                            09:47:30

   4     your conclusions as to how long before 2006                           09:47:35

   5     the Belkin device was publicly available?                             09:47:38

   6         A.    Yes.                                                        09:47:41

   7         Q.    Okay.                                                       09:47:43

   8                  And again, without reference to                          09:47:43

   9     the date, was your conclusion that the Belkin                         09:47:44

  10     device was publicly available a matter of                             09:47:50

  11     months or a matter of years before the 2006                           09:47:56

  12     date?                                                                 09:47:59

  13         A.    For Belkin, a matter of years.                              09:47:59

  14         Q.    Okay.                                                       09:48:03

  15                  Now, did you also look at the                            09:48:04

  16     product packaging for Belkin, again, without                          09:48:08

  17     reference to any particular dates?                                    09:48:12

  18         A.    I did.                                                      09:48:13

  19         Q.    Okay.                                                       09:48:13

  20                  Did that product packaging                               09:48:14

  21     reference anything about compatibility with                           09:48:16

  22     particular operating systems?                                         09:48:18

  23         A.    It did.                                                     09:48:20

  24         Q.    Okay.                                                       09:48:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 69 of 503 PageID #: 17948

                                     TRIAL - VOLUME 5

                                                                           Page 68

   1                    And what did that -- or how did                        09:48:21

   2     that inform your conclusion that the Belkin                           09:48:25

   3     device was publicly available before 2006?                            09:48:28

   4         A.      The specific operating systems that                       09:48:31

   5     it referred to on the box were operating                              09:48:35

   6     systems that were available and really well                           09:48:36

   7     before the priority date of the patent.                               09:48:40

   8         Q.      Okay.                                                     09:48:42

   9                    And --                                                 09:48:43

  10         A.      Years before.                                             09:48:44

  11         Q.      Did the packaging you looked at                           09:48:46

  12     reference any particular model number?                                09:48:49

  13         A.      The F1U400.                                               09:48:51

  14         Q.      Okay.                                                     09:48:53

  15                    And did that -- strike that.                           09:48:54

  16                    And if you could please take a                         09:48:59

  17     look at Trial Exhibit 19 in your binder.                              09:49:04

  18                    (Whereupon, Trial Exhibit 19 was                       09:49:04

  19     offered.)                                                             09:49:04

  20                    THE WITNESS:    Okay.                                  09:49:07

  21     BY MR. SAULSBURY:                                                     09:49:10

  22         Q.      What's Trial Exhibit 19?                                  09:49:10

  23         A.      It is a picture of the insides of the                     09:49:12

  24     Belkin product.                                                       09:49:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 70 of 503 PageID #: 17949

                                     TRIAL - VOLUME 5

                                                                           Page 69

   1         Q.    And this is a picture of the product                        09:49:15

   2     you actually tested yourself?                                         09:49:17

   3         A.    Oh, yeah, absolutely.         It is a                       09:49:18

   4     picture I took.     This is the product.                              09:49:21

   5                   MR. SAULSBURY:      We offer Trial                      09:49:26

   6     Exhibit 19.                                                           09:49:28

   7                   MR. SLAYDEN:     No objection, Your                     09:49:28

   8     Honor.                                                                09:49:28

   9                   THE COURT:     It's in.                                 09:49:29

  10                   MR. SAULSBURY:      And, Mr. Glass, if                  09:49:29

  11     you could please rotate this 180 degrees.                             09:49:31

  12     Okay.                                                                 09:49:34

  13                   And then if we take a look at the                       09:49:35

  14     board on the bottom, Mr. Glass, could you                             09:49:38

  15     please just blow up the lower left-hand corner                        09:49:39

  16     of the board where it has the model number.                           09:49:42

  17     Okay.                                                                 09:49:44

  18     BY MR. SAULSBURY:                                                     09:49:45

  19         Q.    Mr. Garney, do you see here how the                         09:49:45

  20     board has the model number imprinted on it,                           09:49:47

  21     F1U400?                                                               09:49:51

  22         A.    Yeah, the circuit board for the                             09:49:52

  23     product is F1U400.                                                    09:49:53

  24         Q.    Did that tell you anything about                            09:49:55


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 71 of 503 PageID #: 17950

                                     TRIAL - VOLUME 5

                                                                           Page 70

   1     whether the hardware that was the basis of                            09:49:57

   2     your opinions was something that was publicly                         09:49:59

   3     available before 2006?                                                09:50:01

   4         A.    Yes.    Since this was consistent with                      09:50:02

   5     the other material, again, I had the same                             09:50:05

   6     model number and I knew that the software had                         09:50:09

   7     to work with this hardware, and that was                              09:50:11

   8     another indicator to me that this was                                 09:50:12

   9     available for sale well before the priority                           09:50:14

  10     date.                                                                 09:50:16

  11         Q.    To be clear, are you just guessing or                       09:50:17

  12     speculating as to whether the Belkin device                           09:50:20

  13     was available publicly before 2006?                                   09:50:22

  14         A.    No, I am looking at all these                               09:50:24

  15     indicators that we talked about.         I think we                   09:50:26

  16     talked about at least three or four.                                  09:50:28

  17         Q.    Okay.                                                       09:50:29

  18                  Do you have any doubt as to                              09:50:30

  19     whether the Belkin device was available before                        09:50:32

  20     2006 publicly?                                                        09:50:34

  21         A.    The best evidence I have would be the                       09:50:35

  22     most reasonable conclusion that it's the same                         09:50:38

  23     date.                                                                 09:50:40

  24         Q.    Okay.                                                       09:50:40


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 72 of 503 PageID #: 17951

                                      TRIAL - VOLUME 5

                                                                            Page 71

   1                   Now, when you inspected the Belkin                       09:50:41

   2     device, did your inspection show how it                                09:50:46

   3     worked?                                                                09:50:49

   4         A.     It did.                                                     09:50:49

   5         Q.     Okay.                                                       09:50:50

   6                   Now, we have --                                          09:50:50

   7                   MR. SAULSBURY:       Mr. Glass, could                    09:50:56

   8     you zoom out, please, and then just blow up                            09:50:58

   9     the circuit board, itself.                                             09:51:01

  10     BY MR. SAULSBURY:                                                      09:51:05

  11         Q.     Mr. Garney, do you see those                                09:51:06

  12     rectangular chips that have the white marking                          09:51:08

  13     on them?    Maybe you can just point them out                          09:51:11

  14     with your laser pointer.                                               09:51:13

  15         A.     Sure, I think there is five.                                09:51:14

  16         Q.     They are labeled U1, U2, U3, U4?                            09:51:16

  17         A.     This one, this one, this one, that                          09:51:19

  18     one, those are all the same chip and this is a                         09:51:21

  19     different chip.                                                        09:51:23

  20         Q.     Okay.                                                       09:51:24

  21                   The first four chips you                                 09:51:24

  22     identified, what are those chips?                                      09:51:25

  23         A.     Those are Philips hub-embedded                              09:51:27

  24     function device controller chips.                                      09:51:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 73 of 503 PageID #: 17952

                                      TRIAL - VOLUME 5

                                                                            Page 72

   1         Q.     Are they chips that support USB?                            09:51:34

   2         A.     Absolutely.                                                 09:51:36

   3         Q.     Okay.                                                       09:51:37

   4                   Do those Philips chips have USB                          09:51:38

   5     endpoint buffers?                                                      09:51:42

   6         A.     Yes.                                                        09:51:43

   7         Q.     Okay.                                                       09:51:43

   8                   And do those Philips chips support                       09:51:44

   9     standard USB functionality such as NAKs?                               09:51:50

  10         A.     Yes.                                                        09:51:53

  11         Q.     What are NAKs?                                              09:51:54

  12         A.     NAKs are a way for an endpoint in a                         09:51:54

  13     USB system to say I don't have data or I don't                         09:51:57

  14     have space, basically I am not ready.           It is a                09:52:00

  15     form of hold-off.                                                      09:52:02

  16         Q.     Okay.                                                       09:52:03

  17                   And do those Philips -- or let me                        09:52:04

  18     take a step back.                                                      09:52:08

  19                   The Belkin device is called a 4X4                        09:52:09

  20     auto device; is that right?                                            09:52:13

  21         A.     Yes.                                                        09:52:15

  22         Q.     What does 4X4 reference in this                             09:52:15

  23     context?                                                               09:52:19

  24         A.     If you see here, they are --                                09:52:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 74 of 503 PageID #: 17953

                                     TRIAL - VOLUME 5

                                                                           Page 73

   1     actually, let me bring the pointer.          So                       09:52:21

   2     there's four connectors over here.          These are                 09:52:23

   3     the USB standard A receptacles, the place you                         09:52:25

   4     plug in devices.     These are what are called                        09:52:28

   5     standard B receptacles.       This is where you                       09:52:32

   6     plug in the cable that attaches to a host.            So              09:52:34

   7     this product allows you to attach four hosts                          09:52:36

   8     to four USB devices in different ways.                                09:52:39

   9         Q.    And does each host have its own                             09:52:42

  10     interface circuit?                                                    09:52:46

  11         A.    Yeah, that's why there's four of                            09:52:47

  12     these Philips parts here.       There's one of                        09:52:49

  13     these Philips parts for each of the                                   09:52:52

  14     connections to the host, I actually traced the                        09:52:54

  15     wiring and circuitry -- I am familiar with                            09:52:58

  16     PCBs and do that as part of my electronics                            09:53:00

  17     work, so I traced the circuits to make sure I                         09:53:02

  18     can understand that each Philips should be                            09:53:05

  19     connected to each host.                                               09:53:07

  20         Q.    And does each Philips chip -- strike                        09:53:08

  21     that.                                                                 09:53:11

  22                  Does each host have its own USB                          09:53:12

  23     endpoint buffer?                                                      09:53:18

  24         A.    Yeah, Philips chips, as I said                              09:53:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 75 of 503 PageID #: 17954

                                     TRIAL - VOLUME 5

                                                                           Page 74

   1     earlier, have endpoint buffers and each host                          09:53:22

   2     has its own chip, so each host has access to                          09:53:25

   3     its own endpoint buffer.                                              09:53:28

   4         Q.    Mr. Garney, could you please turn to                        09:53:29

   5     Trial Exhibit 209 in your binder.                                     09:53:31

   6         A.    Okay.                                                       09:53:37

   7                    (Whereupon, Trial Exhibit 209 was                      09:53:37

   8     introduced.)                                                          09:53:37

   9     BY MR. SAULSBURY:                                                     09:53:38

  10         Q.    Do you recognize this document?                             09:53:38

  11         A.    I do.                                                       09:53:40

  12         Q.    What is it?                                                 09:53:41

  13         A.    This is actually what's called a data                       09:53:42

  14     sheet for the USB Philips chip that we have                           09:53:44

  15     been talking about.                                                   09:53:47

  16         Q.    Are data sheets something that people                       09:53:49

  17     in the field rely on to understand how --                             09:53:52

  18                    MR. SLAYDEN:     Sidebar, Your Honor.                  09:53:54

  19                    (Whereupon, a discussion was held                      09:53:54

  20     at sidebar as follows:                                                09:53:55

  21                    MR. SAULSBURY:     Your Honor,                         09:53:55

  22     sidebars are just getting out of line.           I                    09:54:58

  23     mean, I will just move on.        I don't want to                     09:54:58

  24     encourage it, but it's just blowing through my                        09:54:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 76 of 503 PageID #: 17955

                                      TRIAL - VOLUME 5

                                                                            Page 75

   1     time.                                                                  09:54:58

   2                   THE COURT:     You are not being                         09:54:58

   3     allocated to your time.                                                09:54:58

   4                   MR. SAULSBURY:       I understand, but                   09:54:58

   5     it's still about 50 percent of my time.            That                09:54:58

   6     was clearly unobjectionable.         I was asking                      09:54:58

   7     about --                                                               09:54:58

   8                   MR. SLAYDEN:      It's hearsay under                     09:54:58

   9     703, Your Honor.                                                       09:54:58

  10                   MR. SAULSBURY:       What experts rely                   09:54:58

  11     on is not hearsay.      I'm going to move on.                          09:54:58

  12                   THE COURT:     There are a lot of                        09:54:58

  13     sidebars here, so let's keep moving.                                   09:54:58

  14                   (Whereupon, the discussion at                            09:54:58

  15     sidebar concluded.)                                                    09:55:05

  16     BY MR. SAULSBURY:                                                      09:55:05

  17         Q.     Mr. Garney, did you rely on this data                       09:55:05

  18     sheet to inform your opinion?                                          09:55:07

  19         A.     I did.                                                      09:55:08

  20         Q.     And did it inform your opinion as to                        09:55:08

  21     how -- did the Philips devices within the                              09:55:11

  22     Belkin hub work?                                                       09:55:14

  23         A.     Yes.                                                        09:55:15

  24         Q.     Okay.                                                       09:55:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 77 of 503 PageID #: 17956

                                      TRIAL - VOLUME 5

                                                                            Page 76

   1                    And did the data sheet support                          09:55:16

   2     your conclusion that the Belkin device provide                         09:55:23

   3     interface circuits, USB interface circuits and                         09:55:27

   4     endpoint buffers for each -- one for each                              09:55:31

   5     host?                                                                  09:55:36

   6         A.     Yes.                                                        09:55:36

   7         Q.     Okay.                                                       09:55:36

   8                    Now, did you reach any conclusions                      09:55:37

   9     as to whether a person of skill in the art                             09:55:44

  10     looking to improve upon the system of Dickens                          09:55:47

  11     would look to the Belkin?                                              09:55:50

  12         A.     Start over the question.        I --                        09:55:52

  13         Q.     Certainly.                                                  09:55:53

  14                    Did you form conclusions on                             09:55:54

  15     whether a person skilled in the art looking at                         09:55:55

  16     Dickens would be motivated to combine Dickens                          09:55:57

  17     with Belkin?                                                           09:56:01

  18         A.     Sure.    I mean, partly they are trying                     09:56:02

  19     to solve the same problem.         The Dickens patent                  09:56:05

  20     is about USB.      A person of ordinary skill                          09:56:09

  21     would know that USB has endpoint buffers.                              09:56:13

  22     Belkin essentially has -- it's involving USB                           09:56:16

  23     for hosts and Philips parts have endpoint                              09:56:19

  24     buffers.    This is a simpler product than the                         09:56:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 78 of 503 PageID #: 17957

                                      TRIAL - VOLUME 5

                                                                            Page 77

   1     Dickens invention and I believe -- my                                  09:56:27

   2     conclusion was there are pieces of this that                           09:56:29

   3     could be applied to Dickens to make it                                 09:56:31

   4     simpler.                                                               09:56:34

   5         Q.     Okay.                                                       09:56:35

   6                   And, Mr. Garney, do you recognize                        09:56:36

   7     this as a demonstrative showing the Dickens?                           09:56:38

   8         A.     Yes, the same figures of the Philips.                       09:56:42

   9         Q.     Could you please illustrate for us                          09:56:45

  10     your opinions on how a person skilled in the                           09:56:47

  11     art would rely on the teaching of Belkin to                            09:56:49

  12     improve Dickens?                                                       09:56:53

  13         A.     Sure.                                                       09:56:54

  14                   THE WITNESS:      Can I go down, Your                    09:56:55

  15     Honor?                                                                 09:56:56

  16                   THE COURT:     Yeah, go ahead.                           09:56:57

  17                   MR. SLAYDEN:      I am sorry, sidebar.                   09:56:58

  18                   (Whereupon, a discussion was held                        09:56:58

  19     at sidebar as follows:                                                 09:58:50

  20                   MR. SLAYDEN:      We are now beyond                      09:58:50

  21     the scope of his report.        We are about to go                     09:58:50

  22     beyond the scope of his report.          It is not in                  09:58:50

  23     his report.                                                            09:58:50

  24                   THE COURT:     I don't even know what                    09:58:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 79 of 503 PageID #: 17958

                                     TRIAL - VOLUME 5

                                                                           Page 78

   1     we are doing.     What is this?                                       09:58:50

   2                   MR. SAULSBURY:      He is rendering                     09:58:50

   3     his opinion on how you can apply the teachings                        09:58:50

   4     of Belkin and Dickens that's expressly                                09:58:50

   5     disclosed in his report.       That's one of the                      09:58:51

   6     combinations.                                                         09:58:51

   7                   MR. SLAYDEN:     Your Honor, there is                   09:58:51

   8     one sentence that says combine them.          There is                09:58:51

   9     no other discussion of this.         There's no                       09:58:51

  10     reason other than combining them.                                     09:58:51

  11                   THE COURT:     Wait.    Just let me ask                 09:58:51

  12     a question.     You guys have changed                                 09:58:51

  13     demonstratives.     Did you send these                                09:58:51

  14     demonstratives to me?                                                 09:58:51

  15                   MR. SAULSBURY:      Absolutely.     It                  09:58:51

  16     wasn't objected to.                                                   09:58:51

  17                   MR. SLAYDEN:     He is up there about                   09:58:51

  18     to draw on something else.                                            09:58:51

  19                   THE COURT:     Whether he draws or                      09:58:51

  20     uses the laser pointer, he is just using                              09:58:51

  21     something in a demonstrative to the jury.                             09:58:51

  22     This is something that I need -- I can't                              09:58:51

  23     decide now based on his report, but I've                              09:58:51

  24     always understood that his testimony was to be                        09:58:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 80 of 503 PageID #: 17959

                                      TRIAL - VOLUME 5

                                                                            Page 79

   1     about the combinations, and that's what I                              09:58:51

   2     understand he is about to do, so he can go                             09:58:51

   3     forward.                                                               09:58:51

   4                   MR. SAULSBURY:       And, Your Honor,                    09:58:51

   5     if we have more sidebars, I just want to get                           09:58:51

   6     some time back.                                                        09:58:51

   7                   THE COURT:     Here is what we are                       09:58:51

   8     going to do, okay, because there have been a                           09:58:51

   9     lot of sidebars.      Any more sidebars for Mr.                        09:58:51

  10     Garney's testimony is going to be loser pays                           09:58:51

  11     for time.                                                              09:58:51

  12                   (Whereupon, the discussion at                            09:59:00

  13     sidebar concluded.)                                                    09:59:05

  14                   MR. SAULSBURY:       I can move that                     09:59:05

  15     chair for you if you want to go ahead -- yeah,                         09:59:06

  16     go ahead.                                                              09:59:10

  17                   THE WITNESS:      So as we talked                        09:59:11

  18     before, Dickens has these complicated computer                         09:59:12

  19     emulators here up at the top, and a person of                          09:59:17

  20     ordinary skill in the art would know to                                09:59:21

  21     replace these emulators, computers, with a                             09:59:24

  22     simpler endpoint buffer, the interface circuit                         09:59:27

  23     and the endpoint buffers that Belkin teaches,                          09:59:33

  24     which it has for each of these devices, and                            09:59:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 81 of 503 PageID #: 17960

                                     TRIAL - VOLUME 5

                                                                           Page 80

   1     that still provides for independent access                            09:59:44

   2     from a computer to the Belkin invention.                              09:59:48

   3                   It still uses the microcontroller                       09:59:51

   4     as Belkin has for controlling these devices                           09:59:57

   5     directly, similar to how the computer                                 10:00:01

   6     emulators work, but there is no need to have                          10:00:05

   7     an emulation function.      This can actually be                      10:00:07

   8     just a device, just like Belkin has.                                  10:00:12

   9                   And then the arbitration function                       10:00:15

  10     stays the same within here and the connection                         10:00:18

  11     of this controller to the shared device block                         10:00:20

  12     can stay the same and -- let me do it this                            10:00:23

  13     way -- its ability to have independent                                10:00:28

  14     connection.                                                           10:00:30

  15                   So this host can go through these                       10:00:30

  16     endpoint buffers just like Belkin has, go to                          10:00:32

  17     the arbitrator and then go to the shared                              10:00:36

  18     device.   And just as I showed in the other                           10:00:38

  19     illustration for Dickens, the same kind of a                          10:00:41

  20     thing could happen to the second condition,                           10:00:43

  21     the device; the arbiter can still determine                           10:00:46

  22     which computer gets access to the printer, and                        10:00:50

  23     instead of having to use the complicated                              10:00:52

  24     arbitration mechanism here, we didn't talk                            10:00:54


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 82 of 503 PageID #: 17961

                                     TRIAL - VOLUME 5

                                                                           Page 81

   1     about this, but the interconnection uses this                         10:00:58

   2     PCI, and that's a full board computer                                 10:01:01

   3     interconnect that allows for multiple hosts                           10:01:03

   4     and multiple devices.                                                 10:01:05

   5                   So it's not the more general                            10:01:07

   6     arbitration problem; this can be simpler,                             10:01:11

   7     because up here at least, the only arbitration                        10:01:13

   8     that can be done is the NAK back to each of                           10:01:16

   9     the respective hosts when the endpoint buffer                         10:01:20

  10     is busy, and that can be the indication that                          10:01:22

  11     the arbiter uses to know that the device is                           10:01:28

  12     busy.    One request comes in, if the other                           10:01:29

  13     request is attempted, the hold-off or the NAK                         10:01:32

  14     happens using native USB things.                                      10:01:35

  15                   A practitioner of the art at the                        10:01:37

  16     time would be very well familiar, because both                        10:01:38

  17     have different device controllers, and that's                         10:01:41

  18     one of the expectations for a person of                               10:01:42

  19     ordinary skill and doing a substitution would                         10:01:45

  20     be straightforward and they can simplify some                         10:01:48

  21     of the aspects of Dickens to accomplish these                         10:01:51

  22     combinations that would have been obvious.                            10:01:54

  23     BY MR. SAULSBURY:                                                     10:01:55

  24         Q.     And I think you may have covered this                      10:01:55


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 83 of 503 PageID #: 17962

                                     TRIAL - VOLUME 5

                                                                           Page 82

   1     implicitly, but just to be clear, could you                           10:01:57

   2     implement the arbitration mechanism of Dickens                        10:01:59

   3     in the context of the endpoint buffers and                            10:02:02

   4     NAK, so standard endpoint buffers and NAK?                            10:02:06

   5         A.    Sure, the standard USB does this                            10:02:09

   6     hold-off as part of it and it's kind of a flow                        10:02:12

   7     control thing.    So the endpoint buffer is in                        10:02:14

   8     use by one, shared device, then that would                            10:02:16

   9     hold off, it uses a standard USB hold-off                             10:02:19

  10     mechanism, the NAK mechanism, which would                             10:02:22

  11     solve the arbitration problem in a simpler                            10:02:24

  12     construction.                                                         10:02:26

  13         Q.    Okay.                                                       10:02:27

  14                  And is it your opinion that the                          10:02:27

  15     combination of Belkin and Dickens meets the                           10:02:29

  16     requirement in claim 23 that we were looking                          10:02:34

  17     at earlier that the device be operable to                             10:02:35

  18     support simultaneous configuration?                                   10:02:39

  19         A.    Right, because each host could use,                         10:02:42

  20     as we saw in the normal part of endpoints, is                         10:02:43

  21     that they have to have their address set and                          10:02:48

  22     they have to be configured.        And since there                    10:02:50

  23     are separate endpoint buffers using the                               10:02:54

  24     Dickens application -- excuse me, using the                           10:02:57


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 84 of 503 PageID #: 17963

                                     TRIAL - VOLUME 5

                                                                           Page 83

   1     Belkin application, just as there is in                               10:03:00

   2     Dickens, each host has an independent path, a                         10:03:02

   3     single end path that is corresponding to                              10:03:05

   4     endpoints, so it would be no problem allowing                         10:03:07

   5     simultaneous configuration.                                           10:03:09

   6         Q.    Okay.                                                       10:03:10

   7                    MR. SAULSBURY:     Now, Mr. Glass, if                  10:03:11

   8     we could please take a look at claim --                               10:03:14

   9                    THE COURT:    Obviously -- is he                       10:03:17

  10     done with the demonstrative?                                          10:03:18

  11                    MR. SAULSBURY:     No, he is not,                      10:03:20

  12     just because of claims 24 and 25 and then we                          10:03:22

  13     will be done with it.       It will be very brief.                    10:03:24

  14                    THE COURT:    Okay.                                    10:03:26

  15                    MR. SAULSBURY:     Mr. Glass, can we                   10:03:27

  16     see claim 25 up on the screen, please.           Yep,                 10:03:28

  17     there we go.                                                          10:03:31

  18     BY MR. SAULSBURY:                                                     10:03:32

  19         Q.    So, Mr. Garney, you understand that                         10:03:32

  20     claim 25 depends on claim 23?                                         10:03:34

  21         A.    I do.    That's what it says right up                       10:03:36

  22     there.                                                                10:03:38

  23         Q.    Okay.                                                       10:03:38

  24                    Do you see how it has an                               10:03:38


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 85 of 503 PageID #: 17964

                                     TRIAL - VOLUME 5

                                                                           Page 84

   1     additional requirement that the controller                            10:03:39

   2     comprises respective USB interface circuit for                        10:03:42

   3     each of the two or more USB hosts wherein each                        10:03:45

   4     respective USB interface circuit enables the                          10:03:49

   5     USB multi-host device to transmit and/or                              10:03:51

   6     receive data over a USB bus?                                          10:03:54

   7                  Do you see that?                                         10:03:55

   8         A.    I do.                                                       10:03:56

   9         Q.    Okay.                                                       10:03:56

  10                  Is that something that is met by                         10:03:57

  11     the combination of Dickens and Belkin?                                10:03:59

  12         A.    Sure, because the Philips chips have                        10:04:01

  13     this interface by standard USB, and there's                           10:04:05

  14     one for each of the hosts, so respective USB                          10:04:08

  15     interface circuit for each of the two hosts in                        10:04:10

  16     this case.                                                            10:04:13

  17         Q.    And can you just illustrate for us,                         10:04:13

  18     perhaps in a red marker, what the controller                          10:04:15

  19     is in that case?                                                      10:04:17

  20         A.    What the controller is?                                     10:04:18

  21         Q.    Yeah.    You see how it says, "the                          10:04:20

  22     controller comprises USB interface circuit and                        10:04:21

  23     the respective endpoint buffers"?                                     10:04:24

  24         A.    The red marker, in this case the                            10:04:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 86 of 503 PageID #: 17965

                                      TRIAL - VOLUME 5

                                                                            Page 85

   1     controller actually gets a little bit bigger.                          10:04:28

   2     A person of ordinary skill would know in this                          10:04:30

   3     case that this would identify the controller                           10:04:32

   4     as the previous part of Dickens and now the                            10:04:34

   5     two USB endpoint buffers that are found --                             10:04:36

   6     that were taught to them by the Belkin device.                         10:04:39

   7                   Controller is a broader term, as                         10:04:42

   8     seen in some of the other -- talking about the                         10:04:43

   9     more specific terms, but just the device                               10:04:46

  10     controller, a controller can be used for all                           10:04:49

  11     kinds of things in intellectual engineering.                           10:04:51

  12     It is not a new thing.       It's been around                          10:04:53

  13     forever.                                                               10:04:56

  14         Q.     Okay.                                                       10:04:56

  15                   And we'll just look at this last                         10:04:57

  16     element of claim 25, with respect to endpoint                          10:04:58

  17     buffer for each of those two or more USB hosts                         10:05:02

  18     for storing respective dedicated address,                              10:05:04

  19     configuration and response information for                             10:05:08

  20     each of those two or more USB hosts.                                   10:05:08

  21                   Is that met by the combination?                          10:05:11

  22         A.     Yes, as I described here, there is an                       10:05:13

  23     endpoint buffer for each of the hosts, and an                          10:05:15

  24     endpoint buffer would be understood by a                               10:05:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 87 of 503 PageID #: 17966

                                     TRIAL - VOLUME 5

                                                                           Page 86

   1     person of ordinary skill, and it's even talked                        10:05:19

   2     about in the Philips data sheet, that's the                           10:05:23

   3     place where the device address would be stored                        10:05:25

   4     and configuration of the device would be                              10:05:28

   5     stored.                                                               10:05:30

   6         Q.    Okay.                                                       10:05:30

   7                  MR. SAULSBURY:       Now, Mr. Glass,                     10:05:31

   8     can we take a look at claim 24, please.                               10:05:34

   9                  THE WITNESS:      Should I sit down?                     10:05:38

  10                  MR. SAULSBURY:       No, but this is                     10:05:39

  11     the last thing.                                                       10:05:40

  12     BY MR. SAULSBURY:                                                     10:05:40

  13         Q.    So, Mr. Garney, do you see how claim                        10:05:42

  14     24 also has claim 23 and it adds the                                  10:05:44

  15     requirement that "wherein establishing the                            10:05:49

  16     concurrent respective dedicated USB                                   10:05:50

  17     connections between the shared USB device                             10:05:54

  18     block and two or more USB hosts, the                                  10:05:56

  19     controller is operable to maintain respective                         10:05:58

  20     dedicated address configuration and response                          10:06:00

  21     information for each of the two or more USB                           10:06:03

  22     hosts"?                                                               10:06:05

  23                  Do you see that?                                         10:06:06

  24         A.    I do.                                                       10:06:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 88 of 503 PageID #: 17967

                                     TRIAL - VOLUME 5

                                                                           Page 87

   1         Q.    Is that satisfied by the combination                        10:06:07

   2     of Dickens and Belkin?                                                10:06:08

   3         A.    I have included it in.                                      10:06:09

   4         Q.    And is that because you have standard                       10:06:10

   5     USB endpoints in the annotated diagram that                           10:06:12

   6     you have drawn?                                                       10:06:17

   7         A.    Yeah, we can make use of the normal                         10:06:18

   8     Dickens stuff for convection, but Dickens                             10:06:20

   9     already talked about that.        We are just                         10:06:23

  10     substituting one device controller for the                            10:06:25

  11     endpoint controllers.      The Belkin teaches we                      10:06:26

  12     don't disturb the normal USB and then the                             10:06:30

  13     connection between the shared USB block and                           10:06:33

  14     each host just like Dickens teaches, so that's                        10:06:35

  15     no problem.                                                           10:06:38

  16         Q.    Okay.   Thank you, Mr. Garney.         You                  10:06:38

  17     can sit down.                                                         10:06:40

  18         A.    Okay.   It felt nice to stand up.                           10:06:41

  19         Q.    Mr. Garney, did you perform a similar                       10:06:52

  20     analysis with respect to US-98?                                       10:06:54

  21         A.    Yeah, I did.                                                10:06:56

  22         Q.    And what were your conclusions?                             10:06:57

  23         A.    Basically the same conclusions; it                          10:06:59

  24     operates very similarly to Belkin.          In fact, I                10:07:01


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 89 of 503 PageID #: 17968

                                      TRIAL - VOLUME 5

                                                                           Page 88

   1     exchanged the software from each product with                         10:07:04

   2     the other device and they're still similar,                           10:07:06

   3     how the software works.                                               10:07:10

   4         Q.      I'm handing you what's been marked as                     10:07:12

   5     Exhibit 368.                                                          10:07:14

   6                    (Whereupon, Trial Exhibit 368 was                      10:07:14

   7     introduced.)                                                          10:07:14

   8     BY MR. SAULSBURY:                                                     10:07:14

   9         Q.      Do you recognize this as the US-98                        10:07:15

  10     device you analyzed?                                                  10:07:17

  11         A.      Yeah, I do.     I had to break it open                    10:07:18

  12     to test it, so yes, this is whole.                                    10:07:20

  13                    MR. SAULSBURY:     And I move                          10:07:22

  14     Exhibits 367 and 368 into evidence.                                   10:07:24

  15                    MR. SLAYDEN:     No objection, Your                    10:07:25

  16     Honor.                                                                10:07:26

  17                    THE COURT:     All right.    They'll be                10:07:26

  18     received.                                                             10:07:28

  19     BY MR. SAULSBURY:                                                     10:07:28

  20         Q.      And I just want to sum up your                            10:07:29

  21     opinions on -- strike that actually.           Let's --               10:07:31

  22     in the interest of time, let's move on and                            10:07:34

  23     talk about enablement and written description.                        10:07:37

  24                    Were you here for Mr. -- were you                      10:07:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 90 of 503 PageID #: 17969

                                     TRIAL - VOLUME 5

                                                                           Page 89

   1     here for Microchip's opening statement?                               10:07:45

   2         A.    I was.                                                      10:07:48

   3         Q.    Okay.                                                       10:07:48

   4                   And do you recall that there was a                      10:07:49

   5     statement from Microchip saying the '243                              10:07:51

   6     Patent is "a device for connecting between two                        10:07:53

   7     computers"?                                                           10:07:57

   8         A.    I do.                                                       10:07:57

   9         Q.    Okay.                                                       10:07:58

  10                   Is that what you understand the                         10:07:59

  11     invention to be?                                                      10:08:02

  12         A.    Not at all.                                                 10:08:02

  13         Q.    Okay.                                                       10:08:03

  14                   And so you don't understand the                         10:08:05

  15     claims 23 through 25 to cover a device for                            10:08:08

  16     connecting between two computers?                                     10:08:12

  17         A.    That's correct.                                             10:08:13

  18         Q.    Okay.                                                       10:08:14

  19                   For the next few questions, I want                      10:08:14

  20     you to assume for the moment that the claims                          10:08:17

  21     are that broad, that they encompass                                   10:08:19

  22     host-to-host communication.                                           10:08:22

  23                   Do you have an opinion on whether                       10:08:27

  24     the inventors possess, as part of their                               10:08:30


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 91 of 503 PageID #: 17970

                                     TRIAL - VOLUME 5

                                                                           Page 90

   1     invention, host-to-host communication using a                         10:08:33

   2     shared device?                                                        10:08:36

   3         A.    No, there is no hint in the patent                          10:08:37

   4     that talks about host-to-host communication.                          10:08:39

   5     I would expect if they possess that, they                             10:08:42

   6     would have had something to say about it.                             10:08:45

   7         Q.    Well, are you saying that they would                        10:08:46

   8     have to disclose every single USB device that                         10:08:48

   9     you could use within the patent?                                      10:08:51

  10         A.    No, no, but I would hope -- as we                           10:08:53

  11     heard, host-to-host communication has been                            10:08:55

  12     known for a long time way before this patent.                         10:08:57

  13     As at least practitioners of the art, they                            10:09:00

  14     would have been aware of this, and if they had                        10:09:03

  15     intended that, I would expect that they would,                        10:09:04

  16     you know, say something about it.                                     10:09:07

  17         Q.    And is there something unique about                         10:09:08

  18     host-to-host communication as compared to the                         10:09:10

  19     types of devices disclosed in the '243 Patent,                        10:09:12

  20     such that you'd expect there to be more                               10:09:16

  21     discussion of it?                                                     10:09:17

  22         A.    Well, yeah, I mean, in almost every                         10:09:18

  23     case that I am aware of, each host that wants                         10:09:20

  24     to communicate talks to its device and, you                           10:09:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 92 of 503 PageID #: 17971

                                     TRIAL - VOLUME 5

                                                                           Page 91

   1     know, the second host would talk to its device                        10:09:26

   2     and then those two devices have some way of                           10:09:27

   3     communicating.    If one device or if one                             10:09:31

   4     computer is only there, if there's only one of                        10:09:34

   5     them, the device is not functioning, it                               10:09:37

   6     doesn't do anything useful.                                           10:09:39

   7                   It is not a single device that can                      10:09:40

   8     be shared; it is only -- it's this connection                         10:09:42

   9     of the two hosts of the two devices that make                         10:09:44

  10     sense.    And this patent is all about a single                       10:09:46

  11     device that a single computer could use that                          10:09:49

  12     would make sense, and now we are going to                             10:09:51

  13     expand it and use this purported invention to                         10:09:54

  14     allow multiple hosts to share that same                               10:09:56

  15     device.                                                               10:09:59

  16         Q.     And I have a slightly different but                        10:09:59

  17     related question, and now I am not asking                             10:10:00

  18     about what the inventors possessed; instead,                          10:10:03

  19     I'm more interested in whether someone who is                         10:10:08

  20     skilled in the field could actually make the                          10:10:10

  21     invention based on the disclosures in the                             10:10:12

  22     patent.                                                               10:10:15

  23                   And specifically my question is,                        10:10:15

  24     do the disclosures in the patent enable one                           10:10:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 93 of 503 PageID #: 17972

                                     TRIAL - VOLUME 5

                                                                           Page 92

   1     skilled in the field to make and implement a                          10:10:22

   2     host-to-host communicating shared USB device                          10:10:27

   3     without undue experimentation?                                        10:10:30

   4         A.    No, I think it would require                                10:10:32

   5     significant experimentation to figure out how                         10:10:34

   6     to do that.    There is a substantial difference                      10:10:37

   7     between two devices that are communicating and                        10:10:39

   8     one device that you are not sharing, so...                            10:10:40

   9         Q.    Could you use the same sorts of                             10:10:45

  10     software for doing host-to-host communication                         10:10:47

  11     using a device for each host in the context of                        10:10:49

  12     the shared USB device of the '243 Patent?                             10:10:54

  13         A.    I don't think so.                                           10:10:57

  14         Q.    And why is that?                                            10:10:58

  15         A.    Well, because, again, you have to                           10:10:59

  16     work out these details.       The software that is                    10:11:01

  17     involved with having one host talk to one                             10:11:04

  18     device, that's sort of normal USB.          That's                    10:11:07

  19     what all my classes were about and everything                         10:11:10

  20     else.                                                                 10:11:12

  21                   If you are now trying to have a                         10:11:12

  22     software in a device that's going to try to                           10:11:14

  23     sort out this sharing concept, that's -- you                          10:11:16

  24     know, that's not something that USB knows                             10:11:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 94 of 503 PageID #: 17973

                                     TRIAL - VOLUME 5

                                                                           Page 93

   1     about, that's not something that's part of                            10:11:21

   2     standard device controllers.        That's not part                   10:11:24

   3     of normal host-to-host communication.          So that                10:11:27

   4     work would require experimentation.                                   10:11:29

   5                    And also, the software up in the                       10:11:31

   6     host that would be used to control that device                        10:11:32

   7     is -- again, because it doesn't make a lot of                         10:11:34

   8     sense to use that device by itself, that could                        10:11:37

   9     require some changes, too.                                            10:11:39

  10         Q.    Now, one final set of questions.                            10:11:41

  11                    Do you recall how we talked about                      10:11:44

  12     the types of evidence that you looked at in                           10:11:45

  13     concluding that the Belkin device was publicly                        10:11:49

  14     available before 2006?                                                10:11:52

  15         A.    I do.                                                       10:11:53

  16         Q.    Okay.                                                       10:11:53

  17                    Did you conduct a similar analysis                     10:11:54

  18     for US-98?                                                            10:11:56

  19         A.    I did.                                                      10:11:57

  20         Q.    Okay.                                                       10:11:57

  21                    And did you come to a conclusion                       10:11:58

  22     as to whether that was publicly available                             10:11:59

  23     before 2006?                                                          10:12:01

  24         A.    Yeah.    All of the similar indicators                      10:12:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 95 of 503 PageID #: 17974

                                       TRIAL - VOLUME 5

                                                                             Page 94

   1     that I used for Belkin, I applied for US-98,                            10:12:03

   2     and the same conclusion of the dates that I                             10:12:07

   3     saw were well in advance of the '243.                                   10:12:10

   4                    MR. SAULSBURY:          I pass the                       10:12:16

   5     witness.                                                                10:12:17

   6                    THE COURT:     Okay.                                     10:12:18

   7                    MR. SLAYDEN:       Can I approach, Your                  10:12:40

   8     Honor?                                                                  10:12:42

   9                    THE COURT:     Yes.                                      10:12:42

  10                    MR. SAULSBURY:          Yeah, no problem.                10:13:26

  11     Certainly.     I'd be happy to take that.           Thank               10:13:28

  12     you.                                                                    10:13:31

  13                    THE COURT:     Go ahead.                                 10:13:32

  14                    MR. SLAYDEN:       Thank you.                            10:13:33

  15                    MR. SAULSBURY:          You bet.                         10:13:35

  16                                   -    -     -                              10:13:35

  17                            CROSS-EXAMINATION                                10:13:35

  18                                   -    -     -                              10:13:36

  19     BY MR. SLAYDEN:                                                         10:13:36

  20            Q.   Good morning, Mr. Garney.                                   10:13:50

  21            A.   Good morning.                                               10:13:51

  22            Q.   Now, you have been designated as                            10:13:53

  23     Aptiv's invalidity expert; is that correct?                             10:13:55

  24            A.   Aptiv's infringement expert.                                10:13:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 96 of 503 PageID #: 17975

                                      TRIAL - VOLUME 5

                                                                            Page 95

   1         Q.     And their infringement expert?                              10:14:01

   2         A.     Yes.                                                        10:14:02

   3         Q.     So both?                                                    10:14:03

   4         A.     Yes.                                                        10:14:03

   5         Q.     You're not a lawyer; right?                                 10:14:04

   6         A.     I am not a lawyer.                                          10:14:05

   7         Q.     And you are not a judge certainly?                          10:14:06

   8         A.     I am certainly not a judge.         I am not                10:14:08

   9     a juror this time either.                                              10:14:10

  10         Q.     You're getting paid to be here today;                       10:14:11

  11     correct?                                                               10:14:18

  12         A.     I am.                                                       10:14:18

  13         Q.     How long have you been working on                           10:14:18

  14     invalidating the '243 Patent?                                          10:14:19

  15         A.     About five-and-a-half years.                                10:14:22

  16         Q.     How much do you charge an hour?                             10:14:24

  17         A.     The company that I work through,                            10:14:26

  18     which is this expert company I think that's                            10:14:29

  19     mentioned on my resume, they bill Aptiv $525                           10:14:31

  20     an hour for most work, and I have a discounted                         10:14:35

  21     rate if I get to work from home.                                       10:14:38

  22         Q.     How many hours have you worked on                           10:14:41

  23     trying to invalidate the '243 Patent?                                  10:14:42

  24         A.     I can't separate the invalidity                             10:14:45


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 97 of 503 PageID #: 17976

                                     TRIAL - VOLUME 5

                                                                           Page 96

   1     specifically, but overall, I've worked over                           10:14:47

   2     400 hours.                                                            10:14:50

   3         Q.    400 hours.                                                  10:14:51

   4                  So how much have you been paid by                        10:14:52

   5     Aptiv?                                                                10:14:54

   6         A.    I think it adds up to $200,000 or                           10:14:54

   7     something.                                                            10:14:57

   8         Q.    Now, over the past five years, have                         10:14:59

   9     you always worked with this law firm with                             10:15:01

  10     Aptiv?                                                                10:15:03

  11         A.    I have not.                                                 10:15:03

  12                  MR. SAULSBURY:       Objection, Your                     10:15:05

  13     Honor.                                                                10:15:07

  14                  THE COURT:     Well, let me hear                         10:15:07

  15     where it goes, but, I mean, you are on pretty                         10:15:09

  16     thin ice here.                                                        10:15:12

  17                  Go ahead.                                                10:15:13

  18     BY MR. SLAYDEN:                                                       10:15:15

  19         Q.    So you have been working with them                          10:15:17

  20     for five years?                                                       10:15:20

  21         A.    Correct.                                                    10:15:20

  22         Q.    So that's around 2017?                                      10:15:21

  23         A.    Sounds right.                                               10:15:22

  24         Q.    And that started off with, in 2017,                         10:15:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 98 of 503 PageID #: 17977

                                       TRIAL - VOLUME 5

                                                                             Page 97

   1     you were going -- you were challenging the                              10:15:30

   2     '243 Patent at the patent office; correct?                              10:15:33

   3            A.   That and other patents, yes.                                10:15:35

   4            Q.   And I am going to use the acronym                           10:15:37

   5     IPR.                                                                    10:15:39

   6                    Do you understand what IPR is?                           10:15:40

   7            A.   I do.                                                       10:15:41

   8            Q.   That's Inter Partes Review, IPR.                            10:15:41

   9     Okay.                                                                   10:15:45

  10                    And you were hired as an expert in                       10:15:45

  11     those proceedings, just to be clear?                                    10:15:49

  12            A.   Yes.                                                        10:15:51

  13            Q.   And that was challenging multiple                           10:15:52

  14     Microchip patents; correct?                                             10:15:55

  15            A.   That's correct.      Very similar.                          10:15:57

  16            Q.   And again, just to be clear, if the                         10:16:05

  17     patent office infringement wasn't an issue,                             10:16:07

  18     you were just challenging the validity of the                           10:16:09

  19     patents; correct?                                                       10:16:12

  20            A.   That's correct.                                             10:16:13

  21            Q.   And you have been paid to provide                           10:16:14

  22     testimony here today; correct?                                          10:16:17

  23            A.   Yes.                                                        10:16:18

  24            Q.   Now, as an expert offering opinions                         10:16:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 99 of 503 PageID #: 17978

                                      TRIAL - VOLUME 5

                                                                           Page 98

   1     and testimony, you need information regarding                         10:16:25

   2     the subject matter at issue, don't you?                               10:16:27

   3         A.      Yes.                                                      10:16:30

   4         Q.      Okay.                                                     10:16:30

   5                    And as an expert, it's important                       10:16:31

   6     to have accurate and complete information,                            10:16:35

   7     isn't it?                                                             10:16:38

   8         A.      Yes.                                                      10:16:38

   9         Q.      Because if you don't have accurate                        10:16:41

  10     and complete information, it might affect your                        10:16:43

  11     opinions or conclusions; correct?                                     10:16:46

  12         A.      Correct.                                                  10:16:47

  13         Q.      So during your work for Aptiv                             10:16:50

  14     attacking Microchip's patents, who provided                           10:16:54

  15     you with the information you needed?                                  10:16:56

  16         A.      Some of the information I gathered                        10:17:00

  17     myself, some of the information was provided                          10:17:02

  18     to me by counsel, various counsel.                                    10:17:05

  19         Q.      So if counsel didn't provide you with                     10:17:08

  20     complete and accurate information from the                            10:17:10

  21     company, Aptiv, that might affect your                                10:17:13

  22     conclusions; correct?                                                 10:17:15

  23         A.      It's possible.                                            10:17:17

  24         Q.      Do you think you have been provided                       10:17:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 100 of 503 PageID #: 17979

                                      TRIAL - VOLUME 5

                                                                            Page 99

    1    with complete and accurate information in this                         10:17:21

    2    case by Aptiv?                                                         10:17:23

    3         A.    It was voluminous information I've                          10:17:24

    4    gotten.    As far as I can tell, it seems                              10:17:26

    5    complete and accurate.                                                 10:17:28

    6         Q.    You didn't ask for anything that you                        10:17:29

    7    didn't receive back?                                                   10:17:31

    8         A.    I asked for several things from Aptiv                       10:17:32

    9    during the proceedings, in contact with Mr.                            10:17:35

   10    Petku, to provide me with some specific                                10:17:39

   11    information that I wanted to know.                                     10:17:41

   12         Q.    And they provided it?                                       10:17:42

   13         A.    Absolutely.                                                 10:17:43

   14         Q.    Okay.                                                       10:17:43

   15                  Now, in this case, you remember                          10:17:44

   16    you offered opinions in a written report and                           10:17:50

   17    those reports have been provided to Microchip;                         10:17:52

   18    correct?                                                               10:17:54

   19         A.    Correct.                                                    10:17:54

   20         Q.    Now, I want to read a little bit from                       10:17:57

   21    your report here and I want you to tell me if                          10:18:00

   22    you agree or disagree.                                                 10:18:02

   23         A.    Okay.                                                       10:18:04

   24         Q.    Okay?                                                       10:18:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 101 of 503 PageID #: 17980

                                      TRIAL - VOLUME 5

                                                                           Page 100

    1          A.   Not too much so I can follow.                               10:18:06

    2          Q.   You agree that Microchip's '243                             10:18:08

    3    Patent described an invention to allow a                               10:18:11

    4    single USB device to be shared across multiple                         10:18:13

    5    USB hosts without needing to be reconfigured                           10:18:16

    6    or re-enumerated each and every time the hub                           10:18:19

    7    string host alternated accessing the USB                               10:18:24

    8    device; correct?                                                       10:18:27

    9          A.   I believe that's correct.                                   10:18:28

   10          Q.   Okay.                                                       10:18:29

   11          A.   It would be nice to see it written,                         10:18:31

   12    but...                                                                 10:18:33

   13          Q.   You agree with me that's what it                            10:18:34

   14    describes?                                                             10:18:37

   15          A.   I believe, yes.                                             10:18:37

   16          Q.   And it describes an invention?                              10:18:38

   17          A.   It's a summary of the invention.                            10:18:40

   18          Q.   What's that?                                                10:18:41

   19          A.   It's a summary of the invention.                            10:18:42

   20    It's my -- I don't know if it's quoted                                 10:18:44

   21    directly from the patent, since I can't see                            10:18:46

   22    it.                                                                    10:18:48

   23          Q.   Okay.                                                       10:18:48

   24          A.   But it sounds consistent with my                            10:18:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 102 of 503 PageID #: 17981

                                     TRIAL - VOLUME 5

                                                                          Page 101

    1    understanding of the patent.                                          10:18:50

    2         Q.    Okay.                                                      10:18:51

    3         A.    And again, I don't know if that                            10:18:51

    4    was -- if you use '243 in it, then I'll accept                        10:18:53

    5    it was '243.                                                          10:18:58

    6         Q.    I'm reading directly from it.                              10:19:00

    7                   And you would agree that the '243                      10:19:02

    8    Patent provides a multi-host capable device                           10:19:04

    9    controller; correct?                                                  10:19:07

   10         A.    That's the title.      The multi-host --                   10:19:07

   11    again, I'd have to look at the cover of the                           10:19:12

   12    patent, but I think that's the name of the                            10:19:14

   13    patent.                                                               10:19:15

   14         Q.    And, in fact, I'll just quote it.                          10:19:16

   15         A.    Actually within the claim of the                           10:19:18

   16    patent, it specifically talks about multi-host                        10:19:19

   17    device controller, yes.                                               10:19:22

   18         Q.    This is what your words say at                             10:19:23

   19    paragraph 124?                                                        10:19:26

   20                   MR. SAULSBURY:     Objection, Your                     10:19:26

   21    Honor.    Can he give it to the witness.         He                   10:19:28

   22    doesn't have the report.                                              10:19:30

   23                   THE COURT:   It is overruled, and                      10:19:31

   24    if he is not sure, he can say that.          I mean,                  10:19:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 103 of 503 PageID #: 17982

                                     TRIAL - VOLUME 5

                                                                          Page 102

    1    you can ask him and he can say it.                                    10:19:37

    2                   Go ahead.                                              10:19:39

    3    BY MR. SLAYDEN:                                                       10:19:39

    4         Q.   It says specifically, "The '243                             10:19:39

    5    Patent relates to USB controllers and provides                        10:19:42

    6    that a shared USB device may be simultaneously                        10:19:44

    7    configured and accessed by two or more USB                            10:19:48

    8    hosts by using a multi-host capable device                            10:19:52

    9    controller."                                                          10:19:55

   10                   Does that sound about right?                           10:19:56

   11         A.   That sounds familiar.                                       10:19:57

   12         Q.   Now, let's continue on with your                            10:20:00

   13    report.                                                               10:20:05

   14         A.   I'd actually, now, would like to see                        10:20:05

   15    the context of it, because I said a lot of                            10:20:08

   16    things, I'm sure, in lots of reports; there's                         10:20:10

   17    maybe hundreds.     I think you mentioned an                          10:20:12

   18    89-page report.                                                       10:20:15

   19                   So, again, the statements are                          10:20:15

   20    sometimes in context and I don't know what the                        10:20:16

   21    context is for that.                                                  10:20:18

   22         Q.   You think your report is 89 pages?                          10:20:19

   23         A.   That's what you claimed it was.                             10:20:21

   24         Q.   Oh, can you tell me how many pages it                       10:20:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 104 of 503 PageID #: 17983

                                       TRIAL - VOLUME 5

                                                                            Page 103

    1    is?                                                                     10:20:26

    2           A.   I'm just -- I don't remember exactly                        10:20:26

    3    how many pages, but that's what you claimed it                          10:20:28

    4    was.                                                                    10:20:40

    5           Q.   No, it's a little bigger than                               10:20:40

    6    89 pages.     89 pages is what you submitted?                           10:20:47

    7           A.   But that's not all the material I                           10:20:49

    8    actually wrote.                                                         10:20:51

    9           Q.   Excuse me?                                                  10:20:52

   10           A.   That's not all the material I                               10:20:53

   11    actually wrote.       There were three reports and                      10:20:55

   12    some replies.                                                           10:20:57

   13           Q.   Well, this was just the opening                             10:20:58

   14    report?                                                                 10:20:59

   15           A.   Well, maybe that's the legal input.                         10:20:59

   16    The report I wrote is the first part right                              10:21:01

   17    here, and it refers to other exhibits, but I                            10:21:03

   18    didn't write all those.                                                 10:21:05

   19           Q.   You are correct.                                            10:21:06

   20           A.   So it looks like, it's ironic, it is                        10:21:07

   21    108 pages, not 89.                                                      10:21:11

   22           Q.   Okay.                                                       10:21:15

   23                   So that's, I guess, 89 pages at                          10:21:16

   24    the patent office and 108 pages here?                                   10:21:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 105 of 503 PageID #: 17984

                                     TRIAL - VOLUME 5

                                                                          Page 104

    1         A.   Well, yeah.     So I guess you're                           10:21:21

    2    referring to the IPR report they got.                                 10:21:23

    3         Q.   Right.                                                      10:21:25

    4                  That's another declaration that                         10:21:26

    5    was under oath.                                                       10:21:28

    6         A.   Sure.                                                       10:21:28

    7         Q.   We'll get to that.                                          10:21:29

    8         A.   Sure.                                                       10:21:30

    9         Q.   So if you want to follow along, you                         10:21:31

   10    can check me.      Let's go to paragraph 125,                         10:21:34

   11    which is on --                                                        10:21:37

   12         A.   Just a minute.      I have to make room.                    10:21:37

   13         Q.   -- page 32.     Do you want me to get                       10:21:39

   14    that for you?                                                         10:21:41

   15         A.   Sorry, which?                                               10:21:46

   16         Q.   Paragraph 125.                                              10:21:48

   17         A.   Okay.                                                       10:21:53

   18         Q.   And I am reading down at kind of the                        10:21:54

   19    last sentence.                                                        10:21:58

   20                  It says, "The '243 Patent," and                         10:21:59

   21    then it says, "solves the problem by                                  10:22:03

   22    disclosing a multi-host capable device                                10:22:05

   23    controller that includes," now, this is                               10:22:09

   24    important, "separate buffers for each of the                          10:22:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 106 of 503 PageID #: 17985

                                     TRIAL - VOLUME 5

                                                                          Page 105

    1    multi-host connections and maintains a                                10:22:17

    2    dedicated address and configuration for each                          10:22:20

    3    host."                                                                10:22:24

    4                  Do you see that?                                        10:22:24

    5         A.   I do.   That's what I just described                        10:22:25

    6    for the combination of Dickens and Belkin.                            10:22:26

    7         Q.   Okay.   We'll get to that later.                            10:22:30

    8         A.   Sure.                                                       10:22:31

    9         Q.   Okay.                                                       10:22:33

   10                  Let's go to paragraph 357.                              10:22:34

   11         A.   Which page are you on?                                      10:22:46

   12         Q.   Page 99.                                                    10:22:48

   13         A.   Okay.                                                       10:22:48

   14         Q.   We're getting close to the end.                             10:22:50

   15         A.   Thank you.                                                  10:22:50

   16         Q.   The second sentence there says, "The                        10:22:52

   17    specification describes a way for multiple USB                        10:22:57

   18    hosts to share a single USB device."                                  10:23:00

   19                  Do you see that?                                        10:23:02

   20         A.   I do.                                                       10:23:02

   21         Q.   That's in your report; right?                               10:23:03

   22         A.   Yes.                                                        10:23:05

   23         Q.   Okay.                                                       10:23:05

   24                  Now let's go to --                                      10:23:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 107 of 503 PageID #: 17986

                                      TRIAL - VOLUME 5

                                                                           Page 106

    1                   MR. SLAYDEN:     Can you pull up                        10:23:13

    2    Exhibit 1, Mr. Ferrer.        Figure 3, page 4.                        10:23:14

    3    BY MR. SLAYDEN:                                                        10:23:25

    4         Q.    Now, Mr. Garney, you recognize that                         10:23:25

    5    diagram?                                                               10:23:28

    6         A.    Oh, yeah.                                                   10:23:28

    7         Q.    After five years?                                           10:23:29

    8         A.    I don't think I dream about it yet,                         10:23:32

    9    but I could.                                                           10:23:34

   10         Q.    Maybe it's more nightmares.                                 10:23:35

   11         A.    Some days, like today.                                      10:23:37

   12         Q.    Now, you would agree with me that it                        10:23:40

   13    seems obvious that Figure 3 of the patent is a                         10:23:43

   14    block diagram, isn't it?                                               10:23:47

   15         A.    It is a block diagram, yes.                                 10:23:48

   16         Q.    Okay.   A bunch of blocks there.                            10:23:50

   17                   MR. SLAYDEN:     So, Mr. Ferrer, can                    10:23:52

   18    we go to Exhibit 370 at 1149.         And just give                    10:23:57

   19    me the first page, actually first page first,                          10:24:04

   20    so it's not 1149.                                                      10:24:11

   21    BY MR. SLAYDEN:                                                        10:24:14

   22         Q.    And you recognize that?        I think we                   10:24:14

   23    talked about that.                                                     10:24:16

   24         A.    I am guessing this is the file                              10:24:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 108 of 503 PageID #: 17987

                                     TRIAL - VOLUME 5

                                                                          Page 107

    1    history, file wrapper.                                                10:24:19

    2         Q.     I actually wanted the --                                  10:24:23

    3                   MR. SLAYDEN:    Go to 1149 of that                     10:24:25

    4    document.     I'm sorry.                                              10:24:27

    5                   Okay.   Now I got to where I                           10:24:38

    6    wanted.                                                               10:24:46

    7    BY MR. SLAYDEN:                                                       10:24:46

    8         Q.     Now, do you recognize that as your                        10:24:47

    9    declaration that you filed in relation to the                         10:24:49

   10    '243 Patent at the IPR proceedings?                                   10:24:52

   11         A.     It seems to be that, yes.                                 10:24:55

   12         Q.     And that's -- and in that                                 10:24:56

   13    declaration, you attacked the claims 23                               10:24:59

   14    through 25 of the '243 Patent; right?                                 10:25:03

   15         A.     Well, I provided -- I don't know if I                     10:25:05

   16    would use "attacked."      I mean, I provided                         10:25:08

   17    information to the patent board for them to                           10:25:09

   18    re-examine the 23 to 25, amongst other                                10:25:11

   19    claims -- amongst other patents.                                      10:25:15

   20         Q.     But you asserted that they were                           10:25:16

   21    invalid; correct?                                                     10:25:18

   22         A.     I did.                                                    10:25:19

   23         Q.     Okay.                                                     10:25:19

   24         A.     With regard to Dickens                                    10:25:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 109 of 503 PageID #: 17988

                                     TRIAL - VOLUME 5

                                                                          Page 108

    1    specifically -- well, as we talked, not about                         10:25:24

    2    any products, but just the written documents                          10:25:26

    3    they described.                                                       10:25:29

    4         Q.   Right.                                                      10:25:29

    5                  And you make a distinction there.                       10:25:29

    6    Do patents exist on USB switches?                                     10:25:33

    7         A.   Well, this is a patent on it.          I'm                  10:25:37

    8    not sure exactly what your question is asking.                        10:25:41

    9    That's pretty broad.                                                  10:25:43

   10         Q.   You keep saying the patent office                           10:25:44

   11    didn't look at these physical devices, and I'm                        10:25:46

   12    asking you if these physical devices were so                          10:25:49

   13    special, wouldn't somebody have patented them?                        10:25:56

   14         A.   Probably.                                                   10:25:58

   15         Q.   Correct.                                                    10:25:59

   16                  And so if they had a patent,                            10:25:59

   17    wouldn't you have found those and asserted                            10:26:03

   18    them at the patent office during the IPR?                             10:26:05

   19         A.   I think, as I understand it legally,                        10:26:07

   20    the patent applicants have an obligation, if                          10:26:10

   21    they are aware of any such thing, they have to                        10:26:13

   22    notify the patent board, patent office of                             10:26:14

   23    them.                                                                 10:26:16

   24         Q.   We're going to get to that later.                           10:26:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 110 of 503 PageID #: 17989

                                     TRIAL - VOLUME 5

                                                                          Page 109

    1    Mr. Bohm, he actually disclosed it went                               10:26:19

    2    through a Belkin switch to the patent office.                         10:26:22

    3         A.     No, my question was for you, sir.                         10:26:25

    4         Q.     But my question is a little                               10:26:27

    5    different.                                                            10:26:28

    6                   My question was, would you agree                       10:26:29

    7    with me that there's probably patents on --                           10:26:32

    8    let's go here.      Are there patents on USB                          10:26:35

    9    switches?                                                             10:26:38

   10         A.     I don't know.                                             10:26:38

   11         Q.     You don't know.                                           10:26:39

   12                   You've never seen a patent on a                        10:26:41

   13    USB switch?                                                           10:26:43

   14         A.     Not to my knowledge.                                      10:26:44

   15         Q.     Okay.                                                     10:26:45

   16                   There are --                                           10:26:46

   17         A.     Well -- yeah, that's true.       Go ahead.                10:26:48

   18         Q.     You don't think there is a patent on                      10:26:51

   19    USB switches?                                                         10:26:54

   20         A.     Oh, I wouldn't be surprised.                              10:26:55

   21         Q.     Okay.                                                     10:26:56

   22                   So you could have searched for and                     10:26:57

   23    found those and submitted them to the patent                          10:27:01

   24    office during an IPR proceeding; correct?                             10:27:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 111 of 503 PageID #: 17990

                                     TRIAL - VOLUME 5

                                                                          Page 110

    1         A.   I could.                                                    10:27:05

    2         Q.   And we are going to get to that                             10:27:06

    3    because there is a lot of switches listed on                          10:27:07

    4    the face of the patent -- the '243 Patent and                         10:27:09

    5    you know how they got there?                                          10:27:12

    6         A.   No.                                                         10:27:14

    7         Q.   You just described it a minute ago.                         10:27:14

    8    Duty of candor; right?                                                10:27:18

    9         A.   Yes.                                                        10:27:19

   10         Q.   And who discloses those patents to                          10:27:20

   11    the patent office in the printed publications                         10:27:22

   12    about switches when they are getting their                            10:27:24

   13    patent; who does that?                                                10:27:27

   14         A.   The inventor or their legal firm, I                         10:27:28

   15    would assume.                                                         10:27:31

   16         Q.   And that's Mr. Bohm here in this                            10:27:31

   17    case?                                                                 10:27:33

   18         A.   Or his lawyers, yes.                                        10:27:33

   19         Q.   Okay.                                                       10:27:35

   20                    MR. SLAYDEN:   Let's go to 1242,                      10:27:35

   21    Mr. Ferrer.                                                           10:27:38

   22    BY MR. SLAYDEN:                                                       10:27:46

   23         Q.   And that's your signature; right,                           10:27:46

   24    just to confirm?                                                      10:27:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 112 of 503 PageID #: 17991

                                     TRIAL - VOLUME 5

                                                                          Page 111

    1         A.   That's correct.                                             10:27:48

    2         Q.   And that's the -- on the 89th page of                       10:27:49

    3    your report?                                                          10:27:53

    4         A.   Okay.                                                       10:27:53

    5         Q.   And then when you signed this, you                          10:27:54

    6    were attesting to the fact that you believe                           10:27:58

    7    what you put in there was true; right?                                10:28:01

    8         A.   That's correct.                                             10:28:04

    9         Q.   Now, going back to Figure 3 of the                          10:28:04

   10    '243 Patent, you don't have to pull it up, but                        10:28:08

   11    you'd agree that the block diagrams like                              10:28:11

   12    Figure 3 of the '243 Patent are not intended                          10:28:14

   13    to specify a particular configuration of                              10:28:19

   14    separate devices, but merely to indicate the                          10:28:22

   15    functions performed and the functional                                10:28:26

   16    relationships of those functions; correct?                            10:28:28

   17         A.   Sometimes they can be used for -- to                        10:28:32

   18    either suggest or describe embodiments and                            10:28:35

   19    sometimes they can be used for in helping to                          10:28:38

   20    understand what the claims are with respect to                        10:28:40

   21    the written description that also exists in                           10:28:43

   22    the patent.                                                           10:28:46

   23         Q.   Okay.                                                       10:28:47

   24                   I don't think you really answered                      10:28:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 113 of 503 PageID #: 17992

                                       TRIAL - VOLUME 5

                                                                            Page 112

    1    my question.        So maybe it's a little long                         10:28:49

    2    because it's -- because you'll see why in a                             10:28:53

    3    minute.                                                                 10:28:56

    4                   You'd agree that the block                               10:28:56

    5    diagrams in Figure 3 of the '243 Patent are                             10:28:58

    6    not intended to specify a particular                                    10:29:02

    7    configuration of separate devices, but merely                           10:29:05

    8    indicate the functions performed and the                                10:29:10

    9    functional relationships of the functions;                              10:29:13

   10    correct?                                                                10:29:16

   11           A.   Well, the description of the                                10:29:24

   12    invention in a patent uses that figure to                               10:29:29

   13    elaborate some of what you just described,                              10:29:32

   14    yes.                                                                    10:29:34

   15           Q.   Okay.                                                       10:29:36

   16                   I'm not sure we are on the same                          10:29:37

   17    page, but let's just look at...                                         10:29:39

   18                   MR. SLAYDEN:      Let's go to 1183,                      10:29:44

   19    Mr. Ferrer.      And the last bottom sentence                           10:29:46

   20    starting with, "Functional block                                        10:29:52

   21    descriptions."        About five lines up from where                    10:29:54

   22    you are.                                                                10:29:58

   23                   Keep going.      You're there.      Right                10:30:03

   24    there.                                                                  10:30:04


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 114 of 503 PageID #: 17993

                                        TRIAL - VOLUME 5

                                                                             Page 113

    1    BY MR. SLAYDEN:                                                          10:30:05

    2           Q.     So this is what you said in your                           10:30:11

    3    declaration to the patent office:                                        10:30:13

    4                     "Functional block depiction of                          10:30:14

    5    devices as in Bohm was not intended to specify                           10:30:17

    6    a particular configuration of separate                                   10:30:22

    7    devices.       The block diagram merely indicates                        10:30:24

    8    the functions performed and the functional                               10:30:28

    9    relationships of the functions."                                         10:30:31

   10                     And here's a really interesting                         10:30:34

   11    part.       "A particular function," which is                            10:30:36

   12    important in this case, "may be distributed                              10:30:40

   13    amongst various real world components."                                  10:30:43

   14                     Do you agree with that?                                 10:30:48

   15           A.     I see that.    The claims define                           10:30:50

   16    exactly what is being claimed.                                           10:30:52

   17           Q.     I'm not talking about a claim there,                       10:30:56

   18    though.       I want to talk about the diagram that                      10:30:59

   19    you have been backing things to.                                         10:31:01

   20           A.     Sure.                                                      10:31:04

   21           Q.     That's -- that's true, I agree with                        10:31:06

   22    you.                                                                     10:31:09

   23                     And just to be clear, you would                         10:31:10

   24    agree with me that a particular function may                             10:31:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 115 of 503 PageID #: 17994

                                     TRIAL - VOLUME 5

                                                                          Page 114

    1    be distributed amongst various real world                             10:31:14

    2    components?                                                           10:31:17

    3         A.     Well, as a broad part of a                                10:31:18

    4    practitioner's art, of course.         But again,                     10:31:24

    5    some of this language, I mean, function and                           10:31:27

    6    devices, devices for specific uses of this                            10:31:31

    7    within the patent that we have to use when it                         10:31:35

    8    comes to talking about the patent in                                  10:31:39

    9    particular.                                                           10:31:40

   10         Q.     Okay.                                                     10:31:41

   11                   Well, let's go up four lines, "as                      10:31:42

   12    in Bohm."                                                             10:31:45

   13         A.     Sure.                                                     10:31:48

   14         Q.     Correct?   That's what I'm talking                        10:31:48

   15    about.                                                                10:31:49

   16                   MR. SLAYDEN:    Okay.    Let's go                      10:31:52

   17    to -- hang on a minute.                                               10:31:56

   18    BY MR. SLAYDEN:                                                       10:31:58

   19         Q.     Now, you would agree that the word                        10:31:58

   20    "simultaneous," as used in the '243 Patent                            10:32:01

   21    claim, does not require immediacy; correct?                           10:32:04

   22         A.     I'm not sure of the context of how                        10:32:14

   23    you're using immediacy, so I'm not sure how to                        10:32:16

   24    answer that question.                                                 10:32:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 116 of 503 PageID #: 17995

                                      TRIAL - VOLUME 5

                                                                           Page 115

    1          Q.    I'll repeat it one more time.                              10:32:21

    2          A.    I'm not sure repeating is going to                         10:32:22

    3    help, but go ahead.                                                    10:32:24

    4          Q.    All right.    Well, maybe think about                      10:32:25

    5    it.                                                                    10:32:27

    6                   You agree that the word                                 10:32:27

    7    "simultaneous," as used in the '243 Patent                             10:32:29

    8    claims, does not require immediacy; correct?                           10:32:32

    9          A.    Yeah, I'm still not sure how to                            10:32:36

   10    answer that question.                                                  10:32:38

   11                   MR. SLAYDEN:     Okay.     Well, let's                  10:32:39

   12    look at -- pull up page 1187.           This is what                   10:32:41

   13    you said, told the patent office.                                      10:32:47

   14                   THE WITNESS:     Five years ago,                        10:32:49

   15    sure.                                                                  10:32:50

   16                   MR. SLAYDEN:     Let's go to the                        10:32:50

   17    last -- 71, the last sentence of 71,                                   10:32:52

   18    simultaneous, of 71.                                                   10:32:57

   19                   Paragraph 71, Mr. Ferrer.        I'm                    10:33:00

   20    sorry.     The last sentence.      The last sentence.                  10:33:02

   21    BY MR. SLAYDEN:                                                        10:33:12

   22          Q.    And this is the -- this is your                            10:33:12

   23    declaration you submitted to the patent office                         10:33:14

   24    challenging validity of the '243 Patent.                               10:33:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 117 of 503 PageID #: 17996

                                      TRIAL - VOLUME 5

                                                                           Page 116

    1         A.    Sure.                                                       10:33:20

    2         Q.    So there is a reason we are talking                         10:33:20

    3    about simultaneous.                                                    10:33:23

    4         A.    Absolutely, simultaneous.         I just                    10:33:24

    5    remember this from my report five years ago,                           10:33:26

    6    but yes.                                                               10:33:28

    7         Q.    And what you told the patent office                         10:33:28

    8    was -- because I think you kind of intimated                           10:33:30

    9    earlier that it was different than this,                               10:33:34

   10    "Simultaneous in its usages does not require                           10:33:36

   11    immediacy and equivalency in action."                                  10:33:40

   12                  Do you remember that?                                    10:33:43

   13         A.    Sure.                                                       10:33:44

   14         Q.    Okay.                                                       10:33:45

   15                  And you signed the declaration                           10:33:45

   16    because you believed that to be true?                                  10:33:48

   17         A.    Yes.                                                        10:33:49

   18         Q.    Okay.                                                       10:33:50

   19                  MR. SLAYDEN:      Okay.    Let's go to                   10:34:05

   20    the IPR slide, 370.                                                    10:34:07

   21    BY MR. SLAYDEN:                                                        10:34:18

   22         Q.    Okay.                                                       10:34:18

   23                  We're back to the petition for                           10:34:19

   24    Inter Partes Review, and I think you've                                10:34:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 118 of 503 PageID #: 17997

                                      TRIAL - VOLUME 5

                                                                           Page 117

    1    already told me that you are familiar with                             10:34:25

    2    this, and the goal was to cancel the '243                              10:34:26

    3    Patent.                                                                10:34:30

    4                   You submitted a declaration, so                         10:34:31

    5    let's -- and it was filed on behalf of the                             10:34:33

    6    petitioner, and the petitioner here is Delphi;                         10:34:38

    7    correct?                                                               10:34:40

    8         A.    Yes.                                                        10:34:40

    9         Q.    And now Aptiv, of course; right?                            10:34:41

   10         A.    Yes.                                                        10:34:43

   11         Q.    And that's the defendant in this                            10:34:43

   12    case?                                                                  10:34:45

   13         A.    Yes.                                                        10:34:45

   14         Q.    All right.                                                  10:34:45

   15                   MR. SLAYDEN:     And let's go to...                     10:34:55

   16    BY MR. SLAYDEN:                                                        10:35:03

   17         Q.    Now, we talked about your                                   10:35:04

   18    declaration.                                                           10:35:06

   19                   Now, before you prepared your                           10:35:06

   20    declaration, you reviewed a lot of prior art                           10:35:07

   21    patents, I assume?                                                     10:35:10

   22         A.    Yeah, I don't remember exactly, but                         10:35:12

   23    it seems...                                                            10:35:14

   24         Q.    How many do you think you reviewed?                         10:35:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 119 of 503 PageID #: 17998

                                     TRIAL - VOLUME 5

                                                                          Page 118

    1         A.   Actually, I don't remember.                                 10:35:17

    2         Q.   Okay.                                                       10:35:18

    3                  Were they just provided -- did you                      10:35:19

    4    search for them or were they provided to you                          10:35:21

    5    by Aptiv's counsel?                                                   10:35:24

    6         A.   I don't remember that either.          If                   10:35:25

    7    it's important, it's probably in my report.                           10:35:26

    8         Q.   What's that?                                                10:35:27

    9         A.   I don't remember, but my report most                        10:35:28

   10    likely says something about it.                                       10:35:29

   11         Q.   Okay.                                                       10:35:31

   12                  Now, before you prepared your                           10:35:33

   13    declaration, you certainly did a pretty big                           10:35:36

   14    review of the patent landscape?                                       10:35:39

   15         A.   I mean, there are a number of patents                       10:35:43

   16    that are cited in my report.        I certainly                       10:35:45

   17    looked at those and some others, yes.                                 10:35:48

   18                  MR. SLAYDEN:     So let's go to                         10:35:51

   19    page 1188, Mr. Ferrer, of 370.         And highlight                  10:35:53

   20    the first part of 73, paragraph 73.                                   10:36:11

   21    BY MR. SLAYDEN:                                                       10:36:16

   22         Q.   And one of those references that you                        10:36:20

   23    cited to the patent office was a Japanese                             10:36:22

   24    patent publication published in 2003.                                 10:36:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 120 of 503 PageID #: 17999

                                      TRIAL - VOLUME 5

                                                                           Page 119

    1                   Do you see that?                                        10:36:28

    2         A.     I see that.                                                10:36:29

    3         Q.     And that was the first argument that                       10:36:31

    4    you presented in this -- in the IPR.                                   10:36:33

    5                   Now, and I guess my point is,                           10:36:36

    6    besides looking for U.S. patents, you looked,                          10:36:39

    7    or Aptiv's counsel looked, worldwide for                               10:36:44

    8    patents.                                                               10:36:46

    9                   Is that fair to say?                                    10:36:47

   10         A.     Yeah, I think Aptiv's counsel did.                         10:36:48

   11         Q.     Right.                                                     10:36:51

   12                   MR. SLAYDEN:     Now, can we go to                      10:36:55

   13    1203?     And highlight the Dickens prior art                          10:36:58

   14    patent heading.                                                        10:37:09

   15    BY MR. SLAYDEN:                                                        10:37:14

   16         Q.     And there, that's the same Dickens                         10:37:15

   17    patent that you cited in the IPR that you are                          10:37:20

   18    asserting here invalidates Mr. Bohm's patent                           10:37:23

   19    claims; right?                                                         10:37:27

   20         A.     Yes.                                                       10:37:28

   21         Q.     And here you are asserting that                            10:37:28

   22    Dickens invalidates claims 23 through 25;                              10:37:29

   23    right?                                                                 10:37:33

   24         A.     Yes, in the absence of Belkin or                           10:37:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 121 of 503 PageID #: 18000

                                      TRIAL - VOLUME 5

                                                                           Page 120

    1    US-98.                                                                 10:37:35

    2         Q.     We are going to get to that.        We are                 10:37:36

    3    going to get to switch art.         Be patient.                        10:37:38

    4                      And that tells us in that title                      10:37:41

    5    that the last claims, 22 through 25, were                              10:37:45

    6    challenged by you with Dickens previously;                             10:37:51

    7    correct?                                                               10:37:53

    8         A.     Yes.                                                       10:37:54

    9         Q.     Okay.                                                      10:37:54

   10                      And the patent office considered                     10:37:57

   11    all your arguments of 89 pages and your                                10:38:00

   12    counsel's arguments and they rejected your                             10:38:03

   13    Dickens-based arguments for 23 through 25,                             10:38:05

   14    didn't they?                                                           10:38:09

   15         A.     Not totally.                                               10:38:09

   16         Q.     Not totally.     23 through 25.     Okay.                  10:38:10

   17    We'll walk through it then.                                            10:38:14

   18                      MR. SLAYDEN:   Let's look at the                     10:38:16

   19    trial decision, Slide 11.         Now go to the slide                  10:38:20

   20    deck.     Okay.                                                        10:38:24

   21    BY MR. SLAYDEN:                                                        10:38:34

   22         Q.     Now, this is the front page of the                         10:38:37

   23    final written decision; you've probably seen                           10:38:39

   24    that, I suppose?                                                       10:38:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 122 of 503 PageID #: 18001

                                     TRIAL - VOLUME 5

                                                                          Page 121

    1         A.   I probably didn't look at that part,                        10:38:43

    2    but keep going.                                                       10:38:45

    3         Q.   You didn't what?                                            10:38:45

    4         A.   I probably didn't look at that part                         10:38:46

    5    because I'm not a legal guy.                                          10:38:48

    6         Q.   Okay.                                                       10:38:49

    7                    Now, on the front of it, which is                     10:38:53

    8    highlighted there and made in a big box, there                        10:38:55

    9    are three independent patent judges that                              10:38:59

   10    reviewed your 89 pages of arguments; correct?                         10:39:03

   11         A.   Yes.                                                        10:39:07

   12         Q.   Okay.                                                       10:39:08

   13                    And it was unanimous, all three of                    10:39:09

   14    the patent judges disagreed with you as to                            10:39:15

   15    claims 23 through 25?                                                 10:39:18

   16         A.   I don't remember that.                                      10:39:19

   17         Q.   You don't remember that?                                    10:39:20

   18         A.   No.     I mean, it could be here, but I                     10:39:21

   19    don't remember that.                                                  10:39:23

   20         Q.   Okay.                                                       10:39:23

   21                    Now, patent judges are -- what do                     10:39:24

   22    you know about patent judges?        What do you                      10:39:31

   23    know about their qualifications?                                      10:39:33

   24         A.   I don't know anything about them                            10:39:34


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 123 of 503 PageID #: 18002

                                     TRIAL - VOLUME 5

                                                                          Page 122

    1    except they're lawyers that are, you know,                            10:39:36

    2    supposed to be reviewing this kind of                                 10:39:39

    3    material.                                                             10:39:40

    4         Q.     Well, first of all, they're lawyers,                      10:39:40

    5    so you knew that.     Okay.                                           10:39:42

    6                   So do they have technical                              10:39:44

    7    backgrounds?                                                          10:39:46

    8         A.     I truthfully don't know.                                  10:39:46

    9         Q.     Okay.                                                     10:39:48

   10         A.     I would hope so, but...                                   10:39:48

   11         Q.     Okay.                                                     10:39:50

   12                   MR. SLAYDEN:     Well, let's look at                   10:39:51

   13    Slide 12, Mr. Ferrer.                                                 10:39:52

   14    BY MR. SLAYDEN:                                                       10:39:56

   15         Q.     That's the first named --                                 10:39:56

   16                   MR. SAULSBURY:     Objection, Your                     10:39:58

   17    Honor, this is hearsay.                                               10:39:59

   18                   THE COURT:     Sustained.                              10:40:02

   19                   MR. SAULSBURY:     Can you take down                   10:40:05

   20    the slide, please.                                                    10:40:07

   21    BY MR. SLAYDEN:                                                       10:40:12

   22         Q.     Mr. McNamara, would it surprise you                       10:40:16

   23    that he has a master's degree in EE?                                  10:40:17

   24         A.     No, it wouldn't surprise me.                              10:40:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 124 of 503 PageID #: 18003

                                      TRIAL - VOLUME 5

                                                                           Page 123

    1          Q.    Okay.                                                      10:40:22

    2                   And as you stated, you already                          10:40:23

    3    knew he was a lawyer; right?                                           10:40:25

    4          A.    Yes.                                                       10:40:26

    5          Q.    So he does have a master's degree in                       10:40:27

    6    EE from Johns Hopkins.                                                 10:40:30

    7                   Do you recognize Johns Hopkins?                         10:40:32

    8          A.    I've heard of it, yeah.                                    10:40:33

    9                   MR. SAULSBURY:      Objection, Your                     10:40:36

   10    Honor.     Sidebar, please.                                            10:40:37

   11                   (Whereupon, a discussion was held                       10:40:37

   12    at sidebar as follows:                                                 10:42:03

   13                   MR. SAULSBURY:      He is just reading                  10:42:03

   14    hearsay into the record.        This is not relevant                   10:42:03

   15    to anything.                                                           10:42:03

   16                   THE COURT:     What is it relevant                      10:42:03

   17    to?                                                                    10:42:03

   18                   MR. SLAYDEN:     It has a relevance                     10:42:03

   19    to show that the panel judges at the patent                            10:42:03

   20    office, the jury clearly doesn't know who they                         10:42:03

   21    are, are not only lawyers, but they have EE                            10:42:03

   22    degrees and master's degrees and are highly                            10:42:03

   23    competent to review these type of technical                            10:42:03

   24    matters.                                                               10:42:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 125 of 503 PageID #: 18004

                                      TRIAL - VOLUME 5

                                                                           Page 124

    1                   THE COURT:     I am not going to get                    10:42:03

    2    into -- I am not going to have the jury pass                           10:42:03

    3    judgment on whether or not the judges of PTAB                          10:42:03

    4    are qualified or what their qualifications                             10:42:03

    5    are.     I don't think that's an appropriate area                      10:42:03

    6    of inquiry, so I'll sustain that objection.                            10:42:03

    7                   MR. SLAYDEN:     I am done.     I am                    10:42:03

    8    about to move on anyway.                                               10:42:03

    9                   THE COURT:     Well, if you are about                   10:42:03

   10    to move on, are you pivoting subjects, because                         10:42:03

   11    I just want to know when we should take a                              10:42:03

   12    break.     We have gone over an hour-and-a-half.                       10:42:03

   13                   MR. SLAYDEN:     Can I check my notes                   10:42:03

   14    real quick to see where I am?                                          10:42:03

   15                   THE COURT:     Yes.                                     10:42:07

   16                   (Whereupon, the discussion at                           10:42:07

   17    sidebar concluded.)                                                    10:42:09

   18                   MR. SLAYDEN:     We can finish up and                   10:42:17

   19    then it will be a good time to take a break in                         10:42:19

   20    a minute.     I've got a few more questions.                           10:42:22

   21                   THE COURT:     Okay.   Do that.     Just                10:42:24

   22    let me know so we can take a break.                                    10:42:26

   23                   MR. SLAYDEN:     All right.     So let's                10:42:29

   24    go back to Slide 15.                                                   10:42:30


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 126 of 503 PageID #: 18005

                                      TRIAL - VOLUME 5

                                                                           Page 125

    1    BY MR. SLAYDEN:                                                        10:42:40

    2         Q.     And just to refresh, Judge McNamara                        10:42:42

    3    and these other two judges all reviewed the                            10:42:45

    4    state of the prior art you submitted, which                            10:42:48

    5    included the Dickens patent you assert here,                           10:42:50

    6    and disagreed with you and did not cancel                              10:42:52

    7    claims 23 through 25?                                                  10:42:56

    8         A.     That's correct.                                            10:42:57

    9         Q.     Now, let's look at a few things that                       10:43:04

   10    the three judges said about your declaration.                          10:43:06

   11                   MR. SLAYDEN:     Can we go to Slide                     10:43:09

   12    17, and I will read it.                                                10:43:11

   13    BY MR. SLAYDEN:                                                        10:43:21

   14         Q.     "Mr. Garney's reliance on paragraphs                       10:43:22

   15    4 and 17 of Exhibit 1052 provide no support                            10:43:24

   16    for his assertion that enumeration is among                            10:43:27

   17    the conventional operations that must be                               10:43:31

   18    performed for each switch between connected                            10:43:33

   19    hosts.     The word 'enumeration' never appears                        10:43:36

   20    in Exhibit 1052."                                                      10:43:41

   21                   Do you remember that?                                   10:43:45

   22         A.     I don't remember that, but I'd like                        10:43:46

   23    to see what Exhibit 1052 is to understand the                          10:43:48

   24    context.                                                               10:43:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 127 of 503 PageID #: 18006

                                      TRIAL - VOLUME 5

                                                                           Page 126

    1          Q.   That's the three judges that wrote                          10:43:52

    2    that; right?                                                           10:43:53

    3          A.   I don't know if they all wrote it.           I              10:43:54

    4    would assume at least one of them wrote it.                            10:43:56

    5                   MR. SLAYDEN:     All right.     Let's go                10:43:59

    6    to Slide 18.                                                           10:44:00

    7    BY MR. SLAYDEN:                                                        10:44:03

    8          Q.   Slide 18, the judges are again                              10:44:08

    9    commenting on your 89-page document.           "We                     10:44:11

   10    remain unpersuaded by this argument.                                   10:44:16

   11    Initially, we note Mr. Garney's testimony in                           10:44:19

   12    this regard is unsupported by any facts or                             10:44:21

   13    data and, thus, is deserving of little                                 10:44:24

   14    weight."                                                               10:44:28

   15          A.   Sure.   This is with regard to some                         10:44:28

   16    particular claim that was before the '243.                             10:44:30

   17          Q.   It basically says you made arguments                        10:44:36

   18    and testimony that had no factual basis?                               10:44:38

   19          A.   That they could find in the documents                       10:44:40

   20    they had at hand.                                                      10:44:42

   21                   MR. SLAYDEN:     So let's go to Slide                   10:44:52

   22    19.                                                                    10:44:54

   23    BY MR. SLAYDEN:                                                        10:44:55

   24          Q.   Now, you stated earlier, but I think                        10:44:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 128 of 503 PageID #: 18007

                                       TRIAL - VOLUME 5

                                                                            Page 127

    1    you might have refreshed your recollection,                             10:45:01

    2    the judges didn't agree with you on claims 23                           10:45:03

    3    through 25 that we are asserting here;                                  10:45:06

    4    correct?                                                                10:45:09

    5           A.   They didn't invalidate those claims,                        10:45:09

    6    yes.                                                                    10:45:11

    7           Q.   And you asserted Dickens as your base                       10:45:11

    8    reference in that proceeding?                                           10:45:14

    9           A.   That was one of the things I                                10:45:14

   10    asserted, yes.                                                          10:45:16

   11           Q.   There's actually more, wasn't there?                        10:45:16

   12           A.   Sure.                                                       10:45:18

   13           Q.   Like Japanese art and art from around                       10:45:19

   14    the world.     And right there it says it, it                           10:45:23

   15    says, "23 through -- 22 through 25 have not                             10:45:28

   16    been shown by Aptiv and Mr. Garney to be                                10:45:34

   17    unpatentable"; correct?                                                 10:45:37

   18           A.   With regard to the material they had,                       10:45:39

   19    yes.                                                                    10:45:40

   20           Q.   Yeah.                                                       10:45:40

   21                   MR. SLAYDEN:      Now, let's go to                       10:45:46

   22    Slide 20.                                                               10:45:47

   23    BY MR. SLAYDEN:                                                         10:45:49

   24           Q.   So you are not -- you weren't                               10:45:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 129 of 503 PageID #: 18008

                                       TRIAL - VOLUME 5

                                                                            Page 128

    1    deterred by the three judges disagreeing with                           10:45:51

    2    you?                                                                    10:45:56

    3           A.   Well, it is a standard process.                             10:45:56

    4           Q.   You appealed it?                                            10:46:00

    5           A.   Sure.   Well, Aptiv's lawyers appealed                      10:46:01

    6    it.     I didn't do the legal stuff.                                    10:46:04

    7           Q.   You didn't help them?        You didn't                     10:46:07

    8    advise them?                                                            10:46:09

    9           A.   Well, I gave them my opinion with                           10:46:09

   10    regard to it, but I don't know all the legal                            10:46:12

   11    ins and outs.                                                           10:46:14

   12           Q.   But I guess if they appealed it, you                        10:46:15

   13    would agree with me that Aptiv must have been                           10:46:17

   14    asserting that the three judges at the patent                           10:46:19

   15    office got it wrong about claims 23 through                             10:46:22

   16    25?                                                                     10:46:27

   17           A.   I think -- I mean, the typical part                         10:46:27

   18    of the IPR is to go back and forth and the                              10:46:29

   19    judges have opinions and make observations and                          10:46:32

   20    then the petitioner is allowed to contest                               10:46:34

   21    those as a part of that whole process.             So                   10:46:37

   22    yeah, they thought they had some more material                          10:46:40

   23    that the patent board had not understood.                               10:46:41

   24           Q.   Okay.   I don't understand that.                            10:46:44


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 130 of 503 PageID #: 18009

                                      TRIAL - VOLUME 5

                                                                           Page 129

    1                  My question was simply --                                10:46:46

    2         A.    Well, you are a lawyer, I'm not.                            10:46:48

    3         Q.    My question was simply that Aptiv                           10:46:50

    4    appealed the decisions of the three patent                             10:46:56

    5    judges; correct?                                                       10:47:00

    6         A.    Sure.    That's a part of the normal                        10:47:00

    7    process.                                                               10:47:03

    8         Q.    And it must have disagreed with what                        10:47:03

    9    the judges did; correct?                                               10:47:05

   10         A.    Well, they were calling attention to                        10:47:06

   11    things that they may not have considered.                              10:47:07

   12         Q.    And so they were saying the patent                          10:47:09

   13    judges got it wrong, they just missed it;                              10:47:11

   14    right?                                                                 10:47:13

   15         A.    They were respectfully pointing out                         10:47:13

   16    things that they weren't sure the patent board                         10:47:15

   17    had understood.                                                        10:47:16

   18         Q.    Right.                                                      10:47:17

   19                  But they were basically saying the                       10:47:18

   20    judges got it wrong?                                                   10:47:20

   21         A.    I wouldn't characterize it that way.                        10:47:21

   22    That implies that we know better than that                             10:47:22

   23    what we were presenting.                                               10:47:25

   24         Q.    Why would you appeal the decision if                        10:47:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 131 of 503 PageID #: 18010

                                      TRIAL - VOLUME 5

                                                                          Page 130

    1    you agreed with it?                                                   10:47:27

    2         A.     We wanted to make sure they had                           10:47:28

    3    understood what we were trying to say.                                10:47:30

    4         Q.     Okay.                                                     10:47:34

    5                   MR. SLAYDEN:     Let's go to Slide 23                  10:47:35

    6    or 24, I think.     Sorry.    It should be the                        10:47:38

    7    affirmance.                                                           10:47:44

    8    BY MR. SLAYDEN:                                                       10:47:44

    9         Q.     Now, that appeal resulted in this                         10:47:45

   10    ruling.     Have you ever seen that before?                           10:47:47

   11         A.     I am not sure that I have.       I don't                  10:47:49

   12    remember.                                                             10:47:51

   13         Q.     Okay.                                                     10:47:51

   14                   Well, that's the -- do you know                        10:47:52

   15    who the Court of Appeals for the Federal                              10:47:54

   16    Circuit is?                                                           10:47:56

   17         A.     I've heard of it.                                         10:47:57

   18         Q.     That's the highest Patent Appeals                         10:47:58

   19    Court in America?                                                     10:48:00

   20         A.     Yes.                                                      10:48:00

   21         Q.     Okay.                                                     10:48:01

   22                   And they, like the PTAB judges --                      10:48:01

   23    I'm sorry, PTAB, patent office judges, we call                        10:48:04

   24    it PTAB, there's three of them; right, on this                        10:48:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 132 of 503 PageID #: 18011

                                       TRIAL - VOLUME 5

                                                                          Page 131

    1    one you see?                                                          10:48:11

    2         A.   It seems to be, yes.                                        10:48:12

    3         Q.   Okay.                                                       10:48:13

    4                    And that's the entire opinion                         10:48:14

    5    stamped "Affirmed."         There's no reason to                      10:48:20

    6    write anything.      Do you have an understanding                     10:48:23

    7    of what that means?                                                   10:48:25

    8         A.   Not legally, no.                                            10:48:27

    9         Q.   That means they agree with everything                       10:48:29

   10    the three patent judges did.                                          10:48:31

   11         A.   Okay.                                                       10:48:33

   12                    MR. SAULSBURY:     Objection, Your                    10:48:34

   13    Honor.                                                                10:48:35

   14                    THE COURT:     Sustained.                             10:48:35

   15                    Go ahead.                                             10:48:37

   16                    MR. SLAYDEN:     Now, let's go --                     10:48:41

   17    BY MR. SLAYDEN:                                                       10:48:45

   18         Q.   And these three judges, you know how                        10:48:46

   19    they got that position?                                               10:48:47

   20         A.   No.                                                         10:48:48

   21         Q.   They are appointed by the president.                        10:48:49

   22                    MR. SAULSBURY:     Objection, Your                    10:48:52

   23    Honor.                                                                10:48:53

   24                    THE COURT:     Sustained.                             10:48:53


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 133 of 503 PageID #: 18012

                                     TRIAL - VOLUME 5

                                                                          Page 132

    1    BY MR. SLAYDEN:                                                       10:48:57

    2         Q.   And these three judges studied                              10:48:58

    3    everything that the patent office judges                              10:48:59

    4    did --                                                                10:49:01

    5                  MR. SAULSBURY:      Same objection.                     10:49:02

    6    BY MR. SLAYDEN:                                                       10:49:04

    7         Q.   -- and they agreed.                                         10:49:04

    8                  THE COURT:    Sustained.                                10:49:05

    9    BY MR. SLAYDEN:                                                       10:49:09

   10         Q.   But the end result was that you and                         10:49:10

   11    Aptiv failed to invalidate claims 23 through                          10:49:12

   12    25 in the IPR proceeding; correct?                                    10:49:15

   13         A.   I think that's correct.                                     10:49:18

   14         Q.   And so at this point, we've had three                       10:49:24

   15    of the Highest Court Judges on patents in                             10:49:27

   16    America affirm the decision by the original                           10:49:32

   17    two patent examiners that issued claims 23                            10:49:37

   18    through 25 back in 2009; correct?                                     10:49:40

   19         A.   Looking at the physical -- I mean,                          10:49:43

   20    looking at the documents that they were                               10:49:44

   21    allowed to look at, yes.                                              10:49:46

   22         Q.   I understand.                                               10:49:47

   23                  And basically all of them disagree                      10:49:53

   24    with your 89-page declaration; right?                                 10:49:56


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 134 of 503 PageID #: 18013

                                     TRIAL - VOLUME 5

                                                                          Page 133

    1                  MR. SAULSBURY:      Objection, Your                     10:49:58

    2    Honor.                                                                10:49:59

    3                  THE COURT:     Sustained.                               10:49:59

    4                  MR. SLAYDEN:     They didn't agree                      10:50:03

    5    with him.                                                             10:50:04

    6                  Let's go to Slide 25.                                   10:50:05

    7                  MR. SAULSBURY:      Your Honor,                         10:50:07

    8    sidebar, please.                                                      10:50:07

    9                  THE COURT:     All right.                               10:50:08

   10                  (Whereupon, a discussion was held                       10:50:08

   11    at sidebar as follows:                                                10:50:08

   12                  MR. SAULSBURY:      Your Honor, this                    10:51:50

   13    doesn't have any relevance to the issues.                             10:51:50

   14    Additionally, after Your Honor sustained the                          10:51:50

   15    last objection, counsel stated they didn't                            10:51:50

   16    agree with it, right?      He supplied the hearsay                    10:51:50

   17    that was -- the -- that was objected to and it                        10:51:50

   18    was sustained.                                                        10:51:50

   19                  THE COURT:     Well, okay.     When you                 10:51:50

   20    say this doesn't have any relevance, do you                           10:51:50

   21    mean the last set of questions?         It sounds                     10:51:50

   22    like we are about to do something different.                          10:51:50

   23                  MR. SAULSBURY:      The last line of                    10:51:50

   24    questions about --                                                    10:51:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 135 of 503 PageID #: 18014

                                     TRIAL - VOLUME 5

                                                                          Page 134

    1                  THE COURT:     I agree, and that's                      10:51:50

    2    why I sustained the objections.                                       10:51:50

    3                  MR. SAULSBURY:      I mean, we also                     10:51:50

    4    can't have counsel answering his own question                         10:51:50

    5    in responses to the same, Judge.                                      10:51:50

    6                  (Brief pause.)                                          10:51:50

    7                  THE COURT:     Okay.   Yeah, I mean,                    10:51:50

    8    the transcript does say it, so I'll -- I                              10:51:50

    9    wasn't entirely sure what was said, but the                           10:51:50

   10    transcript does say it, so I'll strike it and                         10:51:50

   11    give an instruction to the jury.                                      10:51:50

   12                  MR. SLAYDEN:     I have two more                        10:51:50

   13    questions.                                                            10:51:50

   14                  THE COURT:     I'm sorry?                               10:51:50

   15                  MR. SLAYDEN:     I have, like, two                      10:51:50

   16    more questions.                                                       10:51:50

   17                  THE COURT:     Okay.   All right.                       10:51:50

   18                  (Whereupon, the discussion at                           10:51:50

   19    sidebar concluded.)                                                   10:51:50

   20                  THE COURT:     So before we resume --                   10:51:53

   21    I'm sorry, are you ready, Rose?                                       10:51:56

   22                  Ladies and gentlemen, before we                         10:51:59

   23    resume, there was, I think, some short                                10:51:59

   24    commentary by counsel at the sort of end of                           10:52:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 136 of 503 PageID #: 18015

                                      TRIAL - VOLUME 5

                                                                           Page 135

    1    that last line of questions and you should                             10:52:06

    2    disregard that.      I am going to order it                            10:52:07

    3    stricken from the record.        Disregard it, do                      10:52:09

    4    not consider it.                                                       10:52:12

    5                   MR. SLAYDEN:     Can we go to Slide                     10:52:13

    6    25, Mr. Ferrer.                                                        10:52:14

    7    BY MR. SLAYDEN:                                                        10:52:20

    8          Q.   And this is from the IPR position                           10:52:21

    9    that your 89-page document supported.                                  10:52:23

   10          A.   Say again what this is?        Sorry.                       10:52:25

   11          Q.   This is from the IPR position that                          10:52:28

   12    challenged the '243 Patent that you were                               10:52:30

   13    involved in that you submitted a declaration                           10:52:32

   14    in.                                                                    10:52:34

   15          A.   Yeah, I don't remember this page, but                       10:52:34

   16    it could be.                                                           10:52:35

   17          Q.   It is.                                                      10:52:38

   18                   And it shows what was challenged,                       10:52:38

   19    and you had six grounds and five of them were                          10:52:41

   20    based on Dickens, the same grounds you are                             10:52:48

   21    submitting today; correct?                                             10:52:51

   22          A.   Okay.                                                       10:52:55

   23          Q.   And not only were they one of two                           10:52:57

   24    grounds, but there are obviousness grounds in                          10:53:00


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 137 of 503 PageID #: 18016

                                      TRIAL - VOLUME 5

                                                                           Page 136

    1    combination with various references from                               10:53:03

    2    around the world, Japanese patent application,                         10:53:06

    3    application in ground 6 and the claims                                 10:53:11

    4    challenge, if you'll notice, and I guess one,                          10:53:14

    5    two, three, four of those grounds include the                          10:53:17

    6    claims that were -- that are asserted here;                            10:53:21

    7    correct?                                                               10:53:24

    8         A.    Okay.                                                       10:53:24

    9                   MR. SLAYDEN:     Go to Slide 26.                        10:53:33

   10    BY MR. SLAYDEN:                                                        10:53:39

   11         Q.    Do you recognize that?                                      10:53:40

   12         A.    I think so.                                                 10:53:41

   13         Q.    And what is it?                                             10:53:42

   14         A.    I think it's the judgment of the                            10:53:43

   15    patent board declaring which claims were                               10:53:46

   16    invalidated and which claims are still                                 10:53:48

   17    patentable.                                                            10:53:50

   18         Q.    And where does that reside now?                             10:53:51

   19         A.    To be honest, I don't know.                                 10:53:53

   20         Q.    It resides at the last page of the                          10:53:55

   21    '243 Patent.                                                           10:53:58

   22         A.    Okay.                                                       10:53:59

   23         Q.    That's what happens once it's                               10:53:59

   24    affirmed, it's in the last page of the patent.                         10:54:01


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 138 of 503 PageID #: 18017

                                     TRIAL - VOLUME 5

                                                                          Page 137

    1         A.    Okay.                                                      10:54:05

    2                  MR. SLAYDEN:       Your Honor, it would                 10:54:08

    3    be a good time to take a break.                                       10:54:08

    4                  THE COURT:     All right.                               10:54:10

    5                  Take a mid-morning break.          Let's                10:54:11

    6    keep it to -- be back here at 11, so seven or                         10:54:13

    7    eight minutes.     I want to try to get through                       10:54:17

    8    the evidence today.      Okay.                                        10:54:19

    9                  (Whereupon, the jury was excused                        10:54:21

   10    from the courtroom.                                                   10:54:23

   11                  THE COURT:     Okay.    Plan to be back                 10:54:40

   12    at 11.    Okay.                                                       10:54:43

   13                  (Whereupon, a five-minute recess                        10:54:45

   14    was taken at 10:55 a.m.)                                              10:54:47

   15                  THE COURT CLERK:       All rise.                        11:01:28

   16                  THE COURT:     All right.     You can                   11:03:31

   17    get the jury, please.                                                 11:03:33

   18                  (Whereupon, the jury entered the                        11:03:56

   19    courtroom.                                                            11:03:59

   20                  THE COURT:     All right.     Please be                 11:04:02

   21    seated.                                                               11:04:03

   22                  Mr. Slayden, you can resume.                            11:04:03

   23                  MR. SLAYDEN:       Thank you, Your                      11:04:06

   24    Honor.                                                                11:04:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 139 of 503 PageID #: 18018

                                     TRIAL - VOLUME 5

                                                                          Page 138

    1    BY MR. SLAYDEN:                                                       11:04:08

    2         Q.     Mr. Garney, do you have something to                      11:04:12

    3    drink?                                                                11:04:15

    4         A.     I do.    I hope it will be enough.                        11:04:15

    5         Q.     Okay.                                                     11:04:20

    6                   Switching gears, no pun intended,                      11:04:21

    7    going to switch, switch prior art.                                    11:04:26

    8                   So in your opening report, you                         11:04:28

    9    state that, and you mentioned earlier today,                          11:04:31

   10    that you are looking at a US-98 and Belkin                            11:04:34

   11    switches.                                                             11:04:38

   12                   Do you remember that?                                  11:04:39

   13         A.     Yes.                                                      11:04:40

   14         Q.     Okay.                                                     11:04:40

   15                   And in your report, you say,                           11:04:41

   16    "Throughout this discussion, I applied the                            11:04:43

   17    same analysis to the US-98 and the Belkin                             11:04:45

   18    systems"; correct?                                                    11:04:49

   19         A.     Yes.    I would have to see it, but it                    11:04:50

   20    sounds right.                                                         11:04:53

   21         Q.     It says, "Throughout this discussion,                     11:04:55

   22    I applied the same analysis to the US-98 and                          11:04:57

   23    Belkin systems."       I have it up there.     It's at                11:05:00

   24    footnote 401 at page 90, if you want to look                          11:05:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 140 of 503 PageID #: 18019

                                     TRIAL - VOLUME 5

                                                                          Page 139

    1    at it, to hold you to my representation;                              11:05:08

    2    page 90, footnote 401.                                                11:05:14

    3         A.   Page 90.     Footnote 401?                                  11:05:16

    4         Q.   Yes, sir.     And what's it say there?                      11:05:25

    5         A.   Just a minute.      Let me get oriented.                    11:05:28

    6                  Okay.    What was your question?                        11:05:46

    7         Q.   I was just confirming that throughout                       11:05:48

    8    your report and testing of these two devices,                         11:05:51

    9    and then your analysis of the two devices, you                        11:05:53

   10    say, "I applied the same analysis to the US-98                        11:05:56

   11    and the Belkin systems"; correct?                                     11:05:59

   12         A.   That's what it says, yes.                                   11:06:03

   13         Q.   Okay.                                                       11:06:04

   14                  And the reason why you applied the                      11:06:05

   15    same analysis is because you concluded, this                          11:06:07

   16    is also at footnote 401, that they are "nearly                        11:06:10

   17    identical in operation."                                              11:06:15

   18                  Do you see that in 401?                                 11:06:17

   19         A.   It goes on to say other things.                             11:06:19

   20         Q.   It talks about why they are similar?                        11:06:23

   21         A.   Yeah.                                                       11:06:26

   22         Q.   All right.     Okay.                                        11:06:26

   23                  And in this case, you assert that                       11:06:27

   24    either a US-98 or a Belkin switch, in                                 11:06:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 141 of 503 PageID #: 18020

                                     TRIAL - VOLUME 5

                                                                          Page 140

    1    combination with Dickens, invalidates Mr.                             11:06:37

    2    Bohm's 23 through 25 claims?                                          11:06:40

    3         A.   Yes.                                                        11:06:42

    4         Q.   Okay.                                                       11:06:43

    5                   And that Dickens, as we discussed                      11:06:45

    6    earlier today, is the same one you asserted in                        11:06:48

    7    the IPR; correct?                                                     11:06:50

    8         A.   Yes.                                                        11:06:51

    9         Q.   And that's the same one we went over                        11:06:56

   10    where the appeals happened and the Federal                            11:06:58

   11    Circuit ruled, and in the end, it was held                            11:07:02

   12    that Dickens did not invalidate claims 23                             11:07:04

   13    through 25; right?                                                    11:07:07

   14         A.   Yes.                                                        11:07:08

   15         Q.   Okay.                                                       11:07:10

   16                   MR. SLAYDEN:    Now, Mr. Ferrer, can                   11:07:12

   17    you pull up Exhibit 1, please.                                        11:07:16

   18    BY MR. SLAYDEN:                                                       11:07:18

   19         Q.   Do you recognize that?                                      11:07:19

   20         A.   Unfortunately, yes.                                         11:07:21

   21         Q.   After five years -- five years of                           11:07:22

   22    studying it.                                                          11:07:24

   23                   Now, and I know you have the                           11:07:25

   24    patent, and do you see the cited references                           11:07:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 142 of 503 PageID #: 18021

                                     TRIAL - VOLUME 5

                                                                          Page 141

    1    down there that Mr. Ferrer is highlighting?                           11:07:36

    2         A.   Yep.                                                        11:07:41

    3         Q.   Okay.                                                       11:07:41

    4                   And what are those -- what is that                     11:07:42

    5    about?                                                                11:07:46

    6         A.   I believe that it's the U.S. print                          11:07:47

    7    documents that may be relevant to the                                 11:07:52

    8    examiners in their determination if this is                           11:07:54

    9    patentable material or not.                                           11:07:56

   10         Q.   Correct.                                                    11:07:57

   11                   And how do they get there?                             11:07:58

   12         A.   How does what get there?                                    11:08:01

   13         Q.   How do they get to this development                         11:08:02

   14    in the patent?                                                        11:08:05

   15         A.   I believe it is a combination of the                        11:08:05

   16    inventor may provide some and the patent                              11:08:07

   17    examiners may collect them during their                               11:08:07

   18    examination.                                                          11:08:11

   19         Q.   And you are an inventor, and as an                          11:08:11

   20    inventor, when you file the patent application                        11:08:13

   21    at the patent office, you have a duty of                              11:08:16

   22    candor; right?                                                        11:08:18

   23         A.   Correct.                                                    11:08:19

   24         Q.   And that duty of candor includes                            11:08:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 143 of 503 PageID #: 18022

                                      TRIAL - VOLUME 5

                                                                           Page 142

    1    disclosing everything that you know about                              11:08:21

    2    prior art or publications so the patent office                         11:08:23

    3    would be aware of it so they could consider it                         11:08:26

    4    and determine whether you should get a patent;                         11:08:29

    5    correct?                                                               11:08:31

    6         A.    Yes.                                                        11:08:31

    7         Q.    Now --                                                      11:08:34

    8                  MR. SLAYDEN:      Mr. Ferrer, just                       11:08:35

    9    move down to Mr. Garney's cite there.           It is                  11:08:36

   10    the third one in the list.                                             11:08:39

   11    BY MR. SLAYDEN:                                                        11:08:48

   12         Q.    That's you; right?                                          11:08:49

   13         A.    Yeah.    Obviously, et al.                                  11:08:49

   14         Q.    Yeah, of course.                                            11:08:52

   15                  And you are not asserting that                           11:08:53

   16    that patent invalidates claims 23 through 25                           11:08:55

   17    in this case; right?                                                   11:08:59

   18         A.    That's correct.                                             11:09:01

   19         Q.    And you are right, by the way, on --                        11:09:02

   20    I wanted to tell you --                                                11:09:05

   21                  MR. SLAYDEN:      Mr. Ferrer, if you                     11:09:07

   22    will zoom out and go...                                                11:09:08

   23    BY MR. SLAYDEN:                                                        11:09:12

   24         Q.    As you see in the right-hand column,                        11:09:13


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 144 of 503 PageID #: 18023

                                       TRIAL - VOLUME 5

                                                                            Page 143

    1    it says continued up there.                                             11:09:15

    2                   Do you see that?                                         11:09:16

    3           A.   I do, yes.                                                  11:09:18

    4                   MR. SLAYDEN:      And you don't need                     11:09:20

    5    to highlight it, Mr. Ferrer.          So we are going                   11:09:21

    6    to turn the page.        Oh, that's a lot of prior                      11:09:23

    7    art.                                                                    11:09:28

    8                   THE WITNESS:      For some patents,                      11:09:29

    9    I've seen a lot more.                                                   11:09:30

   10    BY MR. SLAYDEN:                                                         11:09:32

   11           Q.   Oh, really?     Okay.                                       11:09:32

   12                   Now, as you mentioned, some of the                       11:09:37

   13    art is identified and listed there because Mr.                          11:09:40

   14    Bohm and inventors disclosed it and some of it                          11:09:44

   15    is identified by the patent office after they                           11:09:49

   16    look at what's disclosed and see if they can                            11:09:52

   17    find anything else?                                                     11:09:54

   18           A.   That's my understanding of it.                              11:09:54

   19           Q.   And those references, since I know                          11:09:56

   20    you are an inventor and have some patents, are                          11:09:58

   21    designated with an asterisk.                                            11:10:01

   22                   Do you see that; the first one is                        11:10:03

   23    US/Canada?                                                              11:10:07

   24           A.   I think as the star at the bottom                           11:10:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 145 of 503 PageID #: 18024

                                      TRIAL - VOLUME 5

                                                                           Page 144

    1    shows, in the second column, are actually                              11:10:09

    2    patents that the examiners cited during this                           11:10:11

    3    examination.                                                           11:10:15

    4         Q.    Oh, cited.     You're right.      They                      11:10:16

    5    applied.    You're right.      Those are the ones                      11:10:16

    6    that actually applied to the claims; correct?                          11:10:20

    7         A.    That's my understanding, yeah.                              11:10:22

    8         Q.    But that means they identified those                        11:10:26

    9    as relevant to Mr. Bohm's claims; correct?                             11:10:28

   10         A.    That's my understanding in general.                         11:10:31

   11                   MR. SLAYDEN:     Now, Mr. Ferrer, can                   11:10:54

   12    you go to the other -- well, let me ask Mr.                            11:10:55

   13    Garney first.                                                          11:10:58

   14    BY MR. SLAYDEN:                                                        11:10:59

   15         Q.    Now, there is another column after                          11:10:59

   16    you finish with all the U.S. patents, and then                         11:11:02

   17    what are these down here at the bottom after                           11:11:04

   18    the U.S. patents --                                                    11:11:06

   19                   MR. SLAYDEN:     Up, Mr. Ferrer.                        11:11:08

   20    BY MR. SLAYDEN:                                                        11:11:11

   21         Q.    -- that have a different number next                        11:11:11

   22    to them, Kanai, Kim, Lu.                                               11:11:12

   23                   What are those, Mr. Garney?                             11:11:16

   24         A.    I'm not positive, but I believe it                          11:11:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 146 of 503 PageID #: 18025

                                     TRIAL - VOLUME 5

                                                                          Page 145

    1    means those patents are still in progress, but                        11:11:19

    2    again, it's been awhile since I have looked at                        11:11:22

    3    the --                                                                11:11:25

    4         Q.   Right.    They are published                                11:11:25

    5    applications.                                                         11:11:27

    6                  So it includes not only issued                          11:11:27

    7    applications, but the published applications                          11:11:30

    8    that may be sitting and waiting to issue?                             11:11:31

    9         A.   That's correct.                                             11:11:33

   10         Q.   Or it could be abandoned.         They                      11:11:34

   11    search for those; too; right?                                         11:11:36

   12         A.   That's correct.                                             11:11:38

   13         Q.   And then the next section, Mr.                              11:11:38

   14    Ferrer, is foreign patent documents.                                  11:11:41

   15                  MR. SLAYDEN:     And just highlight                     11:11:45

   16    the box down there and let's look at                                  11:11:46

   17    underneath it.     Yeah.                                              11:11:49

   18    BY MR. SLAYDEN:                                                       11:11:51

   19         Q.   So this is showing that not only did                        11:11:53

   20    the search include U.S. patents, U.S. patent                          11:11:56

   21    publications, including one of your patents,                          11:11:58

   22    but there are, let's see, a European patent up                        11:12:02

   23    top, that's what EP stands for, GB would be                           11:12:05

   24    Great Britain, it seemed like Japan was very                          11:12:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 147 of 503 PageID #: 18026

                                     TRIAL - VOLUME 5

                                                                          Page 146

    1    heavy into this art, and then Korea also;                             11:12:13

    2    right?                                                                11:12:16

    3         A.   That's correct.                                             11:12:16

    4         Q.   Okay.                                                       11:12:16

    5         A.   I understand.                                               11:12:17

    6                  MR. SLAYDEN:     Mr. Ferrer, if you                     11:12:19

    7    can go back out and go to the next column of                          11:12:21

    8    other publications at the top.                                        11:12:23

    9    BY MR. SLAYDEN:                                                       11:12:27

   10         Q.   Mr. Garney, what's that?                                    11:12:28

   11         A.   That's non-patent material, but other                       11:12:28

   12    documents that would have been provided to the                        11:12:31

   13    patent office by the inventor, or I expect                            11:12:34

   14    they could have been discovered by the                                11:12:37

   15    examiner, too.    I'm not positive on that part.                      11:12:40

   16         Q.   It would be things like application                         11:12:42

   17    notes for certain products in the industry?                           11:12:44

   18         A.   Yeah, it could be news articles,                            11:12:46

   19    almost anything that's printed.                                       11:12:48

   20         Q.   Anything that's printed.        Okay.                       11:12:49

   21                  Well, this --                                           11:12:51

   22         A.   I don't know what the legal                                 11:12:52

   23    restrictions are because a person doesn't get                         11:12:53

   24    -- I don't believe they get what's printed.                           11:12:56


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 148 of 503 PageID #: 18027

                                     TRIAL - VOLUME 5

                                                                          Page 147

    1         Q.     I guess on the side where it says,                        11:12:58

    2    "publications," if it's published and it's not                        11:13:03

    3    a patent or patent application or foreign                             11:13:05

    4    patent, it probably falls into that bucket?                           11:13:07

    5         A.     I would agree with that.                                  11:13:09

    6         Q.     Okay.                                                     11:13:10

    7                   MR. SLAYDEN:    So, Mr. Ferrer, if                     11:13:12

    8    we go down about a third, it starts with                              11:13:14

    9    "Fred."     I guess he is the author.                                 11:13:18

   10    BY MR. SLAYDEN:                                                       11:13:22

   11         Q.     And the title of that -- now, first                       11:13:22

   12    of all, it is a semiconductor company, so it's                        11:13:24

   13    not your basic run-of-the-mill retail product                         11:13:28

   14    probably.                                                             11:13:32

   15                   Do you agree with that?                                11:13:33

   16         A.     I'm not intimately familiar with the                      11:13:34

   17    semiconductor, but it has semiconductor in the                        11:13:37

   18    name, so I would suspect that.                                        11:13:39

   19         Q.     Well, let's read the title of it.                         11:13:41

   20    And I won't read the first digits of it, but                          11:13:43

   21    it says, "An analog switch permits USB 1.1                            11:13:45

   22    switching."                                                           11:13:50

   23                   Do you see that?                                       11:13:50

   24         A.     I do.                                                     11:13:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 149 of 503 PageID #: 18028

                                      TRIAL - VOLUME 5

                                                                          Page 148

    1         Q.     Okay.                                                     11:13:51

    2                   And probably can't go down to                          11:13:53

    3    Target and buy one of those, can you?                                 11:13:57

    4         A.     I don't know.     It seems unlikely                       11:14:00

    5    but...                                                                11:14:04

    6         Q.     Probably a little bit more                                11:14:04

    7    complicated than a retail product.                                    11:14:06

    8                   Let's go to the next one right                         11:14:07

    9    under it.     And that one is to a low power high                     11:14:11

   10    bandwidth USB switch dual SPDT                                        11:14:21

   11    multiplexer/demultiplexer, again Fairchild                            11:14:26

   12    Semiconductor, seven pages; and that wouldn't                         11:14:30

   13    be your common everyday stand-alone USB                               11:14:32

   14    switch, would it?                                                     11:14:35

   15         A.     Probably not.                                             11:14:36

   16         Q.     Probably not.                                             11:14:37

   17                   Okay.   And I guess if I haven't                       11:14:38

   18    made it clear, there is a theme here.                                 11:14:50

   19    Paragraph 1, I am going to pull up, relates to                        11:14:54

   20    prior art switches.                                                   11:14:56

   21         A.     My suspicion is many of them are just                     11:14:57

   22    electronic versions of a mechanical switch.                           11:14:59

   23         Q.     Oh, really.     Fairchild Semiconductor                   11:15:02

   24    is making mechanical switches?                                        11:15:04


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 150 of 503 PageID #: 18029

                                     TRIAL - VOLUME 5

                                                                          Page 149

    1         A.     No, no, that is not what I said.                          11:15:05

    2    You're misrepresenting my testimony.                                  11:15:08

    3         Q.     I'm just making sure that you are not                     11:15:09

    4    representing that you think Fairchild                                 11:15:11

    5    Semiconductor is making a mechanical switch?                          11:15:14

    6         A.     That isn't what I said.                                   11:15:16

    7         Q.     Okay.   I -- I agree with you.                            11:15:17

    8                   MR. SLAYDEN:    All right.     Let's                   11:15:19

    9    move -- let's see which one is that.          The next                11:15:20

   10    one right underneath it, FS -- yeah, that's                           11:15:30

   11    the one we just had up, I believe.          The next                  11:15:34

   12    one, by the same...                                                   11:15:38

   13    BY MR. SLAYDEN:                                                       11:15:40

   14         Q.     Okay.                                                     11:15:41

   15                   This one is a low power full speed                     11:15:41

   16    USB switch, Fairchild Semiconductor.          It's                    11:15:43

   17    another prior art switch; correct?                                    11:15:50

   18         A.     Could be.   Seems to be.                                  11:15:54

   19         Q.     Okay.                                                     11:15:56

   20                   MR. SLAYDEN:    Zoom back out, Mr.                     11:16:02

   21    Ferrer.     Go down to USB 2524.     It starts with                   11:16:03

   22    USB 2524.                                                             11:16:08

   23    BY MR. SLAYDEN:                                                       11:16:13

   24         Q.     And that one sounds really                                11:16:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 151 of 503 PageID #: 18030

                                     TRIAL - VOLUME 5

                                                                          Page 150

    1    interesting.      It says, "USB Multiswitch Hub,"                     11:16:16

    2    and I think USB 2524 sounds like a chip.                              11:16:25

    3                    Do you recognize that?                                11:16:30

    4         A.   I don't.                                                    11:16:31

    5         Q.   You don't know that chip number?                            11:16:31

    6         A.   No.                                                         11:16:33

    7         Q.   Okay.                                                       11:16:33

    8         A.   Not that I can recall.                                      11:16:34

    9         Q.   Do you see on the side, it says,                            11:16:36

   10    "SMSC"?                                                               11:16:39

   11         A.   I do.                                                       11:16:40

   12         Q.   Okay.                                                       11:16:41

   13                    And that USB 2524 is a                                11:16:44

   14    semiconductor produced by SMSC for USB                                11:16:47

   15    multi-switch hubs; right?                                             11:16:52

   16         A.   It could be.                                                11:16:55

   17         Q.   Yep.     Okay.                                              11:16:56

   18                    MR. SLAYDEN:   Move down to the                       11:16:59

   19    very bottom, Mr. Ferrer.       Very bottom.      Starts               11:17:00

   20    with, "Belkin."      There it is.                                     11:17:04

   21    BY MR. SLAYDEN:                                                       11:17:09

   22         Q.   So that's the Belkin device that you                        11:17:10

   23    tested and are going to combine with Dickens                          11:17:15

   24    that was rejected by the patent office;                               11:17:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 152 of 503 PageID #: 18031

                                      TRIAL - VOLUME 5

                                                                           Page 151

    1    correct?                                                               11:17:21

    2         A.    This is a review of the Belkin                              11:17:21

    3    device, like a Yelp review.                                            11:17:23

    4         Q.    Did you consider that?                                      11:17:25

    5         A.    Did I consider what, sir?                                   11:17:25

    6         Q.    The Belkin review.                                          11:17:27

    7         A.    I did consider the Belkin review.                           11:17:29

    8         Q.    Okay.                                                       11:17:31

    9                  And how did that inform you?                             11:17:31

   10         A.    It gave me some indications of                              11:17:34

   11    potential devices that could be reused by the                          11:17:36

   12    patent examiner in his determination of the                            11:17:42

   13    patent allowance.                                                      11:17:45

   14         Q.    So when the patent office does a                            11:17:47

   15    search in the patent records for a reference,                          11:17:49

   16    what does it use -- what does it find?            What                 11:17:54

   17    is the U.S. Patent Office going to find?                               11:17:57

   18         A.    I don't know.                                               11:18:00

   19         Q.    Are they going to find USB patents                          11:18:01

   20    and USB patent applications and publications;                          11:18:03

   21    correct?    That's what's in their database?                           11:18:06

   22         A.    I would suspect so, but I don't know.                       11:18:08

   23         Q.    Right.                                                      11:18:10

   24                  So this Belkin 4X4, which I have                         11:18:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 153 of 503 PageID #: 18032

                                     TRIAL - VOLUME 5

                                                                          Page 152

    1    read in the prosecution history of the Bohm                           11:18:14

    2    patent, was submitted by Mr. Bohm?                                    11:18:17

    3         A.   I believe that's my understanding.                          11:18:20

    4         Q.   Right.                                                      11:18:22

    5                   And the reason why it did that,                        11:18:22

    6    everything they could find, they wanted to                            11:18:26

    7    make sure the patent office had all the                               11:18:29

    8    information and was fully informed before they                        11:18:31

    9    made the determination to grant his patent;                           11:18:33

   10    right?                                                                11:18:35

   11         A.   Well, they were only fully informed,                        11:18:35

   12    with regard to the information contained in                           11:18:37

   13    that review.                                                          11:18:39

   14         Q.   Correct.    I understand.                                   11:18:39

   15                   MR. SLAYDEN:     So let's back up a                    11:18:52

   16    little, Mr. Ferrer.      Can you go back to the                       11:18:54

   17    patent list, 6,141,719, and Mr. Rafferty.                             11:18:56

   18                   May I approach?                                        11:19:28

   19                   THE COURT:     Yes.                                    11:19:30

   20                   THE WITNESS:     Thank you.                            11:19:35

   21                   MR. SLAYDEN:     Yes, sir.                             11:19:38

   22                   (Whereupon, Trial Exhibit 381 was                      11:19:38

   23    marked for identification.)                                           11:19:43

   24    BY MR. SLAYDEN:                                                       11:19:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 154 of 503 PageID #: 18033

                                     TRIAL - VOLUME 5

                                                                          Page 153

    1         Q.     Let me show you what's been marked,                       11:19:44

    2    for identification purposes only, as                                  11:19:46

    3    Exhibit 381.                                                          11:19:49

    4                   MR. SAULSBURY:     Thank you.     Quite                11:19:51

    5    all right.                                                            11:19:53

    6    BY MR. SLAYDEN:                                                       11:19:57

    7         Q.     And do you see the title of this                          11:20:00

    8    patent?                                                               11:20:01

    9         A.     I do.                                                     11:20:02

   10         Q.     What is it?                                               11:20:02

   11         A.     USB Selector Switch.                                      11:20:03

   12         Q.     So again, another switch, but this                        11:20:08

   13    time a patent?                                                        11:20:10

   14         A.     Seems to be, yeah.                                        11:20:11

   15                   (Whereupon, Trial Exhibit 388 was                      11:20:11

   16    marked for identification.)                                           11:20:11

   17    BY MR. SLAYDEN:                                                       11:20:37

   18         Q.     So I have handed you what's been                          11:20:37

   19    marked, as Exhibit 388, for identification                            11:20:39

   20    purposes.     And can you tell me what the title                      11:20:41

   21    of that patent is -- patent application                               11:20:43

   22    publication, sorry?                                                   11:20:48

   23         A.     KVM, which means keyboard video                           11:20:49

   24    mouse, and USB Peripheral Switch.                                     11:20:52


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 155 of 503 PageID #: 18034

                                      TRIAL - VOLUME 5

                                                                           Page 154

    1         Q.    Okay.                                                       11:20:54

    2                  So you remember what you said in                         11:21:21

    3    your report, and confirmed a few minutes ago,                          11:21:23

    4    that throughout this discussion, I applied the                         11:21:27

    5    same analysis to the US-98 and the Belkin                              11:21:30

    6    systems?                                                               11:21:34

    7         A.    Yes.                                                        11:21:34

    8         Q.    Okay.                                                       11:21:34

    9                  And the reason you did that was                          11:21:35

   10    because the US-98 you relied upon here is                              11:21:37

   11    nearly identical in operation to footnote 401?                         11:21:40

   12         A.    Yes, I think so.                                            11:21:45

   13         Q.    And in this case, you assert claims                         11:21:48

   14    23 through 25 of Mr. Bohm's patent are invalid                         11:21:50

   15    over either this physical US-98 switch or the                          11:21:53

   16    physical Belkin switch; is that correct?                               11:21:58

   17         A.    No, it's only obvious in combination                        11:22:00

   18    with Dickens.                                                          11:22:02

   19         Q.    I understand.     I didn't mean to                          11:22:03

   20    misstate your position, but yes, obviously in                          11:22:05

   21    combination with Dickens.                                              11:22:08

   22                  And you would agree with me that,                        11:22:09

   23    as we just went through, the patent office                             11:22:11

   24    considered multiple switch patents and switch                          11:22:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 156 of 503 PageID #: 18035

                                       TRIAL - VOLUME 5

                                                                            Page 155

    1    publications before they granted Mr. Bohm's                             11:22:17

    2    patents?                                                                11:22:19

    3           A.   They did look at those -- I mean, it                        11:22:20

    4    seemed that they looked at those documents,                             11:22:22

    5    yes.                                                                    11:22:24

    6           Q.   And as you agree, all those patents                         11:22:25

    7    and those publications got there because Mr.                            11:22:27

    8    Bohm told the patent office about them, except                          11:22:30

    9    for the ones the examiner found himself or                              11:22:32

   10    herself?                                                                11:22:35

   11           A.   Say that again.                                             11:22:35

   12           Q.   And you agree with me that Mr. Bohm                         11:22:36

   13    submitted a lot of that prior art to the                                11:22:38

   14    patent office, except for the ones that the                             11:22:41

   15    examiner found him or herself?                                          11:22:44

   16           A.   I don't know that all of the ones                           11:22:46

   17    that were not cited were provided by Mr. Bohm.                          11:22:47

   18           Q.   Right.    Fair enough.                                      11:22:49

   19                   But after considering all the                            11:22:52

   20    switch art, the two examiners granted Mr. Bohm                          11:22:57

   21    a patent and issued claims 23 through 25;                               11:23:02

   22    correct?                                                                11:23:05

   23           A.   Most of the switch art I've seen is                         11:23:05

   24    for electronic versions of mechanical                                   11:23:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 157 of 503 PageID #: 18036

                                     TRIAL - VOLUME 5

                                                                          Page 156

    1    switches.                                                             11:23:10

    2         Q.     Electronic versions.     Right.                           11:23:10

    3                   Now, as you just stated, it's your                     11:23:12

    4    assertion that -- let's take US-98 first --                           11:23:24

    5         A.     All right.                                                11:23:29

    6         Q.     -- in combination with Dickens                            11:23:30

    7    invalidates claims 23 through 25 of Mr. Bohm's                        11:23:33

    8    patent?                                                               11:23:37

    9         A.     Yes.                                                      11:23:37

   10         Q.     Okay.                                                     11:23:37

   11                   And do you still have physical                         11:23:38

   12    Exhibit 368?                                                          11:23:43

   13         A.     Maybe.   Yes.                                             11:23:45

   14         Q.     Okay.                                                     11:23:47

   15                   And is that the switch you                             11:23:49

   16    identify as US-98 that you bought off of                              11:23:51

   17    Amazon in 2019 and tested?                                            11:23:54

   18         A.     I mean, this is the one I tested.         I               11:23:57

   19    would have to rely on my report for those                             11:23:59

   20    specific details because I don't remember                             11:24:01

   21    exactly what I said, but yes.                                         11:24:02

   22         Q.     Okay.                                                     11:24:04

   23                   But that's the switch that you                         11:24:05

   24    identified in your report and in your                                 11:24:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 158 of 503 PageID #: 18037

                                       TRIAL - VOLUME 5

                                                                            Page 157

    1    deposition that you tested, that particular                             11:24:08

    2    switch, Exhibit 368?                                                    11:24:11

    3           A.   Yes.                                                        11:24:13

    4           Q.   Okay.                                                       11:24:20

    5                   You've examined that thoroughly, I                       11:24:20

    6    suppose, by this time?                                                  11:24:24

    7           A.   Say again.                                                  11:24:25

    8           Q.   You've examined Exhibit 368 a few                           11:24:25

    9    times?                                                                  11:24:28

   10           A.   Yeah.   I even almost destroyed it                          11:24:28

   11    trying to open it up, but yeah.                                         11:24:30

   12           Q.   And you agree with me, there are no                         11:24:31

   13    markings on Exhibit 368 switch, itself, that                            11:24:33

   14    indicate it's a US-98 switch; correct?                                  11:24:37

   15           A.   That's correct.                                             11:24:40

   16           Q.   What's that?                                                11:24:41

   17           A.   That's correct.                                             11:24:41

   18           Q.   Okay.                                                       11:24:42

   19                   And you agree, there are no                              11:24:42

   20    markings on the package that you looked at                              11:24:46

   21    that indicates it's a US-98 switch; is that                             11:24:49

   22    correct?                                                                11:24:52

   23           A.   There were other indications, but                           11:24:52

   24    yes.                                                                    11:24:53


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 159 of 503 PageID #: 18038

                                      TRIAL - VOLUME 5

                                                                           Page 158

    1         Q.     Right.   Just US-98.     Go with me.                       11:24:53

    2         A.     My account was about US-98, yes.                           11:24:57

    3         Q.     Okay.                                                      11:25:01

    4                   MR. SLAYDEN:     Can you pull up                        11:25:02

    5    Slide 40.     This is the box.                                         11:25:03

    6    BY MR. SLAYDEN:                                                        11:25:08

    7         Q.     Do you recognize that, Mr. Garney?                         11:25:08

    8         A.     I do.                                                      11:25:09

    9         Q.     Now, up in the right-hand corner,                          11:25:10

   10    there is a sticker.                                                    11:25:14

   11                   Do you recognize that?                                  11:25:15

   12         A.     I do.                                                      11:25:16

   13         Q.     And this is the box that you bought                        11:25:17

   14    off Amazon in 2019 and tested; correct?                                11:25:19

   15         A.     Yes.                                                       11:25:22

   16         Q.     Okay.                                                      11:25:23

   17                   And it identifies a company named                       11:25:24

   18    Black Box up in the right-hand corner;                                 11:25:27

   19    correct?                                                               11:25:30

   20         A.     Yes.                                                       11:25:31

   21         Q.     Okay.                                                      11:25:31

   22                   And you don't have any independent                      11:25:32

   23    knowledge of Black Box sales, do you?                                  11:25:35

   24         A.     Only what Mr. Rozycki testified to --                      11:25:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 160 of 503 PageID #: 18039

                                     TRIAL - VOLUME 5

                                                                          Page 159

    1    actually, I don't know if he testified to                             11:25:40

    2    Black Box, but he testified to something about                        11:25:42

    3    Black Box.                                                            11:25:44

    4         Q.   We'll get to Black Box.                                     11:25:45

    5         A.   Sure.                                                       11:25:47

    6         Q.   In fact, he testified he didn't know                        11:25:47

    7    anything about Black Box, but we'll get to it.                        11:25:50

    8                    I was asking about you.      You don't                11:25:53

    9    have the independent knowledge of Black Box                           11:25:55

   10    sales, do you?                                                        11:25:57

   11         A.   No.                                                         11:25:58

   12         Q.   And up in the right-hand corner, it's                       11:26:01

   13    kind of hard to see, you can see it on Slide                          11:26:04

   14    40, there it is, and this is a switch you                             11:26:08

   15    bought off of Amazon in 2019 and tested.           It                 11:26:11

   16    lists the part number, SW211A; correct?                               11:26:14

   17         A.   Yeah, that's one of the part numbers.                       11:26:17

   18         Q.   I'm sorry, part -- it says, "part                           11:26:20

   19    SW211A"; correct?                                                     11:26:25

   20         A.   Sure.     And I understand the different                    11:26:27

   21    manufacturers use -- or, excuse me, different                         11:26:29

   22    companies use different part numbers, yes.                            11:26:31

   23         Q.   Okay.                                                       11:26:32

   24                    But it doesn't say US-98, does it?                    11:26:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 161 of 503 PageID #: 18040

                                     TRIAL - VOLUME 5

                                                                          Page 160

    1         A.     That's correct.                                           11:26:36

    2         Q.     You don't know when Black Box part                        11:26:39

    3    SW211A switches were sold, do you?                                    11:26:43

    4         A.     No, I just know about this switch.                        11:26:46

    5         Q.     Okay.                                                     11:26:48

    6                   That is the Black Box switch.                          11:26:48

    7         A.     Well, it's what I ordered of the                          11:26:49

    8    US-98 and what Mr. Rozycki identified as yet                          11:26:52

    9    another part number.                                                  11:26:55

   10         Q.     Mr. Rozycki?                                              11:26:56

   11         A.     Yes.                                                      11:26:57

   12         Q.     Okay.                                                     11:26:58

   13                   Now, you were deposed in this                          11:26:59

   14    case, weren't you?                                                    11:27:06

   15         A.     I was, two different occasions for                        11:27:07

   16    like 24 hours of deposition, with Mr. Banner.                         11:27:09

   17         Q.     It sounds like it wasn't pleasant.                        11:27:20

   18         A.     I kind of thought that.                                   11:27:22

   19         Q.     I agree with you.     I wouldn't have                     11:27:24

   20    enjoyed that either.       No offense, just                           11:27:27

   21    24 hours.                                                             11:27:29

   22         A.     Not all at once, though.                                  11:27:29

   23         Q.     Yeah, right, he gave you a break, not                     11:27:31

   24    24 hours straight.                                                    11:27:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 162 of 503 PageID #: 18041

                                       TRIAL - VOLUME 5

                                                                            Page 161

    1           A.   Sure.                                                       11:27:34

    2           Q.   Now, when you were deposed, we asked                        11:27:34

    3    you, you didn't know when a Black Box part                              11:27:38

    4    SW211A switch was sold, and you agreed you                              11:27:40

    5    didn't know; is that correct?                                           11:27:45

    6           A.   I don't remember, but probably.                             11:27:45

    7           Q.   And you don't even know if the                              11:27:49

    8    Exhibit 368 switch you bought off of Amazon in                          11:27:54

    9    2019 and tested was even sold by Black Box, do                          11:27:56

   10    you?                                                                    11:28:00

   11           A.   I don't know anything about Black Box                       11:28:00

   12    sales.                                                                  11:28:04

   13           Q.   Okay.                                                       11:28:04

   14                   And then it would follow that you                        11:28:05

   15    certainly don't know if any Black Box part                              11:28:07

   16    SW211A was offered for sale before the                                  11:28:09

   17    priority date of the patent?                                            11:28:15

   18           A.   Not Black Box, no.                                          11:28:19

   19           Q.   Correct.                                                    11:28:21

   20                   And you also don't know for a fact                       11:28:22

   21    whether the Black Box switch SW211A,                                    11:28:26

   22    Exhibit 368 that you bought off of Amazon in                            11:28:30

   23    2019 and tested, is a US-98 switch?                                     11:28:32

   24           A.   Well, I had several indications that                        11:28:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 163 of 503 PageID #: 18042

                                      TRIAL - VOLUME 5

                                                                           Page 162

    1    it is.                                                                 11:28:38

    2         Q.    Okay.                                                       11:28:39

    3                  MR. SLAYDEN:      Mr. Ferrer, can you                    11:28:40

    4    bring up deposition page 156 of Mr. Garney and                         11:28:42

    5    lines 23 -- 22 bridging over to 1.           Okay.                     11:28:54

    6    BY MR. SLAYDEN:                                                        11:29:03

    7         Q.    So the question was, "Okay.         Let                     11:29:03

    8    me -- are you saying that Exhibit 62," which                           11:29:05

    9    is prior a deposition exhibit of this box,                             11:29:09

   10    which is 368, "is both a US-98 and a Black Box                         11:29:11

   11    SW211A?"                                                               11:29:15

   12                  And your response was, "I'm saying                       11:29:18

   13    that it well could be."                                                11:29:20

   14                  "But you don't know for sure?"                           11:29:21

   15                  And the last sentence says, "I                           11:29:23

   16    don't know it for a fact, no."                                         11:29:26

   17         A.    I couldn't go back in time and                              11:29:27

   18    examine it at that time, so no.                                        11:29:29

   19         Q.    Okay.                                                       11:29:30

   20                  MR. SLAYDEN:      You can take it                        11:29:34

   21    down, Mr. Ferrer.                                                      11:29:35

   22    BY MR. SLAYDEN:                                                        11:29:36

   23         Q.    Now, if I was doing an investigation                        11:29:37

   24    of a prior art device and I was trying to                              11:29:39


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 164 of 503 PageID #: 18043

                                       TRIAL - VOLUME 5

                                                                            Page 163

    1    invalidate somebody's patent, I don't know                              11:29:41

    2    that I would rely upon just buying something                            11:29:46

    3    off Amazon and when I received it, it wasn't                            11:29:49

    4    what I ordered.        There was no indication that                     11:29:53

    5    it was what I ordered.                                                  11:29:55

    6                   But my question, though, is --                           11:29:57

    7                   MR. SAULSBURY:       Objection, Your                     11:30:00

    8    Honor.                                                                  11:30:01

    9                   THE COURT:     Sustained.      And I am                  11:30:01

   10    going to strike that.                                                   11:30:02

   11                   The jury should disregard the                            11:30:03

   12    comments of Mr. Slayden.                                                11:30:05

   13                   Just the question, please.                               11:30:07

   14    BY MR. SLAYDEN:                                                         11:30:08

   15           Q.   You didn't talk to any manufacturers                        11:30:08

   16    at all about the Black Box SW211A switch, did                           11:30:10

   17    you?                                                                    11:30:14

   18           A.   I did not.                                                  11:30:14

   19           Q.   Why not?                                                    11:30:15

   20           A.   Sorry?                                                      11:30:16

   21           Q.   Why not?                                                    11:30:16

   22           A.   I am not sure they're still around.                         11:30:17

   23           Q.   Oh, okay.                                                   11:30:19

   24                   You didn't talk to any                                   11:30:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 165 of 503 PageID #: 18044

                                      TRIAL - VOLUME 5

                                                                           Page 164

    1    manufacturers at all about it, whether it                              11:30:23

    2    related to the US-98 or the SW211A; right, the                         11:30:25

    3    Black Box?                                                             11:30:31

    4         A.    Correct.                                                    11:30:31

    5         Q.    And you didn't reach out and talk to                        11:30:33

    6    any resellers about the Black Box SW211A                               11:30:36

    7    device, did you?                                                       11:30:41

    8         A.    No.     Counsel did, as I understand,                       11:30:41

    9    but I did not personally.                                              11:30:43

   10         Q.    You didn't.     Why not?                                    11:30:44

   11         A.    They said they would provide that                           11:30:46

   12    information.                                                           11:30:48

   13         Q.    So they reached out to Black Box?                           11:30:49

   14         A.    No, they reached out to USBGear, Mr.                        11:30:51

   15    Rozycki.                                                               11:30:54

   16         Q.    Okay.                                                       11:30:54

   17                     But this is a Black Box, it's not                     11:30:55

   18    USBGear?                                                               11:30:59

   19         A.    But you said the resellers, not just                        11:30:59

   20    specifically Black Box.                                                11:31:02

   21         Q.    Resellers of the Black Box.                                 11:31:03

   22                     Does Mr. Rozycki sell Black Box?                      11:31:05

   23    He testified he didn't, I believe.                                     11:31:07

   24         A.    This product is sold by different                           11:31:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 166 of 503 PageID #: 18045

                                     TRIAL - VOLUME 5

                                                                          Page 165

    1    companies, from what I can tell.                                      11:31:10

    2         Q.   Okay.                                                       11:31:12

    3                    But you didn't directly talk to                       11:31:13

    4    any resellers of the Black Box SW211A that you                        11:31:15

    5    received off Amazon in 2019, did you?                                 11:31:21

    6         A.   No.                                                         11:31:23

    7                    No, I said, sir.                                      11:31:29

    8         Q.   I'm sorry, I missed it.                                     11:31:32

    9                    And you don't have any knowledge                      11:31:33

   10    about whether changes were made to the Black                          11:31:35

   11    Box SW211WA hardware or firmware at any time                          11:31:37

   12    after 2005?                                                           11:31:42

   13         A.   After '05?                                                  11:31:47

   14         Q.   Black Box SW211WA.                                          11:31:49

   15         A.   Well, I have several indications; my                        11:31:54

   16    knowledge of Intel and their manufacturing and                        11:31:57

   17    the fact that this device needs software in                           11:32:00

   18    order for it to work, I doubt that there were                         11:32:03

   19    any changes made after 2005.                                          11:32:06

   20         Q.   But you don't know?                                         11:32:08

   21         A.   I don't know for sure.                                      11:32:09

   22         Q.   Correct.                                                    11:32:11

   23         A.   Or at least my indication.                                  11:32:11

   24         Q.   We are talking about invalidating a                         11:32:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 167 of 503 PageID #: 18046

                                      TRIAL - VOLUME 5

                                                                           Page 166

    1    patent, so -- okay.                                                    11:32:16

    2                  MR. SLAYDEN:      Can you pull up Mr.                    11:32:18

    3    Rozycki's testimony at page 32.          I think it                    11:32:19

    4    starts on line 25.      I am not sure from my                          11:32:27

    5    notes whether it's page 31 or -- yeah, it                              11:32:30

    6    starts at 25 at the bottom and bridges over to                         11:32:36

    7    the next page.                                                         11:32:39

    8                  Yeah, right there, down to                               11:32:51

    9    line 19.                                                               11:32:55

   10    BY MR. SLAYDEN:                                                        11:33:02

   11         Q.    So we asked -- and I believe there is                       11:33:02

   12    a typo in the question.                                                11:33:03

   13                  So the question which Mr. Rozycki                        11:33:05

   14    was asked was, "As you referenced it," and                             11:33:08

   15    this is the typo.      It says "edition" here but                      11:33:08

   16    it should be indicia.       It is "indicia is what                     11:33:19

   17    is meant on that box that indicates Cool Gear                          11:33:20

   18    sold that product?"                                                    11:33:22

   19                  And his response was, "No.                               11:33:24

   20    Actually, it shows a Black Box sticker is                              11:33:26

   21    actually what it shows on it."                                         11:33:29

   22                  Do you remember that testimony?                          11:33:30

   23         A.    I see it.                                                   11:33:31

   24         Q.    Okay.                                                       11:33:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 168 of 503 PageID #: 18047

                                       TRIAL - VOLUME 5

                                                                            Page 167

    1                   Does that refresh your                                   11:33:33

    2    recollection of what he said?                                           11:33:34

    3           A.   Some, yes.                                                  11:33:35

    4           Q.   And the next question was, "So is                           11:33:36

    5    there any" -- it says, "edition," but it's                              11:33:39

    6    "indicia on that box as to when it was sold?"                           11:33:42

    7                   And his answer was, "It does not.                        11:33:46

    8    No."                                                                    11:33:49

    9           A.   I see that.                                                 11:33:50

   10           Q.   Does that refresh your recollection                         11:33:50

   11    of his testimony?                                                       11:33:52

   12           A.   Yes.                                                        11:33:52

   13           Q.   Okay.                                                       11:33:53

   14                   And, "same thing for the product                         11:33:55

   15    on the inside.      Is there" -- and it was                             11:33:58

   16    Exhibit 3 in this case.         "Is there any indicia                   11:34:01

   17    on that that is a US-98?"                                               11:34:04

   18                   And the answer was, "No.         There is                11:34:09

   19    nothing labeled on the product that would say                           11:34:11

   20    that this is US-98, no."                                                11:34:13

   21           A.   But there was other testimony he                            11:34:16

   22    believed it was.                                                        11:34:17

   23           Q.   I believe this is the last question                         11:34:19

   24    at the end.                                                             11:34:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 169 of 503 PageID #: 18048

                                       TRIAL - VOLUME 5

                                                                            Page 168

    1                   MR. SAULSBURY:       Objection, Your                     11:34:22

    2    Honor.                                                                  11:34:23

    3                   THE COURT:     Sustained.                                11:34:23

    4                   Wait, Mr. Slayden, let me finish.                        11:34:25

    5                   The jury will disregard the                              11:34:27

    6    commentary about where the testimony falls.                             11:34:29

    7                   MR. SLAYDEN:      Yes, Your Honor.                       11:34:34

    8                   THE COURT:     Go ahead.                                 11:34:35

    9    BY MR. SLAYDEN:                                                         11:34:35

   10           Q.   "So how are you certain that it is a                        11:34:36

   11    US-98?"                                                                 11:34:37

   12                   And his answer is, "It looks                             11:34:38

   13    exactly like the product.         I'm not saying this                   11:34:41

   14    is a US-98, but it was a product that was like                          11:34:44

   15    the US-98 that was being resold."                                       11:34:47

   16                   Do you see that?                                         11:34:49

   17           A.   I do.                                                       11:34:50

   18           Q.   Now, when you purchased the Belkin                          11:35:05

   19    switch, and I guess it wasn't hard to find                              11:35:09

   20    because it is on the face of the patent, when                           11:35:12

   21    you purchased it, were you looking for prior                            11:35:15

   22    art?                                                                    11:35:18

   23           A.   Yeah.                                                       11:35:18

   24           Q.   And what I mean by prior art is prior                       11:35:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 170 of 503 PageID #: 18049

                                     TRIAL - VOLUME 5

                                                                          Page 169

    1    to the priority date of the '243 Patent?                              11:35:22

    2         A.   Well, I was looking for products that                       11:35:25

    3    were solving similar problems as Dickens.                             11:35:28

    4         Q.   Right.                                                      11:35:31

    5                  But dated earlier than the patent,                      11:35:32

    6    of course?                                                            11:35:34

    7         A.   Yes, of course.                                             11:35:34

    8         Q.   That was my question.                                       11:35:36

    9                  And you agree, I know you have                          11:35:37

   10    patents, that prior art is something that                             11:35:38

   11    existed before the priority date of the '243                          11:35:41

   12    Patent?                                                               11:35:46

   13         A.   Yes.                                                        11:35:46

   14         Q.   Okay.                                                       11:35:47

   15                  And as you were preparing to sit                        11:35:47

   16    on this witness stand, you wanted to carefully                        11:35:52

   17    examine these products to determine whether                           11:35:54

   18    it's prior art; correct?                                              11:35:56

   19         A.   Well, I was also preparing my report.                       11:36:00

   20    I wasn't doing it specifically for sitting                            11:36:02

   21    here at the time, but yes.                                            11:36:04

   22         Q.   Okay.                                                       11:36:05

   23         A.   I wanted to examine the products to                         11:36:06

   24    make sure they were prior art.                                        11:36:08


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 171 of 503 PageID #: 18050

                                       TRIAL - VOLUME 5

                                                                            Page 170

    1           Q.   Yeah, fair enough.                                          11:36:09

    2                   Now, the Belkin product, and I                           11:36:11

    3    think you still have it.         It's hard to keep                      11:36:14

    4    them straight.                                                          11:36:18

    5           A.   367.                                                        11:36:19

    6           Q.   Okay.                                                       11:36:20

    7                   It doesn't have a date of                                11:36:21

    8    manufacture on its product label; right?                                11:36:24

    9           A.   It does not.                                                11:36:26

   10           Q.   Okay.                                                       11:36:27

   11                   Now, as an expert like yourself,                         11:36:27

   12    if you're trying to determine the date of                               11:36:33

   13    manufacture, would you also look at the                                 11:36:37

   14    internal components?                                                    11:36:40

   15           A.   Well, I was trying to determine this                        11:36:42

   16    sale, was the particular assignment here.                               11:36:45

   17           Q.   But wouldn't you look at the internal                       11:36:47

   18    components?                                                             11:36:50

   19           A.   I would.                                                    11:36:50

   20           Q.   Okay.                                                       11:36:51

   21                   Because you can tell from internal                       11:36:53

   22    components when some of them were made, can't                           11:36:56

   23    you?                                                                    11:36:59

   24           A.   Sometimes.                                                  11:37:00


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 172 of 503 PageID #: 18051

                                      TRIAL - VOLUME 5

                                                                           Page 171

    1         Q.    Yes.                                                        11:37:00

    2                  And you would agree that if a                            11:37:02

    3    component is dated after the priority date of                          11:37:04

    4    the patent, that we know that product was made                         11:37:06

    5    sometime after the patent's filing date;                               11:37:09

    6    correct?                                                               11:37:11

    7         A.    Correct.                                                    11:37:11

    8         Q.    Okay.                                                       11:37:12

    9                  And we talked about this at your                         11:37:13

   10    deposition, and we can pull it up if we need                           11:37:15

   11    to, but -- because you were at Intel; correct?                         11:37:18

   12         A.    Correct.                                                    11:37:21

   13         Q.    Right.                                                      11:37:21

   14                  And you understand that                                  11:37:22

   15    manufacturers stamp their chips with a date                            11:37:25

   16    code showing when a chip was made; right?                              11:37:28

   17         A.    Sometimes, yes.                                             11:37:30

   18                  MR. SLAYDEN:      Can we go to                           11:37:33

   19    Exhibit 19, please.       And zoom in on the top                       11:37:35

   20    portion, the lid.      That's not that exciting.                       11:37:44

   21    No, the other one.      I think I confused you,                        11:37:50

   22    I'm sorry.    And can we flip it around?                               11:37:54

   23    BY MR. SLAYDEN:                                                        11:38:07

   24         Q.    Now, at the bottom of this picture in                       11:38:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 173 of 503 PageID #: 18052

                                     TRIAL - VOLUME 5

                                                                          Page 172

    1    the middle is a square microcontroller chip.                          11:38:14

    2                  Do you see that?                                        11:38:18

    3         A.   I do.                                                       11:38:18

    4         Q.   And it looks like for all these                             11:38:19

    5    chips, all the dates have been rubbed off?                            11:38:26

    6         A.   Well, all the parts would, sort of,                         11:38:28

    7    kind of were scratched off or ground off or                           11:38:33

    8    something.                                                            11:38:36

    9         Q.   You didn't do that?                                         11:38:36

   10         A.   I did not.     I was clarifying.                            11:38:37

   11         Q.   And why would a manufacturer of this                        11:38:39

   12    product do that?                                                      11:38:42

   13         A.   Well, in my experience, sometimes                           11:38:42

   14    they would want to prevent their competitors                          11:38:44

   15    from knowing what chips were being used in                            11:38:46

   16    their product.                                                        11:38:48

   17         Q.   Correct.                                                    11:38:49

   18                  Now, with these scraped-off                             11:38:51

   19    markings, were you concerned that the product                         11:38:54

   20    may have been altered in some way?                                    11:38:56

   21         A.   No, because of my experience I just                         11:38:58

   22    described.                                                            11:39:00

   23         Q.   Okay.                                                       11:39:00

   24                  MR. SLAYDEN:     Can we go to Slide                     11:39:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 174 of 503 PageID #: 18053

                                      TRIAL - VOLUME 5

                                                                           Page 173

    1    13.                                                                    11:39:04

    2    BY MR. SLAYDEN:                                                        11:39:08

    3          Q.   Now, all of the chips that weren't                          11:39:09

    4    scraped off, and you see that arrow pointing                           11:39:11

    5    to the Maxim chip.      It still has its date code                     11:39:14

    6    on it?                                                                 11:39:20

    7          A.   I do see that.                                              11:39:20

    8          Q.   And that date code is 8/49 which                            11:39:21

    9    means it was made in the year 2008?                                    11:39:23

   10          A.   Well, actually, I don't know that's a                       11:39:26

   11    date code, but it could be.                                            11:39:27

   12          Q.   What's that?                                                11:39:28

   13          A.   I don't know that this is a date                            11:39:29

   14    code, but it could be.                                                 11:39:30

   15          Q.   Okay.                                                       11:39:31

   16                  MR. SLAYDEN:      Let me show you                        11:39:37

   17    what's been marked for identification as 379.                          11:39:38

   18    You may have it.      See if you've got 379 up                         11:39:43

   19    there.                                                                 11:39:46

   20                  Yeah, you've got it.        Would you                    11:39:47

   21    look in your notebook for 379, please.                                 11:39:48

   22                  THE WITNESS:      Oh, not the one you                    11:39:54

   23    just gave me.                                                          11:39:58

   24                  MR. SLAYDEN:      Wrong one.     I am                    11:39:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 175 of 503 PageID #: 18054

                                     TRIAL - VOLUME 5

                                                                          Page 174

    1    longwinded, but my notebook is thin.          379.                    11:40:01

    2                  THE WITNESS:     Okay.                                  11:40:08

    3                  MR. SLAYDEN:     Page 5.                                11:40:10

    4                  THE WITNESS:     Page 5.                                11:40:15

    5    BY MR. SLAYDEN:                                                       11:40:20

    6         Q.   And if you look at the bottom of the                        11:40:20

    7    page, you follow me, you see the final line,                          11:40:22

    8    it says, "Max PP No. 1" -- not the bottom,                            11:40:25

    9    excuse me, right -- do you see where it says,                         11:40:29

   10    "four lines alternate"?                                               11:40:31

   11         A.   Okay.                                                       11:40:33

   12         Q.   And to the right of that, it says,                          11:40:34

   13    "YWW"?                                                                11:40:41

   14         A.   I see that.                                                 11:40:41

   15         Q.   And it says, "date code"?                                   11:40:42

   16         A.   I see that.                                                 11:40:46

   17         Q.   And the Y stands for year; that's                           11:40:47

   18    what Maxim teaches us in their application                            11:40:50

   19    note?                                                                 11:40:53

   20         A.   Well, I see it's in context with four                       11:40:53

   21    lines of information, and I only see three                            11:40:55

   22    here.                                                                 11:40:58

   23         Q.   That's YWW.     Do you see the YWW?                         11:40:58

   24         A.   I see it says, "date code," yes.                            11:41:04


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 176 of 503 PageID #: 18055

                                      TRIAL - VOLUME 5

                                                                           Page 175

    1         Q.     Okay.                                                      11:41:07

    2                   And the Y stands for year?                              11:41:08

    3         A.     Yes, I see that.                                           11:41:17

    4         Q.     And the W stands for week in the                           11:41:18

    5    year.     That's the way they do it?                                   11:41:22

    6         A.     I see that.                                                11:41:23

    7         Q.     So that particular chip was made in                        11:41:25

    8    year 2008, which is past the priority date?                            11:41:27

    9         A.     It does appear so.                                         11:41:31

   10         Q.     Yes.                                                       11:41:32

   11                   MR. SLAYDEN:     Now, let's go to                       11:41:36

   12    Slide 14.                                                              11:41:37

   13    BY MR. SLAYDEN:                                                        11:41:45

   14         Q.     It's also important, when you're                           11:41:45

   15    doing an investigation for prior art, to look                          11:41:47

   16    at products you purchase off of Amazon to                              11:41:50

   17    determine when the board was made, not just                            11:41:53

   18    the chips?                                                             11:41:56

   19         A.     True.                                                      11:41:56

   20         Q.     And the green circuit board on the                         11:41:58

   21    Belkin was made sometime in the 45th week of                           11:42:06

   22    2008, which is November of 2008.                                       11:42:10

   23         A.     I don't know.                                              11:42:13

   24         Q.     Hold on.                                                   11:42:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 177 of 503 PageID #: 18056

                                       TRIAL - VOLUME 5

                                                                            Page 176

    1           A.    I don't know that at this point, but                       11:42:14

    2    could be.                                                               11:42:16

    3           Q.    Do you dispute that that's the date?                       11:42:17

    4           A.    I don't know.                                              11:42:19

    5           Q.    You don't know?                                            11:42:20

    6           A.    Just four numbers, as far as I know                        11:42:20

    7    now.                                                                    11:42:22

    8           Q.    Okay.                                                      11:42:22

    9                    If it was made in the 45th week of                      11:42:26

   10    2008, it wouldn't be prior art; correct?                                11:42:29

   11           A.    Correct.                                                   11:42:33

   12                    MR. SLAYDEN:     Let's go to Slide                      11:42:51

   13    11, please.         And I believe I have switched                       11:42:53

   14    gears.      I believe that's the US-98.                                 11:43:02

   15    BY MR. SLAYDEN:                                                         11:43:06

   16           Q.    Do you recognize that?                                     11:43:06

   17           A.    I do.                                                      11:43:07

   18           Q.    And that's Exhibit 368, I believe.                         11:43:08

   19    Which is the one you call US-98 but was                                 11:43:11

   20    labeled Black Box --                                                    11:43:15

   21           A.    Yes.                                                       11:43:16

   22           Q.    -- to make sure we are on the same                         11:43:16

   23    page, because it's a little confusing.                                  11:43:18

   24                    So there is a Winbond control over                      11:43:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 178 of 503 PageID #: 18057

                                     TRIAL - VOLUME 5

                                                                          Page 177

    1    there and it has a date code on it unscratched                        11:43:26

    2    off.                                                                  11:43:35

    3                  MR. SAULSBURY:        Your Honor, can we                11:43:41

    4    have a sidebar?                                                       11:43:44

    5                  THE COURT:     Yes.                                     11:43:44

    6                  (Whereupon, a discussion was held                       11:43:44

    7    at sidebar as follows:                                                11:45:43

    8                  MR. SAULSBURY:        We haven't had an                 11:45:43

    9    opportunity to see these slides before, but                           11:45:43

   10    the slide -- the numbers of the chip really                           11:45:43

   11    start with a 6 and then the demonstrative says                        11:45:43

   12    it's 08, so it's highly misleading.                                   11:45:43

   13                  THE COURT:     Hold on.                                 11:45:43

   14                  When you say you haven't seen the                       11:45:43

   15    slides before, did you exchange them?                                 11:45:43

   16                  MR. SAULSBURY:        No, because we                    11:45:43

   17    haven't been exchanging cross documents.                              11:45:43

   18                  THE COURT:     Okay.     All right.    So               11:45:43

   19    then are you going to lay --                                          11:45:43

   20                  MR. SAULSBURY:        They just changed                 11:45:43

   21    it.                                                                   11:45:43

   22                  THE COURT:     It was 2008.     Was that                11:45:43

   23    a typo?   What happened?                                              11:45:43

   24                  MR. SLAYDEN:     No, it is coming up.                   11:45:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 179 of 503 PageID #: 18058

                                     TRIAL - VOLUME 5

                                                                          Page 178

    1    There is another one 2008.                                            11:45:43

    2                  THE COURT:     But the one that was                     11:45:43

    3    up did absolutely say 2008 there.                                     11:45:43

    4                  MR. SAULSBURY:      I think we need a                   11:45:43

    5    curative instruction.                                                 11:45:43

    6                  THE COURT:     100 percent.     It just                 11:45:43

    7    changed 2008 to 2006 while you walked up here.                        11:45:43

    8                  MS. DURIE:     I'll represent to the                    11:45:43

    9    Court it said 2008.      They took it down and                        11:45:43

   10    changed it.                                                           11:45:43

   11                  THE COURT:     I saw it.    It's fine.                  11:45:43

   12    I know it said 2008, I saw it.         I actually                     11:45:43

   13    expected that you were going to lay some                              11:45:43

   14    foundation.    They had some odd coding starting                      11:45:43

   15    in '02 or something.                                                  11:45:43

   16                  MR. SLAYDEN:     No, I didn't see it,                   11:45:43

   17    Your Honor.    The slide that was the 2008, that                      11:45:43

   18    was up.                                                               11:45:43

   19                  MR. SAULSBURY:      I think we need a                   11:45:43

   20    curative instruction, Your Honor.                                     11:45:43

   21                  THE COURT:     That's fine.     And I'll                11:45:43

   22    just assume it was a typo and we'll move on.                          11:45:43

   23                  (Whereupon, the discussion at                           11:45:46

   24    sidebar concluded.)                                                   11:45:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 180 of 503 PageID #: 18059

                                       TRIAL - VOLUME 5

                                                                           Page 179

    1                   THE COURT:      Put that slide back                     11:45:51

    2    up.     Don't go on to Slide 12.                                       11:45:53

    3                   MR. SLAYDEN:      I'm sorry?                            11:45:56

    4                   THE COURT:      No, the one you just                    11:45:57

    5    had up a moment ago.         Thank you.                                11:45:58

    6                   So, ladies and gentlemen, just for                      11:46:04

    7    clarification, when that slide first went up,                          11:46:06

    8    it said under the 6, it was called out in red,                         11:46:09

    9    2008.     That was a typo.      It should have read                    11:46:12

   10    2006 all along.      It's now been corrected and                       11:46:16

   11    so you should disregard the fact that you saw                          11:46:19

   12    the 2008 there.      Okay?     All right.                              11:46:21

   13                   MR. SLAYDEN:      Yes, Your Honor.        To            11:46:25

   14    be honest, I think he toggled between 11 and                           11:46:27

   15    12.     I'm not sure with 12.                                          11:46:30

   16                   Can you put 12 up?         That's what we               11:46:34

   17    were showing.                                                          11:46:36

   18                   THE COURT:      No, the last version                    11:46:37

   19    of the slide, there was a point where it                               11:46:38

   20    definitely said 2008.                                                  11:46:41

   21                   MR. SLAYDEN:      Okay.                                 11:46:42

   22                   THE COURT:      We have cured that.                     11:46:42

   23    The jury is going to disregard that.            We are                 11:46:44

   24    going to freeze it as 2006 because that's what                         11:46:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 181 of 503 PageID #: 18060

                                      TRIAL - VOLUME 5

                                                                           Page 180

    1    it should have said.                                                   11:46:49

    2                  Go ahead.                                                11:46:50

    3    BY MR. SLAYDEN:                                                        11:46:51

    4         Q.    This is the date code on the circuit                        11:46:51

    5    board for the US-98, and you see on the                                11:46:53

    6    left-hand side --                                                      11:46:57

    7         A.    I don't know that it is the date                            11:46:58

    8    code.                                                                  11:47:00

    9         Q.    I'm sorry?                                                  11:47:00

   10         A.    I do not know that it is a date code.                       11:47:01

   11         Q.    Okay.                                                       11:47:03

   12                  So if it is a date code, it would                        11:47:03

   13    be indicating that it was made in 2008?                                11:47:08

   14         A.    It depends on how the date code is                          11:47:10

   15    encoded.                                                               11:47:12

   16         Q.    Okay.                                                       11:47:12

   17                  And if it was made in 2008, it                           11:47:13

   18    wouldn't be prior art; correct?                                        11:47:15

   19         A.    It would not be prior art.                                  11:47:17

   20         Q.    Do you have any reason to believe                           11:47:21

   21    that the physical exhibit, Exhibit 368 with                            11:47:23

   22    the Black Box sticker on it, was made prior to                         11:47:27

   23    April 2006?                                                            11:47:31

   24         A.    Just the indication that I reported                         11:47:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 182 of 503 PageID #: 18061

                                     TRIAL - VOLUME 5

                                                                          Page 181

    1    on in my report, and Mr. Rozycki's testimony.                         11:47:35

    2         Q.   Now, as an expert, we talked about                          11:47:51

    3    this this morning, as an expert, you want to                          11:47:54

    4    have the most complete version of any document                        11:47:56

    5    you are being asked to consider; is that                              11:47:58

    6    right?                                                                11:47:59

    7         A.   Yes.                                                        11:47:59

    8         Q.   Okay.                                                       11:48:01

    9                   And again, if you are provided                         11:48:02

   10    with an incomplete or, for example, an early                          11:48:04

   11    draft of a document and not the final draft,                          11:48:08

   12    you might be missing something important that                         11:48:11

   13    was contained in the updated version; correct?                        11:48:15

   14         A.   It's possible.                                              11:48:16

   15         Q.   And you relied primarily on Aptiv's                         11:48:18

   16    counsel in this case to provide you with                              11:48:23

   17    documents to study.      Is that fair?                                11:48:25

   18         A.   I don't recall.      I think there                          11:48:30

   19    were -- some -- some they provided to me, some                        11:48:32

   20    I believe I discovered myself.         I don't                        11:48:35

   21    remember exactly which, subject to whatever my                        11:48:37

   22    report says.                                                          11:48:40

   23         Q.   But documents from Aptiv, itself, its                       11:48:41

   24    own company records, or Delphi's records,                             11:48:45


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 183 of 503 PageID #: 18062

                                       TRIAL - VOLUME 5

                                                                          Page 182

    1    would have to come from counsel?                                      11:48:47

    2         A.    Oh.     That's correct.                                    11:48:49

    3         Q.    All right.     You couldn't search for                     11:48:50

    4    those.    Yeah, okay.                                                 11:48:54

    5                     Now, can you turn to Exhibit 103                     11:49:15

    6    in your binder?                                                       11:49:18

    7                     (Whereupon, Trial Exhibit 103 was                    11:49:18

    8    introduced.)                                                          11:49:29

    9                     MR. SAULSBURY:     I don't have a                    11:49:29

   10    copy.                                                                 11:49:30

   11                     (Brief pause.)                                       11:49:31

   12    BY MR. SLAYDEN:                                                       11:49:46

   13         Q.    Are you there?                                             11:49:47

   14         A.    Exhibit 103, yes.                                          11:49:49

   15         Q.    And can you tell me what it is?                            11:49:51

   16         A.    It appears to be a functional -- an                        11:49:53

   17    engineering design document from Unwired for                          11:49:55

   18    their ASIC, it says, "Boston Project."                                11:49:59

   19                     MR. SLAYDEN:     I move to admit.                    11:50:02

   20                     MR. SAULSBURY:     No objection.                     11:50:07

   21                     THE COURT:     Okay.   It's admitted.                11:50:08

   22                     MR. SLAYDEN:     And if we can turn                  11:50:12

   23    to 201 in your notebook.                                              11:50:14

   24                     (Whereupon, Trial Exhibit 201 was                    11:50:14


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 184 of 503 PageID #: 18063

                                      TRIAL - VOLUME 5

                                                                           Page 183

    1    introduced.)                                                           11:50:21

    2                   THE WITNESS:     Okay.                                  11:50:21

    3    BY MR. SLAYDEN:                                                        11:50:22

    4          Q.   And the same question:         Do you                       11:50:23

    5    recognize that document?                                               11:50:24

    6          A.   It looks like the same.         I'd have to                 11:50:25

    7    explore it and see what the differences are,                           11:50:28

    8    but yes.                                                               11:50:30

    9                   MR. SLAYDEN:     Okay.     Move to admit                11:50:30

   10    it.                                                                    11:50:32

   11                   MR. SAULSBURY:      No objection.                       11:50:32

   12                   THE COURT:     Okay.     It's in.                       11:50:33

   13    BY MR. SLAYDEN:                                                        11:50:35

   14          Q.   Now, let's go back to 103 and let's                         11:50:35

   15    turn to page 4 on 103.        And you see the                          11:50:45

   16    Revision History there?                                                11:50:53

   17          A.   Yeah, I do.                                                 11:50:54

   18          Q.   And it says, "First draft," and you                         11:50:58

   19    notice the date is not complete; right?                                11:51:03

   20          A.   It looks like part of the date is                           11:51:06

   21    missing, but yeah.                                                     11:51:08

   22          Q.   Okay.                                                       11:51:10

   23          A.   Actually, I don't --                                        11:51:10

   24          Q.   Now --                                                      11:51:12


                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 185 of 503 PageID #: 18064

                                      TRIAL - VOLUME 5

                                                                          Page 184

    1         A.   -- I don't know when that last --                           11:51:12

    2    when the year is last date, but yeah.                                 11:51:14

    3         Q.   Okay.                                                       11:51:17

    4                  MR. SLAYDEN:     Let's go back to 201                   11:51:18

    5    Mr. Ferrer.     Thank you.    Page 4.                                 11:51:24

    6    BY MR. SLAYDEN:                                                       11:51:27

    7         Q.   Do you have that in front of you, Mr.                       11:51:27

    8    Garney?                                                               11:51:29

    9         A.   I do.                                                       11:51:29

   10         Q.   Now, that Revision History says it's                        11:51:30

   11    Revision 0.2?                                                         11:51:37

   12         A.   I see that.                                                 11:51:38

   13         Q.   And based on your comparison of the                         11:51:40

   14    two documents, would you agree that it looks                          11:51:42

   15    like 201 is the updated version of 103?                               11:51:45

   16         A.   It seems reasonable, but I'd have to                        11:51:52

   17    explore them.                                                         11:51:54

   18         Q.   What's that?                                                11:51:54

   19         A.   I said it seems reasonable.         I'd have                11:51:55

   20    to explore them to confirm in detail, but it                          11:51:57

   21    seems reasonable from documents.                                      11:52:00

   22         Q.   And do you know, in the approval box,                       11:52:02

   23    who approved this?                                                    11:52:05

   24         A.   I don't know for a fact.        I am                        11:52:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 186 of 503 PageID #: 18065

                                      TRIAL - VOLUME 5

                                                                           Page 185

    1    guessing it's Mr. Petku.                                               11:52:07

    2         Q.    Yeah, it's Craig S. Petku.                                  11:52:08

    3                  And based on that Revision                               11:52:15

    4    History, both these documents were created in                          11:52:19

    5    2013?                                                                  11:52:21

    6         A.    Seems to be, yes.                                           11:52:22

    7         Q.    Okay.                                                       11:52:23

    8                  So both of these documents were                          11:52:24

    9    created before this litigation started;                                11:52:27

   10    correct?                                                               11:52:29

   11         A.    Yes.                                                        11:52:29

   12         Q.    Because you have been in it the whole                       11:52:30

   13    time, that was five years ago, so that's 2017?                         11:52:32

   14         A.    Yes.                                                        11:52:36

   15         Q.    Okay.                                                       11:52:36

   16                  And actually, if you look at the                         11:52:41

   17    dates there, the 201 was updated, it looks                             11:52:43

   18    like, just six days after the previous                                 11:52:47

   19    version?                                                               11:52:49

   20         A.    Seems to be what it says, yes.                              11:52:49

   21         Q.    And it lists there on 201, "Updated                         11:52:54

   22    per comments from AyDeeKay."                                           11:52:59

   23         A.    I see that.                                                 11:53:02

   24         Q.    Do you know who that is?                                    11:53:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 187 of 503 PageID #: 18066

                                     TRIAL - VOLUME 5

                                                                          Page 186

    1         A.   I believe that's the silicon die                            11:53:04

    2    house that was involved in the fabrication of                         11:53:08

    3    the Boston chip.                                                      11:53:12

    4         Q.   Correct.                                                    11:53:13

    5                  MR. SLAYDEN:     Well, actually, Mr.                    11:53:15

    6    Ferrer, if you'll go to page 3 of the same                            11:53:17

    7    document, second paragraph, second sentence.                          11:53:19

    8    BY MR. SLAYDEN:                                                       11:53:25

    9         Q.   Right there it starts with                                  11:53:26

   10    "AyDeeKay," and it says, "AyDeeKay is                                 11:53:27

   11    considered the expert on how to implement ASIC                        11:53:32

   12    logic, USB IP, interfaces to existing IP and                          11:53:34

   13    ARM processor interface."                                             11:53:40

   14                  Do you see that?                                        11:53:42

   15         A.   I see that.                                                 11:53:43

   16         Q.   And so this is who Unwired hired to                         11:53:44

   17    help them build a Boston chip?                                        11:53:46

   18         A.   That's my understanding, yes.                               11:53:48

   19         Q.   And I reviewed your -- your reports                         11:53:50

   20    and the exhibits, and one of the exhibits that                        11:53:57

   21    you have is the materials you considered.                             11:54:01

   22         A.   Okay.                                                       11:54:03

   23         Q.   Okay?                                                       11:54:03

   24                  And I could find Exhibit 103 on                         11:54:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 188 of 503 PageID #: 18067

                                      TRIAL - VOLUME 5

                                                                           Page 187

    1    your report, the incomplete version, but I                             11:54:09

    2    couldn't find Exhibit 201, that's the updated                          11:54:11

    3    version.                                                               11:54:17

    4         A.    I have -- you looked and I haven't.                         11:54:24

    5         Q.    I understand.                                               11:54:30

    6         A.    I don't know what the material                              11:54:31

    7    differences are between the two --                                     11:54:32

    8         Q.    Okay.                                                       11:54:33

    9         A.    -- sitting here now.                                        11:54:34

   10         Q.    And based on that language we just                          11:54:46

   11    talked about, you'd agree with me that Unwired                         11:54:48

   12    was relying upon the expertise of AyDeeKay at                          11:54:50

   13    this time?                                                             11:54:53

   14         A.    I don't know for a fact, but it seems                       11:54:53

   15    reasonable.                                                            11:54:56

   16         Q.    Unwired wrote this document that says                       11:54:56

   17    AyDeeKay is considered the expert?                                     11:54:58

   18         A.    Actually, I don't know what you meant                       11:55:01

   19    by "rely on," but they are certainly                                   11:55:03

   20    identified as an expert here, yes.                                     11:55:05

   21         Q.    Were you here for Mr. Voto's                                11:55:06

   22    testimony?                                                             11:55:09

   23         A.    I was.                                                      11:55:09

   24         Q.    And did Mr. Voto testify how much he                        11:55:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 189 of 503 PageID #: 18068

                                     TRIAL - VOLUME 5

                                                                          Page 188

    1    paid AyDeeKay --                                                      11:55:12

    2         A.   He did.                                                     11:55:14

    3         Q.   -- for the chip?                                            11:55:15

    4         A.   I did hear.                                                 11:55:16

    5         Q.   What was that?                                              11:55:17

    6         A.   I heard different numbers.         I think                  11:55:18

    7    he had said five million, I think he related                          11:55:21

    8    to, and during the testimony, there was a                             11:55:24

    9    question somewhat less than that.                                     11:55:26

   10         Q.   Right.                                                      11:55:27

   11                  It was more maybe two million.           It             11:55:28

   12    was millions; we'll agree to that?                                    11:55:30

   13         A.   Yes.                                                        11:55:32

   14         Q.   So I don't usually -- I mean, it                            11:55:32

   15    seems to me that -- strike that.         I'm sorry.                   11:55:35

   16                  MR. SLAYDEN:     Now, let's go to                       11:55:41

   17    Exhibit 7, Mr. Ferrer.       I understand this is                     11:55:44

   18    on the admitted list already.        Okay.                            11:55:53

   19    BY MR. SLAYDEN:                                                       11:55:56

   20         Q.   Have you seen this technical                                11:55:57

   21    schematic of the Boston 2 chip before?                                11:55:58

   22         A.   Several times, yes.                                         11:56:00

   23         Q.   It's a little busy; huh?                                    11:56:02

   24         A.   It is.                                                      11:56:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 190 of 503 PageID #: 18069

                                     TRIAL - VOLUME 5

                                                                          Page 189

    1         Q.   Now, do you see the components in red                       11:56:06

    2    text?                                                                 11:56:08

    3         A.   I see the red text, yes.                                    11:56:10

    4         Q.   Okay.                                                       11:56:16

    5                  And can you list the components                         11:56:18

    6    appearing in the red text?                                            11:56:20

    7         A.   Starting on the left, it says, "MCU,"                       11:56:23

    8    which is the shorthand for microcontroller.                           11:56:25

    9    Excuse me just a minute.                                              11:56:28

   10                  Proceeding on top center, it says,                      11:56:35

   11    "UDC_US," which we talked about before, which                         11:56:39

   12    was the part of the device -- well, the device                        11:56:42

   13    controller for the upstream host.                                     11:56:44

   14                  Keep reading down, it says, "EP                         11:56:48

   15    Bridge," which is the endpoint bridge.           Going                11:56:50

   16    down there is, "UDC_DS," which is the USB                             11:56:52

   17    device controller downstream.                                         11:56:55

   18                  A little hard to read -- actually,                      11:56:59

   19    let's see if I can read here.        "Routing Logic                   11:57:01

   20    DS4RL" and "Routing Logic HBRL."         I think                      11:57:04

   21    that's it.                                                            11:57:09

   22         Q.   So if I have counted correctly,                             11:57:10

   23    there's six of them?                                                  11:57:14

   24         A.   Seems to be, yes.                                           11:57:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 191 of 503 PageID #: 18070

                                       TRIAL - VOLUME 5

                                                                            Page 190

    1                    MR. SLAYDEN:     Your Honor, this                       11:57:17

    2    would be a good time to take a lunch break.                             11:57:18

    3    Is that convenient for you, or keep going?                              11:57:20

    4                    THE COURT:     I mean, unless you've                    11:57:23

    5    got -- well, my inclination would be to keep                            11:57:25

    6    going.      We haven't been going that long since                       11:57:29

    7    our break.                                                              11:57:31

    8                    MR. SLAYDEN:     Okay.                                  11:57:31

    9                    THE COURT:     My plan would be to go                   11:57:32

   10    for another half hour, 45 minutes.                                      11:57:33

   11                    MR. SLAYDEN:     Okay.    I didn't know                 11:57:35

   12    we had that much time, so that's great.                                 11:57:36

   13    BY MR. SLAYDEN:                                                         11:57:40

   14           Q.    Do you know why they are labeled in                        11:57:41

   15    red?                                                                    11:57:43

   16           A.    I don't know at this point, no.                            11:57:44

   17           Q.    You don't know.                                            11:57:45

   18                    MR. SLAYDEN:     Mr. Ferrer, can we                     11:57:47

   19    go back to Exhibit 201.         And go to page 5 and                    11:57:48

   20    can you put Exhibit 7 next to it.           Is that                     11:58:09

   21    possible?                                                               11:58:18

   22    BY MR. SLAYDEN:                                                         11:58:28

   23           Q.    And, Mr. Garney, you have both of                          11:58:29

   24    those exhibits in your binder if that helps.                            11:58:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 192 of 503 PageID #: 18071

                                     TRIAL - VOLUME 5

                                                                          Page 191

    1    Even blowing it up, it is a busy document.                            11:58:35

    2         A.    Yes.                                                       11:58:37

    3         Q.    Okay.                                                      11:58:38

    4                  Now, do you see, in terms of                            11:58:39

    5    the -- we see on both documents a routing                             11:58:50

    6    logic.    All the red text in Exhibit 7 are also                      11:58:54

    7    labeled not in red, but in black and white in                         11:59:03

    8    Figure 1, Exhibit 201; correct?                                       11:59:07

    9         A.    Seems to be, yes.                                          11:59:10

   10         Q.    So the same six components in the                          11:59:11

   11    same spot?                                                            11:59:13

   12         A.    Yes.                                                       11:59:14

   13                  MR. SLAYDEN:       So, Mr. Ferrer, can                  11:59:23

   14    we highlight the 201 -- excuse me.          Can we go                 11:59:24

   15    to the slide?      This is Exhibit 7.     We have                     11:59:30

   16    those boxed out.      We have those boxed out.                        11:59:47

   17    BY MR. SLAYDEN:                                                       11:59:55

   18         Q.    So are those the same?       Could you                     11:59:55

   19    compare them maybe?      Okay.                                        11:59:57

   20                  Now, let's see what Exhibit 201,                        12:00:03

   21    the document Aptiv's lawyers didn't give you                          12:00:07

   22    to review, says about the red text.                                   12:00:10

   23         A.    I don't know that they didn't give it                      12:00:12

   24    to me.                                                                12:00:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 193 of 503 PageID #: 18072

                                     TRIAL - VOLUME 5

                                                                          Page 192

    1         Q.     Well, it's not on your list.                              12:00:14

    2         A.     Okay.                                                     12:00:18

    3         Q.     It didn't make it on your list.        Fair               12:00:18

    4    enough?                                                               12:00:21

    5         A.     Fair enough.                                              12:00:21

    6                   MR. SLAYDEN:    Mr. Ferrer, can you                    12:00:22

    7    give me the sentence?                                                 12:00:23

    8    BY MR. SLAYDEN:                                                       12:00:26

    9         Q.     So it says, "The bridge device                            12:00:26

   10    consists of six blocks (RED TEXT) integrated                          12:00:31

   11    within a USB connectivity module as described                         12:00:36

   12    below."                                                               12:00:38

   13         A.     Okay.                                                     12:00:40

   14         Q.     So the bridge device includes all                         12:00:41

   15    those six blocks; correct?                                            12:00:44

   16         A.     Could be.   I have to see more about                      12:00:45

   17    what they described, you know, what the                               12:00:47

   18    details of this thing labeled a module is, but                        12:00:49

   19    could be.                                                             12:00:53

   20         Q.     And Exhibit 7, you testified                              12:00:53

   21    Exhibit 7 was the schematic to the Boston 2                           12:00:55

   22    chip?                                                                 12:00:57

   23         A.     I did.                                                    12:00:57

   24         Q.     And it's identical to the diagram in                      12:00:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 194 of 503 PageID #: 18073

                                     TRIAL - VOLUME 5

                                                                          Page 193

    1    Exhibit 201 as to the six components; correct?                        12:01:02

    2         A.   Yes.                                                        12:01:05

    3         Q.   Okay.                                                       12:01:06

    4                  So AyDeeKay in this document, 201,                      12:01:07

    5    as we talked about --                                                 12:01:10

    6                  MR. SLAYDEN:     Can you give me the                    12:01:11

    7    revision history again?       On 201.    I'm sorry.                   12:01:12

    8                  Revision history of 201.        Page 4,                 12:01:28

    9    I believe.                                                            12:01:32

   10    BY MR. SLAYDEN:                                                       12:01:37

   11         Q.   So 201 was updated by the expert,                           12:01:38

   12    AyDeeKay; right?                                                      12:01:42

   13         A.   Yep.                                                        12:01:43

   14         Q.   Okay.                                                       12:01:44

   15                  MR. SLAYDEN:     Can you go back to                     12:01:45

   16    the old slide with the sentence at the top?                           12:01:46

   17    BY MR. SLAYDEN:                                                       12:02:00

   18         Q.   And you were here for Mr. Zatkovich's                       12:02:01

   19    testimony, weren't you?                                               12:02:02

   20         A.   I believe I was.                                            12:02:04

   21         Q.   And Mr. Zatkovich's testimony was                           12:02:05

   22    completely consistent with the bridge device                          12:02:08

   23    as defined by Exhibit 201; correct?                                   12:02:10

   24         A.   Well, no, I mean, just because it's                         12:02:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 195 of 503 PageID #: 18074

                                      TRIAL - VOLUME 5

                                                                           Page 194

    1    integrated, the module doesn't change the                              12:02:15

    2    presence of two separate USB devices within                            12:02:17

    3    that module.                                                           12:02:19

    4         Q.    Okay.                                                       12:02:20

    5                   Is USB Device A or USB Device B                         12:02:21

    6    listed there?                                                          12:02:24

    7         A.    No, but it correlates with the other                        12:02:25

    8    information I reviewed.                                                12:02:28

    9         Q.    Okay.                                                       12:02:29

   10                   MR. SLAYDEN:     Can we go back to                      12:02:37

   11    page 4, Mr. Ferrer.                                                    12:02:38

   12    BY MR. SLAYDEN:                                                        12:02:43

   13         Q.    And just remember, this has been                            12:02:44

   14    updated per the comments of AyDeeKay, which is                         12:02:45

   15    identified in this document as an expert;                              12:02:49

   16    correct?                                                               12:02:52

   17         A.    Yep.                                                        12:02:53

   18                   MR. SLAYDEN:     Now, actually, I'm                     12:02:55

   19    sorry, but can we go to 103, page 4.           Thank                   12:02:57

   20    you for your patience.                                                 12:03:01

   21    BY MR. SLAYDEN:                                                        12:03:07

   22         Q.    Now, the box above it, if you go to                         12:03:08

   23    the acronyms and definitions up there, there                           12:03:13

   24    is not an EP Bridge listed there, is there?                            12:03:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 196 of 503 PageID #: 18075

                                       TRIAL - VOLUME 5

                                                                            Page 195

    1           A.   Not explicitly.      It's in the                            12:03:27

    2    connectivity device, most likely.                                       12:03:31

    3           Q.   Can we go back to the same page on                          12:03:33

    4    201?                                                                    12:03:36

    5           A.   It's actually incorrect.        It says,                    12:03:36

    6    "Complete USB peripheral."          In fact, what I                     12:03:39

    7    believe it is, sitting here now, it is                                  12:03:41

    8    actually two USB peripherals.                                           12:03:43

    9           Q.   I agree with you.       That's the                          12:03:45

   10    document that you had on your list that you                             12:03:47

   11    considered.      201 is the document that's not on                      12:03:48

   12    your list.     Let's go back to 201.                                    12:03:51

   13           A.   I don't recall if I looked at both                          12:03:53

   14    documents, sitting here now.                                            12:03:55

   15           Q.   I understand.     It's not a memory                         12:03:56

   16    test.                                                                   12:03:58

   17                   So if you look down on the                               12:04:00

   18    acronyms and definitions for EP Bridge, it                              12:04:02

   19    defines bridge logic containing both UDCs and                           12:04:06

   20    the FIFO logic, doesn't it?                                             12:04:10

   21           A.   It does.    It does.                                        12:04:12

   22           Q.   Okay.                                                       12:04:15

   23                   And you were here for Mr.                                12:04:23

   24    Zatkovich's testimony; correct?                                         12:04:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 197 of 503 PageID #: 18076

                                     TRIAL - VOLUME 5

                                                                          Page 196

    1         A.   I was.                                                      12:04:26

    2         Q.   And that's completely consistent with                       12:04:26

    3    what Mr. Zatkovich testified?                                         12:04:29

    4         A.   It is, but I disagree with his                              12:04:30

    5    testimony.                                                            12:04:33

    6         Q.   And do you disagree with this                               12:04:33

    7    definition?                                                           12:04:34

    8         A.   Where it appears here, that seems                           12:04:36

    9    consistent.                                                           12:04:38

   10         Q.   Okay.    Let's see.                                         12:04:39

   11                   MR. SLAYDEN:     Can we go to                          12:04:42

   12    Exhibit 116.                                                          12:04:44

   13    BY MR. SLAYDEN:                                                       12:05:07

   14         Q.   Can you turn to Exhibit 116?         My                     12:05:08

   15    apologies.                                                            12:05:10

   16         A.   I heard that even if you didn't say                         12:05:11

   17    that.                                                                 12:05:12

   18         Q.   You're correct.                                             12:05:13

   19                   (Whereupon, Trial Exhibit 116 was                      12:05:13

   20    introduced.)                                                          12:05:13

   21    BY MR. SLAYDEN:                                                       12:05:13

   22         Q.   Do you recognize that document?                             12:05:23

   23         A.   I don't remember it right now, but it                       12:05:24

   24    looks -- I guess that's all I can say at this                         12:05:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 198 of 503 PageID #: 18077

                                      TRIAL - VOLUME 5

                                                                           Page 197

    1    point.                                                                 12:05:30

    2                   MR. SLAYDEN:     Can you blow up the                    12:05:39

    3    first page, the first block, Mr. Ferrer, at                            12:05:40

    4    the top?                                                               12:05:43

    5    BY MR. SLAYDEN:                                                        12:05:48

    6         Q.     It says, "DR Hub Test, Developing the                      12:05:50

    7    single Host solution, October 29, 2013,                                12:05:54

    8    Unwired."                                                              12:05:56

    9                   Do you see that?                                        12:05:57

   10         A.     I see that.                                                12:05:58

   11                   THE COURT:     Is that in evidence,                     12:05:59

   12    Mr. Slayden?                                                           12:06:00

   13                   MR. SLAYDEN:     I'm sorry, don't                       12:06:01

   14    publish that.     My apologies.                                        12:06:02

   15                   Can you go to page 2?                                   12:06:06

   16                   THE WITNESS:     I'm sorry?                             12:06:16

   17                   MR. SLAYDEN:     Your Honor, I will                     12:06:17

   18    move to admit Exhibit 116.                                             12:06:18

   19                   MR. SAULSBURY:      No objection, Your                  12:06:22

   20    Honor.                                                                 12:06:24

   21                   THE COURT:     Okay.     It is received.                12:06:24

   22                   MR. SLAYDEN:     Okay.     My apologies.                12:06:25

   23                   Can we go to page 2, Mr. Ferrer?                        12:06:28

   24    And the top block, highlight that.                                     12:06:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 199 of 503 PageID #: 18078

                                     TRIAL - VOLUME 5

                                                                          Page 198

    1    BY MR. SLAYDEN:                                                       12:06:35

    2         Q.   It says the "Bridge Device."                                12:06:35

    3                    Do you see that?                                      12:06:37

    4         A.   I see that.                                                 12:06:38

    5         Q.   It is kind of a bad copy, but that's                        12:06:39

    6    what we got.                                                          12:06:43

    7         A.   I understand.                                               12:06:44

    8         Q.   I would give you a better copy if I                         12:06:46

    9    had it.                                                               12:06:48

   10                    So at the top it says,                                12:06:49

   11    "Conceptually:      Two USB Device Controllers                        12:06:51

   12    glued together with FIFO's and specialized                            12:06:56

   13    control logic."                                                       12:06:59

   14                    Do you agree with that?                               12:07:01

   15         A.   Not completely.                                             12:07:03

   16         Q.   You don't.     Okay.                                        12:07:05

   17         A.   I said "not completely."                                    12:07:06

   18         Q.   Not completely?                                             12:07:07

   19         A.   Not completely.                                             12:07:08

   20         Q.   Oh.     So Unwired has got it wrong?                        12:07:09

   21         A.   Well, this is not the technical                             12:07:13

   22    documents that define what the -- that they                           12:07:15

   23    implemented.      This is a summary.                                  12:07:20

   24         Q.   Can you go to your book and                                 12:07:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 200 of 503 PageID #: 18079

                                      TRIAL - VOLUME 5

                                                                           Page 199

    1    Exhibit 139.                                                           12:07:29

    2                   (Whereupon, Trial Exhibit 139 was                       12:07:29

    3    introduced.)                                                           12:07:29

    4                   THE WITNESS:     Okay.    I'm there.                    12:07:35

    5    BY MR. SLAYDEN:                                                        12:07:37

    6         Q.    Do you recognize that?                                      12:07:37

    7         A.    It seems like something we have seen                        12:07:40

    8    before.    I don't know for a fact that it is                          12:07:43

    9    but...                                                                 12:07:46

   10                   MR. SLAYDEN:     Okay.    Move to admit                 12:07:47

   11    Exhibit 139.                                                           12:07:49

   12                   MR. SAULSBURY:      No objection, Your                  12:07:53

   13    Honor.                                                                 12:07:54

   14                   THE COURT:     All right.     It can                    12:07:54

   15    come in.                                                               12:07:56

   16    BY MR. SLAYDEN:                                                        12:08:05

   17         Q.    Can we turn to page 4 of 139.                               12:08:05

   18         A.    Okay.                                                       12:08:10

   19         Q.    And at the top of page 4, that's a                          12:08:11

   20    similar type of diagram that you testified to                          12:08:16

   21    on direct; correct?                                                    12:08:19

   22         A.    Correct.                                                    12:08:20

   23         Q.    And that lists here two USB, Device A                       12:08:24

   24    and Device B; correct?                                                 12:08:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 201 of 503 PageID #: 18080

                                     TRIAL - VOLUME 5

                                                                          Page 200

    1         A.   I'm sorry?                                                  12:08:29

    2         Q.   That lists your USB Device A --                             12:08:30

    3         A.   Device A and Device B, yes.                                 12:08:34

    4         Q.   In your USB Device A and B, is that                         12:08:36

    5    where the UDCs would reside?                                          12:08:38

    6         A.   That's part of what -- FIFOs would be                       12:08:40

    7    also there.                                                           12:08:43

    8         Q.   Okay.                                                       12:08:44

    9         A.   Or the endpoint buffers may be a                            12:08:49

   10    better way of saying it.                                              12:08:52

   11                  MR. SLAYDEN:     And the first                          12:08:54

   12    sentence under, "Operational Description," Mr.                        12:08:55

   13    Ferrer, can you blow that up?                                         12:08:57

   14    BY MR. SLAYDEN:                                                       12:08:57

   15         Q.   Do you see that?                                            12:09:02

   16         A.   I do.                                                       12:09:02

   17         Q.   Do you agree with that?                                     12:09:03

   18         A.   Not totally.                                                12:09:04

   19         Q.   Why is that?                                                12:09:05

   20         A.   Well, it describes the custom bridge                        12:09:06

   21    device as actually the only thing the head                            12:09:09

   22    unit can see of USB Device A and the hub.                             12:09:12

   23         Q.   So you disagree with it?                                    12:09:14

   24         A.   I disagree with the last part of                            12:09:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 202 of 503 PageID #: 18081

                                     TRIAL - VOLUME 5

                                                                          Page 201

    1    custom bridge device.                                                 12:09:18

    2         Q.   Okay.                                                       12:09:19

    3                   And do you see the next sentence?                      12:09:23

    4                   MR. SLAYDEN:    Mr. Ferrer.                            12:09:27

    5    BY MR. SLAYDEN:                                                       12:09:30

    6         Q.   "Head Unit loads a custom driver for                        12:09:30

    7    the Bridge device supplied by Unwired/Delphi."                        12:09:32

    8                   Do you see that?                                       12:09:36

    9         A.   Yes, certainly.      That's my                              12:09:37

   10    understanding, loads the custom driver for                            12:09:38

   11    Device A, yes.                                                        12:09:41

   12         Q.   And it says, "the Bridge device."                           12:09:42

   13                   Do you see that?                                       12:09:43

   14         A.   I see that, yes.                                            12:09:44

   15                   MR. SLAYDEN:    Can you go to                          12:09:52

   16    Exhibit 143, Mr. Ferrer -- oh, excuse me.           Let               12:09:53

   17    me make sure...                                                       12:09:58

   18    BY MR. SLAYDEN:                                                       12:10:02

   19         Q.   Turn in your notebook to 143.                               12:10:02

   20                   (Whereupon, Trial Exhibit 143 was                      12:10:02

   21    introduced.)                                                          12:10:02

   22                   THE WITNESS:    I'm there.                             12:10:05

   23    BY MR. SLAYDEN:                                                       12:10:09

   24         Q.   And what is that?                                           12:10:09


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 203 of 503 PageID #: 18082

                                     TRIAL - VOLUME 5

                                                                          Page 202

    1         A.   Appears to be some sort of                                  12:10:11

    2    presentation by Delphi to Renault.                                    12:10:13

    3                   MR. SLAYDEN:     Move to admit                         12:10:16

    4    Exhibit 143.                                                          12:10:19

    5                   THE COURT:     Mr. Saulsbury?                          12:10:21

    6                   MR. SAULSBURY:     No objection, Your                  12:10:23

    7    Honor.                                                                12:10:24

    8                   THE COURT:     Okay.                                   12:10:24

    9                   MR. SLAYDEN:     Can you publish --                    12:10:27

   10    yep, publish the first page.                                          12:10:28

   11    BY MR. SLAYDEN:                                                       12:10:37

   12         Q.   So as you mentioned, it looks like a                        12:10:38

   13    Delphi presentation to Renault.         I do believe                  12:10:41

   14    this was on your list.                                                12:10:44

   15         A.   I'll take your word for it.                                 12:10:46

   16         Q.   Okay.                                                       12:10:48

   17                   And if you --                                          12:10:48

   18                   MR. SLAYDEN:     Mr. Ferrer, you will                  12:10:51

   19    have to use the Bates number on the bottom                            12:10:52

   20    right, go to 95180.                                                   12:10:54

   21    BY MR. SLAYDEN:                                                       12:11:08

   22         Q.   And Option 3, first sentence,                               12:11:00

   23    "Includes a Bridge Device embedded in the USB                         12:11:09

   24    Hub."                                                                 12:11:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 204 of 503 PageID #: 18083

                                      TRIAL - VOLUME 5

                                                                           Page 203

    1                  Do you see that?                                         12:11:12

    2         A.    I see that.      Two USB devices.                           12:11:12

    3         Q.    "Includes a Bridge Device embedded in                       12:11:16

    4    USB Hub"; do you agree with that?                                      12:11:18

    5         A.    Two USB devices, yeah.                                      12:11:20

    6         Q.    Is it no then?                                              12:11:23

    7         A.    Well, this is a market presentation,                        12:11:24

    8    so we're at up level things and people don't                           12:11:26

    9    usually care about the details.                                        12:11:31

   10         Q.    Okay.   I see.                                              12:11:32

   11                  MR. SLAYDEN:      Let's go to -- can                     12:11:35

   12    we go to exhibit -- make sure it's in.            I                    12:11:38

   13    think that's in.                                                       12:11:41

   14    BY MR. SLAYDEN:                                                        12:11:46

   15         Q.    Can you turn to Exhibit 12, please.                         12:11:46

   16         A.    I'm there.                                                  12:11:52

   17                  MR. SLAYDEN:      And that's admitted.                   12:11:55

   18    BY MR. SLAYDEN:                                                        12:11:57

   19         Q.    Now, this is dated 2014 before this                         12:12:01

   20    lawsuit; correct?                                                      12:12:03

   21         A.    Appears to be, yes.                                         12:12:05

   22         Q.    And it's a presentation to Apple;                           12:12:06

   23    correct?                                                               12:12:09

   24         A.    I think I heard testimony about that,                       12:12:12


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 205 of 503 PageID #: 18084

                                     TRIAL - VOLUME 5

                                                                          Page 204

    1    but I don't know for a fact.                                          12:12:14

    2         Q.   In fact, you did.                                           12:12:15

    3         A.   Okay.                                                       12:12:17

    4         Q.   And it is marked, "Delphi/Unwired                           12:12:18

    5    Confidential," at the bottom?                                         12:12:23

    6         A.   Yes.                                                        12:12:24

    7                  MR. SLAYDEN:     Now, if you go to                      12:12:28

    8    page 4 of 8, Mr. Ferrer.                                              12:12:29

    9    BY MR. SLAYDEN:                                                       12:12:36

   10         Q.   The first sentence, that's the same                         12:12:36

   11    sentence we just saw in the last one.                                 12:12:38

   12         A.   Yes, it is.                                                 12:12:43

   13         Q.   Okay.                                                       12:12:43

   14                  And the next sentence was the same                      12:12:45

   15    sentence we saw in the last one?                                      12:12:46

   16         A.   Yes, it is.                                                 12:12:48

   17         Q.   Now, before we move on, this diagram                        12:12:48

   18    doesn't show everything; right?                                       12:12:54

   19         A.   That's correct.                                             12:12:56

   20         Q.   This conceptual diagram.                                    12:12:58

   21                  In fact, there is a controller                          12:13:00

   22    somewhere; correct?                                                   12:13:02

   23         A.   Controller is used in many ways in                          12:13:04

   24    this case, so I don't know what you're asking.                        12:13:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 206 of 503 PageID #: 18085

                                     TRIAL - VOLUME 5

                                                                          Page 205

    1         Q.   Well, you can tell me; is there some                        12:13:10

    2    type of controller that is part of this                               12:13:13

    3    system?                                                               12:13:16

    4         A.   There's two device controllers and                          12:13:17

    5    there's also a device controller in the hub                           12:13:19

    6    and that's probably...                                                12:13:22

    7         Q.   And we talked about the MCU on                              12:13:24

    8    Exhibit 7?                                                            12:13:29

    9         A.   I believe so, yes.                                          12:13:29

   10         Q.   And that's something necessary?                             12:13:30

   11         A.   To do things, yes.       It's another type                  12:13:34

   12    of controller, I suppose.                                             12:13:37

   13         Q.   And you need a controller for the                           12:13:38

   14    bridge, don't you?                                                    12:13:42

   15         A.   I guess, yes or no, depending upon                          12:13:47

   16    what you mean by that.                                                12:13:50

   17         Q.   Were you here for Mr. Voto's                                12:13:51

   18    testimony?                                                            12:13:53

   19         A.   I was.                                                      12:13:53

   20         Q.   I'll read you what he said.                                 12:13:54

   21                  "So specifically we see this box                        12:13:59

   22    down here that says, 'H2H controller.'           That's               12:14:01

   23    what we had to add, now, largely on top of                            12:14:05

   24    everything else that the hub already did to                           12:14:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 207 of 503 PageID #: 18086

                                     TRIAL - VOLUME 5

                                                                          Page 206

    1    make the bridge function work."                                       12:14:10

    2                   Do you remember that testimony?                        12:14:13

    3         A.     No, but I don't have any reason to                        12:14:14

    4    doubt it.                                                             12:14:16

    5         Q.     Okay.                                                     12:14:16

    6                   MR. SLAYDEN:    Go to page 6, Mr.                      12:14:26

    7    Ferrer, 6 of 8.                                                       12:14:28

    8    BY MR. SLAYDEN:                                                       12:14:43

    9         Q.     Have you seen that diagram before?                        12:14:44

   10         A.     I don't remember, but possibly.                           12:14:46

   11         Q.     And your USB Device A and B are                           12:14:48

   12    shown; right?                                                         12:14:51

   13                   MR. SLAYDEN:    Mr. Ferrer, can you                    12:14:55

   14    highlight them?                                                       12:14:56

   15                   THE WITNESS:    Yes.                                   12:14:56

   16    BY MR. SLAYDEN:                                                       12:14:57

   17         Q.     And the FIFOs are shown; correct?                         12:15:03

   18         A.     Endpoint buffers, yeah, we were                           12:15:06

   19    talking about.                                                        12:15:08

   20         Q.     Those are the FIFOs; right?                               12:15:09

   21         A.     Correct.                                                  12:15:11

   22         Q.     And the thing that Mr. Voto said we                       12:15:12

   23    had to add on top, which is on top, is the                            12:15:15

   24    bridge controller; correct?                                           12:15:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 208 of 503 PageID #: 18087

                                      TRIAL - VOLUME 5

                                                                           Page 207

    1         A.    To control traffic, yes.                                    12:15:20

    2         Q.    Yeah.                                                       12:15:22

    3                  And it's controlling -- it's                             12:15:23

    4    connected to Device A and B; correct?                                  12:15:27

    5         A.    For some version of connected, yes, I                       12:15:32

    6    suppose.                                                               12:15:35

    7         Q.    And it's also involved, as you said,                        12:15:36

    8    in the cross traffic between the FIFOs?                                12:15:39

    9         A.    No, not -- not for the both FIFOs as                        12:15:42

   10    shown here.     It's got no involvement.        It's                   12:15:45

   11    only involved, as we talked about, for                                 12:15:48

   12    carrying a control from the iPhone operating                           12:15:51

   13    in host mode through this system having to be                          12:15:54

   14    copied and going up to the head unit, yes.                             12:15:57

   15         Q.    And to the left, it shows                                   12:16:01

   16    conceptually that it's hooked up to the head                           12:16:02

   17    unit?                                                                  12:16:05

   18         A.    Correct.                                                    12:16:05

   19         Q.    And to the right, it shows                                  12:16:05

   20    conceptually it's hooked up to the iPhone?                             12:16:06

   21         A.    When it -- yes, only when it's in                           12:16:09

   22    host mode, yes.                                                        12:16:11

   23         Q.    And all these components are                                12:16:13

   24    identified at the top as the "Bridge Device";                          12:16:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 209 of 503 PageID #: 18088

                                      TRIAL - VOLUME 5

                                                                           Page 208

    1    correct?                                                               12:16:18

    2         A.    In Aptiv's summary label, yes.          It                  12:16:18

    3    doesn't change the presence of two USB                                 12:16:23

    4    devices, yes.                                                          12:16:25

    5         Q.    That's the presentation to Aptiv -- I                       12:16:26

    6    mean to, excuse me, Apple; right?                                      12:16:28

    7         A.    Yes.                                                        12:16:31

    8         Q.    Okay.                                                       12:16:32

    9                  MR. SLAYDEN:      Now, can you blow                      12:16:39

   10    back out, Mr. Ferrer, back down on the page.                           12:16:43

   11                  THE WITNESS:      It's also a USB                        12:16:45

   12    device.                                                                12:16:47

   13                  MR. SLAYDEN:      Okay.                                  12:16:47

   14    BY MR. SLAYDEN:                                                        12:16:47

   15         Q.    Look at the first sentence.         That                    12:16:49

   16    says, "The Device controllers in the Bridge                            12:16:56

   17    Device are configured to contain" -- excuse                            12:16:58

   18    me, "Device controllers in the Bridge Device                           12:17:01

   19    are configured to contain all endpoints                                12:17:04

   20    required by CarPlay."                                                  12:17:06

   21                  Do you see that?                                         12:17:08

   22         A.    I do.                                                       12:17:09

   23         Q.    So the USB device controllers are in                        12:17:09

   24    your USB Device A and B; is that correct?                              12:17:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 210 of 503 PageID #: 18089

                                      TRIAL - VOLUME 5

                                                                           Page 209

    1         A.     That's correct.                                            12:17:14

    2         Q.     So you were here for Mr. Zatkovich's                       12:17:21

    3    testimony?                                                             12:17:24

    4         A.     I was.                                                     12:17:25

    5         Q.     That's consistent with what Mr.                            12:17:26

    6    Zatkovich testified; correct?                                          12:17:30

    7         A.     Well, yes and no.      I mean, it says                     12:17:32

    8    that, but it's not technically correct.                                12:17:36

    9         Q.     So this is Delphi and Unwired                              12:17:41

   10    together making a presentation to Apple.            It's               12:17:44

   11    probably pretty important, wouldn't you think?                         12:17:47

   12         A.     It's important, but I don't know what                      12:17:49

   13    the voiceover was for these.         These are                         12:17:50

   14    particularly reference slides that you talk                            12:17:53

   15    over.     If it was an engineering discussion,                         12:17:55

   16    they would disclose the additional detail as                           12:17:57

   17    we've been talking about.                                              12:17:59

   18                   Sorry, I'm going too fast.                              12:18:01

   19                   MR. SLAYDEN:     Can you go back to                     12:18:03

   20    page 4, Mr. Ferrer.                                                    12:18:05

   21    BY MR. SLAYDEN:                                                        12:18:07

   22         Q.     That's the diagram you used --                             12:18:07

   23         A.     Correct.                                                   12:18:11

   24         Q.     -- to support your non-infringement                        12:18:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 211 of 503 PageID #: 18090

                                       TRIAL - VOLUME 5

                                                                            Page 210

    1    theory; correct?                                                        12:18:13

    2           A.   Among -- among others.                                      12:18:14

    3           Q.   And that's less technical than what I                       12:18:16

    4    just showed you; wouldn't you agree?                                    12:18:19

    5           A.   It is, but I also showed you more                           12:18:20

    6    technical ones.                                                         12:18:22

    7           Q.   And that was Exhibit 7?                                     12:18:23

    8           A.   I don't -- no, there was another one                        12:18:25

    9    that showed the physical information about                              12:18:27

   10    this thing called C USB 2 which is the IP                               12:18:32

   11    block that AyDeeKay used in the actual                                  12:18:36

   12    implementation.                                                         12:18:39

   13           Q.   And Exhibit 7 included the -- well,                         12:18:40

   14    you didn't have it because you had black and                            12:18:42

   15    white, but Exhibit 7 included the seven                                 12:18:44

   16    components in red; right?                                               12:18:46

   17           A.   It included seven components in red,                        12:18:47

   18    yes.                                                                    12:18:49

   19           Q.   And they were the same components                           12:18:49

   20    listed here.                                                            12:18:51

   21                   MR. SLAYDEN:      Go back to the                         12:18:54

   22    diagram at the end, Mr. Ferrer.                                         12:18:55

   23    BY MR. SLAYDEN:                                                         12:19:01

   24           Q.   Those are the same components we                            12:19:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 212 of 503 PageID #: 18091

                                       TRIAL - VOLUME 5

                                                                            Page 211

    1    identified; there's the UDCs are in there, the                          12:19:03

    2    FIFOs are in there, the controller's in there?                          12:19:09

    3           A.   Sure.   And this is also a different                        12:19:11

    4    slice through the information presented to                              12:19:13

    5    Apple, but the more detailed figures, I have                            12:19:16

    6    presented some slightly different information,                          12:19:19

    7    yes.                                                                    12:19:21

    8           Q.   Okay.                                                       12:19:21

    9                   MR. SLAYDEN:      Let's go to Slide 15                   12:19:25

   10    in the last deck.                                                       12:19:27

   11    BY MR. SLAYDEN:                                                         12:19:37

   12           Q.   Now, you're familiar with these two                         12:19:37

   13    figures; right?                                                         12:19:39

   14           A.   I am.                                                       12:19:39

   15           Q.   Are you too familiar?                                       12:19:41

   16           A.   Way too familiar.                                           12:19:42

   17           Q.   Retirement is coming soon.                                  12:19:44

   18           A.   I am certainly hoping.                                      12:19:45

   19           Q.   Me, too.                                                    12:19:47

   20                   Now, I'd like to make sure that                          12:19:48

   21    the jury understands how these two figures                              12:19:53

   22    relate, and they do relate; right?                                      12:19:56

   23           A.   They do, but there is a better figure                       12:19:58

   24    for the one on the left, but keep going.                                12:20:01


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                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 213 of 503 PageID #: 18092

                                     TRIAL - VOLUME 5

                                                                          Page 212

    1         Q.   Which one is a better figure?                               12:20:03

    2         A.   One of the ones I used that showed                          12:20:05

    3    the USB devices with the endpoints included in                        12:20:07

    4    them.                                                                 12:20:10

    5         Q.   Okay.                                                       12:20:11

    6                  Well, you testified yesterday that                      12:20:15

    7    UDC_US, that's the upstream UDC in Exhibit 7,                         12:20:17

    8    corresponds to USB Device A in the Figure 12                          12:20:23

    9    of Exhibit 17; correct?                                               12:20:29

   10         A.   I would have to go back and look, but                       12:20:31

   11    it also includes the endpoint buffers as we                           12:20:33

   12    talked about.                                                         12:20:36

   13                  MR. SLAYDEN:     Can you go to the                      12:20:46

   14    next slide, Mr. Ferrer.                                               12:20:47

   15    BY MR. SLAYDEN:                                                       12:20:53

   16         Q.   Is that correct?                                            12:20:53

   17         A.   It also includes the endpoint buffers                       12:20:54

   18    for -- the USB Device A includes the device                           12:20:57

   19    controller plus the endpoint buffers, because                         12:21:00

   20    that's what the device controller actually is,                        12:21:03

   21    according to the information that Aptiv                               12:21:04

   22    published.                                                            12:21:06

   23                  There's also, I mean, source code                       12:21:12

   24    that we talked about, so there's some other                           12:21:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 214 of 503 PageID #: 18093

                                     TRIAL - VOLUME 5

                                                                          Page 213

    1    pieces.                                                               12:21:16

    2                  MR. SLAYDEN:     Okay.    Can we go to                  12:21:20

    3    the deposition, Volume 4.                                             12:21:22

    4                  We will go with the testimony from                      12:21:46

    5    yesterday.    It's at 1516, line 11.        I'm sorry.                12:21:48

    6                  (Brief pause.)                                          12:22:36

    7                  MR. SLAYDEN:     My apologies.                          12:22:41

    8    Sorry, it takes... 1516, you might have gone                          12:22:43

    9    past it, line 11.     Yeah, pull that up.                             12:22:51

   10    Line 11 through, I'm sorry, 14.                                       12:23:07

   11    BY MR. SLAYDEN:                                                       12:23:13

   12         Q.   So this is your testimony.                                  12:23:14

   13         A.   Yep.    I mean, as I mentioned                              12:23:17

   14    extensively, there is Device A is UDC_US plus                         12:23:20

   15    FIFOs and plus other source code we've talked                         12:23:24

   16    about.                                                                12:23:27

   17         Q.   Okay.                                                       12:23:28

   18                  And likewise, didn't you testify                        12:23:37

   19    yesterday that USB --                                                 12:23:39

   20         A.   I'm sorry, can you start over?          I                   12:23:40

   21    didn't hear the first part of that.                                   12:23:42

   22         Q.   I said, likewise yesterday, you                             12:23:44

   23    testified that UDC_DS, the downstream, that's                         12:23:46

   24    the iPhone side; correct?                                             12:23:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 215 of 503 PageID #: 18094

                                      TRIAL - VOLUME 5

                                                                          Page 214

    1         A.     Correct.                                                  12:23:52

    2         Q.     And you testified that that was USB                       12:23:53

    3    Device B on page 12 in Exhibit 17.                                    12:23:59

    4                   MR. SLAYDEN:     And that's at                         12:24:06

    5    15:16:26, if you go back out.        19 through 22.                   12:24:14

    6    BY MR. SLAYDEN:                                                       12:24:29

    7         Q.     So yesterday, you testified that                          12:24:30

    8    Device B is the downstream port, UDC_DS, or                           12:24:33

    9    again, USB device controller downstream, and                          12:24:38

   10    that's the iPhone's device; correct?                                  12:24:40

   11         A.     I guess we talked about extensively                       12:24:41

   12    that Device B is the controller plus endpoint                         12:24:45

   13    plus source code.                                                     12:24:49

   14         Q.     You didn't say that yesterday.                            12:24:50

   15         A.     It's hard to provide all the detail                       12:24:51

   16    in a simple yes.                                                      12:24:53

   17         Q.     Okay.                                                     12:24:54

   18                   THE COURT:     Is there an objection?                  12:24:56

   19                   MR. SAULSBURY:     It's okay.                          12:24:57

   20                   THE COURT:     I wasn't sure.     I                    12:24:59

   21    couldn't hear it.                                                     12:25:01

   22                   MR. SLAYDEN:     Can we move back to                   12:25:02

   23    Slide 15?     That's fine.                                            12:25:03

   24    BY MR. SLAYDEN:                                                       12:25:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 216 of 503 PageID #: 18095

                                       TRIAL - VOLUME 5

                                                                            Page 215

    1           Q.    Now, Mr. Garney, you'd agree with me                       12:25:14

    2    that there is something you previously called                           12:25:18

    3    bridge transfer logic in the Boston chip;                               12:25:21

    4    correct?                                                                12:25:23

    5           A.    I would have to see, but possibly,                         12:25:25

    6    yes.                                                                    12:25:27

    7                    MR. SLAYDEN:     Can we go to the                       12:25:29

    8    deposition transcript, please.           Page 494.                      12:25:29

    9                    MR. SAULSBURY:      Objection, Your                     12:25:36

   10    Honor.      This is improper impeachment.                               12:25:51

   11                    THE COURT:     All right.     I agree.                  12:25:54

   12                    It's not -- so if you have                              12:25:55

   13    something to impeach him with, Mr. Slayden, I                           12:26:00

   14    guess you can, but we are not going to                                  12:26:03

   15    reiterate what we did yesterday.                                        12:26:04

   16                    MR. SLAYDEN:     Okay.                                  12:26:06

   17    BY MR. SLAYDEN:                                                         12:26:06

   18           Q.    Do you recall previously testifying                        12:26:07

   19    that the Boston 2 chip included bridge                                  12:26:08

   20    transfer logic?                                                         12:26:12

   21           A.    I don't recall sitting here now, but                       12:26:13

   22    could be.                                                               12:26:15

   23           Q.    Yes or no?                                                 12:26:21

   24           A.    I don't have a photographic memory,                        12:26:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 217 of 503 PageID #: 18096

                                     TRIAL - VOLUME 5

                                                                          Page 216

    1    so I don't know.     I'm not sure of that                             12:26:23

    2    particular phrase.     It sounds familiar, but...                     12:26:26

    3         Q.   And did you -- do you remember                              12:26:30

    4    testifying that the bridge transfer logic is                          12:26:32

    5    part of the device as manufactured?                                   12:26:36

    6         A.   Part of the hub-to-hub -- part of the                       12:26:40

    7    Boston 2 chip?                                                        12:26:44

    8         Q.   Yes.                                                        12:26:45

    9         A.   Ask the question again.        Sorry.                       12:26:46

   10         Q.   Do you remember testifying that the                         12:26:48

   11    bridge transfer logic is part of the device,                          12:26:51

   12    the Boston 2 chip, as manufactured?                                   12:26:54

   13         A.   I mean, there is a lot of pieces in                         12:26:58

   14    there to unpack, so I'm not sure how to answer                        12:26:59

   15    that question.     I don't have a photographic                        12:27:02

   16    memory if I said those exact words.                                   12:27:05

   17         Q.   Do you think, if we look at your                            12:27:07

   18    deposition testimony, that would refresh your                         12:27:09

   19    recollection?                                                         12:27:11

   20         A.   I suppose that's one way to do it.                          12:27:11

   21                   MR. SLAYDEN:     Okay.   Can we pull                   12:27:13

   22    up page 494.                                                          12:27:14

   23                   MR. SAULSBURY:     Your Honor --                       12:27:17

   24                   THE COURT:     I'm sorry, is that an                   12:27:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 218 of 503 PageID #: 18097

                                       TRIAL - VOLUME 5

                                                                            Page 217

    1    objection?                                                              12:27:20

    2                   MR. SAULSBURY:        Objection, Your                    12:27:20

    3    Honor.                                                                  12:27:22

    4                   THE COURT:     Yeah.      If you want to                 12:27:22

    5    show him something to refresh his                                       12:27:23

    6    recollection, you can.        We are not going to                       12:27:25

    7    put it in front of the jury to refresh                                  12:27:27

    8    recollection.                                                           12:27:29

    9                   MR. SLAYDEN:      Yes, Your Honor.                       12:27:29

   10    May I approach?                                                         12:27:30

   11                   THE COURT:     Yes.     Go back.    He can               12:27:32

   12    say it either does or doesn't refresh his                               12:27:32

   13    recollection.                                                           12:27:54

   14                   THE WITNESS:      I don't recall                         12:27:54

   15    saying that, but it appears to be in my                                 12:27:55

   16    deposition transcript.                                                  12:27:57

   17                   MR. SLAYDEN:      Okay.     Excuse me.                   12:28:00

   18                   (Brief pause.)                                           12:28:25

   19    BY MR. SLAYDEN:                                                         12:28:36

   20           Q.   And do you remember testifying that                         12:28:37

   21    the transfer logic was developed specifically                           12:28:40

   22    for Aptiv?                                                              12:28:43

   23           A.   I don't remember that sitting here                          12:28:44

   24    now.                                                                    12:28:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 219 of 503 PageID #: 18098

                                     TRIAL - VOLUME 5

                                                                          Page 218

    1         Q.   If I showed you something, might it                         12:28:48

    2    refresh your recollection?                                            12:28:49

    3         A.   You could try.      It's been a long                        12:28:51

    4    case.                                                                 12:28:53

    5                   It doesn't refresh my memory.         I'm              12:29:09

    6    sorry.                                                                12:29:11

    7         Q.   "Do you remember testifying that" --                        12:29:34

    8    I'm fearful you don't; I'm not having much                            12:29:38

    9    luck -- "that bridge transfer logic is                                12:29:43

   10    permanently wired to each of the UDC blocks                           12:29:45

   11    shown in Exhibit 7, the figure on the                                 12:29:49

   12    left-hand side?"                                                      12:29:51

   13                   MR. SLAYDEN:     Do we have Figure 7?                  12:29:54

   14                   MR. SAULSBURY:     Mr. Slayden, where                  12:29:59

   15    are you reading from?                                                 12:30:01

   16                   MR. SLAYDEN:     The deposition.                       12:30:02

   17                   MR. SAULSBURY:     Okay.   Page and                    12:30:03

   18    line number?                                                          12:30:05

   19                   MR. SLAYDEN:     494, lines 14 to 19.                  12:30:06

   20    BY MR. SLAYDEN:                                                       12:30:11

   21         Q.   And the question is, "Do you remember                       12:30:11

   22    testifying that that bridge transfer logic is                         12:30:14

   23    permanently wired to each of the UDC blocks                           12:30:17

   24    shown in Exhibit 7, the figure on the left,"                          12:30:20


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 220 of 503 PageID #: 18099

                                      TRIAL - VOLUME 5

                                                                           Page 219

    1    here at Slide 15?                                                      12:30:24

    2         A.    I don't remember that specific                              12:30:25

    3    testimony.     I know there are connections,                           12:30:26

    4    but...                                                                 12:30:30

    5         Q.    So you think -- you don't remember                          12:30:30

    6    testifying about the permanent wiring from the                         12:30:33

    7    transfer logic?                                                        12:30:35

    8                   MR. SAULSBURY:      Objection, Your                     12:30:36

    9    Honor.                                                                 12:30:37

   10                   THE COURT:     Sustained.                               12:30:37

   11                   MR. SLAYDEN:     Let me show you that                   12:30:43

   12    excerpt from your deposition and see if that                           12:30:44

   13    refreshes your recollection.                                           12:30:46

   14                   MR. SAULSBURY:      Your Honor, can we                  12:31:04

   15    have a sidebar, please?                                                12:31:05

   16                   THE COURT:     Yeah.                                    12:31:06

   17                   (Whereupon, a discussion was held                       12:31:06

   18    at sidebar as follows:                                                 12:31:06

   19                   MR. SAULSBURY:      When he is                          12:33:24

   20    refreshing, he needs to let us know the                                12:33:24

   21    excerpt.     He can't just -- he is showing him                        12:33:24

   22    the two-line excerpt and that doesn't provide                          12:33:24

   23    the necessary context to refresh his                                   12:33:24

   24    testimony.                                                             12:33:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 221 of 503 PageID #: 18100

                                     TRIAL - VOLUME 5

                                                                          Page 220

    1                   THE COURT:     Well, I mean, if the                    12:33:24

    2    witness can -- look, I think the witness can                          12:33:24

    3    look and see and if he needs more context and                         12:33:24

    4    then he can ask for it.                                               12:33:24

    5                   I will say that I am concerned,                        12:33:24

    6    Mr. Slayden.     You can't start out by repeating                     12:33:24

    7    language from the deposition --                                       12:33:24

    8                   MR. SLAYDEN:     Yes, Your Honor.                      12:33:24

    9                   THE COURT:     -- and then ask him to                  12:33:24

   10    either adopt it or not adopt it and then hand                         12:33:24

   11    him the transcript, because you've already let                        12:33:24

   12    the cat out of the bag; right?                                        12:33:24

   13                   You can ask him the question that                      12:33:24

   14    captures the phraseology that was asked at the                        12:33:24

   15    deposition.     If he says "I don't know" or "I                       12:33:24

   16    don't remember," show him the stuff and see if                        12:33:24

   17    it refreshes his recollection.          You shouldn't                 12:33:24

   18    represent to the jury what it is.                                     12:33:24

   19                   MR. SLAYDEN:     Okay.    Yes, Your                    12:33:24

   20    Honor.                                                                12:33:24

   21                   THE COURT:     Just hand it to him                     12:33:24

   22    and say, does this refresh your recollection,                         12:33:24

   23    and he can say yes or no.        And if he says no,                   12:33:24

   24    I'm not sure what this is, that's fine.                               12:33:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 222 of 503 PageID #: 18101

                                     TRIAL - VOLUME 5

                                                                          Page 221

    1                   You know, the problem with giving                      12:33:25

    2    him the transcript, frankly, is it obviates                           12:33:25

    3    that because then you have to point him to                            12:33:25

    4    something.                                                            12:33:25

    5                   MR. SAULSBURY:     Well, the problem                   12:33:25

    6    we are having is there's implicit                                     12:33:25

    7    representations.                                                      12:33:25

    8                   THE COURT:     I agree.     That's what                12:33:25

    9    I am trying to stop.                                                  12:33:25

   10                   And so it should be, you know, you                     12:33:25

   11    can ask him the question that is paraphrased                          12:33:25

   12    or even the direct quote from the deposition.                         12:33:25

   13                   MR. SLAYDEN:     Okay.                                 12:33:25

   14                   THE COURT:     You can't attribute it                  12:33:25

   15    to the deposition.                                                    12:33:25

   16                   MR. SLAYDEN:     Yes, Your Honor.                      12:33:25

   17                   THE COURT:     Are we close to a                       12:33:25

   18    lunch break?     I can do it now, but if you've                       12:33:25

   19    got a few more questions...                                           12:33:25

   20                   MR. SLAYDEN:     I've got a few more                   12:33:25

   21    questions.                                                            12:33:25

   22                   THE COURT:     All right.     Let's try                12:33:25

   23    to be done within 10 minutes.           When you get to               12:33:25

   24    a break, let me know.                                                 12:33:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 223 of 503 PageID #: 18102

                                       TRIAL - VOLUME 5

                                                                            Page 222

    1                   MR. SLAYDEN:      Okay.    All right.                    12:33:29

    2                   (Whereupon, the discussion at                            12:33:29

    3    sidebar concluded.)                                                     12:33:29

    4    BY MR. SLAYDEN:                                                         12:33:29

    5           Q.   Switching gears a little bit,                               12:33:44

    6    yesterday you testified about arbitration.                              12:33:47

    7                   Do you remember that?                                    12:33:53

    8           A.   I believe I do.                                             12:33:54

    9           Q.   And when you testified about                                12:33:56

   10    arbitration, you said --                                                12:33:57

   11           A.   I'm having a little hard time hearing                       12:33:59

   12    you.                                                                    12:34:01

   13           Q.   I'm sorry.     I'm getting hoarse.                          12:34:01

   14           A.   I understand.                                               12:34:06

   15           Q.   When you testified about arbitration,                       12:34:06

   16    you said "because words matter," didn't you?                            12:34:08

   17           A.   I did most likely.       I don't remember                   12:34:12

   18    perfectly, but I believe I said that                                    12:34:14

   19    somewhere, yes.                                                         12:34:16

   20           Q.   Okay.                                                       12:34:17

   21                   And my question is, in a patent                          12:34:20

   22    case, with patent claims, words really matter,                          12:34:22

   23    don't they?                                                             12:34:27

   24           A.   They do.                                                    12:34:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 224 of 503 PageID #: 18103

                                         TRIAL - VOLUME 5

                                                                              Page 223

    1           Q.      And in claims 23 through 25, you                           12:34:29

    2    would agree with me that the word -- the                                  12:34:36

    3    little word "arbitrate" does not exist?                                   12:34:38

    4           A.      That's correct.                                            12:34:41

    5           Q.      And you would agree with me that the                       12:34:42

    6    little word "arbitrate" doesn't exist in a                                12:34:44

    7    claim construction this Court has issued;                                 12:34:46

    8    correct?                                                                  12:34:49

    9           A.      I believe that's correct.                                  12:34:49

   10                      MR. SLAYDEN:     Okay.     No further                   12:34:51

   11    questions, Your Honor.                                                    12:34:52

   12                      THE COURT:     Okay.     Why don't we                   12:34:53

   13    use that as a point for a lunch break then.                               12:34:56

   14    So plan on -- is 30 minutes enough for all of                             12:34:58

   15    you?        I want to make sure I'm not                                   12:35:08

   16    shortchanging you for lunch.             Yeah?   Okay.    So              12:35:10

   17    let's plan to be back at five after 1.               Okay.                12:35:13

   18                      (Whereupon, the jury was excused                        12:35:17

   19    from the courtroom.)                                                      12:35:20

   20                      THE COURT:     You can step down, Mr.                   12:35:38

   21    Garney.                                                                   12:35:40

   22                      I assume there is redirect?                             12:35:40

   23                      MS. DURIE:     There will be, but                       12:35:42

   24    there is an issue that we want to take up with                            12:35:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 225 of 503 PageID #: 18104

                                      TRIAL - VOLUME 5

                                                                           Page 224

    1    the Court.                                                             12:35:45

    2                   THE COURT:     That's fine.     I just                  12:35:46

    3    wanted to know whether he should take the                              12:35:47

    4    binders or leave the binders.                                          12:35:48

    5                   MS. DURIE:     Leave the binders, but                   12:35:50

    6    if you could, Mr. Garney, grab the physical                            12:35:51

    7    Belkin board and chips and bring those.                                12:35:54

    8                   THE WITNESS:     You want both or                       12:35:57

    9    just Belkin?                                                           12:35:58

   10                   MS. DURIE:     Belkin, not that --                      12:35:59

   11    yeah, that, bring those.        Thank you.                             12:36:02

   12                   Your Honor, the issue is this.                          12:36:04

   13    During the examination, there was displayed a                          12:36:07

   14    photograph that purported to show certain                              12:36:11

   15    numbers.     We have taken a look at the -- what                       12:36:15

   16    we have as the highest resolution copy of the                          12:36:18

   17    photograph that was produced.         We can't see                     12:36:22

   18    those numbers.                                                         12:36:24

   19                   We have asked counsel for a copy                        12:36:25

   20    of the demonstrative that they used that                               12:36:27

   21    purported to have those numbers on it.            They                 12:36:31

   22    have refused to provide it to us.          We would                    12:36:33

   23    like to see it because we have not seen those                          12:36:35

   24    numbers, we cannot verify that they are there.                         12:36:38


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 226 of 503 PageID #: 18105

                                     TRIAL - VOLUME 5

                                                                          Page 225

    1    We would like to see it and understand where                          12:36:41

    2    that came from.     I am not making an                                12:36:43

    3    accusation, but we'd like to see it.                                  12:36:46

    4                  THE COURT:     Okay.                                    12:36:47

    5                  Mr. Banner?                                             12:36:48

    6                  MR. BANNER:     Your Honor, we are                      12:36:49

    7    happy to provide you with them now.          I wasn't                 12:36:50

    8    going to provide them with our                                        12:36:53

    9    cross-examination slides during the                                   12:36:54

   10    cross-examination, but now that it's over,                            12:36:56

   11    we're happy to --                                                     12:36:57

   12                  THE COURT:     Give them the slides.                    12:36:59

   13                  MS. DURIE:     Can we understand                        12:37:00

   14    where they came from?                                                 12:37:01

   15                  MR. SLAYDEN:     On the first device.                   12:37:02

   16                  THE COURT:     Look, give them the                      12:37:05

   17    slides and you all talk about it over lunch,                          12:37:06

   18    and when I come back, if there is an issue, I                         12:37:08

   19    don't know what you are going to find when you                        12:37:11

   20    look at the slides.                                                   12:37:12

   21                  MS. DURIE:     Understood.                              12:37:13

   22                  THE COURT:     So look at them, have                    12:37:14

   23    a conversation.     If there is an issue I need                       12:37:15

   24    to take up, I will.      I just don't know.       Okay.               12:37:17


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 227 of 503 PageID #: 18106

                                     TRIAL - VOLUME 5

                                                                          Page 226

    1                  MS. DURIE:     Understood, Your                         12:37:19

    2    Honor.                                                                12:37:20

    3                  MR. SLAYDEN:     And they are                           12:37:20

    4    actually photographs that Mr. Garney took.                            12:37:21

    5                  THE COURT:     And again, I don't                       12:37:23

    6    know.    I am not going to resolve that now.          So              12:37:24

    7    let's take lunch and then we'll come back.                            12:37:27

    8    All right?                                                            12:37:30

    9                  (Whereupon, a luncheon recess was                       12:37:31

   10    taken at 12:37 p.m.)                                                  12:37:33

   11                  (Whereupon, the Court resumed                           13:07:51

   12    proceedings at 1:08 p.m.)                                             13:07:54

   13                  THE COURT CLERK:      All rise.                         13:08:17

   14                  THE COURT:     I gather there are a                     13:08:23

   15    couple issues to tackle?                                              13:08:25

   16                  MS. DURIE:     There are.                               13:08:26

   17                  THE COURT:     All right.                               13:08:28

   18                  MS. DURIE:     What I understand, and                   13:08:31

   19    counsel can correct me if I am wrong, is that                         13:08:32

   20    the photograph that was shown to the witness                          13:08:34

   21    is not a photograph that was ever produced in                         13:08:36

   22    discovery.    It is, they claim, a photograph                         13:08:39

   23    that they took of the insides of the device                           13:08:44

   24    that their expert took at some point in the                           13:08:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 228 of 503 PageID #: 18107

                                      TRIAL - VOLUME 5

                                                                           Page 227

    1    course of an inspection.        It was not produced.                   13:08:50

    2    We can't verify what it is.                                            13:08:54

    3                  We have disassembled the two                             13:09:00

    4    devices that you can actually see, taken the                           13:09:03

    5    cover off.    You can actually see the ports.                          13:09:05

    6    And it is possible to take high resolution of                          13:09:09

    7    these photographs of these things and try to                           13:09:14

    8    figure out what's there, but that was not                              13:09:16

    9    something that had ever been produced.                                 13:09:18

   10                  There was a photograph produced                          13:09:21

   11    and we have been squinting at it.          It's low                    13:09:23

   12    resolution and there's no way to see those                             13:09:26

   13    numbers.                                                               13:09:29

   14                  MR. RUSSELL:      Your Honor, can I                      13:09:29

   15    respond?                                                               13:09:30

   16                  THE COURT:     Yes.     I thought before                 13:09:31

   17    the break, maybe there was some confusion,                             13:09:32

   18    that Mr. Banner had taken the photo?                                   13:09:35

   19                  MR. RUSSELL:      Right.    There was                    13:09:36

   20    some confusion.      So there are a number of                          13:09:37

   21    photographs on our slides.          Most of them are                   13:09:38

   22    the ones they produced.        This one slide on                       13:09:40

   23    Slide 15 was actually a photograph we took                             13:09:42

   24    during the inspection that I believe replaces                          13:09:44


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 229 of 503 PageID #: 18108

                                     TRIAL - VOLUME 5

                                                                          Page 228

    1    their office's -- oh, so it's being used for                          13:09:50

    2    demonstrative purposes.        There is no dispute                    13:09:55

    3    that it accurately represents --                                      13:09:57

    4                   MS. DURIE:     Well --                                 13:09:58

    5                   THE COURT:     Wait, wait, wait,                       13:09:58

    6    wait, wait.     Let's start with a few things.                        13:10:00

    7    Was the photograph ever produced in discovery?                        13:10:05

    8                   MR. RUSSELL:     It was not produced                   13:10:09

    9    in discovery.                                                         13:10:10

   10                   THE COURT:     Why not?     Was there                  13:10:11

   11    just an oversight, some objection to producing                        13:10:12

   12    it?                                                                   13:10:15

   13                   MR. RUSSELL:     So we were treating                   13:10:15

   14    it as a record of the physical exhibit.                               13:10:17

   15                   THE COURT:     Okay.     All right.                    13:10:19

   16                   So I guess my problem is, it's                         13:10:21

   17    not -- it wasn't just for demonstrative                               13:10:30

   18    purposes.     You put it up on the screen, put it                     13:10:32

   19    in front of the jury, you represented its                             13:10:36

   20    contents to the jury.       Nobody has gotten up                      13:10:38

   21    and authenticated it and said it is a true and                        13:10:42

   22    correct copy of a photograph that was taken or                        13:10:44

   23    something else that you would have to do to                           13:10:46

   24    put a photo into evidence.        You can't just put                  13:10:48


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 230 of 503 PageID #: 18109

                                      TRIAL - VOLUME 5

                                                                           Page 229

    1    things in front of the jury that aren't                                13:10:50

    2    evidence; right?                                                       13:10:52

    3                  MR. RUSSELL:      That's true, Your                      13:10:55

    4    Honor.                                                                 13:10:56

    5                  THE COURT:     Okay.    So who took the                  13:10:56

    6    picture?                                                               13:11:03

    7                  MR. RUSSELL:      Mr. Banner took the                    13:11:04

    8    picture during the inspection.                                         13:11:06

    9                  THE COURT:     Right.     But I assume                   13:11:09

   10    it has been enhanced electronically.                                   13:11:12

   11                  MR. RUSSELL:      Repeat that, Your                      13:11:14

   12    Honor.                                                                 13:11:16

   13                  THE COURT:     Is that the actual                        13:11:16

   14    picture?    Was it enhanced?                                           13:11:17

   15                  MR. RUSSELL:      My understanding is                    13:11:19

   16    it's the actual picture, and the only                                  13:11:21

   17    enhancement, so to speak, is that they took                            13:11:23

   18    the thermal resolution photo and did some                              13:11:25

   19    graphics so that you could see the focus of                            13:11:29

   20    the background, which is the circuitry of the                          13:11:34

   21    device, with the normal resolution version of                          13:11:36

   22    the numbers called out.                                                13:11:39

   23                  THE COURT:     Okay.                                     13:11:41

   24                  So that's not the actual picture.                        13:11:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 231 of 503 PageID #: 18110

                                     TRIAL - VOLUME 5

                                                                          Page 230

    1    I mean, you described it minimally, but it's                          13:11:43

    2    somehow altered electronically.         Okay.                         13:11:48

    3                   Let me see the devices, if I                           13:11:54

    4    could.                                                                13:11:58

    5                   MS. DURIE:     I'll --                                 13:11:58

    6                   MR. RUSSELL:     I got it.    So the                   13:11:59

    7    only relevant device is the Belkin because the                        13:12:01

    8    photo of this device were photos that were                            13:12:04

    9    exchanged during discovery.                                           13:12:07

   10                   THE COURT:     Okay.                                   13:12:09

   11                   Is that right, Ms. Durie?                              13:12:10

   12                   MS. DURIE:     I am -- as far as I                     13:12:12

   13    know, that's right.      I am having to accept                        13:12:14

   14    their word for that, but I don't have a reason                        13:12:22

   15    to disagree.                                                          13:12:25

   16                   THE COURT:     And the callout that                    13:12:31

   17    you had was from the silver chip that, if I                           13:12:33

   18    had the USB port at the bottom, it was looking                        13:12:37

   19    at the disassembled version of Exhibit 367.                           13:12:41

   20                   The callout that you had was of                        13:12:44

   21    the silver chip that is sort of the top left;                         13:12:47

   22    is that correct?     I mean, you had one of the                       13:12:52

   23    mother board, of the board itself, of the                             13:13:00

   24    wafer board and you had one of the chip;                              13:13:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 232 of 503 PageID #: 18111

                                     TRIAL - VOLUME 5

                                                                          Page 231

    1    right?                                                                13:13:05

    2                  MR. RUSSELL:     I'm sorry, Your                        13:13:06

    3    Honor, we just wanted to get the slide up so                          13:13:07

    4    we can --                                                             13:13:10

    5                  THE COURT:     Make sure we are                         13:13:10

    6    looking at the same thing.          Okay.                             13:13:11

    7                  MR. RUSSELL:     Can you repeat your                    13:13:14

    8    question, Your Honor?                                                 13:13:16

    9                  THE COURT:     I just want to make                      13:13:16

   10    sure that is the chip I am looking at when you                        13:13:17

   11    are calling out --                                                    13:13:20

   12                  MR. BANNER:     It's being called up                    13:13:21

   13    there on the left below the silver ones.                              13:13:23

   14                  THE COURT:     I see.                                   13:13:25

   15                  So this is this little black one                        13:13:26

   16    and it is the fourth one up of the four                               13:13:28

   17    staggered black ones.       Okay.                                     13:13:32

   18                  So what you have there is                               13:13:36

   19    certainly not visible to the naked eye.           Yeah,               13:13:41

   20    I mean, I am concerned about the fact -- I                            13:13:54

   21    mean, I assume you could authenticate this;                           13:13:59

   22    right?                                                                13:14:02

   23                  MR. RUSSELL:     Absolutely, Your                       13:14:02

   24    Honor.                                                                13:14:04


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 233 of 503 PageID #: 18112

                                     TRIAL - VOLUME 5

                                                                          Page 232

    1                  THE COURT:     But I'm concerned                        13:14:04

    2    about the fact that this wasn't produced.                             13:14:05

    3                  MR. RUSSELL:     I'll be completely                     13:14:06

    4    honest.   When we put the photos up, we thought                       13:14:08

    5    they were the ones that Dr. Levy had produced.                        13:14:11

    6    And we investigated over the lunch break and                          13:14:13

    7    we realized there was a mixup, and this was                           13:14:15

    8    the one from the inspection rather than                               13:14:18

    9    production.                                                           13:14:19

   10                  THE COURT:     So when you went                         13:14:19

   11    through your evidence for trial, you knew you                         13:14:20

   12    had this picture.     I mean, you can't tell me                       13:14:22

   13    that this isn't -- you are not using this as                          13:14:27

   14    substantive evidence to rebut the invalidity                          13:14:29

   15    claim; right?                                                         13:14:32

   16                  MR. RUSSELL:     Well, I am not                         13:14:34

   17    arguing with Your Honor.       What we are doing is                   13:14:36

   18    trying to show the jury what's on that                                13:14:38

   19    physical device, and we attempted this for                            13:14:40

   20    demonstrative purposes, to illustrate what's                          13:14:43

   21    on the physical device.                                               13:14:44

   22                  THE COURT:     But -- okay.     If you                  13:14:46

   23    had taken a picture, I think, of something                            13:14:49

   24    that is visible to the naked eye and you said                         13:14:52


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 234 of 503 PageID #: 18113

                                      TRIAL - VOLUME 5

                                                                          Page 233

    1    to the jury, look, we have taken a picture, we                        13:14:56

    2    have honed in on it.        When you take it to the                   13:15:00

    3    back, if you want to look at it and verify for                        13:15:02

    4    yourself that that's what it says, you can,                           13:15:05

    5    that's fine.     Okay.                                                13:15:07

    6                   That's not what this is.       You                     13:15:08

    7    cannot look at this with the naked eye.             I                 13:15:11

    8    mean, I don't know if you could -- I don't                            13:15:18

    9    have one -- with a magnifying glass.          I think                 13:15:20

   10    you would probably need a pretty powerful                             13:15:23

   11    magnifying glass, given what I am seeing.                             13:15:27

   12                   But, so it's not just to show the                      13:15:30

   13    jury what's visible on the exhibit submitted                          13:15:35

   14    into evidence in that sense.        It is, in that                    13:15:38

   15    sense, something different.                                           13:15:40

   16                   And so, you know, I am concerned                       13:15:46

   17    in that sense -- I mean, look, there's two                            13:15:50

   18    pieces to this, okay?        And I didn't get an                      13:15:52

   19    objection right off; right?        I am not -- I'm                    13:15:58

   20    just saying you were trying to look into this.                        13:16:00

   21    And so I'm saying that's why I didn't say                             13:16:02

   22    anything about the fact that it was up,                               13:16:04

   23    despite not being in evidence.                                        13:16:05

   24                   MS. DURIE:     I understand.                           13:16:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 235 of 503 PageID #: 18114

                                      TRIAL - VOLUME 5

                                                                           Page 234

    1                  THE COURT:     At any rate and to                        13:16:10

    2    their point, if it was, in fact, visible to                            13:16:11

    3    the naked eye, then that's something                                   13:16:14

    4    different.                                                             13:16:16

    5                  MS. DURIE:     That would be                             13:16:16

    6    different.                                                             13:16:17

    7                  THE COURT:     Yes.                                      13:16:17

    8                  MS. DURIE:     And I will say, I                         13:16:17

    9    assumed that it was something that had been                            13:16:19

   10    produced in discovery.                                                 13:16:22

   11                  THE COURT:     Understood.      And I                    13:16:23

   12    understand why.      Okay.                                             13:16:25

   13                  All right.                                               13:16:32

   14                  MR. RUSSELL:      Your Honor, it may                     13:16:34

   15    be that it's a lighting issue and that if we                           13:16:36

   16    had more light such as on the Elmo or with a                           13:16:39

   17    phone flashlight even, the number would be                             13:16:43

   18    visible.                                                               13:16:45

   19                  THE COURT:     I doubt it.                               13:16:46

   20                  MR. RUSSELL:      We didn't use a                        13:16:48

   21    special camera or anything, to my knowledge,                           13:16:49

   22    to draw this out.      It was really just meant to                     13:16:51

   23    represent the physical device that the jury                            13:16:54

   24    would have possession of, as you mentioned.                            13:16:57


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 236 of 503 PageID #: 18115

                                     TRIAL - VOLUME 5

                                                                          Page 235

    1                  THE COURT:     Well, I don't have                       13:16:59

    2    my -- I don't have my phone to have an                                13:17:01

    3    external flashlight.                                                  13:17:04

    4                  MR. BANNER:     Your Honor --                           13:17:06

    5                  THE COURT:     It's okay.     I have                    13:17:08

    6    one.                                                                  13:17:09

    7                  MR. BANNER:     You got it.     Okay.                   13:17:09

    8                  THE COURT:     All right.                               13:17:23

    9                  (Brief pause.)                                          13:18:00

   10                  THE COURT:     All right.     I mean, so                13:18:30

   11    if I take my iPad and zoom all the way in with                        13:18:35

   12    the zoom feature on the camera and I know what                        13:18:41

   13    I am looking for, I can find it, okay?           It's                 13:18:46

   14    not obvious, but it is discoverable.                                  13:18:52

   15                  Okay.                                                   13:19:00

   16                  MR. RUSSELL:     And, Your Honor, I                     13:19:02

   17    think we'd be comfortable with -- it is                               13:19:04

   18    important to the jury that they should rely on                        13:19:06

   19    the physical exhibit rather than what was on                          13:19:08

   20    the demonstrative.                                                    13:19:10

   21                  THE COURT:     Well, I mean, you have                   13:19:13

   22    shown them what's on the exhibit -- you've                            13:19:14

   23    shown this to them, right?                                            13:19:17

   24                  MR. RUSSELL:     But --                                 13:19:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 237 of 503 PageID #: 18116

                                      TRIAL - VOLUME 5

                                                                           Page 236

    1                  THE COURT:     You can't --                              13:19:20

    2                  MR. RUSSELL:      -- the point I am                      13:19:22

    3    trying to make is that it's just like there                            13:19:23

    4    are various demonstratives they have put up                            13:19:27

    5    that are not in evidence.        This is not in                        13:19:28

    6    evidence, and all we are asking the jury to do                         13:19:29

    7    is rely on what's physically on the device                             13:19:31

    8    that they have as an exhibit.                                          13:19:34

    9                  THE COURT:     Ms. Durie, what's your                    13:19:38

   10    thought?                                                               13:19:39

   11                  MS. DURIE:     I don't see how that                      13:19:39

   12    is a solution because of the testimony that                            13:19:41

   13    was elicited and reliant on, I presume, and                            13:19:43

   14    something that was produced during discovery.                          13:19:47

   15                  THE COURT:     I'm sorry.      I missed                  13:19:51

   16    that.                                                                  13:19:52

   17                  MS. DURIE:     In reliance on the                        13:19:52

   18    assumption that this was something that had                            13:19:54

   19    been produced.     It says Exhibit 19, and                             13:19:55

   20    therefore it was, you know, admitted into                              13:19:59

   21    evidence.                                                              13:20:02

   22                  THE COURT:     Wait.    What is it,                      13:20:02

   23    Exhibit 19?     Is that from the deposition?                           13:20:05

   24                  MR. BANNER:      That's the photo on                     13:20:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 238 of 503 PageID #: 18117

                                      TRIAL - VOLUME 5

                                                                           Page 237

    1    the left.                                                              13:20:08

    2                  THE COURT:     The photo on the left                     13:20:09

    3    is Exhibit 19?                                                         13:20:10

    4                  MR. BANNER:      The photo on the left                   13:20:13

    5    is the Exhibit 19.                                                     13:20:14

    6                  MR. RUSSELL:      The photo on the                       13:20:17

    7    right --                                                               13:20:19

    8                  THE COURT:     Wait, wait, wait,                         13:20:19

    9    wait.    I can't have everybody arguing at once.                       13:20:21

   10                  MR. RUSSELL:      Your Honor, can I                      13:20:22

   11    clarify?                                                               13:20:24

   12                  THE COURT:     Just wait.                                13:20:24

   13                  Okay.    So when you say that this                       13:20:33

   14    is -- let me just ask the question.           When you                 13:20:39

   15    say this is Exhibit 19, is this the photograph                         13:20:41

   16    that was on the exhibit list and provided as                           13:20:46

   17    Exhibit 19?                                                            13:20:51

   18                  MR. RUSSELL:      No -- sorry.      Go                   13:20:51

   19    ahead.                                                                 13:20:53

   20                  THE COURT:     Or is it another                          13:20:53

   21    version of that same photo?                                            13:20:54

   22                  MR. RUSSELL:      No, what my                            13:20:56

   23    co-counsel just clarified is that the photo on                         13:20:57

   24    the left is Exhibit 19, the photo on the right                         13:21:00


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 239 of 503 PageID #: 18118

                                      TRIAL - VOLUME 5

                                                                          Page 238

    1    is a callout from a different photo.           It is                  13:21:02

    2    not a callout -- the photo on the right is not                        13:21:05

    3    a callout from the photo on the left.                                 13:21:07

    4                   THE COURT:     And my other question                   13:21:09

    5    for you with respect to the photo on the right                        13:21:10

    6    is, at least when I look at this, and maybe                           13:21:14

    7    it's just a function of how much you've zoomed                        13:21:17

    8    in, but when I at least try to zoom in and                            13:21:21

    9    look at this chip, I don't see the text in                            13:21:24

   10    that sort of grayish font.           Is that something                13:21:31

   11    that's been enhanced, or what's the story                             13:21:34

   12    there?                                                                13:21:37

   13                   MR. BANNER:     I think that was just                  13:21:39

   14    the lighting.                                                         13:21:40

   15                   MR. RUSSELL:     Your Honor, our                       13:21:41

   16    understanding is that that was just the                               13:21:42

   17    lighting.     I don't believe we did any                              13:21:43

   18    enhancement.                                                          13:21:45

   19                   MS. DURIE:     May I make a comment?                   13:21:49

   20                   THE COURT:     Yes.                                    13:21:51

   21                   MS. DURIE:     So on the left, we                      13:21:52

   22    have Exhibit 19, the exhibit that was produced                        13:21:53

   23    in discovery.     That was my understanding from                      13:21:56

   24    Mr. Garney.     That was a photo produced what we                     13:21:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 240 of 503 PageID #: 18119

                                      TRIAL - VOLUME 5

                                                                           Page 239

    1    have on the right.      Although it shows it as                        13:22:03

    2    having been blown up from that photograph, it                          13:22:08

    3    wasn't.                                                                13:22:11

    4                   THE COURT:     Right.                                   13:22:11

    5                   MS. DURIE:     Right?    This is                        13:22:11

    6    something different.        And that yellow arrow                      13:22:13

    7    that appears there, see it under there?                                13:22:15

    8                   THE COURT:     I do.                                    13:22:36

    9                   MS. DURIE:     Which was not in what                    13:22:37

   10    was shown to the witness disappears.                                   13:22:38

   11                   THE COURT:     Okay.                                    13:22:49

   12                   MR. RUSSELL:     If I may, the lines                    13:22:50

   13    towards the image on the left are just, I                              13:22:53

   14    believe, accurately show that this is a                                13:22:56

   15    zoomed-in picture of the physical exhibit.                             13:22:57

   16                   THE COURT:     Well, wait, wait,                        13:22:59

   17    wait, wait, wait.      You're blurring the lines,                      13:23:00

   18    though.     It is not a zoomed-in picture of                           13:23:04

   19    Exhibit 19.                                                            13:23:08

   20                   MR. RUSSELL:     That's true.                           13:23:09

   21                   THE COURT:     Okay.                                    13:23:10

   22                   And so the slide sort of                                13:23:10

   23    suggests -- the slide has been shown to the                            13:23:14

   24    jury.     But the slide certainly suggests that                        13:23:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 241 of 503 PageID #: 18120

                                     TRIAL - VOLUME 5

                                                                          Page 240

    1    what you have done is called out, zoomed in on                        13:23:18

    2    and maybe rotated that little portion of                              13:23:21

    3    Exhibit 19.                                                           13:23:24

    4                  Do you agree with that?                                 13:23:25

    5                  MR. RUSSELL:     Yes.                                   13:23:26

    6                  THE COURT:     Okay.    All right.                      13:23:27

    7                  Ms. Durie, I mean, what's your --                       13:23:38

    8    we are where we are, right?                                           13:23:41

    9                  MS. DURIE:     I understand.                            13:23:43

   10                  THE COURT:     The exhibit came in                      13:23:44

   11    and the jury has seen the -- they've seen this                        13:23:46

   12    slide.   So what -- I guess my question is,                           13:23:49

   13    what's your ask?                                                      13:23:52

   14                  MS. DURIE:     My ask is that the                       13:23:54

   15    jury be instructed to disregard testimony that                        13:23:55

   16    was given in response to this exhibit, this                           13:23:59

   17    demonstrative, this set of slides.                                    13:24:02

   18                  MR. RUSSELL:     Can I respond to                       13:24:08

   19    that?                                                                 13:24:09

   20                  THE COURT:     Hold on.                                 13:24:09

   21                  When you say, "this set of                              13:24:10

   22    slides," just this specific slide?                                    13:24:12

   23                  MS. DURIE:     I mean, 1, 2, 3 -- I                     13:24:14

   24    think 1, 2, 3, 4.     I'm actually not sure what                      13:24:19


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 242 of 503 PageID #: 18121

                                     TRIAL - VOLUME 5

                                                                          Page 241

    1    the representation is with respect to the                             13:24:23

    2    origin of some other blowups.                                         13:24:27

    3                  THE COURT:     Well, wait.     Why do I                 13:24:31

    4    need to -- are any of these -- so of the                              13:24:33

    5    slides here, there is Slide 11 which has the                          13:24:37

    6    6/27 manufacture date on it, the Winbond chip.                        13:24:48

    7    We have heard testimony about that.                                   13:24:53

    8                  MS. DURIE:     Right.                                   13:24:54

    9                  THE COURT:     There is Slide 12                        13:24:54

   10    which has the manufacture date.         We heard                      13:24:56

   11    testimony about that.      And there is Slide 14                      13:25:04

   12    which has the testimony about -- which has a                          13:25:06

   13    date for the manufacture of -- that was the                           13:25:10

   14    board?                                                                13:25:13

   15                  MR. RUSSELL:     And all of these,                      13:25:14

   16    just to be clear for the record, Your Honor,                          13:25:15

   17    are not in dispute that those were our actual                         13:25:17

   18    blowups of Exhibit 19 where the exhibit is                            13:25:20

   19    listed.   It's only that Slide 13.                                    13:25:23

   20                  THE COURT:     Right.    And that's                     13:25:27

   21    what I was saying.     The other three, I want to                     13:25:28

   22    make sure, is that right, the other three were                        13:25:31

   23    all exhibits that were produced in discovery                          13:25:33

   24    and they have just been called up?                                    13:25:35


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 243 of 503 PageID #: 18122

                                     TRIAL - VOLUME 5

                                                                          Page 242

    1                  MR. RUSSELL:     That's our                             13:25:37

    2    understanding, yes.                                                   13:25:38

    3                  MS. DURIE:     I mean, I have to                        13:25:39

    4    accept that representation.          Right?                           13:25:40

    5                  THE COURT:     I mean, there is no                      13:25:41

    6    one -- I don't see anyone scrambling behind                           13:25:43

    7    you to say otherwise that they weren't.           Okay.               13:25:46

    8                  (Brief pause.)                                          13:26:07

    9                  MS. DURIE:     Could Ms. Li explain                     13:26:19

   10    something?                                                            13:26:21

   11                  THE COURT:     Sure.                                    13:26:21

   12                  MS. LI:    It appears that the large                    13:26:21

   13    photo is not the same as the blow-out because                         13:26:23

   14    if you zoom in on the little box there, you                           13:26:26

   15    can see that the yellow part of that white, or                        13:26:31

   16    whatever that is, is almost touching the 8.                           13:26:35

   17    And then if you go over here, it's quite a                            13:26:38

   18    ways away from the 8, which indicates that it                         13:26:41

   19    was taken from a different angle.                                     13:26:43

   20                  MR. RUSSELL:     Your Honor, on this                    13:26:45

   21    one, I don't -- it may have been                                      13:26:46

   22    unintentionally a different photo, but the                            13:26:49

   23    information that we are talking about is                              13:26:52

   24    obviously the same.      And I'm not saying that                      13:26:54


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 244 of 503 PageID #: 18123

                                      TRIAL - VOLUME 5

                                                                           Page 243

    1    we are going to use one of the different                               13:26:58

    2    photos.                                                                13:27:01

    3                   THE COURT:    Well, okay.        But zoom               13:27:02

    4    back in on the box real quick.          Okay.     All                  13:27:10

    5    right.                                                                 13:27:24

    6                   Now let me see the slide as a                           13:27:24

    7    whole.                                                                 13:27:29

    8                   So, I mean, it does look like it's                      13:27:30

    9    a different photo.      It is not just the                             13:27:32

   10    function and scale as you zoom in.                                     13:27:35

   11                   Having said that, the information                       13:27:37

   12    you've called out is visible on the original                           13:27:39

   13    photo.     So I'm not -- and it doesn't look to                        13:27:44

   14    me, given where this yellow arrow is                                   13:27:49

   15    positioned, like this is one where anything is                         13:27:51

   16    covered.     So, you know, I think that this was,                      13:27:55

   17    you know, probably not proper, probably a                              13:28:01

   18    little bit loose, but I think any error from                           13:28:07

   19    it is harmless.                                                        13:28:11

   20                   MS. DURIE:    For 4508, I don't.                        13:28:12

   21                   THE COURT:    Okay.    Just to go                       13:28:14

   22    back, Ms. Durie, to your request, with your                            13:28:18

   23    request, I'm not sure why I would exclude                              13:28:22

   24    testimony or strike testimony about the                                13:28:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 245 of 503 PageID #: 18124

                                      TRIAL - VOLUME 5

                                                                           Page 244

    1    callouts on slides 11, 12, 14.                                         13:28:28

    2                   MS. DURIE:     So 14 --                                 13:28:30

    3                   THE COURT:     Yes.                                     13:28:33

    4                   MS. DURIE:     -- if we go up to                        13:28:33

    5    11 --                                                                  13:28:35

    6                   THE COURT:     Yeah.                                    13:28:35

    7                   MS. DURIE:     -- that seems fine.                      13:28:37

    8                   THE COURT:     Okay.                                    13:28:41

    9                   MS. DURIE:     That's fine; right?                      13:28:42

   10    If we go to 12, is that fine, 12?             Can you go               13:28:44

   11    to the exhibit, Exhibit 211.           Can we just see                 13:29:09

   12    15?     Go back to Exhibit 11 and then --                              13:29:14

   13                   THE COURT:     This is Exhibit 211.                     13:29:26

   14                   MS. DURIE:     The Winbond chip I                       13:29:35

   15    get.                                                                   13:29:36

   16                   MR. RUSSELL:     I believe there is                     13:29:37

   17    an 8 number.                                                           13:29:38

   18                   MS. DURIE:     I am wondering, can                      13:29:40

   19    you put up, Mr. Glass, side-by-side, 211 and                           13:29:42

   20    what we were just looking at, the                                      13:29:45

   21    demonstrative.     Is that possible?                                   13:29:48

   22                   Oh there, okay.        Fine.    Fine.                   13:29:52

   23    Then I agree.                                                          13:29:58

   24                   THE COURT:     So we are really                         13:30:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 246 of 503 PageID #: 18125

                                      TRIAL - VOLUME 5

                                                                           Page 245

    1    talking about Slide 13 and what I should do                            13:30:09

    2    with that.    And so the request is that I ask                         13:30:13

    3    the jury to disregard it and the testimony                             13:30:16

    4    concerning the Max chip that has the 8/49                              13:30:19

    5    callout.                                                               13:30:25

    6                  MS. DURIE:     Yes, yes.                                 13:30:26

    7                  MR. RUSSELL:      And, Your Honor, I                     13:30:27

    8    would just say that the majority of the                                13:30:28

    9    testimony, as I recall it, as it came in, was                          13:30:29

   10    more about how the dates worked than what                              13:30:32

   11    was -- than him agreeing with what was                                 13:30:35

   12    necessarily physically on the chip, and I                              13:30:36

   13    think the best solution --                                             13:30:39

   14                  THE COURT:     But your whole -- the                     13:30:40

   15    only reason you did that was to establish that                         13:30:42

   16    this is another piece of evidence you can use                          13:30:47

   17    to demonstrate that the chip was manufactured                          13:30:51

   18    after the priority date; right?                                        13:30:58

   19                  MR. RUSSELL:      Right.    And I think                  13:31:00

   20    to the extent there is an instruction to the                           13:31:05

   21    jury, it could be to disregard the photograph                          13:31:06

   22    that we presented and to rely only on the                              13:31:08

   23    physical exhibit, which they'll have.                                  13:31:12

   24                  MS. DURIE:     But the problem                           13:31:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 247 of 503 PageID #: 18126

                                      TRIAL - VOLUME 5

                                                                           Page 246

    1    with --                                                                13:31:14

    2                   THE COURT:        I mean, here's the                    13:31:15

    3    thing.     They can look at the physical exhibit,                      13:31:17

    4    okay, that's fine.        Frankly, I don't think                       13:31:19

    5    they will see it, but they can decide what                             13:31:24

    6    they can see for themselves.                                           13:31:27

    7                   I'm going to -- but I don't                             13:31:30

    8    think -- I mean, just for an example of trial                          13:31:32

    9    by surprise as well, I don't think that this                           13:31:35

   10    is fair.     It wasn't given to anyone in                              13:31:38

   11    advance, the callout picture wasn't there.              I              13:31:42

   12    don't think it's obvious in the way that the                           13:31:45

   13    others are.                                                            13:31:47

   14                   And so what I'll do is I will                           13:31:49

   15    instruct the jury to disregard the testimony                           13:31:50

   16    about the chip.        Let me just make sure...                        13:31:57

   17                   Okay.     Okay.     So I will tell the                  13:32:30

   18    jury to disregard the testimony concerning the                         13:32:37

   19    Max chip that had the 8/49 logo on it.            I will               13:32:42

   20    tell them to disregard both the pictures they                          13:32:50

   21    saw and the testimony about it, and then I                             13:32:52

   22    will tell them that if they are -- that they                           13:32:54

   23    are free to inspect Exhibit 367 for themselves                         13:33:00

   24    when -- when the evidence is sent back with                            13:33:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 248 of 503 PageID #: 18127

                                     TRIAL - VOLUME 5

                                                                          Page 247

    1    them.                                                                 13:33:11

    2                  MR. RUSSELL:       Can I just                           13:33:11

    3    request -- I think that is great, and just one                        13:33:12

    4    request on that is can you please say it in                           13:33:14

    5    the context that there were four photos shown                         13:33:18

    6    and it's just one of the four chips that were                         13:33:20

    7    discussed, one of the four date codes that was                        13:33:22

    8    discussed?    Because we don't want to                                13:33:25

    9    accidentally imply that anything else we said                         13:33:26

   10    was subject to this.                                                  13:33:29

   11                  THE COURT:     I don't think I need                     13:33:31

   12    to do that.     I think if I just say there was                       13:33:32

   13    testimony specifically about -- I'll say there                        13:33:34

   14    was testimony specifically about a Max chip                           13:33:37

   15    that had a date of, you know, a date of 8/49                          13:33:39

   16    and that, you know, for various legal reasons,                        13:33:43

   17    they should disregard that testimony and the                          13:33:45

   18    photograph of that particular chip.           And I'll                13:33:48

   19    just say it that way rather than highlighting                         13:33:50

   20    the others as well.      Okay?                                        13:33:53

   21                  MR. RUSSELL:       Thank you, Your                      13:33:54

   22    Honor.                                                                13:33:58

   23                  MR. SLAYDEN:       And the date                         13:33:58

   24    investigated.                                                         13:33:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 249 of 503 PageID #: 18128

                                     TRIAL - VOLUME 5

                                                                          Page 248

    1                  THE COURT:     And the date                             13:33:59

    2    investigated, yes.                                                    13:34:01

    3                  Let's hand these back.                                  13:34:05

    4                  MS. DURIE:     And can I give both to                   13:34:10

    5    Mr. Garney?                                                           13:34:12

    6                  THE COURT:     Oh, okay.                                13:34:17

    7                  MR. RUSSELL:     Your Honor, we have                    13:34:36

    8    one more request related to this, which is                            13:34:38

    9    that we don't think counsel should be able to                         13:34:40

   10    raise the non production issue in front of the                        13:34:43

   11    jury of the photograph.                                               13:34:46

   12                  THE COURT:     Well, I am going to                      13:34:49

   13    exclude the photograph.       No, we are not going                    13:34:51

   14    to get into discovery issues.                                         13:34:54

   15                  MS. DURIE:     Right.                                   13:34:56

   16                  THE COURT:     I agree.                                 13:34:58

   17                  MR. RUSSELL:     Thank you, Your                        13:34:59

   18    Honor.                                                                13:35:00

   19                  THE COURT:     All right.     We can get                13:35:12

   20    the jury.                                                             13:35:13

   21                  (Whereupon, the jury entered the                        13:35:15

   22    courtroom.)                                                           13:35:17

   23                  THE COURT:     You can all be seated.                   13:35:55

   24    All right.                                                            13:35:57


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 250 of 503 PageID #: 18129

                                     TRIAL - VOLUME 5

                                                                          Page 249

    1                  Members of the jury, first of all,                      13:35:59

    2    thank you for your patience.        That was a                        13:36:00

    3    little longer than I had intended.           I                        13:36:02

    4    always -- when I have issues to work out with                         13:36:04

    5    the lawyers, to the extent I can do it without                        13:36:06

    6    subjecting you to the white noise, I prefer to                        13:36:08

    7    do that, so that was the reason for the delay.                        13:36:11

    8                  And then the other thing that I                         13:36:13

    9    just wanted to tell you or instruct you,                              13:36:14

   10    during Mr. Garney's testimony this morning,                           13:36:17

   11    you saw a photograph of a Max chip with a date                        13:36:20

   12    code of 8/49 on it, and you should disregard                          13:36:27

   13    the testimony you heard about that particular                         13:36:33

   14    chip and the photograph you saw of that                               13:36:35

   15    particular chip.                                                      13:36:38

   16                  You will ultimately get the                             13:36:40

   17    device, itself, that Mr. Garney tested and you                        13:36:44

   18    are free, when we send the evidence back to                           13:36:50

   19    you for deliberations, to inspect it for                              13:36:52

   20    yourself to see what you can find if you look                         13:36:54

   21    inside of it.    But you should disregard that                        13:36:58

   22    testimony and those pictures.        Okay?       All                  13:37:00

   23    right.                                                                13:37:02

   24                  Redirect?                                               13:37:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 251 of 503 PageID #: 18130

                                     TRIAL - VOLUME 5

                                                                          Page 250

    1                  MR. SAULSBURY:        Yes.                              13:37:06

    2                                -   -     -                               13:37:06

    3                      REDIRECT EXAMINATION                                13:37:07

    4                                -   -     -                               13:37:08

    5    BY MR. SAULSBURY:                                                     13:37:08

    6         Q.   Welcome back, Mr. Garney.                                   13:37:09

    7                  Mr. Jones is going to take a high                       13:37:11

    8    resolution photo of the Belkin device so that                         13:37:13

    9    we can see it a little more clearly.                                  13:37:16

   10                  Could you please direct him to                          13:37:18

   11    where the Philips chip is on that device, and                         13:37:19

   12    is that the circuit board from the Belkin                             13:37:23

   13    device you analyzed?                                                  13:37:26

   14         A.   This is the circuit board from the                          13:37:27

   15    Belkin device.                                                        13:37:29

   16         Q.   And, Mr. Garney, while Mr. Jones is                         13:37:35

   17    taking that picture, Mr. Glass, can we see                            13:37:37

   18    Trial Exhibit 379.                                                    13:37:40

   19         A.   Go ahead.                                                   13:37:48

   20         Q.   Are you sure?                                               13:37:49

   21         A.   I am just holding the board for him.                        13:37:49

   22         Q.   Microchip showed you this data sheet                        13:37:51

   23    during cross.                                                         13:37:54

   24                  THE COURT:    I don't think this is                     13:37:56


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 252 of 503 PageID #: 18131

                                       TRIAL - VOLUME 5

                                                                            Page 251

    1    in evidence.                                                            13:37:57

    2                   MR. SAULSBURY:       I move to admit                     13:37:59

    3    379.                                                                    13:38:01

    4                   MR. SLAYDEN:      No objection, Your                     13:38:02

    5    Honor.                                                                  13:38:04

    6                   THE COURT:     Okay.    379 will come                    13:38:04

    7    in.                                                                     13:38:05

    8    BY MR. SAULSBURY:                                                       13:38:06

    9           Q.   You were shown this exhibit by                              13:38:09

   10    Microchip's attorney during cross?                                      13:38:11

   11           A.   I was.                                                      13:38:12

   12           Q.   Okay.                                                       13:38:13

   13                   And on the first page here, under                        13:38:14

   14    Application Note, what do we see?                                       13:38:18

   15           A.   It says, "Understanding flip-chip and                       13:38:20

   16    chip-scale package technologies."                                       13:38:22

   17           Q.   What does that have to do with the                          13:38:24

   18    Maxim chip that we were shown earlier?                                  13:38:26

   19           A.   Actually, nothing.                                          13:38:27

   20           Q.   And why is that?                                            13:38:29

   21           A.   Because flip-chip and chip-scale                            13:38:30

   22    parts are different packages from the packages                          13:38:33

   23    on the Belkin device.                                                   13:38:35

   24           Q.   And what do you see about the Maxim                         13:38:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 253 of 503 PageID #: 18132

                                      TRIAL - VOLUME 5

                                                                           Page 252

    1    chip on the Belkin device that tells you it's                          13:38:40

    2    not a flip-chip?                                                       13:38:42

    3         A.     If you look carefully, you'll see                          13:38:43

    4    this has a bunch of little silver wires around                         13:38:45

    5    the Black Box.      That's sometimes called a T                        13:38:48

    6    cell.     I'm not sure what the name is.        This is                13:38:50

    7    a lead package, it has leads.         That's what                      13:38:52

    8    these little silver wires are.                                         13:38:54

    9                   Chip-scale and flip-chip, these                         13:38:57

   10    are chips with bumps on them, and that's a                             13:38:58

   11    different way of bonding, soldering the chip                           13:39:01

   12    to the board.                                                          13:39:03

   13         Q.     Do you understand or --                                    13:39:04

   14                   MR. SAULSBURY:      Can we actually                     13:39:05

   15    look at page 5, Mr. Glass.                                             13:39:06

   16    BY MR. SAULSBURY:                                                      13:39:09

   17         Q.     Do you see here that there is a                            13:39:10

   18    legend showing the different types of                                  13:39:12

   19    conventions that you can have, and then if we                          13:39:14

   20    take a look at it, there is a couple different                         13:39:16

   21    three-character conventions?                                           13:39:20

   22                   Do you see that?                                        13:39:21

   23         A.     I do see that, yes.                                        13:39:22

   24         Q.     Okay.                                                      13:39:23


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 254 of 503 PageID #: 18133

                                     TRIAL - VOLUME 5

                                                                          Page 253

    1                    MR. SAULSBURY:    And, Mr. Glass, if                  13:39:24

    2    you can actually just show the whole Table 2.                         13:39:26

    3    BY MR. SAULSBURY:                                                     13:39:28

    4         Q.   Now, you were told by Microchip's                           13:39:29

    5    counsel that one of those conventions is --                           13:39:30

    6    it's a date code; is that right?                                      13:39:33

    7         A.   Yes.                                                        13:39:35

    8         Q.   Okay.                                                       13:39:35

    9                    MR. SAULSBURY:    And, Mr. Glass,                     13:39:36

   10    will you have Table 2 blown up, please.                               13:39:39

   11    BY MR. SAULSBURY:                                                     13:39:39

   12         Q.   Do you see how there are other                              13:39:45

   13    three-digit conventions as well to be on the                          13:39:46

   14    date code?                                                            13:39:49

   15         A.   I do.                                                       13:39:49

   16         Q.   And was there any indication on the                         13:39:50

   17    Maxim chip that you were asked to look at what                        13:39:51

   18    three-digit convention was being represented                          13:39:54

   19    by those numbers?                                                     13:39:56

   20         A.   No.                                                         13:39:57

   21         Q.   Okay.                                                       13:39:58

   22                    MR. SAULSBURY:    Now, Mr. Glass,                     13:40:01

   23    can we please take a look at Slide 11 from                            13:40:02

   24    Microchip's demonstratives.                                           13:40:06


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 255 of 503 PageID #: 18134

                                      TRIAL - VOLUME 5

                                                                           Page 254

    1    BY MR. SAULSBURY:                                                      13:40:09

    2         Q.    Do you see how -- you were shown this                       13:40:10

    3    Winbond chip.       Do you know whether that                           13:40:11

    4    three-digit code, what that represents?                                13:40:14

    5         A.    No idea.                                                    13:40:16

    6         Q.    Okay.                                                       13:40:16

    7                     So you don't know, for example,                       13:40:18

    8    whether it is a top mark code?                                         13:40:20

    9         A.    Say again.                                                  13:40:22

   10         Q.    You don't know, for example, whether                        13:40:23

   11    it is a top mark code?                                                 13:40:25

   12         A.    No.                                                         13:40:26

   13         Q.    Okay.                                                       13:40:27

   14                     You don't know whether it is a                        13:40:27

   15    part number suffix?                                                    13:40:29

   16         A.    No.                                                         13:40:30

   17         Q.    Okay.                                                       13:40:30

   18                     And does Winbond use the same                         13:40:31

   19    conventions as Maxim?       Do you know one way or                     13:40:33

   20    another?                                                               13:40:36

   21         A.    I don't know.                                               13:40:36

   22         Q.    Okay.                                                       13:40:37

   23         A.    I doubt it.     They are different                          13:40:38

   24    manufacturers.                                                         13:40:40


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 256 of 503 PageID #: 18135

                                     TRIAL - VOLUME 5

                                                                          Page 255

    1         Q.   Do you know one way or another                              13:40:40

    2    whether this is actually a date code?                                 13:40:42

    3         A.   No.                                                         13:40:44

    4                    MR. SAULSBURY:    Can we take a look                  13:40:45

    5    at Slide 12, please, also from Microchip's                            13:40:46

    6    demonstratives.                                                       13:40:49

    7    BY MR. SAULSBURY:                                                     13:40:50

    8         Q.   We -- you were pointed to a blow-out                        13:40:53

    9    of Trial Exhibit 11 and shown this                                    13:41:00

   10    demonstrative saying that it is year and week.                        13:41:03

   11                    Do you know what these numbers                        13:41:06

   12    represent?                                                            13:41:09

   13         A.   No.     I think I even said that during                     13:41:09

   14    the testimony.                                                        13:41:11

   15         Q.   Okay.                                                       13:41:11

   16                    MR. SAULSBURY:    Let's take a look                   13:41:12

   17    at Slide 14, please.                                                  13:41:14

   18    BY MR. SAULSBURY:                                                     13:41:18

   19         Q.   Same deal; you were shown another set                       13:41:18

   20    of numbers and it was represented on the                              13:41:21

   21    demonstrative that it was week and year.                              13:41:23

   22                    Do you know what these numbers                        13:41:25

   23    represent?                                                            13:41:26

   24         A.   Same answer; no, I don't.                                   13:41:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 257 of 503 PageID #: 18136

                                     TRIAL - VOLUME 5

                                                                          Page 256

    1         Q.   Okay.                                                       13:41:31

    2                  So taking into account sort of all                      13:41:32

    3    the evidence that you've analyzed and                                 13:41:34

    4    including evidence that you have seen today,                          13:41:36

    5    does that change your opinion as to whether                           13:41:38

    6    the pertinent functionality of the Belkin                             13:41:41

    7    device you analyzed was available prior to                            13:41:43

    8    2006?                                                                 13:41:46

    9         A.   It doesn't change my opinion, no.                           13:41:46

   10         Q.   Okay.                                                       13:41:49

   11                  MR. SAULSBURY:      Now, Mr. Jones,                     13:41:49

   12    can we have the Philips chip -- can we make --                        13:41:52

   13    we represent that this is the photo that Mr.                          13:41:56

   14    Jones just took of the Belkin board.                                  13:41:59

   15                  Mr. Glass, could you please zoom                        13:42:03

   16    in on that chip in the middle?         There we go.                   13:42:05

   17    BY MR. SAULSBURY:                                                     13:42:09

   18         Q.   And, Mr. Garney, do you recognize                           13:42:10

   19    that as the Philips chip you looked at?                               13:42:12

   20         A.   I do.                                                       13:42:14

   21         Q.   Okay.                                                       13:42:14

   22                  And do you see the code there on                        13:42:15

   23    the bottom?                                                           13:42:16

   24         A.   0319.                                                       13:42:17


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 258 of 503 PageID #: 18137

                                      TRIAL - VOLUME 5

                                                                           Page 257

    1         Q.    Okay.                                                       13:42:18

    2                     Is this the Philips chip you saw                      13:42:19

    3    earlier?                                                               13:42:22

    4         A.    It is.                                                      13:42:22

    5         Q.    Okay.                                                       13:42:23

    6                     And taking a step -- what do you                      13:42:24

    7    conclude from this?                                                    13:42:30

    8         A.    I know the Philips chips were                               13:42:31

    9    available many years before the priority date                          13:42:34

   10    of the patent.                                                         13:42:38

   11         Q.    Okay.                                                       13:42:39

   12                     0319, is that the part number for                     13:42:41

   13    that?                                                                  13:42:43

   14         A.    No.     It's the data sheet disclosure                      13:42:43

   15    that identifies the specific part number.                              13:42:47

   16         Q.    Okay.                                                       13:42:48

   17                     Now, why are the chips important                      13:42:49

   18    to your opinion regarding Belkin?                                      13:42:56

   19         A.    Simply because they contain this                            13:42:58

   20    endpoint buffer and interface that I talked                            13:42:59

   21    about.                                                                 13:43:02

   22         Q.    And did you rely on any other                               13:43:03

   23    materials to inform your opinion of when the                           13:43:04

   24    Philips chip was first available?                                      13:43:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 259 of 503 PageID #: 18138

                                      TRIAL - VOLUME 5

                                                                           Page 258

    1         A.    The other materials I talked about                          13:43:10

    2    with respect to Belkin and the dates.                                  13:43:12

    3         Q.    And how about the data sheet for the                        13:43:14

    4    Philips?                                                               13:43:16

    5         A.    Yeah, the data sheet for Philips                            13:43:17

    6    also.                                                                  13:43:19

    7         Q.    Okay.                                                       13:43:19

    8                  MR. SAULSBURY:       Now, let's take a                   13:43:20

    9    look at Trial Exhibit 12, Mr. Glass.                                   13:43:23

   10    BY MR. SAULSBURY:                                                      13:43:28

   11         Q.    This was the presentation to Apple                          13:43:29

   12    that you were shown during cross; is that                              13:43:31

   13    right?                                                                 13:43:32

   14         A.    I believe so, yes.                                          13:43:32

   15         Q.    Okay.                                                       13:43:34

   16                  MR. SAULSBURY:       If we can turn to                   13:43:34

   17    page 4, please.      Does -- Mr. Glass, could you                      13:43:35

   18    highlight the first line -- I mean the first                           13:43:40

   19    bullet that starts with "At power up Head Unit                         13:43:43

   20    detects a standard USB hub and custom Bridge                           13:43:45

   21    device," singular.                                                     13:43:49

   22    BY MR. SAULSBURY:                                                      13:43:49

   23         Q.    Do you see that, Mr. Garney?                                13:43:50

   24         A.    I see that.                                                 13:43:51


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 260 of 503 PageID #: 18139

                                      TRIAL - VOLUME 5

                                                                           Page 259

    1         Q.    Does the fact that sometimes people                         13:43:51

    2    refer to this as a bridge device in any way                            13:43:53

    3    change your opinion that there are two USB                             13:43:55

    4    devices?                                                               13:43:57

    5         A.    No, because it clearly shows there                          13:43:57

    6    are two USB devices, Device A and Device B.                            13:43:59

    7         Q.    Those red boxes?                                            13:44:02

    8         A.    Correct.                                                    13:44:03

    9                  MR. SAULSBURY:       Could we take a                     13:44:04

   10    look at page 6, I believe it is.                                       13:44:06

   11    BY MR. SAULSBURY:                                                      13:44:10

   12         Q.    And Mr. Slayden pointed you to the                          13:44:12

   13    first bullet under Operational Description.                            13:44:14

   14                  MR. SAULSBURY:       Let's just                          13:44:17

   15    highlight, if we could, Mr. Glass, "The USB                            13:44:17

   16    Device Controllers in the Bridge Device,"                              13:44:20

   17    singular, "are configured to contain all                               13:44:21

   18    endpoints required by CarPlay."                                        13:44:24

   19    BY MR. SAULSBURY:                                                      13:44:24

   20         Q.    Does this statement referring to a                          13:44:27

   21    bridge device, singular, change your opinion                           13:44:29

   22    there are two devices?                                                 13:44:32

   23         A.    For the same reason that it's obvious                       13:44:32

   24    there are, in fact, two USB devices there, as                          13:44:34


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 261 of 503 PageID #: 18140

                                     TRIAL - VOLUME 5

                                                                          Page 260

    1    the figure shows.                                                     13:44:36

    2         Q.   What are those devices labeled?                             13:44:36

    3         A.   USB Device A and USB Device B.                              13:44:39

    4         Q.   Okay.                                                       13:44:42

    5                  MR. SAULSBURY:          Pass the witness.               13:44:46

    6                                 -    -     -                             13:44:54

    7                        RECROSS-EXAMINATION                               13:44:54

    8                                 -    -     -                             13:44:55

    9    BY MR. SLAYDEN:                                                       13:44:55

   10         Q.   Mr. Garney, I only have one question.                       13:44:56

   11                  During the break, did you talk to                       13:44:58

   12    your counsel about your testimony?                                    13:44:59

   13         A.   I talked to him about some of the                           13:45:01

   14    information, yes.                                                     13:45:04

   15                  MR. SLAYDEN:       Thank you.                           13:45:06

   16                  THE COURT:     All right.                               13:45:12

   17                  Mr. Garney, you can step down.                          13:45:12

   18                  THE WITNESS:       Thank you.                           13:45:14

   19                  THE COURT:     Take the binders or                      13:45:14

   20    have someone come get them.                                           13:45:16

   21                  THE WITNESS:       Okay.      I don't know              13:45:17

   22    if I can carry all of them.                                           13:45:18

   23                  THE COURT:     I was going to say,                      13:45:20

   24    you don't have to carry them all, but that's                          13:45:21


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 262 of 503 PageID #: 18141

                                     TRIAL - VOLUME 5

                                                                          Page 261

    1    something someone can help you with.                                  13:45:23

    2                   (Whereupon, the witness was                            13:45:26

    3    excused.)                                                             13:45:32

    4                   MR. SLAYDEN:     Sidebar, Your Honor?                  13:45:37

    5                   THE COURT:     Okay.                                   13:45:39

    6                   MR. SAULSBURY:     We will take care                   13:45:49

    7    of that during the sidebar.                                           13:45:49

    8                   (Whereupon, a discussion was held                      13:45:49

    9    at sidebar as follows:                                                13:45:49

   10                   MR. SLAYDEN:     Clearly that was                      13:51:20

   11    testimony that was discussed during the break,                        13:51:20

   12    a violation of Rule 41.        I move to strike any                   13:51:20

   13    redirect testimony.                                                   13:51:20

   14                   MS. DURIE:     He was off cross.                       13:51:20

   15                   THE COURT:     I'm sorry?                              13:51:20

   16                   MS. DURIE:     He was off cross.     We                13:51:20

   17    are not allowed to speak with him while he was                        13:51:20

   18    on cross.     He was off cross.       I conferred with                13:51:20

   19    him -- that is my understanding of the                                13:51:20

   20    Delaware practice.                                                    13:51:20

   21                   I conferred with local counsel                         13:51:20

   22    with regard to Delaware practice.          We                         13:51:20

   23    explicitly confirmed that, we talked about                            13:51:20

   24    that issue.                                                           13:51:20


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 263 of 503 PageID #: 18142

                                     TRIAL - VOLUME 5

                                                                          Page 262

    1                  THE COURT:     You definitely said no                   13:51:20

    2    further questions.     All right.                                     13:51:20

    3                  What rule did you say, you said                         13:51:20

    4    41?                                                                   13:51:20

    5                  MR. SLAYDEN:     41.   Speaking to a                    13:51:20

    6    witness during testimony.                                             13:51:20

    7                  THE COURT:     Are you talking --                       13:51:20

    8    wait, I'm sorry --                                                    13:51:20

    9                  MR. SLAYDEN:     I'll get it.                           13:51:20

   10                  THE COURT:     Wait.   Don't go                         13:51:20

   11    anywhere.                                                             13:51:20

   12                  MS. DURIE:     My understanding of                      13:51:20

   13    the rule is that you can speak to the witness                         13:51:20

   14    while they are on direct, that the bar                                13:51:20

   15    commences when they go on cross.         You can                      13:51:20

   16    speak with them while they are on direct.                             13:51:20

   17                  THE COURT:     Let me just make                         13:51:20

   18    sure -- I want to make sure I understand.                             13:51:20

   19    Rule 41 is what?                                                      13:51:20

   20                  MR. SLAYDEN:     Local counsel is the                   13:51:20

   21    one who cited it.     It must be a Delaware rule.                     13:51:20

   22    Let me get it from him.       I'm sorry.                              13:51:20

   23                  THE COURT:     Yeah, go ahead.                          13:51:20

   24                  MR. SLAYDEN:     It is local                            13:51:20


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 264 of 503 PageID #: 18143

                                      TRIAL - VOLUME 5

                                                                           Page 263

    1    Rule 41.1.     And there was definitely going to                       13:51:20

    2    be recross in a contested witness like this.                           13:51:20

    3                   THE COURT:     Hold on.    I have your                  13:51:20

    4    rule and let me just look at the rule.                                 13:51:20

    5                   MS. DURIE:     Sure.                                    13:51:20

    6                   (Brief pause.)                                          13:51:20

    7                   THE COURT:     I mean, I think what                     13:51:20

    8    you mean is Rule 43.1.                                                 13:51:20

    9                   MR. SLAYDEN:     Oh.                                    13:51:20

   10                   MR. RUSSELL:     43.1, I'm sorry.                       13:51:21

   11                   THE COURT:     Which is witnesses                       13:51:21

   12    conferring with counsel during testimony.            I                 13:51:21

   13    mean, on its face it says, "Once direct                                13:51:21

   14    examination of a witness is concluded," which                          13:51:21

   15    it had, "and until cross-examination of that                           13:51:21

   16    witness is concluded," which it had, "counsel                          13:51:21

   17    offering the witness on direct shall not..."                           13:51:21

   18                   So the prohibitions don't apply                         13:51:21

   19    once you end the cross.                                                13:51:21

   20                   MR. ROVNER:     Your Honor, Phil                        13:51:21

   21    Rovner from Potter, Anderson, Aptiv's Delaware                         13:51:21

   22    counsel.     That's how I have always interpreted                      13:51:21

   23    it, and when he was on cross and we had a                              13:51:21

   24    break, no contact.                                                     13:51:21


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 265 of 503 PageID #: 18144

                                      TRIAL - VOLUME 5

                                                                           Page 264

    1                   THE COURT:     Understood.                              13:51:21

    2                   I mean, I just -- I was going to                        13:51:21

    3    cite the rule, that's why I wanted to delve                            13:51:21

    4    in, there might be a textural basis.             Is there              13:51:21

    5    something else, Mr. Wiener, you think is                               13:51:21

    6    different?                                                             13:51:21

    7                   MR. RUSSELL:     Sorry.                                 13:51:21

    8                   MS. DURIE:     They look alike.                         13:51:21

    9                   THE COURT:     They do.    I am                         13:51:21

   10    confused every time I look at them.                                    13:51:21

   11                   MR. RUSSELL:     The purpose of the                     13:51:21

   12    rule is to prevent counsel from discussing the                         13:51:21

   13    testimony with the witness.         In Delaware, we                    13:51:21

   14    had the same rule that you cannot speak with                           13:51:21

   15    the deponent during the deposition and we                              13:51:21

   16    still could have had more questions for him on                         13:51:21

   17    recross.     Actually, we did, we had one                              13:51:21

   18    question.                                                              13:51:21

   19                   So I think what they did was -- I                       13:51:21

   20    agree that the rule is poorly worded, but it's                         13:51:21

   21    clearly intended to encompass talking to the                           13:51:21

   22    witness while they are on the stand.                                   13:51:21

   23                   THE COURT:     I mean, my bias on                       13:51:21

   24    this is, poorly worded or not, it says what it                         13:51:21


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 266 of 503 PageID #: 18145

                                     TRIAL - VOLUME 5

                                                                          Page 265

    1    says, and I think that to the extent it is                            13:51:21

    2    intended to prohibit coaching during a                                13:51:21

    3    deposition, or comparable rule is intended to                         13:51:21

    4    prohibit coaching during a deposition, I think                        13:51:21

    5    that's different as well.                                             13:51:21

    6                  So I am going to -- I'm not going                       13:51:21

    7    to strike the testimony.                                              13:51:21

    8                  MR. SLAYDEN:     Thank you, Your                        13:51:23

    9    Honor.                                                                13:51:23

   10                  (Whereupon, the discussion at                           13:51:23

   11    sidebar concluded.)                                                   13:51:23

   12                  THE COURT:     Mr. Saulsbury.                           13:51:23

   13                  MR. SAULSBURY:      Yes, Your Honor.                    13:51:27

   14                  I will now be reading into the                          13:51:27

   15    record requests for admission that were made                          13:51:29

   16    to Microchip and Microchip's responses.                               13:51:30

   17                  THE COURT:     Okay.                                    13:51:33

   18                  MR. SAULSBURY:      Request for                         13:51:35

   19    Admission 42 was "Admit that US-98 was sold in                        13:51:37

   20    the U.S. prior to 2005."                                              13:51:39

   21                  The answer is, "Microchip admits a                      13:51:43

   22    product identified as US-98 was sold in the                           13:51:45

   23    U.S. prior to April 2005.       Microchip denies                      13:51:48

   24    the remainder of this request."                                       13:51:51


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 267 of 503 PageID #: 18146

                                     TRIAL - VOLUME 5

                                                                          Page 266

    1                  And then Request for Admission 45                       13:51:56

    2    was "Admit that Belkin was sold in the U.S.                           13:51:58

    3    prior to April 2005."                                                 13:52:01

    4                  Answer, "Microchip admits a                             13:52:04

    5    product identified as F1U400 was sold in the                          13:52:06

    6    U.S. prior to April 2005.       Microchip denies                      13:52:11

    7    the remainder of this request."                                       13:52:15

    8                  MS. DURIE:     And, Your Honor,                         13:52:18

    9    subject to an oral motion that we will make at                        13:52:19

   10    a later time, we rest.                                                13:52:24

   11                  THE COURT:     Okay.    All right.                      13:52:26

   12                  So then, Mr. Adams, you are in the                      13:52:27

   13    hot seat.   I assume you're up for Microchip?                         13:52:30

   14                  MR. ADAMS:     I just want to make                      13:52:35

   15    sure our oral motions were preserved, Your                            13:52:37

   16    Honor.                                                                13:52:40

   17                  THE COURT:     Yes.                                     13:52:40

   18                  MR. ADAMS:     Okay.    Your Honor,                     13:52:43

   19    Microchip calls Dr. John Levy to the stand.                           13:52:44

   20                  THE COURT:     Okay.                                    13:52:51

   21                  THE COURT CLERK:       Please state and                 13:53:00

   22    spell your name for the record.                                       13:53:08

   23                  THE WITNESS:     John Levy, J-O-H-N,                    13:53:11

   24    V for Victor, L-E-V-Y.                                                13:53:14


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 268 of 503 PageID #: 18147

                                     TRIAL - VOLUME 5

                                                                          Page 267

    1                                -   -   -                                 13:53:14

    2                   ...JOHN V. LEVY, after having                          13:53:14

    3    first been duly sworn and/or affirmed, was                            13:53:14

    4    examined and testified as follows...                                  13:53:14

    5                                -   -   -                                 13:53:31

    6                        DIRECT EXAMINATION                                13:53:31

    7                                -   -   -                                 13:53:31

    8    BY MR. ADAMS:                                                         13:53:34

    9         Q.   I'll let you get settled.         Are you                   13:53:35

   10    settled there?                                                        13:53:37

   11         A.   I think so.                                                 13:53:38

   12         Q.   Good afternoon, Dr. Levy.         We're                     13:53:39

   13    almost there.     It's been a long day amongst a                      13:53:42

   14    long week, but I think we can keep this fairly                        13:53:46

   15    short, so let's get started.                                          13:53:48

   16         A.   Okay.                                                       13:53:50

   17         Q.   Would you please introduce yourself                         13:53:51

   18    to the jury.                                                          13:53:52

   19         A.   Yes.    I am John Levy and I grew up in                     13:53:53

   20    Ohio, went to college in upstate New York, and                        13:53:56

   21    then California for graduate school.                                  13:54:02

   22         Q.   What is your role in this proceeding?                       13:54:03

   23         A.   I have been engaged by Microchip to                         13:54:04

   24    rebut the invalidity arguments of Aptiv.                              13:54:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 269 of 503 PageID #: 18148

                                      TRIAL - VOLUME 5

                                                                           Page 268

    1         Q.    Have you prepared some slides to help                       13:54:14

    2    explain your work and your opinions?                                   13:54:16

    3         A.    Yes.                                                        13:54:18

    4         Q.    Can you please tell us a little about                       13:54:19

    5    your qualifications?                                                   13:54:24

    6         A.    Okay.    As I mentioned, I earned a                         13:54:25

    7    bachelor of engineering physics degree at                              13:54:28

    8    Cornell, master's in electrical engineering at                         13:54:31

    9    Cal Tech, and a Ph.D. in computer science at                           13:54:35

   10    Stanford University.                                                   13:54:38

   11                  I then was employed in various                           13:54:39

   12    computer and -- or car described manufacturers                         13:54:43

   13    over a period of several years, including as a                         13:54:49

   14    consultant, and there are the names of the                             13:54:51

   15    companies I worked for in the various times.                           13:54:54

   16         Q.    Can you tell us a little about your                         13:54:57

   17    experience as it relates to computer bus                               13:54:59

   18    systems?                                                               13:55:02

   19         A.    Yes.    In my initial employment in the                     13:55:03

   20    industry, I worked at Digital, and in that                             13:55:07

   21    role, I designed a high speed bus for                                  13:55:10

   22    connecting disk and tape drive to a computer.                          13:55:13

   23                  I also later designed a very novel                       13:55:16

   24    bus that had some patents for interconnecting                          13:55:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 270 of 503 PageID #: 18149

                                     TRIAL - VOLUME 5

                                                                          Page 269

    1    multiple processors and memory.                                       13:55:23

    2                  And then my last work at Digital                        13:55:25

    3    was in their R & D group, and I left them with                        13:55:27

    4    a long term roadmap for moving from parallel                          13:55:31

    5    bus to serial buses for all the ins and                               13:55:34

    6    output.                                                               13:55:39

    7                  I went to Tandem Computers, and                         13:55:39

    8    there I worked on a conceptual design and I                           13:55:42

    9    wrote bus system for hundreds of processors.                          13:55:45

   10    I went then to Apple and there I supervised                           13:55:49

   11    the implementation of a local area network,                           13:55:52

   12    which is like Ethernet type of thing for PCs.                         13:55:55

   13                  And sometime later when I was                           13:55:58

   14    employed at Quantum, I led the implementation                         13:56:00

   15    of -- between Quantum and Intel of a new speed                        13:56:05

   16    doubling for the ATA bus, which is what                               13:56:09

   17    connects our disk drives to the PC internally.                        13:56:13

   18                  And then I also represented                             13:56:17

   19    Quantum on a standard working group with a                            13:56:19

   20    fire wire standard to make it into audio/video                        13:56:24

   21    moving around in the living room.                                     13:56:28

   22                  I'm also the author of a book                           13:56:30

   23    chapter on computer bus design.         Related to                    13:56:32

   24    that, I was a national lecturer for our                               13:56:36


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 271 of 503 PageID #: 18150

                                     TRIAL - VOLUME 5

                                                                          Page 270

    1    professional society on bus design.                                   13:56:38

    2                   And looking over my engagements as                     13:56:41

    3    an expert, at least 20 of the 60 or so cases I                        13:56:44

    4    have been involved in related to bus design.                          13:56:47

    5         Q.     Have you testified before at trial as                     13:56:50

    6    a technical expert?                                                   13:56:54

    7         A.     Yes, I have.                                              13:56:55

    8         Q.     Have you testified on behalf of                           13:56:56

    9    patentholders and defendants?                                         13:56:59

   10         A.     Yes.                                                      13:57:01

   11         Q.     Are you being compensated for your                        13:57:02

   12    work today?                                                           13:57:04

   13         A.     Yes.                                                      13:57:05

   14         Q.     Does your compensation depend in any                      13:57:06

   15    way on the outcome of this case?                                      13:57:10

   16         A.     Not at all.                                               13:57:11

   17                   MR. ADAMS:   Your Honor, we tender                     13:57:13

   18    Dr. Levy as an expert on computer bus                                 13:57:15

   19    technology.                                                           13:57:17

   20                   MS. DURIE:   No objection.                             13:57:18

   21                   THE COURT:   All right.      He will be                13:57:19

   22    received.                                                             13:57:20

   23    BY MR. ADAMS:                                                         13:57:22

   24         Q.     Dr. Levy, have you prepared some                          13:57:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 272 of 503 PageID #: 18151

                                     TRIAL - VOLUME 5

                                                                          Page 271

    1    slides today to help explain your testimony in                        13:57:25

    2    this case?                                                            13:57:29

    3         A.   Yes.                                                        13:57:30

    4                   MR. ADAMS:   Would you jump to                         13:57:35

    5    Slide 7, please.                                                      13:57:36

    6    BY MR. ADAMS:                                                         13:57:40

    7         Q.   So let's just jump right to the                             13:57:42

    8    matter, the '243 Patent and the claims of the                         13:57:43

    9    '243 Patent.                                                          13:57:48

   10                   This is claims 23 through 25; is                       13:57:50

   11    that correct?                                                         13:57:53

   12         A.   That's right.                                               13:57:53

   13         Q.   And can you explain your analysis as                        13:57:54

   14    it relates to these claims?                                           13:57:58

   15         A.   Well, my analysis is going to show                          13:58:00

   16    that the asserted prior art does not meet all                         13:58:03

   17    of the elements of claim 23.                                          13:58:06

   18         Q.   And can you -- we've heard it from a                        13:58:10

   19    video, we have heard it from Mr. Garney.           Can                13:58:14

   20    you briefly explain what prior art means?                             13:58:17

   21         A.   Prior art refers to either documents                        13:58:18

   22    or real devices that were available and known                         13:58:21

   23    before the effective filing date of the                               13:58:25

   24    patent, which in this case, I believe, is                             13:58:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 273 of 503 PageID #: 18152

                                     TRIAL - VOLUME 5

                                                                          Page 272

    1    April of 2006.                                                        13:58:30

    2         Q.   And did you focus on a particular                           13:58:36

    3    claim element in your analysis?                                       13:58:38

    4         A.   Yes, I have.      I focused on the first                    13:58:40

    5    element of claim 23.                                                  13:58:43

    6                   MR. ADAMS:    Mr. Ferrer, do I have                    13:58:49

    7    control or would you just flip -- would you                           13:58:51

    8    just go to the next -- there, I did it.           Now I               13:58:53

    9    have to go back.      All right.                                      13:58:58

   10    BY MR. ADAMS:                                                         13:59:00

   11         Q.   Claim 23.     And do you have an opinion                    13:59:01

   12    as to whether the first element of claim 23 is                        13:59:03

   13    taught by the combination of references that                          13:59:08

   14    Aptiv and Mr. Garney has put forward?                                 13:59:10

   15         A.   Yes, I do, and my opinion is that the                       13:59:12

   16    combination does not meet this first element                          13:59:16

   17    of claim 23.                                                          13:59:19

   18         Q.   And if that element -- the first                            13:59:20

   19    element is not taught in claim 23, what's the                         13:59:23

   20    implication of that with respect to the entire                        13:59:26

   21    claim?                                                                13:59:29

   22         A.   Well, since -- to show that prior art                       13:59:29

   23    or a combination of prior art invalidates a                           13:59:34

   24    patent, you must show that the prior art meets                        13:59:37


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 274 of 503 PageID #: 18153

                                     TRIAL - VOLUME 5

                                                                          Page 273

    1    each and every element of the claim.          So if it                13:59:40

    2    doesn't meet the first element, then that does                        13:59:43

    3    not show invalidity and that claim is valid.                          13:59:46

    4         Q.   It's valid at least with respect to                         13:59:50

    5    the combination put forward by Aptiv and Mr.                          13:59:53

    6    Garney; correct?                                                      13:59:55

    7         A.   That's right.                                               13:59:56

    8         Q.   Does that have any implications to                          13:59:57

    9    claim 24 and 25?                                                      14:00:00

   10         A.   Yes.    Since claim 24 is a dependent                       14:00:03

   11    claim, it includes not only what's in the box                         14:00:07

   12    marked there for 24, but all of the elements                          14:00:10

   13    of claim 23.     And so if an element is missing                      14:00:13

   14    from claim 23 in the combination, then claim                          14:00:16

   15    24 is also valid.                                                     14:00:20

   16                   And the same thing applies to                          14:00:22

   17    claim 25 because it includes all the elements                         14:00:24

   18    of claim 23.                                                          14:00:27

   19         Q.   Thank you, Dr. Levy.                                        14:00:31

   20                   Now, we've heard about this, but                       14:00:32

   21    let's just refresh.      What is the combination                      14:00:35

   22    that Aptiv and Mr. Garney are putting forward                         14:00:38

   23    today to invalidate this -- attempt to                                14:00:41

   24    invalidate?                                                           14:00:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 275 of 503 PageID #: 18154

                                      TRIAL - VOLUME 5

                                                                           Page 274

    1         A.     They are putting forward the Dickens                       14:00:47

    2    patent and the Belkin and/or the US-98 device,                         14:00:49

    3    which we are showing a sample of here.                                 14:00:54

    4         Q.     Okay.                                                      14:00:56

    5                   Now, the patent office did not                          14:00:56

    6    have the physical Belkin US-98 device;                                 14:01:00

    7    correct?                                                               14:01:04

    8         A.     Correct.                                                   14:01:04

    9         Q.     But did they have an article related                       14:01:04

   10    to the Belkin device?                                                  14:01:06

   11         A.     Yes.                                                       14:01:08

   12         Q.     Okay.                                                      14:01:09

   13                   And so both of these documents                          14:01:09

   14    were before the patent office; is that                                 14:01:13

   15    correct?                                                               14:01:17

   16         A.     Yes.                                                       14:01:17

   17                   MS. DURIE:    I apologize, Your                         14:01:29

   18    Honor.     Can we go back one slide?       Yeah, if we                 14:01:30

   19    could go to sidebar.                                                   14:01:40

   20                   (Whereupon, a discussion was held                       14:01:40

   21    at sidebar as follows:                                                 14:03:47

   22                   MS. DURIE:    So the slide and the                      14:03:47

   23    patent, there is a reference.         It's -- the                      14:03:47

   24    Belkin patent, it is not a reference to the                            14:03:47


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 276 of 503 PageID #: 18155

                                      TRIAL - VOLUME 5

                                                                           Page 275

    1    Belkin switch unit.       We heard testimony --                        14:03:48

    2                  THE COURT:     I thought you said --                     14:03:48

    3                  MS. DURIE:     Right.     The one on the                 14:03:48

    4    right was not.     The Belkin patent --                                14:03:48

    5                  THE COURT:     I don't think it is                       14:03:48

    6    the Belkin patent.      The labeling is not --                         14:03:48

    7    because it's really --                                                 14:03:48

    8                  MS. DURIE:     Can you put the slide                     14:03:48

    9    back up?                                                               14:03:48

   10                  MR. FENTON:      Here are the slides                     14:03:48

   11    right here.                                                            14:03:48

   12                  MR. ADAMS:     That's not the right                      14:03:48

   13    one.                                                                   14:03:48

   14                  Would you go ask him?        If I might,                 14:03:48

   15    that's the '243 Patent.                                                14:03:48

   16                  THE COURT:     Right, I understand                       14:03:48

   17    the '243 Patent with the reference to the                              14:03:48

   18    Belkin called out and I understand when you're                         14:03:48

   19    saying --                                                              14:03:48

   20                  MS. DURIE:     I think it actually --                    14:03:48

   21    the reason I flagged it is this -- it says,                            14:03:48

   22    "Belkin."                                                              14:03:48

   23                  THE COURT:     It says "Belkin" at                       14:03:48

   24    the top.    On the top right it says, "Belkin."                        14:03:48


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 277 of 503 PageID #: 18156

                                      TRIAL - VOLUME 5

                                                                          Page 276

    1    It doesn't say the patent, it says, "Belkin."                         14:03:48

    2                   MR. FENTON:    This is what we                         14:03:48

    3    shared with counsel before lunch.                                     14:03:48

    4                   MS. DURIE:    I can't actually --                      14:03:48

    5    the reason I didn't have an issue is because                          14:03:48

    6    you can't actually read it, but that says,                            14:03:48

    7    "Belkin."     From what I can tell -- actually,                       14:03:48

    8    this one doesn't.     From what I saw --                              14:03:48

    9                   MR. ADAMS:    That's the '243                          14:03:48

   10    Patent.                                                               14:03:48

   11                   MS. DURIE:    Okay.     And that was                   14:03:48

   12    what's up on the slide.                                               14:03:48

   13                   MR. ADAMS:    Yes.                                     14:03:48

   14                   THE COURT:    Okay.     All right.                     14:03:48

   15                   (Whereupon, the discussion at                          14:03:56

   16    sidebar concluded.)                                                   14:03:57

   17                   MR. ADAMS:    I'm again having                         14:03:57

   18    problems with the clicker.          Would you go to --                14:03:59

   19    now I can.     All right.    There we go.     I am in                 14:04:01

   20    charge now.     Thank you.                                            14:04:03

   21    BY MR. ADAMS:                                                         14:04:05

   22         Q.     And, Dr. Levy, in particular, as we                       14:04:07

   23    have said, we are focusing on this first                              14:04:10

   24    element of claim 23; correct?                                         14:04:12


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 278 of 503 PageID #: 18157

                                      TRIAL - VOLUME 5

                                                                           Page 277

    1         A.     That's right.                                              14:04:14

    2         Q.     And could you explain a little, we've                      14:04:14

    3    heard about it many times, but would you                               14:04:17

    4    explain one more time how that element and its                         14:04:19

    5    limitations relate to your analysis?                                   14:04:22

    6         A.     Yes.   We'll be looking for where the                      14:04:24

    7    shared USB device block is, and then whether                           14:04:27

    8    it's simultaneously configured by two or more                          14:04:30

    9    hosts.     That's the key element.                                     14:04:34

   10         Q.     And Mr. Garney, as I understand and                        14:04:38

   11    you understand his testimony, that he is not                           14:04:43

   12    alleging that element is in the Dickens                                14:04:45

   13    device, correct, the Dickens reference;                                14:04:48

   14    correct?                                                               14:04:52

   15         A.     That's correct.                                            14:04:52

   16         Q.     So Mr. Garney turns to the physical                        14:04:59

   17    devices, the US-98 and the Belkin device, for                          14:05:05

   18    that; correct?                                                         14:05:09

   19         A.     Yes.                                                       14:05:10

   20         Q.     Do you have some opinion as it                             14:05:11

   21    relates to whether these devices disclose the                          14:05:14

   22    first element of claim 23?                                             14:05:17

   23         A.     Yes, I do.    And, of course, my                           14:05:19

   24    opinion is that it does not meet that first                            14:05:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 279 of 503 PageID #: 18158

                                      TRIAL - VOLUME 5

                                                                           Page 278

    1    element.     And I will show why.                                      14:05:26

    2         Q.     Please explain why.                                        14:05:28

    3         A.     Well, we are talking about how the                         14:05:31

    4    device was obtained.       Apparently Mr. Garney                       14:05:37

    5    wanted to fill that gap and so he went and                             14:05:40

    6    purchased the used device on the Internet                              14:05:44

    7    believing it to be a US-98, which turned out                           14:05:46

    8    to be an SW211A.                                                       14:05:50

    9                   He also purchased a used Belkin                         14:05:52

   10    device on the Internet.        And we have seen that                   14:05:56

   11    he doesn't know when either of these devices,                          14:05:59

   12    these physical devices, was actually made or                           14:06:03

   13    sold.                                                                  14:06:06

   14         Q.     Can I pause you right there, Dr.                           14:06:07

   15    Levy.     And this is a very important point,                          14:06:10

   16    because there's not a dispute in this case                             14:06:12

   17    that some Belkin device and some US-98 device                          14:06:14

   18    were sold, but the issue, as I understand it,                          14:06:22

   19    is whether the devices tested were sold or how                         14:06:26

   20    else could he establish that?                                          14:06:32

   21         A.     Well, the other -- even if they were                       14:06:35

   22    sold or made early enough to be "prior art,"                           14:06:41

   23    we'd have to know that the devices he tested                           14:06:47

   24    were not -- were the same as the ones that                             14:06:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 280 of 503 PageID #: 18159

                                     TRIAL - VOLUME 5

                                                                          Page 279

    1    were sold earlier.     So that question is out.                       14:06:54

    2                  And so in order to find out                             14:06:58

    3    whether it's the same, we would need a certain                        14:07:00

    4    amount of information about the history of the                        14:07:03

    5    circuit board of the chips and of the firmware                        14:07:05

    6    that's running the software in the                                    14:07:08

    7    microcontroller of those devices.                                     14:07:10

    8         Q.   Is there any -- is there any                                14:07:14

    9    indication on the devices as to whether                               14:07:19

   10    devices sold before 2005 and after were the                           14:07:23

   11    same?                                                                 14:07:29

   12         A.   Well, there is one indication on one                        14:07:30

   13    of the circuit boards, it has a version 1.2.                          14:07:33

   14    And it is conventional in the industry to have                        14:07:37

   15    version numbers on your hardware, on the chips                        14:07:42

   16    and on the boards, because they do change over                        14:07:46

   17    time in order to do things like make them more                        14:07:48

   18    cost effective or to substitute different                             14:07:51

   19    parts.                                                                14:07:55

   20                  So the version 1.2 that's on one                        14:07:55

   21    of the boards indicates to me that there was a                        14:07:59

   22    version 1.0 and a version 1.1 which are not                           14:08:02

   23    available to us and that could have been                              14:08:07

   24    different in how they functioned.                                     14:08:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 281 of 503 PageID #: 18160

                                      TRIAL - VOLUME 5

                                                                           Page 280

    1                   MR. ADAMS:     May I approach, Your                     14:08:14

    2    Honor?                                                                 14:08:16

    3                   THE COURT:     Yes.                                     14:08:16

    4    BY MR. ADAMS:                                                          14:08:45

    5          Q.    Dr. Levy, can I ask you to turn to                         14:08:46

    6    Exhibit 20 in your binder.                                             14:08:48

    7                   (Whereupon, Trial Exhibit 20 was                        14:08:48

    8    introduced.)                                                           14:08:48

    9                   THE WITNESS:     Okay.                                  14:08:53

   10    BY MR. ADAMS:                                                          14:09:01

   11          Q.    Do you recognize this?                                     14:09:01

   12          A.    I do.                                                      14:09:02

   13                   MR. ADAMS:     Your Honor, we move                      14:09:04

   14    into evidence Exhibit 20.                                              14:09:06

   15                   MS. DURIE:     No objection.                            14:09:10

   16                   THE COURT:     All right.     It's                      14:09:11

   17    admitted.                                                              14:09:12

   18                   MR. ADAMS:     Mr. Ferrer, would you                    14:09:13

   19    display Exhibit 20.        And if you'd focus on the                   14:09:16

   20    bottom left-hand corner there.                                         14:09:19

   21    BY MR. ADAMS:                                                          14:09:24

   22          Q.    Dr. Levy, you were talking about a                         14:09:26

   23    version 1.2.        Is this what you're referring                      14:09:28

   24    to?                                                                    14:09:30


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 282 of 503 PageID #: 18161

                                     TRIAL - VOLUME 5

                                                                          Page 281

    1         A.    Yes.                                                       14:09:30

    2         Q.    Do you know which device this is?                          14:09:31

    3         A.    I'm sorry, I can't remember which one                      14:09:33

    4    it is.    I think it's the Belkin; is that                            14:09:36

    5    right?                                                                14:09:40

    6         Q.    If I said it was a USB-98, would that                      14:09:40

    7    refresh your recollection?                                            14:09:43

    8         A.    US-98?                                                     14:09:43

    9         Q.    US-98.                                                     14:09:45

   10         A.    Well, yes, that would mean it's in                         14:09:46

   11    the SW211A device.                                                    14:09:49

   12         Q.    Would you explain to the jury the                          14:09:51

   13    significance of version 1.2 on the device                             14:09:53

   14    tested by Mr. Garney?                                                 14:09:56

   15         A.    Well, it suggests to me that there                         14:09:59

   16    were at least two prior versions of this                              14:10:02

   17    circuit board, and so therefore, the hardware                         14:10:05

   18    may have changed over time from earlier                               14:10:08

   19    versions of the device, the products.                                 14:10:11

   20         Q.    Is there any other information that                        14:10:15

   21    you'd want to look into to determine whether                          14:10:18

   22    the devices -- the device that Mr. Garney                             14:10:22

   23    tested were the same as devices before 2005?                          14:10:25

   24         A.    Well, yes.    I would want to look at                      14:10:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 283 of 503 PageID #: 18162

                                       TRIAL - VOLUME 5

                                                                            Page 282

    1    the firmware version numbers.          The firmware is                  14:10:30

    2    the software that runs inside the                                       14:10:33

    3    microcontroller chip.                                                   14:10:35

    4           Q.    Was that information available to                          14:10:37

    5    you?                                                                    14:10:39

    6           A.    No, it was not.     We did not have any                    14:10:39

    7    source code or listings for the firmware of                             14:10:42

    8    either of these devices.                                                14:10:46

    9           Q.    Now, Dr. Levy, was it your -- is it                        14:10:47

   10    Microchip's burden to show these devices are                            14:10:53

   11    patentable?                                                             14:10:57

   12           A.    Are what?                                                  14:10:58

   13           Q.    Is it Microchip's burden to show the                       14:10:58

   14    devices are patentable or that -- I'm sorry,                            14:11:02

   15    valid.      Is it Microchip's burden or is it                           14:11:07

   16    Aptiv's burden?                                                         14:11:09

   17           A.    Well, it's Aptiv's burden to show                          14:11:10

   18    that this prior art invalidates.                                        14:11:12

   19           Q.    So is it your job to go out and find                       14:11:17

   20    the firmware to show how these devices                                  14:11:20

   21    operated?                                                               14:11:22

   22           A.    No, not at all.     I inspected what Mr.                   14:11:23

   23    Garney provided and there was no firmware                               14:11:27

   24    source code among that.                                                 14:11:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 284 of 503 PageID #: 18163

                                      TRIAL - VOLUME 5

                                                                           Page 283

    1         Q.    All right.                                                  14:11:33

    2                   Now, we're looking here at US-98                        14:11:34

    3    or SW211A, whatever it is.         Is there similar                    14:11:39

    4    indications of version numbers on the Belkin                           14:11:43

    5    devices?                                                               14:11:46

    6         A.    I don't think so.                                           14:11:47

    7         Q.    Okay.                                                       14:11:48

    8         A.    On the hardware.                                            14:11:49

    9         Q.    Does that indicate to you that there                        14:11:50

   10    was only one version?                                                  14:11:53

   11         A.    No, it's quite customary, especially                        14:11:54

   12    over a span of years, to have the hardware                             14:11:56

   13    change over time.                                                      14:11:59

   14         Q.    And does your point about the                               14:12:02

   15    firmware changing apply equally to the Belkin                          14:12:06

   16    device?                                                                14:12:09

   17         A.    Probably even more so.        Firmware is                   14:12:09

   18    often changed to correct certain problems and                          14:12:13

   19    to make the performance better.                                        14:12:15

   20                   MR. ADAMS:    Can we go back to                         14:12:22

   21    the... okay.       Actually, go back.     There we go.                 14:12:31

   22    BY MR. ADAMS:                                                          14:12:42

   23         Q.    We were talking about Mr. Garney                            14:12:43

   24    doesn't know when the devices were made or                             14:12:44


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 285 of 503 PageID #: 18164

                                      TRIAL - VOLUME 5

                                                                           Page 284

    1    sold.     Is there more that you want to discuss                       14:12:46

    2    about Mr. Garney?                                                      14:12:48

    3         A.     Well, we talked about the necessary                        14:12:49

    4    information and of course its operation, but                           14:12:52

    5    you'll see when I explain the rest of my                               14:12:57

    6    opinions, it actually doesn't matter                                   14:13:00

    7    whether -- my opinion does not matter on when                          14:13:03

    8    the device was made, even if it is prior art,                          14:13:05

    9    which I don't think it's shown, they do not                            14:13:09

   10    function in a way that meet the first element                          14:13:13

   11    of claim 23.                                                           14:13:15

   12         Q.     I understand that.                                         14:13:17

   13                   Let's go back a little to the                           14:13:18

   14    actual devices.                                                        14:13:20

   15                   Have you -- did you hear Mr.                            14:13:21

   16    Garney say well, he knows the devices before                           14:13:24

   17    and after are the same because they have the                           14:13:27

   18    same hub chips?                                                        14:13:29

   19         A.     Oh, yes, I did hear that here today.                       14:13:30

   20         Q.     In your opinion, is that a valid way                       14:13:33

   21    to compare devices, before and after certain                           14:13:36

   22    dates?                                                                 14:13:39

   23         A.     Well, it's only one aspect.        The                     14:13:39

   24    critical one is the firmware in the                                    14:13:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 286 of 503 PageID #: 18165

                                     TRIAL - VOLUME 5

                                                                          Page 285

    1    microcontroller chip plus the rest of the                             14:13:46

    2    hardware.                                                             14:13:48

    3         Q.     Now, I believe Mr. Garney also says                       14:13:49

    4    because the software that he believes is from                         14:13:51

    5    2002 works with the device he tested, that                            14:13:54

    6    means the devices operate the same?                                   14:13:58

    7         A.     Well, that's also not conclusive                          14:14:01

    8    because he's talking about the software that                          14:14:04

    9    runs in the PC that's coming down at the host,                        14:14:06

   10    and that software is the one that displays                            14:14:09

   11    something that lets the user select something                         14:14:13

   12    with the switches.                                                    14:14:15

   13                   That software actually, as he                          14:14:17

   14    testified today, works the same on the two                            14:14:22

   15    different devices, which are clearly not the                          14:14:24

   16    same physical device.      And that doesn't give                      14:14:26

   17    any conclusion about how the internal workings                        14:14:30

   18    of the switch, the Belkin or the US-98                                14:14:35

   19    devices, work.                                                        14:14:40

   20         Q.     So, Dr. Levy, pushing aside all this                      14:14:41

   21    whether it's prior art or not prior art, when                         14:14:46

   22    these devices were sold, do you have an                               14:14:48

   23    opinion that -- as to whether the devices                             14:14:50

   24    disclose the first element of claim 23?                               14:14:55


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 287 of 503 PageID #: 18166

                                     TRIAL - VOLUME 5

                                                                          Page 286

    1         A.   Yes, I do.     And it's my opinion that                     14:15:00

    2    these devices, in combination with Dickens, do                        14:15:03

    3    not disclose -- well, do not disclose the                             14:15:06

    4    first element of claim 23.                                            14:15:09

    5         Q.   And could you explain that?                                 14:15:11

    6         A.   Well, yeah.     US-98/Belkin is trying                      14:15:17

    7    to be used as -- to fill in the gap where we                          14:15:22

    8    have admitted that Dickens does not cover that                        14:15:26

    9    fulfillment, and so I want to just point to                           14:15:28

   10    evidence that the US-98 and Belkin behave in a                        14:15:35

   11    way which don't meet that first element of the                        14:15:39

   12    claim, 23.                                                            14:15:42

   13         Q.   Okay.                                                       14:15:43

   14                  Do you have an understanding in                         14:15:43

   15    the Belkin and USB devices about what Mr.                             14:15:46

   16    Garney points to as the shared USB device                             14:15:50

   17    block?                                                                14:15:54

   18         A.   Yes.                                                        14:15:54

   19         Q.   Let's put the claim language up here.                       14:15:58

   20         A.   Okay.                                                       14:16:00

   21         Q.   And what is -- what is your                                 14:16:00

   22    understanding about what Mr. Garney points to                         14:16:02

   23    as the shared USB device block?                                       14:16:05

   24         A.   Well, remember, the shared USB device                       14:16:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 288 of 503 PageID #: 18167

                                     TRIAL - VOLUME 5

                                                                          Page 287

    1    block is the peripheral device that you are                           14:16:09

    2    talking to, and so he pointed to the printer                          14:16:15

    3    as the shared USB device block.                                       14:16:19

    4         Q.   Is it enough for claim 23A to have a                        14:16:22

    5    USB shared device block?                                              14:16:28

    6         A.   Well, no.    So even if it were a                           14:16:31

    7    shared USB device block in the US-98 and                              14:16:34

    8    Belkin, it does not -- it is not operable to                          14:16:39

    9    be simultaneously configured by two or more                           14:16:43

   10    USB hosts.                                                            14:16:45

   11         Q.   So it's your opinion that if the                            14:16:47

   12    shared USB device block is a printer, it's not                        14:16:51

   13    operable to be simultaneously configured by                           14:16:55

   14    two or more USB hosts; is that correct?                               14:16:57

   15         A.   That's correct.                                             14:16:59

   16         Q.   Okay.                                                       14:17:00

   17                  Do you have any information to                          14:17:01

   18    support your opinion that the printer is not                          14:17:04

   19    simultaneously configured by two or more --                           14:17:08

   20    I'm sorry, operable to be simultaneously                              14:17:11

   21    configured by two or more hosts?                                      14:17:14

   22         A.   Yes, I do.                                                  14:17:15

   23         Q.   Would you turn to Demonstrative                             14:17:17

   24    Exhibit 389, which is at the back of your                             14:17:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 289 of 503 PageID #: 18168

                                     TRIAL - VOLUME 5

                                                                          Page 288

    1    folder.                                                               14:17:30

    2         A.   Okay.                                                       14:17:37

    3         Q.   What do you understand Demonstrative                        14:17:38

    4    Exhibit 389 to be?                                                    14:17:41

    5         A.   Demonstrative 389 is Exhibit E4 to                          14:17:44

    6    Mr. Garney's original expert report on                                14:17:48

    7    invalidity.                                                           14:17:52

    8         Q.   So this is from Mr. Garney's report;                        14:17:53

    9    is that correct?                                                      14:17:55

   10         A.   That's right.                                               14:17:56

   11         Q.   Okay.                                                       14:17:57

   12                  Is there something in here that                         14:17:57

   13    indicates to you that Mr. Garney's testimony                          14:18:02

   14    today was not sufficient?       And I'll point you                    14:18:04

   15    to page 27 possibly.                                                  14:18:09

   16         A.   Okay.    So on page 27, Mr. Garney is                       14:18:20

   17    analyzing element 1B, and the reason we're                            14:18:29

   18    there analyzing element 1B is because under                           14:18:34

   19    claim 23, first element he says, "See 1B," so                         14:18:37

   20    he's referring to this for his justification                          14:18:42

   21    for claim 23.                                                         14:18:45

   22                  Second of all, prior to this, he                        14:18:48

   23    was talking about something called an HID                             14:18:52

   24    device which is not at issue anymore because                          14:18:56


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 290 of 503 PageID #: 18169

                                     TRIAL - VOLUME 5

                                                                          Page 289

    1    it's not pointing to that anymore, but he                             14:18:58

    2    gives an alternative case where he is pointing                        14:19:02

    3    to the printer, which is what he presented                            14:19:06

    4    today.                                                                14:19:08

    5                   And so here he says, "The only                         14:19:09

    6    pertinent difference between the HID device,                          14:19:12

    7    the old one, and the printer is that the                              14:19:16

    8    printer is re-enumerated each time it is                              14:19:18

    9    accessed by a different host computer."                               14:19:21

   10         Q.     And could you explain the                                 14:19:29

   11    significance of the printer being                                     14:19:30

   12    re-enumerated as it relates to the                                    14:19:32

   13    simultaneously configured by two or more hosts                        14:19:36

   14    language?                                                             14:19:39

   15         A.     Yes.   Since that is evidence that                        14:19:39

   16    it's not simultaneously configured by two or                          14:19:43

   17    more USB hosts because if it had to be                                14:19:47

   18    re-enumerated each time a different host                              14:19:52

   19    attaches to it or it sends data to it, that                           14:19:55

   20    means it was not simultaneously configured by                         14:19:57

   21    two or more hosts.                                                    14:20:00

   22         Q.     Is there anything else about the                          14:20:02

   23    Belkin device that indicates to you that Mr.                          14:20:05

   24    Garney is wrong about the printer being                               14:20:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 291 of 503 PageID #: 18170

                                     TRIAL - VOLUME 5

                                                                          Page 290

    1    operably simultaneously configured by two or                          14:20:11

    2    more hosts?                                                           14:20:14

    3         A.   Yes.    I think we have some other                          14:20:14

    4    evidence that the same effect happens on the                          14:20:20

    5    Belkin device.                                                        14:20:23

    6                  MR. ADAMS:    Mr. Ferrer, could you                     14:20:25

    7    bring up Exhibit 3, which is already in                               14:20:27

    8    evidence, and particularly, page 1293.           Before               14:20:29

    9    you go off page 1...                                                  14:20:40

   10    BY MR. ADAMS:                                                         14:20:44

   11         Q.   Dr. Levy, do you understand this to                         14:20:45

   12    be the prosecution history of the '243 Patent?                        14:20:47

   13         A.   Yes.                                                        14:20:54

   14                  MR. ADAMS:    Would you go to                           14:20:56

   15    page 1293, Mr. Ferrer?                                                14:20:57

   16    BY MR. ADAMS:                                                         14:21:03

   17         Q.   Now, I think we looked at this                              14:21:04

   18    document earlier today.       Is there something in                   14:21:05

   19    here that you want to point out?                                      14:21:08

   20         A.   Yes.    It wasn't highlighted on what                       14:21:09

   21    was shown earlier, but if you look under the                          14:21:13

   22    pros and cons under the figure, it says,                              14:21:15

   23    "Cons."   It is giving the pluses and minuses                         14:21:23

   24    in this review.     And one of the cons is not                        14:21:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 292 of 503 PageID #: 18171

                                      TRIAL - VOLUME 5

                                                                           Page 291

    1    only is it not high speed support, but "device                         14:21:28

    2    ejection error during switching."                                      14:21:31

    3                  Now, that correlates with the fact                       14:21:35

    4    that when one host sends data, it's                                    14:21:36

    5    disconnecting from the other host, and that                            14:21:42

    6    causes an error in the other host unless the                           14:21:45

    7    user actually goes and tells it to disconnect.                         14:21:48

    8                  MR. ADAMS:     Can we go back to the                     14:21:55

    9    presentation, Mr. Ferrer?                                              14:21:57

   10    BY MR. ADAMS:                                                          14:22:06

   11         Q.    And so, Dr. Levy, do you have an                            14:22:07

   12    opinion as to whether the US-98 and Belkin                             14:22:09

   13    devices disclose a shared USB block operable                           14:22:15

   14    to be simultaneously configured by two or more                         14:22:19

   15    hosts?                                                                 14:22:21

   16         A.    Yes, I have an opinion, and my                              14:22:22

   17    opinion is that they do not disclose this                              14:22:25

   18    first element of the shared USB device block                           14:22:27

   19    operable to be simultaneously configured by                            14:22:30

   20    two or more hosts.                                                     14:22:33

   21         Q.    And again, that's not dependent on                          14:22:36

   22    whether US-98 or Belkin is actually prior art;                         14:22:39

   23    correct?                                                               14:22:43

   24         A.    That's right.                                               14:22:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 293 of 503 PageID #: 18172

                                      TRIAL - VOLUME 5

                                                                           Page 292

    1         Q.    Even if they are prior art, you have                        14:22:43

    2    the same opinion?                                                      14:22:45

    3         A.    Even if they are prior art and --                           14:22:46

    4    yeah.                                                                  14:22:50

    5         Q.    And again, what's the significance to                       14:22:50

    6    claim 23 if neither Dickens, which hasn't been                         14:22:52

    7    argued to have it, and US-98 don't have the                            14:22:58

    8    first element of claim 23?                                             14:23:01

    9         A.    Well, that means that the combination                       14:23:03

   10    still doesn't have that element, and                                   14:23:05

   11    therefore, they have not shown it to be                                14:23:07

   12    invalid.                                                               14:23:09

   13         Q.    They have not shown it to be invalid,                       14:23:10

   14    so for the purposes of this trial, it is                               14:23:12

   15    considered valid; is that right?                                       14:23:14

   16         A.    That's right.                                               14:23:17

   17         Q.    Okay.                                                       14:23:17

   18                  And again, what's the significance                       14:23:18

   19    of claim 23 being valid as it relates to 24                            14:23:20

   20    and 25?                                                                14:23:23

   21         A.    Well, 24 being dependent, it includes                       14:23:24

   22    all the elements of claim 23 and therefore,                            14:23:28

   23    the missing element is missing from claim 24                           14:23:30

   24    and its element.                                                       14:23:34


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 294 of 503 PageID #: 18173

                                      TRIAL - VOLUME 5

                                                                           Page 293

    1          Q.   And what about -- go ahead.                                 14:23:36

    2          A.   Same thing is true of claim 25.          All                14:23:38

    3    the elements of claim 23 must be there and the                         14:23:40

    4    missing element is also missing in claim 25.                           14:23:44

    5          Q.   Now, Dr. Levy, we actually omitted                          14:23:48

    6    one piece and it is a pretty important piece.                          14:23:51

    7                  Just identifying a shared USB                            14:23:54

    8    device that can be simultaneously configured                           14:23:59

    9    in one reference isn't enough to create a                              14:24:06

   10    combination; you need something more to create                         14:24:09

   11    a combination to invalidate a patent?                                  14:24:11

   12          A.   Yes, well, you need motivation for                          14:24:14

   13    the person of skill in the art, that's just                            14:24:17

   14    the name for an expert, to look for and use                            14:24:19

   15    these two parts together.        And then you also                     14:24:25

   16    need to show exactly how you would substitute                          14:24:28

   17    something from one of them into the other.                             14:24:31

   18          Q.   And did you see Mr. Garney go up to a                       14:24:35

   19    board today and draw on it to try to show                              14:24:39

   20    motivation combined?                                                   14:24:42

   21          A.   I did.                                                      14:24:44

   22                  MR. ADAMS:     May I put that board                      14:24:46

   23    up?                                                                    14:24:47

   24                  (Brief pause.)                                           14:25:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 295 of 503 PageID #: 18174

                                     TRIAL - VOLUME 5

                                                                          Page 294

    1    BY MR. ADAMS:                                                         14:25:21

    2         Q.   Had you seen this drawing in any of                         14:25:22

    3    Mr. Garney's previous work?                                           14:25:24

    4         A.   Oh, yes.                                                    14:25:26

    5         Q.   Okay.                                                       14:25:27

    6                  Do you agree that this establishes                      14:25:28

    7    a motivation to combine the references?                               14:25:32

    8         A.   No, I have to admit that it's hard to                       14:25:37

    9    understand what exactly here motivates the                            14:25:40

   10    combination from what he said here.                                   14:25:44

   11         Q.   Okay.                                                       14:25:46

   12                  Do you have an opinion of your own                      14:25:46

   13    whether there's sufficient motivation to                              14:25:49

   14    combine these references?                                             14:25:53

   15         A.   Yes.    I haven't seen sufficient                           14:25:54

   16    motivation to combine these physical devices                          14:25:56

   17    and their functioning with the Dickens patent                         14:26:00

   18    as is shown here -- as is represented here.                           14:26:06

   19                  MR. ADAMS:    Thank you, Dr. Levy.                      14:26:11

   20                  I don't know if I met my promise                        14:26:12

   21    of keeping it short or not, let others be the                         14:26:13

   22    judge, but I pass the witness.                                        14:26:17

   23                                -   -   -                                 14:26:17

   24                                                                          14:26:36


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 296 of 503 PageID #: 18175

                                     TRIAL - VOLUME 5

                                                                          Page 295

    1                         CROSS-EXAMINATION                                14:26:37

    2                                -   -   -                                 14:26:37

    3    BY MS. DURIE:                                                         14:26:37

    4         Q.   Dr. Levy, good afternoon.                                   14:26:39

    5         A.   Good afternoon.                                             14:26:41

    6         Q.   We have not met other than                                  14:26:42

    7    pleasantries, but as I am sure you have                               14:26:44

    8    figured out by now, I am Daralyn Durie, one of                        14:26:46

    9    the lawyers representing Aptiv.                                       14:26:49

   10                   Now, you've served as an expert                        14:26:50

   11    witness in over 60 cases; right?                                      14:26:52

   12         A.   That's right.                                               14:26:54

   13         Q.   And you've testified at trial several                       14:26:54

   14    times before; right?                                                  14:26:56

   15         A.   Correct.                                                    14:26:57

   16         Q.   In fact, for the last decade or two,                        14:26:58

   17    other than teaching one class a year, you have                        14:27:00

   18    worked as an expert witness in cases like this                        14:27:02

   19    one; right?                                                           14:27:04

   20         A.   In cases -- I'm sorry?                                      14:27:05

   21         Q.   In cases like this one.                                     14:27:07

   22         A.   Yeah.                                                       14:27:08

   23         Q.   And you charge $625 an hour for your                        14:27:09

   24    time; right?                                                          14:27:11


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 297 of 503 PageID #: 18176

                                      TRIAL - VOLUME 5

                                                                           Page 296

    1         A.    Yes.                                                        14:27:12

    2                  MS. DURIE:     Now, if we could take                     14:27:15

    3    a look at TX-102 marked for identification.                            14:27:16

    4    BY MS. DURIE:                                                          14:27:33

    5         Q.    TX-102 is a copy of the resume that                         14:27:33

    6    you submitted in connection with your expert                           14:27:37

    7    report in this case; correct?                                          14:27:39

    8         A.    Yes.                                                        14:27:46

    9                  MS. DURIE:     We offer it.                              14:27:48

   10                  MR. ADAMS:     No objection, Your                        14:27:52

   11    Honor.                                                                 14:27:52

   12                  THE COURT:     All right.      It can                    14:27:53

   13    come in.                                                               14:27:54

   14                  MS. DURIE:     And if we could                           14:27:55

   15    publish the first page of Exhibit 102.                                 14:27:56

   16    BY MS. DURIE:                                                          14:27:59

   17         Q.    It's your standard practice to                              14:27:59

   18    provide a resume like this as part of your                             14:28:01

   19    expert report; right?                                                  14:28:03

   20         A.    Yes.                                                        14:28:05

   21         Q.    And that's, in part, so the parties                         14:28:05

   22    and the Court can inspect your expertise as it                         14:28:09

   23    relates to the particular subject matter of                            14:28:12

   24    the case; right?                                                       14:28:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 298 of 503 PageID #: 18177

                                     TRIAL - VOLUME 5

                                                                          Page 297

    1         A.     Yes.                                                      14:28:14

    2         Q.     And you see here, under "Bus                              14:28:14

    3    standards," that you identify USB as being one                        14:28:17

    4    of your areas of expertise; right?                                    14:28:20

    5         A.     Correct.                                                  14:28:21

    6         Q.     Now, you have a website that you use                      14:28:22

    7    to market your expert witness services; right?                        14:28:24

    8         A.     Yes.                                                      14:28:27

    9         Q.     It is johnlevyexpert.com?                                 14:28:28

   10         A.     Yes.                                                      14:28:30

   11                   MS. DURIE:   And I am going to mark                    14:28:42

   12    for identification Exhibit 379.                                       14:28:44

   13                   MR. SAULSBURY:     I'm sorry, 380                      14:28:59

   14    actually.                                                             14:29:01

   15                   MS. DURIE:   I apologize.                              14:29:02

   16                   (Whereupon, Exhibit 380 was marked                     14:29:05

   17    for identification.)                                                  14:29:09

   18    BY MS. DURIE:                                                         14:29:11

   19         Q.     Exhibit 380 is a copy of your                             14:29:12

   20    website; right?                                                       14:29:14

   21         A.     The first page is a copy of the first                     14:29:35

   22    page of my website.      The others are from other                    14:29:37

   23    pages.                                                                14:29:41

   24         Q.     From your website?                                        14:29:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 299 of 503 PageID #: 18178

                                       TRIAL - VOLUME 5

                                                                            Page 298

    1           A.   Yes.                                                        14:29:43

    2           Q.   Great.                                                      14:29:44

    3                   MS. DURIE:     We offer Exhibit 380.                     14:29:45

    4                   MR. ADAMS:     Objection, Your Honor.                    14:29:49

    5    It's not on the exhibit list.                                           14:29:50

    6                   THE COURT:     I don't see it on the                     14:29:54

    7    exhibit list.                                                           14:29:56

    8                   MS. DURIE:     It's cross.                               14:29:57

    9                   THE COURT:     I mean, are you                           14:30:00

   10    particularly offering it --                                             14:30:02

   11                   MS. DURIE:     Well, let me ask this.                    14:30:04

   12    BY MS. DURIE:                                                           14:30:05

   13           Q.   On your website, when you list your                         14:30:05

   14    areas of expertise, you don't list USB; right?                          14:30:08

   15           A.   I'm sorry?                                                  14:30:11

   16           Q.   On your website, when you list your                         14:30:12

   17    areas of expertise, you don't list USB; right?                          14:30:14

   18           A.   Those words are not there on this,                          14:30:17

   19    yep.                                                                    14:30:21

   20           Q.   Now, during your actual employment in                       14:30:21

   21    industry, you did not do work directly on                               14:30:24

   22    anything that related to USB; right?                                    14:30:27

   23           A.   I'm sorry, I didn't hear the key word                       14:30:28

   24    there.                                                                  14:30:31


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 300 of 503 PageID #: 18179

                                     TRIAL - VOLUME 5

                                                                          Page 299

    1         Q.   Yeah, during your actual employment                         14:30:31

    2    in industry, you didn't do work directly on                           14:30:33

    3    anything that related to USB?                                         14:30:36

    4         A.   That's correct.                                             14:30:43

    5         Q.   Okay.                                                       14:30:44

    6                  You retired from industry to focus                      14:30:45

    7    on your consulting in 1998; right?                                    14:30:49

    8         A.   That's right.                                               14:30:52

    9         Q.   That was two years after the USB                            14:30:53

   10    standard was published; right?                                        14:30:55

   11         A.   I accept your representation of that.                       14:30:56

   12         Q.   Okay.                                                       14:30:57

   13                  And the patent in this case is                          14:30:59

   14    from 2006; right?                                                     14:31:01

   15         A.   This case?                                                  14:31:02

   16         Q.   Right.                                                      14:31:03

   17         A.   Yes.                                                        14:31:03

   18         Q.   The patent here.                                            14:31:04

   19         A.   Right.                                                      14:31:05

   20         Q.   And so by that point, you had been                          14:31:06

   21    out of the industry for about eight years;                            14:31:08

   22    right?                                                                14:31:10

   23         A.   I wouldn't put it that way.         I had                   14:31:10

   24    been not employed in the industry --                                  14:31:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 301 of 503 PageID #: 18180

                                     TRIAL - VOLUME 5

                                                                          Page 300

    1         Q.   Okay.                                                       14:31:15

    2         A.   -- for seven or eight years.                                14:31:17

    3         Q.   Fair enough.                                                14:31:18

    4                  You're not the author of any books                      14:31:19

    5    or articles that are specifically about USB;                          14:31:20

    6    right?                                                                14:31:22

    7         A.   That's correct.                                             14:31:22

    8         Q.   You haven't ever served as a                                14:31:23

    9    technical reviewer for any books or articles                          14:31:25

   10    about USB; right?                                                     14:31:27

   11         A.   You said technical review or books or                       14:31:29

   12    articles about USB?                                                   14:31:32

   13         Q.   Correct.                                                    14:31:33

   14         A.   I have not.                                                 14:31:34

   15         Q.   You did not participate in authoring                        14:31:34

   16    any of the USB standards; right?                                      14:31:37

   17         A.   Correct.                                                    14:31:39

   18         Q.   You don't have any patents that                             14:31:40

   19    relate to USB; right?                                                 14:31:42

   20         A.   That's right.                                               14:31:43

   21         Q.   Your patents predate USB; right?                            14:31:45

   22         A.   Yes.                                                        14:31:48

   23         Q.   I think your last patent issued in                          14:31:48

   24    1981; is that right?                                                  14:31:51


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 302 of 503 PageID #: 18181

                                      TRIAL - VOLUME 5

                                                                          Page 301

    1         A.   Sounds right.                                               14:31:52

    2         Q.   You have never spoken at any USB                            14:31:53

    3    developers conference; correct?                                       14:31:55

    4         A.   Right.                                                      14:31:56

    5         Q.   And, in fact, the way that you have                         14:31:57

    6    become familiar with the circuit level design                         14:31:58

    7    details of standard USB devices is from                               14:32:01

    8    studying the USB documents in this case;                              14:32:04

    9    right?                                                                14:32:07

   10         A.   No.                                                         14:32:07

   11                    MS. DURIE:   If I could please --                     14:32:11

   12    all right.      We'll come back to that.                              14:32:19

   13    BY MS. DURIE:                                                         14:32:25

   14         Q.   Now, you have testified as an expert                        14:32:25

   15    in other cases; right?                                                14:32:27

   16         A.   Correct.                                                    14:32:29

   17         Q.   And you submitted your resume in                            14:32:29

   18    connection with other engagements; right?                             14:32:32

   19         A.   Right.                                                      14:32:34

   20         Q.   And when you submitted your resume in                       14:32:35

   21    connection with other engagements, before you                         14:32:37

   22    were hired in this case, you did not list USB                         14:32:40

   23    as one of your areas of expertise; correct?                           14:32:44

   24         A.   I don't recall.                                             14:32:49


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 303 of 503 PageID #: 18182

                                     TRIAL - VOLUME 5

                                                                          Page 302

    1                   MS. DURIE:   Let me mark for                           14:32:58

    2    identification, as Exhibit 381, a copy of a                           14:32:59

    3    resume of John Levy.                                                  14:33:04

    4                   (Whereupon, Exhibit 381 was marked                     14:33:07

    5    for identification.)                                                  14:33:11

    6    BY MS. DURIE:                                                         14:33:25

    7         Q.   Now, you recognize what has been                            14:33:25

    8    marked for identification as Exhibit 381 as a                         14:33:27

    9    copy of your resume that you submitted in the                         14:33:30

   10    Huawei vs. FISI, FISI, I'm not sure, Inter                            14:33:37

   11    Partes Review proceeding; right?                                      14:33:41

   12         A.   I'm sorry, I didn't hear the last                           14:33:42

   13    words.                                                                14:33:44

   14         Q.   In the Huawei Inter Partes Review                           14:33:44

   15    proceedings?                                                          14:33:48

   16         A.   I accept that representation.          It                   14:33:48

   17    does have a date at the bottom.                                       14:33:50

   18         Q.   Right.                                                      14:33:51

   19                   There is a date at the bottom of                       14:33:52

   20    September 2017; right?                                                14:33:54

   21         A.   That's right.                                               14:33:56

   22         Q.   You actually submitted this to the                          14:33:56

   23    patent office in 2018; right?                                         14:33:59

   24         A.   That could be.                                              14:34:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 304 of 503 PageID #: 18183

                                     TRIAL - VOLUME 5

                                                                          Page 303

    1         Q.   Okay.                                                       14:34:03

    2                   And if we look at your resume, it                      14:34:04

    3    appears to be virtually identical to the                              14:34:09

    4    resume that you submitted in this case; right?                        14:34:11

    5                   Let me see if I can help you out.                      14:34:24

    6         A.   Well, I can point out a number of                           14:34:25

    7    differences.                                                          14:34:28

    8         Q.   Okay.                                                       14:34:28

    9                   MS. DURIE:   We offer 381.                             14:34:31

   10                   MR. ADAMS:   Same objection, Your                      14:34:34

   11    Honor.                                                                14:34:36

   12                   THE COURT:   All right.      It's                      14:34:36

   13    overruled.                                                            14:34:37

   14                   MS. DURIE:   If we could please put                    14:34:38

   15    up, Mr. Glass, Slide 3.                                               14:34:40

   16    BY MS. DURIE:                                                         14:34:56

   17         Q.   On the left is the resume that you                          14:34:56

   18    submitted in 2018, on the right is the resume                         14:34:58

   19    that you submitted in this case in August of                          14:35:03

   20    2019.                                                                 14:35:05

   21                   And you see, when you look at your                     14:35:07

   22    areas of expertise, that one of the things you                        14:35:09

   23    have done is add a reference to USB; right?                           14:35:12

   24         A.   That, among other things.                                   14:35:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 305 of 503 PageID #: 18184

                                       TRIAL - VOLUME 5

                                                                            Page 304

    1           Q.   Okay.                                                       14:35:18

    2                   Now, you have a marketing video on                       14:35:18

    3    your website; right?                                                    14:35:22

    4           A.   I'm not sure what you mean by that.                         14:35:24

    5           Q.   Well, you have a video that you                             14:35:26

    6    recorded of yourself that attorneys can watch                           14:35:28

    7    to see if they might be interested in hiring                            14:35:31

    8    you?                                                                    14:35:33

    9           A.   I had kind of forgotten about that,                         14:35:33

   10    but I guess I do.                                                       14:35:36

   11           Q.   And you say that you enjoy working on                       14:35:37

   12    patent cases because you get to interact with                           14:35:40

   13    very intelligent attorneys; right?            Right?                    14:35:42

   14           A.   That -- I accept that I say that.                           14:35:47

   15           Q.   And that one of the themes to a                             14:35:49

   16    successful expert witness engagement is                                 14:35:51

   17    maintaining frequent communication with the                             14:35:53

   18    lawyers who hired you; right?                                           14:35:55

   19           A.   Yes.                                                        14:35:57

   20           Q.   And you say you like to write the                           14:35:58

   21    initial draft of the technical content of your                          14:36:00

   22    report, but then you add lots of time to edit                           14:36:02

   23    and confine your report in cooperation with                             14:36:05

   24    the lawyers who hired you; right?                                       14:36:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 306 of 503 PageID #: 18185

                                     TRIAL - VOLUME 5

                                                                          Page 305

    1         A.   That sounds generally correct.                              14:36:09

    2         Q.   And the lawyers who hire you, were                          14:36:11

    3    going to hire you, will sometimes want                                14:36:15

    4    references; right?                                                    14:36:17

    5         A.   I don't recall.                                             14:36:20

    6         Q.   Well, isn't it the case that you                            14:36:22

    7    provide, on your website, a list of litigation                        14:36:25

    8    experience?                                                           14:36:29

    9         A.   A list of?                                                  14:36:30

   10         Q.   Your litigation experience.                                 14:36:31

   11         A.   I do.                                                       14:36:33

   12         Q.   And you list some of the lawyers who                        14:36:33

   13    hired you and their phone numbers; right?                             14:36:35

   14         A.   I'm sorry?                                                  14:36:38

   15         Q.   You list some of the lawyers who                            14:36:39

   16    hired you and their phone numbers; right?                             14:36:41

   17         A.   I suppose I do.                                             14:36:43

   18         Q.   Including Microchip's lawyers in this                       14:36:45

   19    case; right?                                                          14:36:48

   20         A.   I don't recall.                                             14:36:49

   21         Q.   Now, you have served as an expert in                        14:36:52

   22    infringement on other cases; right?                                   14:36:57

   23         A.   I think so, yes.                                            14:37:00

   24         Q.   Okay.                                                       14:37:01


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 307 of 503 PageID #: 18186

                                     TRIAL - VOLUME 5

                                                                          Page 306

    1                  In this case, you were not asked                        14:37:01

    2    to look at the infringement question; right?                          14:37:03

    3         A.   Correct.                                                    14:37:06

    4         Q.   So you don't have any opinion in this                       14:37:07

    5    case about whether Aptiv infringes; right?                            14:37:10

    6         A.   That's right.                                               14:37:12

    7         Q.   And you didn't do anything to make                          14:37:13

    8    sure that the opinions that you're going to                           14:37:15

    9    offer today are consistent with Dr.                                   14:37:17

   10    Zatkovich's opinions.      When you were preparing                    14:37:20

   11    your opinions, that's not something you did;                          14:37:22

   12    right?                                                                14:37:24

   13                  MR. ADAMS:     Objection, Your Honor.                   14:37:26

   14                  THE COURT:     Overruled.                               14:37:28

   15                  THE WITNESS:     So I guess I should                    14:37:33

   16    hear the question again.                                              14:37:34

   17                  MS. DURIE:     Sure.                                    14:37:35

   18    BY MS. DURIE:                                                         14:37:36

   19         Q.   When you were preparing your                                14:37:36

   20    opinions, you didn't do anything to make sure                         14:37:38

   21    that what you were saying was consistent with                         14:37:40

   22    what Dr. Zatkovich was saying; right?                                 14:37:42

   23         A.   Well, I didn't have access to                               14:37:44

   24    anything that Dr. -- Mr. Zatkovich was saying,                        14:37:46


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 308 of 503 PageID #: 18187

                                     TRIAL - VOLUME 5

                                                                          Page 307

    1    so I guess that follows from that.                                    14:37:49

    2         Q.   Right.                                                      14:37:50

    3                  Well, you were provided with the                        14:37:51

    4    first 10 pages of his expert report; right?                           14:37:52

    5         A.   I don't recall.                                             14:37:57

    6         Q.   Okay.                                                       14:37:58

    7                  Let's take a look -- I am going to                      14:38:01

    8    hand you a copy of your deposition.                                   14:38:03

    9                  Now first, let's turn to page 11                        14:38:16

   10    of your deposition, line 4.        Sorry, I                           14:38:19

   11    apologize.    Page 11 of your deposition --                           14:38:26

   12    actually, let's start at line 12 -- line 4.                           14:38:34

   13                  Do you see that you were asked                          14:38:37

   14    about Mr. Zatkovich's infringement report?                            14:38:40

   15         A.   We are talking about on page 11?                            14:38:45

   16         Q.   Page 11, starting at line 4.                                14:38:47

   17         A.   Yes.                                                        14:38:49

   18         Q.   Why don't you read down to line 16.                         14:38:49

   19         A.   Okay.                                                       14:38:54

   20         Q.   Does that refresh your recollection                         14:38:55

   21    that you had reviewed the first 10 pages of                           14:38:57

   22    Dr. Zatkovich's report?                                               14:39:00

   23         A.   Yes.                                                        14:39:08

   24         Q.   Do you know why it is that you were                         14:39:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 309 of 503 PageID #: 18188

                                       TRIAL - VOLUME 5

                                                                          Page 308

    1    only provided with the first 10 pages and not                         14:39:11

    2    with any of his substantive opinions?                                 14:39:14

    3         A.   Presumably so that I would not have                         14:39:17

    4    any influence from seeing his opinions on                             14:39:21

    5    infringement.                                                         14:39:24

    6         Q.   Okay.                                                       14:39:25

    7                    Now, I asked you a little while                       14:39:25

    8    ago whether the way that you had become                               14:39:28

    9    familiar with the circuit level design details                        14:39:30

   10    of standard USB devices was from studying                             14:39:32

   11    documents in this case.                                               14:39:36

   12                    I am going to read from your                          14:39:38

   13    deposition at page 34, beginning at line 24.                          14:39:39

   14                    "QUESTION:     Are you familiar with                  14:39:44

   15    the circuit level design details of any                               14:39:47

   16    standard USB devices?                                                 14:39:50

   17                    "ANSWER:     Well, I have become                      14:39:51

   18    familiar with quite a bit of it in studying                           14:39:54

   19    the USB documents in this case."                                      14:39:56

   20                    Do you recall that testimony?                         14:39:59

   21         A.   No.                                                         14:40:00

   22         Q.   Okay.                                                       14:40:01

   23                    Now, when you were putting your                       14:40:08

   24    infringement opinions -- I'm sorry, your                              14:40:11


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 310 of 503 PageID #: 18189

                                     TRIAL - VOLUME 5

                                                                          Page 309

    1    invalidity opinions together, you didn't know                         14:40:14

    2    what products Microchip had accused of                                14:40:18

    3    infringement; right?                                                  14:40:20

    4         A.   Correct.                                                    14:40:21

    5         Q.   You didn't look at the dual role hub;                       14:40:21

    6    right?                                                                14:40:24

    7         A.   The what?                                                   14:40:24

    8         Q.   Do you even know what the dual role                         14:40:25

    9    hub is?                                                               14:40:28

   10         A.   Well, I've seen it in the courtroom,                        14:40:28

   11    but before this, no.                                                  14:40:30

   12         Q.   Okay.                                                       14:40:33

   13                  Now, when you were preparing your                       14:40:34

   14    expert reports, you were aware that there had                         14:40:36

   15    been prior patent office proceedings involving                        14:40:39

   16    the Microchip patent; right?                                          14:40:42

   17         A.   Correct.                                                    14:40:44

   18         Q.   And you reviewed the record of                              14:40:45

   19    proceedings in the patent office that related                         14:40:47

   20    to two other Microchip patents; right?                                14:40:50

   21         A.   In addition to the '243?        Yeah.                       14:40:52

   22         Q.   I was going to ask you that.                                14:40:56

   23                  You didn't list the IPR                                 14:40:57

   24    proceedings relating to the '243 Patent in                            14:40:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 311 of 503 PageID #: 18190

                                     TRIAL - VOLUME 5

                                                                          Page 310

    1    your materials considered.        I take it that was                  14:41:01

    2    just an oversight; you did look at them?                              14:41:02

    3         A.   Yes.                                                        14:41:04

    4         Q.   Okay.                                                       14:41:05

    5                  And you're aware that in that                           14:41:06

    6    proceeding, the patent office had looked at                           14:41:08

    7    patents and the written prior art; right?                             14:41:10

    8         A.   I'm sorry, patents and...                                   14:41:13

    9         Q.   Written prior art.                                          14:41:15

   10         A.   Yes.                                                        14:41:17

   11         Q.   Now, you were not Microchip's expert                        14:41:17

   12    during those patent office proceedings; right?                        14:41:20

   13         A.   During the PTAB proceedings, no.                            14:41:22

   14         Q.   Microchip had a different expert;                           14:41:25

   15    right?                                                                14:41:26

   16         A.   Apparently so.                                              14:41:27

   17         Q.   That was Mr. Knapen?                                        14:41:28

   18         A.   Yes.                                                        14:41:30

   19         Q.   Okay.                                                       14:41:30

   20                  And Microchip argued in reliance                        14:41:31

   21    on Mr. Knapen's testimony that all of the                             14:41:36

   22    claims of the patent were valid; right?                               14:41:39

   23         A.   I don't recall, but I believe that's                        14:41:42

   24    right.                                                                14:41:44


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 312 of 503 PageID #: 18191

                                     TRIAL - VOLUME 5

                                                                          Page 311

    1         Q.     Okay.                                                     14:41:44

    2                   And then the patent office                             14:41:45

    3    invalidated a number of the claims, including                         14:41:47

    4    claim 1; right?                                                       14:41:50

    5         A.     Including...                                              14:41:51

    6         Q.     Claim 1.                                                  14:41:52

    7         A.     Yes.                                                      14:41:53

    8         Q.     And Microchip appealed that decision;                     14:41:54

    9    right?    Aptiv appealed and Microchip appealed.                      14:41:56

   10    Nobody was completely happy with what had                             14:42:00

   11    happened in the patent office; right?                                 14:42:02

   12         A.     I am not clear on who appealed.                           14:42:04

   13                   MS. DURIE:   Let's see Exhibit 370,                    14:42:06

   14    please, Mr. Glass, at 3438.                                           14:42:09

   15    BY MS. DURIE:                                                         14:42:18

   16         Q.     Do you see at the top there, it says,                     14:42:18

   17    "Notice is hereby given that patent owner                             14:42:22

   18    Microchip Technology cross appeals to the                             14:42:25

   19    United States Court of Appeals for the Federal                        14:42:28

   20    Circuit," and then there's lots of lawyer                             14:42:31

   21    language.                                                             14:42:32

   22                   Do you see that?                                       14:42:32

   23         A.     I see it.                                                 14:42:33

   24         Q.     So you understand both sides                              14:42:34


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 313 of 503 PageID #: 18192

                                      TRIAL - VOLUME 5

                                                                          Page 312

    1    appealed?                                                             14:42:35

    2         A.     I do now.                                                 14:42:36

    3         Q.     Okay.                                                     14:42:37

    4                   And then after the patent office                       14:42:37

    5    found that a number of the claims, including                          14:42:42

    6    claim 1, were invalid, Microchip stopped using                        14:42:44

    7    Mr. Knapen as an expert and hired you; right?                         14:42:46

    8         A.     Apparently.                                               14:42:50

    9         Q.     Okay.                                                     14:42:51

   10                   And when you prepared your report,                     14:42:52

   11    you didn't make any effort to make sure that                          14:42:54

   12    the opinions you were presenting were                                 14:42:58

   13    consistent with the opinions that Mr. Knapen                          14:42:59

   14    had presented to the patent office; right?                            14:43:02

   15         A.     I don't recall.                                           14:43:04

   16                   MS. DURIE:     I am going to read                      14:43:07

   17    from the witness's deposition at page 12,                             14:43:08

   18    line 13 through 16.                                                   14:43:11

   19                   "QUESTION:     Have you made any                       14:43:12

   20    effort to be consistent with the opinions Mr.                         14:43:15

   21    Knapen presented to the Patent Trial and                              14:43:17

   22    Appeal Board?                                                         14:43:22

   23                   "ANSWER:     No."                                      14:43:22

   24    BY MS. DURIE:                                                         14:43:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 314 of 503 PageID #: 18193

                                     TRIAL - VOLUME 5

                                                                          Page 313

    1         Q.   Now, in your expert report, you                             14:43:24

    2    address claims 2, 3, 6, 7, 8, 10, 12, 16, 17,                         14:43:26

    3    22, 23, 24 and 25.                                                    14:43:31

    4                  Does that sound right?                                  14:43:33

    5         A.   That sounds plausible.                                      14:43:34

    6         Q.   Okay.                                                       14:43:35

    7                  And in your expert report, you                          14:43:36

    8    said that you believe all of those claims are                         14:43:38

    9    valid; right?                                                         14:43:41

   10         A.   I suppose so.                                               14:43:42

   11                  MS. DURIE:    Now, if we could take                     14:43:44

   12    a look at Slide 4, please, Mr. Glass.                                 14:43:46

   13    BY MS. DURIE:                                                         14:43:51

   14         Q.   Claim 6 was one of the claims you                           14:43:51

   15    addressed, and it is what we call a dependent                         14:43:53

   16    claim; right?                                                         14:43:56

   17         A.   Yes.                                                        14:43:56

   18         Q.   And if we go to slide -- actually, I                        14:43:58

   19    should be able to do it myself.         No -- can we                  14:44:00

   20    go to Slide 5.                                                        14:44:05

   21                  Claim 6 rears back to claim 5, and                      14:44:08

   22    then if we go to the next slide, claim 5                              14:44:11

   23    refers back to claim 3; right?                                        14:44:14

   24         A.   Okay.                                                       14:44:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 315 of 503 PageID #: 18194

                                     TRIAL - VOLUME 5

                                                                          Page 314

    1                  MR. ADAMS:    Your Honor, sidebar?                      14:44:17

    2                  (Whereupon, a discussion was held                       14:44:17

    3    at sidebar as follows:                                                14:51:27

    4                  MR. ADAMS:    Your Honor, this is                       14:51:27

    5    far outside of the scope of the direct.           Dr.                 14:51:27

    6    Levy has only testified about claims 23                               14:51:27

    7    through 25 which are the subject --                                   14:51:27

    8                  MS. DURIE:    It goes directly to                       14:51:27

    9    his credibility, his failure to have                                  14:51:27

   10    considered the release by the PTAB, which he                          14:51:27

   11    did not do at all with respect to any of the                          14:51:27

   12    claims that he analyzed, claim 23 or any of                           14:51:27

   13    the claims.                                                           14:51:27

   14                  I don't plan to dwell on it, but I                      14:51:27

   15    want to make the point that he said that claim                        14:51:27

   16    6 was invalid, he didn't even consider whether                        14:51:27

   17    PTAB had invalidated.                                                 14:51:27

   18                  THE COURT:    He said it was valid.                     14:51:27

   19                  MS. DURIE:    He said it was valid                      14:51:27

   20    and he didn't even consider that the PTAB had                         14:51:27

   21    invalidated claim 3 and claim 5, which were                           14:51:27

   22    the vast majority of those elements.                                  14:51:27

   23                  MR. ADAMS:    Your Honor, we                            14:51:27

   24    offered --                                                            14:51:27


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 316 of 503 PageID #: 18195

                                     TRIAL - VOLUME 5

                                                                          Page 315

    1                   THE COURT:   No, go ahead.                             14:51:27

    2                   MR. ADAMS:   He offered his                            14:51:27

    3    independent opinions about the different                              14:51:27

    4    limits -- about the different issues.          He                     14:51:27

    5    didn't dispute the PTAB.       It has nothing to do                   14:51:27

    6    with this case.     It is not related to                              14:51:27

    7    anything.     It is not related to the direct                         14:51:27

    8    testimony.                                                            14:51:27

    9                   MS. DURIE:   It is.     I am going to                  14:51:27

   10    show you that the claim elements --                                   14:51:27

   11                   THE COURT:   Yeah, but that doesn't                    14:51:27

   12    matter.     I mean, we are not going to -- what                       14:51:27

   13    happened with the claims that are not asserted                        14:51:27

   14    in the PTAB does not matter to the validity of                        14:51:27

   15    the claims that are survived and that are at                          14:51:27

   16    issue in this case.                                                   14:51:27

   17                   MS. DURIE:   It does if the PTAB                       14:51:27

   18    held the same limitations weren't present,                            14:51:27

   19    then that is dispositive with respect to those                        14:51:27

   20    claim elements.     They can't relitigate that.                       14:51:27

   21                   THE COURT:   Wait, that was the                        14:51:28

   22    subject of the pretrial in limine motion that                         14:51:28

   23    was withdrawn.                                                        14:51:28

   24                   MS. DURIE:   No, no.                                   14:51:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 317 of 503 PageID #: 18196

                                      TRIAL - VOLUME 5

                                                                           Page 316

    1                   THE COURT:    The collateral                            14:51:28

    2    estoppel article.                                                      14:51:28

    3                   MS. DURIE:    And we agreed on the                      14:51:28

    4    record yesterday that both sides were bound by                         14:51:28

    5    collateral estoppel.                                                   14:51:28

    6                   THE COURT:    Right, but the                            14:51:28

    7    question is what does collateral estoppel go                           14:51:28

    8    to?     I mean, I never ruled on this question                         14:51:28

    9    pretrial.     I don't think collateral estoppel                        14:51:28

   10    goes as far as to limit individual claim                               14:51:28

   11    elements.     I think it limits a claim.                               14:51:28

   12                   MS. DURIE:    Both sides agreed that                    14:51:28

   13    the experts would not dispute any of the                               14:51:28

   14    determinations that were made by the PTAB.                             14:51:28

   15                   THE COURT:    No one is disputing                       14:51:28

   16    them, but now you're going beyond disputing                            14:51:28

   17    them.     It is not a shield or the sword now.                         14:51:28

   18                   I am going to sustain the                               14:51:28

   19    objection.     I don't think that there is a                           14:51:28

   20    basis to be inquiring about what happened with                         14:51:28

   21    respect to claims 3, 5 and 6 in a case about                           14:51:28

   22    claims 23, 24 and 25.                                                  14:51:28

   23                   MS. DURIE:    Well, what I want to                      14:51:28

   24    do, and I want to preview what I want to do                            14:51:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 318 of 503 PageID #: 18197

                                      TRIAL - VOLUME 5

                                                                           Page 317

    1    next because I want to put up claim 1 and                              14:51:28

    2    claim 23 side-by-side and talk difference.                             14:51:28

    3    That is the subject of the proceeding before                           14:51:28

    4    PTAB.     Everything else is claim 1 that I                            14:51:28

    5    understand, in view of the PTAB ruling, is now                         14:51:28

    6    undisputed.                                                            14:51:28

    7                   The question is whether the claim                       14:51:28

    8    element is found in Belkin, but that was --                            14:51:28

    9    that was the agreement that I thought we had                           14:51:28

   10    reached yesterday with respect to collateral                           14:51:28

   11    estoppel, which is that either side disputes                           14:51:28

   12    those determinations that PTAB made with                               14:51:28

   13    respect to particular claim elements.                                  14:51:28

   14                   MR. ADAMS:    And we haven't.       We                  14:51:28

   15    addressed one claim element which was claim                            14:51:28

   16    element -- the first claim element, 23, which                          14:51:28

   17    the patent office found, not claim 1 to 23.                            14:51:28

   18    Dr. Levy has offered no opinions on claim 1 at                         14:51:28

   19    all.    So to put claim 1 and 23 before Dr.                            14:51:28

   20    Levy --                                                                14:51:28

   21                   MS. DURIE:    Well, he did offer                        14:51:28

   22    opinions in his report, but the point -- but I                         14:51:28

   23    want to cross-examine Dr. Levy with respect to                         14:51:28

   24    the basis for his opinion on 23, and I want to                         14:51:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 319 of 503 PageID #: 18198

                                     TRIAL - VOLUME 5

                                                                          Page 318

    1    explain to the jury what is correct invalidity                        14:51:28

    2    and correct invalidity analysis is to take a                          14:51:28

    3    look at what the PTAB decided, which claim                            14:51:28

    4    elements it determined with any prior art and                         14:51:28

    5    then to take a look at the one and only claim                         14:51:28

    6    element that the PTAB determined was not in                           14:51:28

    7    the prior art and whether that claim element                          14:51:28

    8    is present in Belkin.                                                 14:51:28

    9                   I do think it is relevant to the                       14:51:28

   10    witness's credibility that when he was putting                        14:51:28

   11    his expert opinion together, he knew about the                        14:51:28

   12    PTAB proceedings.     He didn't try to grapple                        14:51:28

   13    with the reasoning of them, whether he thought                        14:51:29

   14    they were right or wrong or what impact they                          14:51:29

   15    may have in his opinions.       And I think that is                   14:51:29

   16    directly relevant to his credibility and                              14:51:29

   17    whether he was undertaking this analysis                              14:51:29

   18    objectively.                                                          14:51:29

   19                   THE COURT:   All right.      I'll let                  14:51:29

   20    you get into claim 1.                                                 14:51:29

   21                   MS. DURIE:   Okay.                                     14:51:29

   22                   THE COURT:   We have been down that                    14:51:29

   23    path quite a bit in this trial already, most                          14:51:29

   24    of it without objection, and so I'll let you                          14:51:29


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 320 of 503 PageID #: 18199

                                     TRIAL - VOLUME 5

                                                                          Page 319

    1    go into claim 1 to establish that, you know,                          14:51:29

    2    what the bounds are and aren't.         The PTAB                      14:51:29

    3    record is in front of the jury as well and you                        14:51:29

    4    can make arguments at closing.                                        14:51:29

    5                  MR. ADAMS:    One clarification.         If             14:51:29

    6    Dr. Levy says I haven't offered an opinion on                         14:51:29

    7    claim 1 or analyzed claim 1 --                                        14:51:29

    8                  THE COURT:    Well, wait, wait,                         14:51:29

    9    wait.   He hasn't.                                                    14:51:29

   10                  MS. DURIE:    He did.                                   14:51:29

   11                  THE COURT:    We are going to be                        14:51:29

   12    careful about this.      It depends what the                          14:51:29

   13    question and answer is a little bit.          He has                  14:51:29

   14    not offered an opinion here, he is not                                14:51:29

   15    offering an opinion here.                                             14:51:29

   16                  MS. DURIE:    Correct.     He does in                   14:51:29

   17    his report.                                                           14:51:29

   18                  THE COURT:    I know he does in his                     14:51:29

   19    report, but the scope of the case has changed                         14:51:29

   20    since his report and we need to be mindful of                         14:51:29

   21    that.   So the fact that people, you know,                            14:51:29

   22    opined about things that were in the case at                          14:51:29

   23    the time, if it's impeachment of something he                         14:51:29

   24    is saying here, that's one thing.         I don't                     14:51:29


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 321 of 503 PageID #: 18200

                                      TRIAL - VOLUME 5

                                                                           Page 320

    1    want to set up a straw man by importing what                           14:51:29

    2    he said in his report and then knocking it                             14:51:29

    3    down.     That's a little different.                                   14:51:29

    4                   MS. DURIE:    Well, I think, in                         14:51:29

    5    fairness, we should settle that with Mr.                               14:51:29

    6    Garney.     They cross-examined him about that.                        14:51:29

    7                   THE COURT:    Well, they                                14:51:29

    8    cross-examined him with statements that he                             14:51:29

    9    made in the PTAB.      I don't know if they were                       14:51:29

   10    all prior inconsistent statements.                                     14:51:29

   11                   MS. DURIE:    I understand.      I                      14:51:29

   12    understand.     I want to put up claim 1 and I                         14:51:29

   13    think I understand.                                                    14:51:29

   14                   MR. ADAMS:    One other thing.       I                  14:51:29

   15    don't believe it's accurate he offered an                              14:51:29

   16    opinion on claim 1.       I think he offered an                        14:51:29

   17    opinion on claims pending from claim 1, which                          14:51:29

   18    involved claim 1.      That's a big difference.                        14:51:29

   19                   THE COURT:    It doesn't matter                         14:51:29

   20    because we are not going to get into what he                           14:51:29

   21    did and didn't say in his report if he's not                           14:51:29

   22    opining about it here.                                                 14:51:29

   23                   (Whereupon, the discussion at                           14:51:33

   24    sidebar concluded.)                                                    14:51:35


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 322 of 503 PageID #: 18201

                                     TRIAL - VOLUME 5

                                                                          Page 321

    1    BY MS. DURIE:                                                         14:51:35

    2         Q.   Now, in your expert report, Dr. Levy,                       14:51:35

    3    you don't address the patent office                                   14:51:37

    4    proceedings; right?                                                   14:51:40

    5         A.   I don't recall.                                             14:51:41

    6         Q.   Let me hand you a copy of your report                       14:51:43

    7    which we will mark for identification as                              14:51:53

    8    TX-382.                                                               14:51:59

    9                  (Whereupon, Trial Exhibit 382 was                       14:51:59

   10    marked for identification.)                                           14:51:59

   11    BY MS. DURIE:                                                         14:51:59

   12         Q.   Now, I don't want to take a lot of                          14:52:14

   13    time, Dr. Levy, because we are on the clock,                          14:52:16

   14    but as you sit here today, did you reread your                        14:52:18

   15    expert report to prepare for your testimony                           14:52:20

   16    today?                                                                14:52:23

   17         A.   Yes.                                                        14:52:24

   18         Q.   Okay.                                                       14:52:24

   19                  When you did that, did you see any                      14:52:25

   20    reference to the PTAB proceedings?                                    14:52:27

   21         A.   I don't recall.                                             14:52:30

   22         Q.   Okay.                                                       14:52:31

   23                  Did you see any reference to any                        14:52:32

   24    of the claims that were invalidated during the                        14:52:34


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 323 of 503 PageID #: 18202

                                     TRIAL - VOLUME 5

                                                                          Page 322

    1    course of the PTAB proceeding?                                        14:52:37

    2         A.     You said reference to the claims that                     14:52:40

    3    were invalidated?                                                     14:52:42

    4         Q.     Any claims that were invalidated                          14:52:43

    5    during the course of the PTAB proceedings?                            14:52:45

    6         A.     I don't recall that either.                               14:52:48

    7         Q.     Okay.                                                     14:52:49

    8                   Now, during opening statements --                      14:52:50

    9    were you here for the opening statements?                             14:52:52

   10         A.     Yes.                                                      14:52:54

   11         Q.     And you heard Microchip's counsel                         14:52:54

   12    talk about how the examiners of the patent                            14:52:56

   13    office had looked at the claims of the patent                         14:52:59

   14    for three years and concluded that the claims                         14:53:01

   15    were valid.                                                           14:53:04

   16                   Was that part of the analysis that                     14:53:06

   17    you did in arriving at your opinions?                                 14:53:09

   18         A.     I'm sorry, was what part of my                            14:53:11

   19    analysis?                                                             14:53:14

   20         Q.     Taking into consideration that the                        14:53:14

   21    patent office, as counsel said, had looked at                         14:53:16

   22    the claims of the patent for three years and                          14:53:18

   23    concluded that they were valid?                                       14:53:20

   24         A.     So we are talking here about 23                           14:53:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 324 of 503 PageID #: 18203

                                      TRIAL - VOLUME 5

                                                                           Page 323

    1    through 25?                                                            14:53:23

    2         Q.    Actually I think the statement was                          14:53:24

    3    more generally.       It just said the patent                          14:53:26

    4    office examined Mr. Bohm's patent application                          14:53:29

    5    and all of the prior art for three years                               14:53:31

    6    before determining the '243 Patent was a new                           14:53:34

    7    and useful invention.                                                  14:53:37

    8                  Is that something that is                                14:53:39

    9    consistent with your analysis?                                         14:53:41

   10         A.    I have no idea.                                             14:53:46

   11         Q.    Okay.                                                       14:53:47

   12                  I mean, in fact, we know that the                        14:53:48

   13    patent office did make a mistake in issuing                            14:53:50

   14    some of the claims of the '243 Patent; right?                          14:53:53

   15         A.    By -- by making a mistake, you mean                         14:53:57

   16    that they subsequently got invalidated?                                14:53:59

   17         Q.    Correct.                                                    14:54:02

   18         A.    Ah, in that sense, yes.                                     14:54:03

   19         Q.    Now, we have been talking about the                         14:54:06

   20    patent that was issued to Nigel Dickens.            That               14:54:07

   21    patent, the Dickens patent, was not something                          14:54:10

   22    that the examiners had in front of them when                           14:54:14

   23    they originally issued the '243 Patent;                                14:54:16

   24    correct?                                                               14:54:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 325 of 503 PageID #: 18204

                                     TRIAL - VOLUME 5

                                                                          Page 324

    1         A.   That is my understanding.                                   14:54:22

    2         Q.   Okay.                                                       14:54:23

    3                  And so they were not able to                            14:54:24

    4    evaluate whether the Dickens patent taught                            14:54:26

    5    each and every limitation of some of the                              14:54:29

    6    claims in the '243 Patent; right?                                     14:54:32

    7         A.   During the prosecution of the '243                          14:54:35

    8    Patent, those examiners were not able to                              14:54:38

    9    examine the Dickens patent.                                           14:54:40

   10         Q.   Right.                                                      14:54:42

   11         A.   Or did not.                                                 14:54:42

   12         Q.   Now, in your expert report, and this                        14:54:43

   13    is at paragraph 43, you reference the fact                            14:54:46

   14    that Mr. Bohm successfully overcame the                               14:54:50

   15    shortcomings from the prior art.         Feel free to                 14:54:53

   16    turn to paragraph 43 of your report.          You                     14:54:56

   17    should be able to see it.                                             14:54:59

   18                  Do you have that in front of you?                       14:55:01

   19    It's on page 20.                                                      14:55:06

   20         A.   I've got it.                                                14:55:08

   21         Q.   And you said that "Bohm successfully                        14:55:09

   22    overcame the shortcomings of the prior art by                         14:55:11

   23    providing a multi-host USB device with                                14:55:14

   24    concurrent USB connections between the                                14:55:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 326 of 503 PageID #: 18205

                                     TRIAL - VOLUME 5

                                                                          Page 325

    1    multi-host USB device's device block                                  14:55:21

    2    corresponding to at least one function in two                         14:55:25

    3    or more hosts."                                                       14:55:29

    4                  Do you see that?                                        14:55:30

    5         A.   I see that.                                                 14:55:31

    6         Q.   Now, that is something that, in fact,                       14:55:32

    7    Mr. Dickens had already accomplished; right?                          14:55:36

    8                  (Whereupon, the witness reviews                         14:56:21

    9    the exhibit.)                                                         14:56:24

   10                  THE WITNESS:     I am now reading                       14:56:43

   11    paragraph 42 as well because it gives                                 14:56:45

   12    background.                                                           14:56:47

   13                  MS. DURIE:     Sure.                                    14:56:48

   14                  THE WITNESS:     Sharing of                             14:56:49

   15    peripheral devices, and that's the context in                         14:56:50

   16    which I made these statements about what Mr.                          14:56:52

   17    Bohm overcame in the three patents that were                          14:56:55

   18    being considered at that time.                                        14:56:59

   19                  MS. DURIE:     Okay.                                    14:57:01

   20    BY MS. DURIE:                                                         14:57:01

   21         Q.   But you agree that Mr. Dickens had                          14:57:02

   22    already provided a way for there to be a                              14:57:05

   23    multi-host USB device with concurrent USB                             14:57:10

   24    devices between the multi-host USB device's                           14:57:14


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 327 of 503 PageID #: 18206

                                     TRIAL - VOLUME 5

                                                                          Page 326

    1    device block corresponding to at least one                            14:57:18

    2    function in two or more hosts; right?                                 14:57:20

    3                  (Whereupon, the witness reviews                         14:57:41

    4    the exhibit.)                                                         14:57:43

    5                  THE WITNESS:     Well, I disagree                       14:58:11

    6    because of what I have shown in my analysis of                        14:58:14

    7    Dickens, which was not presented yet in this                          14:58:17

    8    court, Dickens did not allow a shared USB                             14:58:20

    9    device be simultaneously configured by two or                         14:58:23

   10    more USB hosts.                                                       14:58:26

   11    BY MS. DURIE:                                                         14:58:28

   12         Q.    The patent office found that it did;                       14:58:28

   13    right?    The patent office found --                                  14:58:31

   14         A.    Not in the context of claim 23.                            14:58:35

   15         Q.    So let's take a look at Exhibit 370,                       14:58:37

   16    page 3311.                                                            14:58:42

   17                  Do you recognize this as a figure                       14:58:45

   18    from the patent office decision?                                      14:58:48

   19         A.    Yes.                                                       14:58:51

   20         Q.    And actually, can you just go back.                        14:58:51

   21                  And it says at the top, "We are                         14:58:54

   22    persuaded by petitioner's argument."                                  14:58:57

   23                  Petitioner in this context is                           14:58:59

   24    Aptiv; right?                                                         14:59:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 328 of 503 PageID #: 18207

                                      TRIAL - VOLUME 5

                                                                           Page 327

    1         A.    Yeah.                                                       14:59:04

    2         Q.    You can go back.      And now if we take                    14:59:04

    3    a look, there are two side-by-side annotated                           14:59:07

    4    figures.                                                               14:59:09

    5                  Do you see that?                                         14:59:10

    6         A.    Yes.                                                        14:59:11

    7         Q.    And the text in red on both, Figure 3                       14:59:11

    8    is on the left and Dickens is on the right;                            14:59:15

    9    right?                                                                 14:59:17

   10         A.    Yes.                                                        14:59:17

   11         Q.    And the patent office is showing here                       14:59:18

   12    the redline in both Figure 3 and Dickens,                              14:59:22

   13    which is a first dedicated USB connection;                             14:59:25

   14    right?                                                                 14:59:28

   15         A.    Yes.                                                        14:59:31

   16         Q.    And the patent office is showing in                         14:59:31

   17    purple, in both Figure 3 and in Dickens, a                             14:59:34

   18    second dedicated USB connection; right?                                14:59:38

   19         A.    Yes.                                                        14:59:42

   20         Q.    And if we take a look at the next                           14:59:43

   21    page, 3312, and it says the -- second                                  14:59:48

   22    paragraph, "The annotations highlight that                             14:59:53

   23    both the '243 Patent and Dickens provide two                           14:59:56

   24    dedicated USB connections from corresponding                           14:59:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 329 of 503 PageID #: 18208

                                      TRIAL - VOLUME 5

                                                                           Page 328

    1    two hosts to a function block, both ending in                          15:00:03

    2    a single shared communication path to the                              15:00:06

    3    function block."                                                       15:00:08

    4                   You are not disagreeing with that,                      15:00:10

    5    are you?                                                               15:00:12

    6         A.    I am not.                                                   15:00:12

    7         Q.    Okay.                                                       15:00:13

    8                   MS. DURIE:    Let's now take a look                     15:00:15

    9    at slide 8, which is claim 1 and claim 23.                             15:00:16

   10    Now, I think the jury is very familiar with                            15:00:21

   11    this by now.                                                           15:00:23

   12    BY MS. DURIE:                                                          15:00:24

   13         Q.    Claim 1 is the claim that was                               15:00:25

   14    invalidated, one of the claims that was                                15:00:26

   15    invalidated in the patent office proceeding,                           15:00:28

   16    claim 23 is the claim that we are here talking                         15:00:31

   17    about; right?                                                          15:00:33

   18         A.    Yes.                                                        15:00:33

   19         Q.    And there was a -- we can go to the                         15:00:34

   20    next slide.                                                            15:00:38

   21                   There was a certificate of                              15:00:39

   22    correction that corrected some of the wording                          15:00:42

   23    in the claim; right?                                                   15:00:43

   24         A.    Yes.                                                        15:00:45


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 330 of 503 PageID #: 18209

                                     TRIAL - VOLUME 5

                                                                          Page 329

    1         Q.   And go to the next slide, we just                           15:00:46

    2    fixed that, so this is the corrected version                          15:00:48

    3    of claim 1 and claim 23.       Okay?                                  15:00:51

    4                  And if we go to the next slide, we                      15:00:54

    5    see here that both of them start out, "A USB                          15:00:59

    6    multi-host device comprising"; right?                                 15:01:04

    7                  And then both of them talk about                        15:01:09

    8    USB device blocks; right?       Yes?                                  15:01:11

    9         A.   I see it.                                                   15:01:16

   10         Q.   And if we go to the next slide, both                        15:01:17

   11    of them talk about first and second hosts;                            15:01:19

   12    right?                                                                15:01:23

   13         A.   I see those words.                                          15:01:24

   14         Q.   And if we go to the next slide, both                        15:01:25

   15    of them talk about a controller -- claim 1                            15:01:27

   16    says, "a multi-host device controller."                               15:01:32

   17                  Did you hear Mr. Zatkovich say                          15:01:33

   18    that the controller in claim 23 is also a                             15:01:35

   19    multi-host device controller?                                         15:01:38

   20         A.   I don't recall.                                             15:01:40

   21         Q.   Okay.                                                       15:01:41

   22                  And if we go to the next slide,                         15:01:42

   23    both of them require that there be concurrent                         15:01:46

   24    respective dedicated USB connections; right?                          15:01:49


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 331 of 503 PageID #: 18210

                                     TRIAL - VOLUME 5

                                                                          Page 330

    1         A.   Yes.                                                        15:01:53

    2         Q.   And if we go to the next slide --                           15:01:54

    3    now, this is where we get a little bit of a                           15:01:57

    4    difference, right?     Claim 1 says that the two                      15:01:59

    5    hosts have to be able to simultaneously                               15:02:03

    6    request access; right?      It's the ping-ish                         15:02:05

    7    thing?                                                                15:02:14

    8         A.   Yes.                                                        15:02:14

    9         Q.   And claim 23 says that the controller                       15:02:14

   10    has to be able to receive those access                                15:02:17

   11    requests from the host and respond to them;                           15:02:20

   12    right?                                                                15:02:22

   13         A.   Right.                                                      15:02:23

   14         Q.   That's what Mr. Zatkovich testified                         15:02:23

   15    in court was the secret sauce, I think he                             15:02:26

   16    said, in claim 23.                                                    15:02:29

   17                  Do you recall that testimony?                           15:02:30

   18         A.   I don't.                                                    15:02:31

   19         Q.   Now, in coming up with your opinions                        15:02:32

   20    about validity, that difference between claim                         15:02:34

   21    1 and claim 23 is not something that you                              15:02:38

   22    identified as being a significant difference                          15:02:40

   23    between the claims; right?                                            15:02:41

   24         A.   I have offered no analysis of a                             15:02:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 332 of 503 PageID #: 18211

                                     TRIAL - VOLUME 5

                                                                          Page 331

    1    comparison of claim 1 to claim 23.                                    15:02:46

    2         Q.   Okay.                                                       15:02:48

    3                  Now, claim 23 also requires, up at                      15:02:50

    4    the top, that the system be operable for both                         15:02:54

    5    hosts to simultaneously configure the device                          15:02:57

    6    block; right?                                                         15:03:01

    7         A.   It states it a little bit                                   15:03:04

    8    differently, but the simultaneously configured                        15:03:06

    9    is correct.                                                           15:03:08

   10         Q.   Okay.                                                       15:03:08

   11                  And the USB specification defines                       15:03:09

   12    what configuration is; right?                                         15:03:12

   13         A.   Amongst -- yes, although it doesn't                         15:03:17

   14    define it for this patent.        I do understand                     15:03:19

   15    configured to be enumerated and configured as                         15:03:23

   16    we use the terms in the USB.                                          15:03:26

   17         Q.   Okay.                                                       15:03:28

   18                  Do you think the definition of                          15:03:29

   19    configuration in the '243 Patent is different                         15:03:31

   20    from the definition of configuration in the                           15:03:33

   21    USB specification?                                                    15:03:36

   22                  MR. ADAMS:    Objection, Your Honor.                    15:03:38

   23                  THE COURT:    Overruled.                                15:03:41

   24                  Go ahead.                                               15:03:44


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 333 of 503 PageID #: 18212

                                     TRIAL - VOLUME 5

                                                                          Page 332

    1                    THE WITNESS:   I think a person of                    15:03:44

    2    skill in the art reading the '243 Patent would                        15:03:46

    3    understand that Dickens -- I'm sorry, that the                        15:03:50

    4    '243 Patent subsumes enumeration with                                 15:03:54

    5    configuring.      And I believe that Mr. Garney                       15:04:00

    6    has also referred to it that way.                                     15:04:05

    7    BY MS. DURIE:                                                         15:04:08

    8         Q.   Let's take a look at the USB                                15:04:09

    9    specification definition of configuration.                            15:04:10

   10    It's Slide 21.      And it says, "A USB device                        15:04:12

   11    must be configured before its functions may be                        15:04:20

   12    used."                                                                15:04:22

   13                    You don't disagree with that?                         15:04:23

   14         A.   No.                                                         15:04:25

   15         Q.   And it says, "The host is responsible                       15:04:25

   16    for configuring a USB device."                                        15:04:28

   17                    You don't disagree with that;                         15:04:29

   18    right?                                                                15:04:31

   19         A.   Correct.                                                    15:04:32

   20         Q.   And it says, if we skip down, "As                           15:04:32

   21    part of the configuration process, the host                           15:04:35

   22    sets the device configuration and, where                              15:04:37

   23    necessary, selects the appropriate alternate                          15:04:40

   24    settings for the interfaces."                                         15:04:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 334 of 503 PageID #: 18213

                                        TRIAL - VOLUME 5

                                                                            Page 333

    1                   You don't disagree with that, do                         15:04:44

    2    you?                                                                    15:04:47

    3           A.   Right.                                                      15:04:47

    4           Q.   And in the patent, there is no need                         15:04:47

    5    to hold off one host's attempt to configure                             15:04:49

    6    the device while the other host is configuring                          15:04:53

    7    it; right?                                                              15:04:55

    8           A.   I didn't -- I didn't get that.          Can I               15:04:56

    9    hear again?                                                             15:05:00

   10           Q.   Sure.                                                       15:05:00

   11                   In the patent, there's no need to                        15:05:02

   12    hold on one host's attempt to configure the                             15:05:03

   13    device if the other host is in the process of                           15:05:06

   14    configuring it?                                                         15:05:10

   15           A.   Correct.    Yes.                                            15:05:11

   16           Q.   Now, the -- did you look to see what                        15:05:12

   17    it was that the patent office identified as                             15:05:18

   18    being the thing in claim 23 that was not                                15:05:23

   19    present in Dickens?                                                     15:05:28

   20           A.   Yes.                                                        15:05:29

   21           Q.   Okay.                                                       15:05:30

   22                   And you understand that that thing                       15:05:31

   23    the patent office identified as being missing                           15:05:34

   24    from Dickens is the requirement that both                               15:05:36


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 335 of 503 PageID #: 18214

                                     TRIAL - VOLUME 5

                                                                          Page 334

    1    hosts be able to configure the device block                           15:05:38

    2    simultaneously; right?                                                15:05:41

    3         A.    Right.                                                     15:05:43

    4         Q.    Now, you haven't looked to see                             15:05:44

    5    whether both hosts in the Aptiv system can                            15:05:46

    6    configure the device simultaneously; right?                           15:05:49

    7    That's not something you have an opinion                              15:05:52

    8    about?                                                                15:05:54

    9         A.    Correct.                                                   15:05:54

   10         Q.    Okay.                                                      15:05:54

   11                  Now, the purpose of the '243                            15:05:55

   12    Patent is to allow multiple hosts to control a                        15:05:59

   13    shared USB device; right?                                             15:06:03

   14         A.    That sounds right.                                         15:06:06

   15         Q.    And that was difficult to do in USB                        15:06:07

   16    because USB is what we call a serial protocol;                        15:06:09

   17    right?    It's Universal Serial Bus; right?                           15:06:14

   18         A.    Yes, but that's not the reason it's                        15:06:18

   19    difficult to do.                                                      15:06:21

   20         Q.    Okay.                                                      15:06:21

   21                  Well, the fact that USB is a                            15:06:22

   22    serial protocol means there's only one lane                           15:06:23

   23    for data; right?                                                      15:06:27

   24         A.    Well, we will have to agree on what                        15:06:29


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 336 of 503 PageID #: 18215

                                      TRIAL - VOLUME 5

                                                                           Page 335

    1    we mean by a lane for data, but when data is                           15:06:33

    2    transmitted, it's transmitted over the serial                          15:06:36

    3    port.     Is there something about that that you                       15:06:38

    4    are pointing out?                                                      15:06:41

    5         Q.     And goes one packet at a time; right?                      15:06:42

    6         A.     Yes.                                                       15:06:44

    7         Q.     You can't send two packets at the                          15:06:44

    8    same precise moment in time?                                           15:06:46

    9         A.     Correct.                                                   15:06:48

   10         Q.     Okay.                                                      15:06:48

   11                   And, in fact, in -- you saw                             15:06:49

   12    evidence here in court that Mr. Bohm, in                               15:06:52

   13    thinking about this invention, was discussing                          15:06:55

   14    the fact that USB doesn't comprehend the idea                          15:06:57

   15    of peripheral sharing.                                                 15:07:00

   16                   You would agree with that; right?                       15:07:03

   17         A.     That the USB certification, is that                        15:07:04

   18    what you said?                                                         15:07:07

   19         Q.     Right.                                                     15:07:08

   20         A.     Yes.                                                       15:07:09

   21         Q.     Okay.                                                      15:07:10

   22                   And one -- and Mr. Bohm said that                       15:07:10

   23    there would be technical challenges to                                 15:07:13

   24    overcome in using USB to allow for this                                15:07:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 337 of 503 PageID #: 18216

                                     TRIAL - VOLUME 5

                                                                          Page 336

    1    peripheral sharing; right?                                            15:07:21

    2         A.   That there would be technical                               15:07:25

    3    challenges, sure.                                                     15:07:27

    4         Q.   Technical challenges; right?                                15:07:27

    5         A.   I said sure.                                                15:07:31

    6         Q.   Sure.                                                       15:07:32

    7                  And that would be outside of the                        15:07:33

    8    USB specification; right?                                             15:07:35

    9         A.   The technical challenges?                                   15:07:38

   10         Q.   Having a two-host, one-device system                        15:07:40

   11    would be outside of the USB specification.                            15:07:44

   12    That's what Mr. Bohm was thinking?                                    15:07:48

   13         A.   I agree with that.                                          15:07:49

   14         Q.   Okay.                                                       15:07:51

   15                  MS. DURIE:    Now, just so that we                      15:07:52

   16    understand what we are talking about, Mr.                             15:07:57

   17    Glass, can we go to Slide 24, please.                                 15:08:00

   18    BY MS. DURIE:                                                         15:08:00

   19         Q.   So the issue that Mr. Bohm was                              15:08:03

   20    confronting was that you've got two hosts,                            15:08:05

   21    both of which want to send information over                           15:08:08

   22    USB; right?                                                           15:08:11

   23         A.   Not exactly, no.                                            15:08:17

   24         Q.   Well, they both want to communicate                         15:08:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 338 of 503 PageID #: 18217

                                     TRIAL - VOLUME 5

                                                                          Page 337

    1    with one USB device; right?                                           15:08:20

    2         A.   With one device.                                            15:08:24

    3         Q.   Right.                                                      15:08:24

    4                  And at least to the extent that                         15:08:25

    5    you are using an off-the-shelf USB device,                            15:08:27

    6    it's going to have one input port for                                 15:08:30

    7    connecting with a host; right?                                        15:08:32

    8         A.   Well, I think the off-the-shelf USB                         15:08:34

    9    device is something that was discussed in this                        15:08:36

   10    court, and that it's not simply something you                         15:08:39

   11    pick up that has a USB plug on it and stick                           15:08:42

   12    inside this invention of Mr. Bohm's.                                  15:08:46

   13         Q.   Do you agree that Mr. Bohm was at                           15:08:49

   14    least considering the possibility that it                             15:08:52

   15    would be possible to use his invention with                           15:08:55

   16    off-the-shelf USB devices?                                            15:08:57

   17         A.   He did say that.                                            15:09:01

   18         Q.   Okay.                                                       15:09:02

   19                  In any event, if two hosts are                          15:09:03

   20    going to control one USB device, they have to                         15:09:05

   21    have some way to avoid data collisions; right?                        15:09:08

   22         A.   Okay.                                                       15:09:13

   23                  MS. DURIE:    Go to the next slide.                     15:09:14

   24    BY MS. DURIE:                                                         15:09:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 339 of 503 PageID #: 18218

                                       TRIAL - VOLUME 5

                                                                           Page 338

    1         Q.     Sort of like if cars are merging onto                      15:09:16

    2    the freeway; right?         You need some way for                      15:09:19

    3    them not to crash into each other; fair?                               15:09:21

    4         A.     Okay.   Okay.                                              15:09:23

    5                   MS. DURIE:      And if we can go to                     15:09:25

    6    the next slide -- no, sorry.         Skip -- if we                     15:09:26

    7    can go to slide -- hang on.         Well, that's                       15:09:33

    8    fine.     We can actually go back.       That's fine.                  15:09:40

    9    BY MS. DURIE:                                                          15:09:43

   10         Q.     You need some way to stop that from                        15:09:43

   11    happening; right, crashes?                                             15:09:45

   12         A.     Okay.                                                      15:09:49

   13         Q.     So one way that you could stop                             15:09:50

   14    crashes from happening is that you could put                           15:09:52

   15    up a stop sign; right?                                                 15:09:54

   16                   MS. DURIE:      Can we go to slide 30?                  15:09:58

   17    Perfect.                                                               15:09:59

   18                   THE WITNESS:      Sure.                                 15:10:02

   19    BY MS. DURIE:                                                          15:10:03

   20         Q.     And putting up stop signs would be                         15:10:03

   21    one way of arbitrating access between the cars                         15:10:05

   22    so that they could share one lane; right?                              15:10:09

   23         A.     Okay.                                                      15:10:12

   24         Q.     And Mr. Bohm talks in his patent                           15:10:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 340 of 503 PageID #: 18219

                                     TRIAL - VOLUME 5

                                                                          Page 339

    1    about this idea of arbitrating; right,                                15:10:16

    2    interleaving the host request?                                        15:10:22

    3         A.   Did he use the word "arbitrating"?                          15:10:23

    4         Q.   Well, he talks about interleaving the                       15:10:25

    5    host request.     You would agree that's a form                       15:10:27

    6    of arbitration; right?                                                15:10:29

    7         A.   Not as a person of skill in the art                         15:10:35

    8    would understand arbitration, but it's                                15:10:38

    9    actually a result of doing the right thing by                         15:10:41

   10    arbitrating.                                                          15:10:46

   11         Q.   Fair enough.                                                15:10:46

   12                   A result of having arbitration                         15:10:48

   13    mechanisms that you can alternate access by                           15:10:50

   14    interleaving.                                                         15:10:53

   15         A.   Okay.                                                       15:10:53

   16         Q.   Okay.                                                       15:10:54

   17                   Now, another thing that you could                      15:10:55

   18    do, if we go to the next slide, is you could                          15:10:57

   19    put up the equivalent of stop lights; right?                          15:10:59

   20         A.   Okay.                                                       15:11:03

   21         Q.   And you could have some arbitration                         15:11:03

   22    mechanism which would determine which car or                          15:11:07

   23    data packets get service immediately and which                        15:11:09

   24    get hold off with a not ready request; right,                         15:11:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 341 of 503 PageID #: 18220

                                      TRIAL - VOLUME 5

                                                                           Page 340

    1    kind of like a red light?                                              15:11:16

    2          A.   So the not ready, I'm sorry, are you                        15:11:22

    3    referring to something in USB or not?                                  15:11:26

    4          Q.   You say the patent talked about this                        15:11:28

    5    idea of having a not ready packet, can send                            15:11:30

    6    not ready packets in a USB-specific manner.                            15:11:34

    7                   Do you see that?                                        15:11:36

    8          A.   Yes.                                                        15:11:37

    9          Q.   Do you understand what that refers                          15:11:38

   10    to?                                                                    15:11:39

   11          A.   Yes.                                                        15:11:39

   12          Q.   That refers to something like a NAK                         15:11:40

   13    we've talked about?                                                    15:11:42

   14          A.   Correct.                                                    15:11:43

   15          Q.   Right.                                                      15:11:43

   16                   Which means a not ready, like                           15:11:44

   17    stop; right?                                                           15:11:47

   18          A.   Right.                                                      15:11:47

   19          Q.   And so to think of that as a little                         15:11:47

   20    bit about being a stop light, you guys stop,                           15:11:50

   21    you guys come on, you guys stop; right?                                15:11:53

   22          A.   Okay.                                                       15:11:55

   23          Q.   Now, we were talking a minute ago                           15:11:56

   24    about off-the-shelf devices.                                           15:11:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 342 of 503 PageID #: 18221

                                     TRIAL - VOLUME 5

                                                                          Page 341

    1                  MS. DURIE:    Let's take a look at                      15:12:00

    2    TX-1, page 6, top of column 4, which, if you                          15:12:02

    3    can blow up the first paragraph above.                                15:12:07

    4    BY MS. DURIE:                                                         15:12:07

    5         Q.   This is where in the patent, itself,                        15:12:11

    6    Mr. Bohm and Mr. Ghosh say, "The peripheral                           15:12:13

    7    device function may comprise," blah-blah-blah,                        15:12:23

    8    "may not be aware of the multi-host capability                        15:12:24

    9    of the USB component and may be a standard                            15:12:28

   10    off-the-shelf item."                                                  15:12:30

   11                  That is, in fact, what the patent                       15:12:32

   12    owner said in the specification itself; right?                        15:12:35

   13         A.   I'm sorry, that is where?                                   15:12:37

   14         Q.   Right there, a standard off-the-shelf                       15:12:39

   15    item.                                                                 15:12:41

   16         A.   Yeah, I see, "which may comprise the                        15:12:41

   17    main consumer component such as."         Yeah.                       15:12:46

   18    Okay.                                                                 15:12:50

   19         Q.   Right?                                                      15:12:50

   20         A.   That's where he uses that term.                             15:12:51

   21         Q.   Right.                                                      15:12:53

   22                  In the patent, itself, it talks                         15:12:53

   23    about the fact that the device can be a                               15:12:55

   24    standard off-the-shelf item; right?                                   15:12:57


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 343 of 503 PageID #: 18222

                                     TRIAL - VOLUME 5

                                                                          Page 342

    1         A.     That is what it says.                                     15:12:59

    2         Q.     Okay.                                                     15:13:00

    3                   And you're going to need some                          15:13:01

    4    arbitration mechanism to decide which of the                          15:13:03

    5    two hosts is going to be able to use that                             15:13:07

    6    device; right?                                                        15:13:09

    7         A.     Well, "use" is a little bit too                           15:13:11

    8    broad.    To send data to is the operable item.                       15:13:15

    9         Q.     Send data to is perfectly fine.                           15:13:20

   10                   Let's take a look at TX-24 in                          15:13:23

   11    evidence.     Start at page 1.                                        15:13:27

   12                   This is the Invention Disclosure                       15:13:28

   13    Statement.     We've seen this before; right?                         15:13:30

   14         A.     I don't recall.                                           15:13:32

   15         Q.     Okay.   Well, let's take a look at                        15:13:32

   16    page 6.                                                               15:13:35

   17                   You see here, second paragraph                         15:13:36

   18    from the bottom, let's blow that up.          It                      15:13:39

   19    says -- you'll recall that Mr. Bohm testified                         15:13:44

   20    about his Invention Disclosure Statement that                         15:13:46

   21    he submitted to the company where he described                        15:13:48

   22    his invention?                                                        15:13:50

   23         A.     I do remember some -- that he did                         15:13:51

   24    testify about that.                                                   15:13:53


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 344 of 503 PageID #: 18223

                                     TRIAL - VOLUME 5

                                                                          Page 343

    1         Q.    Right.                                                     15:13:54

    2                  And it says, "A fourth block will                       15:13:54

    3    need to be added which is the arbitration                             15:13:57

    4    block.    The internal arbitration mechanism                          15:14:00

    5    will permit each host to access the shared                            15:14:03

    6    peripheral function by either interleaving                            15:14:06

    7    host accesses, or using a common request/grant                        15:14:09

    8    structure which will hold off one host while                          15:14:13

    9    another host completes a data transfer."                              15:14:16

   10                  So that's a description of two                          15:14:20

   11    different arbitration mechanisms, one of them,                        15:14:22

   12    right, a little bit like one at a time, a stop                        15:14:25

   13    light, the other one -- a stop sign, the other                        15:14:28

   14    one a little bit like you hold on one, you let                        15:14:30

   15    the other one come; right?                                            15:14:33

   16         A.    Well, I haven't studied this, but I                        15:14:34

   17    accept that it's something like that.                                 15:14:38

   18         Q.    Okay.                                                      15:14:40

   19                  You did not study the document in                       15:14:40

   20    which Mr. Bohm laid out what he understood to                         15:14:42

   21    be his invention; right?                                              15:14:48

   22         A.    If by that you mean this patent                            15:14:49

   23    disclosure document --                                                15:14:52

   24         Q.    Right.                                                     15:14:53


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 345 of 503 PageID #: 18224

                                     TRIAL - VOLUME 5

                                                                          Page 344

    1         A.   -- I did not study that.                                    15:14:54

    2         Q.   Okay.                                                       15:14:55

    3                  Now, to satisfy the written                             15:14:56

    4    description requirement, a specification is                           15:15:00

    5    required to provide a written description that                        15:15:04

    6    reasonably conveys to those of skill in the                           15:15:07

    7    art that the inventor had possession of the                           15:15:10

    8    claim subject matter as of the filing date of                         15:15:13

    9    the application or of the patent; right?                              15:15:16

   10                  MR. ADAMS:    Objection, Your Honor.                    15:15:19

   11    Scope.                                                                15:15:20

   12                  THE COURT:    Overruled.                                15:15:21

   13    BY MS. DURIE:                                                         15:15:23

   14         Q.   Right?    That is one of the                                15:15:24

   15    requirements for the validity of a patent;                            15:15:25

   16    right?                                                                15:15:29

   17         A.   Yes.                                                        15:15:29

   18         Q.   And you are not offering an                                 15:15:30

   19    affirmative opinion with respect to written                           15:15:33

   20    description; right?                                                   15:15:36

   21         A.   I have offered only what's in my                            15:15:39

   22    expert report.                                                        15:15:42

   23         Q.   Sorry?                                                      15:15:42

   24         A.   I have offered only what's in my                            15:15:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 346 of 503 PageID #: 18225

                                     TRIAL - VOLUME 5

                                                                          Page 345

    1    expert report.                                                        15:15:45

    2         Q.   Right.                                                      15:15:45

    3                  Now, you understand the law also                        15:15:46

    4    requires that a patent specification enable                           15:15:49

    5    the invention; right?                                                 15:15:52

    6         A.   Yes.                                                        15:15:56

    7         Q.   Okay.                                                       15:15:56

    8                  And written description and                             15:15:57

    9    enablement are two separate requirements;                             15:15:58

   10    right?                                                                15:16:02

   11         A.   Okay.                                                       15:16:02

   12         Q.   Right?                                                      15:16:02

   13                  Written description basically asks                      15:16:03

   14    whether the inventor actually invented what                           15:16:05

   15    they claim to have invented and enablement                            15:16:09

   16    asks whether a person of skill in the art                             15:16:12

   17    would know how to make and use the full scope                         15:16:13

   18    of the invention; right?                                              15:16:16

   19         A.   Scope of the invention as represented                       15:16:17

   20    by the claims.                                                        15:16:20

   21         Q.   Right.    The full scope of that                            15:16:21

   22    invention as represented by the claims.                               15:16:23

   23                  Now, you were here for opening                          15:16:25

   24    statements, so you heard the very first words                         15:16:28


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 347 of 503 PageID #: 18226

                                     TRIAL - VOLUME 5

                                                                          Page 346

    1    that I think we heard in connection with this                         15:16:30

    2    case after His Honor.      We heard Mr. Slayden                       15:16:32

    3    say that the '243 Patent is about a device for                        15:16:35

    4    connecting between two computers.                                     15:16:39

    5                  Do you recall that?                                     15:16:41

    6         A.   I don't.                                                    15:16:42

    7         Q.   Now, in your expert report, you don't                       15:16:44

    8    say that the inventors showed a way for two                           15:16:48

    9    computers to be able to talk to each other;                           15:16:53

   10    right?                                                                15:16:56

   11         A.   In my report?                                               15:16:56

   12         Q.   Right.                                                      15:16:58

   13         A.   I did not address that.                                     15:16:58

   14         Q.   Okay.                                                       15:17:00

   15                  And we were discussing earlier in                       15:17:00

   16    the proceedings a paper that Mr. Bohm had                             15:17:05

   17    written in the fall of 2005 and presented at a                        15:17:08

   18    conference where he first disclosed the                               15:17:13

   19    invention.                                                            15:17:16

   20                  Do you generally remember that,                         15:17:16

   21    Mr. Bohm's testimony?                                                 15:17:17

   22         A.   I don't.                                                    15:17:18

   23         Q.   Okay.                                                       15:17:19

   24                  Well, do you remember the phrase                        15:17:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 348 of 503 PageID #: 18227

                                      TRIAL - VOLUME 5

                                                                           Page 347

    1    "technical challenges," that Mr. Bohm had said                         15:17:22

    2    there would be these technical challenges to                           15:17:25

    3    overcome?     Does that ring a bell?                                   15:17:27

    4         A.     His testimony, I don't recall.                             15:17:29

    5         Q.     Okay.                                                      15:17:32

    6                   Now, we've talked about some                            15:17:32

    7    arbitration mechanisms that the patent                                 15:17:36

    8    describes; right, interleaving, one at a time,                         15:17:40

    9    holding off one in favor of the other.                                 15:17:43

   10                   You don't, in your opinion, say                         15:17:45

   11    that there is some other arbitration mechanism                         15:17:48

   12    to figure out which host is going to be able                           15:17:52

   13    to access a device that is described in the                            15:17:55

   14    patent; right?                                                         15:17:58

   15         A.     I do not offer an opinion on that.                         15:17:59

   16         Q.     Okay.                                                      15:18:01

   17                   And you don't know whether, in the                      15:18:01

   18    Aptiv product that is accused of infringement,                         15:18:05

   19    both hosts are able to access their respective                         15:18:08

   20    devices whenever they want?                                            15:18:12

   21         A.     Did you say whenever they want?                            15:18:15

   22         Q.     Whenever they want.                                        15:18:17

   23         A.     I have no opinions on the accused                          15:18:19

   24    devices.                                                               15:18:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 349 of 503 PageID #: 18228

                                      TRIAL - VOLUME 5

                                                                           Page 348

    1         Q.    Okay.                                                       15:18:22

    2                  So you don't know whether the                            15:18:23

    3    accused devices have any arbitration mechanism                         15:18:25

    4    at all?                                                                15:18:29

    5         A.    Well, other than my experience as a                         15:18:33

    6    computer designer and what I've seen presented                         15:18:37

    7    in the court, I have not made any opinions on                          15:18:40

    8    that.                                                                  15:18:42

    9         Q.    Okay.   Fair enough.                                        15:18:42

   10                  Now, we were talking a little bit                        15:18:44

   11    about difference.      I think we can agree, at a                      15:18:47

   12    high level, but tell me if I'm wrong, that                             15:18:51

   13    Dickens was a system that was designed to                              15:18:55

   14    allow multiple hosts to share multiple                                 15:18:57

   15    devices?                                                               15:19:00

   16         A.    Yes.                                                        15:19:05

   17         Q.    Okay.                                                       15:19:06

   18                  And Dickens came up with that                            15:19:07

   19    solution back in the very, very early days of                          15:19:10

   20    USB; right?                                                            15:19:15

   21         A.    I don't recall.                                             15:19:16

   22         Q.    Okay.                                                       15:19:17

   23                  Did you look to see what the date                        15:19:17

   24    of Dickens was in comparison to the date of                            15:19:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 350 of 503 PageID #: 18229

                                     TRIAL - VOLUME 5

                                                                          Page 349

    1    the USB specification?                                                15:19:24

    2         A.   No.                                                         15:19:25

    3         Q.   Now, Dickens, himself, used something                       15:19:27

    4    we've heard of that's called PCI; right?                              15:19:31

    5         A.   Correct.                                                    15:19:35

    6         Q.   That's a different bus; right?                              15:19:35

    7         A.   Yes.                                                        15:19:37

    8         Q.   And PCI has arbitration capabilities.                       15:19:38

    9                    You agree with that?                                  15:19:42

   10         A.   Of course, because it connects to                           15:19:43

   11    multiple points, it has to arbitrate among                            15:19:46

   12    them.                                                                 15:19:49

   13         Q.   Right.                                                      15:19:49

   14                    And PCI, back when Mr. Dickens                        15:19:49

   15    came up with his invention, was pretty                                15:19:52

   16    ubiquitous; is that fair?                                             15:19:54

   17         A.   Ubiquitous?                                                 15:19:58

   18         Q.   I said pretty ubiquitous.         It was                    15:19:58

   19    well-known, it was widely used?                                       15:20:01

   20         A.   Yeah.                                                       15:20:03

   21         Q.   Now, I want you to imagine that                             15:20:03

   22    someone in 2006 wanted to solve the same                              15:20:05

   23    problem that Mr. Dickens had identified, which                        15:20:08

   24    is how to allow multi-hosts to share a USB                            15:20:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 351 of 503 PageID #: 18230

                                     TRIAL - VOLUME 5

                                                                          Page 350

    1    device without having data collision; okay?                           15:20:15

    2         A.     Okay.                                                     15:20:21

    3         Q.     Okay.                                                     15:20:22

    4                   Now, when you are thinking about                       15:20:22

    5    the solution to a problem, do you ever look to                        15:20:24

    6    see whether other people have solved similar                          15:20:27

    7    problems?                                                             15:20:30

    8         A.     Of course.                                                15:20:30

    9         Q.     Right.                                                    15:20:31

   10                   That's a reasonable thing for                          15:20:31

   11    someone to do; right?                                                 15:20:34

   12                   Now, the Belkin switch and US-98                       15:20:36

   13    switch that we have been talking about, those                         15:20:43

   14    are devices that allow multi-hosts to share                           15:20:45

   15    multi-devices; right?                                                 15:20:53

   16         A.     As a switch that allows switching of                      15:20:56

   17    a device between multi-hosts.                                         15:20:59

   18         Q.     And you say, "switch," but it is not                      15:21:02

   19    like a manual switch; right?        It has an                         15:21:04

   20    arbitration mechanism?                                                15:21:07

   21         A.     I wouldn't describe it that way.                          15:21:09

   22         Q.     Okay.                                                     15:21:11

   23                   Do you have to go to Belkin and                        15:21:13

   24    flip a switch in order to be able to switch                           15:21:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 352 of 503 PageID #: 18231

                                     TRIAL - VOLUME 5

                                                                          Page 351

    1    the devices?                                                          15:21:17

    2         A.    No, it does not have a mechanical                          15:21:22

    3    switch.                                                               15:21:25

    4         Q.    Okay.                                                      15:21:26

    5                   And you would agree, at a high                         15:21:26

    6    level, it's not unusual for designers to swap                         15:21:28

    7    out more complex interfaces for simpler ones;                         15:21:32

    8    right?    Just again, at a general level, if you                      15:21:37

    9    were designing a solution to a problem, that's                        15:21:40

   10    something you might be motivated to do; is                            15:21:42

   11    that fair?                                                            15:21:44

   12         A.    In general.                                                15:21:45

   13         Q.    Okay.                                                      15:21:45

   14                   And in general, in doing that,                         15:21:46

   15    you're going to be interested in trying to                            15:21:49

   16    make the device simpler; is that fair?                                15:21:51

   17         A.    It depends on what -- whether simple                       15:21:56

   18    will accomplish what needs to happen.                                 15:22:00

   19         Q.    Okay.   Fair enough.                                       15:22:01

   20                   But all things being equal, if you                     15:22:03

   21    can find an easier way to do something, as the                        15:22:08

   22    developer of a device, that's going to be                             15:22:11

   23    attractive; is that fair?                                             15:22:12

   24         A.    Usually.                                                   15:22:15


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 353 of 503 PageID #: 18232

                                       TRIAL - VOLUME 5

                                                                            Page 352

    1           Q.   Okay.                                                       15:22:15

    2                   Now, we were talking a little bit                        15:22:16

    3    about the Belkin and US-98 devices.            You don't                15:22:20

    4    dispute -- let's start with Belkin.                                     15:22:24

    5                   You don't dispute that the Belkin                        15:22:26

    6    device has Philips hub chips in it; right?                              15:22:28

    7           A.   I do not dispute that.                                      15:22:31

    8           Q.   Okay.                                                       15:22:32

    9                   In fact, it has one for each host;                       15:22:33

   10    right?                                                                  15:22:36

   11           A.   Correct.                                                    15:22:36

   12           Q.   And you don't dispute that each of                          15:22:37

   13    those chips has a set of endpoint buffers;                              15:22:39

   14    right?                                                                  15:22:42

   15           A.   A set of what?                                              15:22:42

   16           Q.   Endpoint buffers.                                           15:22:43

   17           A.   Well, I did hear that from Mr. Garney                       15:22:45

   18    today.                                                                  15:22:49

   19           Q.   And you don't disagree with that, do                        15:22:49

   20    you?                                                                    15:22:52

   21           A.   No, but I would like to point out                           15:22:52

   22    that my understanding is that those endpoint                            15:22:54

   23    buffers are for endpoints that is the hub, not                          15:22:57

   24    for the device that's on the USB bus.                                   15:23:01


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 354 of 503 PageID #: 18233

                                     TRIAL - VOLUME 5

                                                                          Page 353

    1         Q.   Sure.     But take a look at your report                    15:23:04

    2    at page 66.      Do you have that in front of you?                    15:23:06

    3                   In your report, it's                                   15:23:19

    4    paragraph 281, you actually talk about your                           15:23:21

    5    analysis of the Philips hub data sheet; right?                        15:23:24

    6         A.   Yes.                                                        15:23:28

    7         Q.   And you say, "Each chip has an                              15:23:29

    8    embedded function"; right?                                            15:23:31

    9         A.   Right.                                                      15:23:34

   10         Q.   And you see there is a reference                            15:23:34

   11    there to the endpoints; right?                                        15:23:36

   12         A.   An endpoint index for each of the                           15:23:41

   13    functions, yes.                                                       15:23:43

   14         Q.   Right.                                                      15:23:44

   15                   And those endpoints, they can hold                     15:23:45

   16    data until the MCU is ready to process that                           15:23:48

   17    data; right?                                                          15:23:52

   18         A.   I'm sorry, you are referring to what                        15:23:53

   19    endpoints?                                                            15:23:56

   20         Q.   The endpoints here in the Philips                           15:23:56

   21    chip.                                                                 15:23:58

   22         A.   Well, the only endpoint in the                              15:23:59

   23    Philips chip is the hub.                                              15:24:01

   24         Q.   So, understood.                                             15:24:05


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 355 of 503 PageID #: 18234

                                     TRIAL - VOLUME 5

                                                                          Page 354

    1                   But those endpoints, they hold                         15:24:07

    2    data until the MCU is ready to process that                           15:24:09

    3    data; right?                                                          15:24:12

    4         A.   Well, leaving aside the embedded                            15:24:18

    5    function, if you're trying to say that the hub                        15:24:22

    6    and its endpoint buffer data heading to a                             15:24:26

    7    device, I'm not sure I agree with that.                               15:24:31

    8         Q.   You don't agree that it would be                            15:24:34

    9    possible for those buffers to pull data for                           15:24:36

   10    some period of time?                                                  15:24:40

   11         A.   The end -- I think there is a                               15:24:46

   12    confusion between the endpoint as represented                         15:24:53

   13    by a device and an endpoint in this chip, this                        15:24:57

   14    hub chip, and so I'd like to distinguish                              15:25:02

   15    between those carefully.                                              15:25:06

   16                   MS. DURIE:   Okay.    Let's take a                     15:25:08

   17    look at Exhibit 209.                                                  15:25:09

   18                   (Whereupon, Trial Exhibit 209 was                      15:25:09

   19    introduced.)                                                          15:25:09

   20    BY MS. DURIE:                                                         15:25:09

   21         Q.   This is the Philips data sheet that                         15:25:28

   22    you referenced in your expert report that we                          15:25:30

   23    were just taking a look at; right?                                    15:25:32

   24         A.   Right.                                                      15:25:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 356 of 503 PageID #: 18235

                                     TRIAL - VOLUME 5

                                                                          Page 355

    1         Q.     And let's take a look at page 14 of                       15:25:36

    2    the Philips data sheet.                                               15:25:41

    3                   And you see here, there is                             15:25:47

    4    information, "Read Buffer, Write Buffer, Clear                        15:25:51

    5    Buffer, Validate Buffer."                                             15:25:55

    6                   Do you see that?                                       15:26:01

    7         A.     Yes.                                                      15:26:04

    8         Q.     And so if we take a look at --                            15:26:05

    9                   MS. DURIE:   Well, first of all, I                     15:26:07

   10    offer 209.                                                            15:26:09

   11                   THE COURT:   Any objection?                            15:26:10

   12                   MR. ADAMS:   No objection, Your                        15:26:11

   13    Honor.                                                                15:26:11

   14                   THE COURT:   All right.      It's                      15:26:13

   15    admitted.                                                             15:26:14

   16                   MS. DURIE:   Perfect.                                  15:26:14

   17                   And, Mr. Glass, let's put up 209,                      15:26:15

   18    page 14, please.     And on the right-hand side,                      15:26:18

   19    about two-thirds of the way down,                                     15:26:21

   20    three-quarters of the way down on the right,                          15:26:23

   21    "Clear Buffer."     Let's pull that up.                               15:26:25

   22    BY MS. DURIE:                                                         15:26:27

   23         Q.     So it says -- this is, again, about                       15:26:28

   24    the Philips chip that is in the Belkin device;                        15:26:30


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 357 of 503 PageID #: 18236

                                     TRIAL - VOLUME 5

                                                                          Page 356

    1    right?                                                                15:26:33

    2         A.   Yeah.                                                       15:26:35

    3         Q.   Yep.     And it says, "When a packet is                     15:26:36

    4    received completely, an internal endpoint                             15:26:38

    5    buffer full flag is set.       All subsequent                         15:26:41

    6    packets will be refused by returning a NAK."                          15:26:45

    7                  Now, we keep hearing about this                         15:26:49

    8    NAK thing, but that's a very standard USB                             15:26:54

    9    function; right?                                                      15:26:56

   10         A.   Yes.                                                        15:26:57

   11         Q.   It's been around for a long time?                           15:26:57

   12         A.   Right.                                                      15:26:59

   13         Q.   And so it's basically saying don't                          15:26:59

   14    send any more data; right?                                            15:27:02

   15         A.   Right.                                                      15:27:04

   16         Q.   Don't send any more data; right, I'm                        15:27:04

   17    full?                                                                 15:27:07

   18         A.   Right.                                                      15:27:08

   19         Q.   And so the NAKs here are basically                          15:27:08

   20    saying stop, I am full; right?                                        15:27:11

   21         A.   Right.                                                      15:27:13

   22         Q.   And then once that sort of waiting                          15:27:14

   23    room is cleared, then it will be able to start                        15:27:18

   24    receiving data again; right?                                          15:27:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 358 of 503 PageID #: 18237

                                     TRIAL - VOLUME 5

                                                                          Page 357

    1         A.   Yes, but I'd like to point out that                         15:27:22

    2    this packet and the buffer is for the                                 15:27:25

    3    microcontroller to read the data from.                                15:27:30

    4         Q.   Sure.                                                       15:27:32

    5                  But a person of skill in the art,                       15:27:33

    6    in 2006, taking a look at Belkin,                                     15:27:35

    7    understanding how Philips chips work, would                           15:27:38

    8    certainly understand this concept that you can                        15:27:42

    9    have a chip with a buffer that can have USB                           15:27:45

   10    functionality that allows you to hold off,                            15:27:49

   11    right, if it's full, send a NAK, and then                             15:27:53

   12    wait, and once you're ready to receive data,                          15:27:57

   13    start receiving data again; right?                                    15:28:00

   14         A.   That general concept is certainly                           15:28:03

   15    understandable.                                                       15:28:08

   16         Q.   Sorry?                                                      15:28:08

   17         A.   That concept is understandable.                             15:28:08

   18         Q.   Okay.                                                       15:28:10

   19                  That concept is understandable,                         15:28:11

   20    and it would have been understood by a person                         15:28:12

   21    of skill in the art in 2006; right?                                   15:28:14

   22         A.   Well, you are speaking very                                 15:28:16

   23    generally.    So here the question is where is                        15:28:19

   24    the data going, who is going to read it and so                        15:28:23


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 359 of 503 PageID #: 18238

                                     TRIAL - VOLUME 5

                                                                          Page 358

    1    when does the buffer get cleared?         All of                      15:28:26

    2    those are microprocessor functions, not                               15:28:29

    3    microcontroller functions.                                            15:28:32

    4         Q.   Sure.                                                       15:28:32

    5                  But again, just at a high level, a                      15:28:33

    6    person of skill in the art in 2006, thinking                          15:28:35

    7    about how do I arbitrate if two hosts want to                         15:28:38

    8    share one device, would know that a device                            15:28:43

    9    like Belkin with Philips chips in them, that                          15:28:48

   10    they provide functionality that if your                               15:28:52

   11    buffers are full, because you've gotten data                          15:28:55

   12    from one host, you can send a NAK to another                          15:28:58

   13    host that says, hey stop, I'm full.                                   15:29:01

   14                  That's something they know; right?                      15:29:04

   15         A.   Well, in the context of the Philips                         15:29:05

   16    specification --                                                      15:29:07

   17         Q.   Sure.                                                       15:29:07

   18         A.   -- there's nothing like that.          There                15:29:08

   19    are not two hosts connected.                                          15:29:09

   20         Q.   I understand that we disagree about                         15:29:11

   21    some things, but I want to see if we can just                         15:29:13

   22    agree about that fundamental proposition that                         15:29:16

   23    that idea embodied in the Philips chip of                             15:29:18

   24    using a NAK to hold off one, while something                          15:29:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 360 of 503 PageID #: 18239

                                      TRIAL - VOLUME 5

                                                                           Page 359

    1    else, we don't need to get into what it is,                            15:29:26

    2    accesses, that concept would be known?                                 15:29:29

    3          A.   That is not what it says here.                              15:29:31

    4          Q.   So when it says, "All subsequent                            15:29:37

    5    packets will be refused by returning a NAK,"                           15:29:39

    6    that's not a way of saying hold off?                                   15:29:41

    7          A.   That's a way of saying to one thing                         15:29:45

    8    that's sending to one thing --                                         15:29:47

    9          Q.   Sure.                                                       15:29:48

   10          A.   -- to a buffer that my buffer is                            15:29:49

   11    full, hold off.                                                        15:29:51

   12          Q.   Right.                                                      15:29:52

   13          A.   It's not a way of arbitrating between                       15:29:52

   14    that thing and some other thing that's trying                          15:29:54

   15    to access the same thing.                                              15:29:57

   16          Q.   Okay.                                                       15:29:58

   17                  But again, if we can agree --                            15:29:59

   18          A.   It is an older concept, actually.                           15:30:01

   19          Q.   It is an older concept.        Indeed it                    15:30:03

   20    is.                                                                    15:30:07

   21                  Now, you didn't offer any opinion                        15:30:07

   22    in your report disputing that the Belkin US-98                         15:30:10

   23    devices satisfy the requirement of maintaining                         15:30:17

   24    address configuration and response                                     15:30:20


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 361 of 503 PageID #: 18240

                                     TRIAL - VOLUME 5

                                                                          Page 360

    1    information; right?                                                   15:30:23

    2         A.   I don't think I did.                                        15:30:30

    3         Q.   Okay.                                                       15:30:32

    4                   You also didn't offer any opinion                      15:30:32

    5    disputing that the Belkin US-98 devices have                          15:30:35

    6    respective interface circuits for each USB                            15:30:40

    7    host; right?                                                          15:30:44

    8         A.   Say that one more time, please.                             15:30:56

    9         Q.   Sure.                                                       15:30:58

   10                   You didn't offer an opinion in                         15:30:58

   11    your report disputing that the Belkin US-98                           15:31:01

   12    devices have respective interface circuits for                        15:31:07

   13    each USB host?                                                        15:31:13

   14         A.   Respective interface circuits.          Okay,               15:31:16

   15    that would be the multiple Philips chips, so I                        15:31:19

   16    did not dispute that.                                                 15:31:23

   17         Q.   Okay.                                                       15:31:24

   18                   Now, in this case, the innovation                      15:31:32

   19    that is described in the patent is about a way                        15:31:34

   20    of arbitrating access between two hosts that                          15:31:41

   21    are sharing a USB device; right?                                      15:31:47

   22         A.   I don't believe that -- is it                               15:31:56

   23    described as arbitrating?       I don't think that                    15:32:00

   24    word occurs in this patent.                                           15:32:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 362 of 503 PageID #: 18241

                                     TRIAL - VOLUME 5

                                                                          Page 361

    1         Q.   Okay.                                                       15:32:04

    2                  How about alternating; that word                        15:32:05

    3    appears; right?                                                       15:32:07

    4         A.   Well, the alternating is shown as one                       15:32:08

    5    possible way of allowing two hosts to send                            15:32:11

    6    data.                                                                 15:32:13

    7         Q.   Okay.                                                       15:32:14

    8                  So referring to the patent, the                         15:32:14

    9    patent talks about alternating, it talks about                        15:32:18

   10    what we have talked about as the stop signs,                          15:32:21

   11    it talks about what we have talked about as                           15:32:23

   12    the stop lights.                                                      15:32:26

   13                  Does the patent describe any other                      15:32:27

   14    way for two hosts to be able to use that one                          15:32:30

   15    USB lane of data?                                                     15:32:36

   16         A.   Well, first of all, the patent                              15:32:38

   17    doesn't necessarily describe using one USB                            15:32:42

   18    lane of data.                                                         15:32:46

   19         Q.   Where in the patent, in your                                15:32:49

   20    opinion -- well, actually, let me ask the                             15:32:52

   21    question this way.                                                    15:32:54

   22                  Let's take a look at Exhibit 1,                         15:32:55

   23    and let's take a look at the abstract.           The                  15:32:59

   24    abstract says, "A shared USB device may be                            15:33:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 363 of 503 PageID #: 18242

                                     TRIAL - VOLUME 5

                                                                          Page 362

    1    simultaneously configured by using a                                  15:33:10

    2    multi-host capable device controller"; right?                         15:33:14

    3         A.   Yes.                                                        15:33:18

    4         Q.   And then at the end, it says, "Each                         15:33:20

    5    host may establish a dedicated USB connection                         15:33:23

    6    with the sharing device without the sharing                           15:33:26

    7    device having to be re-configured or                                  15:33:30

    8    re-enumerated each and every time the upstream                        15:33:32

    9    hosts alternate accessing the USB device";                            15:33:37

   10    right?                                                                15:33:42

   11         A.   That is what it says.                                       15:33:42

   12         Q.   Okay.                                                       15:33:44

   13                  You have not undertaken to assess                       15:33:45

   14    whether the Aptiv product that is accused of                          15:33:55

   15    infringement is one in which two hosts share                          15:33:59

   16    one USB device; right?      That's not something                      15:34:07

   17    that you have looked at?                                              15:34:10

   18         A.   I have made no analysis or opinions                         15:34:12

   19    on the infringement.                                                  15:34:17

   20         Q.   Okay.                                                       15:34:19

   21                  And therefore, when you were                            15:34:19

   22    thinking about the enablement requirement and                         15:34:21

   23    whether that enablement requirement was                               15:34:26

   24    satisfied, you did not specifically consider                          15:34:29


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 364 of 503 PageID #: 18243

                                     TRIAL - VOLUME 5

                                                                          Page 363

    1    whether the specification would teach someone                         15:34:34

    2    how to have a host-to-host communication                              15:34:38

    3    system connecting two hosts as opposed to a                           15:34:43

    4    system in which two hosts could communicate                           15:34:49

    5    with a single device; fair?                                           15:34:52

    6         A.   I'm sorry, I just -- I'm not sure                           15:34:57

    7    exactly what you asked at the beginning.                              15:35:00

    8         Q.   Sure.                                                       15:35:02

    9                  When you set forth your opinions                        15:35:02

   10    on the enablement requirement in this case,                           15:35:07

   11    you did not consider whether the specification                        15:35:11

   12    taught someone of skill in the art how to                             15:35:17

   13    engage in host-to-host communication as                               15:35:21

   14    opposed to teaching someone how to have two                           15:35:25

   15    hosts be able to share a single USB device?                           15:35:30

   16         A.   Well, since the host-to-host                                15:35:39

   17    communication you just said is not mentioned                          15:35:40

   18    in the body of this patent or in the claims, I                        15:35:44

   19    did not consider that aspect.                                         15:35:48

   20                  MS. DURIE:    Thank you.                                15:35:51

   21                  I have no further questions.                            15:35:52

   22    Thank you.                                                            15:35:54

   23                  THE COURT:    If you have more than                     15:36:00

   24    a couple minutes, I want to take a break.                             15:36:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 365 of 503 PageID #: 18244

                                     TRIAL - VOLUME 5

                                                                          Page 364

    1                   MR. ADAMS:   Your Honor, it might                      15:36:04

    2    be a good time to take a break now.                                   15:36:05

    3                   THE COURT:   Well, how long do you                     15:36:07

    4    think you have?                                                       15:36:08

    5                   MR. ADAMS:   Five minutes, Your                        15:36:09

    6    Honor.                                                                15:36:10

    7                   THE COURT:   Let's do that so then                     15:36:10

    8    we can come back and do the charge.                                   15:36:13

    9                   MR. ADAMS:   That's fine.                              15:36:14

   10                   Mr. Ferrer, would you put up --                        15:36:19

   11    first would you correct my screen so you can                          15:36:21

   12    put something up and then would you put up                            15:36:23

   13    claim 23?                                                             15:36:25

   14                                -   -   -                                 15:36:26

   15                        REDIRECT EXAMINATION                              15:36:26

   16                                -   -   -                                 15:36:53

   17    BY MR. ADAMS:                                                         15:36:53

   18         Q.     Dr. Levy, this is claim 23 of the                         15:36:54

   19    '243 Patent; right?                                                   15:36:56

   20         A.     Yes.                                                      15:36:57

   21         Q.     You were asked a lot of questions                         15:36:58

   22    about claims 1 and other claims, but this is                          15:36:59

   23    the claim you are offering your opinion on                            15:37:02

   24    today; correct?                                                       15:37:04


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 366 of 503 PageID #: 18245

                                     TRIAL - VOLUME 5

                                                                          Page 365

    1         A.   That's right.                                               15:37:05

    2         Q.   Okay.                                                       15:37:06

    3                    Now, Ms. Durie asked you if you                       15:37:06

    4    considered enablement of host-to-host                                 15:37:11

    5    communication.                                                        15:37:13

    6                    Does host-to-host communication                       15:37:15

    7    appear in that claim?                                                 15:37:17

    8         A.   No.                                                         15:37:18

    9         Q.   Okay.                                                       15:37:18

   10                    Do you have an opinion as to                          15:37:19

   11    whether claim 23 enables a USB multi-host                             15:37:21

   12    device -- I'm sorry, whether the '243 Patent                          15:37:25

   13    enables a USB multi-host device?                                      15:37:28

   14         A.   Yes.                                                        15:37:30

   15         Q.   Do you have an opinion about whether                        15:37:31

   16    it enables a shared device block along with                           15:37:33

   17    the other limitations of the first element?                           15:37:36

   18         A.   Yes.                                                        15:37:39

   19         Q.   And what is it?                                             15:37:39

   20         A.   It does teach the claim.                                    15:37:41

   21         Q.   Thank you.                                                  15:37:45

   22                    And I may have been a little                          15:37:46

   23    premature on the first one.        You do have an                     15:37:47

   24    opinion about whether USB multi-host device is                        15:37:50


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 367 of 503 PageID #: 18246

                                     TRIAL - VOLUME 5

                                                                          Page 366

    1    enabled by the '243 Patent.        What is it?                        15:37:52

    2         A.   What is it?                                                 15:37:56

    3         Q.   Yeah.                                                       15:37:57

    4         A.   In this claim, it is a shared USB                           15:37:58

    5    device block operable to be simultaneously                            15:38:01

    6    configured and it has a controller with                               15:38:03

    7    certain elements.                                                     15:38:09

    8         Q.   It's getting late in the day.                               15:38:09

    9                  My question is, what is your                            15:38:11

   10    opinion about whether that USB multi-host                             15:38:12

   11    device is enabled?                                                    15:38:15

   12         A.   Oh, it is enabled.                                          15:38:16

   13         Q.   And is the controller of claim 23                           15:38:19

   14    also enabled?                                                         15:38:21

   15         A.   Yes.                                                        15:38:22

   16         Q.   Okay.                                                       15:38:22

   17                  Now, do you understand the                              15:38:23

   18    requirements of enablement to require enabling                        15:38:25

   19    something beyond what's in the claim?                                 15:38:29

   20                  MS. DURIE:    Legal conclusion.                         15:38:32

   21                  THE COURT:    Sustained.                                15:38:34

   22                  MR. ADAMS:    Your Honor, I'm sorry.                    15:38:35

   23    BY MR. ADAMS:                                                         15:38:39

   24         Q.   Dr. Levy, you had indicated that it's                       15:38:39


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 368 of 503 PageID #: 18247

                                       TRIAL - VOLUME 5

                                                                            Page 367

    1    your opinion that each of these elements is                             15:38:42

    2    enabled; correct?                                                       15:38:44

    3           A.   Yes.                                                        15:38:45

    4           Q.   Do you have the same opinion about                          15:38:46

    5    written description?                                                    15:38:48

    6           A.   Yes.                                                        15:38:49

    7           Q.   Now, earlier I think Ms. Durie                              15:38:50

    8    implied that you weren't knowledgeable about                            15:38:54

    9    USB.                                                                    15:38:56

   10           A.   Yes.                                                        15:38:59

   11           Q.   Are you -- do you have experience in                        15:39:00

   12    many computer buses?                                                    15:39:03

   13           A.   Yes.                                                        15:39:04

   14           Q.   Do you have a doctorate degree from                         15:39:04

   15    Stanford University?                                                    15:39:07

   16           A.   Yes.                                                        15:39:08

   17           Q.   Are you able to read documents                              15:39:09

   18    related to buses and understand them?                                   15:39:12

   19           A.   Yes.   And I would just like to point                       15:39:16

   20    out that I did my first engagement as an                                15:39:18

   21    expert on a case involving USB testing devices                          15:39:21

   22    back in 2008.                                                           15:39:25

   23           Q.   Now, Ms. Durie also asked a lot of                          15:39:28

   24    questions about arbitration, stop signs.             Is                 15:39:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 369 of 503 PageID #: 18248

                                     TRIAL - VOLUME 5

                                                                          Page 368

    1    there anything about stop signs in the '243                           15:39:38

    2    Patent?                                                               15:39:41

    3         A.   No.                                                         15:39:41

    4         Q.   Anything about stop lights?                                 15:39:42

    5         A.   No.                                                         15:39:43

    6         Q.   Is there anything in claim 23 about                         15:39:44

    7    arbitration?                                                          15:39:48

    8         A.   No.                                                         15:39:51

    9         Q.   So all of those questions had nothing                       15:39:54

   10    to do with the elements of claim 23; correct?                         15:39:56

   11         A.   Correct.                                                    15:39:59

   12         Q.   Now, they also -- Ms. Durie talked                          15:40:00

   13    about combining or making things simpler.                             15:40:03

   14         A.   Yes.                                                        15:40:06

   15         Q.   Would combining Dickens with the                            15:40:06

   16    Belkin or US-98 devices make anything simpler?                        15:40:10

   17         A.   No.                                                         15:40:14

   18         Q.   Would it make it more complex?                              15:40:14

   19         A.   Probably.                                                   15:40:16

   20         Q.   Now, Ms. Durie also asked you about                         15:40:22

   21    the different -- tried to compare claim 1 and                         15:40:24

   22    claim 23, okay?                                                       15:40:28

   23                    Do you have an opinion as to                          15:40:31

   24    whether claim -- claim 23 is different than                           15:40:32


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 370 of 503 PageID #: 18249

                                      TRIAL - VOLUME 5

                                                                           Page 369

    1    claim 1?                                                               15:40:34

    2         A.     Oh, yes.                                                   15:40:36

    3         Q.     Okay.                                                      15:40:37

    4                   Did the patent office make a                            15:40:38

    5    decision about whether the scope of claim 23                           15:40:40

    6    was different than the scope of claim 1?                               15:40:43

    7         A.     Yes.                                                       15:40:45

    8         Q.     Okay.                                                      15:40:46

    9                   So if Ms. Durie wants to imply                          15:40:46

   10    they are the same, then she has to argue with                          15:40:49

   11    the patent office; right?                                              15:40:51

   12         A.     That would be the effective --                             15:40:52

   13                   MS. DURIE:    Objection.                                15:40:53

   14                   THE COURT:    Sustained.                                15:40:54

   15                   MR. ADAMS:    No further questions,                     15:40:54

   16    Your Honor.                                                            15:40:56

   17                   MS. DURIE:    Nothing further.                          15:40:57

   18                   THE COURT:    All right.      You can                   15:40:58

   19    step down.     Take your time.                                         15:40:59

   20                   (Whereupon, the witness was                             15:40:59

   21    excused.)                                                              15:40:59

   22                   THE COURT:    Then this would be a                      15:41:03

   23    good time for a break.       We'll take about 10                       15:41:04

   24    minutes for you to clear your heads.           Then                    15:41:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 371 of 503 PageID #: 18250

                                     TRIAL - VOLUME 5

                                                                          Page 370

    1    we'll come back with me, I will tell you -- I                         15:41:08

    2    will give you, as I said, the instructions on                         15:41:12

    3    the law and you'll have those then, and then                          15:41:14

    4    tomorrow morning when we start with closing                           15:41:19

    5    arguments, you'll have a context for the                              15:41:23

    6    arguments.    So let's take 10 minutes now and                        15:41:25

    7    stretch your legs.                                                    15:41:28

    8                  (Whereupon, the jury was excused                        15:41:30

    9    from the courtroom at 3:40 p.m.)                                      15:41:32

   10                  THE COURT:     You can be seated.                       15:41:49

   11                  Anything I need to take up before                       15:41:50

   12    I charge the jury?                                                    15:41:52

   13                  MR. RUSSELL:     Your Honor, we would                   15:41:54

   14    like to make our Rule 50 motion at some point,                        15:41:55

   15    whether it's now or later.                                            15:41:57

   16                  THE COURT:     Why don't we do this.                    15:41:59

   17    Let me get the jury instructed.         Okay?    You                  15:42:00

   18    guys made your motions and they are on the                            15:42:03

   19    record, and as I said, the case won't actually                        15:42:05

   20    be submitted to the jury until after closings                         15:42:08

   21    and until after I've given them their final                           15:42:11

   22    instructions tomorrow.                                                15:42:13

   23                  So let's take 10 minutes now, I'll                      15:42:14

   24    instruct the jury, and then I'll hear argument                        15:42:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 372 of 503 PageID #: 18251

                                      TRIAL - VOLUME 5

                                                                          Page 371

    1    on the motions.     Okay?     All right.                              15:42:20

    2                   MS. DURIE:     Can I just ask a                        15:42:22

    3    clarifying question?        I was actually going to                   15:42:24

    4    leave and not sit through reading the jury                            15:42:26

    5    instructions.     I can hand off to someone else.                     15:42:29

    6    We could also do it tomorrow after closings.                          15:42:32

    7    I guess actually we need to do it before the                          15:42:37

    8    case goes to the jury.                                                15:42:39

    9                   THE COURT:     You have to do it                       15:42:40

   10    before the case is submitted to the jury.             You             15:42:41

   11    could close and in theory, could wait and give                        15:42:43

   12    them -- I have one last instruction to give                           15:42:46

   13    them on how to deliberate, the case won't be                          15:42:48

   14    submitted until then.        But I hate to have the                   15:42:51

   15    closings and have them sitting there and not                          15:42:53

   16    be able to deliberate.                                                15:42:56

   17                   MS. DURIE:     I don't think it would                  15:42:57

   18    be very long.     Could we do it first thing in                       15:42:58

   19    the morning?                                                          15:43:01

   20                   THE COURT:     That's fine.    Let's                   15:43:01

   21    plan to do it then at 8:30.        We can get in,                     15:43:04

   22    we'll do it and then we'll get the closings                           15:43:07

   23    going on.                                                             15:43:10

   24                   MS. DURIE:     Thank you.                              15:43:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 373 of 503 PageID #: 18252

                                     TRIAL - VOLUME 5

                                                                          Page 372

    1                  THE COURT:    All right.      We'll take                15:43:10

    2    10 minutes now.                                                       15:43:12

    3                  (Whereupon, a recess was taken at                       15:43:13

    4    3:45 p.m.)                                                            15:43:17

    5                  THE COURT CLERK:      All rise.                         15:52:10

    6                  THE COURT:    All right.      One quick                 16:01:59

    7    housekeeping matter before I bring the jury                           16:02:02

    8    in.   Ms. Durie marked Exhibit 381 and admitted                       16:02:04

    9    it into evidence, but Mr. Slayden marked up                           16:02:11

   10    381 for identification.       So just to clean up                     16:02:16

   11    the record, let's have the exhibit that was                           16:02:21

   12    marked as 381 and admitted during Dr. Levy's                          16:02:24

   13    testimony, we'll just make it 381A.                                   16:02:30

   14                  (Whereupon, Trial Exhibit 381A was                      16:02:30

   15    admitted.)                                                            16:02:33

   16                  MR. SAULSBURY:      Okay.   Thank you,                  16:02:33

   17    Your Honor.                                                           16:02:35

   18                  THE COURT:    So it's clear on the                      16:02:35

   19    record.   All right.                                                  16:02:37

   20                  And with that, Mr. Koehler, would                       16:02:37

   21    you bring the jury in.                                                16:02:40

   22                  (Whereupon, the jury entered the                        16:02:41

   23    courtroom.)                                                           16:02:43

   24                  THE COURT:    All right.      Please be                 16:03:41


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 374 of 503 PageID #: 18253

                                      TRIAL - VOLUME 5

                                                                           Page 373

    1    seated.     Okay.                                                      16:03:43

    2                   A couple things by way of sort of                       16:03:44

    3    preface.     Really two things.      One, as I read                    16:03:47

    4    you these instructions, you are all certainly                          16:03:53

    5    welcome to take notes, as I said at the                                16:03:56

    6    beginning.     That said, and as I said this                           16:03:59

    7    morning, tomorrow when you go back to                                  16:04:01

    8    deliberate, we are going to send you a couple                          16:04:05

    9    copies of this written charge so you will have                         16:04:07

   10    it for yourselves.                                                     16:04:10

   11                   So for what it's worth, my                              16:04:11

   12    suggestion is just listen.         Remember, what I                    16:04:13

   13    have to say is to give you some context for                            16:04:17

   14    the closing arguments that you will hear                               16:04:20

   15    tomorrow, and then if you have questions about                         16:04:21

   16    what I said, you'll have it.         Okay?                             16:04:23

   17                   Second, and this sort of follows                        16:04:25

   18    logically from number one, and as it was the                           16:04:28

   19    case with the opening instructions, I am going                         16:04:32

   20    to be reading them to you.         There is a reason                   16:04:34

   21    for that.     As I said at the start of jury                           16:04:36

   22    selection, you are judges of the fact.            I am                 16:04:40

   23    the judge of the law.       So just like the                           16:04:41

   24    parties get to advocate their positions to                             16:04:45


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 375 of 503 PageID #: 18254

                                     TRIAL - VOLUME 5

                                                                          Page 374

    1    you, they get to advocate their positions on                          16:04:47

    2    the law to me.     And what I am going to read to                     16:04:50

    3    you is a product of that process.                                     16:04:52

    4                  So I am going to stick to it                            16:04:54

    5    because the parties have an expectation about                         16:04:55

    6    what I am going to say.       That means it's a                       16:04:58

    7    little more mechanical.       I apologize for that                    16:05:00

    8    in advance, but I think it's important that I                         16:05:02

    9    get it right when I give it to you.          Okay?                    16:05:04

   10                  So bear with me as I go.        All                     16:05:07

   11    right.                                                                16:05:09

   12                  As I have previously told you, the                      16:05:09

   13    plaintiff in this case is Microchip Technology                        16:05:12

   14    Incorporated.    The defendant in this case is                        16:05:15

   15    Aptiv Services, US, LLC, and was formerly                             16:05:18

   16    known as Delphi Automotive Systems, LLC.             In               16:05:22

   17    2014, Delphi purchased Unwired Technology, LLC                        16:05:25

   18    which initially developed USB hub product                             16:05:29

   19    accused of infringement in this case.                                 16:05:32

   20                  There is one patent at issue in                         16:05:34

   21    this case:    United States Patent No.                                16:05:36

   22    7,523,243.    You have heard the lawyers and                          16:05:41

   23    witnesses in this case refer to that patent as                        16:05:43

   24    the '243 Patent.     You have a copy of the '243                      16:05:47


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 376 of 503 PageID #: 18255

                                     TRIAL - VOLUME 5

                                                                          Page 375

    1    Patent in your juror notebook.                                        16:05:50

    2                   Microchip contends that Aptiv                          16:05:52

    3    directly infringes the '243 Patent and that it                        16:05:54

    4    is entitled to damages related to the '243                            16:05:58

    5    Patent as a result.      Aptiv denies that it                         16:06:01

    6    infringes the '243 Patent and contends that                           16:06:04

    7    the Patent is invalid.      Aptiv also denies that                    16:06:07

    8    Microchip is entitled to recover any damages.                         16:06:10

    9                   I will now summarize the patent                        16:06:13

   10    issues that you must decide and for which I                           16:06:15

   11    will provide instructions to guide your                               16:06:18

   12    deliberations.                                                        16:06:19

   13                   1.   Whether Microchip has proven                      16:06:21

   14    by a preponderance of the evidence that Aptiv                         16:06:22

   15    infringed one or more asserted claims of the                          16:06:25

   16    '243 Patent;                                                          16:06:28

   17                   2.   If you decide that Microchip                      16:06:29

   18    has proven that Aptiv infringed one or more                           16:06:32

   19    claims of the '243 Patent, whether Microchip                          16:06:35

   20    has proven by a preponderance of the evidence                         16:06:38

   21    that infringement was willful;                                        16:06:40

   22                   3.   Whether Aptiv has proven by                       16:06:42

   23    clear and convincing evidence that one or more                        16:06:44

   24    of the asserted claims of the '243 Patent is                          16:06:47


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 377 of 503 PageID #: 18256

                                      TRIAL - VOLUME 5

                                                                           Page 376

    1    invalid;                                                               16:06:49

    2                  4.    If you decide that Microchip                       16:06:50

    3    has proven that Aptiv infringed a valid claim,                         16:06:53

    4    you will decide the money damages to be                                16:06:56

    5    awarded to compensate Microchip for that                               16:06:59

    6    infringement.      Microchip has the burden to                         16:07:01

    7    establish the amount of its damages by a                               16:07:03

    8    preponderance of the evidence.                                         16:07:05

    9                  I will provide more detailed                             16:07:08

   10    instructions on these issues shortly.                                  16:07:09

   11                  In any legal action, facts must be                       16:07:12

   12    proven by a required standard of evidence                              16:07:14

   13    known as the burden of proof.         In a patent                      16:07:16

   14    case such as this, there are two different                             16:07:19

   15    burdens of proof that are used.          The first is                  16:07:22

   16    called preponderance of the evidence.           The                    16:07:24

   17    second is called clear and convincing                                  16:07:26

   18    evidence.                                                              16:07:28

   19                  As you have heard, Microchip                             16:07:28

   20    contends that Aptiv infringes the '243 Patent.                         16:07:30

   21    Microchip also contends that it is entitled to                         16:07:34

   22    damages as a result of that infringement.             The              16:07:37

   23    party asserting patent infringement has the                            16:07:39

   24    burden of proving infringement by a                                    16:07:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 378 of 503 PageID #: 18257

                                      TRIAL - VOLUME 5

                                                                           Page 377

    1    preponderance of the evidence.          A                              16:07:43

    2    preponderance of the evidence is evidence                              16:07:45

    3    that, when considered in light of all the                              16:07:46

    4    facts, leads you to believe that what that                             16:07:49

    5    party claims is more likely true than not.             To              16:07:51

    6    put it differently, if you were to put the                             16:07:54

    7    parties' evidence on opposite sides of a                               16:07:57

    8    scale, the evidence supporting Microchip's                             16:07:59

    9    infringement claims must make the scales tip                           16:08:00

   10    somewhat toward its side.        If the scale should                   16:08:03

   11    remain equal or tip in favor of Aptiv, you                             16:08:05

   12    must find for Aptiv.                                                   16:08:08

   13                  If you decide Aptiv infringed, you                       16:08:10

   14    will then address the additional issue of                              16:08:13

   15    whether or not Aptiv's infringement was                                16:08:16

   16    willful.    Microchip has the burden of proving                        16:08:17

   17    that Aptiv's infringement was willful by a                             16:08:20

   18    preponderance of the evidence, meaning it is                           16:08:23

   19    more likely true than not.                                             16:08:24

   20                  Microchip also has the burden to                         16:08:26

   21    establish the kind of money damages - lost                             16:08:29

   22    profits or reasonable royalties - and the                              16:08:31

   23    amount of its money damages by a preponderance                         16:08:33

   24    of the evidence.      If Microchip persuades you                       16:08:35


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 379 of 503 PageID #: 18258

                                     TRIAL - VOLUME 5

                                                                          Page 378

    1    that Aptiv has infringed a valid patent,                              16:08:39

    2    Microchip is entitled to damages in an amount                         16:08:42

    3    to compensate Microchip for that infringement.                        16:08:44

    4                   In addition to denying that it has                     16:08:47

    5    infringed, Aptiv contends that the '243 Patent                        16:08:48

    6    is invalid.     A party challenging the validity                      16:08:52

    7    of a patent has the burden of proving that the                        16:08:56

    8    patent is invalid by clear and convincing                             16:08:59

    9    evidence.     Clear and convincing evidence is                        16:09:03

   10    evidence that produces an abiding conviction                          16:09:05

   11    that the truth of a factual contention is                             16:09:07

   12    highly probable.      Proof by clear and                              16:09:09

   13    convincing evidence is, thus, a higher burden                         16:09:11

   14    than proof by a preponderance of the evidence.                        16:09:13

   15                   Some of you may have heard the                         16:09:15

   16    phrase "proof beyond a reasonable doubt."                             16:09:16

   17    That burden of proof applies only in criminal                         16:09:19

   18    cases and has nothing to do with a civil case                         16:09:22

   19    like this one.      You should, therefore, not                        16:09:24

   20    consider it in this case.                                             16:09:26

   21                   The evidence from which you are to                     16:09:27

   22    find the facts consists of the following:                             16:09:29

   23                   1.   The testimony of the                              16:09:32

   24    witnesses;                                                            16:09:33


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 380 of 503 PageID #: 18259

                                     TRIAL - VOLUME 5

                                                                          Page 379

    1                   2.   Documents, charts, graphics,                      16:09:34

    2    and other things received as exhibits; and.                           16:09:37

    3                   3.   Any facts that are stipulated;                    16:09:40

    4    that is, formally agreed to by the parties.                           16:09:42

    5                   The following things are not                           16:09:46

    6    evidence:                                                             16:09:48

    7                   Statements, arguments, and                             16:09:48

    8    questions of the lawyers for the parties in                           16:09:50

    9    this case;                                                            16:09:52

   10                   Charts and graphics not received                       16:09:52

   11    as exhibits;                                                          16:09:55

   12                   Objections by lawyers.                                 16:09:56

   13                   Any testimony I tell you to                            16:09:58

   14    disregard; and anything you may see or hear                           16:10:00

   15    about this case outside the courtroom.                                16:10:03

   16                   You must make your decision based                      16:10:06

   17    only on the evidence that you see and hear in                         16:10:08

   18    court.   Do not let rumors, suspicions, or                            16:10:11

   19    anything else that you may see or hear outside                        16:10:13

   20    of court influence your decision in any way.                          16:10:15

   21                   You should use your common sense                       16:10:18

   22    in weighing the evidence.       Consider it in                        16:10:20

   23    light of your everyday experiences with people                        16:10:22

   24    and events, and give it whatever weight you                           16:10:25


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 381 of 503 PageID #: 18260

                                     TRIAL - VOLUME 5

                                                                          Page 380

    1    believe it deserves.      If your experience tells                    16:10:27

    2    you that certain evidence reasonably leads to                         16:10:29

    3    a conclusion, you are free to reach that                              16:10:32

    4    conclusion.                                                           16:10:33

    5                   There are rules that control what                      16:10:34

    6    can be received into evidence.         When a lawyer                  16:10:35

    7    asks a question or offers an exhibit into                             16:10:37

    8    evidence, and a lawyer on the other side                              16:10:39

    9    thinks that it is not permitted by the rules                          16:10:42

   10    of evidence, that lawyer may object.            This                  16:10:44

   11    simply means that the lawyer requested that I                         16:10:46

   12    make a decision on a particular rule of                               16:10:48

   13    evidence.     You should not be influenced by the                     16:10:50

   14    fact that an objection was made.         Objections                   16:10:52

   15    to questions are not evidence.         Lawyers have                   16:10:54

   16    an obligation to their clients to make                                16:10:57

   17    objections when they believe that the evidence                        16:10:59

   18    being offered is improper under the rules of                          16:11:00

   19    evidence.     You should not be influenced by the                     16:11:03

   20    objection or by my ruling on it.         If I                         16:11:05

   21    sustained an objection, ignore the question.                          16:11:08

   22    If I overruled it, treat the answer like any                          16:11:11

   23    other.   If you are instructed that some item                         16:11:14

   24    of evidence is received for a limited purpose                         16:11:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 382 of 503 PageID #: 18261

                                     TRIAL - VOLUME 5

                                                                          Page 381

    1    only, you must follow that instruction.                               16:11:18

    2                    Also, I may have excluded some

    3    evidence or ordered certain testimony or other

    4    evidence stricken from the record.          Do not

    5    consider any testimony or other evidence that

    6    I struck or excluded.      Do not speculate about

    7    what a witness might have said or what an

    8    exhibit might have shown.

    9                  There are two types of evidence                         16:11:39

   10    that you may use in reaching your verdict.                            16:11:40

   11    One type of evidence is called direct                                 16:11:42

   12    evidence.   An example of direct evidence is                          16:11:45

   13    when a witness testifies about something a                            16:11:47

   14    witness knows through his own senses,                                 16:11:49

   15    something the witness has seen, felt, touched,                        16:11:51

   16    heard or did.                                                         16:11:54

   17                  The other type of evidence is                           16:11:55

   18    circumstantial evidence.       Circumstantial                         16:11:56

   19    evidence is proof of one or more facts from                           16:11:59

   20    which you could find another fact.                                    16:12:01

   21                  I will give you an example of the                       16:12:03

   22    difference between direct and circumstantial                          16:12:05

   23    evidence.                                                             16:12:07

   24                  If a witness testified that he saw                      16:12:07


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 383 of 503 PageID #: 18262

                                     TRIAL - VOLUME 5

                                                                          Page 382

    1    it raining outside, and you believed him, that                        16:12:08

    2    would be direct evidence that it was raining.                         16:12:11

    3    However, if someone walked into the courtroom                         16:12:13

    4    wearing a raincoat covered with drops of water                        16:12:16

    5    and carrying a wet umbrella, that would be                            16:12:18

    6    circumstantial evidence from which you could                          16:12:20

    7    conclude that it was raining, even though you                         16:12:22

    8    didn't see it for yourself.                                           16:12:24

    9                  You should consider both kinds of                       16:12:26

   10    evidence that are presented to you.          The law                  16:12:27

   11    makes no distinction in the weight to be given                        16:12:29

   12    to either direct or circumstantial evidence.                          16:12:31

   13    You are to decide how much weight to give any                         16:12:33

   14    evidence.                                                             16:12:35

   15                  In determining what the facts are,                      16:12:36

   16    you may have to decide what testimony you                             16:12:38

   17    believe and what testimony you do not believe.                        16:12:41

   18    You are the sole judges of the credibility of                         16:12:44

   19    the witnesses.    Credibility means whether a                         16:12:46

   20    witness is worthy of belief.        You may believe                   16:12:48

   21    everything a witness says or only part of it                          16:12:51

   22    or none of it.    In deciding what to believe,                        16:12:53

   23    you may consider a number of factors,                                 16:12:56

   24    including the following:                                              16:12:58


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 384 of 503 PageID #: 18263

                                     TRIAL - VOLUME 5

                                                                          Page 383

    1                   1.   The opportunity and ability of                    16:12:59

    2    the witness to see or hear or know the things                         16:13:02

    3    the witness testifies to;                                             16:13:04

    4                   2.   The quality of the witness's                      16:13:06

    5    understanding and memory;                                             16:13:08

    6                   3.   The witness's manner while                        16:13:09

    7    testifying;                                                           16:13:12

    8                   4.   Whether the witness has an                        16:13:12

    9    interest in the outcome of the case or any                            16:13:14

   10    motive, bias or prejudice;                                            16:13:16

   11                   5.   Whether the witness is                            16:13:19

   12    contradicted by anything the witness said or                          16:13:21

   13    wrote before trial or by other evidence;                              16:13:23

   14                   6.   How reasonable the witness's                      16:13:26

   15    testimony is when considered in light -- in                           16:13:28

   16    the light of the other evidence that you                              16:13:31

   17    believe; and                                                          16:13:33

   18                   7.   Any other factors that bear on                    16:13:34

   19    believability.                                                        16:13:36

   20                   Sometimes jurors wonder if the                         16:13:37

   21    number of witnesses who testified makes any                           16:13:39

   22    difference.     Do not make any decisions based                       16:13:42

   23    only on the number of witnesses who testified.                        16:13:44

   24    What is more important is how believable the                          16:13:47


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 385 of 503 PageID #: 18264

                                     TRIAL - VOLUME 5

                                                                          Page 384

    1    witnesses were, and how much weight you think                         16:13:49

    2    their testimony deserves.       Concentrate on                        16:13:50

    3    that, not the numbers.                                                16:13:53

    4                  You have heard testimony                                16:13:54

    5    containing opinions from Mr. Ivan Zatkovich,                          16:13:57

    6    Dr. John Levy, Dr. Stephen Becker and Mr. John                        16:14:02

    7    Garney.   In weighing this opinion testimony,                         16:14:04

    8    you may consider the witnesses'                                       16:14:07

    9    qualifications, the reasons for their                                 16:14:09

   10    opinions, and the reliability of the                                  16:14:10

   11    information supporting those opinions, as well                        16:14:12

   12    as the factors I have previously mentioned for                        16:14:15

   13    weighing the testimony of other witnesses.                            16:14:17

   14    The opinions of these individuals should                              16:14:20

   15    receive whatever weight and credit, if any,                           16:14:22

   16    you think appropriate, given all the other                            16:14:24

   17    evidence in the case.                                                 16:14:26

   18                  In deciding whether to accept or                        16:14:27

   19    rely upon the opinions of Mr. Zatkovich, Dr.                          16:14:29

   20    Levy, Dr. Becker and Mr. Garney, you may                              16:14:32

   21    consider any bias that any witness may have,                          16:14:35

   22    including any bias that may arise from                                16:14:38

   23    evidence that they have been or will be paid                          16:14:40

   24    for reviewing the case and testifying.                                16:14:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 386 of 503 PageID #: 18265

                                     TRIAL - VOLUME 5

                                                                          Page 385

    1                  Before this trial began, the                            16:14:44

    2    lawyers for the parties questioned witnesses                          16:14:47

    3    under oath, and a court reporter and                                  16:14:49

    4    videographer recorded everything the witnesses                        16:14:52

    5    and the lawyers said.      This is called a                           16:14:54

    6    deposition.                                                           16:14:55

    7                  For some witnesses, you have heard                      16:14:57

    8    that sworn testimony.      Each witness's                             16:14:58

    9    testimony is entitled to the same                                     16:15:01

   10    consideration as if he testified in court.                            16:15:03

   11    You should use the same factors to evaluate                           16:15:05

   12    the believability of this testimony as if he                          16:15:08

   13    testified in person in the courtroom.                                 16:15:11

   14                  The parties may have edited or cut                      16:15:12

   15    the video to exclude irrelevant testimony.                            16:15:15

   16    You should not attribute any significance to                          16:15:17

   17    the fact that the deposition videos may appear                        16:15:20

   18    to have been edited.                                                  16:15:22

   19                  During the course of the trial,                         16:15:25

   20    you have seen many exhibits.        Many of these                     16:15:28

   21    exhibits were admitted into evidence.          You                    16:15:30

   22    will have these admitted exhibits in the jury                         16:15:32

   23    room for your deliberation.                                           16:15:34

   24                  The remainder of the exhibits,                          16:15:35


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 387 of 503 PageID #: 18266

                                     TRIAL - VOLUME 5

                                                                          Page 386

    1    including charts, PowerPoint presentations and                        16:15:38

    2    animations, were offered to help illustrate                           16:15:40

    3    the testimony of the various witnesses.           These               16:15:42

    4    illustrative exhibits, called demonstrative                           16:15:45

    5    exhibits, have not been admitted, are not                             16:15:48

    6    evidence, and should not be considered as                             16:15:50

    7    evidence.   Rather, it is the underlying                              16:15:51

    8    testimony of the witness that you heard when                          16:15:54

    9    you saw the demonstrative exhibit that is the                         16:15:55

   10    evidence in this case.                                                16:15:58

   11                  In some instances, certain charts                       16:15:59

   12    and summaries may have been received into                             16:16:01

   13    evidence to illustrate information brought out                        16:16:03

   14    in the trial.    You may use these charts and                         16:16:05

   15    summaries as evidence, even though the                                16:16:08

   16    underlying documents and records are not here.                        16:16:10

   17    You should give them such weight as you think                         16:16:12

   18    they deserve.                                                         16:16:14

   19                  You may use notes taken during                          16:16:15

   20    trial to assist your memory.        However, as I                     16:16:17

   21    instructed you at the beginning of the case,                          16:16:20

   22    you should use caution in consulting your                             16:16:21

   23    notes.   Jurors often have a tendency to attach                       16:16:24

   24    undue importance to matters which one has                             16:16:26


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 388 of 503 PageID #: 18267

                                     TRIAL - VOLUME 5

                                                                          Page 387

    1    written down.    But some testimony that you                          16:16:29

    2    thought was unimportant at the time presented,                        16:16:31

    3    and thus not written down, takes on greater                           16:16:33

    4    importance later in the trial in light of all                         16:16:36

    5    the evidence presented.       Therefore, your notes                   16:16:38

    6    are only a tool to aid your own individual                            16:16:41

    7    memory, and you should not compare notes with                         16:16:43

    8    other jurors in determining the content of any                        16:16:46

    9    testimony or in evaluating the importance of                          16:16:48

   10    any evidence.    Your notes are not evidence,                         16:16:50

   11    and are by no means a complete outline of the                         16:16:53

   12    proceedings or a list of the highlights of the                        16:16:55

   13    trial.   Above all, your memory should be the                         16:16:57

   14    greatest asset when it comes time to                                  16:17:00

   15    deliberate and render a decision in this case.                        16:17:02

   16                  Before you can decide many of the                       16:17:04

   17    issues in the case, you will need to                                  16:17:08

   18    understand the role of patent claims.          The                    16:17:09

   19    patent claims are the numbered paragraphs at                          16:17:11

   20    the end of each patent.       The claims are                          16:17:14

   21    important because it is the words of the                              16:17:16

   22    claims that define what a patent covers.             The              16:17:17

   23    claims are intended to define, in words, the                          16:17:20

   24    bounds of the invention.       The figures and text                   16:17:23


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 389 of 503 PageID #: 18268

                                     TRIAL - VOLUME 5

                                                                          Page 388

    1    in the rest of the patent provide a                                   16:17:26

    2    description and/or examples of the invention                          16:17:28

    3    and provide a context for the claims, but it                          16:17:30

    4    is the claims that define the breadth of the                          16:17:34

    5    patent's coverage.     You must consider each of                      16:17:36

    6    the asserted claims individually.                                     16:17:38

    7                  Each claim of a patent effectively                      16:17:40

    8    acts as if it were a separate patent, and each                        16:17:42

    9    claim may cover either more or less than                              16:17:45

   10    another claim.    Therefore, what a patent                            16:17:47

   11    covers depends, in turn, on what each of its                          16:17:50

   12    claims covers.    You will first need to                              16:17:52

   13    understand what each claim covers in order to                         16:17:54

   14    decide whether or not there is infringement of                        16:17:56

   15    the claim and to decide whether or not the                            16:17:59

   16    claim is invalid.                                                     16:18:01

   17                  It is the Court's duty under the                        16:18:02

   18    law to define what the patent claims mean.            I               16:18:05

   19    have made my determinations, and I will now                           16:18:09

   20    instruct you on the meaning of the claim                              16:18:11

   21    terms.   You must apply the meaning that I give                       16:18:13

   22    in each patent claim to decide if a claim is                          16:18:15

   23    infringed or invalid.      You must accept my                         16:18:18

   24    definitions of these words in the claims as                           16:18:20


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 390 of 503 PageID #: 18269

                                     TRIAL - VOLUME 5

                                                                          Page 389

    1    being correct, and you must ignore any                                16:18:23

    2    different definitions used by the witnesses or                        16:18:24

    3    the attorneys.     The definitions for asserted                       16:18:27

    4    claim 23 through 25 are as follows:                                   16:18:29

    5                  The first claim term is USB                             16:18:31

    6    multi-host device, and the Court's                                    16:18:36

    7    Construction is that preamble is not limiting.                        16:18:39

    8                  The second claim term is                                16:18:42

    9    respective dedicated USB connection or                                16:18:44

   10    dedicated USB connection, and the Court's                             16:18:46

   11    Construction is a USB connection that is not                          16:18:49

   12    shared, except that multiple USB connections                          16:18:53

   13    may alternate, in some manner, communicating                          16:18:56

   14    across the same shared physical connection.                           16:18:59

   15                  And the third claim term is USB                         16:19:02

   16    device block, and the Court's Construction is                         16:19:05

   17    a USB device or segment of a USB device that                          16:19:07

   18    performs a function to provide a capability to                        16:19:12

   19    a host over USB.                                                      16:19:14

   20                  For any words in the claim for                          16:19:15

   21    which I have not provided you with a                                  16:19:18

   22    definition, you should apply the plain and                            16:19:19

   23    ordinary meaning to a person of ordinary skill                        16:19:22

   24    in the art.    Shortly, I will explain the                            16:19:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 391 of 503 PageID #: 18270

                                     TRIAL - VOLUME 5

                                                                          Page 390

    1    concept of a person of ordinary skill in the                          16:19:26

    2    art.                                                                  16:19:29

    3                  There are two different types of                        16:19:29

    4    claims at issue in this case.        The first type                   16:19:32

    5    is called an independent claim.         An                            16:19:34

    6    independent claim does not refer to any other                         16:19:37

    7    claim of the patent.      An independent claim is                     16:19:39

    8    read separately to determine its scope.           In                  16:19:42

    9    this case, the only independent claim for                             16:19:44

   10    which Microchip asserts infringement is claim                         16:19:46

   11    23 of the '243 Patent.      You know that claim is                    16:19:50

   12    independent because it does not mention any                           16:19:54

   13    other claims in the patent.        Accordingly, you                   16:19:56

   14    should read the words of that independent                             16:19:59

   15    claim by themselves, in light of the                                  16:20:00

   16    construction that I have given them, to                               16:20:02

   17    determine what that claim covers.                                     16:20:04

   18                  Claims 24 and 25 of the '243                            16:20:06

   19    Patent are dependent claims.        A dependent                       16:20:10

   20    claim refers to and depends upon at least one                         16:20:13

   21    other claim in the patent and thus                                    16:20:15

   22    incorporates all of the requirements of the                           16:20:16

   23    claims to which it refers.        Accordingly, to                     16:20:19

   24    determine what a dependent claim covers, you                          16:20:22


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 392 of 503 PageID #: 18271

                                     TRIAL - VOLUME 5

                                                                          Page 391

    1    must read both the dependent claim and the                            16:20:25

    2    claim to which it refers.       Claim 24 and 25 are                   16:20:28

    3    dependent because they refer to claim 23, so                          16:20:30

    4    you must read the words of claim 23 with the                          16:20:34

    5    words of claim 24 and then read the words of                          16:20:36

    6    claim 23 with the words of claim 25 to                                16:20:39

    7    determine what each claim covers.                                     16:20:42

    8                  I will now instruct you how to                          16:20:44

    9    decide whether Microchip has proven by a                              16:20:48

   10    preponderance of the evidence that Aptiv                              16:20:50

   11    infringed the asserted claims of the '243                             16:20:52

   12    Patent.   You will recall that Microchip must                         16:20:55

   13    prove infringement by a preponderance of the                          16:20:57

   14    evidence, meaning it is more likely than not                          16:20:59

   15    that infringement has occurred.                                       16:21:01

   16                  Whether Aptiv knew or believed the                      16:21:02

   17    accused chip infringes '243 Patent is                                 16:21:04

   18    irrelevant to the question of infringement.                           16:21:07

   19    Aptiv's knowledge and belief regarding                                16:21:10

   20    infringement is only relevant to the separate                         16:21:13

   21    question of willful infringement, which I will                        16:21:15

   22    explain shortly.                                                      16:21:16

   23                   Whether Aptiv's accused chip

   24    includes features or improvements in addition


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 393 of 503 PageID #: 18272

                                     TRIAL - VOLUME 5

                                                                          Page 392

    1    to the elements of claims 23 through 25 of the

    2    '243 patent is not relevant to whether Aptiv

    3    infringes those claims.       As long as Aptiv's

    4    accused chip includes all of the elements of

    5    an asserted patent claim, then that patent

    6    claim is infringed even if the accused chip

    7    also has additional elements, features, or

    8    improvements.                                                         16:21:18

    9                   You have also heard evidence from                      16:21:18

   10    both sides on other patents relating to the                           16:21:46

   11    USB technology.     As I stated earlier, there is                     16:21:48

   12    only one patent at issue in this case: The                            16:21:51

   13    '243 Patent.     Ownership of a patent is not a                       16:21:53

   14    defense to patent infringement, nor is                                16:21:56

   15    ownership of other patents evidence of                                16:21:58

   16    infringement.     As a result, the fact that                          16:22:00

   17    Aptiv had patents has no bearing on whether it                        16:22:03

   18    has infringed Microchip's patent.         Instead,                    16:22:06

   19    for purposes of infringement, you must only                           16:22:08

   20    consider the claims of the '243 Patent.                               16:22:10

   21                   Microchip alleges that Aptiv                           16:22:12

   22    directly infringes the '243 Patent.          In order                 16:22:15

   23    to prove direct infringement, Microchip must                          16:22:18

   24    prove by a preponderance of the evidence,                             16:22:21


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 394 of 503 PageID #: 18273

                                     TRIAL - VOLUME 5

                                                                          Page 393

    1    meaning that it is more likely than not that                          16:22:23

    2    Aptiv made, used, sold, offered to sell, or                           16:22:25

    3    imported products covered by at least one                             16:22:29

    4    asserted claim.                                                       16:22:32

    5                  Deciding whether a claim has been                       16:22:33

    6    directly infringed is a two-step process.           The               16:22:35

    7    first step is to decide the meaning of the                            16:22:38

    8    patent language.     I've already made this                           16:22:40

    9    decision, and I have already instructed you as                        16:22:42

   10    to the meaning of some terms of the asserted                          16:22:44

   11    patent claim.                                                         16:22:46

   12                  The second step is to decide                            16:22:47

   13    whether an asserted claim covers the Boston                           16:22:49

   14    chip in Aptiv's dual role hub.         To decide                      16:22:52

   15    whether the Boston chip directly infringes an                         16:22:55

   16    asserted claim, you must compare that product                         16:22:57

   17    with an asserted patent claim and determine                           16:23:00

   18    whether every requirement of the claim is met.                        16:23:03

   19    If so, Aptiv's chip directly infringes that                           16:23:05

   20    claim.   If not, then the product does not                            16:23:08

   21    directly infringe that claim.                                         16:23:11

   22                  In general, you must determine                          16:23:12

   23    separately for each asserted claim whether or                         16:23:15

   24    not there is infringement.        There is one                        16:23:17


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 395 of 503 PageID #: 18274

                                      TRIAL - VOLUME 5

                                                                           Page 394

    1    exception to this rule.        If you find that an                     16:23:19

    2    independent claim on which other claims depend                         16:23:22

    3    is not infringed, then there cannot be                                 16:23:25

    4    infringement of any dependent claim that                               16:23:28

    5    refers to that independent claim.          So, if you                  16:23:30

    6    find that Aptiv has not infringed claim 23 of                          16:23:34

    7    the '243 Patent, then Aptiv cannot have                                16:23:37

    8    infringed claim 24 or claim 25.                                        16:23:40

    9                  On the other hand, if you find                           16:23:43

   10    that Aptiv has infringed claim 23, you must                            16:23:45

   11    still decide, separately, whether the accused                          16:23:48

   12    product meets additional requirements of each                          16:23:51

   13    of the dependent claims, claim 24 and claim                            16:23:54

   14    25, and thus, whether those dependent claims                           16:23:57

   15    have also been infringed.        A dependent claim                     16:24:00

   16    includes all the requirements of any of the                            16:24:03

   17    claims to which it refers plus any additional                          16:24:05

   18    requirements of its own.                                               16:24:08

   19                  If you decide that Aptiv directly                        16:24:09

   20    infringed any asserted claim of the '243                               16:24:15

   21    Patent, you must then address the additional                           16:24:19

   22    issue of whether Aptiv's infringement was                              16:24:20

   23    willful.    To prove willful infringement,                             16:24:23

   24    Microchip must prove by a preponderance of the                         16:24:26


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 396 of 503 PageID #: 18275

                                     TRIAL - VOLUME 5

                                                                          Page 395

    1    evidence that Aptiv had knowledge of the                              16:24:28

    2    infringed patent, that is, the '243 Patent,                           16:24:30

    3    before Microchip filed this lawsuit, and that                         16:24:32

    4    Aptiv's conduct was reckless, willful, wanton,                        16:24:35

    5    malicious, committed in bad faith, deliberate,                        16:24:39

    6    consciously, wrongful, or flagrant.          To                       16:24:42

    7    determine whether Aptiv acted willfully,                              16:24:45

    8    consider all of the facts.        These may include,                  16:24:49

    9    but are not limited to:                                               16:24:51

   10                  1.   Whether Aptiv intentionally                        16:24:52

   11    copied the claimed inventions of the '243                             16:24:55

   12    Patent;                                                               16:24:55

   13                  2.   Whether Aptiv reasonably                           16:24:58

   14    believed it did not infringe or that the                              16:25:00

   15    patent was invalid at or around the time it                           16:25:03

   16    first learned of the '243 Patent;                                     16:25:06

   17                  3.   Whether Aptiv made a                               16:25:08

   18    good-faith effort to avoid infringing the '243                        16:25:10

   19    Patent, for example, whether Aptiv attempted                          16:25:13

   20    to design around the patent; and                                      16:25:16

   21                  4.   Whether Aptiv tried to cover                       16:25:19

   22    up its infringement.                                                  16:25:21

   23                  If you do decide that there was                         16:25:23

   24    willful infringement, that decision should not                        16:25:25


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 397 of 503 PageID #: 18276

                                     TRIAL - VOLUME 5

                                                                          Page 396

    1    affect any damage award you give in this case.                        16:25:27

    2                  Patent invalidity is a defense to                       16:25:32

    3    patent infringement.      The granting of a patent                    16:25:36

    4    by the United States Patent and Trademark                             16:25:38

    5    Office carries with it the presumption that                           16:25:40

    6    the patent is valid.      The law presumes that                       16:25:42

    7    the Patent and Trademark Office acted                                 16:25:45

    8    correctly in issuing the patent.         Each of the                  16:25:47

    9    asserted claims is presumed valid

   10    independently of the validity of each other

   11    claim.   This presumption puts the burden on

   12    Aptiv of proving invalidity by clear and

   13    convincing evidence on a claim-by-claim basis;

   14    that is, you must be left with an abiding

   15    conviction that each asserted claim of the

   16    '243 Patent is invalid.       This burden may be

   17    more difficult to meet when the accused

   18    infringer attempts to rely on prior art that

   19    has been before the patent office during

   20    examination of the '243 Patent.

   21                  The '243 Patent was subject to                          16:26:20

   22    proceedings before the Patent Trial and Appeal                        16:26:21

   23    Board.   You've heard these proceedings                               16:26:24

   24    referred to as IPR proceedings.         During these                  16:26:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 398 of 503 PageID #: 18277

                                      TRIAL - VOLUME 5

                                                                           Page 397

    1    proceedings, the Patent Trial and Appeal Board                         16:26:29

    2    could only consider written references such as                         16:26:31

    3    patents and publications, and could not                                16:26:34

    4    consider products or systems such as US-98 or                          16:26:36

    5    Belkin.                                                                16:26:40

    6                   Even though the patent office                           16:26:40

    7    allowed the claims of a patent, you have the                           16:26:41

    8    ultimate responsibility for deciding whether                           16:26:45

    9    the claims of a patent are proven to be                                16:26:46

   10    invalid.     For a patent to be valid, the                             16:26:48

   11    specification of the patent must contain a                             16:26:51

   12    sufficient written description of the claimed                          16:26:53

   13    invention and enable a person of ordinary                              16:26:55

   14    skill in the art to make and use the claimed                           16:26:57

   15    invention.     A patent cannot take away from the                      16:27:01

   16    right of anyone who wants to use what was                              16:27:03

   17    already known or used by others, or what would                         16:27:05

   18    have been obvious to those of skill in the art                         16:27:08

   19    at the time the invention was made.           But the                  16:27:10

   20    specification does not have to describe or                             16:27:13

   21    enable the accused product, nor must it                                16:27:15

   22    describe every conceivable or possible future                          16:27:18

   23    embodiment.                                                            16:27:21

   24                   Aptiv alleges that claim 23                             16:27:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 399 of 503 PageID #: 18278

                                      TRIAL - VOLUME 5

                                                                           Page 398

    1    through 25 of the '243 Patent are invalid                              16:27:25

    2    because:                                                               16:27:27

    3                  1.   U.S. Patent No. 6,549,966,                          16:27:27

    4    which we referred to as Dickens, combined with                         16:27:32

    5    the US-98 USB Auto Share Switch 4X4 system,                            16:27:35

    6    which was referred to as US-98, renders the                            16:27:40

    7    claim obvious;                                                         16:27:42

    8                  2.   Dickens combined with the                           16:27:43

    9    Belkin 4X4 USB Peripheral Switch system, which                         16:27:47

   10    we referred to as Belkin, renders the claims                           16:27:50

   11    obvious;                                                               16:27:53

   12                  3.   The specification of the '243                       16:27:54

   13    Patent does not contain an adequate written                            16:27:56

   14    description of the full scope of the asserted                          16:27:59

   15    claims;                                                                16:28:01

   16                  4.   The specification of the '243                       16:28:03

   17    Patent does not enable a person of ordinary                            16:28:06

   18    skill in the art to make and use the full                              16:28:07

   19    scope of the invention, which is called                                16:28:11

   20    enablement.                                                            16:28:13

   21                  I will now instruct you in more                          16:28:13

   22    detail regarding Aptiv's invalidity defense.                           16:28:15

   23                  Patent invalidity defenses are                           16:28:23

   24    evaluated from the perspective of a                                    16:28:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 400 of 503 PageID #: 18279

                                     TRIAL - VOLUME 5

                                                                          Page 399

    1    hypothetical person of ordinary skill in the                          16:28:26

    2    art.   A hypothetical person of ordinary skill                        16:28:27

    3    in the art is presumed to be aware of all the                         16:28:30

    4    prior art at the time of the invention, which                         16:28:32

    5    is April 2006 in this case.        You are to                         16:28:33

    6    determine the level of ordinary skill in the                          16:28:37

    7    art to which the claimed invention pertains at                        16:28:39

    8    the time the claimed invention was made.                              16:28:43

    9                   In deciding what the level of                          16:28:44

   10    ordinary skill in the relevant field is, you                          16:28:46

   11    should consider all the evidence introduced at                        16:28:47

   12    trial, including but not limited to: the                              16:28:50

   13    levels of education and experience of other                           16:28:52

   14    persons actively working in the field as of                           16:28:54

   15    April 14th, 2006.                                                     16:28:57

   16                   Even though an invention may not                       16:28:58

   17    have been identically disclosed or described                          16:29:03

   18    before it was made by an inventor, in order to                        16:29:06

   19    be patentable, an invention must not have been                        16:29:08

   20    obvious to a person of ordinary skill in the                          16:29:10

   21    art at the time the invention was made.                               16:29:12

   22                   Aptiv contends that the asserted                       16:29:15

   23    claims of the '243 Patent is invalid for                              16:29:17

   24    obviousness.     Aptiv bears the burden of                            16:29:22


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 401 of 503 PageID #: 18280

                                     TRIAL - VOLUME 5

                                                                          Page 400

    1    proving obviousness by clear and convincing                           16:29:24

    2    evidence.    To establish that a patent claim is                      16:29:27

    3    invalid for obviousness, Aptiv must show, by                          16:29:29

    4    clear and convincing evidence, that the                               16:29:32

    5    claimed invention would have been obvious to a                        16:29:34

    6    person having ordinary skill in the art at the                        16:29:36

    7    time the invention was made.        In determining                    16:29:38

    8    whether the claimed invention was obvious, you                        16:29:40

    9    must consider each claim separately.          You                     16:29:42

   10    should not use hindsight, such as by using the                        16:29:44

   11    '243 Patent as a roadmap to select from the                           16:29:48

   12    prior art and retrace the path of the                                 16:29:50

   13    inventors.    In other words, you should only                         16:29:52

   14    consider what was known prior to April 14th,                          16:29:54

   15    2006, without the benefit of the later '243                           16:29:57

   16    Patent and what that patent teaches.                                  16:30:01

   17                  In order to be patentable, an                           16:30:02

   18    invention must not have been obvious to a                             16:30:07

   19    person of ordinary skill in the art at the                            16:30:08

   20    time the invention was made.        The issue is not                  16:30:10

   21    whether the claimed invention would be obvious                        16:30:13

   22    today to you, as a layperson, to me as a                              16:30:15

   23    judge, or to a genius in the art, but whether                         16:30:18

   24    it would have been obvious to one of ordinary                         16:30:21


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 402 of 503 PageID #: 18281

                                     TRIAL - VOLUME 5

                                                                          Page 401

    1    skill in the art at the time it was made.           The               16:30:23

    2    existence of each and every element of the                            16:30:25

    3    claimed invention in the prior art does not                           16:30:28

    4    necessarily prove obviousness.         Most, if not                   16:30:30

    5    all, inventions rely on building blocks of                            16:30:34

    6    prior art.                                                            16:30:36

    7                  You must put yourself in the place                      16:30:36

    8    of a person of ordinary skill in the art at                           16:30:38

    9    the time of the invention.        In addition, you                    16:30:40

   10    may consider whether there was a reason to                            16:30:43

   11    combine or modify the prior art references in                         16:30:45

   12    the fashion claimed by the patent at issue.                           16:30:48

   13    To find that the prior art rendered a claim                           16:30:51

   14    obvious, you must find that a person having                           16:30:54

   15    ordinary skill in the art would have had a                            16:30:56

   16    reasonable expectation of successfully                                16:30:58

   17    combining or modifying a prior art product                            16:31:01

   18    with one or more patents or publications.           You               16:31:03

   19    must base your decision on a specified                                16:31:06

   20    combination of prior art that includes a                              16:31:09

   21    physical device.     Aptiv asserts that US-98 and                     16:31:10

   22    Belkin are physical device prior art.          In the                 16:31:13

   23    context of obviousness, only a reasonable                             16:31:16

   24    expectation of success is required, not                               16:31:18


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 403 of 503 PageID #: 18282

                                     TRIAL - VOLUME 5

                                                                          Page 402

    1    conclusive proof or absolute predictability.                          16:31:21

    2                  In determining obviousness or                           16:31:24

    3    non-obviousness of a subject matter of each of                        16:31:27

    4    the asserted claims, you should take the                              16:31:29

    5    following steps:                                                      16:31:32

    6                  1.   Determine the scope and                            16:31:33

    7    content of the prior art;                                             16:31:35

    8                  2.   Identify the differences, if                       16:31:36

    9    any, between each asserted claim and the prior                        16:31:39

   10    art;                                                                  16:31:41

   11                  3.   Determine the level of                             16:31:41

   12    ordinary skill in the pertinent art at the                            16:31:44

   13    time the invention of the patent was made; and                        16:31:46

   14                  4.   Consider objective factors of                      16:31:49

   15    non-obviousness.                                                      16:31:51

   16                  Against this background, you will                       16:31:52

   17    then decide whether the subject matter of each                        16:31:55

   18    asserted claim would have been obvious or                             16:31:56

   19    nonobvious to a person of ordinary skill in                           16:31:59

   20    the pertinent art.                                                    16:32:01

   21                  As I have just instructed you, in                       16:32:03

   22    deciding whether or not the claimed invention                         16:32:05

   23    is obvious to one of ordinary skill in the                            16:32:07

   24    art, you must first determine the scope --                            16:32:09


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 404 of 503 PageID #: 18283

                                      TRIAL - VOLUME 5

                                                                           Page 403

    1    sorry.     Give me a second -- you must first                          16:32:15

    2    determine the scope and content of the prior                           16:32:20

    3    art.     This means that you must determine what                       16:32:22

    4    prior art is reasonably pertinent to a                                 16:32:23

    5    particular problem with which the inventor was                         16:32:26

    6    facing.     Prior art is reasonably pertinent if                       16:32:28

    7    it is in the same field as the claimed                                 16:32:31

    8    invention or is from another field that a                              16:32:33

    9    person of ordinary skill would look to in                              16:32:35

   10    trying to solve the problem the named inventor                         16:32:38

   11    was trying to solve.                                                   16:32:41

   12                   You should analyze whether there                        16:32:42

   13    are any relevant differences between the prior                         16:32:44

   14    art taken as a whole and the asserted claims                           16:32:47

   15    of the '243 Patent in the view of a person of                          16:32:49

   16    ordinary skill in the art as of April 14th,                            16:32:52

   17    2006.     Your analysis must determine the                             16:32:56

   18    impact, if any, of such differences on the                             16:32:59

   19    obviousness or nonobviousness of the invention                         16:33:00

   20    as a whole, and not merely some portion of it.                         16:33:04

   21    You should consider the prior art as a whole                           16:33:07

   22    and determine whether a reason existed at the                          16:33:09

   23    time of the invention that would have prompted                         16:33:11

   24    a person of ordinary skill in the art in the                           16:33:13


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 405 of 503 PageID #: 18284

                                     TRIAL - VOLUME 5

                                                                          Page 404

    1    relevant field to combine the known elements                          16:33:16

    2    in the way the claimed invention does.                                16:33:18

    3                  The reason could come from the                          16:33:21

    4    prior art, the background knowledge of one of                         16:33:22

    5    ordinary skill in the art, the nature of the                          16:33:24

    6    problem to be solved, market demand, or common                        16:33:26

    7    sense.   You may also consider whether the                            16:33:30

    8    problem or need was known, the possible                               16:33:32

    9    approaches to solving the problem or                                  16:33:35

   10    addressing the need were known and finite, and                        16:33:36

   11    whether the solution was predictable for the                          16:33:39

   12    use of a known option.      Accordingly, you may                      16:33:41

   13    evaluate whether there was some teaching,                             16:33:44

   14    suggestion or motivation to arrive at the                             16:33:45

   15    claimed invention before the time of the                              16:33:48

   16    claimed invention, although proof of this is                          16:33:50

   17    not a requirement to prove obviousness.                               16:33:52

   18    Teachings, suggestions, and motivations may be                        16:33:55

   19    found in written references including the                             16:33:57

   20    prior art itself.     However, teachings,                             16:33:59

   21    suggestions, and motivations may also be found                        16:34:02

   22    within the knowledge of a person with ordinary                        16:34:05

   23    skill in the art, including inferences and                            16:34:06

   24    creative steps that a person of ordinary skill                        16:34:09


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 406 of 503 PageID #: 18285

                                     TRIAL - VOLUME 5

                                                                          Page 405

    1    in the art would enjoy.       Additionally,                           16:34:12

    2    teachings, suggestions, and motivations may be                        16:34:14

    3    found in the nature of the problem solved by                          16:34:16

    4    the claimed invention, or any need or problem                         16:34:18

    5    known in the field of the invention at the                            16:34:21

    6    time of and addressed by the invention.                               16:34:23

    7                  In analyzing the relevance of the                       16:34:25

    8    differences between a claimed invention and                           16:34:28

    9    the prior art, you do not need to look for                            16:34:30

   10    precise teaching in the prior art directed to                         16:34:32

   11    the subject matter of the claimed invention.                          16:34:36

   12    On the other hand, if the combination of known                        16:34:37

   13    elements yielded unexpected or unpredictable                          16:34:39

   14    results, or if the prior art teaches away from                        16:34:43

   15    combining the known elements, then this                               16:34:46

   16    evidence would make it more likely that the                           16:34:47

   17    claim that successfully combined those                                16:34:50

   18    elements was not obvious.                                             16:34:52

   19                  I have already given you                                16:34:54

   20    instructions about how to determine the level                         16:34:55

   21    of ordinary skill at Instruction V.B., so                             16:34:59

   22    you'll find that in the document.                                     16:35:01

   23                  You must also take into account                         16:35:04

   24    any objective evidence, sometimes called                              16:35:06


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 407 of 503 PageID #: 18286

                                      TRIAL - VOLUME 5

                                                                           Page 406

    1    objective indicia or secondary considerations,                         16:35:08

    2    that may shed light on whether the claims were                         16:35:11

    3    obvious.     Objective indicia or secondary                            16:35:13

    4    considerations must be considered before a                             16:35:16

    5    conclusion on obviousness is reached.                                  16:35:18

    6    Objective indicia or secondary considerations                          16:35:20

    7    can include:                                                           16:35:22

    8                   (A)   Whether the invention was                         16:35:24

    9    commercially successful at least in part as a                          16:35:25

   10    result of the merits of the claimed invention,                         16:35:28

   11    rather than the result of design needs or                              16:35:31

   12    market pressure, advertising, or similar                               16:35:33

   13    activities;                                                            16:35:35

   14                   (B)   Whether the invention                             16:35:36

   15    satisfied a long-felt need;                                            16:35:38

   16                   (C)   Whether others copied the                         16:35:40

   17    invention;                                                             16:35:43

   18                   (D)   Whether the invention                             16:35:43

   19    achieved unexpected results compared to the                            16:35:45

   20    closest prior art; evidence of unexpected                              16:35:48

   21    results -- evidence of unexpected results may                          16:35:51

   22    be used to rebut a case of obviousness even if                         16:35:53

   23    that evidence was obtained after the patent's                          16:35:56

   24    filing or issue date; there is no requirement                          16:35:59


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 408 of 503 PageID #: 18287

                                     TRIAL - VOLUME 5

                                                                          Page 407

    1    that an invention's properties and advantages                         16:36:01

    2    were fully known before the patent application                        16:36:03

    3    was filed or that the patent application                              16:36:05

    4    contains all of the work done in studying the                         16:36:08

    5    invention.                                                            16:36:10

    6                  (E)   Whether others tried and                          16:36:11

    7    failed to make the invention;                                         16:36:13

    8                  (F)   Whether others in the field                       16:36:15

    9    praised the invention;                                                16:36:17

   10                  (G)   Whether persons having                            16:36:18

   11    ordinary skill in the art of the invention                            16:36:21

   12    expressed surprise or disbelief regarding the                         16:36:22

   13    invention;                                                            16:36:25

   14                  (H)   Whether the inventor                              16:36:26

   15    proceeded contrary to accepted wisdom in the                          16:36:28

   16    field; and                                                            16:36:31

   17                  (I)   Whether others invented the                       16:36:31

   18    invention at roughly the same time.                                   16:36:33

   19                  Microchip has the burden to show                        16:36:35

   20    evidence of objective indicia or secondary                            16:36:38

   21    considerations and to show that there is a                            16:36:41

   22    connection, sometimes called a nexus, between                         16:36:43

   23    the evidence showing any of these factors and                         16:36:45

   24    the claimed invention, if you are to give                             16:36:47


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 409 of 503 PageID #: 18288

                                     TRIAL - VOLUME 5

                                                                          Page 408

    1    weight to this evidence in arriving at your                           16:36:47

    2    conclusion on the obviousness issue.          However,                16:36:53

    3    Aptiv always maintains the ultimate burden to                         16:36:54

    4    show obviousness by clear and convincing                              16:36:57

    5    evidence, taking into account any objective                           16:36:59

    6    indicia that you may find.                                            16:37:02

    7                   Aptiv contends that the asserted                       16:37:04

    8    claims of the '243 Patent are invalid for                             16:37:07

    9    failure to satisfy the written description                            16:37:09

   10    requirement.     Aptiv bears the burden of                            16:37:11

   11    establishing lack of written description by                           16:37:13

   12    clear and convincing evidence.                                        16:37:15

   13                   A patent must contain a written                        16:37:17

   14    description of the product and method claimed                         16:37:19

   15    in the patent.     This requirement helps ensure                      16:37:21

   16    that the patent applicant actually invented                           16:37:23

   17    the claimed subject matter.        To satisfy the                     16:37:26

   18    written description requirement, the patent                           16:37:29

   19    specification must describe each and every                            16:37:31

   20    limitation of a patent claim, in sufficient                           16:37:33

   21    detail, although the exact words found in the                         16:37:36

   22    claim need not be used.       When determining                        16:37:38

   23    whether the specification discloses the                               16:37:40

   24    invention, the claim must be viewed as a                              16:37:42


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 410 of 503 PageID #: 18289

                                     TRIAL - VOLUME 5

                                                                          Page 409

    1    whole.   If a patent claim lacks adequate                             16:37:44

    2    written description, it is invalid.                                   16:37:46

    3                  The written description                                 16:37:48

    4    requirement is satisfied if persons of                                16:37:50

    5    ordinary skill in the field of the invention                          16:37:52

    6    would recognize, from reading the patent                              16:37:54

    7    specification, that the inventor possessed the                        16:37:57

    8    subject matter finally claimed in the patent.                         16:37:59

    9    The written description requirement is                                16:38:03

   10    satisfied if the specification shows that the                         16:38:06

   11    inventor or inventors possessed the invention                         16:38:08

   12    as of the effective filing date of the claimed                        16:38:11

   13    invention, even though the claims themselves                          16:38:12

   14    may have been changed or new claims added                             16:38:14

   15    since that time.                                                      16:38:16

   16                  It is unnecessary to spell out                          16:38:16

   17    every detail of the invention in the                                  16:38:19

   18    specification, and specific examples are not                          16:38:21

   19    required; only enough must be included in the                         16:38:24

   20    specification to convince persons of ordinary                         16:38:26

   21    skill in the art that the inventor possessed                          16:38:28

   22    the full scope of the invention.         The                          16:38:31

   23    specification does not have to describe the                           16:38:34

   24    accused product, nor must it describe every                           16:38:35


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 411 of 503 PageID #: 18290

                                      TRIAL - VOLUME 5

                                                                          Page 410

    1    conceivable or possible future embodiment.                            16:38:38

    2    However, a mere wish or plan for obtaining the                        16:38:41

    3    claimed invention is not adequate written                             16:38:44

    4    description.        In evaluating whether the                         16:38:46

    5    specification has provided an adequate written                        16:38:48

    6    description, you must determine whether a                             16:38:50

    7    person of ordinary skill in the art would have                        16:38:52

    8    understood that Mr. Bohm and Mr. Ghosh, the                           16:38:54

    9    inventors of the '243 Patent, possessed the                           16:38:57

   10    full scope of the invention as of April 14th,                         16:39:00

   11    2006, which is the date that they filed the                           16:39:03

   12    application that resulted in the '243 Patent.                         16:39:05

   13                   To make that determination, you                        16:39:08

   14    may consider such factors as:                                         16:39:10

   15                   1.     The nature and scope of the                     16:39:12

   16    patent claim;                                                         16:39:13

   17                   2.     The complexity,                                 16:39:14

   18    predictability, and maturity of the technology                        16:39:16

   19    at issue;                                                             16:39:19

   20                   3.     The existing knowledge in the                   16:39:20

   21    relevant field; and                                                   16:39:22

   22                   4.     The scope and content of the                    16:39:23

   23    prior art.                                                            16:39:25

   24                   The issue of written description                       16:39:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 412 of 503 PageID #: 18291

                                     TRIAL - VOLUME 5

                                                                          Page 411

    1    is decided on a claim-by-claim basis, not as                          16:39:28

    2    to the entire patent or groups of claim.                              16:39:31

    3                  Aptiv contends that the asserted                        16:39:35

    4    claims of the '243 Patent are invalid for lack                        16:39:38

    5    of enablement.     Aptiv bears the burden of                          16:39:41

    6    establishing by clear and convincing evidence                         16:39:43

    7    that the specification fails to satisfy the                           16:39:45

    8    enablement requirement.                                               16:39:48

    9                  A patent must disclose sufficient                       16:39:49

   10    information to enable or teach persons of                             16:39:52

   11    ordinary skill in the field of the invention                          16:39:54

   12    as of the effective filing date of the claimed                        16:39:56

   13    invention to make and use the full scope of                           16:39:59

   14    the claimed invention without undue                                   16:40:01

   15    experimentation.     This requirement is known as                     16:40:02

   16    the enablement requirement.        If a patent claim                  16:40:06

   17    is not enabled, it is invalid.                                        16:40:08

   18                  In considering whether a patent                         16:40:11

   19    complies with the enablement requirement, you                         16:40:12

   20    must keep in mind that patents are written for                        16:40:14

   21    persons of ordinary skill in the field of the                         16:40:17

   22    invention.    Thus, a patent need not expressly                       16:40:19

   23    state information that persons of ordinary                            16:40:22

   24    skill would be likely to know or could obtain.                        16:40:24


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 413 of 503 PageID #: 18292

                                      TRIAL - VOLUME 5

                                                                           Page 412

    1                  The fact that some experimentation                       16:40:27

    2    may be required for a person of ordinary skill                         16:40:29

    3    in the field of the invention to practice the                          16:40:30

    4    claimed invention does not mean that a patent                          16:40:33

    5    does not meet the enablement requirement.            The               16:40:34

    6    specification does not have to describe or                             16:40:37

    7    enable the accused product.                                            16:40:39

    8                  Factors that you may consider in                         16:40:40

    9    determining whether persons of ordinary skill                          16:40:43

   10    in the field of the invention would require                            16:40:45

   11    undue experimentation to make and use the full                         16:40:47

   12    scope of the claimed invention include:                                16:40:51

   13                  1.   The quantity of                                     16:40:53

   14    experimentation necessary and whether that                             16:40:54

   15    experimentation involves only known or                                 16:40:56

   16    commonly used techniques;                                              16:40:58

   17                  2.   The amount of direction or                          16:41:00

   18    guidance disclosed in the patent;                                      16:41:03

   19                  3.   The presence or absence of                          16:41:05

   20    working examples in the patent;                                        16:41:07

   21                  4.   The nature of the invention;                        16:41:08

   22                  5.   The state of the prior art;                         16:41:11

   23                  6.   The relative skill of those in                      16:41:14

   24    the art;                                                               16:41:16


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 414 of 503 PageID #: 18293

                                      TRIAL - VOLUME 5

                                                                           Page 413

    1                  7.    The predictability of the art;                     16:41:16

    2    and.                                                                   16:41:16

    3                  8.    The breadth of the claims.                         16:41:20

    4                  I am now going to instruct you on                        16:41:22

    5    damages.    By instructing you on damages, I am                        16:41:26

    6    not suggesting which party should win this                             16:41:28

    7    case on any issue, and you should not read                             16:41:30

    8    into my instruction the suggestion that                                16:41:32

    9    damages are appropriate or inappropriate in                            16:41:34

   10    the case.    If you find that each of the                              16:41:37

   11    asserted claims is either invalid or not                               16:41:39

   12    infringed, then you need not address damages                           16:41:41

   13    in your deliberations.       But if you find that                      16:41:43

   14    Aptiv infringed any valid claim of the '243                            16:41:45

   15    Patent, you must then consider what amount of                          16:41:48

   16    damages to award Microchip.                                            16:41:50

   17                  The damages you award must be                            16:41:52

   18    adequate to compensate Microchip for the                               16:41:54

   19    infringement.      Damages are not meant to punish                     16:41:56

   20    an infringer.      Your damages award, if you                          16:41:59

   21    reach this issue, should put Microchip in                              16:42:01

   22    approximately the same financial position that                         16:42:04

   23    it would have been in had the infringement not                         16:42:06

   24    occurred.                                                              16:42:08


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 415 of 503 PageID #: 18294

                                      TRIAL - VOLUME 5

                                                                           Page 414

    1                   Microchip has the burden to                             16:42:09

    2    establish the amount of its damages by a                               16:42:11

    3    preponderance of the evidence.          In other                       16:42:12

    4    words, you should award only those damages                             16:42:14

    5    that Microchip establishes that it more likely                         16:42:16

    6    than not suffered.      Microchip need not prove                       16:42:19

    7    the amount of damages with mathematical                                16:42:22

    8    precision.     You may not award damages that are                      16:42:25

    9    speculative, damages that are possible but not                         16:42:27

   10    probable, or damages that are based on                                 16:42:30

   11    guesswork.                                                             16:42:32

   12                   There are two different types of                        16:42:33

   13    damages that Microchip may be entitled to                              16:42:35

   14    recover.     The first is lost profits.        The                     16:42:37

   15    second is a reasonable royalty.                                        16:42:39

   16                   Lost profits consist of any actual                      16:42:42

   17    reduction in business profits Microchip                                16:42:45

   18    suffered as a result of Aptiv's infringement,                          16:42:48

   19    while a reasonable royalty is defined as the                           16:42:50

   20    money amount Microchip and Aptiv would have                            16:42:53

   21    hypothetically agreed upon as a fee for                                16:42:55

   22    Aptiv's use of the invention in March 2014.                            16:42:57

   23    You may only award one type of damages for                             16:43:01

   24    each infringing unit that Aptiv sold, but you                          16:43:03


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 416 of 503 PageID #: 18295

                                     TRIAL - VOLUME 5

                                                                          Page 415

    1    may award different types of damages for                              16:43:06

    2    different units.                                                      16:43:08

    3                  In this case, Microchip seeks lost                      16:43:09

    4    profits for Aptiv's sales in the third quarter                        16:43:12

    5    of 2017 to the present.       Microchip seeks a                       16:43:15

    6    reasonable royalty for all infringing units                           16:43:18

    7    that you find do not qualify for lost profit                          16:43:20

    8    damages, including Aptiv's sales prior to the                         16:43:23

    9    third quarter of 2017.      Aptiv contends it does                    16:43:25

   10    not infringe any valid claim of the '243                              16:43:29

   11    Patent and therefore does not owe any damages.                        16:43:32

   12    However, if you find that Aptiv has infringed                         16:43:36

   13    any valid asserted claim of the '243 Patent,                          16:43:39

   14    it contends a reasonable royalty is the proper                        16:43:42

   15    measure of damages.                                                   16:43:44

   16                  I will now give you more detailed                       16:43:46

   17    instructions regarding damages, including lost                        16:43:47

   18    profits and reasonable royalties.                                     16:43:50

   19                  Microchip may recover damages                           16:43:51

   20    starting in the second quarter of 2015, when                          16:43:54

   21    Aptiv began selling the dual role hub with the                        16:43:57

   22    Boston chip that Microchip claims infringes on                        16:43:59

   23    the '243 Patent.                                                      16:44:01

   24                  To prove lost profits, Microchip                        16:44:02


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 417 of 503 PageID #: 18296

                                      TRIAL - VOLUME 5

                                                                           Page 416

    1    must show a causal relationship between                                16:44:06

    2    Aptiv's infringement and Microchip's loss of                           16:44:08

    3    profits.    Microchip must show that, but for                          16:44:11

    4    Aptiv's infringement, Microchip would have                             16:44:13

    5    made additional profits through the sale of                            16:44:16

    6    all or a portion of the microchips included in                         16:44:18

    7    the dual role hub that Aptiv sold.           Microchip                 16:44:21

    8    is only seeking lost profits for sales                                 16:44:23

    9    beginning in July 2017, shortly after                                  16:44:25

   10    Microchip began selling the Sandia chip.                               16:44:28

   11                  Microchip must prove its                                 16:44:31

   12    entitlement to and the amount of lost profits                          16:44:32

   13    by a preponderance of the evidence.             Part of                16:44:36

   14    your job is to determine which chip the                                16:44:37

   15    customers that purchased dual role hubs from                           16:44:41

   16    Aptiv would have selected if the alleged                               16:44:44

   17    infringement had not occurred.          It is                          16:44:45

   18    important to remember that the profits I am                            16:44:47

   19    referencing are the profits that Microchip                             16:44:48

   20    allegedly lost, not the profits, if any, that                          16:44:50

   21    Aptiv made on the allegedly infringing sale.                           16:44:53

   22                  Microchip has proven its                                 16:44:56

   23    entitlement to, and the amount of, lost                                16:44:57

   24    profits if you find that, with respect to                              16:45:00


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 418 of 503 PageID #: 18297

                                     TRIAL - VOLUME 5

                                                                          Page 417

    1    sales of Aptiv's dual role hub, Microchip has                         16:45:02

    2    proven each of the following factors by the                           16:45:04

    3    more likely than not standard; that is, by the                        16:45:06

    4    preponderance of the evidence:                                        16:45:10

    5                  1.   There was a demand for the                         16:45:10

    6    patented invention;                                                   16:45:14

    7                  2.   The absence of acceptable                          16:45:15

    8    non-infringing substitutes;                                           16:45:17

    9                  3.   That Microchip had the                             16:45:18

   10    manufacturing and marketing ability to make                           16:45:21

   11    the sales for which Microchip seeks an award                          16:45:23

   12    of lost profits, in other words, that                                 16:45:25

   13    Microchip was capable of satisfying the                               16:45:27

   14    demand; and                                                           16:45:29

   15                  4.   The amount of profit that                          16:45:30

   16    Microchip itself would have made if Aptiv had                         16:45:32

   17    not infringed its '243 Patent.                                        16:45:34

   18                  If Microchip proves these four                          16:45:36

   19    factors by a preponderance of the evidence,                           16:45:39

   20    then the burden shifts to Aptiv to show that                          16:45:41

   21    Microchip would not have made some or all of                          16:45:43

   22    the diverted sales but for the infringement.                          16:45:46

   23                  Microchip contends that there were                      16:45:48

   24    only two suppliers in the relevant market,                            16:45:49


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 419 of 503 PageID #: 18298

                                      TRIAL - VOLUME 5

                                                                           Page 418

    1    Microchip and Aptiv.       Aptiv disagrees.        If                  16:45:51

    2    Microchip proves by a preponderance of the                             16:45:55

    3    evidence that there were only two suppliers in                         16:45:57

    4    the market, then Microchip has proven the                              16:45:59

    5    first two factors.                                                     16:46:01

    6                  I will now explain each of these                         16:46:03

    7    factors.                                                               16:46:04

    8                  The first factor asks whether                            16:46:05

    9    there was demand for the patented product in                           16:46:07

   10    the relevant market.       Microchip can prove                         16:46:10

   11    demand for the patented invention by showing                           16:46:12

   12    significant sales of Microchip's Sandia                                16:46:15

   13    product or significant sales of Aptiv's                                16:46:17

   14    infringing products.                                                   16:46:21

   15                  The second factor asks whether                           16:46:22

   16    there were non-infringing, acceptable                                  16:46:24

   17    substitutes for the patented products in the                           16:46:26

   18    marketplace and the impact of such substitute                          16:46:29

   19    products on the marketplace absent the                                 16:46:32

   20    presence of Aptiv's Boston chip.          If the                       16:46:34

   21    realities of the marketplace are that                                  16:46:36

   22    competitors other than Microchip would likely                          16:46:38

   23    have captured some or all of the volume of                             16:46:41

   24    chips that Aptiv included in its dual role                             16:46:43


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 420 of 503 PageID #: 18299

                                     TRIAL - VOLUME 5

                                                                          Page 419

    1    hub, even despite a difference in the                                 16:46:46

    2    products, then Microchip is only entitled to                          16:46:49

    3    lost profits on those sales that it would have                        16:46:51

    4    captured, not those sales that would have been                        16:46:53

    5    captured by others.                                                   16:46:54

    6                  To be an acceptable substitute,                         16:46:56

    7    the products must have had the advantages of                          16:46:57

    8    the patented invention that important to the                          16:47:00

    9    actual buyers of the infringing products, not                         16:47:03

   10    the public in general.      If purchasers of an                       16:47:05

   11    alleged infringer's product were motivated to                         16:47:05

   12    buy the infringing product because of features                        16:47:05

   13    from the patented invention, however, then                            16:47:14

   14    some other -- then some other, alternative                            16:47:16

   15    product is not an acceptable substitute.           The                16:47:19

   16    use of the acceptable substitute also must not                        16:47:22

   17    infringe the patent.      The acceptable                              16:47:25

   18    substitutes, in addition, must have been                              16:47:28

   19    available for Aptiv to purchase during the                            16:47:30

   20    damages period.                                                       16:47:33

   21                  The acceptable substitute need not                      16:47:33

   22    have actually been sold at that time.          But, if                16:47:35

   23    the acceptable substitute was not sold during                         16:47:37

   24    the damages period, then Aptiv must show by a                         16:47:39


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 421 of 503 PageID #: 18300

                                     TRIAL - VOLUME 5

                                                                          Page 420

    1    preponderance of the evidence that, during the                        16:47:42

    2    damages period, a competitor or Aptiv had all                         16:47:44

    3    the necessary equipment, materials, know-how,                         16:47:46

    4    and experience to design and manufacture the                          16:47:49

    5    acceptable, non-infringing substitute.           If you               16:47:52

    6    determine that some of Aptiv's customers would                        16:47:55

    7    just as likely have purchased a non-infringing                        16:47:58

    8    acceptable product, then Microchip has not                            16:48:01

    9    shown that it lost those sales but for Aptiv's                        16:48:05

   10    infringement.                                                         16:48:08

   11                  The third factor asks whether                           16:48:08

   12    Microchip, by itself, or through entities with

   13    which it partners, had the manufacturing and

   14    marketing ability to actually make the sales

   15    it allegedly lost due to Aptiv's infringement.

   16    Microchip must prove that it could have

   17    supplied the chips needed to make the sales

   18    Microchip said it lost.       Microchip must also

   19    prove that it is more likely than not it had

   20    the ability to market and sell the additional

   21    chips.

   22                  Microchip may calculate the amount

   23    of its lost profits by calculating its lost

   24    sales starting in July 2017 and subtracting


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 422 of 503 PageID #: 18301

                                     TRIAL - VOLUME 5

                                                                          Page 421

    1    from that amount any additional costs or

    2    expenses that Microchip would have had to pay

    3    to make the lost sales.       The amount of lost

    4    profits cannot be speculative, but it need not

    5    be proven with unerring certainty.

    6                  If Microchip satisfies the four

    7    lost profits elements, the burden shifts to

    8    Aptiv to show that Microchip reasonably would

    9    not have made some or all of the sales but for

   10    the infringement.     For example, Aptiv may

   11    rebut the presumption by showing that it sold

   12    another available, acceptable, non-infringing

   13    substitute in the relevant market.          The

   14    ultimate burden of persuasion remains with

   15    Microchip.

   16                  A reasonable royalty is the                             16:49:19

   17    royalty that would have resulted from a                               16:49:20

   18    hypothetical negotiation between the patent                           16:49:22

   19    owner and the alleged infringer just before                           16:49:25

   20    the infringement began.       The parties in this                     16:49:27

   21    case agree the hypothetical negotiation date

   22    is March 2014.    In considering this

   23    hypothetical negotiation, you should focus on

   24    what the expectations of the patent holder and


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 423 of 503 PageID #: 18302

                                      TRIAL - VOLUME 5

                                                                           Page 422

    1    the infringer would have been if they had

    2    entered into an agreement at that time, and if

    3    they had acted reasonably in the negotiations.

    4    You should assume that both parties to the

    5    hypothetical negotiation believed the patent

    6    to be valid and infringed and that both

    7    parties are willing to enter into a license.

    8    You should also assume that the patent holder

    9    and the infringer would have acted reasonably

   10    and would have entered into a license

   11    agreement.

   12                   Having that in mind, you may                            16:50:08

   13    consider any relevant fact in determining the                          16:50:10

   14    reasonable royalty for the use of a patented                           16:50:12

   15    invention, including the opinion testimony of                          16:50:15

   16    experts.     The reasonable royalty you determine                      16:50:16

   17    must be a royalty that would have resulted                             16:50:19

   18    from the hypothetical negotiation, and not                             16:50:21

   19    simply a royalty either party would have                               16:50:23

   20    preferred.                                                             16:50:26

   21                   A reasonable royalty is typically                       16:50:26

   22    made up of (1) a base and (2) a rate that is                           16:50:28

   23    applied to that base.       The ultimate                               16:50:32

   24    combination of royalty base and royalty rate                           16:50:34


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 424 of 503 PageID #: 18303

                                     TRIAL - VOLUME 5

                                                                          Page 423

    1    must reflect the value attributable to the                            16:50:37

    2    infringing features of the product, and no                            16:50:40

    3    more.                                                                 16:50:41

    4                   In determining the reasonable

    5    royalty, you should consider all the facts

    6    known or available to the parties at the time

    7    the infringement began.       Some of the kinds of

    8    factors that you may consider in making your

    9    determination are:

   10                   1.   The royalties received by                         16:50:54

   11    Microchip for the licensing of the '243                               16:50:56

   12    Patent, proving or tending to prove an                                16:51:00

   13    established royalty;                                                  16:51:03

   14                   2.   The rates that Aptiv paid for                     16:51:03

   15    the use of other patents comparable to the                            16:51:05

   16    '243 Patent;                                                          16:51:10

   17                   3.   The nature and scope of the                       16:51:10

   18    license, as exclusive or non-exclusive; or as                         16:51:12

   19    restricted or non-restricted in terms of                              16:51:15

   20    territory or with respect to whom the                                 16:51:18

   21    manufactured product may be sold;                                     16:51:20

   22                   4.   Microchip's established policy                    16:51:21

   23    and marketing program to maintain its right to                        16:51:24

   24    exclude others from using the patented                                16:51:26


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 425 of 503 PageID #: 18304

                                     TRIAL - VOLUME 5

                                                                          Page 424

    1    invention by not licensing others to use the                          16:51:29

    2    invention or by granting licenses under                               16:51:31

    3    special conditions designed to preserve that                          16:51:33

    4    exclusivity;                                                          16:51:36

    5                   5.   The commercial relationship                       16:51:37

    6    between Microchip and Aptiv at the time of the                        16:51:39

    7    hypothetical negotiation, such as whether they                        16:51:41

    8    are competitors in the same territory in the                          16:51:44

    9    same line of business, or whether they are                            16:51:46

   10    inventor and promoter;                                                16:51:49

   11                   6.   The effect of selling the                         16:51:50

   12    patented product in promoting sales of other                          16:51:53

   13    products of Aptiv, the existing value of the                          16:51:56

   14    invention to Microchip as a generator of sales                        16:51:59

   15    of its non-patented items, and the extent of                          16:52:02

   16    such derivative or convoyed sales;                                    16:52:05

   17                   7.   The remaining life of the '243                    16:52:07

   18    Patent and terms of the license;                                      16:52:10

   19                   8.   The commercial success,                           16:52:11

   20    current popularity, and established

   21    profitability of the product made under the

   22    '243 Patent;

   23                   9.   The utility and advantages of

   24    the patented property over the old modes or


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 426 of 503 PageID #: 18305

                                     TRIAL - VOLUME 5

                                                                        Page 425

   1     devices, if any, that had been used for
   2     working out similar results;
   3                        10.     The nature of the patented
   4     invention and the benefits to those who have
   5     used the invention;
   6                        11.     The extent to which Aptiv has
   7     made use of the invention; and any evidence
   8     probative of the value of that use;
   9                        12.     The portion of the profit or
  10     of the selling price that may be customary in
  11     the particular business or in comparable
  12     businesses to allow for the use of the
  13     invention or analogous inventions;
  14                        13.     The portion of the realizable
  15     profit that should be credited to the
  16     invention as distinguished from non-patented
  17     elements, the manufacturing process, business
  18     risks or significant features or improvements
  19     that Aptiv added;
  20                        14.     The opinion testimony of
  21     qualified experts;
  22                        And 15.        The amount that a
  23     licensor, such as Microchip, and a licensee,
  24     such as Aptiv, would have agreed upon at the


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 427 of 503 PageID #: 18306

                                     TRIAL - VOLUME 5

                                                                          Page 426

    1    time the infringement began if both had been

    2    reasonably and voluntarily trying to reach an

    3    agreement; that is, the amount which a prudent

    4    licensee who desired as a business proposition

    5    to obtain a license to manufacture and sell a

    6    particular product embodying the patented

    7    invention would have been willing pay as a

    8    royalty and which amount would have been

    9    acceptable by a prudent patentee who was

   10    willing to grant a license.

   11                  No one factor is dispositive, and                       16:53:44

   12    you can and should consider the evidence that                         16:53:46

   13    has been presented to you in this case on each                        16:53:49

   14    of these factors.     You may also consider any                       16:53:50

   15    other factors which in your mind would have                           16:53:52

   16    increased or decreased the royalty Aptiv would                        16:53:54

   17    have been willing to pay and Microchip would                          16:53:57

   18    have been willing to accept, acting as                                16:54:00

   19    normally prudent business people.                                     16:54:01

   20                  The relevant date for the                               16:54:03

   21    hypothetical reasonable royalty negotiation is                        16:54:06

   22    at the time the infringement began.                                   16:54:08

   23                  The amount you find as damages                          16:54:10

   24    must be based on the value attributable to the                        16:54:12


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 428 of 503 PageID #: 18307

                                      TRIAL - VOLUME 5

                                                                           Page 427

    1    patented invention, as distinct from                                   16:54:16

    2    unpatented features of the accused product or                          16:54:17

    3    other factors such as marketing or                                     16:54:21

    4    advertising, or Aptiv's size or market                                 16:54:22

    5    position.    A royalty compensating the                                16:54:24

    6    patentholder for damages must reflect the                              16:54:26

    7    value attributable to the infringing features                          16:54:29

    8    of the product, and no more.          The process of                   16:54:32

    9    separating the value of the patented invention                         16:54:34

   10    from the value of all other features is called                         16:54:36

   11    apportionment.     When the accused infringing                         16:54:38

   12    products have both patented and unpatented                             16:54:41

   13    features, your award must be apportioned so it                         16:54:44

   14    is based only on the value the patented                                16:54:47

   15    invention contributed to the accused product                           16:54:51

   16    and no more.                                                           16:54:53

   17                   All right.    So those are my                           16:54:54

   18    instructions on the law.          I will, after                        16:54:56

   19    closing arguments tomorrow, give you a few                             16:54:58

   20    additional instructions on the process that                            16:55:01

   21    you should use when you go back to the jury                            16:55:03

   22    room to deliberate.       Okay?     But that's it for                  16:55:05

   23    tonight.    I know that's a lot to process.                            16:55:07

   24                   I am just going to conclude                             16:55:10


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 429 of 503 PageID #: 18308

                                     TRIAL - VOLUME 5

                                                                          Page 428

    1    tonight with my customary caution, but with a                         16:55:14

    2    little bit sort of an extra emphasis.            We are               16:55:17

    3    finished with the evidence in the case.            We                 16:55:23

    4    are not finished with the case, okay?                                 16:55:25

    5                  You are going to hear closing                           16:55:28

    6    arguments tomorrow from the lawyers.          Those                   16:55:29

    7    closing arguments are going to contextualize                          16:55:31

    8    the evidence that you have heard in light of                          16:55:35

    9    the instructions that I have given you, but                           16:55:38

   10    also just in light of the way that the parties                        16:55:40

   11    want to present the case to you.         Okay?                        16:55:42

   12                  And so they may make you think                          16:55:44

   13    about the evidence in a way that's different                          16:55:46

   14    than the way that you are thinking about it                           16:55:48

   15    now, and in particular, some of what has                              16:55:51

   16    happened here is just the lawyers making sure                         16:55:54

   17    they get the evidence into the record that                            16:55:57

   18    they need in order to tell you what they think                        16:55:58

   19    it shows.                                                             16:56:00

   20                  So the reason I am telling you all                      16:56:02

   21    that is because even though the evidence is                           16:56:04

   22    done, it is not yet time for you to start                             16:56:06

   23    deliberating, it is not yet time for you to                           16:56:08

   24    start talking to each other about the evidence                        16:56:10


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Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 430 of 503 PageID #: 18309

                                     TRIAL - VOLUME 5

                                                                          Page 429

    1    or what you think it shows.        Okay?                              16:56:12

    2                  We are getting really close to                          16:56:14

    3    that point.    I think it will be by lunchtime                        16:56:17

    4    tomorrow that you will be able to go back and                         16:56:19

    5    start doing that, but for now, my same                                16:56:21

    6    cautions apply, which is do not start talking                         16:56:24

    7    about the evidence with each other, do not go                         16:56:26

    8    home and talk about the evidence with anyone                          16:56:29

    9    else; not just the evidence, the case as a                            16:56:32

   10    whole.   Don't talk about the case.         Even the                  16:56:34

   11    slightest comment can provoke a response and                          16:56:36

   12    that's something we don't want to do, right?                          16:56:41

   13    You want to just focus on the evidence                                16:56:42

   14    presented in the courtroom.                                           16:56:46

   15                  And last, again, I will tell you                        16:56:47

   16    again, Google is not your friend.          Do not go                  16:56:48

   17    looking things up about this case, whether on                         16:56:51

   18    Google or social media or anything else.                              16:56:53

   19    Stick to what you have heard in the courtroom                         16:56:55

   20    for now and save your curiosity for later.                            16:56:57

   21    Okay?                                                                 16:57:01

   22                  So with all of that, we will pick                       16:57:01

   23    up at 9 o'clock tomorrow with closing                                 16:57:04

   24    arguments, and hopefully you'll have the case                         16:57:07


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 431 of 503 PageID #: 18310

                                     TRIAL - VOLUME 5

                                                                          Page 430

    1    by lunchtime tomorrow.                                                16:57:09

    2                  Thanks, everybody, for your                             16:57:11

    3    attention.    I appreciate it.                                        16:57:13

    4                  (Whereupon, the jury was excused                        16:57:14

    5    from the courtroom.)                                                  16:57:16

    6                  THE COURT:    All right.      Anything                  16:57:32

    7    else we need to do tonight?                                           16:57:34

    8                  MR. SAULSBURY:      I don't believe,                    16:57:35

    9    Your Honor.                                                           16:57:36

   10                  MR. GRAY:    Nothing from us.                           16:57:37

   11                  THE COURT:    All right.                                16:57:38

   12                  So I know there were a couple of                        16:57:38

   13    typos as I read through that.        We'll clean                      16:57:40

   14    those up in the written charge and then we'll                         16:57:42

   15    get written copies for the jury, get correct                          16:57:45

   16    copies for all of you as well.         Okay?                          16:57:48

   17                  All right.    I'll see everyone at                      16:57:50

   18    8:30 tomorrow.                                                        16:57:52

   19                  MR. SAULSBURY:      Mr. Rovner is                       16:57:54

   20    actually reminding me, is there a copy of the                         16:57:56

   21    final verdict form?                                                   16:57:59

   22                  THE COURT:    Yeah, it hasn't                           16:58:00

   23    changed because nobody had any objections to                          16:58:01

   24    it.                                                                   16:58:03


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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 432 of 503 PageID #: 18311

                                      TRIAL - VOLUME 5

                                                                           Page 431

    1                  MR. SAULSBURY:       Thank you, Your                     16:58:03

    2    Honor.                                                                 16:58:03

    3                  THE COURT:     So I don't think it's                     16:58:05

    4    changed.    We'll give it one last look.                               16:58:06

    5                  MR. ROVNER:      That verdict form                       16:58:09

    6    will go to the jury tomorrow?                                          16:58:11

    7                  THE COURT:     That's going to go to                     16:58:12

    8    the jury, and I am going to look at it once                            16:58:13

    9    more tonight.     If I have any changes, I'll                          16:58:15

   10    give it to you in the morning and flag any                             16:58:17

   11    changes there might be, but I don't think                              16:58:20

   12    there will be any.      I just -- you know, I want                     16:58:21

   13    to double-check because I don't have a perfect                         16:58:23

   14    memory.                                                                16:58:27

   15                  MR. SAULSBURY:       Thank you, Your                     16:58:27

   16    Honor.                                                                 16:58:29

   17                  THE COURT:     All right.      Everybody                 16:58:29

   18    have a good night.      See you tomorrow.                              16:58:30

   19                  (Whereupon, the Court adjourned                          16:58:32

   20    proceedings at 5 o'clock p.m.)                                         16:58:36

   21

   22

   23

   24


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                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 433 of 503 PageID #: 18312

                                     TRIAL - VOLUME 5

                                                                        Page 432

   1                              C E R T I F I C A T E
   2
   3                 I do hereby certify that I am a
         Notary Public in good standing, that the
   4     aforesaid testimony was taken before me,
         pursuant to notice, at the time and place
   5     indicated; that said witnesses were duly sworn
         to tell the truth, the whole truth, and
   6     nothing but the truth; that the testimony of
         said witnesses was correctly recorded in
   7     machine shorthand by me and thereafter
         transcribed under my supervision with
   8     computer-aided transcription; that the
         transcript is a true and correct record of the
   9     testimony given by the witnesses; and that I
         am neither of counsel nor kin to any party in
  10     said action, nor interested in the outcome
         thereof.
  11
                     WITNESS by hand and official seal
  12     this 12th day of April, 2022.
  13                                   <%8008,Signature%>
                                        Notary Public
  14
  15
  16
  17
  18     Job No. 5162171
  19
  20
  21
  22
  23
  24

                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 434 of 503 PageID #: 18313


     [& - 2002]                                                                     Page 1

               &            100 30:13 178:6       13 8:14 10:13 12:1    183 5:16
      & 2:9 3:3 269:3       102 5:21 296:3,5        173:1 241:19        184 5:5 42:4,5,7,16
                              296:15                245:1 312:18        19 5:9 14:16 68:17
               0
                            103 5:15 182:5,7        425:14                68:18,22 69:6
      0.2 184:11              182:14 183:14,15    1313 3:4                126:22 166:9
      02 178:15               184:15 186:24       139 5:18 199:1,2        171:19 214:5
      0319 256:24             194:19                199:11,17             218:19 236:19,23
        257:12              1052 125:15,20,23     14 8:14,15 9:13,18      237:3,5,15,17,24
      05 165:13             108 103:21,24           10:3,16 11:1 12:2     238:22 239:19
      08 177:12             10:55 137:14            175:12 213:10         240:3 241:18
               1            11 120:19 137:6,12      218:19 241:11       19103 1:24
      1 39:16 48:18           176:13 179:14         244:1,2 255:17      196 5:17
        51:23 106:2           213:5,9,10 241:5      355:1,18 425:20     197 5:17
        140:17 148:19         244:1,5,12 253:23   143 5:19 201:16,19    19801 1:18 2:6
        162:5 174:8 191:8     255:9 307:9,11,15     201:20 202:4        1981 300:24
        223:17 240:23,24      307:16 425:6        14th 399:15           19899 3:5
        290:9 311:4,6       1105 2:5                400:14 403:16       199 5:18,18
        312:6 317:1,4,17    1149 106:18,20          410:10              1998 299:7
        317:18,19 318:20      107:3               15 8:14 10:16 12:2    1:08 226:12
        319:1,7,7 320:12    116 5:17 196:12,14      124:24 211:9        1b 288:17,18,19
        320:16,17,18          196:19 197:18         214:23 219:1        1st 17:9
        328:9,13 329:3,15   1183 112:18             227:23 244:12                2
        330:4,21 331:1      1187 115:12             425:22
                                                                        2 44:21 188:21
        341:2 342:11        1188 118:19           150 45:4,6
                                                                          192:21 197:15,23
        361:22 364:22       12 1:15 35:2          1516 213:5,8
                                                                          210:10 215:19
        368:21 369:1,6        122:13 179:2,15     152 5:12
                                                                          216:7,12 240:23
        375:13 378:23         179:15,16 203:15    153 5:13
                                                                          240:24 253:2,10
        383:1 395:10          212:8 214:3 241:9   156 162:4
                                                                          313:2 375:17
        398:3 402:6           244:1,10,10 255:5   15:16:26 214:5
                                                                          379:1 383:4
        410:15 412:13         258:9 307:12        16 307:18 312:18
                                                                          395:13 398:8
        417:5 422:22          312:17 313:2          313:2
                                                                          402:8 410:17
        423:10                425:9               1650 2:13
                                                                          412:17 417:7
      1.0 279:22            1203 119:13           17 125:12,15 212:9
                                                                          422:22 423:14
      1.1 147:21 279:22     124 101:19              214:3 313:2
                                                                        2.23 18:12
      1.2 279:20 281:13     1242 110:20           17-1194 1:4
                                                                        20 5:20 14:19
      1.2. 279:13 280:23    125 104:10,16         18 126:6,8
                                                                          127:22 270:3
      10 221:23 307:4,21    1293 51:23 290:8      180 69:11
                                                                          280:6,7,14,19
        308:1 313:2           290:15              1800 1:24
                                                                          324:19
        369:23 370:6,23     12:37 226:10          1801 1:24
                                                                        200,000 96:6
        372:2 425:3         12th 2:5 432:12       182 5:15,15,16
                                                                        2002 59:9 285:5

                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 435 of 503 PageID #: 18314


     [2003 - 25]                                                                    Page 2

      2003 51:4 118:24       2017 17:9 96:22,24    284:11 285:24         323:6,14,23 324:6
      2004 52:5,6,13           185:13 302:20       286:4,12 288:19       324:7 327:23
        61:15                  415:5,9 416:9       288:21 292:6,8,19     331:19 332:2,4
      2005 61:15 165:12        420:24              292:22 293:3          334:11 346:3
        165:19 265:20,23     2018 302:23           313:3 314:6,12        364:19 365:12
        266:3,6 279:10         303:18              316:22 317:2,16       366:1 368:1
        281:23 346:17        2019 156:17           317:17,19,24          374:24,24 375:3,4
      2006 38:7,10 52:12       158:14 159:15       322:24 326:14         375:6,16,19,24
        52:14 55:9 56:11       161:9,23 165:5      328:9,16 329:3,18     376:20 378:5
        57:13 59:5 61:5        303:20              330:9,16,21 331:1     390:11,18 391:11
        61:14 63:6,20        202 5:19              331:3 333:18          391:17 392:2,13
        66:10,16 67:4,11     2021 17:9             364:13,18 365:11      392:20,22 394:7
        68:3 70:3,13,20      2022 1:15 432:12      366:13 368:6,10       394:20 395:2,11
        93:14,23 178:7       2036 32:5 33:14,19    368:22,24 369:5       395:16,18 396:16
        179:10,24 180:23       59:12 60:1          389:4 390:11          396:20,21 398:1
        256:8 272:1          209 5:10 6:4 74:5     391:3,4,6 392:1       398:12,16 399:23
        299:14 349:22          74:7 354:17,18      394:6,10 397:24       400:11,15 403:15
        357:6,21 358:6         355:10,17         23a 287:4               408:8 410:9,12
        399:5,15 400:15      21 332:10           24 83:12 86:8,14        411:4 413:14
        403:17 410:11        211 244:11,13,19      130:6 160:16,21       415:10,13,23
      2008 173:9 175:8       217 3:11 5:7 58:10    160:24 273:9,10       417:17 423:11,16
        175:22,22 176:10       58:13,22            273:12,15 292:19      424:17,22
        177:22 178:1,3,7,9   22 17:5 120:5         292:21,23 308:13    25 10:18 37:5,11
        178:12,17 179:9        127:15 162:5        313:3 316:22          38:20 41:22 83:12
        179:12,20 180:13       214:5 313:3         336:17 342:10         83:16,20 85:16
        180:17 367:22        23 10:18 37:4,11      390:18 391:2,5        89:15 107:14,18
      2009 132:18              38:19 39:20 41:22   394:8,13              119:22 120:5,13
      201 5:16,19 182:23       44:18,24 82:16    243 11:3,6 14:19        120:16 121:15
        182:24 184:4,15        83:20 86:14 89:15   39:2 51:18 89:5       125:7 127:3,15
        185:17,21 187:2        107:13,18 119:22    90:19 92:12 94:3      128:16 132:12,18
        190:19 191:8,14        120:13,16 121:15    95:14,23 97:2         133:6 135:6 140:2
        191:20 193:1,4,7,8     125:7 127:2,15      100:2 101:4,5,7       140:13 142:16
        193:11,23 195:4        128:15 130:5        102:4 104:20          154:14 155:21
        195:11,12              132:11,17 140:2     107:10,14 110:4       156:7 166:4,6
      2012 27:11               140:12 142:16       111:10,12 112:5       223:1 271:10
      2013 185:5 197:7         154:14 155:21       114:20 115:7,24       273:9,17 292:20
      2014 203:19              156:7 162:5 223:1   117:2 126:16          293:2,4 313:3
        374:17 414:22          271:10,17 272:5     135:12 136:21         314:7 316:22
        421:22                 272:11,12,17,19     169:1,11 271:8,9      323:1 389:4
      2015 415:20              273:13,14,18        275:15,17 276:9       390:18 391:2,6
                               276:24 277:22       290:12 309:21,24      392:1 394:8,14

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 436 of 503 PageID #: 18315


     [25 - 6th]                                                                    Page 3

        398:1               3311 326:16                    4                    5
      251 5:14              3312 327:21           4 35:3 52:19,19      5 1:13 24:20 174:3
      2524 149:21,22        34 4:6 308:13           106:2 125:15         174:4 190:19
        150:2,13            3438 311:14             183:15 184:5         252:15 313:20,21
      25th 52:6             354 6:4                 193:8 194:11,19      313:22 314:21
      26 136:9              355 6:4                 199:17,19 204:8      316:21 383:11
      267 4:10              357 105:10              209:20 213:3         412:22 424:5
      27 288:15,16          362-6666 3:12           240:24 258:17        431:20
      280 5:20,20           364 4:13                307:10,12,16       50 19:11,20 20:7
      281 353:4             367 5:6 53:5 88:14      313:12 341:2         20:15 21:5,22
      29 197:7                170:5 230:19          376:2 383:8          22:3,14 75:5
      295 4:12                246:23                395:21 398:16        370:14
      296 5:21,21           368 5:11 88:5,6,14      402:14 410:22      512 2:14
      297 5:22                156:12 157:2,8,13     412:21 417:15      5162171 432:18
      298-0700 2:6            161:8,22 162:10       423:22             525 95:19
      2d 27:10                176:18 180:21       40 158:5 159:14      53 5:6
               3            370 106:18 116:20     400 96:2,3           570 27:10
                              118:19 311:13       401 2:13 138:24      58 5:7,7
      3 10:9 44:13 51:23
                              326:15                139:2,3,16,18
        106:2,13 111:9,12                                                       6
                            372 6:5                 154:11
        112:5 167:16                                                   6 136:3 177:11
                            373 4:15              402-3550 2:14
        186:6 202:22                                                     179:8 206:6,7
                            378 5:8 60:10,11      41 261:12 262:4,5
        240:23,24 290:7                                                  259:10 313:2,14
                              60:14                 262:19
        303:15 313:2,23                                                  313:21 314:16
                            379 5:14 173:17,18    41.1. 263:1
        314:21 316:21                                                    316:21 341:2
                              173:21 174:1        415 3:12
        327:7,12,17                                                      342:16 383:14
                              250:18 251:3,6      42 5:5,5 265:19
        375:22 379:3                                                     412:23 424:11
                              297:12                325:11
        383:6 395:17                                                   6,141,719 152:17
                            380 5:22 297:13,16    43 324:13,16
        398:12 402:11                                                  6,549,966 398:3
                              297:19 298:3        43.1 263:10
        410:20 412:19                                                  6/27 241:6
                            381 5:12,23 152:22    43.1. 263:8
        417:9 423:17                                                   60 5:8 270:3
                              153:3 302:2,4,8     45 190:10 266:1
      30 22:20 223:14                                                    295:11
                              303:9 372:8,10,12   4508 243:20
        338:16                                                         605 27:11
                            381a 6:5 372:13,14    45th 175:21 176:9
      302 2:6 3:6 5:23                                                 62 162:8
                            382 6:3 321:8,9       494 215:8 216:22
        6:5                                                            625 295:23
                            388 5:13 153:15,19      218:19
      303 5:23                                                         66 353:2
                            389 287:24 288:4,5    4x4 9:19 10:7 52:3
      30th 17:9                                                        68 5:9
                            3:40 370:9              52:17 72:19,22
      31 166:5                                                         69 5:9
                            3:45 372:4              151:24 398:5,9
      32 104:13 166:3                                                  6b 1:18
      321 6:3                                                          6th 3:4
      327 13:12

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 437 of 503 PageID #: 18316


     [7 - acronyms]                                                                   Page 4

               7                      9            abiding 378:10           47:23 48:14 50:7
      7 188:17 190:20        9 424:23 429:23         396:14                 74:2 80:1,22
        191:6,15 192:20      90 138:24 139:2,3     ability 80:13 383:1      306:23 330:6,10
        192:21 205:8         907 27:10               417:10 420:14,20       338:21 339:13
        210:7,13,15 212:7    94 4:7                able 13:17 14:20         343:5 347:13,19
        218:11,13,24         94111 3:11              43:16 49:9 55:14       359:15 360:20
        271:5 313:2          951 3:5                 62:15 248:9          accessed 102:7
        383:18 413:1         95180 202:20            313:19 324:3,8,17      289:9
        424:17               98 8:16,19 29:16        330:5,10 334:1       accesses 343:7
      7,523,243 374:22         29:24 30:6 38:18      342:5 346:9            359:2
      703 27:23 75:9           38:24 41:4,18         347:12,19 350:24     accessing 36:16,19
      71 115:17,17,18,19       49:5,18 50:9          356:23 361:14          36:23,24 100:7
      73 118:20,20             87:20 88:9 93:18      363:15 367:17          362:9
      74 5:10,10               94:1 120:1 138:10     371:16 429:4         accidentally 247:9
      75 12:18                 138:17,22 139:10    absence 119:24         accomplish 43:5
      76 13:1                  139:24 154:5,10       412:19 417:7           51:7 81:21 351:18
      78701 2:14               154:15 156:4,16     absent 27:15           accomplished
                               157:14,21 158:1,2     418:19                 325:7
               8
                               159:24 160:8        absolute 402:1         accomplishes 45:7
      8 204:8 206:7                                absolutely 28:2          46:21 48:12 49:4
                               161:23 162:10
        242:16,18 244:17                             69:3 72:2 78:15      account 158:2
                               164:2 167:17,20
        313:2 328:9 413:3                            99:13 116:4 178:3      256:2 405:23
                               168:11,14,15
        424:19                                       231:23                 408:5
                               176:14,19 180:5
      8/49 173:8 245:4                             abstract 361:23,24     accurate 56:6 98:6
                               265:19,22 274:2,6
        246:19 247:15                              accept 101:4             98:9,20 99:1,5
                               277:17 278:7,17
        249:12                                       230:13 242:4           320:15
                               281:6,8,9 283:2
      8008 432:13                                    299:11 302:16        accurately 228:3
                               285:18 286:6,10
      844 1:17                                       304:14 343:17          239:14
                               287:7 291:12,22
      88 5:6,11,11                                   384:18 388:23        accusation 225:3
                               292:7 350:12
      89 102:18,22 103:6                             426:18               accused 309:2
                               352:3 359:22
        103:6,21,23                                acceptable 417:7         347:18,23 348:3
                               360:5,11 368:16
        120:11 121:10                                418:16 419:6,15        362:14 374:19
                               397:4 398:5,6
        126:9 132:24                                 419:16,17,21,23        391:17,23 392:4,6
                               401:21
        135:9                                        420:5,8 421:12         394:11 396:17
                             984-6114 3:6
      89th 111:2                                     426:9                  397:21 409:24
                             99 105:12
      8:30 371:21                                  accepted 18:6            412:7 427:2,11,15
        430:18                        a
                                                     407:15               achieved 406:19
      8:50 1:16 7:2          a.m. 1:16 7:2         access 35:8,15,16      acronym 97:4
                               137:14                35:18,20,21 36:4,7   acronyms 194:23
                             abandoned 145:10        36:11 43:3,3,12,14     195:18
                                                     43:17 46:17 47:5

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 438 of 503 PageID #: 18317


     [act - alleges]                                                                   Page 5

      act 43:20,22            addition 309:21         386:5                 184:14 187:11
      acted 395:7 396:7         378:4 391:24        adopt 220:10,10         188:12 195:9
        422:3,9                 401:9 419:18        advance 46:3 94:3       198:14 200:17
      acting 426:18           additional 84:1         246:11 374:8          203:4 210:4 215:1
      action 116:11             209:16 377:14       advantage 51:3          215:11 221:8
        376:11 432:10           392:7 394:12,17     advantages 407:1        223:2,5 240:4
      actions 37:23             394:21 416:5          419:7 424:23          244:23 248:16
      actively 399:14           420:20 421:1        advertising 406:12      264:20 294:6
      activities 406:13         427:20                427:4                 325:21 334:24
      acts 388:8              additionally          advise 128:8            335:16 336:13
      actual 9:9 12:3           133:14 405:1        advocate 373:24         337:13 339:5
        31:7,8,22 38:1        address 82:21           374:1                 348:11 349:9
        40:23 55:19             85:18 86:3,20       affect 98:10,21         351:5 354:7,8
        210:11 229:13,16        105:2 313:2 321:3     396:1                 358:22 359:17
        229:24 241:17           346:13 359:24       affirm 132:16           421:21
        284:14 298:20           377:14 394:21       affirmance 130:7      agreed 61:16
        299:1 414:16            413:12              affirmative 344:19      130:1 132:7 161:4
        419:9                 addressed 313:15      affirmed 131:5          316:3,12 379:4
      adams 2:12 4:10           317:15 405:6          136:24 267:3          414:21 425:24
        4:13 266:12,14,18     addressing 404:10     aforesaid 432:4       agreeing 245:11
        267:8 270:17,23       adds 86:14 96:6       afternoon 21:14       agreement 317:9
        271:4,6 272:6,10      adequate 15:10          24:6,8 267:12         422:2,11 426:3
        275:12 276:9,13         398:13 409:1          295:4,5             ah 323:18
        276:17,21 280:1,4       410:3,5 413:18      ago 110:7 115:14      ahead 77:16 79:15
        280:10,13,18,21       adjourned 431:19        116:5 154:3 179:5     79:16 94:13 96:17
        283:20,22 290:6       adjusted 9:6            185:13 308:8          102:2 109:17
        290:10,14,16          admission 265:15        340:23                115:3 131:15
        291:8,10 293:22         265:19 266:1        agree 11:15 13:23       168:8 180:2
        294:1,19 296:10       admit 182:19            16:4 99:22 100:2      237:19 250:19
        298:4 303:10            183:9 197:18          100:13 101:7          262:23 293:1
        306:13 314:1,4,23       199:10 202:3          106:12 109:6          315:1 331:24
        315:2 317:14            251:2 265:19          111:11 112:4        aid 387:6
        319:5 320:14            266:2 294:8           113:14,21,24        aided 432:8
        331:22 344:10         admits 265:21           114:19 115:6        al 142:13
        355:12 364:1,5,9        266:4                 127:2 128:13        alike 264:8
        364:17 366:22,23      admitted 5:4 25:9       131:9 133:4,16      alleged 416:16
        369:15                  182:21 188:18         134:1 147:5,15        419:11 421:19
      add 205:23 206:23         203:17 236:20         149:7 154:22        allegedly 416:20
        303:23 304:22           280:17 286:8          155:6,12 157:12       416:21 420:15
      added 343:3               355:15 372:8,12       157:19 160:19       alleges 392:21
        409:14 425:19           372:15 385:21,22      169:9 171:2           397:24

                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 439 of 503 PageID #: 18318


     [alleging - april]                                                                Page 6

      alleging 277:12          425:22 426:3,8,23   answers 15:16            136:2,3 141:20
      allocated 75:3         analog 147:21         anticipatory 32:22       146:16 147:3
      allow 43:12 45:17      analogous 425:13      anybody 21:4             153:21 174:18
        46:19 49:9,24        analysis 13:1,2,19    anymore 288:24           251:14 323:4
        50:10 51:8 91:14       31:13,16 45:23        289:1                  344:9 407:2,3
        100:3 326:8            87:20 93:17         anyway 124:8             410:12
        334:12 335:24          138:17,22 139:9     apologies 196:15       applications 145:5
        348:14 349:24          139:10,15 154:5       197:14,22 213:7        145:7,7 151:20
        350:14 425:12          271:13,15 272:3     apologize 25:23        applied 77:3 94:1
      allowance 151:13         277:5 318:2,17        274:17 297:15          138:16,22 139:10
      allowed 41:16            322:16,19 323:9       307:11 374:7           139:14 144:5,6
        51:13 128:20           326:6 330:24        app.sup. 27:10           154:4 422:23
        132:21 261:17          353:5 362:18        apparently 278:4       applies 273:16
        397:7                  403:17                310:16 312:8           378:17
      allowing 83:4          analyze 403:12        appeal 129:24          apply 24:14 78:3
        361:5                analyzed 51:11          130:9 312:22           263:18 283:15
      allows 73:7 81:3         53:1,6 59:3 88:10     396:22 397:1           388:21 389:22
        350:16 357:10          250:13 256:3,7      appealed 128:4,5         429:6
      altered 172:20           314:12 319:7          128:12 129:4         appointed 131:21
        230:2                analyzing 288:17        311:8,9,9,12 312:1   apportioned
      alternate 174:10         288:18 405:7        appeals 130:15,18        427:13
        332:23 339:13        anderson 3:3            140:10 311:18,19     apportionment
        362:9 389:13           263:21              appear 10:16             427:11
      alternated 100:7       andrew 2:4              175:9 365:7          appreciate 430:3
      alternating 361:2      angle 242:19            385:17               approach 19:22
        361:4,9              animations 386:2      appearing 189:6          23:16 94:7 152:18
      alternative 289:2      annotated 87:5        appears 12:18,19         217:10 280:1
        419:14                 327:3                 12:22 23:10          approaches 404:9
      amazon 156:17          annotations             125:19 182:16        appropriate 28:17
        158:14 159:15          327:22                196:8 202:1            124:5 332:23
        161:8,22 163:3       answer 41:19            203:21 217:15          384:16 413:9
        165:5 175:16           63:14 65:5 114:24     239:7 242:12         approval 184:22
      america 130:19           115:10 167:7,18       303:3 361:3          approved 184:23
        132:16                 168:12 216:14       apple 27:4,10          approximate
      amount 24:12             255:24 265:21         203:22 208:6           27:14
        62:10 66:14 279:4      266:4 308:17          209:10 211:5         approximately
        376:7 377:23           312:23 319:13         258:11 269:10          413:22
        378:2 412:17           380:22              applicant 408:16       april 1:15 38:7,10
        413:15 414:2,7,20    answered 111:24       applicants 108:20        180:23 265:23
        416:12,23 417:15     answering 134:4       application 57:9         266:3,6 272:1
        420:22 421:1,3                               58:3,4 82:24 83:1      399:5,15 400:14

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 440 of 503 PageID #: 18319


     [april - asserted]                                                                Page 7

        403:16 410:10          393:14,19 394:22      121:10 126:17          400:19,23 401:1,3
        432:12                 395:4 398:22          267:24 319:4           401:6,8,11,13,15
      aptiv 1:8 95:19          414:18,22 415:4,8     370:5,6 373:14         401:17,20,22
        96:5,10 98:13,21       416:2,4 417:1         379:7 427:19           402:7,10,12,20,24
        99:2,8 117:9           418:13,20 420:6,9     428:6,7 429:24         403:3,4,6,14,16,21
        127:16 128:13          420:15 427:4        arm 186:13               403:24 404:4,5,20
        129:3 132:11         arbiter 46:18         arrive 404:14            404:23 405:1,9,10
        181:23 208:5           47:24 80:21 81:11   arriving 322:17          405:14 406:20
        212:21 217:22        arbitrate 36:6          408:1                  407:11 409:21
        267:24 272:14          223:3,6 349:11      arrow 173:4 239:6        410:7,23 412:22
        273:5,22 295:9         358:7                 243:14                 412:24 413:1
        306:5 311:9          arbitrating 338:21    art 14:12 27:16        article 9:20 274:9
        326:24 334:5           339:1,3,10 359:13     37:13,21,22 38:6       316:2
        347:18 362:14          360:20,23             49:17 50:18 76:9     articles 146:18
        374:15 375:2,5,7     arbitration 36:9        76:15 77:11 79:20      300:5,9,12
        375:14,18,22           43:16 45:16 46:14     81:15 90:13 114:4    arussell 2:7
        376:3,20 377:11        46:15 80:9,24         117:20 119:13        asic 182:18 186:11
        377:12,13 378:1,5      81:6,7 82:2,11        120:3 125:4          aside 285:20 354:4
        391:10,16 392:2        222:6,10,15 339:6     127:13,13 138:7      asked 54:13 62:3
        392:17,21 393:2        339:8,12,21 342:4     142:2 143:7,13         99:8 161:2 166:11
        394:6,7,10,19          343:3,4,11 347:7      146:1 148:20           166:14 181:5
        395:1,7,10,13,17       347:11 348:3          149:17 155:13,20       220:14 224:19
        395:19,21 396:12       349:8 350:20          155:23 162:24          253:17 306:1
        397:24 399:22,24       367:24 368:7          168:22,24 169:10       307:13 308:7
        400:3 401:21         arbitrator 80:17        169:18,24 175:15       363:7 364:21
        408:3,7,10 411:3,5   area 24:13 124:5        176:10 180:18,19       365:3 367:23
        413:14 414:20,24       269:11                271:16,20,21           368:20
        415:9,12,21 416:7    areas 297:4             272:22,23,24         asking 63:13 64:1
        416:16,21 417:16       298:14,17 301:23      278:22 282:18          75:6 91:17 108:8
        417:20 418:1,1,24      303:22                284:8 285:21,21        108:12 159:8
        419:19,24 420:2      argue 369:10            291:22 292:1,3         204:24 236:6
        421:8,10 423:14      argued 292:7            293:13 310:7,9       asks 345:13,16
        424:6,13 425:6,19      310:20                318:4,7 323:5          380:7 418:8,15
        425:24 426:16        arguing 232:17          324:15,22 332:2        420:11
      aptiv's 94:23,24         237:9                 339:7 344:7          aspect 284:23
        118:5 119:7,10       argument 8:22           345:16 357:5,21        363:19
        128:5 181:15           119:3 126:10          358:6 363:12         aspects 81:21
        191:21 208:2           326:22 370:24         389:24 390:2         assert 125:5
        263:21 282:16,17     arguments 21:12         396:18 397:14,18       139:23 154:13
        377:15,17 391:19       21:18 24:22           398:18 399:2,3,4,7   asserted 37:5
        391:23 392:3           120:11,12,13          399:21 400:6,12        107:20 108:17

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 441 of 503 PageID #: 18320


     [asserted - banner]                                                            Page 8

        127:7,10 136:6      attaches 73:6          65:12 66:9,18         111:9 116:23
        140:6 271:16          289:19               67:5,10 68:3,6        124:24 128:18
        315:13 375:15,24    attacked 107:13        70:3,9,13,19 93:14    132:18 137:6,11
        388:6 389:3           107:16               93:22 256:7 257:9     146:7 149:20
        391:11 392:5        attacking 98:14        257:24 271:22         152:15,16 162:17
        393:4,10,13,16,17   attempt 273:23         279:23 282:4          179:1 183:14
        393:23 394:20         333:5,12             419:19 421:12         184:4 190:19
        396:9,15 398:14     attempted 81:13        423:6                 193:15 194:10
        399:22 402:4,9,18     232:19 395:19      avenue 2:13             195:3,12 208:10
        403:14 408:7        attempts 396:18      avoid 337:21            208:10 209:19
        411:3 413:11        attention 129:10       395:18                210:21 212:10
        415:13                430:3              award 396:1             214:5,22 217:11
      asserting 119:18      attesting 111:6        413:16,17,20          223:17 225:18
        119:21 127:3        attorney 251:10        414:4,8,23 415:1      226:7 233:3 243:4
        128:14 142:15       attorneys 304:6,13     417:11 427:13         243:22 244:12
        376:23                389:3              awarded 18:6            246:24 248:3
      assertion 125:16      attractive 351:23      376:5                 249:18 250:6
        156:4               attributable 423:1   aware 90:14,23          272:9 274:18
      asserts 390:10          426:24 427:7         108:21 142:3          275:9 283:20,21
        401:21              attribute 221:14       309:14 310:5          284:13 287:24
      assess 362:13           385:16               341:8 399:3           291:8 301:12
      asset 387:14          audio 269:20         awhile 145:2            313:21,23 326:20
      assignment 170:16     august 303:19        aydeekay 185:22         327:2 338:8
      assist 386:20         austin 2:14            186:10,10 187:12      348:19 349:14
      assume 35:12          authenticate           187:17 188:1          364:8 367:22
        89:20 110:15          231:21               193:4,12 194:14       370:1 373:7
        117:21 126:4        authenticated          210:11                427:21 429:4
        178:22 223:22         228:21                       b            background 14:23
        229:9 231:21        author 147:9                                 15:1 229:20
                                                 b 5:2 6:1 35:19,21
        266:13 422:4,8        269:22 300:4                               325:12 402:16
                                                   36:20,23 73:5
      assumed 234:9         authoring 300:15                             404:4
                                                   194:5 199:24
      assuming 29:13        auto 50:15,17                               backgrounds
                                                   200:3,4 206:11
      assumption              72:20 398:5                                122:7
                                                   207:4 208:24
        236:18              automatically                               backing 113:19
                                                   214:3,8,12 259:6
      asterisk 143:21         50:6,10                                   bad 198:5 395:5
                                                   260:3 406:14
      ata 269:16            automotive 374:16                           bag 220:12
                                                 bachelor 268:7
      athens 17:14,19       availability 27:15                          bandwidth 148:10
                                                 back 17:4 24:21
        18:3,12,14            56:14 57:21                               bank 2:12
                                                   24:24 25:10,12,20
      atlantic 1:23         available 38:2                              banner 2:10 9:7,8
                                                   33:1,6 48:1,8 51:4
      attach 73:7 386:23      44:2 52:10 54:19                           9:17 10:4 12:6,12
                                                   60:21 62:21 72:18
                              55:9 57:13 65:11                           13:9 14:7,8 16:4
                                                   79:6 81:8 99:7
                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 442 of 503 PageID #: 18321


     [banner - bit]                                                                  Page 9

        16:12 160:16         becker's 17:18,20    391:16 395:14            291:12,22 317:8
        225:5,6 227:18         18:11              422:5                    318:8 350:12,23
        229:7 231:12         began 385:1        believes 285:4             352:3,4,5 355:24
        235:4,7 236:24         415:21 416:10    believing 278:7            357:6 358:9
        237:4 238:13           421:20 423:7     belkin 8:16,19,23          359:22 360:5,11
      bar 262:14               426:1,22           9:1,19 10:7,23           368:16 397:5
      barred 41:15           beginning 308:13     11:4,9 38:18,23          398:9,10 401:22
      base 10:5 127:7          363:7 373:6        41:4,11,23 49:1,3      bell 347:3
        401:19 422:22,23       386:21 416:9       49:5,18 50:8           benefit 400:15
        422:24               behalf 117:5 270:8   51:10,17,20 52:3,9     benefits 425:4
      based 17:18 19:1       behave 286:10        52:17,23,24 53:6       best 70:21 245:13
        23:14 24:2 39:20     belief 382:20        55:6,9 56:24           bet 94:15
        46:14 49:16 54:6       391:19             57:12 59:5 60:7        better 129:22
        54:18 59:7 61:20     believability        60:16 66:9,17            198:8 200:10
        62:1 78:23 91:21       383:19 385:12      67:5,9,13,16 68:2        211:23 212:1
        120:13 135:20        believable 383:24    68:24 70:12,19           283:19
        184:13 185:3         believe 18:22 23:3   71:1 72:19 75:22       beyond 50:4 64:18
        187:10 379:16          42:1 44:10 56:18   76:2,11,17,22            77:20,22 316:16
        383:22 414:10          77:1 100:9,15      77:11 78:4 79:23         366:19 378:16
        426:24 427:14          111:6 141:6,15     80:2,4,8,16 82:15      bias 264:23 383:10
      bases 20:9 21:9          144:24 146:24      83:1 84:11 85:6          384:21,22
      basic 147:13             149:11 152:3       87:2,11,24 93:13       big 118:13 121:8
      basically 24:11          164:23 166:11      94:1 105:6 109:2         320:18
        46:19 57:5 72:14       167:23 176:13,14   119:24 138:10,17       bigger 85:1 103:5
        87:23 126:17           176:18 180:20      138:23 139:11,24       bill 95:19
        129:19 132:23          181:20 186:1       150:20,22 151:2,6      binder 37:9 42:5
        345:13 356:13,19       193:9,20 195:7     151:7,24 154:5,16        58:10 68:17 74:5
      basis 15:9 41:3          202:13 205:9       168:18 170:2             182:6 190:24
        70:1 126:18 264:4      222:8,18 223:9     175:21 224:7,9,10        280:6
        316:20 317:24          227:24 238:17      230:7 250:8,12,15      binders 224:4,4,5
        396:13 411:1           239:14 244:16      251:23 252:1             260:19
      bates 202:19             258:14 259:10      256:6,14 257:18        bit 17:12 34:23
      bbanner 2:15             271:24 285:3       258:2 266:2 274:2        85:1 99:20 148:6
      bear 374:10              310:23 313:8       274:6,10,24 275:1        222:5 243:18
        383:18                 320:15 332:5       275:4,6,18,22,23         308:18 318:23
      beard 2:9                360:22 377:4       275:24 276:1,7           319:13 330:3
      bearing 392:17           380:1,17 382:17    277:17 278:9,17          331:7 340:20
      bears 399:24             382:17,20,22       281:4 283:4,15           342:7 343:12,14
        408:10 411:5           383:17 430:8       285:18 286:6,10          348:10 352:2
      becker 7:24 384:6      believed 116:16      286:15 287:8             428:2
        384:20                 167:22 382:1       289:23 290:5

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 443 of 503 PageID #: 18322


     [black - bring]                                                                  Page 10

      black 48:21             blue 45:3             books 300:4,9,11      boxed 191:16,16
        158:18,23 159:2,3     blurring 239:17       boston 182:18         boxes 23:11,13
        159:4,7,9 160:2,6     board 39:6 40:18       186:3,17 188:21        26:13,17,21,23
        161:3,9,11,15,18        48:18 69:14,16,20    192:21 215:3,19        27:1 28:6,7,7 29:1
        161:21 162:10           69:22 71:9 81:2      216:7,12 393:13        29:7,8 30:9,16
        163:16 164:3,6,13       107:17 108:22        393:15 415:22          259:7
        164:17,20,21,22         128:23 129:16        418:20               breadth 388:4
        165:4,10,14             136:15 175:17,20    bottom 52:17            413:3
        166:20 176:20           180:5 224:7          69:14 112:19         break 19:21 20:3
        180:22 191:7            230:23,23,24         143:24 144:17          20:16 25:21 88:11
        210:14 231:15,17        241:14 250:12,14     150:19,19 166:6        124:12,19,22
        252:5                   250:21 252:12        171:24 174:6,8         137:3,5 160:23
      blah 341:7,7,7            256:14 279:5         202:19 204:5           190:2,7 221:18,24
      block 45:4,6,13           281:17 293:19,22     230:18 256:23          223:13 227:17
        46:1 80:11 86:18        312:22 396:23        280:20 302:17,19       232:6 260:11
        87:13 106:14,15         397:1                342:18                 261:11 263:24
        111:11 112:4,20       boards 279:13,16      bought 156:16           363:24 364:2
        113:4,7 197:3,24        279:21               158:13 159:15          369:23
        210:11 277:7          bodies 10:21           161:8,22             brian 2:10
        286:17,23 287:1,3     body 363:18           bound 316:4           bridge 189:15,15
        287:5,7,12 291:13     boggs 1:17            bounds 319:2            192:9,14 193:22
        291:18 325:1          bohm 49:17,20          387:24                 194:24 195:18,19
        326:1 328:1,3           109:1 110:16        box 3:5 23:15           198:2 200:20
        331:6 334:1 343:2       113:5 114:12         28:20 30:4,5 31:2      201:1,7,12 202:23
        343:4 365:16            143:14 152:1,2       31:3,9,11 68:5         203:3 205:14
        366:5 389:16            155:8,12,17,20       121:8 145:16           206:1,24 207:24
      blocks 47:16              324:14,21 325:17     158:5,13,18,23         208:16,18 215:3
        106:16 192:10,15        335:12,22 336:12     159:2,3,4,7,9          215:19 216:4,11
        218:10,23 329:8         336:19 337:13        160:2,6 161:3,9,11     218:9,22 258:20
        401:5                   338:24 341:6         161:15,18,21           259:2,16,21
      blow 69:15 71:8           342:19 343:20        162:9,10 163:16      bridges 166:6
        197:2 200:13            346:16 347:1         164:3,6,13,17,20     bridging 162:5
        208:9 242:13            410:8                164:21,22 165:4      brief 42:22 63:1
        255:8 341:3           bohm's 119:18          165:11,14 166:17       83:13 134:6
        342:18                  140:2 144:9          166:20 167:6           182:11 213:6
      blowing 74:24             154:14 155:1         176:20 180:22          217:18 235:9
        191:1                   156:7 323:4          184:22 194:22          242:8 263:6
      blown 239:2               337:12 346:21        205:21 242:14          293:24
        253:10                bonding 252:11         243:4 252:5          briefly 271:20
      blowups 241:2,18        book 198:24            273:11               bring 7:14 22:19
                                269:22                                      26:2 73:1 162:4

                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 444 of 503 PageID #: 18323


     [bring - case]                                                                  Page 11

        224:7,11 290:7         407:19 408:3,10       72:19 73:4 74:13    carefully 30:21
        372:7,21               411:5 414:1           179:8 210:10          48:5 169:16 252:3
      bringing 25:24           417:20 421:7,14       215:2 229:22          354:15
      britain 145:24         burdens 376:15          231:12 240:1        carplay 17:17
      broad 89:21 108:9      bus 84:6 268:17,21      241:24 243:12         35:13 208:20
        114:3 342:8            268:24 269:5,9,16     252:5 275:18          259:18
      broader 85:7             269:23 270:1,4,18     288:23 349:4        carries 396:5
      brought 386:13           297:2 334:17          376:16,17 381:11    carry 260:22,24
      bruce 2:10               349:6 352:24          385:5 386:4 390:5   carrying 207:12
      bslayden 2:15          buses 269:5             398:19 405:24         382:5
      bucket 147:4             367:12,18             407:22 427:10       cars 338:1,21
      buffer 73:23 74:3      business 414:17       calling 23:5 32:9     case 20:23 22:7,8
        79:22 81:9 82:7        424:9 425:11,17       129:10 231:11         23:14 25:2 27:2,2
        85:17,23,24            426:4,19            callout 11:1            27:3,4,11 35:14
        257:20 354:6         businesses 425:12       230:16,20 238:1,2     56:9 84:16,19,24
        355:4,4,5,5,21       busy 81:10,12           238:3 245:5           85:3 90:23 99:2
        356:5 357:2,9          188:23 191:1          246:11                99:15 110:17
        358:1 359:10,10      buy 56:2 148:3        callouts 244:1          113:12 117:12
      buffers 47:19 72:5       419:12              calls 266:19            139:23 142:17
        74:1 76:4,21,24      buyers 419:9          camera 234:21           154:13 160:14
        79:23 80:16 82:3     buying 163:2            235:12                167:16 181:16
        82:4,23 84:23                  c           canada 143:23           204:24 218:4
        85:5 104:24 200:9                          cancel 117:2 125:6      222:22 270:15
                             c 2:1 3:1,9,10
        206:18 212:11,17                           candor 110:8            271:2,24 278:16
                               210:10 406:16
        212:19 352:13,16                             141:22,24             289:2 296:7,24
                               432:1,1
        352:23 354:9                               capabilities 349:8      299:13,15 301:8
                             c.a. 1:4
        358:11                                     capability 341:8        301:22 303:4,19
                             cable 73:6
      build 186:17                                   389:18                305:6,19 306:1,5
                             cal 268:9
      building 1:17 2:4                            capable 101:8           308:11,19 315:6
                             calculate 420:22
        401:5                                        102:8 104:22          315:16 316:21
                             calculating 420:23
      bullet 258:19                                  362:2 417:13          319:19,22 346:2
                             calculation 17:18
        259:13                                     capacity 18:23          360:18 363:10
                               18:2,12
      bumps 252:10                                 caption 58:17           367:21 370:19
                             caleb 1:17
      bunch 106:16                                 captured 418:23         371:8,10,13
                             california 3:11
        252:4                                        419:4,5               373:19 374:13,14
                               267:21
      burden 282:10,13                             captures 220:14         374:19,21,23
                             call 12:7 130:23
        282:15,16,17                               car 268:12 339:22       376:14 378:18,20
                               176:19 313:15
        376:6,13,24                                care 21:24 203:9        379:9,15 383:9
                               334:16
        377:16,20 378:7                              261:6                 384:17,24 386:10
                             called 8:1 10:2
        378:13,17 396:11                           careful 319:12          386:21 387:15,17
                               38:16,18,18 39:7
        396:16 399:24                                                      390:4,9 392:12
                               43:9,10,15 47:11
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 445 of 503 PageID #: 18324


     [case - claim]                                                                   Page 12

        396:1 399:5          chair 79:15             171:16 172:1           279:5,13 281:17
        406:22 413:7,10      challenge 136:4         173:5 175:7            301:6 308:9,15
        415:3 421:21         challenged 120:6        177:10 186:3,17        311:20
        426:13 428:3,4,11      135:12,18             188:3,21 192:22      circuitry 73:15
        429:9,10,17,24       challenges 335:23       215:3,19 216:7,12      229:20
      cases 36:15 270:3        336:3,4,9 347:1,2     230:17,21,24         circuits 73:17 76:3
        295:11,18,20,21      challenging 97:1        231:10 238:9           76:3 360:6,12,14
        301:15 304:12          97:13,18 115:24       241:6 244:14         circumstantial
        305:22 378:18          378:6                 245:4,12,17            381:18,18,22
      cat 220:12             chance 65:20            246:16,19 247:14       382:6,12
      causal 416:1           change 17:21            247:18 249:11,14     cite 27:10 142:9
      caused 33:13             194:1 208:3 256:5     249:15 250:11          264:3
      causes 291:6             256:9 259:3,21        251:15,16,18,21      cited 51:19 118:16
      caution 386:22           279:16 283:13         251:21 252:1,2,9,9     118:23 119:17
        428:1                changed 78:12           252:11 253:17          140:24 144:2,4
      cautions 429:6           177:20 178:7,10       254:3 256:12,16        155:17 262:21
      cd 31:15,17,19,23        281:18 283:18         256:19 257:2,24      civil 378:18
        32:7,12,16 33:2,22     319:19 409:14         282:3 285:1 353:7    claim 37:4,11
        34:1 57:8 58:1,7       430:23 431:4          353:21,23 354:13       39:16,20 44:18,24
        58:19                changes 55:24           354:14 355:24          44:24 45:11 46:8
      cell 252:6               93:9 165:10,19        357:9 358:23           46:23 47:2 48:17
      center 189:10            431:9,11              391:17,23 392:4,6      49:4 82:16 83:8
      certain 26:14          changing 283:15         393:14,15,19           83:16,20,20 85:16
        146:17 168:10        chapter 269:23          415:22 416:10,14       86:8,13,14 101:15
        224:14 279:3         character 252:21        418:20                 113:17 114:21
        283:18 284:21        characterize          chips 19:4 71:12         126:16 223:7
        366:7 380:2 381:3      129:21                71:21,22,24 72:1,4     226:22 232:15
        386:11               charge 1:12 4:15        72:8 73:24 84:12       271:17 272:3,5,11
      certainly 15:16          20:22 25:13 95:16     171:15 172:5,15        272:12,17,19,21
        76:13 94:11 95:7       276:20 295:23         173:3 175:18           273:1,3,9,10,11,13
        95:8 118:13,16         364:8 370:12          224:7 247:6            273:14,14,17,18
        161:15 187:19          373:9 430:14          252:10 257:8,17        276:24 277:22
        201:9 211:18         charging 20:21          279:5,15 284:18        284:11 285:24
        231:19 239:24        charts 379:1,10         352:6,13 357:7         286:4,12,19 287:4
        357:8,14 373:4         386:1,11,14           358:9 360:15           288:19,21 292:6,8
      certainty 421:5        check 104:10            418:24 420:17,21       292:19,22,23
      certificate 328:21       124:13 431:13       circuit 69:22 71:9       293:2,3,4 311:4,6
      certification          chip 17:14,16 18:7      73:10 79:22 84:2       312:6 313:14,16
        335:17                 18:13,14,15,24        84:4,15,22 130:16      313:21,21,22,23
      certify 432:3            71:18,19 73:20        140:11 175:20          314:12,15,21,21
                               74:2,14 150:2,5       180:4 250:12,14        315:10,20 316:10

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 446 of 503 PageID #: 18325


     [claim - combination]                                                        Page 13

        316:11 317:1,2,4,7  399:7,8 400:5,8,21     396:9 397:7,9       clock 321:13
        317:13,15,15,16     401:3,12 402:22        398:10,15 399:23    close 19:12 22:9
        317:17,18,19        403:7 404:2,15,16      402:4 403:14          55:18 105:14
        318:3,5,7,20 319:1  405:4,8,11 406:10      406:2 408:8           221:17 371:11
        319:7,7 320:12,16   407:24 408:14,17       409:13,14 411:4       429:2
        320:17,18 326:14    409:8,12 410:3         413:3,11 415:22     closed 21:4 25:18
        328:9,9,13,13,16    411:12,14 412:4      clarification 21:21   closest 406:20
        328:16,23 329:3,3   412:12                 179:7 319:5         closing 24:22
        329:15,18 330:4,9 claims 10:18 37:17     clarified 237:23        319:4 370:4
        330:16,20,21        38:19 40:15 41:10    clarify 19:8 64:7       373:14 427:19
        331:1,1,3 333:18    41:22 44:23 83:12      65:20 237:11          428:5,7 429:23
        344:8 345:15        89:15,20 107:13      clarifying 172:10     closings 370:20
        364:13,18,23        107:19 111:20          371:3                 371:6,15,22
        365:7,11,20 366:4   113:15 115:8         class 295:17          cm 1:21
        366:13,19 368:6     119:19,22 120:5      classes 92:19         coaching 265:2,4
        368:10,21,22,24     121:15 125:7         clean 372:10          code 171:16 173:5
        368:24 369:1,5,6    127:2,5 128:15         430:13                173:8,11,14
        376:3 388:7,9,10    132:11,17 136:3,6    clear 9:11,15           174:15,24 177:1
        388:13,15,16,20     136:15,16 140:2        10:20 11:1 20:5       180:4,8,10,12,14
        388:22,22 389:4,5   140:12 142:16          32:7 43:19 70:11      212:23 213:15
        389:8,15,20 390:5   144:6,9 154:13         82:1 97:11,16         214:13 249:12
        390:6,7,7,9,10,11   155:21 156:7           113:23 148:18         253:6,14 254:4,8
        390:15,17,20,21     222:22 223:1           241:16 311:12         254:11 255:2
        390:24 391:1,2,2,3  271:8,10,14            355:4,21 369:24       256:22 282:7,24
        391:4,5,6,6,7       310:22 311:3           372:18 375:23       codes 247:7
        392:5,6 393:4,5,11  312:5 313:2,8,14       376:17 378:8,9,12   coding 178:14
        393:13,16,17,18     314:6,12,13            396:12 400:1,4      coincidentally
        393:20,21,23        315:13,15 316:21       408:4,12 411:6        36:13
        394:2,4,5,6,8,8,10  316:22 320:17        cleared 356:23        collateral 316:1,5
        394:13,13,15,20     321:24 322:2,4,13      358:1                 316:7,9 317:10
        396:11,13,13,15     322:14,22 323:14     clearly 27:3 75:6     collect 141:17
        397:24 398:7        324:6 328:14           123:20 250:9        college 267:20
        400:2,9 401:13      330:23 345:20,22       259:5 261:10        collision 350:1
        402:9,18 405:17     363:18 364:22,22       264:21 285:15       collisions 337:21
        408:20,22,24        375:15,19,24         clerk 7:4 137:15      column 142:24
        409:1 410:16        377:5,9 387:18,19      226:13 266:21         144:1,15 146:7
        411:1,1,2,16        387:20,22,23           372:5                 341:2
        413:14 415:10,13    388:3,4,6,12,18,24   clicker 44:17         combination
      claimed 102:23        390:4,13,18,19,23      276:18                11:19 38:22 41:1
        103:3 113:16        391:11 392:1,3,20    clients 380:16          49:1 82:15 84:11
        395:11 397:12,14    394:2,13,14,17                               85:21 87:1 105:6

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 447 of 503 PageID #: 18326


     [combination - conclude]                                                       Page 14

        136:1 140:1         comment 238:19         comparing 14:11         210:16,17,19,24
        141:15 154:17,21      429:11               comparison            comprehend
        156:6 272:13,16     commentary               184:13 331:1          335:14
        272:23 273:5,14       134:24 168:6           348:24              comprise 341:7,16
        273:21 286:2        commenting 126:9       compatibility         comprises 84:2,22
        292:9 293:10,11     comments 163:12          67:21               comprising 329:6
        294:10 401:20         185:22 194:14        compensate 376:5      computer 33:10
        405:12 422:24       commercial 424:5         378:3 413:18          45:3,5 46:16 50:1
      combinations 78:6       424:19               compensated             50:2 79:18 80:2,5
        79:1 81:22          commercially             270:11                80:22 81:2 91:4
      combine 41:2 49:3       406:9                compensating            91:11 268:9,12,17
        76:16 78:8 150:23   committed 395:5          427:5                 268:22 269:23
        294:7,14,16         common 148:13          compensation            270:18 289:9
        401:11 404:1          343:7 379:21           270:14                348:6 367:12
      combined 293:20         404:6                competent 123:23        432:8
        398:4,8 405:17      commonly 412:16        competitor 420:2      computers 43:9
      combining 78:10       communicate            competitors             49:24 50:6 51:9
        368:13,15 401:17      90:24 336:24           172:14 418:22         79:21 89:7,16
        405:15                363:4                  424:8                 269:7 346:4,9
      come 24:21 25:20      communicating          complete 98:6,10      conceivable
        26:19 28:7 30:9       91:3 92:2,7            98:20 99:1,5          397:22 410:1
        37:10 39:23 58:24     389:13                 181:4 183:19        concentrate 384:2
        93:21 182:1         communication            195:6 387:11        concept 43:14
        199:15 225:18         89:22 90:1,4,11,18   completely 193:22       92:23 357:8,14,17
        226:7 251:6           92:10 93:3 304:17      196:2 198:15,17       357:19 359:2,18
        260:20 296:13         328:2 363:2,13,17      198:18,19 232:3       359:19 390:1
        301:12 340:21         365:5,6                311:10 356:4        conceptual 204:20
        343:15 364:8        companies 159:22       completes 343:9         269:8
        370:1 404:3           165:1 268:15         complex 47:9          conceptually
      comes 33:12 81:12     company 49:22            351:7 368:18          198:11 207:16,20
        114:8 387:14          95:17,18 98:21       complexity 410:17     concern 63:8
      comfortable             147:12 158:17        complicated 33:23       64:15
        235:17                181:24 342:21          79:18 80:23 148:7   concerned 64:23
      coming 15:1 23:15     comparable 265:3       complies 411:19         172:19 220:5
        26:13 177:24          423:15 425:11        component 171:3         231:20 232:1
        211:17 285:9        compare 63:20            341:9,17              233:16
        330:19                191:19 284:21        components            concerning 245:4
      commenced 7:1           368:21 387:7           113:13 114:2          246:18
      commences               393:16                 170:14,18,22        conclude 59:7
        262:15              compared 90:18           189:1,5 191:10        257:7 382:7
                              406:19                 193:1 207:23          427:24

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 448 of 503 PageID #: 18327


     [concluded - contain]                                                           Page 15

      concluded 34:8         configuration 40:3      358:19              considerations
        38:19 54:18 55:2       40:11 82:18 83:5    connecting 89:6         406:1,4,6 407:21
        56:14 66:3 75:15       85:19 86:4,20         89:16 268:22        considered 8:16
        79:13 124:17           105:2 111:13          337:7 346:4 363:3     8:19 9:5 10:14,21
        134:19 139:15          112:7 113:6         connection 47:10        11:22 39:10 41:9
        178:24 222:3           331:12,19,20          80:10,14 87:13        41:24 45:13 51:12
        263:14,16 265:11       332:9,21,22           91:8 296:6 301:18     120:10 129:11
        276:16 320:24          359:24                301:21 327:13,18      154:24 186:11,21
        322:14,23            configure 331:5         346:1 362:5 389:9     187:17 195:11
      concluding 93:13         333:5,12 334:1,6      389:10,11,14          292:15 310:1
      conclusion 37:10       configured 46:9         407:22                314:10 325:18
        37:16,17 40:7,8        46:21 48:19,22      connections 46:5        365:4 377:3
        54:7 55:8 57:12        82:22 102:7           46:10,23 73:14        383:15 386:6
        61:20 64:24 66:7       208:17,19 259:17      86:17 105:1 219:3     406:4
        67:9 68:2 70:22        277:8 287:9,13,19     324:24 327:24       considering
        76:2 77:2 93:21        287:21 289:13,16      329:24 389:12         155:19 337:14
        94:2 285:17            289:20 290:1        connectivity            411:18 421:22
        366:20 380:3,4         291:14,19 293:8       192:11 195:2        consist 414:16
        406:5 408:2            326:9 331:8,15,15   connectors 73:2       consistent 14:24
      conclusions 62:1         332:11 362:1,7      connects 269:17         19:16 57:18 60:3
        66:15 67:4 76:8        366:6                 349:10                70:4 100:24
        76:14 87:22,23       configuring 332:5     cons 290:22,23,24       193:22 196:2,9
        98:11,22               332:16 333:6,14     consciously 395:6       209:5 306:9,21
      conclusive 62:17       confine 304:23        consider 12:5 37:4      312:13,20 323:9
        285:7 402:1          confirm 50:9            135:4 142:3 151:4   consists 192:10
      concurrent 46:9          110:24 184:20         151:5,7 181:5         378:22
        46:22 86:16          confirmed 154:3         314:16,20 362:24    constraints 36:5
        324:24 325:23          261:23                363:11,19 378:20    construction
        329:23               confirming 139:7        379:22 381:5          82:12 223:7 389:7
      condition 80:20        confronting             382:9,23 384:8,21     389:11,16 390:16
      conditions 424:3         336:20                388:5 392:20        consultant 268:14
      conduct 93:17          confused 171:21         395:8 397:2,4       consulting 299:7
        395:4                  264:10                399:11 400:9,14       386:22
      conference 26:12       confusing 176:23        401:10 402:14       consumer 56:7
        26:20 301:3          confusion 227:17        403:21 404:7          341:17
        346:18                 227:20 354:12         410:14 412:8        consumers 56:2
      conferred 261:18       congress 2:13           413:15 422:13       cont'd 3:1 6:1
        261:21               connect 49:10           423:5,8 426:12,14   contact 99:9
      conferring 263:12      connected 45:3,6      consideration           263:24
      confidential 204:5       45:10 73:19           322:20 385:10       contain 40:14
                               125:18 207:4,5                              208:17,19 257:19

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 449 of 503 PageID #: 18328


     [contain - correct]                                                             Page 16

        259:17 397:11       contradicted           conventions           copyrights 55:11
        398:13 408:13         383:12                 252:19,21 253:5     cornell 268:8
      contained 152:12      contrary 27:16           253:13 254:19       corner 69:15
        181:13                62:11 407:15         conversation            158:9,18 159:12
      containing 195:19     contributed              225:23                280:20
        384:5                 427:15               convey 27:24          correct 9:17 20:4
      contains 407:4        control 47:24          conveying 54:10         36:17 39:12,17
      contending 15:10        57:10 58:8 82:7        61:21                 40:4 49:12 60:8
      contends 375:2,6        93:6 176:24          conveys 344:6           89:17 94:23 95:11
        376:20,21 378:5       198:13 207:1,12      conviction 378:10       96:21 97:2,14,15
        399:22 408:7          272:7 334:12           396:15                97:19,20,22 98:11
        411:3 415:9,14        337:20 380:5         convince 40:20          98:12,22 99:18,19
        417:23              controller 45:14         409:20                100:8,9 101:9
      content 304:21          45:15 46:13,15       convincing 375:23       103:19 107:21
        387:8 402:7 403:2     47:8,19 48:2           376:17 378:8,9,13     108:15 109:24
        410:22                71:24 80:11 84:1       396:13 400:1,4        111:1,8,16 112:10
      contention 17:21        84:18,20,22 85:1,3     408:4,12 411:6        114:14,21 115:8
        18:9 33:13 378:11     85:7,10,10 86:19     convoyed 424:16         117:7 120:7
      contentions 19:1        87:10 101:9,17       cool 166:17             121:10 125:8
      contents 31:3,9         102:9 104:23         cooperation             127:4,17 129:5,9
        32:17,17 228:20       189:13,17 204:21       304:23                132:12,13,18
      contest 128:20          204:23 205:2,5,12    copied 207:14           135:21 136:7
      contested 263:2         205:13,22 206:24       395:11 406:16         138:18 139:11
      context 18:20 41:9      212:19,20 214:9      copies 373:9            140:7 141:10,23
        72:23 82:3 92:11      214:12 329:15,16       430:15,16             142:5,18 144:6,9
        102:15,20,21          329:18,19 330:9      copy 25:13 182:10       145:9,12 146:3
        114:22 125:24         362:2 366:6,13         198:5,8 224:16,19     149:17 151:1,21
        174:20 219:23       controller's 211:2       228:22 296:5          152:14 154:16
        220:3 247:5         controllers 48:6         297:19,21 302:2,9     155:22 157:14,15
        325:15 326:14,23      81:17 87:11 93:2       307:8 321:6           157:17,22 158:14
        358:15 370:5          102:5 198:11           374:24 430:20         158:19 159:16,19
        373:13 388:3          205:4 208:16,18      copyright 27:13         160:1 161:5,19
        401:23                208:23 259:16          27:20 28:15 31:16     164:4 165:22
      contextualize         controlling 80:4         32:12 53:12,19        169:18 171:6,7,11
        428:7                 207:3                  54:4,6,9,23 55:7      171:12 172:17
      continue 25:20        convection 87:8          56:10,13 57:1,11      176:10,11 180:18
        102:12              convenient 190:3         57:14,15,17 60:22     181:13 182:2
      continued 34:18       convention 253:18        60:24 61:2,4,24       185:10 186:4
        143:1               conventional             63:3,5,16 65:9,11     191:8 192:15
      continues 25:16         125:17 279:14          66:6 67:3             193:1,23 194:16
                                                                           195:24 196:18

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 450 of 503 PageID #: 18329


     [correct - court's]                                                            Page 17

        199:21,22,24         corroon 3:3            31:5,10,20 32:11      236:9,15,22 237:2
        203:20,23 204:19     cost 279:18            32:19 33:17 34:5      237:8,12,20 238:4
        204:22 206:17,21     costs 421:1            34:9,15 42:18         238:20 239:4,8,11
        206:24 207:4,18      counsel 9:23 98:18     54:3,15,21 58:24      239:16,21 240:6
        208:1,24 209:1,6,8     98:18,19 118:5       61:18 62:6 63:2       240:10,20 241:3,9
        209:23 210:1           119:7,10 133:15      63:19,24 64:10,13     241:20 242:5,11
        212:9,16 213:24        134:4,24 164:8       65:19 66:20 69:9      243:3,21 244:3,6,8
        214:1,10 215:4         181:16 182:1         75:2,12 77:16,24      244:13,24 245:14
        223:4,8,9 226:19       224:19 226:19        78:11,19 79:7         246:2 247:11
        228:22 230:22          237:23 248:9         83:9,14 88:17         248:1,6,12,16,19
        259:8 271:11           253:5 260:12         94:6,9,13 96:14       248:23 250:24
        273:6 274:7,8,15       261:21 262:20        101:23 122:18         251:6 260:16,19
        276:24 277:13,14       263:12,16,22         123:16 124:1,9,15     260:23 261:5,15
        277:15,18 283:18       264:12 276:3         124:21 130:15,19      262:1,7,10,17,23
        287:14,15 288:9        322:11,21 432:9      131:14,24 132:8       263:3,7,11 264:1,9
        291:23 295:15        counsel's 120:12       132:15 133:3,9,19     264:23 265:12,17
        296:7 297:5 299:4    counted 189:22         134:1,7,14,17,20      266:11,17,20,21
        300:7,13,17 301:3    couple 7:16 18:15      137:4,11,15,16,20     270:21 275:2,5,16
        301:16,23 305:1        29:3 226:15          152:19 163:9          275:23 276:14
        306:3 309:4,17         252:20 363:24        168:3,8 177:5,13      280:3,16 296:12
        318:1,2 319:16         373:2,8 430:12       177:18,22 178:2,6     296:22 298:6,9
        323:17,24 331:9      course 14:18           178:9,11,21 179:1     303:12 306:14
        332:19 333:15          114:4 117:9          179:4,18,22           311:19 314:18
        334:9 335:9            142:14 169:6,7       182:21 183:12         315:1,11,21 316:1
        340:14 349:5           227:1 277:23         190:4,9 197:11,21     316:6,15 318:19
        352:11 364:11,24       284:4 322:1,5        199:14 202:5,8        318:22 319:8,11
        367:2 368:10,11        349:10 350:8         214:18,20 215:11      319:18 320:7,19
        389:1 430:15           385:19               216:24 217:4,11       326:8 330:15
        432:8                court 1:1 7:1,4,6      219:10,16 220:1,9     331:23 335:12
      corrected 179:10         7:12 8:2,6,9 9:7     220:21 221:8,14       337:10 344:12
        328:22 329:2           9:14 10:1,24 11:6    221:17,22 223:7       348:7 355:11,14
      correction 328:22        11:12,15 12:7,17     223:12,20 224:1,2     363:23 364:3,7
      correctly 189:22         13:7,20 14:1         225:4,12,16,22        366:21 369:14,18
        396:8 432:6            15:13 16:8,13,20     226:5,11,13,14,17     369:22 370:10,16
      correlates 194:7         16:23 18:1,19        227:16 228:5,10       371:9,20 372:1,5,6
        291:3                  19:2,7,13,23 20:10   228:15 229:5,9,13     372:18,24 379:18
      corresponding            20:17 21:24 22:18    229:23 230:10,16      379:20 385:3,10
        83:3 325:2 326:1       23:4,8,16,20 25:17   231:5,9,14 232:1      430:6,11,22 431:3
        327:24                 26:7,22 27:7,16,21   232:10,22 234:1,7     431:7,17,19
      corresponds 212:8        28:3,13,24 29:11     234:11,19 235:1,5   court's 19:17
                               29:18,21 30:1,5,11   235:8,10,21 236:1     388:17 389:6,10

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 451 of 503 PageID #: 18330


     [court's - decision]                                                          Page 18

        389:16                263:23 295:1        335:1,1 337:21        dated 169:5 171:3
      courtroom 1:18          298:8 311:18        339:23 342:8,9          203:19
        23:19 137:10,19       317:23 320:6,8      343:9 350:1 353:5     dates 26:15 32:5,8
        223:19 248:22       crr 1:21              353:16,17 354:2,3       32:9 33:15 55:7
        309:10 370:9        curative 178:5,20     354:6,9,21 355:2        56:13 57:18 59:9
        372:23 379:15       cured 179:22          356:14,16,24            67:17 94:2 172:5
        382:3 385:13        curiosity 429:20      357:3,12,13,24          185:17 245:10
        429:14,19 430:5     current 51:3          358:11 361:6,15         258:2 284:22
      cover 16:10 89:15       424:20              361:18                day 20:20 21:2,15
        101:11 227:5        custom 200:20        database 151:21          21:16 24:4 267:13
        286:8 388:9           201:1,6,10 258:20 date 1:15 27:13,14        366:8 432:12
        395:21              customary 283:11      27:17,20 28:15        days 9:1 106:11
      coverage 388:5          425:10 428:1        31:17,18 33:14          185:18 348:19
      covered 81:24         customers 416:15      38:5 52:4 53:12       ddurie 3:12
        243:16 382:4          420:6               54:23 55:5,15         deadlines 18:10
        393:3               cut 385:14            56:9,10 57:1,11,14    deal 33:15 255:19
      covers 387:22                  d            57:15,17 59:10,11     dealing 43:2
        388:11,12,13                              60:1,4,22 61:2,4,6    deals 45:15
                            d 1:20 2:11 4:1 7:5
        390:17,24 391:7                           61:14,24 62:13,24     decade 295:16
                              269:3 406:18
        393:13                                    63:3,5,6,16,17,20     decide 46:16 78:23
                            dadams 2:17
      craig 185:2                                 63:21 65:9,12,23        246:5 342:4
                            damage 396:1
      crash 338:3                                 66:6,6,10,14,16,17      375:10,17 376:2,4
                            damages 17:6,17
      crashes 338:11,14                           67:3,3,9,12 68:7        377:13 382:13,16
                              18:24 375:4,8
      create 36:1 293:9                           70:10,23 161:17         387:16 388:14,15
                              376:4,7,22 377:21
        293:10                                    169:1,11 170:7,12       388:22 391:9
                              377:23 378:2
      created 185:4,9                             171:3,5,15 173:5,8      393:7,12,14
                              413:5,5,9,12,16,17
      creative 404:24                             173:11,13 174:15        394:11,19 395:23
                              413:19,20 414:2,4
      credibility 314:9                           174:24 175:8            402:17
                              414:7,8,9,10,13,23
        318:10,16 382:18                          176:3 177:1 180:4     decided 31:6
                              415:1,8,11,15,17
        382:19                                    180:7,10,12,14          318:3 411:1
                              415:19 419:20,24
      credit 384:15                               183:19,20 184:2       deciding 382:22
                              420:2 426:23
      credited 425:15                             241:6,10,13             384:18 393:5
                              427:6
      criminal 378:17                             245:18 247:7,15         397:8 399:9
                            daralyn 3:9 295:8
      critical 284:24                             247:15,23 248:1         402:22
                            darryl 2:12
      cross 4:7,11 9:24                           249:11 253:6,14       decision 45:16
                            data 8:22,24 12:8
        30:18 33:13 94:17                         255:2 257:9             120:19,23 129:24
                              72:13 74:13,16
        177:17 207:8                              271:23 302:17,19        132:16 311:8
                              75:17 76:1 84:6
        225:9,10 250:23                           344:8 348:23,24         326:18 369:5
                              86:2 126:13
        251:10 258:12                             406:24 409:12           379:16,20 380:12
                              250:22 257:14
        261:14,16,18,18                           410:11 411:12           387:15 393:9
                              258:3,5 289:19
        262:15 263:15,19                          421:21 426:20           395:24 401:19
                              291:4 334:23
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 452 of 503 PageID #: 18331


     [decisions - designed]                                                         Page 19

      decisions 129:4         degree 122:23           253:24 255:6       described 58:5
        383:22                  123:5 268:7         demultiplexer          85:22 100:3 105:5
      deck 120:20               367:14                148:11               108:3 110:7
        211:10                degrees 69:11         denies 265:23          112:13 172:22
      declaration 104:4         123:22,22             266:6 375:5,7        192:11,17 230:1
        107:9,13 113:3        delaware 1:2,18       denying 378:4          268:12 342:21
        115:23 116:15           1:22 2:6 3:5 27:3   depend 270:14          347:13 360:19,23
        117:4,18,20             27:11 261:20,22       394:2                399:17
        118:13 125:10           262:21 263:21       dependent 273:10     describes 13:15
        132:24 135:13           264:13                291:21 292:21        100:14,16 105:17
      declaring 136:15        delay 249:7             313:15 390:19,19     200:20 347:8
      decreased 426:16        deliberate 22:11        390:24 391:1,3     describing 14:18
      dedicated 46:10           25:1 371:13,16        394:4,13,14,15     description 12:16
        46:22 85:18 86:16       373:8 387:15        depending 24:6         12:20,22 13:2,5,8
        86:20 105:2             395:5 427:22          30:17,19 205:15      13:14,22 14:6
        327:13,18,24          deliberating          depends 83:20          15:3,9,11,22 16:1
        329:24 362:5            428:23                180:14 319:12        88:23 111:21
        389:9,10              deliberation            351:17 388:11        112:11 200:12
      defendant 1:9             385:23                390:20               259:13 343:10
        3:15 117:11           deliberations 25:5    depiction 113:4        344:4,5,20 345:8
        374:14                  249:19 375:12       deponent 264:15        345:13 367:5
      defendants 270:9          413:13              deposed 160:13         388:2 397:12
      defense 392:14          delphi 117:6 201:7      161:2                398:14 408:9,11
        396:2 398:22            202:2,13 204:4      deposition 157:1       408:14,18 409:2,3
      defenses 398:23           209:9 374:16,17       160:16 162:4,9       409:9 410:4,6,24
      define 113:15           delphi's 181:24         171:10 213:3       descriptions 26:18
        198:22 331:14         delve 264:3             215:8 216:18         112:21
        387:22,23 388:4       demand 404:6            217:16 218:16      deserve 386:18
        388:18                  417:5,14 418:9,11     219:12 220:7,15    deserves 380:1
      defined 193:23          demonstrate 32:3        221:12,15 236:23     384:2
        414:19                  245:17                264:15 265:3,4     deserving 126:13
      defines 195:19          demonstrative           307:8,10,11        design 182:17
        331:11                  77:7 78:21 83:10      308:13 312:17        269:8,23 270:1,4
      definitely 179:20         177:11 224:20         385:6,17             301:6 308:9,15
        262:1 263:1             228:2,17 232:20     derivative 424:16      395:20 406:11
      definition 196:7          235:20 240:17       describe 11:17         420:4
        331:18,20 332:9         244:21 255:10,21      111:18 350:21      designated 94:22
        389:22                  287:23 288:3,5        361:13,17 397:20     143:21
      definitions 194:23        386:4,9               397:22 408:19      designed 268:21
        195:18 388:24         demonstratives          409:23,24 412:6      268:23 348:13
        389:2,3                 78:13,14 236:4                             424:3

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 453 of 503 PageID #: 18332


     [designer - devices]                                                          Page 20

      designer 348:6        determines 46:15        100:8 101:8,17       332:10,16,22
      designers 351:6       determining 323:6       102:6,8 104:22       333:6,13 334:1,6
      designing 351:9         382:15 387:8          105:18 150:22        334:13 336:10
      desire 56:5             400:7 402:2           151:3 162:24         337:1,2,5,9,20
      desired 426:4           408:22 412:9          164:7 165:17         341:7,23 342:6
      despite 233:23          422:13 423:4          189:12,12,17         346:3 347:13
        419:1               deterred 128:1          192:9,14 193:22      350:1,17 351:16
      destroyed 157:10      developed 217:21        194:5,5 195:2        351:22 352:6,24
      detail 24:12            374:18                198:2,11 199:23      354:7,13 355:24
        184:20 209:16       developer 351:22        199:24 200:2,3,3,4   358:8,8 360:21
        214:15 398:22       developers 301:3        200:21,22 201:1,7    361:24 362:2,6,7,9
        408:21 409:17       developing 197:6        201:11,12 202:23     362:16 363:5,15
      detailed 211:5        development             203:3 205:4,5        365:12,13,16,24
        376:9 415:16          141:13                206:11 207:4,24      366:5,11 389:6,16
      details 92:16         device 9:10,16          208:12,16,17,18      389:17,17 401:21
        156:20 192:18         11:16,20,21 12:3,5    208:18,23,24         401:22
        203:9 301:7 308:9     12:11 29:6,16,23      212:8,18,18,20     device's 325:1,24
        308:15                31:13 35:7,8,15,16    213:14 214:3,8,9   devices 29:10,17
      detects 258:20          35:19,19,21,21        214:10,12 216:5      31:7,8 35:24 36:3
      determination           36:4,16,19,20,23      216:11 225:15        36:11 43:4,10
        141:8 151:12          36:24 43:12,14,17     226:23 229:21        45:17,18,21 47:13
        152:9 410:13          43:18,20 44:1         230:7,8 232:19,21    49:6,7,16,18 50:5
        423:9                 45:4,20 46:1,17,20    234:23 236:7         50:9,14,24 51:7
      determinations          48:1,2,10,11 51:10    249:17 250:8,11      52:19 73:4,8
        316:14 317:12         51:11,17,21 52:9      250:13,15 251:23     75:21 79:24 80:4
        388:19                53:1,6 55:6,9         252:1 256:7          81:4 90:19 91:2,9
      determine 27:6,14       56:24 57:10,13        258:21 259:2,6,6     92:7 108:11,12
        59:4 80:21 142:4      58:8 59:5 60:7        259:16,16,21         111:14 112:7
        169:17 170:12,15      65:10 66:9,17         260:3,3 274:2,6,10   113:5,7 114:6,6
        175:17 281:21         67:5,10 68:3          277:7,13,17 278:4    139:8,9 151:11
        339:22 390:8,17       70:12,19 71:2,24      278:6,10,17,17       194:2 203:2,5
        390:24 391:7          72:19,20 76:2         281:2,11,13,19,22    208:4 212:3 227:4
        393:17,22 395:7       80:8,11,18,21         283:16 284:8         230:3 259:4,6,22
        399:6 402:6,11,24     81:11,17 82:8,17      285:5,16 286:16      259:24 260:2
        403:2,3,17,22         84:5 85:6,9 86:3,4    286:23,24 287:1,3    271:22 277:17,21
        405:20 410:6          86:17 87:10 88:2      287:5,7,12 288:24    278:11,12,19,23
        416:14 420:6          88:10 89:6,15         289:6,23 290:5       279:7,9,10 281:22
        422:16                90:2,8,24 91:1,3,5    291:1,18 293:8       281:23 282:8,10
      determined 27:19        91:7,11,15 92:2,8     324:23 325:1,23      282:14,20 283:5
        28:5 318:4,6          92:11,12,18,22        326:1,9 329:6,8,16   283:24 284:14,16
                              93:2,6,8,13 100:4     329:19 331:5         284:21 285:6,15

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 454 of 503 PageID #: 18333


     [devices - discussion]                                                          Page 21

        285:19,22,23            292:6 294:17        differently 331:8     disbelief 407:12
        286:2,15 291:13         323:20,21 324:4,9     377:6               disclose 11:9 90:8
        294:16 301:7            325:7,21 326:7,8    difficult 334:15,19     209:16 277:21
        308:10,16 325:15        327:8,12,17,23        396:17                285:24 286:3,3
        325:24 337:16           332:3 333:19,24     digit 253:13,18         291:13,17 411:9
        340:24 347:20,24        348:13,18,24          254:4               disclosed 9:2,13
        348:3,15 350:14         349:3,14,23         digital 268:20          9:20 11:9 13:6
        350:15 351:1            368:15 398:4,8        269:2                 14:2 15:17 78:5
        352:3 359:23          die 186:1             digits 147:20           90:19 109:1
        360:5,12 367:21       difference 27:22      direct 4:5,10 33:19     143:14,16 346:18
        368:16 425:1            28:4 55:20 56:12      34:18 199:21          399:17 412:18
      diagram 35:3 87:5         92:6 289:6 317:2      221:12 250:10       discloses 11:3
        106:5,14,15 113:7       320:18 330:4,20       262:14,16 263:13      110:10 408:23
        113:18 192:24           330:22 348:11         263:17 267:6        disclosing 104:22
        199:20 204:17,20        381:22 383:22         314:5 315:7           142:1
        206:9 209:22            419:1                 381:11,12,22        disclosure 257:14
        210:22                differences 183:7       382:2,12 392:23       342:12,20 343:23
      diagrams 111:11           187:7 303:7 402:8   directed 405:10       disclosures 91:21
        112:5                   403:13,18 405:8     direction 412:17        91:24
      dickens 11:19,20        different 29:17       directly 61:22,22     disconnect 291:7
        38:15,16,23,23          71:19 73:8 81:17      80:5 100:21 101:6   disconnecting
        39:11,15,21 40:1        91:16 109:5 116:9     165:3 298:21          291:5
        40:10,14 41:11,17       133:22 144:21         299:2 314:8         discounted 95:20
        41:23 42:23 43:5        159:20,21,22          318:16 375:3        discoverable
        43:24 44:11,18,21       160:15 164:24         392:22 393:6,15       235:14
        44:22 45:2,12,21        188:6 211:3,6         393:19,21 394:19    discovered 146:14
        46:4,11 48:24           233:15 234:4,6      disagree 15:5 40:7      181:20
        49:3 50:19,23           238:1 239:6           99:22 132:23        discovery 226:22
        76:10,16,16,19          242:19,22 243:1,9     196:4,6 200:23,24     228:7,9 230:9
        77:1,3,7,12 78:4        251:22 252:11,18      230:15 326:5          234:10 236:14
        79:18 80:19 81:21       252:20 254:23         332:13,17 333:1       238:23 241:23
        82:2,15,24 83:2         264:6 265:5           352:19 358:20         248:14
        84:11 85:4 87:2,8       279:18,24 285:15    disagreed 121:14      discuss 16:17
        87:8,14 105:6           289:9,18 310:14       125:6 129:8           284:1
        107:24 119:13,16        315:3,4 320:3       disagreeing 128:1     discussed 17:11
        119:22 120:6,13         331:19 343:11         328:4                 140:5 247:7,8
        125:5 127:7             349:6 368:21,24     disagrees 13:12,21      261:11 337:9
        135:20 140:1,5,12       369:6 376:14          15:21 418:1         discussing 264:12
        150:23 154:18,21        389:2 390:3         disappears 239:10       335:13 346:15
        156:6 169:3 274:1       414:12 415:1,2      disassembled          discussion 26:5
        277:12,13 286:2,8       428:13                227:3 230:19          34:7 53:23 55:1

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 455 of 503 PageID #: 18334


     [discussion - durie]                                                           Page 22

        61:9 66:2 74:19     distributed 113:12    double 431:13         drives 269:17
        75:14 77:18 78:9      114:1               doubling 269:16       drops 382:4
        79:12 90:21         district 1:1,2        doubt 32:7 70:18      ds 189:16 213:23
        123:11 124:16       disturb 87:12           165:18 206:4          214:8
        133:10 134:18       diverted 417:22         234:19 254:23       ds4rl 189:20
        138:16,21 154:4     doctorate 367:14        378:16              dual 35:3,12
        177:6 178:23        document 31:22        downstream              148:10 309:5,8
        209:15 219:17         44:5,6 58:16 62:8     189:17 213:23         393:14 415:21
        222:2 261:8           74:10 107:4 126:9     214:8,9               416:7,15 417:1
        265:10 274:20         135:9 181:4,11      dr 4:9 7:24 8:5         418:24
        276:15 314:2          182:17 183:5          12:15 17:17,20      due 420:15
        320:23                186:7 187:16          18:11 197:6 232:5   duly 267:3 432:5
      disk 32:13 33:6         191:1,21 193:4        266:19 267:12       durie 3:8,9 4:12
        268:22 269:17         194:15 195:10,11      270:18,24 273:19      7:10,23 8:3,7,10
      display 280:19          196:22 290:18         276:22 278:14         10:12 11:5,8,13
      displayed 224:13        343:19,23 405:22      280:5,22 282:9        12:13 13:24 14:22
      displays 285:10       documentation           285:20 290:11         16:11,19 19:10,14
      dispositive 315:19      27:5,13 40:19         291:11 293:5          20:4 22:24 178:8
        426:11                57:6                  294:19 295:4          223:23 224:5,10
      dispute 23:10         documents 37:23         306:9,22,24           225:13,21 226:1
        176:3 228:2           37:24 41:1 108:2      307:22 314:5          226:16,18 228:4
        241:17 278:16         126:19 132:20         317:18,19,23          230:5,11,12
        315:5 316:13          141:7 145:14          319:6 321:2,13        233:24 234:5,8
        352:4,5,7,12          146:12 155:4          364:18 366:24         236:9,11,17
        360:16                177:17 181:17,23      372:12 384:6,6,19     238:19,21 239:5,9
      disputes 317:11         184:14,21 185:4,8     384:20                240:7,9,14,23
      disputing 316:15        191:5 195:14        draft 181:11,11         241:8 242:3,9
        316:16 359:22         198:22 271:21         183:18 304:21         243:20,22 244:2,4
        360:5,11              274:13 301:8        draw 62:1 78:18         244:7,9,14,18
      disregard 135:2,3       308:11,19 367:17      234:22 293:19         245:6,24 248:4,15
        163:11 168:5          379:1 386:16        drawing 294:2           261:14,16 262:12
        179:11,23 240:15    doing 41:15 44:5      drawn 87:6              263:5 264:8 266:8
        245:3,21 246:15       60:17 63:22 78:1    draws 61:19 78:19       270:20 274:17,22
        246:18,20 247:17      81:19 92:10         dream 106:8             275:3,8,20 276:4
        249:12,21 379:14      162:23 169:20       drew 54:7               276:11 280:15
      distinct 427:1          175:15 232:17       drink 138:3             295:3,8 296:2,4,9
      distinction 28:9        339:9 351:14        drive 32:16 33:7        296:14,16 297:11
        108:5 382:11          429:5                 33:10 268:22          297:15,18 298:3,8
      distinguish 354:14    door 21:18 22:13      driver 201:6,10         298:11,12 301:11
      distinguished           30:21               drivers 57:9 58:7       301:13 302:1,6
        425:16                                                            303:9,14,16

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 456 of 503 PageID #: 18335


     [durie - endpoint]                                                            Page 23

        306:17,18 311:13    early 181:10         electronics 73:16     embodying 426:6
        311:15 312:16,24      278:22 348:19      element 39:24         emphasis 428:2
        313:11,13 314:8     earned 268:6           40:2,15 46:23       employed 268:11
        314:19 315:9,17     easier 351:21          49:4 85:16 272:3      269:14 299:24
        315:24 316:3,12     easily 51:6            272:5,12,16,18,19   employment
        316:23 317:21       edit 304:22            273:1,2,13 276:24     268:19 298:20
        318:21 319:10,16    edited 385:14,18       277:4,9,12,22         299:1
        320:4,11 321:1,11   edition 166:15         278:1 284:10        emulated 43:9,10
        325:13,19,20          167:5                285:24 286:4,11     emulation 80:7
        326:11 328:8,12     education 399:13       288:17,18,19        emulators 79:19
        332:7 336:15,18     ee 122:23 123:6,21     291:18 292:8,10       79:21 80:6
        337:23,24 338:5,9   effect 290:4           292:23,24 293:4     enable 91:24
        338:16,19 341:1,4     424:11               317:8,15,16,16        345:4 397:13,21
        344:13 354:16,20    effective 271:23       318:6,7 365:17        398:17 411:10
        355:9,16,22           279:18 369:12        401:2                 412:7
        363:20 365:3          409:12 411:12      elements 44:24        enabled 17:17
        366:20 367:7,23     effectively 388:7      46:3 271:17           366:1,11,12,14
        368:12,20 369:9     efficient 21:16        273:12,17 292:22      367:2 411:17
        369:13,17 371:2     effort 312:11,20       293:3 314:22        enablement 12:20
        371:17,24 372:8       395:18               315:10,20 316:11      13:3,14 88:23
      durietangri.com       egg 29:22              317:13 318:4          345:9,15 362:22
        3:12,13,13,14       eight 137:7 299:21     366:7 367:1           362:23 363:10
      duty 110:8 141:21       300:2                368:10 392:1,4,7      365:4 366:18
        141:24 388:17       either 21:10 38:23     404:1 405:13,15       398:20 411:5,8,16
      dwell 314:14            61:21,22 95:9        405:18 421:7          411:19 412:5
                e             111:18 118:6         425:17              enables 84:4
                              139:24 154:15      elicit 15:20 65:22      365:11,13,16
      e 2:1,1,4 3:1,1 4:1
                              160:20 217:12      elicited 236:13       enabling 366:18
        5:2 6:1 266:24
                              220:10 271:21      eliciting 63:14       encoded 180:15
        407:6 432:1,1
                              278:11 282:8       elicits 65:23         encompass 89:21
      e4 288:5
                              317:11 322:6       elmo 234:16             264:21
      earlier 18:8 24:20
                              343:6 382:12       email 7:15,22         encompasses
        35:4 39:10 41:5
                              388:9 413:11       embedded 71:23          43:11
        62:3,21 74:1
                              422:19               202:23 203:3        encourage 74:24
        82:17 116:9
                            ejection 291:2         353:8 354:4         endpoint 47:19
        126:24 138:9
                            elaborate 112:13     embodied 358:23         72:5,12 73:23
        140:6 169:5
                            electrical 268:8     embodiment              74:1,3 76:4,21,23
        251:18 257:3
                            electronic 148:22      397:23 410:1          79:22,23 80:16
        279:1 281:18
                              155:24 156:2       embodiments             81:9 82:3,4,7,23
        290:18,21 346:15
                            electronically         111:18                84:23 85:5,16,23
        367:7 392:11
                              229:10 230:2                               85:24 87:11

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 457 of 503 PageID #: 18336


     [endpoint - examine]                                                           Page 24

        189:15 200:9        entitlement           et 142:13               381:23 382:2,6,10
        206:18 212:11,17      416:12,23           ethernet 269:12         382:12,14 383:13
        212:19 214:12       enumerated 100:6      european 145:22         383:16 384:17,23
        257:20 352:13,16      289:8,12,18         evaluate 324:4          385:21 386:6,7,10
        352:22 353:12,22      331:15 362:8          385:11 404:13         386:13,15 387:5
        354:6,12,13 356:4   enumeration           evaluated 398:24        387:10,10 391:10
      endpoints 82:20         125:16,19 332:4     evaluating 387:9        391:14 392:9,15
        83:4 87:5 208:19    ep 145:23 189:14        410:4                 392:24 395:1
        212:3 259:18          194:24 195:18       event 337:19            396:13 399:11
        352:23 353:11,15    equal 351:20          events 379:24           400:2,4 405:16,24
        353:19,20 354:1       377:11              everybody 23:21         406:20,21,23
      engage 363:13         equally 283:15          237:9 430:2           407:20,23 408:1,5
      engaged 267:23        equipment 420:3         431:17                408:12 411:6
      engagement            equivalency           everyday 148:13         414:3 416:13
        304:16 367:20         116:11                379:23                417:4,19 418:3
      engagements           equivalent 339:19     evidence 10:9           420:1 425:7
        270:2 301:18,21     eric 3:9                17:14,15,23 19:12     426:12 428:3,8,13
      engineering 85:11     error 19:1 243:18       20:18 21:4 24:4       428:17,21,24
        182:17 209:15         291:2,6               25:7,10 26:14         429:7,8,9,13
        268:7,8             especially 55:22        27:15 33:3,5 35:2   eweiner 3:13
      enhanced 229:10         283:11                70:21 88:14 93:12   exact 216:16
        229:14 238:11       esquire 2:3,4,10        137:8 197:11          408:21
      enhancement             2:10,11,11,12 3:3     228:24 229:2        exactly 10:2 15:5
        229:17 238:18         3:9,9,10,10           232:11,14 233:14      24:7 54:1 61:16
      enjoy 304:11          essentially 48:3        233:23 236:5,6,21     103:2 108:8
        405:1                 76:22                 245:16 246:24         113:16 117:22
      enjoyed 160:20        establish 29:7 46:9     249:18 251:1          156:21 168:13
      ensure 408:15           46:21 245:15          256:3,4 280:14        181:21 293:16
      enter 422:7             278:20 319:1          286:10 289:15         294:9 336:23
      entered 23:18           362:5 376:7           290:4,8 335:12        363:7
        137:18 248:21         377:21 400:2          342:11 372:9        examination 4:5,7
        372:22 422:2,10       414:2                 375:14,20,23          4:10,11,13 30:18
      entertain 20:15       established 423:13      376:8,12,16,18        34:18 94:17
      entire 12:23 131:4      423:22 424:20         377:1,2,2,7,8,18      141:18 144:3
        272:20 411:2        establishes 294:6       377:24 378:9,9,10     224:13 225:9,10
      entirely 134:9          414:5                 378:13,14,21          250:3 260:7
      entities 420:12       establishing 86:15      379:6,17,22 380:2     263:14,15 267:6
      entitled 375:4,8        408:11 411:6          380:6,8,10,13,15      295:1 364:15
        376:21 378:2        estoppel 316:2,5,7      380:17,19,24          396:20
        385:9 414:13          316:9 317:11          381:3,4,5,9,11,12   examine 107:18
        419:2                                       381:12,17,18,19       162:18 169:17,23

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 458 of 503 PageID #: 18337


     [examine - explain]                                                           Page 25

        317:23 324:9          217:17                250:18 251:9          399:13 420:4
      examined 38:17        excused 137:9           255:9 258:9 280:6   experiences
        58:18 59:16 157:5     223:18 261:3          280:7,14,19           379:23
        157:8 267:4 320:6     369:21 370:8          287:24 288:4,5      experimentation
        320:8 323:4           430:4                 290:7 296:15          92:3,5 93:4
      examiner 146:15       exhibit 10:9 31:2       297:12,16,19          411:15 412:1,11
        151:12 155:9,15       35:2 42:4,7 51:23     298:3,5,7 302:2,4     412:14,15
      examiners 132:17        53:5 58:10,13,22      302:8 311:13        expert 12:17 27:5
        141:8,17 144:2        60:10,11,14 68:17     321:9 325:9 326:4     27:12 30:14 94:23
        155:20 322:12         68:18,22 69:6         326:15 354:17,18      94:24 95:1,18
        323:22 324:8          74:5,7 88:5,6         361:22 372:8,11       97:10,24 98:5
      example 14:16           106:2,18 125:15       372:14 380:7          170:11 181:2,3
        18:4 44:4 45:1        125:20,23 140:17      381:8 386:9           186:11 187:17,20
        181:10 246:8          152:22 153:3,15     exhibits 25:8           193:11 194:15
        254:7,10 381:12       153:19 156:12         88:14 103:17          226:24 270:3,6,18
        381:21 395:19         157:2,8,13 161:8      186:20,20 190:24      288:6 293:14
        421:10                161:22 162:8,9        241:23 379:2,11       295:10,18 296:6
      examples 388:2          167:16 171:19         385:20,21,22,24       296:19 297:7
        409:18 412:20         176:18 180:21,21      386:4,5               301:14 304:16
      exception 394:1         182:5,7,14,24       exist 108:6 223:3,6     305:21 307:4
      excerpt 219:12,21       186:24 187:2        existed 169:11          309:14 310:11,14
        219:22                188:17 190:19,20      403:22                312:7 313:1,7
      exchange 177:15         191:6,8,15,20       existence 401:2         318:11 321:2,15
      exchanged 8:12          192:20,21 193:1     existing 18:10          324:12 344:22
        88:1 230:9            193:23 196:12,14      186:12 410:20         345:1 346:7
      exchanging              196:19 197:18         424:13                354:22 367:21
        177:17                199:1,2,11 201:16   exists 111:21         expertise 187:12
      exciting 171:20         201:20 202:4        expand 91:13            296:22 297:4
      exclude 243:23          203:12,15 205:8     expect 22:23 24:2       298:14,17 301:23
        248:13 385:15         210:7,13,15 212:7     24:9 90:5,15,20       303:22
        423:24                212:9 214:3           146:13              experts 53:13
      excluded 23:11          218:11,24 228:14    expectation 25:3        75:10 316:13
        381:2,6               230:19 233:13         374:5 401:16,24       422:16 425:21
      exclusive 423:18        235:19,22 236:8     expectations          explain 15:9 18:18
        423:18                236:19,23 237:3,5     81:18 421:24          55:11 242:9 268:2
      exclusivity 424:4       237:15,16,17,24     expected 178:13         271:1,13,20 277:2
      excuse 44:23 46:2       238:22,22 239:15    expenses 421:2          277:4 278:2
        82:24 103:9           239:19 240:3,10     experience 49:22        281:12 284:5
        159:21 174:9          240:16 241:18,18      172:13,21 268:17      286:5 289:10
        189:9 191:14          244:11,11,12,13       305:8,10 348:5        318:1 389:24
        201:16 208:6,17       245:23 246:3,23       367:11 380:1          391:22 418:6

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 459 of 503 PageID #: 18338


     [explicit - figured]                                                           Page 26

      explicit 40:19 45:8     291:3 295:16        fairchild 148:11         122:13 135:6
      explicitly 195:1        301:5 319:21          148:23 149:4,16        140:16 141:1
        261:23                323:12 324:13       fairly 47:9 267:14       142:8,21 143:5
      explore 183:7           325:6 334:21        fairness 320:5           144:11,19 145:14
        184:17,20             335:11,14 341:11    faith 395:5,18           146:6 147:7
      expressed 407:12        341:23 352:9        fall 58:11 346:17        149:21 150:19
      expressly 78:4          373:22 380:14       falls 147:4 168:6        152:16 162:3,21
        411:22                381:20 385:17       familiar 73:15           184:5 186:6
      extensively 50:11       392:16 412:1          81:16 102:11           188:17 190:18
        58:5 213:14           422:13                117:1 147:16           191:13 192:6
        214:11              factfinder 10:17        211:12,15,16           194:11 197:3,23
      extent 15:19          factor 418:8,15         216:2 301:6 308:9      200:13 201:4,16
        245:20 249:5          420:11 426:11         308:14,18 328:10       202:18 204:8
        265:1 337:4         factors 382:23        far 62:21 99:4           206:7,13 208:10
        424:15 425:6          383:18 384:12         176:6 230:12           209:20 210:22
      external 235:3          385:11 402:14         314:5 316:10           212:14 272:6
      extra 428:2             407:23 410:14       fashion 401:12           280:18 290:6,15
      eye 231:19 232:24       412:8 417:2,19      fast 209:18              291:9 364:10
        233:7 234:3           418:5,7 423:8       favor 347:9           field 30:15 53:14
                 f            426:14,15 427:3       377:11                 74:17 91:20 92:1
                            facts 126:12          fearful 218:8            399:10,14 403:7,8
      f 407:8 432:1
                              376:11 377:4        feature 235:12           404:1 405:5 407:8
      f1u400 52:18,20
                              378:22 379:3        features 43:9,10         407:16 409:5
        60:2,6 68:13
                              381:19 382:15         55:23,24 56:1,6        410:21 411:11,21
        69:21,23 266:5
                              395:8 423:5           391:24 392:7           412:3,10
      fabrication 186:2
                            factual 126:18          419:12 423:2        fifo 195:20
      face 51:16 110:4
                              378:11                425:18 427:2,7,10   fifo's 198:12
        168:20 263:13
                            failed 132:11           427:13              fifos 200:6 206:17
      facilitates 46:4
                              407:7               february 52:5,6          206:20 207:8,9
      facing 403:6
                            fails 411:7           federal 1:17             211:2 213:15
      fact 15:21 21:1
                            failure 314:9           130:15 140:10       figure 44:20,21
        27:18 32:11,13
                              408:9                 311:19                 92:5 106:2,13
        49:21 50:8 53:13
                            fair 11:11 24:12      fee 414:21               111:9,12 112:5,12
        87:24 101:14
                              33:24 65:21 119:9   feel 324:15              191:8 211:23
        111:6 159:6
                              155:18 170:1        felt 87:18 381:15        212:1,8 218:11,13
        161:20 162:16
                              181:17 192:3,5        406:15                 218:24 227:8
        165:17 179:11
                              246:10 300:3        fenton 2:11 275:10       260:1 290:22
        184:24 187:14
                              338:3 339:11          276:2                  326:17 327:7,12
        195:6 199:8 204:1
                              348:9 349:16        ferrer 106:2,17          327:17 347:12
        204:2,21 231:20
                              351:11,16,19,23       110:21 112:19       figured 295:8
        232:2 233:22
                              363:5                 115:19 118:19
        234:2 259:1,24
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 460 of 503 PageID #: 18339


     [figures - foundational]                                                         Page 27

      figures 77:8 211:5       244:22,22 246:4         345:24 346:18       following 378:22
         211:13,21 327:4       338:8,8 342:9           355:9 361:16          379:5 382:24
         387:24                364:9 371:20            364:11 365:17,23      402:5 417:2
      file 106:24 107:1      finish 25:19 43:18        367:20 371:18       follows 26:6 53:24
         141:20                124:18 144:16           376:15 388:12         61:10 74:20 77:19
      filed 38:3,4 48:18       168:4                   389:5 390:4 393:7     123:12 133:11
         107:9 117:5 395:3   finished 44:5             395:16 402:24         177:7 219:18
         407:3 410:11          428:3,4                 403:1 414:14          261:9 267:4
      files 59:15            finite 404:10             418:5,8               274:21 307:1
      filing 171:5 271:23    fire 269:20            fisi 302:10,10           314:3 373:17
         344:8 406:24        firm 96:9 110:14       fit 25:15                389:4
         409:12 411:12       firmware 165:11        five 71:15 95:15       font 238:10
      fill 278:5 286:7         279:5 282:1,1,7,20      96:8,20 106:7       footnote 138:24
      final 20:24 31:21        282:23 283:15,17        112:21 115:14         139:2,3,16 154:11
         59:10 93:10           284:24                  116:5 135:19        foreign 145:14
         120:23 174:7        first 7:18 8:10           137:13 140:21,21      147:3
         181:11 370:21         17:8 24:1 29:3          185:13 188:7        forever 85:13
         430:21                39:1 45:1,3 53:11       223:17 364:5        forgotten 304:9
      finally 409:8            58:18 60:1 71:21     fixed 329:2            form 27:2 43:15
      financial 413:22         103:16 106:19,19     flag 356:5 431:10        72:15 76:14 339:5
      find 18:13 126:19        106:19 118:20        flagged 275:21           430:21 431:5
         143:17 151:16,17      119:3 122:4,15       flagrant 395:6         formally 379:4
         151:19 152:6          143:22 144:13        flashlight 234:17      formed 40:8
         168:19 186:24         147:11,20 156:4         235:3               formerly 374:15
         187:2 225:19          179:7 183:18         flat 54:22             forming 53:14
         235:13 249:20         197:3,3 200:11       flip 171:22 251:15     forth 128:18 363:9
         279:2 282:19          202:10,22 204:10        251:21 252:2,9      forward 79:3
         351:21 377:12         208:15 213:21           272:7 350:24          272:14 273:5,22
         378:22 381:20         225:15 249:1         floor 2:5 3:4            274:1
         394:1,6,9 401:13      251:13 257:24        flow 82:6              found 10:17 39:15
         401:14 405:22         258:18,18 259:13     focus 45:23 229:19       39:20 58:1 62:12
         408:6 413:10,13       267:3 272:4,12,16       272:2 280:19          85:5 108:17
         415:7,12 416:24       272:18 273:2            299:6 421:23          109:23 155:9,15
         426:23                276:23 277:22,24        429:13                312:5 317:8,17
      fine 8:13 9:3 12:9       284:10 285:24        focused 272:4            326:12,13 404:19
         16:19 20:11 22:15     286:4,11 288:19      focusing 276:23          404:21 405:3
         25:19 31:11 33:20     291:18 292:8         folder 60:1 288:1        408:21
         34:5 65:24 66:1       296:15 297:21,21     follow 15:23 34:23     foundation 23:13
         178:11,21 214:23      307:4,9,21 308:1        100:1 104:9           178:14
         220:24 224:2          317:16 327:13           161:14 174:7        foundational
         233:5 244:7,9,10      329:11 341:3            381:1                 54:13 64:3

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 461 of 503 PageID #: 18340


     [four - glass]                                                                 Page 28

      four 62:14 70:16       function 71:24          127:16 138:2        gentlemen 34:9
        71:21 73:2,7,8,11      80:7,9 113:11,24      144:13,23 146:10      134:22 179:6
        114:11 136:5           114:5 206:1 238:7     158:7 162:4 184:8   getting 9:19 33:7,9
        174:10,20 176:6        243:10 284:10         190:23 215:1          74:22 95:10
        231:16 247:5,6,7       325:2 326:2 328:1     223:21 224:6          105:14 110:12
        417:18 421:6           328:3 341:7 343:6     226:4 238:24          222:13 366:8
      fourth 231:16            353:8 354:5 356:9     248:5 249:17          429:2
        343:2                  389:18                250:6,16 256:18     ghosh 341:6 410:8
      francisco 3:11         functional 111:15       258:23 260:10,17    give 20:24 22:9,20
      frankly 221:2            112:9,20 113:4,8      271:19 272:14         23:17,22 24:9,23
        246:4                  182:16                273:6,22 277:10       25:22 42:22 47:22
      fred 147:9             functionality 72:9      277:16 278:4          65:1,20 101:21
      free 10:12 13:3          256:6 357:10          281:14,22 282:23      106:18 134:11
        246:23 249:18          358:10                283:23 284:2,16       191:21,23 192:7
        324:15 380:3         functioned 279:24       285:3 286:16,22       193:6 198:8
      freeway 338:2          functioning 91:5        288:16 289:24         225:12,16 248:4
      freeze 179:24            294:17                293:18 320:6          285:16 370:2
      frequent 304:17        functions 111:15        332:5 352:17          371:11,12 373:13
      friday 25:18,18,21       111:16 112:8,9        384:7,20              374:9 379:24
      friend 429:16            113:8,9 332:11      garney's 13:13          381:21 382:13
      front 9:10 19:19         353:13 358:2,3        15:6 34:10 79:10      386:17 388:21
        21:22 22:1 44:17     fundamental             125:14 126:11         396:1 403:1
        120:22 121:7           358:22                142:9 249:10          407:24 415:16
        184:7 217:7          further 12:8            288:6,8,13 294:3      427:19 431:4,10
        228:19 229:1           223:10 262:2        gather 226:14         given 20:15,19
        248:10 319:3           363:21 369:15,17    gathered 98:16          233:11 240:16
        323:22 324:18        future 397:22         gb 145:23               243:14 246:10
        353:2                  410:1               gear 166:17             311:17 370:21
      frost 2:12                       g           gears 138:6             382:11 384:16
      fs 149:10                                      176:14 222:5          390:16 405:19
                             g 407:10
      fulfillment 286:9                            general 81:5            428:9 432:9
                             gap 278:5 286:7
      full 81:2 149:15                               144:10 351:8,12     gives 53:19 289:2
                             garney 4:4 13:22
        345:17,21 356:5                              351:14 357:14         325:11
                               15:22 23:3 26:24
        356:17,20 357:11                             393:22 419:10       giving 20:16 221:1
                               28:17 29:5,17
        358:11,13 359:11                           generally 305:1         290:23
                               31:4 34:12,21
        398:14,18 409:22                             323:3 346:20        glass 35:1 42:19
                               35:4 42:6 44:16
        410:10 411:13                                357:23                44:12 69:10,14
                               59:2 60:14 62:4
        412:11                                     generate 46:12          71:7 83:7,15 86:7
                               66:5 69:19 71:11
      fully 152:8,11                               generator 424:14        233:9,11 244:19
                               74:4 75:17 77:6
        407:2                                      genius 400:23           250:17 252:15
                               83:19 86:13 87:16
                                                                           253:1,9,22 256:15
                               87:19 94:20 106:4
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 462 of 503 PageID #: 18341


     [glass - guess]                                                                 Page 29

        258:9,17 259:15         206:6 209:19        47:22 48:3 56:20        395:18 431:18
        303:15 311:14           210:21 211:9        59:18 61:15,16          432:3
        313:12 336:17           212:10,13 213:2,4   62:9,12,21,22         google 429:16,18
        355:17                  214:5 215:7         75:11 79:8,10         gotten 99:4 228:20
      glued 198:12              217:11 237:18       91:12 92:22 97:1        358:11
      go 7:21 19:5 22:11        242:17 243:21       97:4 108:24 110:2     grab 224:6
        24:24 25:16 47:18       244:4,10,10,12      111:9 112:23          graduate 267:21
        52:15 62:20 77:14       250:19 256:16       115:2 120:2,3         grant 152:9 343:7
        77:16,21 79:2,15        262:10,15,23        121:2 124:1,2           426:10
        79:16 80:15,16,17       272:8,9 274:18,19   135:2 138:7 143:5     granted 155:1,20
        83:17 94:13 96:17       275:14 276:18,19    148:19 150:23         granting 396:3
        102:2 104:10            282:19 283:20,21    151:17,19 163:10        424:2
        105:10,24 106:18        283:21 284:13       177:19 178:13         graphics 229:19
        107:3 109:8,17          290:9,14 291:8      179:23,24 189:15        379:1,10
        110:20 112:18           293:1,18 313:18     190:3,6,6 207:14      grapple 318:12
        114:11,16 115:3         313:20,22 315:1     209:18 211:24         gray 2:11 16:21
        115:16 116:19           316:7 319:1         215:14 217:6            17:3 18:4,22 19:6
        117:15 118:18           326:20 327:2        225:8,19 226:6          430:10
        119:12 120:19           328:19 329:1,4,10   243:1 246:7           grayish 238:10
        124:24 125:11           329:14,22 330:2     248:12,13 250:7       great 16:23 21:20
        126:5,21 127:21         331:24 336:17       260:23 263:1            22:24 23:4 52:17
        128:18 130:5            337:23 338:5,7,8    264:2 265:6,6           145:24 190:12
        131:15,16 133:6         338:16 339:18       271:15 297:11           247:3 298:2
        135:5 136:9             350:23 373:7        305:3 306:8 307:7     greater 387:3
        142:22 144:12           374:10 427:21       308:12 309:22         greatest 387:14
        146:7,7 147:8           429:4,7,16 431:6,7  312:16 315:9,12       green 45:5 175:20
        148:2,8 149:21        goal 117:2            316:16,18 319:11      grew 267:19
        152:16 158:1          goes 8:4 14:18        320:20 337:6,20       ground 136:3
        162:17 168:8            46:13 47:24 48:1    342:3,5 347:12          172:7
        171:18 172:24           48:7,8 96:15        351:15,22 357:24      grounds 135:19,20
        175:11 176:12           139:19 291:7        357:24 371:3,23         135:24,24 136:5
        179:2 180:2             314:8 316:10        373:8,19 374:2,4,6    group 269:3,19
        183:14 184:4            335:5 371:8         413:4 427:24          groups 411:2
        186:6 188:16          going 9:22 11:17      428:5,7 431:7,8       grubert 2:9
        190:9,19,19             13:7,10 14:3 17:7 good 7:6,8,10           guess 7:18 14:2,5
        191:14 193:15           20:13,20 21:7       23:20 25:18 34:6        16:14 31:2 33:3
        194:10,19,22            22:4,5 23:2 24:9    34:21,22 56:3           53:11 57:16
        195:3,12 196:11         25:6 26:2 28:14     94:20,21 124:19         103:23 104:1
        197:15,23 198:24        28:17,19 31:7       137:3 190:2             119:5 128:12
        201:15 202:20           32:15 33:2,6        267:12 295:4,5          136:4 147:1,9
        203:11,12 204:7         34:10 37:9 40:9     364:2 369:23            148:17 168:19

                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 463 of 503 PageID #: 18342


     [guess - hold]                                                                 Page 30

        196:24 205:15        happened 140:10         383:2 428:5         hercules 3:4
        214:11 215:14          177:23 311:11       heard 17:13,15        hey 358:13
        228:16 240:12          315:13 316:20         24:3 25:6,8 37:20   hid 288:23 289:6
        304:10 306:15          428:16                39:10 49:20 90:11   high 42:23 43:6
        307:1 371:7          happening 338:11        123:8 130:17          148:9 227:6 250:7
      guessing 70:11           338:14                188:6 196:16          268:21 291:1
        106:24 185:1         happens 81:14           203:24 241:7,10       348:12 351:5
      guesswork 414:11         136:23 290:4          249:13 271:18,19      358:5
      guidance 412:18        happy 18:17 94:11       273:20 275:1        higher 378:13
      guide 57:3,4,7           225:7,11 311:10       277:3 322:11        highest 130:18
        375:11               hard 159:13             345:24 346:1,2        132:15 224:16
      gun 25:24                168:19 170:3          349:4 374:22        highlight 118:19
      guy 121:5                189:18 214:15         376:19 378:15         119:13 143:5
      guys 7:20 22:9           222:11 294:8          381:16 384:4          145:15 191:14
        78:12 340:20,21      hardware 70:1,7         385:7 386:8 392:9     197:24 206:14
        340:21 370:18          165:11 279:15         396:23 428:8          258:18 259:15
               h               281:17 283:8,12       429:19                327:22
                               285:2               hearing 222:11        highlighted 10:6
      h 5:2 6:1 266:23
                             harmless 243:19         356:7                 46:7 47:3 52:16
        407:14
                             hate 371:14           hearsay 26:16           121:8 290:20
      h2h 205:22
                             hbrl 189:20             28:1,8,16 30:16     highlighting 141:1
      half 95:15 124:12
                             head 35:7,8,15,16       32:18,20 54:5,11      247:19
        190:10
                               35:23 36:10,18,23     63:14,17 75:8,11    highlights 387:12
      halfway 52:15
                               200:21 201:6          122:17 123:14       highly 123:22
      hand 8:3 31:4,7
                               207:14,16 258:19      133:16                177:12 378:12
        37:9 69:15 126:20
                             headed 64:24          heavy 146:1           hindsight 400:10
        142:24 158:9,18
                             heading 119:14        held 26:5 48:3,9      hint 90:3
        159:12 180:6
                               354:6                 53:23 61:9 74:19    hire 305:2,3
        218:12 220:10,21
                             heads 24:17             77:18 123:11        hired 97:10
        248:3 280:20
                               369:24                133:10 140:11         186:16 301:22
        307:8 321:6
                             hear 20:2 21:9,10       177:6 219:17          304:18,24 305:13
        355:18 371:5
                               21:11,18 22:2         261:8 274:20          305:16 312:7
        394:9 405:12
                               26:8,10 27:8 33:5     314:2 315:18        hiring 304:7
        432:11
                               64:20 65:4 96:14    help 115:3 128:7      history 10:10
      handed 12:16
                               188:4 213:21          186:17 261:1          107:1 152:1
        153:18
                               214:21 284:15,19      268:1 271:1 303:5     183:16 184:10
      handing 53:4 88:4
                               298:23 302:12         386:2                 185:4 193:7,8
      handled 9:24
                               306:16 329:17       helping 111:19          279:4 290:12
      hang 26:4 114:17
                               333:9 352:17        helps 190:24          hoarse 222:13
        338:7
                               370:24 373:14         408:15              hold 23:17 43:15
      happen 24:7,9
                               379:14,17,19                                43:19 44:8 45:17
        80:20 351:18
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 464 of 503 PageID #: 18343


     [hold - ideas]                                                                 Page 31

       54:3 72:15 81:13       231:3,8,24 232:17   104:22 105:1,3           363:3,4,15
       82:6,9,9 139:1         234:14 235:4,16     189:13 197:7           hot 266:13
       175:24 177:13          237:10 238:15       207:13,22 285:9        hour 95:16,20
       240:20 263:3           241:16 242:20       289:9,18 291:4,5,6       124:12 190:10
       333:5,12 339:24        245:7 247:22        324:23 325:1,23          295:23
       343:8,14 353:15        248:7,18 251:5      325:24 329:6,16        hours 95:22 96:2,3
       354:1 357:10           261:4 263:20        329:19 330:11            160:16,21,24
       358:24 359:6,11        265:9,13 266:8,16   332:15,21 333:6        house 186:2
      holder 421:24           266:18 270:17       333:13 336:10          housekeeping 7:19
       422:8                  274:18 280:2,13     337:7 339:2,5            16:15 372:7
      holding 250:21          296:11 298:4        341:8 343:5,7,8,9      huawei 302:10,14
       347:9                  303:11 306:13       347:12 352:9           hub 35:4,13 71:23
      home 21:13 24:19        314:1,4,23 331:22   358:12,13 360:7          75:22 100:6 150:1
       58:18 95:21 429:8      344:10 346:2        360:13 362:2,5           197:6 200:22
      honed 233:2             355:13 364:1,6      363:2,2,13,13,16         202:24 203:4
      honest 136:19           366:22 369:16       363:16 365:4,4,6,6       205:5,24 216:6,6
       179:14 232:4           370:13 372:17       365:11,13,24             258:20 284:18
      honor 7:9,11 8:11       430:9 431:2,16      366:10 389:6,19          309:5,9 352:6,23
       9:8,17 10:5 12:13     honor's 23:12       host's 333:5,12           353:5,23 354:5,14
       13:9 16:4,11 17:3     honorable 1:20      hosts 43:2,8,13           374:18 393:14
       20:14 22:14,17         7:5                 45:7,8,9,10 46:12        415:21 416:7
       23:2,9 26:12          hooked 207:16,20     47:6,13,15,20 49:9       417:1 419:1
       33:11 34:1 53:22      hope 90:10 122:10    50:24 73:7 76:23       hubs 150:15
       61:8 66:19 69:8        138:4               81:3,9 84:3,14,15        416:15
       74:18,21 75:9         hopefully 50:5       85:17,20,23 86:18      huh 188:23
       77:15 78:7 79:4        429:24              86:22 91:9,14          hundreds 102:17
       88:16 94:8 96:13      hoping 211:18        100:5 102:8              269:9
       101:21 122:17         hopkins 123:6,7      105:18 125:19          hypothetical
       123:10 131:13,23      host 35:20 36:4,7    277:9 287:10,14          399:1,2 421:18,21
       133:2,7,12,14          43:12,16,17,22      287:21 289:13,17         421:23 422:5,18
       137:2,24 163:8         44:2,9 45:3,5       289:21 290:2             424:7 426:21
       168:2,7 177:3          47:22 48:8 73:6,9   291:15,20 325:3        hypothetically
       178:17,20 179:13       73:14,19,22 74:1,2  326:2,10 328:1           414:21
       190:1 197:17,20        76:5 80:15 82:19    329:11 330:5                     i
       199:13 202:7           83:2 84:5 87:14     331:5 334:1,5,12
                                                                         i.m. 2:4
       215:10 216:23          89:22,22 90:1,1,4   336:20 337:19
                                                                         ice 96:16
       217:3,9 219:9,14       90:4,11,11,18,18    342:5 347:19
                                                                         idea 254:5 323:10
       220:8,20 221:16        90:23 91:1 92:2,2   348:14 349:24
                                                                           335:14 339:1
       223:11 224:12          92:10,10,11,17      350:14,17 358:7
                                                                           340:5 358:23
       225:6 226:2            93:3,3,6 100:7      358:19 360:20
                                                                         ideas 27:9
       227:14 229:4,12        101:8,10,16 102:8   361:5,14 362:9,15

                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 465 of 503 PageID #: 18344


     [identical - industry]                                                          Page 32

      identical 139:17        impact 318:14        inappropriate           121:9 158:22
         154:11 192:24          403:18 418:18        413:9                 159:9 315:3 390:5
         303:3                impeach 215:13       inclination 190:5       390:6,7,9,12,14
      identically 399:17      impeachment          include 136:5           394:2,5
      identification            215:10 319:23        145:20 395:8        independently
         56:21 60:10,12,17    implement 82:2         406:7 412:12          47:15 396:10
         152:23 153:2,16        92:1 186:11        included 55:6 87:3    index 353:12
         153:19 173:17        implementation         125:5 210:13,15     indicate 29:9,12
         296:3 297:12,17        210:12 269:11,14     210:17 212:3          55:14 111:14
         302:2,5,8 321:7,10   implemented            215:19 409:19         112:8 157:14
         372:10                 198:23               416:6 418:24          283:9
      identified 49:17        implication          includes 104:23       indicated 366:24
         71:22 143:13,15        272:20               141:24 145:6          432:5
         144:8 156:24         implications 273:8     192:14 202:23       indicates 113:7
         160:8 187:20         implicit 14:5          203:3 212:11,17       157:21 166:17
         194:15 207:24          221:6                212:18 273:11,17      242:18 279:21
         211:1 265:22         implicitly 82:1        292:21 391:24         288:13 289:23
         266:5 330:22         implied 367:8          392:4 394:16        indicating 180:13
         333:17,23 349:23     implies 129:22         401:20              indication 53:20
      identifies 158:17       imply 247:9 369:9    including 18:23         81:10 163:4
         257:15               importance             28:6 145:21 256:4     165:23 180:24
      identify 85:3             386:24 387:4,9       268:13 305:18         253:16 279:9,12
         156:16 297:3         important 98:5         311:3,5 312:5       indications 53:17
         402:8                  104:24 113:12        382:24 384:22         151:10 157:23
      identifying 293:7         118:7 175:14         386:1 399:12          161:24 165:15
      ignore 380:21             181:12 209:11,12     404:19,23 415:8       283:4
         389:1                  235:18 257:17        415:17 422:15       indicator 56:3
      illustrate 77:9           278:15 293:6       incomplete 181:10       70:8
         84:17 232:20           374:8 383:24         187:1               indicators 57:20
         386:2,13               387:21 416:18      inconsistent            70:15 93:24
      illustration 80:19        419:8                320:10              indicia 23:14
      illustrative 44:22      imported 393:3       incorporated 1:5        26:14 166:16,16
         386:4                importing 320:1        374:14                167:6,16 406:1,3,6
      image 239:13            imprinted 69:20      incorporates            407:20 408:6
      imagine 349:21          improper 215:10        390:22              individual 316:10
      immediacy 114:21          380:18             incorrect 195:5         387:6
         114:23 115:8         improve 50:19        increased 426:16      individually 388:6
         116:11                 76:10 77:12        indefiniteness        individuals 384:14
      immediately             improvements           12:21               industry 146:17
         339:23                 391:24 392:8       independent 47:7        268:20 279:14
                                425:18               47:7 80:1,13 83:2     298:21 299:2,6,21

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 466 of 503 PageID #: 18345


     [industry - interface]                                                          Page 33

        299:24                  415:12 417:17       initially 126:11      instructions 16:16
      inferences 404:23         422:6                 374:18                17:2,22 20:24
      influence 308:4         infringement          innovation 360:18       21:17 24:10 370:2
        379:20                  34:24 94:24 95:1    input 103:15            370:22 371:5
      influenced 380:13         97:17 209:24          337:6                 373:4,19 375:11
        380:19                  305:22 306:2        inquiring 316:20        376:10 405:20
      inform 52:8 57:12         307:14 308:5,24     inquiry 124:6           415:17 427:18,20
        65:9 66:7,8,13,15       309:3 347:18        ins 128:11 269:5        428:9
        67:3 68:2 75:18         362:15,19 374:19    inside 167:15         integrated 192:10
        75:20 151:9             375:21 376:6,22       249:21 282:2          194:1
        257:23                  376:23,24 377:9       337:12              intel 165:16
      information 11:10         377:15,17 378:3     insides 68:23           171:11 269:15
        27:1 28:18 57:19        388:14 390:10         226:23              intellectual 85:11
        85:19 86:21 98:1        391:13,15,18,20     inspect 246:23        intelligent 304:13
        98:6,10,15,16,17        391:21 392:14,16      249:19 296:22       intended 90:15
        98:20 99:1,3,11         392:19,23 393:24    inspected 71:1          111:12 112:6
        107:17 152:8,12         394:4,22,23           282:22                113:5 138:6 249:3
        164:12 174:21           395:22,24 396:3     inspection 71:2         264:21 265:2,3
        194:8 210:9 211:4       413:19,23 414:18      227:1,24 229:8        387:23
        211:6 212:21            416:2,4,17 417:22     232:8               intentionally
        242:23 243:11           420:10,15 421:10    installation 57:3,3     395:10
        260:14 279:4            421:20 423:7          57:7                inter 39:7 97:8
        281:20 282:4            426:1,22            instances 386:11        116:24 302:10,14
        284:4 287:17          infringer 396:18      instruct 21:12        interact 58:4
        336:21 355:4            413:20 421:19         246:15 249:9          304:12
        360:1 384:11            422:1,9               370:24 388:20       interconnect 81:3
        386:13 411:10,23      infringer's 419:11      391:8 398:21        interconnecting
      informative 27:20       infringes 306:5         413:4                 268:24
      informed 55:8             375:3,6 376:20      instructed 22:5       interconnection
        65:23 152:8,11          391:17 392:3,22       61:12 240:15          81:1
      informs 65:16             393:15,19 415:22      370:17 380:23       interest 56:1 88:22
      infringe 393:21         infringing 395:18       386:21 393:9          383:9
        395:14 415:10           414:24 415:6          402:21              interested 51:2
        419:17                  416:21 417:8        instructing 413:5       91:19 304:7
      infringed 375:15          418:14,16 419:9     instruction 18:21       351:15 432:10
        375:18 376:3            419:12 420:5,7        19:4 22:10 24:23    interesting 113:10
        377:13 378:1,5          421:12 423:2          28:16,21 134:11       150:1
        388:23 391:11           427:7,11              178:5,20 245:20     interface 73:10
        392:6,18 393:6        initial 62:3 268:19     371:12 381:1          76:3,3 79:22 84:2
        394:3,6,8,10,15,20      304:21                405:21 413:8          84:4,13,15,22
        395:2 413:12,14                                                     186:13 257:20

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 467 of 503 PageID #: 18346


     [interface - issued]                                                            Page 34

        360:6,12,14           132:11 140:12          405:6,8,11 406:8     ip 186:12,12
      interfaces 186:12       163:1 273:23,24        406:10,14,17,18        210:10
        332:24 351:7          293:11                 407:5,7,9,11,13,18   ipad 235:11
      interference 36:2     invalidated 136:16       407:24 408:24        iphone 35:18,21
      interleaving 339:2      311:3 314:17,21        409:5,11,13,17,22      35:23 36:8,10,19
        339:4,14 343:6        321:24 322:3,4         410:3,10 411:11        36:22 207:12,20
        347:8                 323:16 328:14,15       411:13,14,22           213:24
      internal 170:14,17    invalidates 119:18       412:3,4,10,12,21     iphone's 214:10
        170:21 285:17         119:22 140:1           414:22 417:6         ipr 41:9 97:5,6,8
        343:4 356:4           142:16 156:7           418:11 419:8,13        104:2 107:10
      internally 269:17       272:23 282:18          422:15 424:1,2,14      108:18 109:24
      internet 278:6,10     invalidating 95:14       425:4,5,7,13,16        116:20 119:4,17
      interpreted             165:24                 426:7 427:1,9,15       128:18 132:12
        263:22              invalidity 49:15       invention's 407:1        135:8,11 140:7
      interrupt 28:12         94:23 95:24          inventions 395:11        309:23 396:24
      interruption 66:24      232:14 267:24          401:5 425:13         ironic 103:20
      intimated 116:8         273:3 288:7 309:1    inventor 110:14        irrelevant 385:15
      intimately 147:16       318:1,2 396:2,12       141:16,19,20           391:18
      introduce 33:2,4        398:22,23              143:20 146:13        ish 330:6
        33:22 34:1 64:19    invented 345:14          344:7 345:14         issue 7:24 8:10
        267:17                345:15 407:17          399:18 403:5,10        12:14 17:1,11
      introduced 42:8         408:16                 407:14 409:7,11        18:5 20:13,18
        58:14 74:8 88:7     invention 43:1,11        409:21 424:10          26:1 27:18 33:19
        182:8 183:1           45:6 47:9,10         inventors 89:24          97:17 98:2 145:8
        196:20 199:3          59:11 77:1 80:2        91:18 143:14           223:24 224:12
        201:21 280:8          89:11 90:1 91:13       346:8 400:13           225:18,23 234:15
        354:19 399:11         91:21 100:3,16,17      409:11 410:9           248:10 261:24
      invalid 37:18 39:3      100:19 112:12        investigated 232:6       276:5 278:18
        39:20 40:16 41:10     323:7 335:13           247:24 248:2           288:24 315:16
        41:23 107:21          337:12,15 342:12     investigation            336:19 374:20
        154:14 292:12,13      342:20,22 343:21       162:23 175:15          377:14 390:4
        312:6 314:16          345:5,18,19,22       involved 92:17           392:12 394:22
        375:7 376:1 378:6     346:19 349:15          135:13 186:2           400:20 401:12
        378:8 388:16,23       387:24 388:2           207:7,11 270:4         406:24 408:2
        395:15 396:16         397:13,15,19           320:18                 410:19,24 413:7
        397:10 398:1          398:19 399:4,7,8     involvement              413:21
        399:23 400:3          399:16,19,21           207:10               issued 132:17
        408:8 409:2 411:4     400:5,7,8,18,20,21   involves 412:15          145:6 155:21
        411:17 413:11         401:3,9 402:13,22    involving 76:22          223:7 300:23
      invalidate 39:16        403:8,19,23 404:2      309:15 367:21          323:20,23
        95:23 127:5           404:15,16 405:4,5

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 468 of 503 PageID #: 18347


     [issues - know]                                                                  Page 35

      issues 7:16 8:4           128:1,14,19 129:5      371:4,8,10 372:7     16:24 20:14,20
         133:13 226:15          129:9,13,20            372:21,22 373:21     21:11 22:1,22
         248:14 249:4           130:22,23 131:10       385:22 427:21        24:7,12,19 25:15
         315:4 375:10           131:18 132:2,3,15      430:4,15 431:6,8     26:7 29:18 31:10
         376:10 387:17          373:22 382:18        justification          32:22 33:19,20
      issuing 323:13          judgment 124:3           288:20               39:19 41:14 51:5
         396:8                  136:14               juxtaposed 11:20       54:4,21 55:13
      item 341:10,15,24       july 17:9 416:9                  k            59:16,19 61:22
         342:8 380:23           420:24                                      62:24 64:17 76:21
                                                     kanai 144:22
      items 424:15            jump 271:4,7                                  77:24 79:20 81:11
                                                     keep 45:20 75:13
      ivan 384:5              jumped 25:24                                  85:2 90:16 91:1
                                                       108:10 112:23
                 j            juror 95:9 375:1                              92:24 99:11
                                                       121:2 137:6 170:3
                              jurors 383:20                                 100:20 101:3
      j 1:17 3:9 266:23                                189:14 190:3,5
                                386:23 387:8                                102:20 107:15
      japan 145:24                                     211:24 267:14
                              jury 1:12 4:15                                109:10,11 110:5
      japanese 118:23                                  356:7 411:20
                                7:14 11:18 16:16                            121:22,23,24
         127:13 136:2                                keeping 294:21
                                17:13,22 18:2,11                            122:1,8 123:20
      jgray 2:16                                     keller 2:3
                                19:19 20:21,22                              124:11,22 126:3
      jli 3:14                                       key 277:9 298:23
                                21:6,12,17,23 22:1                          128:10 129:22
      job 282:19 416:14                              keyboard 153:23
                                22:2,8,9 23:15,18                           130:14 131:18
         432:18                                      kim 144:22
                                25:1,13 26:8                                136:19 140:23
      john 2:3 4:4,9                                 kin 432:9
                                27:19 28:1,19                               142:1 143:19
         266:19,23 267:2                             kind 18:2 23:23,24
                                33:7 40:9 61:21                             146:22 148:4
         267:19 302:3                                  40:23 48:16 51:8
                                64:20 78:21                                 150:5 151:18,22
         384:6,6                                       53:13 63:10 80:19
                                123:20 124:2                                155:16 159:1,6
      johnlevyexpert.c...                              82:6 104:18 116:8
                                134:11 137:9,17                             160:2,4 161:3,5,7
         297:9                                         122:2 159:13
                                137:18 163:11                               161:11,15,20
      johns 123:6,7                                    160:18 172:7
                                168:5 179:23                                162:14,16 163:1
      jones 250:7,16                                   198:5 304:9 340:1
                                211:21 217:7                                165:20,21 169:9
         256:11,14                                     377:21
                                220:18 223:18                               171:4 173:10,13
      joseph 2:11                                    kinds 85:11 382:9
                                228:19,20 229:1                             175:23 176:1,4,5,6
      joshua 1:20 7:5                                  423:7
                                232:18 233:1,13                             178:12 180:7,10
      joyce 3:10                                     king 1:17
                                234:23 235:18                               184:1,22,24
      jshaw 2:7                                      knapen 310:17
                                236:6 239:24                                185:24 187:6,14
      judge 1:20 95:7,8                                312:7,13,21
                                240:11,15 245:3                             187:18 190:11,14
         125:2 134:5                                 knapen's 310:21
                                245:21 246:15,18                            190:16,17 191:23
         294:22 373:23                               knew 70:6 122:5
                                248:11,20,21                                192:17 199:8
         400:23                                        123:3 232:11
                                249:1 267:18                                204:1,24 209:12
      judges 121:9,14,21                               318:11 391:16
                                281:12 318:1                                216:1 219:3,20
         121:22 123:19                               knocking 320:2
                                319:3 328:10                                220:15 221:1,10
         124:3 125:3,10                              know 12:4 14:12
                                370:8,12,17,20,24                           221:24 224:3
         126:1,8 127:2                                 15:14,24 16:3,17
                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 469 of 503 PageID #: 18348


     [know - light]                                                                  Page 36

       225:19,24 226:6       korea 146:1           lawyers 24:3 26:2     legitimate 15:15
       230:13 233:8,16       kvm 153:23              110:18 122:1,4      legs 370:7
       235:12 236:20                  l              123:21 128:5        leidesdorff 3:11
       243:16,17 247:15                              191:21 249:5        level 42:23 43:6
                             l 266:24
       247:16 254:3,7,10                             295:9 304:18,24        203:8 301:6 308:9
                             label 29:13 170:8
       254:14,19,21                                  305:2,12,15,18         308:15 348:12
                               208:2
       255:1,11,22 257:8                             374:22 379:8,12        351:6,8 358:5
                             labeled 71:16
       260:21 278:11,23                              380:15 385:2,5         399:6,9 402:11
                               167:19 176:20
       281:2 283:24                                  428:6,16               405:20
                               190:14 191:7
       294:20 307:24                               lay 23:13 177:19      levels 399:13
                               192:18 260:2
       309:1,8 319:1,18                              178:13              levy 4:9 8:5 9:9
                             labeling 275:6
       319:21 320:9                                layperson 400:22         10:11 12:15 23:3
                             lack 408:11 411:4
       323:12 345:17                               lays 17:5                232:5 266:19,23
                             lacks 409:1
       347:17 348:2                                lead 252:7               267:2,12,19
                             ladies 34:9 134:22
       358:8,14 383:2                              leads 252:7 377:4        270:18,24 273:19
                               179:6
       390:11 411:24                                 380:2                  276:22 278:15
                             laid 16:3 343:20
       420:3 427:23                                learned 395:16           280:5,22 282:9
                             landscape 118:14
       430:12 431:12                               leave 19:4 224:4,5       285:20 290:11
                             lane 334:22 335:1
      knowing 172:15                                 371:4                  291:11 293:5
                               338:22 361:15,18
      knowledge 41:21                              leaving 354:4            294:19 295:4
                             language 20:15
       109:14 158:23                               lecturer 269:24          302:3 314:6
                               45:11,14 114:5
       159:9 165:9,16                              led 269:14               317:18,20,23
                               187:10 220:7
       234:21 391:19                               left 35:7 69:15          319:6 321:2,13
                               286:19 289:14
       395:1 404:4,22                                180:6 189:7            364:18 366:24
                               311:21 393:8
       410:20                                        207:15 211:24          384:6,20
                             large 242:12
      knowledgeable                                  218:12,24 230:21    levy's 372:12
                             largely 205:23
       367:8                                         231:13 237:1,2,4    li 3:10 242:9,12
                             laser 71:14 78:20
      known 59:12,14                                 237:24 238:3,21     license 422:7,10
                             late 366:8
       90:12 271:22                                  239:13 269:3           423:18 424:18
                             law 23:14 24:10
       349:19 359:2                                  280:20 303:17          426:5,10
                               24:12,13 27:3
       374:16 376:13                                 327:8 396:14        licensee 425:23
                               40:12 96:9 345:3
       397:17 400:14                               legal 1:23 41:15         426:4
                               370:3 373:23
       404:1,8,10,12                                 55:13 103:15        licenses 424:2
                               374:2 382:10
       405:5,12,15 407:2                             110:14 121:5        licensing 423:11
                               388:18 396:6
       411:15 412:15                                 128:6,10 146:22        424:1
                               427:18
       423:6                                         247:16 366:20       licensor 425:23
                             lawsuit 203:20
      knows 22:19 23:2                               376:11              lid 171:20
                               395:3
       44:1 92:24 284:16                           legally 108:19        life 424:17
                             lawyer 95:5,6
       381:14                                        131:8               light 38:20 41:11
                               123:3 129:2
      koehler 372:20                               legend 252:18            234:16 340:1,20
                               311:20 380:6,8,10
                                                                            343:13 377:3
                               380:11
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 470 of 503 PageID #: 18349


     [light - looks]                                                                  Page 37

         379:23 383:15,16        298:5,7,13,14,16      198:13 215:3,20       252:20 253:17,23
         387:4 390:15            298:17 301:22         216:4,11 217:21       255:4,16 258:9
         406:2 428:8,10          305:7,9,12,15         218:9,22 219:7        259:10 263:4
      lighting 234:15            309:23 387:12       logical 20:3 21:6       264:8,10 281:21
         238:14,17            listed 51:16 110:3       64:24                 281:24 290:21
      lights 339:19              143:13 194:6,24     logically 373:18        293:14 296:3
         361:12 368:4            210:20 241:19       logo 246:19             303:2,21 306:2
      likewise 213:18,22      listen 373:12          long 24:16 65:10        307:7 309:5 310:2
      limine 315:22           listings 282:7           66:16 67:4 90:12      313:12 318:3,5
      limit 13:10 18:23       lists 159:16 185:21      95:13 112:1 190:6     326:15 327:3,20
         316:10                  199:23 200:2          218:3 267:13,14       328:8 332:8
      limitation 324:5        litigation 185:9         269:4 356:11          333:16 341:1
         408:20                  305:7,10              364:3 371:18          342:10,15 348:23
      limitations 277:5       little 17:11 47:16       392:3 406:15          350:5 353:1
         315:18 365:17           85:1 99:20 103:5    longer 46:8 47:3        354:17,23 355:1,8
      limited 11:10              109:4 112:1           249:3                 357:6 361:22,23
         380:24 395:9            126:13 148:6        longwinded 174:1        403:9 405:9 431:4
         399:12                  152:16 176:23       look 16:2 35:6          431:8
      limiting 28:16,21          188:23 189:18         40:18,23 41:13,19   looked 28:5,10
         389:7                   222:5,11 223:3,6      42:3 44:13 50:18      29:5,17 31:12
      limits 315:4               231:15 240:2          51:22 56:23 58:9      54:5 60:7 61:5
         316:11                  242:14 243:18         59:4,19,20 60:20      63:5 68:11 93:12
      line 30:21 65:24           249:3 250:9 252:4     60:21 67:15 68:17     118:17 119:6,7
         65:24 74:22             252:8 268:4,16        69:13 76:11 83:8      145:2 155:4
         133:23 135:1            277:2 284:13          85:15 86:8 101:11     157:20 187:4
         166:4,9 174:7           308:7 319:13          108:11 112:17         195:13 256:19
         213:5,9,10 218:18       320:3 330:3 331:7     115:12 120:18         290:17 310:6
         219:22 258:18           340:19 342:7          121:1,4 122:12        322:13,21 334:4
         307:10,12,12,16         343:12,14 348:10      125:9 132:21          362:17
         307:18 308:13           352:2 365:22          138:24 143:16       looking 14:11 35:4
         312:18 424:9            374:7 428:2           145:16 155:3          50:22 55:5 70:14
      lines 112:21            living 269:21            170:13,17 173:21      76:10,15 82:16
         114:11 162:5         llc 1:8 374:15,16        174:6 175:15          119:6 132:19,20
         174:10,21 218:19        374:17                185:16 195:17         138:10 168:21
         239:12,17            llp 2:3                  208:15 212:10         169:2 230:18
      linksys 30:7 32:4,6     loads 201:6,10           216:17 220:2,3        231:6,10 235:13
         59:14                local 261:21             224:15 225:16,20      244:20 270:2
      list 142:10 152:17         262:20,24 269:11      225:22 233:1,3,7      277:6 283:2
         188:18 189:5         logic 45:15 46:14        233:17,20 238:6,9     429:17
         192:1,3 195:10,12       186:12 189:19,20      243:8,13 246:3      looks 103:20
         202:14 237:16           191:6 195:19,20       249:20 252:3,15       168:12 172:4

                                         Veritext Legal Solutions
                       215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 471 of 503 PageID #: 18350


     [looks - mean]                                                                 Page 38

        183:6,20 184:14      main 341:17           maps 29:9 44:18        310:1 420:3
        185:17 196:24        maintain 86:19        march 414:22          mathematical
        202:12                423:23                421:22                414:7
      loose 243:18           maintaining           mark 56:20 254:8      matter 15:1 19:15
      loser 79:10             304:17 359:23         254:11 297:11         20:22 28:23 62:5
      loss 416:2             maintains 105:1        302:1 321:7           64:7,8,11,14 67:10
      lost 17:8 18:2,3,24     408:3                marked 5:4 53:5        67:11,13 98:2
        377:21 414:14,16     majority 8:12          60:12 88:4 152:23     222:16,22 271:8
        415:3,7,17,24         245:8 314:22          153:1,16,19           284:6,7 296:23
        416:8,12,20,23       making 10:11           173:17 204:4          315:12,14 320:19
        417:12 419:3          47:15 148:24          273:12 296:3          344:8 372:7 402:3
        420:9,15,18,23,23     149:3,5 209:10        297:16 302:4,8        402:17 405:11
        421:3,3,7             225:2 323:15          321:10 372:8,9,12     408:17 409:8
      lot 25:6,7 48:14        368:13 423:8         marker 84:18,24       matters 16:15
        75:12 79:9 93:7       428:16               market 1:24 2:5        123:24 386:24
        102:15 110:3         malicious 395:5        3:4 17:15,16         maturity 410:18
        117:20 143:6,9       man 320:1              203:7 297:7 404:6    max 174:8 245:4
        155:13 216:13        manner 340:6           406:12 417:24         246:19 247:14
        321:12 364:21         383:6 389:13          418:4,10 420:20       249:11
        367:23 427:23        manual 57:2,7,12       421:13 427:4         maxim 173:5
      lots 102:16 304:22      58:5 60:15 66:7      marketing 304:2        174:18 251:18,24
        311:20                350:19                417:10 420:14         253:17 254:19
      low 148:9 149:15       manuals 57:15,17       423:23 427:3         mcnamara 122:22
        227:11               manufacture           marketplace            125:2
      lower 47:2 69:15        170:8,13 241:6,10     418:18,19,21         mcu 189:7 205:7
      lu 144:22               241:13 420:4         marking 60:10          353:16 354:2
      luck 218:9              426:5                 71:12                mean 11:17 14:19
      lunch 21:7,9 190:2     manufactured          markings 30:3          15:14 19:13,23
        221:18 223:13,16      216:5,12 245:17       157:13,20 172:19      20:21,22 22:4
        225:17 226:7          423:21               master's 122:23        28:7,12 29:19
        232:6 276:3          manufacturer           123:5,22 268:8        40:17 45:22 49:21
      luncheon 226:9          53:20 172:11         material 53:21         52:13 59:13 61:20
      lunchtime 25:4         manufacturers          70:5 103:7,10         63:8 74:23 76:18
        429:3 430:1           55:12 159:21          122:3 127:18          90:22 96:15
      luxury 40:22            163:15 164:1          128:22 141:9          101:24 107:16
               m              171:15 254:24         146:11 187:6          114:5 118:15
                              268:12               materials 31:1         121:18 128:17
      machine 26:4 32:4
                             manufacturing          54:4 55:6,8,12,18     132:19 133:21
        32:6 59:13,21,24
                              165:16 417:10         55:22 56:5,24         134:3,7 154:19
        432:7
                              420:13 425:17         61:5 63:5 186:21      155:3 156:18
      magnifying 233:9
                                                    257:23 258:1          168:24 188:14
        233:11
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 472 of 503 PageID #: 18351


     [mean - missing]                                                            Page 39

       190:4 193:24         347:11 348:3        microchip 1:4         microchips 416:6
       205:16 208:6         350:20               17:6,14,24 18:13     microcontroller
       209:7 212:23        mechanisms            89:5 97:14 99:17      80:3 172:1 189:8
       213:13 216:13        339:13 343:11        250:22 265:16,21      279:7 282:3 285:1
       220:1 230:1,22       347:7                265:23 266:4,6,13     357:3 358:3
       231:20,21 232:12    media 429:18          266:19 267:23        microprocessor
       233:8,17 235:10     meet 271:16           309:2,16,20           358:2
       235:21 240:7,23      272:16 273:2         310:14,20 311:8,9    mid 1:23 137:5
       242:3,5 243:8        277:24 284:10        311:18 312:6         middle 10:6 46:23
       246:2,8 258:18       286:11 396:17        374:13 375:2,8,13     172:1 256:16
       263:7,8,13 264:2     412:5                375:17,19 376:2,5    mill 147:13
       264:23 281:10       meets 82:15           376:6,19,21          million 188:7,11
       298:9 304:4          272:24 394:12        377:16,20,24         millions 188:12
       315:12 316:8        members 249:1         378:2,3 390:10       mind 56:7 411:20
       323:12,15 335:1     memory 47:20          391:9,12 392:21       422:12 426:15
       343:22 388:18        62:9 195:15          392:23 394:24        mindful 319:20
       412:4                215:24 216:16        395:3 407:19         minimally 230:1
      meaning 377:18        218:5 269:1 383:5    413:16,18,21         minus 61:14
       388:20,21 389:23     386:20 387:7,13      414:1,5,6,13,17,20   minuses 290:23
       391:14 393:1,7,10    431:14               415:3,5,19,22,24     minute 22:21
      means 15:18 47:6     men 38:15             416:3,4,7,10,11,19    24:18 26:4 104:12
       131:7,9 144:8       mention 62:13         416:22 417:1,9,11     110:7 112:3
       145:1 153:23         390:12               417:13,16,18,21       114:17 124:20
       173:9 271:20        mentioned 41:4        417:23 418:1,2,4      137:13 139:5
       285:6 289:20         95:19 102:17         418:10,22 419:2       189:9 340:23
       292:9 334:22         138:9 143:12         420:8,12,16,18,18    minutes 26:1
       340:16 374:6         202:12 213:13        420:22 421:2,6,8      137:7 154:3
       380:11 382:19        234:24 268:6         421:15 423:11         190:10 221:23
       387:11 403:3         363:17 384:12        424:6,14 425:23       223:14 363:24
      meant 166:17         mere 56:10 410:2      426:17                364:5 369:24
       187:18 234:22       merely 62:16         microchip's 17:21      370:6,23 372:2
       413:19               65:14 111:14         18:23 49:14 89:1     misleading 9:6
      measure 415:15        112:7 113:7          98:14 100:2           11:23 64:16
      mechanical 49:23      403:20               251:10 253:4,24       177:12
       148:22,24 149:5     merging 338:1         255:5 265:16         misrepresenting
       155:24 351:2        merits 406:10         282:10,13,15          149:2
       374:7               met 84:10 85:21       305:18 310:11        missed 129:13
      mechanics 47:10       294:20 295:6         322:11 377:8          165:8 236:15
      mechanism 80:24       393:18               392:18 416:2         missing 40:1 48:17
       82:2,10,10 339:22   method 408:14         418:12 423:22         181:12 183:21
       342:4 343:4                                                     273:13 292:23,23

                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 473 of 503 PageID #: 18352


     [missing - network]                                                          Page 40

       293:4,4 333:23        21:5 22:3,7,14        91:14 97:13 100:4   necessary 32:23
      misstate 154:20        266:9 315:22          105:17 154:24         205:10 219:23
      mistake 323:13,15      370:14                269:1 334:12          284:3 332:23
      misunderstood         motions 266:15         348:14,14 349:11      412:14 420:3
       62:4                  370:18 371:1          360:15 389:12       need 19:9 20:17
      mixup 232:7           motivated 76:16      multiplexer             21:22 26:10,22
      mobilemedia 27:4       351:10 419:11         148:11                32:24 33:21 36:6
       27:9                 motivates 294:9      multiswitch 150:1       59:19 66:20 78:22
      mode 35:13            motivation 293:12             n              80:6 98:1 143:4
       207:13,22             293:20 294:7,13                             171:10 178:4,19
                                                 n 1:17 2:1,5 3:1,4
      model 52:22,24         294:16 404:14                               205:13 225:23
                                                   4:1 266:23
       60:6 68:12 69:16     motivations                                  233:10 241:4
                                                 nak 81:8,13 82:4,4
       69:20 70:6            404:18,21 405:2                             247:11 279:3
                                                   82:10 340:12
      modes 424:24          motive 383:10                                293:10,12,16
                                                   356:6,8 357:11
      modified 31:18        mouse 153:24                                 319:20 333:4,11
                                                   358:12,24 359:5
       32:8                 move 42:16 46:19                             338:2,10 342:3
                                                 naked 231:19
      modify 401:11          47:17 74:23 75:11                           343:3 359:1
                                                   232:24 233:7
      modifying 401:17       79:14 88:13,22                              370:11 371:7
                                                   234:3
      module 192:11,18       124:8,10 142:9                              387:17 388:12
                                                 naks 72:9,11,12
       194:1,3               149:9 150:18                                404:8,10 405:4,9
                                                   356:19
      moment 23:17           178:22 182:19                               406:15 408:22
                                                 name 57:5 101:12
       34:16 89:20 179:5     183:9 197:18                                411:22 413:12
                                                   147:18 252:6
       335:8                 199:10 202:3                                414:6 419:21
                                                   266:22 293:14
      monday 25:20           204:17 214:22                               421:4 428:18
                                                 named 38:15
      money 376:4            251:2 261:12                                430:7
                                                   122:15 158:17
       377:21,23 414:20      280:13                                    needed 98:15
                                                   403:10
      months 18:8,15        moving 75:13                                 420:17
                                                 names 268:14
       55:20 56:10,12,16     269:4,21                                  needing 100:5
                                                 narrow 65:3
       62:5,16,23 64:8,12   multi 84:5 101:8                           needs 22:2 46:16
                                                 national 269:24
       64:14 65:14,19        101:10,16 102:8                             165:17 219:20
                                                 native 81:14
       67:11                 104:22 105:1                                220:3 351:18
                                                 natively 47:12
      morning 7:6,8,10       150:15 324:23                               406:11
                                                 nature 404:5
       7:14,17 23:21         325:1,23,24 329:6                         negotiation 421:18
                                                   405:3 410:15
       34:11,21,22 94:20     329:16,19 341:8                             421:21,23 422:5
                                                   412:21 423:17
       94:21 137:5 181:3     349:24 350:14,15                            422:18 424:7
                                                   425:3
       249:10 370:4          350:17 362:2                                426:21
                                                 nearly 139:16
       371:19 373:7          365:11,13,24                              negotiations 422:3
                                                   154:11
       431:10                366:10 389:6                              neither 292:6
                                                 necessarily 33:21
      mother 230:23         multiple 43:2,3,4                            432:9
                                                   36:11,14 245:12
      motion 19:11,16        47:12,13 49:9                             network 269:11
                                                   361:17 401:4
       19:20 20:2,6,9,18     50:24 81:3,4

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 474 of 503 PageID #: 18353


     [neutral - offered]                                                           Page 41

      neutral 10:17         notice 32:12 46:7     objection 26:13       obvious 38:20,22
      never 8:19 109:12       47:1 136:4 183:19     42:17 58:23 69:7      41:2,11 49:2
        125:19 301:2          311:17 432:4          88:15 96:12           81:22 106:13
        316:8               noticed 19:24           101:20 122:16         154:17 235:14
      new 31:2 85:12        notify 108:22           123:9 124:6           246:12 259:23
        267:20 269:15       novel 268:23            131:12,22 132:5       397:18 398:7,11
        323:6 409:14        november 17:9           133:1,15 163:7        399:20 400:5,8,18
      news 146:18             175:22                168:1 182:20          400:21,24 401:14
      nexus 407:22          number 45:21            183:11 197:19         402:18,23 405:18
      nice 87:18 100:11       52:22,24 60:7         199:12 202:6          406:3
      nigel 323:20            68:12 69:16,20        214:18 215:9        obviously 14:3
      night 7:15 16:6         70:6 118:15           217:1,2 219:8         25:6 28:20 32:5
        431:18                144:21 150:5          228:11 233:19         83:9 142:13
      nightmares              159:16 160:9          251:4 270:20          154:20 242:24
        106:10                202:19 218:18         280:15 296:10       obviousness
      noise 26:3,9 249:6      227:20 234:17         298:4 303:10          135:24 399:24
      non 34:24 146:11        244:17 254:15         306:13 316:19         400:1,3 401:4,23
        209:24 248:10         257:12,15 303:6       318:24 331:22         402:2,3,15 403:19
        402:3,15 417:8        311:3 312:5           344:10 355:11,12      404:17 406:5,22
        418:16 420:5,7        373:18 382:23         369:13 380:14,20      408:2,4
        421:12 423:18,19      383:21,23             380:21              occasions 160:15
        424:15 425:16       numbered 387:19       objections 134:2      occurred 391:15
      nonobvious            numbers 159:17          379:12 380:14,17      413:24 416:17
        402:19                159:22 176:6          430:23              occurs 360:24
      nonobviousness          177:10 188:6        objective 402:14      october 197:7
        403:19                224:15,18,21,24       405:24 406:1,3,6    odd 178:14
      normal 82:20 87:7       227:13 229:22         407:20 408:5        oems 18:10,14
        87:12 92:18 93:3      253:19 255:11,20    objectively 318:18    offense 160:20
        129:6 229:21          255:22 279:15       obligation 108:20     offer 9:22 13:4
      normally 426:19         282:1 283:4           380:16                58:21 69:5 296:9
      notary 1:22 432:3       305:13,16 384:3     obolsky 23:6            298:3 303:9 306:9
        432:13                       o            observations            317:21 347:15
      note 126:11                                   128:19                355:10 359:21
                            o 266:23
        174:19 251:14                             obtain 411:24           360:4,10
                            o'clock 24:20
      notebook 173:21                               426:5               offered 13:10 16:5
                              429:23 431:20
        174:1 182:23                              obtained 278:4          26:15 68:19 99:16
                            oath 34:13 104:5
        201:19 375:1                                406:23                161:16 314:24
                              385:3
      notes 124:13                                obtaining 410:2         315:2 317:18
                            object 380:10
        146:17 166:5                              obviate 30:16           319:6,14 320:15
                            objected 78:16
        373:5 386:19,23                           obviates 221:2          320:16 330:24
                              133:17
        387:5,7,10                                                        344:21,24 380:18

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 475 of 503 PageID #: 18354


     [offered - okay]                                                              Page 42

        386:2 393:2          201:16 228:1          120:20 121:6,12       201:2 202:8,16
      offering 15:2 39:2     244:22 248:6          121:20 122:5,9,11     203:10 204:3,13
        97:24 263:17         263:9 284:19          123:1 124:21          206:5 208:8,13
        298:10 319:15        294:4 366:12          128:24 130:4,13       211:8 212:5 213:2
        344:18 364:23        369:2                 130:21 131:3,11       213:17 214:17,19
      offers 380:7         ohio 267:20             133:19 134:7,17       215:16 216:21
      office 8:17,18 9:6   okay 8:2,9 9:7          135:22 136:8,22       217:17 218:17
        9:11,13,21 10:8,14   11:12 12:6,11         137:1,8,11,12         220:19 221:13
        11:22 12:5 37:23     13:20 16:8,20,21      138:5,14 139:6,13     222:1,20 223:10
        39:9,20 41:8         18:21 19:2 23:8       139:22 140:4,15       223:12,16,17
        51:12 97:2,17        26:4 28:13 29:22      141:3 143:11          225:4,24 228:15
        103:24 108:10,18     30:19,23 32:23        146:4,20 147:6        229:5,23 230:2,10
        108:22 109:2,24      35:11 37:2,7,15,19    148:1,17 149:7,14     231:6,17 232:22
        110:11 113:3         38:12 39:13,18        149:19 150:7,12       233:5,18 234:12
        115:13,23 116:7      40:5,13 42:2,11,12    150:17 151:8          235:5,7,13,15
        118:23 120:10        49:13 51:14 52:7      154:1,8 156:10,14     237:13 239:11,21
        123:20 128:15        53:3,8 54:9,24        156:22 157:4,18       240:6 242:7 243:3
        130:23 132:3         56:19 58:12,16,20     158:3,16,21           243:4,21 244:8,22
        141:21 142:2         58:24 59:23 60:5      159:23 160:5,12       246:4,17,17
        143:15 146:13        60:9 61:1 64:10       161:13 162:2,5,7      247:20 248:6
        150:24 151:14,17     66:12 67:7,14,19      162:19 163:23         249:22 251:6,12
        152:7 154:23         67:24 68:8,14,20      164:16 165:2          252:24 253:8,21
        155:8,14 274:5,14    69:12,17 70:17,24     166:1,24 167:13       254:6,13,17,22
        302:23 309:15,19     71:5,20 72:3,7,16     169:14,22 170:6       255:15 256:1,10
        310:6,12 311:2,11    74:6 75:24 76:7       170:10,20 171:8       256:21 257:1,5,11
        312:4,14 317:17      77:5 79:8 82:13       172:23 173:15         257:16 258:7,15
        321:3 322:13,21      83:6,14,23 84:9       174:2,11 175:1        260:4,21 261:5
        323:4,13 326:12      85:14 86:6 87:16      176:8 177:18          265:17 266:11,18
        326:13,18 327:11     87:18 89:3,9,13,18    179:12,21 180:11      266:20 267:16
        327:16 328:15        93:16,20 94:6         180:16 181:8          268:6 274:4,12
        333:17,23 369:4      97:9 98:4 99:14       182:4,21 183:2,9      276:11,14 280:9
        369:11 396:5,7,19    99:23,24 100:10       183:12,22 184:3       283:7,21 286:13
        397:6                100:23 101:2          185:7,15 186:22       286:20 287:16
      office's 40:7 228:1    103:22 104:17         186:23 187:8          288:2,11,16
      official 432:11        105:7,9,13,23         188:18 189:4          292:17 294:5,11
      oh 52:16 69:3          106:16 107:5,23       190:8,11 191:3,19     299:5,12 300:1
        102:24 106:6         109:15,21 110:19      192:2,13 193:3,14     303:1,8 304:1
        109:20 143:6,11      111:4,23 112:15       194:4,9 195:22        305:24 307:6,19
        144:4 148:23         114:10,16 115:11      196:10 197:21,22      308:6,22 309:12
        163:23 173:22        116:14,18,19,22       198:16 199:4,10       310:4,19 311:1
        182:2 198:20         118:2,11 120:9,16     199:18 200:8          312:3,9 313:6,24

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 476 of 503 PageID #: 18355


     [okay - overruled]                                                             Page 43

        318:21 321:18,22     open 88:11 157:11       306:4 317:24          400:17 428:18
        322:7 323:11         opening 30:20           318:11 319:6,14     ordered 160:7
        324:2 325:19           49:14 89:1 103:13     319:15 320:16,17      163:4,5 381:3
        328:7 329:3,21         138:8 322:8,9         334:7 344:19        ordinary 76:20
        331:2,10,17            345:23 373:19         347:10,15 359:21      79:20 81:19 85:2
        333:21 334:10,20     operable 40:2,11        360:4,10 361:20       86:1 389:23,23
        335:10,21 336:14       47:3 48:12,22         364:23 365:10,15      390:1 397:13
        337:18,22 338:4,4      82:17 86:19 287:8     365:24 366:10         398:17 399:1,2,6
        338:12,23 339:15       287:13,20 291:13      367:1,4 368:23        399:10,20 400:6
        339:16,20 340:22       291:19 331:4          384:7 422:15          400:19,24 401:8
        341:18 342:2,15        342:8 366:5           425:20                401:15 402:12,19
        343:18 344:2         operably 290:1        opinions 14:9 39:2      402:23 403:9,16
        345:7,11 346:14      operate 285:6           52:8 66:8 70:2        403:24 404:5,22
        346:23 347:5,16      operated 282:21         77:10 88:21 97:24     404:24 405:21
        348:1,9,17,22        operates 87:24          98:11 99:16           407:11 409:5,20
        350:1,2,3,22 351:4   operating 35:13         128:19 268:2          410:7 411:11,21
        351:13,19 352:1,8      67:22 68:4,5          284:6 306:8,10,11     411:23 412:2,9
        354:16 357:18          207:12                306:20 308:2,4,24   oriented 139:5
        359:16 360:3,14      operation 139:17        309:1 312:12,13     origin 241:2
        360:17 361:1,7         154:11 284:4          312:20 315:3        original 132:16
        362:12,20 365:2,9    operational             317:18,22 318:15      243:12 288:6
        366:16 368:22          200:12 259:13         322:17 330:19       originally 323:23
        369:3,8 370:17       operations 125:17       347:23 348:7        ought 11:24 12:2
        371:1 372:16         opine 13:7,17           362:18 363:9        outcome 270:15
        373:1,16 374:9       opined 319:22           384:5,10,11,14,19     383:9 432:10
        427:22 428:4,11      opining 320:22        opportunity 65:1      outline 387:11
        429:1,21 430:16      opinion 12:15,23        177:9 383:1         output 269:6
      old 193:16 289:7         13:5,13 14:6 15:2   opposed 363:3,14      outs 128:11
        424:24                 15:6 17:20 27:2     opposing 9:23         outside 314:5
      older 359:18,19          29:7 34:24 38:9     opposite 377:7          336:7,11 379:15
      omitted 293:5            41:3 49:15 53:14    optical 32:16 33:7      379:19 382:1
      once 136:23              65:9,17,23 75:18      33:10               overall 96:1
        160:22 237:9           75:20 78:3 82:14    option 202:22         overcame 324:14
        263:13,19 356:22       89:23 128:9 131:4     404:12                324:22 325:17
        357:12 431:8           256:5,9 257:18,23   oral 19:15 20:6       overcome 335:24
      ones 144:5 155:9         259:3,21 272:11       21:22 266:9,15        347:3
        155:14,16 210:6        272:15 277:20,24    order 7:21 17:5       overruled 101:23
        212:2 227:22           284:7,20 285:23       20:1 35:10 135:2      303:13 306:14
        231:13,17 232:5        286:1 287:11,18       165:18 279:2,17       331:23 344:12
        278:24 351:7           291:12,16,17          350:24 388:13         380:22
                               292:2 294:12          392:22 399:18

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 477 of 503 PageID #: 18356


     [oversight - patent]                                                          Page 44

      oversight 228:11       174:3,4,7 176:23     paragraphs             426:6 428:15
        310:2                183:15 184:5          125:14 387:19        particularly 64:22
      overview 22:20,21      186:6 190:19         parallel 269:4         209:14 290:8
        23:22,23 25:23       193:8 194:11,19      paraphrased            298:10
        42:22                195:3 197:3,15,23     221:11               parties 24:22
      owe 415:11             199:17,19 202:10     pardon 46:2            296:21 373:24
      owner 311:17           204:8 206:6          part 10:9,10 31:13     374:5 377:7 379:4
        341:12 421:19        208:10 209:20         31:15 33:23 46:7      379:8 385:2,14
      ownership 392:13       214:3 215:8           47:2 73:16 82:6       421:20 422:4,7
        392:15               216:22 218:17         82:20 85:4 89:24      423:6 428:10
               p             251:13 252:15         93:1,2 103:16        partly 76:18
                             258:17 259:10         113:11 114:3         partners 420:13
      p 2:1,1 3:1,1
                             288:15,16 290:8,9     118:20 121:1,4       parts 73:12,13
      p.m. 226:10,12
                             290:15 296:15         128:17,21 129:6       76:23 172:6
        370:9 372:4
                             297:21,22 307:9       146:15 159:16,17      251:22 279:19
        431:20
                             307:11,15,16          159:18,18,22          293:15
      p.o. 3:5
                             308:13 312:17         160:2,9 161:3,15     party 376:23
      package 55:22
                             324:19 326:16         183:20 189:12         377:5 378:6 413:6
        157:20 251:16
                             327:21 341:2          200:6,24 205:2        422:19 432:9
        252:7
                             342:11,16 353:2       213:21 216:5,6,6     pass 94:4 124:2
      packages 251:22
                             355:1,18              216:11 242:15         260:5 294:22
        251:22
                            pages 102:22,24        254:15 257:12,15     patent 8:17,18 9:5
      packaging 30:3
                             103:3,6,6,21,23,24    296:18,21 322:16      9:10,21 10:5,8,14
        67:16,20 68:11
                             120:11 121:10         322:18 332:21         10:22 11:2,3,7
      packet 335:5
                             148:12 297:23         382:21 406:9          12:4 13:16,18
        340:5 356:3 357:2
                             307:4,21 308:1        416:13                14:10,11,14,18,19
      packets 335:7
                            paid 95:10 96:4       parte 39:7             14:21 15:11,18
        339:23 340:6
                             97:21 188:1          partes 97:8 116:24     37:5,21,22 38:3,4
        356:6 359:5
                             384:23 423:14         302:11,14             38:14 39:2,6,9,19
      page 4:2 11:1
                            panel 123:19          participate 300:15     40:7,18 41:8
        12:18,24 13:1
                            paper 8:4 9:12        particular 67:17       42:14 44:21 45:14
        14:16,19 17:5
                             346:16                67:22 68:12           48:18 51:12,16,18
        35:3 52:15 102:18
                            paragraph 8:7          111:13 112:6          68:7 76:19 89:6
        104:13 105:11,12
                             101:19 104:10,16      113:6,11,24 114:9     90:3,9,12,19 91:10
        106:2,19,19 111:2
                             105:10 115:19         126:16 157:1          91:22,24 92:12
        112:17 115:12
                             118:20 148:19         170:16 175:7          95:14,23 97:2,2,17
        118:19 120:22
                             186:7 324:13,16       216:2 247:18          100:3,21 101:1,8
        126:9 132:24
                             325:11 327:22         249:13,15 272:2       101:12,13,16
        135:9,15 136:20
                             341:3 342:17          276:22 296:23         102:5 103:24
        136:24 138:24
                             353:4                 317:13 380:12         104:20 106:13
        139:2,3 143:6
                                                   403:5 425:11          107:10,14,17
        162:4 166:3,5,7
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 478 of 503 PageID #: 18357


     [patent - perfectly]                                                           Page 45

        108:7,10,16,18,20     309:15,16,19,24       399:23 400:2,11        169:10 268:24
        108:22,22 109:2       310:6,12,22 311:2     400:16,16 401:12       300:18,21 309:20
        109:12,18,23          311:11,17 312:4       402:13 403:15          310:7,8 325:17
        110:4,4,11,13         312:14,21 317:17      407:2,3 408:8,13       392:10,15,17
        111:10,12,22          321:3 322:12,13       408:15,16,18,20        397:3 401:18
        112:5,12 113:3        322:21,22 323:3,4     409:1,6,8 410:9,12     411:20 423:15
        114:7,8,20 115:7      323:6,13,14,20,21     410:16 411:2,4,9     path 61:12 62:20
        115:13,23,24          323:21,23 324:4,6     411:16,18,22           63:10 83:2,3
        116:7 117:3           324:8,9 326:12,13     412:4,18,20            318:23 328:2
        118:14,23,24          326:18 327:11,16      413:15 415:11,13       400:12
        119:14,17,18          327:23 328:15         415:23 417:17        paths 47:8
        120:10 121:9,14       331:14,19 332:2,4     419:17 421:18,24     patience 194:20
        121:21,22 123:19      333:4,11,17,23        422:5,8 423:12,16      249:2
        125:5 128:14,23       334:12 338:24         424:18,22            patient 120:3
        129:4,12,16           340:4 341:5,11,22    patent's 171:5        pause 63:1 134:6
        130:18,23 131:10      343:22 344:9,15       388:5 406:23           182:11 213:6
        132:3,17 135:12       345:4 346:3 347:7    patentable 136:17       217:18 235:9
        136:2,15,21,24        347:14 360:19,24      141:9 282:11,14        242:8 263:6
        140:24 141:14,16      361:8,9,13,16,19      399:19 400:17          278:14 293:24
        141:20,21 142:2,4     363:18 364:19        patented 108:13       pay 421:2 426:7
        142:16 143:15         365:12 366:1          417:6 418:9,11,17      426:17
        145:14,20,22          368:2 369:4,11        419:8,13 422:14      pays 79:10
        146:11,13 147:3,3     374:20,21,23,24       423:24 424:12,15     pc 269:17 285:9
        147:4 150:24          375:1,3,5,6,7,9,16    424:24 425:3,16      pcbs 73:16
        151:12,13,14,15       375:19,24 376:13      426:6 427:1,9,12     pci 47:11,12 81:2
        151:17,20 152:2,7     376:20,23 378:1,5     427:14                 349:4,8,14
        152:9,17 153:8,13     378:7,8 387:18,19    patentee 426:9        pcs 52:19 269:12
        153:21,21 154:14      387:20,22 388:1,7    patentholder          pei 2:4
        154:23 155:8,14       388:8,10,18,22        427:6                pending 320:17
        155:21 156:8          390:7,11,13,19,21    patentholders         pennsylvania 1:24
        161:17 163:1          391:12,17 392:2,5     270:9                people 74:16
        166:1 168:20          392:5,12,13,13,14    patents 38:16 97:3      203:8 259:1
        169:1,5,12 171:4      392:18,20,22          97:14,19 98:14         319:21 350:6
        222:21,22 257:10      393:8,11,17 394:7     107:19 108:6           379:23 426:19
        271:8,9,24 272:24     394:21 395:2,2,12     109:7,8 110:10       percent 30:13 75:5
        274:2,5,14,23,24      395:15,16,19,20       117:21 118:15          178:6
        275:4,6,15,17         396:2,3,3,4,6,7,8     119:6,8 132:15       perfect 338:17
        276:1,10 290:12       396:16,19,20,21       143:8,20 144:2,16      355:16 431:13
        293:11 294:17         396:22 397:1,6,7,9    144:18 145:1,20      perfectly 9:3
        299:13,18 300:23      397:10,11,15          145:21 151:19          11:11 222:18
        302:23 304:12         398:1,3,13,17,23      154:24 155:2,6         342:9

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 479 of 503 PageID #: 18358


     [perform - please]                                                            Page 46

      perform 87:19           411:10,21,23          242:13,22 243:9     pick 24:17 337:11
      performance             412:9                 243:13 250:8          429:22
        283:19              perspective             256:13              picture 9:16 10:19
      performed 111:15        398:24               photograph             11:16,21 12:3
        112:8 113:8         persuaded 326:22        224:14,17 226:20      68:23 69:1,4
        125:18              persuades 377:24        226:21,22 227:10      171:24 229:6,8,14
      performs 389:18       persuasion 421:14       227:23 228:7,22       229:16,24 232:12
      period 17:11,17,24    pertained 8:23          237:15 239:2          232:23 233:1
        268:13 354:10       pertains 399:7          245:21 247:18         239:15,18 246:11
        419:20,24 420:2     pertinent 256:6         248:11,13 249:11      250:17
      peripheral 10:7         289:6 402:12,20       249:14              pictures 12:10
        52:3,18 153:24        403:4,6              photographic           58:6 246:20
        195:6 287:1         petition 116:23         215:24 216:15         249:22
        325:15 335:15       petitioner 117:6,6     photographs          piece 48:17,20
        336:1 341:6 343:6     128:20 326:23         226:4 227:7,21        245:16 293:6,6
        398:9               petitioner's           photos 230:8         pieces 44:22 57:6
      peripherals 195:8       326:22                232:4 243:2 247:5     77:2 213:1 216:13
      permanent 219:6       petku 99:10 185:1      phrase 47:3 216:2      233:18
      permanently             185:2                 346:24 378:16       ping 330:6
        218:10,23           ph.d. 268:9            phraseology          pivot 37:3
      permit 343:5          phil 263:20             220:14              pivoting 124:10
      permits 147:21        philadelphia 1:24      phrasing 65:21       place 1:17 12:21
      permitted 13:4        philip 3:3             physical 9:10          32:21 73:3 86:3
        15:7 380:9          philips 71:23 72:4      11:19,21 23:13        401:7 432:4
      person 50:18            72:8,17 73:12,13      26:17,18 31:12      placed 55:11
        55:13 76:9,15,20      73:18,20,24 74:14     38:17 40:24 41:5    plain 389:22
        77:10 79:19 81:18     75:21 76:23 77:8      41:13 108:11,12     plaintiff 1:6 2:18
        85:2 86:1 146:23      84:12 86:2 250:11     132:19 154:15,16      374:13
        293:13 332:1          256:12,19 257:2,8     156:11 180:21       plan 137:11 190:9
        339:7 345:16          257:24 258:4,5        210:9 224:6           223:14,17 314:14
        357:5,20 358:6        352:6 353:5,20,23     228:14 232:19,21      371:21 410:2
        385:13 389:23         354:21 355:2,24       234:23 235:19       planned 20:19
        390:1 397:13          357:7 358:9,15,23     239:15 245:23       planning 9:9
        398:17 399:1,2,20     360:15                246:3 274:6           25:17
        400:6,19 401:8,14   phone 234:17            277:16 278:12       plausible 313:5
        402:19 403:9,15       235:2 305:13,16       285:16 294:16       plaza 3:4
        403:24 404:22,24    photo 227:18            389:14 401:21,22    pleasant 160:17
        410:7 412:2           228:24 229:18        physically 29:10     pleasantries 295:7
      personally 164:9        230:8 236:24          236:7 245:12        please 7:12 35:2
      persons 399:14          237:2,4,6,21,23,24   physics 268:7          42:4 44:13,17
        407:10 409:4,20       238:1,2,3,5,24                              58:10 68:16 69:11

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 480 of 503 PageID #: 18359


     [please - presents]                                                            Page 47

        69:15 71:8 74:4      370:14 429:3         possibly 206:10       premature 365:23
        77:9 83:8,16 86:8   pointed 255:8           215:5 288:15        prepare 321:15
        122:20 123:10        259:12 287:2         potential 17:6        prepared 44:10
        133:8 137:17,20     pointer 71:14 73:1      151:11                117:19 118:12
        140:17 163:13        78:20                potter 3:3 263:21       268:1 270:24
        171:19 173:21       pointing 129:15       potteranderson.c...     312:10
        176:13 203:15        173:4 289:1,2          3:6                 preparing 169:15
        215:8 219:15         335:4                power 35:9 148:9        169:19 306:10,19
        247:4 250:10        points 286:16,22        149:15 258:19         309:13
        253:10,23 255:5      349:11               powered 35:9          preponderance
        255:17 256:15       policy 423:22         powerful 233:10         375:14,20 376:8
        258:17 266:21       poorly 264:20,24      powerpoint 386:1        376:16 377:1,2,18
        267:17 268:4        popularity 424:20     pp 174:8                377:23 378:14
        271:5 278:2         port 214:8 230:18     practice 261:20,22      391:10,13 392:24
        301:11 303:14        335:3 337:6            296:17 412:3          394:24 414:3
        311:14 313:12       portion 171:20        practitioner 81:15      416:13 417:4,19
        336:17 355:18        240:2 403:20         practitioner's          418:2 420:1
        360:8 372:24         416:6 425:9,14         114:4               presence 194:2
      plug 73:4,6 337:11    ports 227:5           practitioners           208:3 412:19
      plus 38:23,23         position 25:5           90:13                 418:20
        212:19 213:14,15     131:19 135:8,11      praised 407:9         present 13:3 36:9
        214:12,13 285:1      154:20 413:22        preamble 389:7          315:18 318:8
        394:17               427:5                precise 335:8           333:19 415:5
      pluses 290:23         positioned 243:15       405:10                428:11
      point 9:22 10:11      positions 373:24      precisely 57:5        presentation 24:4
        10:13 11:11 20:8     374:1                precision 414:8         202:2,13 203:7,22
        21:6,21 24:6,8      positive 144:24       precluded 14:13         208:5 209:10
        27:3 28:20 42:24     146:15               predate 300:21          258:11 291:9
        44:3 49:23 51:23    possess 89:24 90:5    predated 59:10        presentations
        59:20 71:13 119:5   possessed 91:18       predictability          386:1
        132:14 176:1         409:7,11,21 410:9      402:1 410:18        presented 17:7,24
        179:19 190:16       possession 234:24       413:1                 119:4 211:4,6
        197:1 221:3          344:7                predictable             245:22 289:3
        223:13 226:24       possibility 337:14      404:11                312:14,21 326:7
        234:2 236:2         possible 98:23        preface 373:3           346:17 348:6
        278:15 283:14        181:14 190:21        prefer 33:12 249:6      382:10 387:2,5
        286:9 288:14         227:6 244:21         preference 19:17        426:13 429:14
        290:19 299:20        337:15 354:9         preferred 422:20      presenting 8:20
        303:6 314:15         361:5 397:22         prejudice 383:10        129:23 312:12
        317:22 352:21        404:8 410:1 414:9    preliminary 26:20     presents 45:13
        357:1 367:19

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 481 of 503 PageID #: 18360


     [preserve - product]                                                           Page 48

      preserve 22:3           287:2,12,18 289:3   probable 378:12       proceedings 1:11
        424:3                 289:7,8,11,24         414:10                7:2 97:11 99:9
      preserved 266:15      printing 44:6         probably 22:20          107:10 226:12
      president 131:21      prior 14:12 27:2        24:17 63:11           302:15 309:15,19
      presiding 7:5           27:16 37:13,21,22     108:14 109:7          309:24 310:12,13
      pressure 406:12         38:5 49:17 65:15      118:7 120:23          318:12 321:4,20
      presumably 308:3        65:18 117:20          121:1,4 147:4,14      322:5 346:16
      presume 236:13          119:13 125:4          148:2,6,15,16         387:12 396:22,23
      presumed 396:9          138:7 142:2 143:6     161:6 205:6           396:24 397:1
        399:3                 148:20 149:17         209:11 233:10         431:20
      presumes 396:6          155:13 162:9,24       243:17,17 283:17    process 128:3,21
      presumption             168:21,24,24          368:19                129:7 332:21
        396:5,11 421:11       169:10,18,24        probative 425:8         333:13 353:16
      pretrial 17:5 20:1      175:15 176:10       problem 14:23           354:2 374:3 393:6
        26:11 31:6,21         180:18,19,22          20:11 27:22 30:16     425:17 427:8,20
        315:22 316:9          256:7 265:20,23       36:1 47:14 50:23      427:23
      pretty 96:15 108:9      266:3,6 271:16,20     54:16,17 59:12,14   processor 186:13
        118:13 209:11         271:21 272:22,23      63:12 76:19 81:6    processors 269:1,9
        233:10 293:6          272:24 278:22         82:11 83:4 87:15    produce 55:17
        349:15,18             281:16 282:18         94:10 104:21        produced 53:20
      prevent 172:14          284:8 285:21,21       221:1,5 228:16        150:14 224:17
        264:12                288:22 291:22         245:24 349:23         226:21 227:1,9,10
      prevented 36:18         292:1,3 309:15        350:5 351:9 403:5     227:22 228:7,8
        36:22                 310:7,9 318:4,7       403:10 404:6,8,9      232:2,5 234:10
      preview 316:24          320:10 323:5          405:3,4               236:14,19 238:22
      previous 85:4           324:15,22 396:18    problems 59:15          238:24 241:23
        185:18 294:3          399:4 400:12,14       169:3 276:18        produces 378:10
      previously 120:6        401:3,6,11,13,17      283:18 350:7        producing 228:11
        215:2,18 374:12       401:20,22 402:7,9   procedural 19:10      product 8:20
        384:12                403:2,4,6,13,21       19:15                 10:20 11:9 29:9
      price 425:10            404:4,20 405:9,10   procedurally            29:12,14 51:19
      primarily 181:15        405:14 406:20         22:22                 52:19,23 53:13,19
      print 44:9 45:18        410:23 412:22       proceeded 407:15        55:15,19,23 56:2,4
        49:7 141:6            415:8               proceeding 39:7,9       56:14 57:8,22
      printed 110:11        priority 61:5,14        39:15 40:23 41:24     60:16 67:16,20
        146:19,20,24          63:6,16,21 66:16      109:24 127:8          68:24 69:1,4,23
      printer 44:5,9          68:7 70:9 161:17      132:12 189:10         73:7 76:24 88:1
        45:20,24 46:20        169:1,11 171:3        267:22 302:11         147:13 148:7
        47:23 48:7 49:10      175:8 245:18          310:6 317:3 322:1     164:24 166:18
        49:11 50:1,3,7,10     257:9                 328:15                167:14,19 168:13
        51:1,9 80:22                                                      168:14 170:2,8

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 482 of 503 PageID #: 18361


     [product - purported]                                                          Page 49

        171:4 172:12,16      prohibit 265:2,4      provide 76:2          public 1:22 27:14
        172:19 265:22        prohibitions            97:21 98:19 99:10    419:10 432:3,13
        266:5 347:18           263:18                125:15 141:16       publication
        362:14 374:3,18      project 182:18          164:11 181:16        118:24 153:22
        393:16,20 394:12     promise 37:8            214:15 219:22       publications
        397:21 401:17          294:20                224:22 225:7,8       110:11 142:2
        408:14 409:24        promoter 424:10         296:18 305:7         145:21 146:8
        412:7 418:9,13       promoting 424:12        327:23 344:5         147:2 151:20
        419:11,12,15         prompted 403:23         358:10 375:11        155:1,7 397:3
        420:8 423:2,21       pronouncing 9:5         376:9 388:1,3        401:18
        424:12,21 426:6      proof 376:13,15         389:18              publicly 52:9
        427:2,8,15             378:12,14,16,17     provided 98:14,17      57:13 65:11,12
      production 232:9         381:19 402:1          98:24 99:12,17       66:17 67:5,10
        248:10                 404:16                107:15,16 118:3,4    68:3 70:2,13,20
      products 38:1,17       proper 243:17           146:12 155:17        93:13,22
        40:24 41:5,14          415:14                181:9,19 237:16     publish 197:14
        53:15 108:2          properties 407:1        282:23 307:3         202:9,10 296:15
        146:17 169:2,17      property 424:24         308:1 325:22        published 118:24
        169:23 175:16        proposition             389:21 410:5         145:4,7 147:2
        281:19 309:2           358:22 426:4        provides 43:8 80:1     212:22 299:10
        393:3 397:4          pros 290:22             101:8 102:5         pull 10:22 33:18
        418:14,17,19         prosecution 10:10     providing 12:15        34:1 106:1 111:10
        419:2,7,9 424:13       152:1 290:12          14:23 324:23         115:12 140:17
        427:12                 324:7               proving 376:24         148:19 158:4
      professional 270:1     protection 55:16        377:16 378:7         166:2 171:10
      profit 18:11 415:7     protocol 334:16         396:12 400:1         213:9 216:21
        417:15 425:9,15        334:22                423:12               354:9 355:21
      profitability          prove 391:13          provner 3:6           pun 138:6
        424:21                 392:23,24 394:23    provoke 429:11        punish 413:19
      profits 17:8,19,19       394:24 401:4        proximity 55:18       purchase 175:16
        18:2 377:22            404:17 414:6        prudent 426:3,9        419:19
        414:14,16,17           415:24 416:11         426:19              purchased 168:18
        415:4,18,24 416:3      418:10 420:16,19    ptab 124:3 130:22      168:21 278:6,9
        416:5,8,12,18,19       423:12                130:23,24 310:13     374:17 416:15
        416:20,24 417:12     proven 375:13,18        314:10,17,20         420:7
        419:3 420:23           375:20,22 376:3       315:5,14,17         purchasers 419:10
        421:4,7                376:12 391:9          316:14 317:4,5,12   pure 65:7
      program 423:23           397:9 416:22          318:3,6,12 319:2    purely 19:15
      programs 18:7            417:2 418:4 421:5     320:9 321:20        purple 327:17
      progress 145:1         proves 417:18           322:1,5             purported 91:13
                               418:2                                      224:14,21

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 483 of 503 PageID #: 18362


     [purpose - reasonable]                                                          Page 50

      purpose 264:11          quarter 415:4,9,20   quick 16:14 23:22       430:13
       334:11 380:24          quarters 355:20        23:23 57:6 124:14   readily 47:22
      purposes 17:21          question 14:1          243:4 372:6         reading 101:6
       25:17 55:16 153:2       19:11,17 27:23      quite 153:4 242:17      104:18 123:13
       153:20 228:2,18         32:9 33:4 35:6        283:11 308:18         189:14 218:15
       232:20 292:14           41:17,22 53:12        318:23                265:14 325:10
       392:19                  54:14 61:24 62:3    quote 101:14            332:2 371:4
      pursuant 432:4           62:4 63:2,13,24       221:12                373:20 409:6
      pushing 285:20           64:18 65:2 66:23    quoted 45:22          ready 18:5,8,15
      put 20:8 24:17           67:2 76:12 78:12      100:20                72:14 134:21
       26:3 31:2 32:16         91:17,23 108:8                r             339:24 340:2,5,6
       65:7 111:7 179:1        109:3,4,6 112:1                             340:16 353:16
                                                   r 2:1 3:1 269:3
       179:16 190:20           114:24 115:10                               354:2 357:12
                                                     432:1
       217:7 228:18,18         129:1,3 134:4                             real 65:3 113:13
                                                   rafferty 152:17
       228:24,24 232:4         139:6 162:7 163:6                           114:1 124:14
                                                   raincoat 382:4
       236:4 244:19            163:13 166:12,13                            243:4 271:22
                                                   raining 382:1,2,7
       272:14 273:5            167:4,23 169:8                            realities 418:21
                                                   raise 19:20 20:13
       275:8 286:19            183:4 188:9 216:9                         realizable 425:14
                                                     248:10
       293:22 299:23           216:15 218:21                             realized 232:7
                                                   raised 7:16
       303:14 317:1,19         220:13 221:11                             really 8:23 19:18
                                                   raises 18:5
       320:12 338:14           222:21 231:8                                68:6 111:24
                                                   range 30:13
       339:19 355:17           237:14 238:4                                113:10 143:11
                                                   rate 95:21 234:1
       364:10,12,12            240:12 260:10                               148:23 149:24
                                                     422:22,24
       377:6,6 401:7           264:18 279:1                                177:10 222:22
                                                   rates 423:14
       413:21                  306:2,16 308:14                             234:22 244:24
                                                   reach 76:8 164:5
      puts 396:11              312:19 316:7,8                              275:7 373:3 429:2
                                                     380:3 413:21
      putting 273:22           317:7 319:13                              rears 313:21
                                                     426:2
       274:1 308:23            357:23 361:21                             reason 78:10
                                                   reached 164:13,14
       318:10 338:20           366:9 371:3 380:7                           116:2 131:5
                                                     317:10 406:5
               q               380:21 391:18,21                            139:14 152:5
                                                   reaching 381:10
                              questioned 385:2                             154:9 180:20
      qualifications                               read 13:19 14:4
                              questions 15:15                              206:3 230:14
       121:23 124:4                                  24:16 99:20
                               35:14 89:19 93:10                           245:15 249:7
       268:5 384:9                                   125:12 147:19,20
                               124:20 133:21,24                            259:23 275:21
      qualified 124:4                                152:1 179:9
                               134:13,16 135:1                             276:5 288:17
       425:21                                        189:18,19 205:20
                               221:19,21 223:11                            334:18 373:20
      qualify 415:7                                  276:6 307:18
                               262:2 264:16                                401:10 403:22
      quality 383:4                                  308:12 312:16
                               363:21 364:21                               404:3 428:20
      quantity 412:13                                355:4 357:3,24
                               367:24 368:9                              reasonable 17:10
      quantum 269:14                                 367:17 373:3
                               369:15 373:15                               30:14 70:22
       269:15,19                                     374:2 390:8,14
                               379:8 380:15                                184:16,19,21
                                                     391:1,4,5 413:7
                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 484 of 503 PageID #: 18363


     [reasonable - rejected]                                                            Page 51

        187:15 350:10          receptacles 73:3,5    recreate 33:8          referencing 41:6
        377:22 378:16          recess 137:13         recross 260:7            66:14 416:19
        383:14 401:16,23         226:9 372:3           263:2 264:17         referred 50:15
        414:15,19 415:6        reckless 395:4        rectangular 71:12        68:5 332:6 396:24
        415:14,18 421:16       recognize 42:13       red 84:18,24 179:8       398:4,6,10
        422:14,16,21             53:5 74:10 77:6       189:1,3,6 190:15     referring 104:2
        423:4 426:21             88:9 106:4,22         191:6,7,22 192:10      259:20 280:23
      reasonably 27:5            107:8 123:7           210:16,17 259:7        288:20 340:3
        27:12 344:6 380:2        136:11 140:19         327:7 340:1            353:18 361:8
        395:13 403:4,6           150:3 158:7,11      redirect 4:13          refers 103:17
        421:8 422:3,9            176:16 183:5          30:19 32:23 33:16      271:21 313:23
        426:2                    196:22 199:6          34:2,4 223:22          340:9,12 390:20
      reasoning 318:13           256:18 280:11         249:24 250:3           390:23 391:2
      reasons 247:16             302:7 326:17          261:13 364:15          394:5,17
        384:9                    409:6               redline 327:12         reflect 423:1 427:6
      rebut 232:14             recollection 61:3     reduction 414:17       refresh 61:3 62:8
        267:24 406:22            63:3 64:2 65:5      refer 259:2 374:23       63:3 65:4 125:2
        421:11                   127:1 167:2,10        390:6 391:3            167:1,10 216:18
      recall 89:4 93:11          216:19 217:6,8,13   reference 9:4 11:2       217:5,7,12 218:2,5
        150:8 181:18             218:2 219:13          11:18,18 25:8          219:23 220:22
        195:13 215:18,21         220:17,22 281:7       28:20 52:20 55:4       273:21 281:7
        217:14 245:9             307:20                56:8 65:8 66:5         307:20
        301:24 305:5,20        reconfigured            67:2,8,17,21 68:12   refreshed 64:2
        307:5 308:20             100:5                 72:22 127:8            127:1
        310:23 312:15          record 17:23 20:9       151:15 209:14        refreshes 62:9
        321:5,21 322:6           60:23 62:11,19        274:23,24 275:17       219:13 220:17
        329:20 330:17            64:16 123:14          277:13 293:9         refreshing 219:20
        342:14,19 346:5          135:3 228:14          303:23 321:20,23     refused 224:22
        347:4 348:21             241:16 265:15         322:2 324:13           356:6 359:5
        391:12                   266:22 309:18         353:10               regard 107:24
      receive 47:4 48:13         316:4 319:3         referenced 166:14        126:12,15 127:18
        84:6 99:7 330:10         370:19 372:11,19      354:22                 128:10 152:12
        357:12 384:15            381:4 428:17        references 8:15          261:22
      received 42:18             432:8                 10:14,23 11:21       regarding 12:15
        88:18 163:3 165:5      recorded 304:6          38:8,13,21 51:19       44:11 98:1 257:18
        197:21 270:22            385:4 432:6           118:22 136:1           391:19 398:22
        356:4 379:2,10         records 151:15          140:24 143:19          407:12 415:17
        380:6,24 386:12          181:24,24 386:16      272:13 294:7,14      region 1:23
        423:10                 recover 375:8           305:4 397:2          reiterate 215:15
      receiving 356:24           414:14 415:19         401:11 404:19        rejected 8:17
        357:13                                                                10:15 11:23

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 485 of 503 PageID #: 18364


     [rejected - require]                                                           Page 52

        120:12 150:24       reliance 125:14         346:20,24 373:12       354:22 359:22
      relate 211:22,22        236:17 310:20         416:18                 360:11
        277:5 300:19        reliant 236:13        reminding 430:20       reported 180:24
      related 9:20 59:15    relied 27:1 30:12     remove 12:1,3          reporter 1:21 27:7
        91:17 164:2 188:7     54:16 154:10        removed 12:2             385:3
        248:8 269:23          181:15              renault 202:2,13       reports 99:17
        270:4 274:9         relitigate 315:20     render 387:15            102:16 103:11
        298:22 299:3        rely 27:5,13,16,23    rendered 29:6            186:19 309:14
        309:19 315:6,7        28:22 30:14 37:13     401:13               represent 178:8
        367:18 375:4          53:14 54:3 74:17    rendering 78:2           220:18 234:23
      relates 9:1 102:5       75:10,17 77:11      renders 398:6,10         255:12,23 256:13
        148:19 268:17         156:19 163:2        repeat 115:1           representation
        271:14 277:21         187:19 235:18         229:11 231:7           56:6 139:1 241:1
        289:12 292:19         236:7 245:22        repeating 115:2          242:4 299:11
        296:23                257:22 384:19         220:6                  302:16
      relating 34:24          396:18 401:5        replace 79:21          representations
        309:24 392:10       relying 29:1 31:16    replaces 227:24          221:7
      relation 107:9          31:17 38:9 187:12   replay 47:21           represented 11:14
      relationship 416:1    remain 126:10         replies 103:12           228:19 253:18
        424:5                 377:11              report 8:8 12:17         255:20 269:18
      relationships         remainder 265:24        13:11,12,15 14:3,9     294:18 345:19,22
        111:16 112:9          266:7 385:24          14:17,24 15:17         354:12
        113:9               remaining 424:17        16:7 77:21,22,23     representing 2:18
      relative 412:23       remains 421:14          78:5,23 99:16,21       3:15 149:4 295:9
      release 44:8          remarkable 52:18        101:22 102:13,18     represents 228:3
        314:10              remember 57:4           102:22 103:14,16       254:4
      relevance 123:18        99:15 103:2 116:5     104:2 105:21         request 46:13
        133:13,20 405:7       116:12 117:22         111:3 116:5 118:7      47:15,23 81:12,13
      relevant 38:5           118:1,6,9 121:16      118:9,16 138:8,15      243:22,23 245:2
        123:14,16 141:7       121:17,19 125:21      139:8 154:3            247:3,4 248:8
        144:9 230:7 318:9     125:22 130:12         156:19,24 169:19       265:18,24 266:1,7
        318:16 391:20         135:15 138:12         181:1,22 187:1         330:6 339:2,5,24
        392:2 399:10          154:2 156:20          288:6,8 296:7,19       343:7
        403:13 404:1          161:6 166:22          304:22,23 307:4      requested 380:11
        410:21 417:24         181:21 194:13         307:14,22 312:10     requests 35:24
        418:10 421:13         196:23 206:2,10       313:1,7 317:22         36:7 47:5,18
        422:13 426:20         216:3,10 217:20       319:17,19,20           48:14 265:15
      reliability 384:10      217:23 218:7,21       320:2,21 321:2,6       330:11
      reliable 32:10          219:2,5 220:16        321:15 324:12,16     require 92:4 93:4
        33:15                 222:7,17 281:3        344:22 345:1           93:9 114:21 115:8
                              286:24 342:23         346:7,11 353:1,3       116:10 329:23

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 486 of 503 PageID #: 18365


     [require - right]                                                              Page 53

        366:18 412:10         317:23 344:19          406:21 425:2         28:8 29:18 30:1,8
      required 208:20         416:24 423:20        resume 34:10           33:20 34:3,6
        259:18 344:5        respectfully             95:19 134:20,23      39:16 42:18 48:23
        376:12 401:24         129:15                 137:22 296:5,18      52:2 54:15,24
        409:19 412:2        respective 46:9,22       301:17,20 302:3,9    60:19 61:20 62:2
      requirement 16:1        47:5 48:14 81:9        303:2,4,17,18        62:6 63:14,18
        40:10 82:16 84:1      84:2,4,14,23 85:18   resumed 226:11         64:15 72:20 82:19
        86:15 333:24          86:16,19 329:24      retail 147:13          83:21 88:17 95:5
        344:4 359:23          347:19 360:6,12        148:7                96:23 102:10
        362:22,23 363:10      360:14 389:9         retired 299:6          103:16 104:3
        393:18 404:17       respond 47:4           retirement 211:17      105:21 107:14
        406:24 408:10,15      48:13 227:15         retrace 400:12         108:4 110:8,23
        408:18 409:4,9        240:18 330:11        returning 356:6        111:7 112:23
        411:8,15,16,19      response 48:1,8,11       359:5                115:4 117:9,14
        412:5                 85:19 86:20          reused 151:11          119:11,19,23
      requirements            162:12 166:19        review 8:24 10:7       123:3 124:23
        344:15 345:9          240:16 359:24          11:10 12:8 39:8      126:2,5 127:14
        366:18 390:22         429:11                 51:16,20,20,24       129:14,18 130:24
        394:12,16,18        responses 134:5          52:3,4 57:19 97:8    132:24 133:9,16
      requires 331:3          265:16                 116:24 118:14        134:17 137:4,16
        345:4               responsibility           123:23 151:2,3,6,7   137:20 138:20
      reread 321:14           397:8                  152:13 191:22        139:22 140:13
      resellers 164:6,19    responsible              290:24 300:11        141:22 142:12,17
        164:21 165:4          332:15                 302:11,14            142:19,24 144:4,5
      reserve 34:3          rest 14:2 31:9 60:4    reviewed 117:20        145:4,11 146:2
      reside 136:18           266:10 284:5           117:24 121:10        148:8 149:8,10
        200:5                 285:1 388:1            125:3 186:19         150:15 151:23
      resides 136:20        restate 66:22            194:8 307:21         152:4,10 153:5
      resold 168:15         restricted 423:19        309:18               155:18 156:2,5
      resolution 224:16       423:19               reviewer 300:9         158:1,9,18 159:12
        227:6,12 229:18     restrictions           reviewing 122:2        160:23 164:2
        229:21 250:8          146:23                 384:24               166:8 169:4 170:8
      resolve 226:6         result 132:10          reviews 325:8          171:13,16 174:9
      resolved 7:20,23        339:9,12 375:5         326:3                174:12 177:18
      respect 8:5 13:13       376:22 392:16        revised 12:1,2         179:12 181:6
        14:15 41:17 85:16     406:10,11 414:18     revision 183:16        182:3 183:19
        87:20 111:20        resulted 130:9           184:10,11 185:3      186:9 188:10
        238:5 241:1 258:2     410:12 421:17          193:7,8              193:12 196:23
        272:20 273:4          422:17               right 13:22 16:8       199:14 202:20
        314:11 315:19       results 31:23            16:13 19:2,8         204:18 206:12,20
        316:21 317:10,13      405:14 406:19,21       22:18 23:7,20        207:19 208:6

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 487 of 503 PageID #: 18366


     [right - russell]                                                                   Page 54

        210:16 211:13,22          307:2,4 309:3,6,16     361:3 362:2,10,16     422:21,24,24
        215:11 220:12             309:20 310:7,12        364:19 365:1          423:5,13 426:8,16
        221:22 222:1              310:15,22,24           369:11,18 371:1       426:21 427:5
        226:8,17 227:19           311:4,9,11 312:7       372:1,6,19,24       rozycki 158:24
        228:15 229:2,9            312:14 313:4,9,16      374:9,11 397:16       160:8,10 164:15
        230:11,13 231:1           313:23 316:6           423:23 427:17         164:22 166:13
        231:22 232:15             318:14,19 321:4        429:12 430:6,11     rozycki's 166:3
        233:19,19 234:13          323:14 324:6,10        430:17 431:17         181:1
        235:8,10,23 237:7         325:7 326:2,13,24    ring 347:3            rpr 1:21
        237:24 238:2,5            327:8,9,14,18        rise 7:4 137:15       rubbed 172:5
        239:1,4,5 240:6,8         328:17,23 329:6,8      226:13 372:5        rule 19:11,20 20:7
        241:8,20,22 242:4         329:12,24 330:4,6    risks 425:18            20:15 21:5,22
        243:5 244:9               330:12,13,23         roadmap 269:4           22:3,6,14 27:23
        245:18,19 248:15          331:6,12 332:18        400:11                261:12 262:3,13
        248:19,24 249:23          333:3,7 334:2,3,6    role 35:3,13            262:19,21 263:1,4
        253:6 258:13              334:13,14,17,17        267:22 268:21         263:4,8 264:3,12
        260:16 262:2              334:23 335:5,16        309:5,8 387:18        264:14,20 265:3
        266:11 270:21             335:19 336:1,4,8       393:14 415:21         370:14 380:12
        271:7,12 272:9            336:22 337:1,3,7       416:7,15 417:1        394:1
        273:7 275:3,4,11          337:21 338:2,11        418:24              ruled 140:11
        275:12,16,24              338:15,22 339:1,6    room 30:19              316:8
        276:14,19 277:1           339:9,19,24            104:12 269:21       rules 380:5,9,18
        278:14 280:16             340:15,17,18,21        356:23 385:23       ruling 23:12
        281:5 283:1               341:12,14,19,21        427:22                130:10 317:5
        288:10 291:24             341:24 342:6,13      rose 1:21 26:10         380:20
        292:15,16 295:11          343:1,12,15,21,24      134:21              rumors 379:18
        295:12,14,19,24           344:9,14,16,20       rotate 69:11          run 24:19 147:13
        296:12,19,24              345:2,5,10,12,18     rotated 240:2         running 279:6
        297:4,7,20 298:14         345:21 346:10,12     roughly 407:18        runs 12:24 282:2
        298:17,22 299:7,8         347:8,14 348:20      roundabout 61:23        285:9
        299:10,14,16,19           349:4,6,13 350:9     routing 189:19,20     russell 2:4 20:12
        299:22 300:6,10           350:11,15,19           191:5                 21:20 22:16 23:1
        300:16,19,20,21           351:8 352:6,10,14    rovner 3:3 263:20       23:7 227:14,19
        300:24 301:1,4,9          353:5,8,9,11,14,17     263:21 430:19         228:8,13 229:3,7
        301:12,15,18,19           354:3,23,24            431:5                 229:11,15 230:6
        302:11,18,20,21           355:14,18,20         royalties 377:22        231:2,7,23 232:3
        302:23 303:4,12           356:1,9,12,14,15       415:18 423:10         232:16 234:14,20
        303:18,23 304:3           356:16,18,20,21      royalty 17:10           235:16,24 236:2
        304:13,13,18,24           356:24 357:11,13       414:15,19 415:6       237:6,10,18,22
        305:4,13,16,19,22         357:21 358:14          415:14 421:16,17      238:15 239:12,20
        306:2,5,6,12,22           359:12 360:1,7,21      422:14,16,17,19       240:5,18 241:15

                                           Veritext Legal Solutions
                         215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 488 of 503 PageID #: 18367


     [russell - screen]                                                            Page 55

        242:1,20 244:16      44:12,15 54:12,20   178:11,12 179:11         209:7 220:15,23
        245:7,19 247:2,21    54:24 55:3 56:20    204:11,15 246:21         233:4 236:19
        248:7,17 263:10      56:22 58:15,21      249:11,14 257:2          251:15 263:13
        264:7,11 370:13      59:1 60:9,13 62:2   276:8 335:11             264:24 265:1
                s            62:7 63:18,22       381:24 386:9             275:21,23,24
                             64:1,6 65:6,14,16 saying 9:9 14:5,7,8        276:1,6 285:3
      s 2:1 3:1 5:2 6:1
                             66:4 67:1 68:21     14:13 21:21 26:17        288:19 289:5
        185:2
                             69:5,10,18 71:7,10  28:4 30:7 32:19          290:22 311:16
      sale 28:5 56:15
                             74:9,21 75:4,10,16  54:16,17 63:9            319:6 326:21
        59:5 70:9 161:16
                             78:2,15 79:4,14     89:5 90:7 108:10         327:21 329:16
        170:16 416:5,21
                             81:23 83:7,11,15    129:12,19 162:8          330:4,9 332:10,15
      sales 18:3 158:23
                             83:18 86:7,10,12    162:12 168:13            332:20 342:1,19
        159:10 161:12
                             88:8,13,19 94:4,10  200:10 217:15            343:2 355:23
        415:4,8 416:8
                             94:15 96:12         233:20,21 241:21         356:3 358:13
        417:1,11,22
                             101:20 122:16,19    242:24 255:10            359:3,4 361:24
        418:12,13 419:3,4
                             123:9,13 131:12     275:19 306:21,22         362:4,11 382:21
        420:9,14,17,24
                             131:22 132:5        306:24 319:24          scale 243:10
        421:3,9 424:12,14
                             133:1,7,12,23       356:13,20 359:6,7        251:16,21 252:9
        424:16
                             134:3 153:4 163:7 says 8:14 10:6,17          377:8,10
      sample 274:3
                             168:1 177:3,8,16    14:24 15:5 17:8        scales 377:9
      san 3:11
                             177:20 178:4,19     20:1 22:6 27:4,12      schedule 20:19
      sandia 17:1,18
                             182:9,20 183:11     28:21 30:6 46:8          21:2
        18:5,7,15,24 19:3
                             197:19 199:12       48:21 52:17 78:8       schematic 188:21
        416:10 418:12
                             202:5,6 214:19      83:21 84:21 102:4        192:21
      satisfied 46:24
                             215:9 216:23        104:20,21 105:16       school 267:21
        87:1 362:24
                             217:2 218:14,17     118:10 126:17          science 268:9
        406:15 409:4,10
                             219:8,14,19 221:5   127:14,15 138:21       scope 77:21,22
      satisfies 15:24
                             250:1,5 251:2,8     139:12 143:1             314:5 319:19
        40:10 421:6
                             252:14,16 253:1,3   147:1,21 150:1,9         344:11 345:17,19
      satisfy 18:10 344:3
                             253:9,11,22 254:1   159:18 162:15            345:21 369:5,6
        359:23 408:9,17
                             255:4,7,16,18       166:15 167:5             390:8 398:14,19
        411:7
                             256:11,17 258:8     174:8,9,12,15,24         402:6,24 403:2
      satisfying 417:13
                             258:10,16,22        177:11 181:22            409:22 410:10,15
      sauce 330:15
                             259:9,11,14,19      182:18 183:18            410:22 411:13
      saulsbury 3:10 4:6
                             260:5 261:6         184:10 185:20            412:12 423:17
        23:9 26:24 27:9
                             265:12,13,18        186:10 187:16          scrambling 242:6
        28:2,11,14 29:2,14
                             297:13 372:16       189:7,10,14            scraped 172:18
        29:19,23 30:2,10
                             430:8,19 431:1,15   191:22 192:9             173:4
        30:24 31:8,14
                           save 32:22 429:20     195:5 197:6 198:2      scratched 172:7
        32:1,15 33:9,24
                           saw 55:5 56:13        198:10 201:12          screen 58:17 83:16
        34:15,20 35:1,5
                             57:19 82:20 94:3    205:22 208:16            228:18 364:11
        42:9,16,19,21
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 489 of 503 PageID #: 18368


     [screens - separate]                                                           Page 56

      screens 25:9           113:15 119:1,2         311:22,23 321:19    selling 415:21
      screenshot 31:22       124:14 125:23          321:23 324:17         416:10 424:11
        32:2,4               131:1 138:19           325:4,5 327:5         425:10
      screenshots 58:6       139:18 140:24          329:5,9,13 333:16   semiconductor
      seal 432:11            142:24 143:2,16        334:4 340:7           147:12,17,17
      search 118:4           143:22 145:22          341:16 342:17         148:12,23 149:5
        145:11,20 151:15     147:23 149:9           348:23 350:6          149:16 150:14
        182:3                150:9 153:7            353:10 355:3,6      send 21:6,8,12
      searched 109:22        159:13,13 166:23       358:21 379:14,17      24:19 33:6 78:13
      seat 7:12 266:13       167:9 168:16           379:19 382:8          249:18 335:7
      seated 23:23           172:2 173:4,7,18       383:2 430:17          336:21 340:5
        137:21 248:23        174:7,9,14,16,20       431:18                342:8,9 356:14,16
        370:10 373:1         174:21,23,24         seeing 28:9 233:11      357:11 358:12
      second 12:14           175:3,6 177:9          308:4                 361:5 373:8
        22:20 23:17 33:5     178:16 180:5         seeking 50:19         sending 25:12
        43:17,20,22 44:2,9   183:7,15 184:12        416:8                 35:24 359:8
        45:5,12 80:20        185:23 186:14,15     seeks 415:3,5         sends 289:19
        91:1 105:16 144:1    189:1,3,19 191:4,5     417:11                291:4
        186:7,7 288:22       191:20 192:16        seen 25:9 51:1        sense 18:17 45:23
        327:18,21 329:11     196:10 197:9,10        85:8 109:12           65:22 91:10,12
        342:17 373:17        198:3,4 200:15,22      120:23 130:10         93:8 233:14,15,17
        376:17 389:8         201:3,8,13,14          143:9 155:23          323:18 379:21
        393:12 403:1         203:1,2,10 205:21      177:14 188:20         404:7
        414:15 415:20        208:21 215:5           199:7 206:9         senses 381:14
        418:15               219:12 220:3,16        224:23 240:11,11    sent 25:10 246:24
      secondary 406:1,3      224:17,23 225:1,3      256:4 278:10        sentence 78:8
        406:6 407:20         227:4,5,12 229:19      294:2,15 309:10       104:19 105:16
      secret 330:15          230:3 231:14           342:13 348:6          112:19 115:17,20
      section 12:19 15:8     236:11 238:9           381:15 385:20         115:20 162:15
        145:13               239:7 242:6,15       sees 46:15 48:10        186:7 192:7
      see 8:13 11:2 21:1     243:6 244:11         segment 389:17          193:16 200:12
        25:14 30:22 33:12    246:5,6 249:20       select 285:11           201:3 202:22
        35:2 40:19 42:10     250:9,17 251:14        400:11                204:10,11,14,15
        42:20 47:21,23       251:24 252:3,17      selected 18:14          208:15
        48:6 50:5 51:6       252:22,23 253:12       416:16              separate 43:8
        52:2 60:24 69:19     254:2 256:22         selection 373:22        82:23 95:24
        71:11 72:24 83:16    258:23,24 284:5      selector 153:11         104:24 111:14
        83:24 84:7,21        288:19 293:18        selects 332:23          112:7 113:6 194:2
        86:13,23 100:11      297:2 298:6 303:5    sell 55:19 164:22       345:9 388:8
        100:21 102:14        303:21 304:7           393:2 420:20          391:20
        105:4,19 112:2       307:13 311:13,16       426:5

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 490 of 503 PageID #: 18369


     [separately - significant]                                                      Page 57

      separately 390:8         90:2 91:8 92:2,12   shortly 376:10        shows 135:18
        393:23 394:11          100:4 102:6 276:3     389:24 391:22         144:1 166:20,21
        400:9                  277:7 286:16,23       416:9                 207:15,19 239:1
      separating 427:9         286:24 287:3,5,7    show 32:17 56:1         259:5 260:1
      september 302:20         287:12 291:13,18      59:24 71:2 123:19     409:10 428:19
      serial 269:5             293:7 326:8 328:2     153:1 173:16          429:1
        334:16,17,22           334:13 343:5          204:18 217:5        side 147:1 150:9
        335:2                  361:24 365:16         219:11 220:16         180:6 213:24
      served 295:10            366:4 389:12,14       224:14 232:18         218:12 244:19,19
        300:8 305:21         sharing 49:7 50:24      233:12 239:14         317:2,2,11 327:3,3
      serves 47:20             92:8,23 325:14        253:2 271:15          355:18 377:10
      service 339:23           335:15 336:1          272:22,24 273:3       380:8
      services 1:8 297:7       360:21 362:6,6        278:1 282:10,13     sidebar 26:6 34:8
        374:15               shaw 2:3,3              282:17,20 293:16      53:22,24 55:2
      set 11:10 20:24        shawkeller.com          293:19 315:10         61:8,10 66:3,19,21
        82:21 93:10            2:7,7                 400:3 407:19,21       74:18,20 75:15
        133:21 240:17,21     shed 406:2              408:4 416:1,3         77:17,19 79:13
        255:19 320:1         sheet 8:22,24 12:8      417:20 419:24         123:10,12 124:17
        352:13,15 356:5        16:17 74:14 75:18     421:8                 133:8,11 134:19
        363:9                  76:1 86:2 250:22    showcase 55:23          177:4,7 178:24
      sets 332:22              257:14 258:3,5      showed 60:3 80:18       219:15,18 222:3
      settings 37:24           353:5 354:21          210:4,5,9 212:2       261:4,7,9 265:11
        332:24                 355:2                 218:1 250:22          274:19,21 276:16
      settle 320:5           sheets 74:16            346:8                 314:1,3 320:24
      settled 267:9,10       shelf 337:5,8,16      showing 77:7          sidebars 74:22
      seven 137:6              340:24 341:10,14      145:19 171:16         75:13 79:5,9,9
        148:12 210:15,17       341:24                179:17 219:21       sides 311:24 316:4
        300:2                shells 29:22            252:18 274:3          316:12 377:7
      sgbfirm.com 2:15       shield 316:17           327:11,16 407:23      392:10
        2:15,16,16,17        shifts 417:20           418:11 421:11       sign 338:15 343:13
      share 50:6,10 51:9       421:7               shown 47:16           signature 110:23
        91:14 105:18         shiny 32:13             127:16 206:12,17      432:13
        338:22 348:14        short 134:23            207:10 218:11,24    signed 111:5
        349:24 350:14          267:15 294:21         226:20 235:22,23      116:15
        358:8 362:15         shortchanging           239:10,23 247:5     significance
        363:15 398:5           223:16                251:9,18 254:2        281:13 289:11
      shared 43:3,14,20      shortcomings            255:9,19 258:12       292:5,18 385:16
        44:1 45:18,19          324:15,22             284:9 290:21        significant 92:5
        46:1,17,20 48:11     shorthand 189:8         292:11,13 294:18      330:22 418:12,13
        49:10,11 80:11,17      432:7                 326:6 361:4 381:8     425:18
        82:8 86:17 87:13                             420:9

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 491 of 503 PageID #: 18370


     [signs - slayden]                                                              Page 58

      signs 338:20            91:11 100:4         skip 332:20 338:6       166:2,10 168:4,7,9
        361:10 367:24         105:18 197:7        slayden 2:9,10 4:7      171:18,23 172:24
        368:1                 328:2 363:5,15        7:8 26:11 30:4,20     173:2,16,24 174:3
      silicon 186:1         singular 258:21         31:24 42:17 53:22     174:5 175:11,13
      silver 230:17,21        259:17,21             54:1 58:23 61:8       176:12,15 177:24
        231:13 252:4,8      sir 109:3 139:4         61:11 62:18 64:5      178:16 179:3,13
      similar 80:5 87:19      151:5 152:21          64:11 65:13,15,18     179:21 180:3
        88:2 93:17,24         165:7                 66:19 69:7 74:18      182:12,19,22
        97:15 139:20        sit 86:9 87:17          75:8 77:17,20         183:3,9,13 184:4,6
        169:3 199:20          169:15 321:14         78:7,17 88:15         186:5,8 188:16,19
        283:3 350:6           371:4                 94:7,14,19 96:18      190:1,8,11,13,18
        406:12 425:2        sitting 145:8           102:3 106:1,3,17      190:22 191:13,17
      similarly 87:24         169:20 187:9          106:21 107:3,7        192:6,8 193:6,10
      simple 65:7             195:7,14 215:21       110:20,22 112:18      193:15,17 194:10
        214:16 351:17         217:23 371:15         113:1 114:16,18       194:12,18,21
      simpler 51:3 76:24    situated 34:16          115:11,16,21          196:11,13,21
        77:4 79:22 81:6     six 135:19 185:18       116:19,21 117:15      197:2,5,12,13,17
        82:11 351:7,16        189:23 191:10         117:16 118:18,21      197:22 198:1
        368:13,16             192:10,15 193:1       119:12,15 120:18      199:5,10,16
      simplicity 45:24      size 427:4              120:21 122:12,14      200:11,14 201:4,5
      simplify 81:20        skill 76:9,20 79:20     122:21 123:18         201:15,18,23
      simply 9:6 20:5         81:19 85:2 86:1       124:7,13,18,23        202:3,9,11,18,21
        49:19 129:1,3         293:13 332:2          125:1,11,13 126:5     203:11,14,17,18
        257:19 337:10         339:7 344:6           126:7,21,23           204:7,9 206:6,8,13
        380:11 422:19         345:16 357:5,21       127:21,23 130:5,8     206:16 208:9,13
      simultaneous 40:3       358:6 363:12          131:16,17 132:1,6     208:14 209:19,21
        40:11 47:4 48:13      389:23 390:1          132:9 133:4           210:21,23 211:9
        82:18 83:5 114:20     397:14,18 398:18      134:12,15 135:5,7     211:11 212:13,15
        115:7,18 116:3,4      399:1,2,6,10,20       136:9,10 137:2,22     213:2,7,11 214:4,6
        116:10                400:6,19 401:1,8      137:23 138:1          214:22,24 215:7
      simultaneously          401:15 402:12,19      140:16,18 142:8       215:13,16,17
        48:6,19,22 102:6      402:23 403:9,16       142:11,21,23          216:21 217:9,17
        277:8 287:9,13,19     403:24 404:5,23       143:4,10 144:11       217:19 218:13,14
        287:20 289:13,16      404:24 405:21         144:14,19,20          218:16,19,20
        289:20 290:1          407:11 409:5,21       145:15,18 146:6,9     219:11 220:6,8,19
        291:14,19 293:8       410:7 411:11,21       147:7,10 149:8,13     221:13,16,20
        326:9 330:5 331:5     411:24 412:2,9,23     149:20,23 150:18      222:1,4 223:10
        331:8 334:2,6       skilled 50:18           150:21 152:15,21      225:15 226:3
        362:1 366:5           76:15 77:10 91:20     152:24 153:6,17       247:23 251:4
      single 49:10 50:7       92:1                  158:4,6 162:3,6,20    259:12 260:9,15
        83:3 90:8 91:7,10                           162:22 163:12,14      261:4,10 262:5,9

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 492 of 503 PageID #: 18371


     [slayden - specifically]                                                          Page 59

        262:20,24 263:9         slightest 429:11      somebody 108:13         172:6 202:1
        265:8 346:2 372:9       slightly 91:16        somebody's 163:1        230:21 238:10
      slice 211:4                 211:6               somewhat 188:9          239:22 256:2
      slide 8:15 9:11,13        slog 24:16              377:10                338:1 356:22
        9:18 10:2,13,16,16      smsc 49:19 150:10     soon 211:17             373:2,17 428:2
        42:20 44:13               150:14              sorry 23:22 27:7      sorts 92:9
        116:20 120:19,19        social 429:18           28:11 42:4 48:4     sound 102:10
        122:13,20 124:24        society 270:1           77:17 104:15          313:4
        125:11 126:6,8,21       software 31:18          107:4 115:20        sounds 96:23
        127:22 130:5              57:9,24 58:1 59:2     130:6,23 134:14       100:24 102:11
        133:6 135:5 136:9         59:3,20 70:6 88:1     134:21 135:10         133:21 138:20
        158:5 159:13              88:3 92:10,16,22      153:22 159:18         149:24 150:2
        172:24 175:12             93:5 165:17 279:6     163:20 165:8          160:17 216:2
        176:12 177:10             282:2 285:4,8,10      171:22 179:3          301:1 305:1 313:5
        178:17 179:1,2,7          285:13                180:9 188:15          334:14
        179:19 191:15           sold 53:15 160:3        193:7 194:19        source 212:23
        193:16 211:9              161:4,9 164:24        197:13,16 200:1       213:15 214:13
        212:14 214:23             166:18 167:6          209:18 213:5,8,10     282:7,24
        219:1 227:22,23           265:19,22 266:2,5     213:20 216:9,24     space 72:14
        231:3 239:22,23           278:13,18,19,22       218:6 222:13        span 283:12
        239:24 240:12,22          279:1,10 284:1        231:2 236:15        spdt 148:10
        241:5,9,11,19             285:22 393:2          237:18 261:15       speak 229:17
        243:6 245:1               414:24 416:7          262:8,22 263:10       261:17 262:13,16
        253:23 255:5,17           419:22,23 421:11      264:7 281:3           264:14
        271:5 274:18,22           423:21                282:14 287:20       speaking 60:22
        275:8 276:12            soldering 252:11        295:20 297:13         262:5 357:22
        303:15 313:12,18        sole 382:18             298:15,23 302:12    special 108:13
        313:20,22 328:9         solution 197:7          305:14 307:10         234:21 424:3
        328:20 329:1,4,10         236:12 245:13         308:24 310:8        specialized 198:12
        329:14,22 330:2           348:19 350:5          322:18 332:3        specific 19:24 47:9
        332:10 336:17             351:9 404:11          338:6 340:2           55:4 56:9 66:6
        337:23 338:6,7,16       solutions 1:23          341:13 344:23         68:4 85:9 99:10
        339:18                  solve 50:23 76:19       353:18 357:16         114:6 156:20
      slides 8:5,11,13,13         82:11 349:22          363:6 365:12          219:2 240:22
        9:15,15 11:24             403:10,11             366:22 403:1          257:15 340:6
        12:1 23:11 44:11        solved 350:6 404:6    sort 15:23 20:3         409:18
        177:9,15 209:14           405:3                 25:14 32:20,22      specifically 16:2
        225:9,12,17,20          solves 104:21           34:2 36:2 45:22       51:21 91:23 96:1
        227:21 240:17,22        solving 169:3           48:20 49:3,16         101:16 102:4
        241:5 244:1 268:1         404:9                 57:20 61:22 92:18     108:1 164:20
        271:1 275:10                                    92:23 134:24          169:20 205:21

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 493 of 503 PageID #: 18372


     [specifically - submitted]                                                    Page 60

        217:21 247:13,14      128:3 258:20          323:2 342:13,20     stretch 370:7
        300:5 362:24          269:19,20 296:17    statements 102:19     stricken 135:3
      specification           299:10 301:7          320:8,10 322:8,9      381:4
        105:17 331:11,21      308:10,16 341:9       325:16 345:24       strike 53:9 68:15
        332:9 336:8,11        341:14,24 356:8       379:7                 73:20 88:21
        341:12 344:4          376:12 417:3        states 1:1 311:19       134:10 163:10
        345:4 349:1         standards 297:3         331:7 374:21          188:15 243:24
        358:16 363:1,11       300:16                396:4                 261:12 265:7
        397:11,20 398:12    standing 432:3        stay 80:12            string 100:7
        398:16 408:19,23    stands 145:23         stays 80:10           struck 381:6
        409:7,10,18,20,23     174:17 175:2,4      step 17:4 72:18       structure 343:8
        410:5 411:7 412:6   stanford 268:10         223:20 257:6        studied 132:2
      specified 401:19        367:15                260:17 369:19         343:16
      specify 111:13        star 143:24             393:6,7,12          study 181:17
        112:6 113:5         start 8:15 34:16      stephen 384:6           343:19 344:1
      speculate 381:6         76:12 177:11        steps 402:5 404:24    studying 140:22
      speculating 70:12       213:20 220:6        stick 16:6 337:11       301:8 308:10,18
      speculative 414:9       228:6 307:12          374:4 429:19          407:4
        421:4                 329:5 342:11        sticker 158:10        stuff 87:8 128:6
      speed 149:15            352:4 356:23          166:20 180:22         220:16
        268:21 269:15         357:13 370:4        stickers 31:3         subject 12:23 98:2
        291:1                 373:21 428:22,24    stipulated 379:3        181:21 247:10
      spell 266:22            429:5,6             stop 221:9 338:10       266:9 296:23
        409:16              started 96:24           338:13,15,20          314:7 315:22
      spoken 301:2            185:9 267:15          339:19 340:17,20      317:3 344:8
      spot 191:11           starting 55:10          340:20,21 343:12      396:21 402:3,17
      spreadsheets            112:20 178:14         343:13 356:20         405:11 408:17
        33:11                 189:7 307:16          358:13 361:10,12      409:8
      square 172:1            415:20 420:24         367:24 368:1,4      subjecting 249:6
      squinting 227:11      starts 147:8          stopped 312:6         subjects 124:10
      staggered 231:17        149:21 150:19       stored 86:3,5         submitted 10:8
      stamp 171:15            166:4,6 186:9       storing 85:18           20:23 22:7,8
      stamped 131:5           258:19              story 238:11            103:6 109:23
      stand 15:4 20:6       state 125:4 138:9     straight 44:20          115:23 117:4
        22:21 23:24 48:16     266:21 411:23         160:24 170:4          125:4 135:13
        49:16 87:18           412:22              straightforward         152:2 155:13
        148:13 169:16       stated 123:2            81:20                 233:13 296:6
        264:22 266:19         126:24 133:15       strange 59:11           301:17,20 302:9
      standard 72:9           156:3 392:11        straw 320:1             302:22 303:4,18
        73:3,5 82:4,5,9     statement 64:16       street 1:17,24 2:5      303:19 342:21
        84:13 87:4 93:2       89:1,5 259:20         3:4,11                370:20 371:10,14

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 494 of 503 PageID #: 18373


     [submitting - switches]                                                           Page 61

      submitting 135:21        suggestions             102:16 104:6,8      sustain 124:6
      subsequent 356:5           404:18,21 405:2       105:8 108:8           316:18
        359:4                  suggests 33:14          112:16 113:20       sustained 26:13
      subsequently               239:23,24 281:15      114:13,22,23          122:18 131:14,24
        323:16                 suit 51:18              115:2,9,15 116:1      132:8 133:3,14,18
      substance 19:21          suite 1:24              116:13 126:15         134:2 163:9 168:3
      substantial 92:6         sum 88:20               127:12 128:5          219:10 366:21
      substantive              summaries 386:12        129:6,16 130:2,11     369:14 380:21
        232:14 308:2             386:15                134:9 149:3 152:7   sw211a 159:16,19
      substitute 279:18        summarize 375:9         159:5,20 161:1        160:3 161:4,16,21
        293:16 418:18          summary 100:17          162:14 163:22         162:11 163:16
        419:6,15,16,21,23        100:19 198:23         165:21 166:4          164:2,6 165:4
        420:5 421:13             208:2                 169:24 176:22         278:8 281:11
      substitutes 417:8        supervised 269:10       179:15 201:17         283:3
        418:17 419:18          supervision 432:7       203:12 211:3,20     sw211wa 165:11
      substituting 87:10       supplied 12:19          214:20 216:1,14       165:14
      substitution 81:19         133:16 201:7          220:24 223:15       swap 351:6
      subsumes 332:4             420:17                231:5,10 240:24     switch 9:19 10:7
      subtracting              suppliers 417:24        241:22 242:11         49:19,23,24,24
        420:24                   418:3                 243:23 246:16         50:2,12,13 52:3,18
      success 401:24           support 17:23           250:20 252:6          109:2,13 120:3
        424:19                   72:1,8 76:1 82:18     262:18,18 263:5       125:18 138:7,7
      successful 304:16          125:15 209:24         266:15 295:7          139:24 147:21
        406:9                    287:18 291:1          302:10 304:4          148:10,14,22
      successfully             supported 135:9         306:8,17,20           149:5,16,17
        324:14,21 401:16       supporting 47:14        312:11 325:13         150:15 153:11,12
        405:17                   52:19 56:4 377:8      333:10 336:3,5,6      153:24 154:15,16
      suffered 414:6,18          384:11                338:18 353:1          154:24,24 155:20
      sufficient 14:4          supports 47:12          354:7 357:4 358:4     155:23 156:15,23
        20:7 288:14            suppose 53:11           358:17 359:9          157:2,13,14,21
        294:13,15 397:12         120:24 157:6          360:9 363:6,8         159:14 160:4,6
        408:20 411:9             205:12 207:6          428:16                161:4,8,21,23
      suffix 254:15              216:20 305:17       surprise 122:22,24      163:16 168:19
      suggest 29:20              313:10                246:9 407:12          275:1 285:18
        62:15 111:18           supposed 122:2        surprised 109:20        350:12,13,16,18
      suggesting 413:6         sure 13:24 14:13      survived 315:15         350:19,24,24
      suggestion 10:20           43:1 44:19 55:10    suspect 147:18          351:3 398:5,9
        21:3 29:4,4,16           57:4 58:11 60:24      151:22              switched 176:13
        32:2 33:14 34:2          66:23 71:15 73:17   suspicion 148:21      switches 26:20
        373:12 404:14            76:18 77:13 82:5    suspicions 379:18       49:19 50:15,17
        413:8                    84:12 101:24                                108:6 109:9,19

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 495 of 503 PageID #: 18374


     [switches - tell]                                                                  Page 62

        110:3,12 138:11           252:20 253:23         193:5 205:7         teach 363:1
        148:20,24 156:1           255:4,16 258:8        207:11 212:12,24      365:20 411:10
        160:3 285:12              259:9 260:19          213:15 214:11       teaches 14:10,14
      switching 138:6             261:6 296:2 307:7     257:20 258:1          14:21 49:1 79:23
        147:22 222:5              310:1 313:11          260:13 261:23         87:11,14 174:18
        291:2 350:16              318:2,5 321:12        284:3 340:4,13        400:16 405:14
      sword 316:17                326:15 327:2,20       347:6 361:10,11     teaching 77:11
      sworn 267:3 385:8           328:8 332:8 341:1     368:12                295:17 363:14
        432:5                     342:10,15 353:1     talking 8:16 9:12       404:13 405:10
      system 44:1 58:18           354:16 355:1,8        13:18 42:14 45:20   teachings 78:3
        72:13 76:10 205:3         361:22,23 363:24      51:24 56:9,16,17      404:18,20 405:2
        207:13 269:9              364:2 369:19,23       61:6 63:6 74:15     tech 268:9
        331:4 334:5               370:6,11,23 372:1     85:8 113:17 114:8   technical 122:6
        336:10 348:13             373:5 397:15          114:14 116:2          123:23 188:20
        363:3,4 398:5,9           402:4 405:23          165:24 206:19         198:21 210:3,6
      systems 59:15             taken 32:4 137:14       209:17 242:23         270:6 300:9,11
        67:22 68:4,6              224:15 226:10         245:1 262:7           304:21 335:23
        138:18,23 139:11          227:4,18 228:22       264:21 278:3          336:2,4,9 347:1,2
        154:6 268:18              232:23 233:1          280:22 283:23       technically 209:8
        374:16 397:4              242:19 372:3          285:8 287:2         techniques 412:16
                t                 386:19 403:14         288:23 307:15       technologies
                                  432:4                 322:24 323:19         251:16
      t 5:2 6:1 252:5
                                takes 213:8 387:3       328:16 336:16       technology 1:4
        432:1,1
                                talk 14:20 15:18        340:23 348:10         51:4 270:19
      table 253:2,10
                                  30:12 46:5 48:20      350:13 352:2          311:18 374:13,17
      tackle 7:16 226:15
                                  49:5,20 57:16,24      428:24 429:6          392:11 410:18
      take 7:13,17 14:3
                                  64:17 80:24 88:23   talks 14:17 44:3      teeth 33:18
        18:11 19:3 21:15
                                  91:1 92:17 113:18     45:11 46:4,11       tell 10:1 24:11
        26:1 31:1 34:15
                                  163:15,24 164:5       47:11 50:23 90:4      26:9 32:14 40:9
        35:6 42:3 44:13
                                  165:3 209:14          90:24 101:16          55:7 69:24 99:4
        44:18 51:3,22
                                  225:17 260:11         139:20 338:24         99:21 102:24
        58:9 60:20,21
                                  317:2 322:12          339:4 341:22          142:20 153:20
        68:16 69:13 72:18
                                  329:7,11,15 346:9     361:9,9,11            165:1 170:21
        83:8 86:8 94:11
                                  353:4 429:8,10      tamburri 1:21           182:15 205:1
        122:19 124:11,19
                                talked 16:15 31:20    tandem 269:7            232:12 246:17,20
        124:22 137:3,5
                                  45:2 54:2 70:15     tangri 3:8              246:22 249:9
        156:4 162:20
                                  70:16 79:17 86:1    tape 268:22             268:4,16 276:7
        190:2 202:15
                                  87:9 93:11 106:23   target 148:3            348:12 370:1
        223:24 224:3
                                  108:1 117:17        taught 40:1 85:6        379:13 428:18
        225:24 226:7
                                  171:9 181:2           272:13,19 324:4       429:15 432:5
        227:6 233:2
                                  187:11 189:11         363:12
        235:11 250:7
                                           Veritext Legal Solutions
                         215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 496 of 503 PageID #: 18375


     [telling - think]                                                                  Page 63

      telling 23:10               342:24                425:20 432:4,6,9      206:22 210:10
        428:20                  testifying 28:18      testing 18:16           231:6 246:3 249:8
      tells 120:4 252:1           215:18 216:4,10       139:8 367:21          269:12 273:16
        291:7 380:1               217:20 218:7,22     texas 2:14              293:2 319:24
      tendency 64:17              219:6 383:7         text 10:4,16 46:8       320:14 330:7
        386:23                    384:24                48:21 189:2,3,6       333:18,22 339:9
      tender 270:17             testimony 1:12          191:6,22 192:10       339:17 350:10
      tending 423:12              9:18,21 13:11         238:9 327:7           356:8 359:7,8,14
      term 85:7 269:4             34:11 48:24 62:18     387:24                359:14,15 371:18
        341:20 389:5,8,15         78:24 79:10 97:22   textural 264:4        things 7:13,19,21
      terms 65:7 85:9             98:1 126:11,18      tfenton 2:16            28:6 29:3 30:6
        191:4 331:16              149:2 166:3,22      thank 12:13 16:11       31:14 38:2 40:20
        388:21 393:10             167:11,21 168:6       16:12 17:3 19:6       51:2 81:14 85:11
        423:19 424:18             181:1 187:22          22:16 42:20 43:23     99:8 102:16
      territory 423:20            188:8 193:19,21       57:23 87:16 94:11     113:19 125:9
        424:8                     195:24 196:5          94:14 105:15          127:9 129:11,16
      test 50:8 88:12             203:24 205:18         137:23 152:20         139:19 146:16
        195:16 197:6              206:2 209:3 213:4     153:4 179:5 184:5     203:8 205:11
      tested 18:6 69:2            213:12 216:18         194:19 224:11         227:7 228:6 229:1
        150:23 156:17,18          219:3,24 236:12       247:21 248:17         279:17 303:22,24
        157:1 158:14              240:15 241:7,11       249:2 260:15,18       319:22 351:20
        159:15 161:9,23           241:12 243:24,24      265:8 273:19          358:21 368:13
        249:17 278:19,23          245:3,9 246:15,18     276:20 294:19         373:2,3 379:2,5
        281:14,23 285:5           246:21 247:13,14      363:20,22 365:21      383:2 429:17
      testified 62:19             247:17 249:10,13      371:24 372:16       think 8:21 11:16
        158:24 159:1,2,6          249:22 255:14         431:1,15              11:23,24 12:10
        164:23 192:20             260:12 261:11,13    thanks 430:2            15:13,23,24 16:5,9
        196:3 199:20              262:6 263:12        theme 148:18            16:19 18:9 20:10
        209:6 212:6               264:13 265:7        themes 304:15           20:17 21:7,14,14
        213:23 214:2,7            271:1 275:1         theories 17:6           27:21 28:3,8 30:8
        222:6,9,15 267:4          277:11 288:13       theory 17:8,24          30:13,22 32:24
        270:5,8 285:14            308:20 310:21         210:1 371:11          37:8,20 40:15
        295:13 301:14             315:8 321:15        thereof 432:10          46:6 49:2 54:10
        314:6 330:14              330:17 346:21       thermal 229:18          57:2 62:4 65:21
        342:19 381:24             347:4 372:13        thin 96:16 174:1        65:21 66:1 70:15
        383:21,23 385:10          378:23 379:13       thing 11:14 45:2        71:15 81:24 92:4
        385:13                    381:3,5 382:16,17     45:12,19 51:8         92:13 95:18 96:6
      testifies 381:13            383:15 384:2,4,7      54:8 80:20 82:7       98:24 101:12
        383:3                     384:13 385:8,9,12     85:12 86:11           102:17,22 106:8
      testify 15:16               385:15 386:3,8        108:21 167:14         106:22 108:19
        187:24 213:18             387:1,9 422:15        192:18 200:21         109:18 111:24

                                           Veritext Legal Solutions
                         215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 497 of 503 PageID #: 18376


     [think - trademark]                                                             Page 64

        115:4 116:8,24        350:4 358:6            222:11 264:10         290:18 293:19
        117:24 119:10         362:22 428:14          266:10 277:4          306:9 321:14,16
        124:5 126:24        thinks 15:17 380:9       279:17 281:18         352:18 364:24
        128:17 130:6        third 142:10 147:8       283:13 289:8,18       400:22
        132:13 134:23         389:15 415:4,9         295:24 304:22       toggle 50:12
        136:12,14 143:24      420:11                 319:23 321:13       toggled 179:14
        149:4 150:2         thirds 355:19            325:18 335:5,8      told 26:19 48:4
        154:12 166:3        thoroughly 157:5         343:12 347:8          49:15 62:21
        170:3 171:21        thought 31:5             354:10 356:11         115:13 116:7
        178:4,19 179:14       128:22 160:18          360:8 362:8 364:2     117:1 155:8 253:4
        181:18 188:6,7        227:16 232:4           369:19,23 387:2       374:12
        189:20 203:13,24      236:10 275:2           387:14 395:15       tomorrow 21:1
        209:11 216:17         317:9 318:13           397:19 399:4,8,21     22:10 24:21 25:4
        219:5 220:2           387:2                  400:7,20 401:1,9      370:4,22 371:6
        232:23 233:9        three 12:1 17:5          402:13 403:23         373:7,15 427:19
        235:17 238:13         18:8 57:20 70:16       404:15 405:6          428:6 429:4,23
        240:24 243:16,18      103:11 121:9,13        407:18 409:15         430:1,18 431:6,18
        245:13,19 246:4,8     125:10 126:1           419:22 422:2        tonight 22:13
        246:9,12 247:3,11     128:1,14 129:4         423:6 424:6 426:1     427:23 428:1
        247:12 248:9          130:24 131:10,18       426:22 428:22,23      430:7 431:9
        250:24 255:13         132:2,14 136:5         432:4               tool 387:6
        263:7 264:5,19        174:21 241:21,22    timeframe 57:21        top 12:24 79:19
        265:1,4 267:11,14     252:21 253:13,18    timeliness 56:4          145:23 146:8
        275:5,20 281:4        254:4 322:14,22     timer 44:7               171:19 189:10
        283:6 284:9 290:3     323:5 325:17        times 44:7 157:9         193:16 197:4,24
        290:17 300:23         355:20                 188:22 268:15         198:10 199:19
        305:23 316:9,11     time 1:16 14:4           277:3 295:14          205:23 206:23,23
        316:19 318:9,15       17:11,24 20:8       timothy 3:10             207:24 230:21
        320:4,13,16 323:2     21:13 22:7 24:7     tip 377:9,11             254:8,11 275:24
        328:10 330:15         32:6 35:17,21       title 12:22 52:2         275:24 311:16
        331:18 332:1          36:1,12,16 39:1        101:10 120:4          326:21 331:4
        337:8 340:19          44:4 59:13 61:3,7      147:11,19 153:7       341:2
        346:1 348:11          63:4 66:15 75:1,3      153:20              totally 11:15
        354:11 360:2,23       75:5 79:6,11        today 24:3,14            120:15,16 200:18
        364:4 367:7           81:16 88:22 90:12      95:10 97:22         touched 381:15
        371:17 374:8          95:9 100:6 115:1       106:11 135:21       touching 242:16
        384:1,16 386:17       124:19 137:3           137:8 138:9 140:6   tower 2:12
        428:12,18 429:1,3     153:13 157:6           256:4 270:12        traced 73:14,17
        431:3,11              162:17,18 165:11       271:1 273:23        trademark 396:4
      thinking 18:20          169:21 185:13          284:19 285:14         396:7
        335:13 336:12         187:13 190:2,12        288:14 289:4

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 498 of 503 PageID #: 18377


     [traffic - uncommon]                                                         Page 65

      traffic 207:1,8       true 109:17 111:7     49:7,24 50:5,6       type 123:23
      transaction 46:19       113:21 116:16       51:8 57:5 59:9         199:20 205:2,11
      transcribed 432:7       175:19 228:21       61:13,15 62:13,22      269:12 381:11,17
      transcript 1:11         229:3 239:20        84:3,15 85:5,17,20     390:4 414:23
        28:19 134:8,10        293:2 377:5,19      86:18,21 89:6,16     types 90:19 93:12
        215:8 217:16          432:8               91:2,9,9 92:7          252:18 381:9
        220:11 221:2        truman 2:11           102:7 125:3            390:3 414:12
        432:8               truth 28:22 378:11    132:17 134:12,15       415:1
      transcription           432:5,5,6           135:23 136:5         typical 128:17
        432:8               truthfully 122:8      139:8,9 155:20       typically 55:11,17
      transfer 215:3,20     try 33:8 43:13        160:15 184:14          55:21 422:21
        216:4,11 217:21       92:22 137:7 218:3   187:7 188:11         typo 166:12,15
        218:9,22 219:7        221:22 227:7        194:2 195:8            177:23 178:22
        343:9                 238:8 293:19        198:11 199:23          179:9
      transmit 84:5           318:12              203:2,5 205:4        typos 430:13
      transmitted 335:2     trying 43:18 62:7     208:3 211:12,21               u
        335:2                 64:22 76:18 92:21   219:22 227:3
                                                                       u.s. 119:6 141:6
      tread 29:22             95:23 130:3         233:17 259:3,6,22
                                                                         144:16,18 145:20
      treat 380:22            157:11 162:24       259:24 277:8
                                                                         145:20 151:17
      treating 228:13         170:12,15 221:9     281:16 285:14
                                                                         265:20,23 266:2,6
      trial 17:7 35:2         232:18 233:20       287:9,14,19,21
                                                                         398:3
        42:3,7 51:23 53:5     236:3 286:6         289:13,16,21
                                                                       u1 71:16
        58:9,13,21 60:11      351:15 354:5        290:1 291:14,20
                                                                       u2 71:16
        68:17,18,22 69:5      359:14 403:10,11    293:15 295:16
                                                                       u3 71:16
        74:5,7 88:6           426:2               299:9 309:20
                                                                       u4 71:16
        120:19 152:22       tsaulsbury 3:13       325:2 326:2,9
                                                                       ubiquitous 349:16
        153:15 182:7,24     tuesday 1:15          327:3,23 328:1
                                                                         349:17,18
        196:19 199:2        turn 42:5 74:4        330:4 335:7
                                                                       udc 189:11,16
        201:20 232:11         143:6 182:5,22      336:10,20 337:19
                                                                         212:7,7 213:14,23
        246:8 250:18          183:15 196:14       342:5 343:10
                                                                         214:8 218:10,23
        255:9 258:9 270:5     199:17 201:19       345:9 346:4,8
                                                                       udcs 195:19 200:5
        280:7 292:14          203:15 258:16       355:19 358:7,19
                                                                         211:1
        295:13 312:21         280:5 287:23        360:20 361:5,14
                                                                       ultimate 8:21
        318:23 321:9          307:9 324:16        362:15 363:3,4,14
                                                                         397:8 408:3
        354:18 372:14         388:11              373:3 376:14
                                                                         421:14 422:23
        383:13 385:1,19     turned 278:7          381:9 390:3 393:6
                                                                       ultimately 27:19
        386:14,20 387:4     turns 277:16          414:12 417:24
                                                                         249:16
        387:13 396:22       two 16:14 26:1        418:3,5
                                                                       umbrella 382:5
        397:1 399:12          36:3 38:15,17     tx 296:3,5 321:8
                                                                       unanimous 121:13
      tried 368:21            41:2 43:13 45:7,7   341:2 342:10
                                                                       uncommon 65:3
        395:21 407:6          45:9,10 47:6,18

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 499 of 503 PageID #: 18378


     [underlying - usb]                                                            Page 66

      underlying 386:7      201:10 229:15          275:1 414:24          49:19 52:3,18
       386:16               238:16,23 242:2      united 1:1 311:19       72:1,4,9,13 73:3,8
      underneath            251:15 261:19          374:21 396:4          73:22 74:14 76:3
       145:17 149:10        262:12 286:14,22     units 415:2,6           76:20,21,22 81:14
      understand 7:24       324:1 352:22         universal 334:17        82:5,9 84:2,3,4,5,6
       12:12 19:16 26:12    357:7 383:5          university 268:10       84:13,14,22 85:5
       29:8,21 30:15       understands 14:14       367:15                85:17,20 86:16,17
       34:12 51:15 55:16    14:17 211:21         unnecessary             86:18,21 87:5,12
       63:9 64:14,21       understood 23:12        409:16                87:13 90:8 92:2
       73:18 74:17 75:4     30:10,24 54:13       unobjectionable         92:12,18,24 100:4
       79:2 83:19 89:10     78:24 85:24            75:6                  100:5,7 102:5,6,7
       89:14 97:6 108:19    128:23 129:17        unpack 216:14           105:17,18 108:6
       111:20 125:23        130:3 225:21         unpatentable            109:8,13,19
       128:24 132:22        226:1 234:11           127:17                147:21 148:10,13
       146:5 152:14         264:1 343:20         unpatented 427:2        149:16,21,22
       154:19 159:20        353:24 357:20          427:12                150:1,2,13,14
       164:8 171:14         410:8                unpersuaded             151:19,20 153:11
       187:5 188:17        undertaken              126:10                153:24 186:12
       195:15 198:7         362:13               unpredictable           189:16 192:11
       222:14 225:1,13     undertaking             405:13                194:2,5,5 195:6,8
       226:18 233:24        318:17               unscratched 177:1       198:11 199:23
       234:12 240:9        undisclosed 15:2      unsupported             200:2,4,22 202:23
       252:13 262:18       undisputed 317:6        126:12                203:2,4,5 206:11
       275:16,18 277:10    undue 92:3 386:24     unusual 351:6           208:3,11,23,24
       277:11 278:18        411:14 412:11        unwired 182:17          210:10 212:3,8,18
       284:12 288:3        unduly 33:22            186:16 187:11,16      213:19 214:2,9
       290:11 294:9        unerring 421:5          197:8 198:20          230:18 258:20
       311:24 317:5        unexpected              201:7 204:4 209:9     259:3,6,15,24
       320:11,12,13         405:13 406:19,20       374:17                260:3,3 277:7
       331:14 332:3         406:21               update 55:21            281:6 286:15,16
       333:22 336:16       unfortunately         updated 181:13          286:23,24 287:3,5
       339:8 340:9 345:3    140:20                 184:15 185:17,21      287:7,10,12,14
       357:8 358:20        unimportant             187:2 193:11          289:17 291:13,18
       366:17 367:18        387:2                  194:14                293:7 297:3
       387:18 388:13       unintentionally       upstate 267:20          298:14,17,22
      understandable        242:22               upstream 189:13         299:3,9 300:5,10
       357:15,17,19        unique 90:17            212:7 362:8           300:12,16,19,21
      understanding        unit 35:7,8,15,16     usages 116:10           301:2,7,8,22
       101:1 131:6          35:23 36:10,18,23    usb 10:7 45:8,9,10      303:23 308:10,16
       143:18 144:7,10      200:22 201:6           46:1,10,12,22 47:5    308:19 324:23,24
       152:3 186:18         207:14,17 258:19       48:14 49:11,12,16     325:1,23,23,24

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 500 of 503 PageID #: 18379


     [usb - want]                                                                 Page 67

        326:8,10 327:13       398:18 400:10       various 14:9 25:7    visible 231:19
        327:18,24 329:5,8     404:12 411:13         28:6 44:22 98:18     232:24 233:13
        329:24 331:11,16      412:11 414:22         113:13 114:1         234:2,18 243:12
        331:21 332:8,10       419:16 422:14         136:1 236:4        voiceover 209:13
        332:16 334:13,15      423:15 424:1          247:16 268:11,15   volume 1:13 213:3
        334:16,21 335:14      425:7,8,12 427:21     386:3                418:23
        335:17,24 336:8     useful 91:6 323:7     vast 8:12 314:22     voluminous 99:3
        336:11,22 337:1,5   user 57:2,3,7 58:4    vehicle 64:19        voluntarily 426:2
        337:8,11,16,20        58:5 60:15 285:11   verdict 16:17        voto 187:24
        340:3,6 341:9         291:7                 381:10 430:21        206:22
        348:20 349:1,24     uses 78:20 80:3         431:5              voto's 187:21
        352:24 356:8          81:1,11 82:9        verify 224:24          205:17
        357:9 360:6,13,21     112:12 114:6          227:2 233:3        vs 1:7 27:10
        361:15,17,24          341:20              veritext 1:23          302:10
        362:5,9,16 363:15   usually 188:14        version 179:18                w
        365:11,13,24          203:9 351:24          181:4,13 184:15
                                                                       w 2:3 175:4
        366:4,10 367:9,21   utility 424:23          185:19 187:1,3
                                                                       wafer 230:24
        374:18 389:5,9,10            v              207:5 229:21
                                                                       wait 22:12 30:5
        389:11,12,15,17                             230:19 237:21
                            v 27:4 266:24,24                             32:24 43:18 78:11
        389:17,19 392:11                            279:13,15,20,22
                              267:2                                      168:4 228:5,5,5,6
        398:5,9                                     279:22 280:23
                            v.b. 405:21                                  228:6 236:22
      usbgear 164:14,18                             281:13 282:1
                            valid 10:18 273:3                            237:8,8,8,9,12
      usbs 45:9                                     283:4,10 329:2
                              273:4,15 282:15                            239:16,16,17,17
      use 21:16 32:7                              versions 148:22
                              284:20 292:15,19                           239:17 241:3
        41:2 48:10 49:10                            155:24 156:2
                              310:22 313:9                               262:8,10 315:21
        50:3,14 80:23                               281:16,19
                              314:18,19 322:15                           319:8,8,9 357:12
        82:8,19 87:7 90:9                         victor 266:24
                              322:23 376:3                               371:11
        91:11,13 92:9                             video 37:21
                              378:1 396:6,9                            waiting 145:8
        93:8 97:4 101:4                             153:23 269:20
                              397:10 413:14                              356:22
        107:16 114:7                                271:19 304:2,5
                              415:10,13 422:6                          walk 30:21 66:1
        151:16 159:21,22                            385:15
                            validate 355:5                               120:17
        202:19 223:13                             videographer
                            validity 37:3,4,11                         walked 178:7
        234:20 243:1                                385:4
                              97:18 115:24                               382:3
        245:16 254:18                             videos 385:17
                              315:14 330:20                            want 9:2 10:24
        293:14 297:6                              view 41:23 317:5
                              344:15 378:6                               12:7 14:12 15:1
        331:16 337:15                               403:15
                              396:10                                     15:20 19:19,21
        339:3 342:5,7                             viewed 408:24
                            value 423:1                                  22:12 24:15 26:7
        345:17 361:14                             views 16:18
                              424:13 425:8                               32:6,8 33:17,18
        379:21 381:10                             violation 261:12
                              426:24 427:7,9,10                          55:12,14,21,24
        385:11 386:14,19                          virtually 303:3
                              427:14                                     62:15 64:7,9,18
        386:22 397:14,16
                                                                         65:2,20 66:23
                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 501 of 503 PageID #: 18380


     [want - word]                                                                 Page 68

       74:23 79:5,15         172:20 175:5         welcome 250:6          79:17 86:9 94:5
       88:20 89:19 99:20     200:10 211:16         373:5                 101:21 115:14
       99:21 104:9,13        216:20 227:12        went 61:11 63:10       143:8 152:20
       113:18 124:11         235:11 246:12         109:1 140:9           169:16 173:22
       137:7 138:24          247:19 252:11         154:23 179:7          174:2,4 183:2
       172:14 181:3          254:19 255:1          232:10 267:20         197:16 199:4
       217:4 223:15,24       259:2 270:15          269:7,10 278:5        201:22 206:15
       224:8 231:9 233:3     284:10,20 286:11     wet 382:5              208:11 217:14
       241:21 247:8          299:23 301:5         white 26:3,8 71:12     220:2,2 224:8
       262:18 266:14         308:8 325:22          191:7 210:15          226:20 239:10
       281:21,24 284:1       332:6 337:21          242:15 249:6          260:5,18,21 261:2
       286:9 290:19          338:2,10,13,21       widely 349:19          262:6,13 263:2,14
       305:3 314:15          346:8 350:21         wiener 3:9 264:5       263:16,17 264:13
       316:23,24,24          351:21 355:19,20     willful 375:21         264:22 266:23
       317:1,23,24 320:1     359:6,7,13 360:19     377:16,17 391:21      280:9 294:22
       320:12 321:12         361:5,14,21 373:2     394:23,23 395:4       295:11,18 297:7
       336:21,24 347:20      379:20 404:2          395:24                304:16 306:15
       347:21,22 349:21      428:10,13,14         willfully 395:7        325:8,10,14 326:3
       358:7,21 363:24      ways 73:8 204:23      willing 422:7          326:5 332:1
       428:11 429:12,13      242:18                426:7,10,17,18        338:18 369:20
       431:12               we've 132:14          wilmington 1:18        381:7,13,14,15,24
      wanted 20:5,14         209:17 213:15         2:6 3:5               382:20,21 383:2,3
       23:21 25:22 99:11     271:18 273:20        win 413:6              383:8,11,12
       107:2,6 130:2         277:2 340:13         winbond 176:24         384:21 386:8
       142:20 152:6          342:13 347:6          241:6 244:14          432:11
       169:16,23 224:3       349:4                 254:3,18             witness's 312:17
       231:3 249:9 264:3    wearing 382:4         wind 20:20             318:10 383:4,6,14
       278:5 349:22         website 297:6,20      windows 59:21,24       385:8
      wanton 395:4           297:22,24 298:13      60:2                 witnesses 24:5
      wants 9:23 15:19       298:16 304:3         wire 269:20            263:11 374:23
       21:4 35:17,22         305:7                wired 218:10,23        378:24 382:19
       90:23 369:9          weeds 32:3            wires 252:4,8          383:21,23 384:1,8
       397:16               week 24:1 175:4       wiring 73:15           384:13 385:2,4,7
      warn 24:15             175:21 176:9          219:6                 386:3 389:2 432:5
      watch 48:5 304:6       255:10,21 267:14     wisdom 407:15          432:6,9
      water 382:4           weighing 379:22       wise 24:7             wolson 1:20 7:5
      way 16:9 40:20         384:7,13             wish 410:2            wonder 383:20
       50:1,2,4 61:23       weight 126:14         withdrawn 315:23      wondering 244:18
       65:3 72:12 80:13      379:24 382:11,13     witness 4:2 23:2      word 19:3 41:15
       90:12 91:2 105:17     384:1,15 386:17       34:14 44:14 64:23     114:19 115:6
       129:21 142:19         408:1                 66:22 68:20 77:14     125:19 202:15

                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 502 of 503 PageID #: 18381


     [word - zoom]                                                                 Page 69

       223:2,3,6 230:14     worthy 382:20       yeah 15:13 18:19          295:17
       298:23 339:3         wrap 24:14            19:23 20:10 28:4      years 56:17 61:13
       360:24 361:2         wrapper 107:1         31:5,20 49:2            62:10,13,14 64:8
      worded 264:20,24      wrapping 23:24        51:18 52:2,6            64:11 65:12,13
      wording 328:22        write 103:18 131:6    54:12 56:12 59:18       67:11,13 68:10
      words 22:3 24:5         304:20 355:4        60:18 63:8 69:3         95:15 96:8,20
       48:15 101:18         written 9:12 12:16    69:22 73:11,24          106:7 115:14
       216:16 222:16,22       12:20,22 13:1,5,8   77:16 79:15 84:21       116:5 140:21,21
       298:18 302:13          13:13,22 14:6       87:7,21 88:11           185:13 257:9
       329:13 345:24          15:3,8,11 16:1      90:22 93:24 94:10       268:13 283:12
       387:21,23 388:24       25:13 37:23,24      104:1 106:6             299:9,21 300:2
       389:20 390:14          40:20 54:4 88:23    109:17 115:9            322:14,22 323:5
       391:4,5,5,6 400:13     99:16 100:11        117:22 119:10         yellow 239:6
       408:21 414:4           108:2 111:21        123:8 127:20            242:15 243:14
       417:12                 120:23 310:7,9      128:22 134:7          yelp 8:24 9:1
      work 70:7 73:17         344:3,5,19 345:8    135:15 139:21           51:20 151:3
       75:22 80:6 92:16       345:13 346:17       142:13,14 144:7       yep 54:20 83:16
       93:4 95:17,20,21       367:5 373:9 387:1   145:17 146:18           141:2 150:17
       98:13 165:18           387:3 397:2,12      149:10 153:14           193:13 194:17
       206:1 249:4 268:2      398:13 404:19       157:10,11 159:17        202:10 213:13
       269:2 270:12           408:9,11,13,18      160:23 166:5,8          298:19 356:3
       285:19 294:3           409:2,3,9 410:3,5   168:23 170:1          yesterday 16:16
       298:21 299:2           410:24 411:20       173:20 182:4            17:12 212:6 213:5
       357:7 407:4            430:14,15           183:17,21 184:2         213:19,22 214:7
      worked 49:22 71:3     wrong 8:18 128:15     185:2 203:5             214:14 215:15
       95:22 96:1,9           129:13,20 173:24    206:18 207:2            222:6 316:4
       245:10 268:15,20       198:20 226:19       213:9 217:4             317:10
       269:8 295:18           289:24 318:14       219:16 223:16         yielded 405:13
      working 95:13           348:12              224:11 231:19         york 267:20
       96:19 269:19         wrongful 395:6        244:6 258:5           yww 174:13,23,23
       304:11 399:14        wrote 103:8,11,16     262:23 274:18                  z
       412:20 425:2           126:1,3,4 187:16    286:6 292:4
                                                                        zatkovich 196:3
      workings 285:17         269:9 383:13        295:22 299:1
                                                                          209:6 306:22,24
      works 24:13 88:3                x           309:21 315:11
                                                                          329:17 330:14
       285:5,14                                   327:1 341:16,17
                            x 4:1 5:2 6:1                                 384:5,19
      world 38:3 113:13                           349:20 356:2
                                      y                                 zatkovich's 193:18
       114:1 127:14                               366:3 430:22
                                                                          193:21 195:24
       136:2                y 32:5 174:17       year 56:18 61:14
                                                                          209:2 306:10
      worldwide 119:7         175:2 266:24        62:23 65:8 173:9
                                                                          307:14,22
      worth 373:11          y2k 59:15             174:17 175:2,5,8
                                                                        zoom 71:8 142:22
                                                  184:2 255:10,21
                                                                          149:20 171:19
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:17-cv-01194-JDW Document 395-2 Filed 09/16/22 Page 503 of 503 PageID #: 18382


     [zoom - zoomed]                                                            Page 70

        235:11,12 238:8
        242:14 243:3,10
        256:15
      zoomed 238:7
        239:15,18 240:1




                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
